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                                                      IMPORTANT NOTICE

     THIS OFFERING IS AVAILABLE ONLY TO INVESTORS (“ELIGIBLE INVESTORS”) THAT ARE EITHER
     (1)(I)(A) QUALIFIED INSTITUTIONAL BUYERS (“QUALIFIED INSTITUTIONAL BUYERS”) (AS DEFINED IN
     RULE 144A UNDER THE SECURITIES ACT) OR (B) SOLELY IN THE CASE OF THE COMPOSITE SECURITIES
     AND THE PREFERENCE SHARES, ACCREDITED INVESTORS (AS DEFINED IN RULE 501(a) UNDER THE
     SECURITIES ACT) (“ACCREDITED INVESTORS”) IN TRANSACTIONS EXEMPT FROM REGISTRATION
     UNDER THE SECURITIES ACT AND (II)(A) QUALIFIED PURCHASERS (“QUALIFIED PURCHASERS”) (FOR
     THE PURPOSES OF SECTION 3(C)(7) OF THE INVESTMENT COMPANY ACT), (B) SOLELY IN THE CASE OF
     THE PREFERENCE SHARES, KNOWLEDGEABLE EMPLOYEES (“KNOWLEDGEABLE EMPLOYEES”) (AS
     DEFINED IN RULE 3c-5 UNDER THE INVESTMENT COMPANY ACT) OR (C) AN ENTITY OWNED
     EXCLUSIVELY BY QUALIFIED PURCHASERS AND/OR, SOLELY IN THE CASE OF THE PREFERENCE SHARES,
     KNOWLEDGEABLE EMPLOYEES OR (2) PERSONS THAT ARE NOT “U.S. PERSONS” (“U.S. PERSONS”) (AS
     DEFINED IN REGULATION S UNDER THE SECURITIES ACT) AND THAT ARE OUTSIDE THE UNITED STATES.

     IMPORTANT: You must read the following before continuing. The following applies to the offering document (the
     “Final Offering Circular”) following this page, and you are therefore advised to read this carefully before reading,
     accessing or making any other use of the Final Offering Circular. In accessing the Final Offering Circular, you agree to be
     bound by the following terms and conditions, including any modifications to them any time you receive any information
     from us as a result of such access.

     NOTHING IN THIS ELECTRONIC TRANSMISSION CONSTITUTES AN OFFER OF SECURITIES FOR SALE IN
     ANY JURISDICTION WHERE IT IS UNLAWFUL TO DO SO. THE SECURITIES DESCRIBED HEREIN HAVE NOT
     BEEN, AND WILL NOT, BE REGISTERED UNDER THE SECURITIES ACT, OR THE SECURITIES LAWS OF ANY
     STATE OF THE U.S. OR OTHER JURISDICTION, AND THE CO-ISSUERS REFERRED TO HEREIN WILL NOT BE
     REGISTERED UNDER THE INVESTMENT COMPANY ACT. THE SECURITIES DESCRIBED HEREIN MAY NOT
     BE OFFERED OR SOLD WITHIN THE U.S. OR TO, OR FOR THE ACCOUNT OR BENEFIT OF, U.S. PERSONS,
     EXCEPT PURSUANT TO AN EXEMPTION FROM, OR IN A TRANSACTION NOT SUBJECT TO, THE
     REGISTRATION REQUIREMENTS OF THE SECURITIES ACT AND APPLICABLE STATE OR LOCAL
     SECURITIES LAWS.

     THE FOLLOWING FINAL OFFERING CIRCULAR MAY NOT BE FORWARDED OR DISTRIBUTED TO ANY
     OTHER PERSON AND MAY NOT BE REPRODUCED IN ANY MANNER WHATSOEVER. ANY FORWARDING,
     DISTRIBUTION OR REPRODUCTION OF THIS DOCUMENT IN WHOLE OR IN PART IS UNAUTHORIZED.
     FAILURE TO COMPLY WITH THIS DIRECTIVE MAY RESULT IN A VIOLATION OF THE SECURITIES ACT OR
     THE APPLICABLE LAWS OF OTHER JURISDICTIONS.

     Confirmation of your Representation: To be eligible to view the Final Offering Circular or make an investment decision
     with respect to the securities described herein, investors must be Eligible Investors (as defined above). The Final Offering
     Circular is being sent at your request and by accepting this e-mail and accessing the Final Offering Circular, you shall be
     deemed to have represented to us that (i) you and any customers you represent are either (1) (I) (A) Qualified Institutional
     Buyers or (B), solely in the case of the Composite Securities and the Preference Shares, Accredited Investors and (II) (A)
     either Qualified Purchasers, (B) solely in the case of the Preference Shares, Knowledgeable Employees or (C) an entity
     owned exclusively by Qualified Purchasers and/or, solely in the case of the Preference Shares, Knowledgeable Employees or
     (2) not U.S. Persons and the electronic mail address that you gave us and to which this e-mail has been delivered is not
     located in the United States and (ii) you consent to delivery of the Final Offering Circular by electronic transmission.

     You are reminded that the Final Offering Circular has been delivered to you on the basis that you are a person into whose
     possession the Final Offering Circular may be lawfully delivered in accordance with the laws of jurisdiction in which you
     are located and you may not, nor are you authorized to, deliver the Final Offering Circular to any other person.

     The materials relating to the offering do not constitute, and may not be used in connection with, an offer or solicitation in
     any place where offers or solicitations are not permitted by law. If a jurisdiction requires that the offering be made by or
     through a licensed broker or dealer and J.P. Morgan Securities Inc. (“JPMorgan”) or any affiliate thereof is a licensed
     broker or dealer in such jurisdiction, the offering shall be deemed to be made by or through JPMorgan or such affiliate on
     behalf of the Co-Issuers in such jurisdiction.

     The Final Offering Circular has been sent to you in an electronic form. You are reminded that documents transmitted
     via this medium may be altered or changed during the process of electronic transmission and consequently neither
     JPMorgan nor any person who controls JPMorgan nor any director, officer, employee nor agent of it or affiliate of any
     such person accepts any liability or responsibility whatsoever in respect of any difference between the Final Offering
     Circular distributed to you in electronic format and the hard copy version available to you on request from JPMorgan.
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Offering Circular

Southfork CLO Ltd.
Southfork CLO Corp.
U.S.$52,000,000 Class A-1a Floating Rate Senior Secured Extendable Notes Due 2017
U.S.$7,000,000 Class A-1b Fixed Rate Senior Secured Extendable Notes Due 2017
U.S.$400,000,000 Class A-1g Floating Rate Senior Secured Extendable Notes Due 2017
U.S.$42,500,000 Class A-2 Floating Rate Senior Secured Extendable Notes Due 2017
U.S.$23,500,000 Class A-3a Floating Rate Senior Secured Extendable Notes Due 2017
U.S.$2,500,000 Class A-3b Fixed Rate Senior Secured Extendable Notes Due 2017
U.S.$39,000,000 Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2017
U.S.$36,300,000 Class C Floating Rate Senior Secured Deferrable Interest Extendable Notes Due 2017
82,200 Preference Shares
U.S.$6,000,000 Class 1 Extendable Composite Securities Due 2017
Southfork CLO Ltd. (the "Issuer") and Southfork CLO Corp. (the "Co-Issuer" and, together with the Issuer, the "Co-Issuers") will issue the
Class A-1a Floating Rate Senior Secured Extendable Notes (the "Class A-1a Notes"), the Class A-1b Fixed Rate Senior Secured Extendable Notes (the
"Class A-1b Notes"), the Class A-1g Floating Rate Senior Secured Extendable Notes (the "Class A-1g Notes" or the "Insured Notes" and, together with the
Class A-1a Notes and the Class A-1b Notes, the "Senior Class A Notes"), the Class A-2 Floating Rate Senior Secured Extendable Notes (the "Class A-2
Notes"), the Class A-3a Floating Rate Senior Secured Extendable Notes (the "Class A-3a Notes"), the Class A-3b Fixed Rate Senior Secured Extendable Notes
(the "Class A-3b Notes" and, together with the Class A-3a Notes, the "Class A-3 Notes" and, the Class A-3 Notes together with the Senior Class A Notes and
the Class A-2 Notes, the "Class A Notes"), the Class B Floating Rate Senior Secured Deferrable Interest Extendable Notes (the "Class B Notes") and the Class
C Floating Rate Senior Secured Deferrable Interest Extendable Notes (the "Class C Notes" and, together with the Class A Notes and the Class B Notes, the
"Notes") and the Issuer will individually issue the Class 1 Extendable Composite Securities (the "Class 1 Composite Securities") consisting of (i) a component
entitling its holders to rights in respect of 2,000 Preference Shares (the "Preference Share Component") and (ii) a component entitling its holders to rights to
receive proceeds from a trust account initially holding a United States Treasury strip security maturing on November 15, 2016 with a principal amount at
maturity of U.S.$6,000,000 (the "Class 1 Component" and, together with the Preference Share Component, the "Components"), and the Preference Shares,
U.S.$0.01 par value per share (the "Preference Shares" and, together with the Notes and the Class 1 Composite Securities, the "Securities"), in each case in the
aggregate principal amounts or number of Preference Shares as described above. The Notes and the Class 1 Composite Securities will be issued on or about
March 15, 2005 (the "Closing Date") pursuant to an Indenture, dated as of March 15, 2005 (the "Indenture"), among the Co-Issuers, Assured Guaranty Corp.,
as Insurer (the "Insurer") and JPMorgan Chase Bank, National Association, as Trustee (the "Trustee"). The Preference Shares will be issued on or about the
Closing Date pursuant to and subject to the terms of the Preference Share Documents. The Stated Maturity of the Notes and the Class 1 Composite Securities
and the Scheduled Preference Shares Redemption Date of the Preference Shares are subject to multiple extensions to the applicable Extended Stated Maturity
Date (in the case of the Notes and the Class 1 Composite Securities) and the applicable Extended Scheduled Preference Shares Redemption Date (in the case of
the Preference Shares), if the Issuer provides timely notice and the Extension Conditions are satisfied as described herein.




The Insured Notes will be guaranteed as to the full and timely payment of the Insured Amounts that shall become Due for Payment but shall be unpaid by reason
of Nonpayment by the Issuer, pursuant to the terms of a financial insurance guaranty policy to be issued by the Insurer (the "Policy"). No other Class of
Securities are entitled to the benefits of the Policy. See "The Insurer and the Policy."
The net proceeds of the offering of the Securities will be applied by the Issuer to repurchase participation interests in certain Collateral Obligations sold to
finance the purchase of such Collateral Obligations prior to the Closing Date and to purchase additional Collateral Obligations on and after the Closing Date, all
of which will be pledged under the Indenture by the Issuer to the Trustee. See "Use of Proceeds." Highland Capital Management, L.P. will serve as portfolio
manager for the Issuer's portfolio.
For a discussion of certain factors regarding the Issuer and the Securities that, among other things, should be considered by prospective purchasers of
the Securities, see "Risk Factors."
THE SECURITIES HAVE NOT BEEN, AND WILL NOT BE, REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
AMENDED (THE "SECURITIES ACT") AND NEITHER THE ISSUER NOR THE CO-ISSUER WILL BE REGISTERED UNDER THE UNITED
STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE "INVESTMENT COMPANY ACT"). THE SECURITIES WILL BE
OFFERED AND SOLD TO NON-U.S. PERSONS (AS DEFINED IN REGULATION S UNDER THE SECURITIES ACT ("REGULATION S")) OUTSIDE
THE UNITED STATES IN RELIANCE ON REGULATION S. THE SECURITIES MAY NOT BE OFFERED OR SOLD WITHIN THE UNITED STATES
OR TO, OR FOR THE ACCOUNT OR BENEFIT OF, U.S. PERSONS EXCEPT TO PERSONS THAT ARE (I)(A) QUALIFIED INSTITUTIONAL BUYERS
("QUALIFIED INSTITUTIONAL BUYERS") (AS DEFINED IN RULE 144A UNDER THE SECURITIES ACT ("RULE 144A")) IN RELIANCE ON
THE EXEMPTION FROM THE REGISTRATION REQUIREMENTS PROVIDED BY RULE 144A OR (B) SOLELY IN THE CASE OF THE COMPOSITE
SECURITIES AND THE PREFERENCE SHARES, "ACCREDITED INVESTORS" ("ACCREDITED INVESTORS") (WITHIN THE MEANING
SPECIFIED IN RULE 501(a) OF REGULATION D UNDER THE SECURITIES ACT) IN TRANSACTIONS EXEMPT FROM REGISTRATION UNDER
THE SECURITIES ACT AND (II)(A) QUALIFIED PURCHASERS ("QUALIFIED PURCHASERS") (FOR PURPOSES OF SECTION 3(c)(7) OF THE
INVESTMENT COMPANY ACT), (B) SOLELY IN THE CASE OF THE              PREFERENCE SHARES, KNOWLEDGEABLE EMPLOYEES
("KNOWLEDGEABLE EMPLOYEES") (AS DEFINED IN RULE 3c-5 OF THE INVESTMENT COMPANY ACT) OR (C) AN ENTITY OWNED
EXCLUSIVELY BY QUALIFIED PURCHASERS AND/OR, SOLELY IN THE CASE OF THE PREFERENCE SHARES, KNOWLEDGEABLE
EMPLOYEES, AND IN ACCORDANCE WITH ANY OTHER APPLICABLE LAW. THE SECURITIES ARE NOT TRANSFERABLE EXCEPT IN
ACCORDANCE WITH THE RESTRICTIONS DESCRIBED UNDER "TRANSFER RESTRICTIONS."
The Notes, the Composite Securities and a portion of the Preference Shares (the "Purchased Securities") are being offered by J.P. Morgan Securities Inc.
("JPMorgan") as initial purchaser (in such capacity, the "Initial Purchaser"), when, as and if such Purchased Securities are received and accepted by the Initial
Purchaser and subject to prior sale, withdrawal, cancellation or modification of the offer without notice, to the right of the Initial Purchaser to reject orders in
whole or in part and to certain other conditions. The remaining Preference Shares will be offered and sold by the Issuer directly to the Portfolio Manager and/or
its Affiliates and JPMorgan is not acting as a placement agent or initial purchaser with respect to the offering of such portion of Preference Shares.

JPMorgan
March 9, 2005
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      Payment of interest on, and principal of, the Notes will be made by the Issuer in U.S. Dollars on the
 first day of each February, May, August and November of each year (or if such day is not a Business Day,
 the next succeeding Business Day) (each such date a "Payment Date"), commencing August 1, 2005, to
 the extent of available cash flow in respect of the Collateral in accordance with the Priority of Payments.
 Each Class of Notes will bear interest at the per annum rates set forth under "Summary of Terms—
 Principal Terms of the Securities." The Preference Shares will receive as dividends certain amounts
 available for distribution to the Holders of the Preference Shares in accordance with the Priority of
 Payments. See "Description of the Securities—Priority of Payments."

          The Notes will be subject to Optional Redemption in whole, but not in part, on any Payment Date
 upon the occurrence of a Tax Event or at any time after the Non-Call Period, in each case at the direction
 of the Holders of at least 63% of the Aggregate Outstanding Amount of the Preference Shares. The Notes
 will be subject to mandatory redemption on any Payment Date, to the extent that any of the Coverage
 Tests are not satisfied, as described herein. The Notes will be subject to Special Redemption, at the
 discretion of the Portfolio Manager, to the extent that at any time during the Reinvestment Period, the
 Portfolio Manager cannot identify satisfactory Collateral Obligations for investment of Collection
 Account funds. After redemption in full of the Notes, the Preference Shares will be subject to Optional
 Redemption in whole or in part on any Payment Date by the Issuer at the direction of the requisite
 percentage of the Preference Shares at the applicable Redemption Price pursuant to the Preference Share
 Documents, to the extent legally permitted; provided, however, that the Preference Shares must be
 redeemed on or prior to the Scheduled Preference Shares Redemption Date. Upon the occurrence of a
 redemption of the Preference Shares pursuant to the Indenture, in whole or in part, the Class 1
 Components shall be redeemed by the Issuer, in whole but not in part, on the related Composite Securities
 Payment Date from the Class 1 Collateral available for that purpose in the Class 1 Component Account at
 the applicable Redemption Price. See "Description of the Securities—Optional Redemption," "—
 Mandatory Redemption of the Notes," "—Special Redemption of Notes If the Portfolio Manager Does
 Not Identify Investments as Contemplated by the Indenture" and "—Priority of Payments." The principal
 amount of the Notes and the Composite Securities will be payable at the Stated Maturity, unless redeemed
 or paid in full prior thereto. The Preference Shares are scheduled to be redeemed at their Redemption
 Price on the Scheduled Preference Shares Redemption Date, unless redeemed prior thereto.

         Certain pledged assets of the Issuer are the sole source of payments on the Securities. The
 Securities do not represent an interest in or obligations of, and are not insured or guaranteed by, the
 Holders of the Preference Shares, the Portfolio Manager, the Trustee, any paying agent, the Preference
 Shares Paying Agent, JPMorgan, the Insurer (other than in respect of the Insured Notes), any Hedge
 Counterparty or any of their respective Affiliates.

         Application will be made to list the Securities (other than the Preference Shares) on the
 Irish Stock Exchange. However, there can be no assurance that the Irish Stock Exchange will in
 fact accept the listing of the such Securities.

         Except as otherwise specified herein or as the context may otherwise require or dictate or unless
 the Composite Securities are explicitly addressed in the same context, (A) all references in this Offering
 Circular to the "Preference Shares" include the "Preference Share Component" of the Class 1 Composite
 Securities and (B) all references in this Offering Circular to the rights of the Holders of the Preference
 Shares (including with respect to any payments, distributions, redemptions, votes or consents to be given
 by such Holders) include the rights of the Holders of the Class 1 Composite Securities to the extent of the
 Preference Share Component of the Class 1 Composite Securities.

         It is a condition of the issuance of the Securities that (i) the Class A-1a Notes, the Class A-1b
 Notes and the Class A-2 Notes be rated at least "Aaa" by Moody's Investors Service, Inc. ("Moody's")
 and at least "AAA" by Standard & Poor's Ratings Services, a division of The McGraw-Hill Companies,
 Inc. ("S&P" and, together with Moody's, the "Rating Agencies"), (ii) the Class A-1g Notes be rated (after
 giving effect to the Policy) at least "Aaa" by Moody's and at least "AAA" by S&P, (iii) the Class A-3
                                                     ii
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 Notes be rated at least "Aa2" by Moody's and at least "AA" by S&P, (iv) the Class B Notes be rated at
 least "A2" by Moody's and at least "A" by S&P, (v) the Class C Notes be rated at least "Baa2" by
 Moody's and at least "BBB" by S&P and (vi) the Class 1 Composite Securities be rated at least "Aaa" by
 Moody's. The Class 1 Composite Securities are rated only as to the ultimate payment of their Class 1
 Composite Security Rated Balance. Each of the above ratings assume that no Maturity Extension occurs
 after the Closing Date. A credit rating is not a recommendation to buy, sell or hold securities and may be
 subject to revision or withdrawal at any time by the assigning Rating Agency. The Preference Shares will
 not be rated by any credit rating agency.

 No person has been authorized to make or provide any representation or information regarding the
 Co-Issuers or the Securities other than as contained in this Offering Circular. Any such representation or
 information should not be relied upon as having been authorized by the Co-Issuers or JPMorgan. The
 delivery of this Offering Circular at any time does not imply that the information contained in it is correct
 as of any time subsequent to the date of this Offering Circular. Unless otherwise indicated, all
 information in this Offering Circular is given as of the date of this Offering Circular.

 This Offering Circular has been prepared by the Co-Issuers solely for use in connection with the listing of
 the Securities (other than the Preference Shares) and the offering of the Securities. Unless as otherwise
 provided herein, the Co-Issuers have taken reasonable care to ensure that facts stated in this Offering
 Circular are true and accurate in all material respects and that there have not been omitted material facts
 the omission of which would make misleading in any material respect any statements of fact or opinion
 herein. The Co-Issuers accept responsibility accordingly.

 The information appearing in the section entitled "The Portfolio Manager" has been prepared by the
 Portfolio Manager and has not been independently verified by JPMorgan or the Co-Issuers. JPMorgan
 and the Co-Issuers do not assume any responsibility for the accuracy, completeness, or applicability of
 such information, except that the Co-Issuers assume responsibility for accurately reproducing such
 information in this Offering Circular.

 The information appearing in the section entitled "The Insurer and the Policy—The Insurer" (including all
 information incorporated by reference therein) and in Exhibit A to this Offering Circular has been
 prepared by the Insurer and has not been independently verified by JPMorgan or the Co-Issuers.
 JPMorgan and the Co-Issuers do not assume any responsibility for the accuracy, completeness, or
 applicability of such information, except that the Co-Issuers assume responsibility for accurately
 reproducing such information in this Offering Circular.

 None of JPMorgan, (except with respect to the section entitled "The Portfolio Manager") the Portfolio
 Manager, or (except with respect to the section entitled "The Insurer and the Policy—The Insurer" and
 Exhibit A to this Offering Circular) the Insurer, makes any representation or warranty, express or implied,
 as to the accuracy or completeness of the information in this Offering Circular. Each person receiving
 this Offering Circular acknowledges that such person has not relied on JPMorgan, (except with respect to
 the section entitled "The Portfolio Manager") the Portfolio Manager or (except with respect to the section
 entitled "The Insurer and the Policy—The Insurer" and Exhibit A to this Offering Circular) the Insurer or
 any person affiliated therewith, in connection with its investigation of the accuracy of such information or
 its investment decision. Each person contemplating making an investment in the Securities must make its
 own investigation and analysis of the creditworthiness of the Co-Issuers and its own determination of the
 suitability of any such investment, with particular reference to its own investment objectives and
 experience, and any other factors that may be relevant to it in connection with such investment.

 THE SECURITIES HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE UNITED STATES
 SECURITIES AND EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION OR
 OTHER REGULATORY AUTHORITY, AND NONE OF THE FOREGOING AUTHORITIES HAS
 CONFIRMED THE ACCURACY OR DETERMINED THE ADEQUACY OF THIS OFFERING
 CIRCULAR. ANY REPRESENTATION TO THE CONTRARY IS A CRIMINAL OFFENSE.
                                                      iii
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 This Offering Circular contains summaries of certain documents. The summaries do not purport to be
 complete and are qualified in their entirety by reference to such documents. Each person receiving this
 Offering Circular acknowledges that such person has been afforded an opportunity to request from the
 Issuer and to review, and has received, all additional information considered by such person to be
 necessary to verify the accuracy and completeness of the information herein. Requests and inquiries
 regarding this Offering Circular or such documents should be directed to the Issuer, in care of J.P.
 Morgan Securities Inc., 270 Park Avenue, 8th Floor, New York, New York, 10017, Attention: Structured
 Credit Products. Such requests may also be made to the Listing Agent at the address set forth on the final
 page of this Offering Circular.

 The Securities are a new issue of securities. There can be no assurance that a secondary market for any of
 the Securities will develop, or if a secondary market does develop, that it will provide the holders of such
 Securities with liquidity of investment or that it will continue. Accordingly, investors should be prepared
 to bear the risks of holding the Securities until final payment is made thereon.

 THE CONTENTS OF THIS OFFERING CIRCULAR ARE NOT TO BE CONSTRUED AS LEGAL,
 BUSINESS OR TAX ADVICE. EACH PROSPECTIVE INVESTOR SHOULD CONSULT ITS OWN
 ATTORNEY, BUSINESS ADVISOR AND TAX ADVISOR AS TO LEGAL, BUSINESS AND TAX
 ADVICE.

 This Offering Circular does not constitute an offer of, or an invitation by or on behalf of, the Co-Issuers
 (in respect of the Notes) or the Issuer (in respect of the Composite Securities and the Preference Shares)
 or JPMorgan to subscribe to or purchase any of the Securities in any jurisdiction in which it is unlawful to
 make such an offer or invitation. The distribution of this Offering Circular and the offering of the
 Securities in certain jurisdictions may be restricted by law. Persons into whose possession this Offering
 Circular comes are required by the Co-Issuers and JPMorgan to inform themselves about and to observe
 any such restrictions. For a description of certain further restrictions on offers and sales of Securities and
 distribution of this Offering Circular, see "Description of the Securities," "Plan of Distribution" and
 "Transfer Restrictions."

 Neither the Issuer nor the Co-Issuer has been registered under the Investment Company Act. Each
 purchaser of Notes represented by an interest in a Rule 144A Global Note will be deemed to represent and
 agree that the purchaser is acquiring such Notes in a principal amount of not less than U.S.$250,000, and
 integral multiples of U.S.$1,000 in excess thereof for such purchaser and each account for which such
 purchaser is purchasing such Notes and that the purchaser and each such account is a Qualified Purchaser.
 Each purchaser of Preference Shares or Composite Securities that is a U.S. Person will be required to
 represent and agree that (i) the purchaser is (a) acquiring such Preference Shares in a number of not less
 than 100 Preference Shares and in integral multiples of one Preference Share in excess thereof for such
 purchaser or (b) acquiring such Composite Securities in a principal amount of not less than U.S.$100,000,
 and integral multiples of U.S.$1,000 in excess thereof for such purchaser and (ii) each account for which
 such purchaser is purchasing such Preference Shares or Composite Securities and that the purchaser and
 each such account is (a) a Qualified Purchaser, (b) solely in the case of the Preference Shares, a
 Knowledgeable Employee or (c) an entity owned exclusively by Qualified Purchasers and/or, solely in the
 case of the Preference Shares, Knowledgeable Employees. See "Transfer Restrictions."

 No invitation to subscribe for the Securities may be made to the public in the Cayman Islands.

 Prospective purchasers are hereby notified that a seller of the Securities may be relying on an exemption
 from the registration requirements of Section 5 of the Securities Act provided by Section 4(2) of, or Rule
 144A under, the Securities Act.

 In this Offering Circular references to "Dollars," "$" and "U.S.$" are dollars or other equivalent units in
 such coin or currency of the United States of America as at the time shall be legal tender for all debts,
 public and private.
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 NO ACTION WAS TAKEN OR IS BEING CONTEMPLATED BY THE CO-ISSUERS THAT
 WOULD PERMIT A PUBLIC OFFERING OF THE SECURITIES OR POSSESSION OR
 DISTRIBUTION OF THIS OFFERING CIRCULAR OR ANY AMENDMENT THEREOF, OR
 SUPPLEMENT THERETO OR ANY OTHER OFFERING MATERIAL RELATING TO THE
 SECURITIES IN ANY JURISDICTION (OTHER THAN IRELAND) WHERE, OR IN ANY
 OTHER CIRCUMSTANCES IN WHICH, ACTION FOR THOSE PURPOSES IS REQUIRED.
 NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER TO SELL OR A
 SOLICITATION OF AN OFFER TO PURCHASE ANY SECURITIES IN ANY JURISDICTION
 WHERE IT IS UNLAWFUL TO DO SO ABSENT THE TAKING OF SUCH ACTION OR THE
 AVAILABILITY OF AN EXEMPTION THEREFROM.

                      NOTICE TO NEW HAMPSHIRE RESIDENTS

 NEITHER THE FACT THAT A REGISTRATION STATEMENT OR AN APPLICATION FOR A
 LICENSE HAS BEEN FILED UNDER CHAPTER 421-B OF THE NEW HAMPSHIRE REVISED
 STATUTES WITH THE STATE OF NEW HAMPSHIRE NOR THE FACT THAT A SECURITY IS
 EFFECTIVELY REGISTERED OR A PERSON IS LICENSED IN THE STATE OF NEW
 HAMPSHIRE CONSTITUTES A FINDING BY THE SECRETARY OF STATE OF NEW
 HAMPSHIRE THAT ANY DOCUMENT FILED UNDER RSA 421-B IS TRUE, COMPLETE AND
 NOT MISLEADING. NEITHER ANY SUCH FACT NOR THE FACT THAT AN EXEMPTION OR
 EXCEPTION IS AVAILABLE FOR A SECURITY OR A TRANSACTION MEANS THAT THE
 SECRETARY OF STATE HAS PASSED IN ANY WAY UPON THE MERITS OR
 QUALIFICATIONS OF, OR RECOMMENDED OR GIVEN APPROVAL TO, ANY PERSON,
 SECURITY, OR TRANSACTION. IT IS UNLAWFUL TO MAKE, OR CAUSE TO BE MADE, TO
 ANY PROSPECTIVE PURCHASER, CUSTOMER, OR CLIENT ANY REPRESENTATION
 INCONSISTENT WITH THE PROVISIONS OF THIS PARAGRAPH.

                          NOTICE TO FLORIDA RESIDENTS

 THE SECURITIES ARE OFFERED PURSUANT TO A CLAIM OF EXEMPTION UNDER SECTION
 517.061 OF THE FLORIDA SECURITIES ACT AND HAVE NOT BEEN REGISTERED UNDER
 SAID ACT IN THE STATE OF FLORIDA. ALL FLORIDA RESIDENTS WHO ARE NOT
 INSTITUTIONAL INVESTORS DESCRIBED IN SECTION 517.061(7) OF THE FLORIDA
 SECURITIES ACT HAVE THE RIGHT TO VOID THEIR PURCHASE OF THE SECURITIES,
 WITHOUT PENALTY, WITHIN THREE (3) DAYS AFTER THE FIRST TENDER OF
 CONSIDERATION.

                          NOTICE TO GEORGIA RESIDENTS

 THE SECURITIES WILL BE ISSUED OR SOLD IN RELIANCE ON PARAGRAPH (13) OF CODE
 SECTION 10-5-9 OF THE GEORGIA SECURITIES ACT OF 1973, AND MAY NOT BE SOLD OR
 TRANSFERRED EXCEPT IN A TRANSACTION WHICH IS EXEMPT UNDER SUCH ACT OR
 PURSUANT TO AN EFFECTIVE REGISTRATION UNDER SUCH ACT.

                       NOTICE TO RESIDENTS OF AUSTRALIA

 NO PROSPECTUS OR OTHER DISCLOSURE DOCUMENT IN RELATION TO THE SECURITIES
 HAS BEEN LODGED WITH THE AUSTRALIAN SECURITIES AND INVESTMENTS
 COMMISSION OR THE AUSTRALIAN STOCK EXCHANGE LIMITED.        THE INITIAL
 PURCHASER WILL REPRESENT AND AGREE THAT IT:

            (A)   HAS NOT OFFERED OR INVITED APPLICATIONS, AND WILL NOT
       OFFER OR INVITE APPLICATIONS, FOR THE ISSUE, SALE OR PURCHASE OF THE

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       SECURITIES IN AUSTRALIA (INCLUDING AN OFFER OR INVITATION WHICH IS
       RECEIVED BY A PERSON IN AUSTRALIA); AND

            (B)    HAS NOT DISTRIBUTED OR PUBLISHED, AND WILL NOT DISTRIBUTE
       OR PUBLISH, THIS OFFERING CIRCULAR OR ANY OTHER OFFERING MATERIAL OR
       ADVERTISEMENT RELATING TO THE SECURITIES IN AUSTRALIA,

 UNLESS (I) THE MINIMUM AGGREGATE CONSIDERATION PAYABLE BY EACH OFFEREE IS
 AT LEAST AU$500,000 (DISREGARDING MONEYS LENT BY THE OFFEROR OR ITS
 ASSOCIATES) OR THE OFFER OR INVITATION OTHERWISE DOES NOT REQUIRE
 DISCLOSURE TO INVESTORS IN ACCORDANCE WITH PART 6D.2 OF THE CORPORATIONS
 LAW, AND (II) SUCH ACTION COMPLIES WITH ALL APPLICABLE LAWS AND
 REGULATIONS.

                         NOTICE TO RESIDENTS OF AUSTRIA

 THE SECURITIES MAY ONLY BE OFFERED IN THE REPUBLIC OF AUSTRIA IN COMPLIANCE
 WITH THE PROVISIONS OF THE AUSTRIAN CAPITAL MARKET ACT AND OTHER LAWS
 APPLICABLE IN THE REPUBLIC OF AUSTRIA GOVERNING THE OFFER AND SALE OF THE
 NOTES IN THE REPUBLIC OF AUSTRIA. THE SECURITIES ARE NOT REGISTERED OR
 OTHERWISE AUTHORISED FOR PUBLIC OFFER EITHER UNDER THE CAPITAL MARKET
 ACT OR THE INVESTMENT FUND ACT. THE RECIPIENTS OF THIS OFFERING CIRCULAR
 AND OTHER SELLING MATERIAL IN RESPECT TO THE SECURITIES HAVE BEEN
 INDIVIDUALLY SELECTED AND ARE TARGETED EXCLUSIVELY ON THE BASIS OF A
 PRIVATE PLACEMENT. ACCORDINGLY, THE SECURITIES MAY NOT BE, AND ARE NOT
 BEING, OFFERED OR ADVERTISED PUBLICLY OR OFFERED SIMILARLY UNDER EITHER
 THE CAPITAL MARKET ACT OR THE INVESTMENT FUND ACT. THIS OFFER MAY NOT BE
 MADE TO ANY OTHER PERSONS THAN THE RECIPIENTS TO WHOM THIS DOCUMENT IS
 PERSONALLY ADDRESSED.

                        NOTICE TO RESIDENTS OF BAHRAIN

 PURCHASE OF THE SECURITIES IS BY INVITATION ONLY AND NO OFFER WILL BE MADE
 IN BAHRAIN TO THE PUBLIC TO PURCHASE THE SAME. THIS OFFERING CIRCULAR IS
 INTENDED TO BE READ ONLY BY THE ADDRESSEE.

                        NOTICE TO RESIDENTS OF BELGIUM

 THE ISSUER REPRESENTS AND AGREES THAT IT HAS NOT OFFERED OR SOLD AND WILL
 NOT OFFER OR SELL, DIRECTLY OR INDIRECTLY, AT THE TIME OF THE PLACING, ANY OF
 THE SECURITIES BY WAY OF A PUBLIC OFFERING IN BELGIUM AND/OR THAT THE
 SECURITIES WILL BE OFFERED ONLY TO PERSONS FALLING UNDER THE DEFINITION OF
 A PROFESSIONAL INVESTOR IN ACCORDANCE WITH THE ROYAL DECREE OF 7 JULY 1999.

    NOTICE TO RESIDENTS IN THE PROVINCES OF QUEBEC, ONTARIO AND BRITISH
                            COLUMBIA IN CANADA

 THIS OFFERING CIRCULAR IS NOT, AND UNDER NO CIRCUMSTANCES IS TO BE
 CONSTRUED AS, AN ADVERTISEMENT OR PUBLIC OFFERING OF THE SECURITIES
 DESCRIBED HEREIN. NO SECURITIES COMMISSION OR SIMILAR AUTHORITY IN CANADA
 HAS IN ANY WAY PASSED JUDGEMENT ON THE MERITS OF THE SECURITIES DESCRIBED
 HEREIN AND ANY REPRESENTATION TO THE CONTRARY IS AN OFFENCE. NO
 INVITATION MAY BE MADE TO THE PUBLIC IN THE PROVINCES OF QUEBEC, ONTARIO
 AND BRITISH COLUMBIA IN CANADA TO SUBSCRIBE FOR THE SECURITIES. NO
                                         vi
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 PRELIMINARY OR FINAL OFFERING CIRCULAR IS BEING FILED WITH THE SECURITIES
 COMMISSIONS OF THE SAID PROVINCES IN CANADA WITH RESPECT TO THE OFFERING
 OF THE SECURITIES, WHICH IS BEING MADE SOLELY PURSUANT TO EXEMPTIONS FROM
 PROSPECTUS REQUIREMENTS UNDER SECURITIES LEGISLATION OF SAID PROVINCES IN
 CANADA. THE ISSUER DOES NOT INTEND TO FILE A PROSPECTUS OR OTHERWISE
 BECOME A 'REPORTING ISSUER' PURSUANT TO APPLICABLE CANADIAN SECURITIES
 LEGISLATION AND ACCORDINGLY IT IS NOT INTENDED THAT THE SECURITIES WILL
 EVER BECOME FREELY TRADABLE IN THE PROVINCES OF QUEBEC, ONTARIO AND
 BRITISH COLUMBIA. PURCHASERS OF SECURITIES WILL BE PERMITTED TO RESELL
 SUCH SECURITIES ONLY PURSUANT TO AVAILABLE EXEMPTIONS FROM THE
 PROSPECTUS REQUIREMENTS OF THE SECURITIES LAW OF THE SAID PROVINCES IN
 CANADA.

          NOTICE TO RESIDENTS IN THE PROVINCE OF QUEBEC IN CANADA

 THE OFFERING AND SALE OF THE SECURITIES MUST BE TO EITHER "SOPHISTICATED
 PURCHASERS" WITHIN THE MEANING OF SECTIONS 43, 44 AND 45 OF THE SECURITIES
 ACT (QUEBEC) OR PURCHASERS PURCHASING AS PRINCIPAL FOR THEIR OWN ACCOUNT
 THE SECURITIES OF THE ISSUER HAVING A TOTAL COST OF SUBSCRIPTION OR
 PURCHASE IN EACH CASE OF AT LEAST CAD 150,000.

           NOTICE TO RESIDENTS IN THE PROVINCE OF ONTARIO, CANADA

 THIS OFFERING OF THE SECURITIES IS BEING MADE PURSUANT TO EXEMPTIONS FROM
 THE PROSPECTUS REQUIREMENTS OF THE SECURITIES LAWS OF THE PROVINCE OF
 ONTARIO. PURCHASERS RESIDENT IN THE PROVINCE OF ONTARIO MUST BE PERSONS
 WHO ARE EXEMPT PURCHASERS UNDER SECTION 72(1) OF THE SECURITIES ACT
 (ONTARIO) OR WHO ACQUIRE THE SECURITIES OFFERED HEREBY AS PRINCIPAL AT AN
 AGGREGATE ACQUISITION COST TO THE PURCHASER OF NOT LESS THAN CAD 150,000. IF
 THIS OFFERING CIRCULAR, TOGETHER WITH ANY AMENDMENT THERETO, CONTAINS AN
 UNTRUE STATEMENT OF A MATERIAL FACT OR OMITS TO STATE A MATERIAL FACT
 THAT IS REQUIRED TO BE STATED OR IS NECESSARY IN ORDER TO MAKE ANY
 STATEMENT HEREIN NOT FALSE OR MISLEADING IN THE LIGHT OF THE
 CIRCUMSTANCES IN WHICH IT WAS MADE (A "MISREPRESENTATION") AND IT WAS A
 MISREPRESENTATION, ON THE DATE OF INVESTMENT, AN INVESTOR TO WHOM THIS
 OFFERING CIRCULAR WAS DELIVERED AND WHO PURCHASES THE SECURITIES OFFERED
 HEREUNDER SHALL HAVE, SUBJECT AS HEREINAFTER IN THIS PARAGRAPH PROVIDED,
 WHILE STILL THE OWNER OF ANY OF THE SECURITIES OFFERED HEREUNDER, A RIGHT
 OF ACTION, EXERCISABLE ON WRITTEN NOTICE GIVEN NOT MORE THAN 180 DAYS
 SUBSEQUENT TO THE DATE OF INITIAL INVESTMENT, EITHER FOR DAMAGES OR
 ALTERNATIVELY FOR RESCISSION AGAINST THE ISSUER PROVIDED THAT:

            (A)   THE ISSUER WILL NOT BE HELD LIABLE UNDER THIS PARAGRAPH IF
       THE INVESTOR PURCHASED THE SECURITIES WITH KNOWLEDGE OF THE
       MISREPRESENTATION;

             (B)   IN AN ACTION FOR DAMAGES, THE ISSUER WILL NOT BE LIABLE
       FOR ALL OR ANY PORTION OF SUCH DAMAGES THAT IT PROVES DO NOT
       REPRESENT THE DEPRECIATION IN VALUE OF THE SECURITIES OFFERED HEREBY
       AS A RESULT OF THE MISREPRESENTATION RELIED UPON;

             (C)  IN NO CASE WILL THE AMOUNT RECOVERABLE UNDER THIS
       PARAGRAPH EXCEED THE PRICE AT WHICH THE SECURITIES WERE SOLD TO AN
       INVESTOR; AND
                                         vii
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             (D)    THE RIGHTS DESCRIBED ABOVE ARE IN ADDITION TO AND
        WITHOUT DEROGATION FROM ANY OTHER RIGHT OR REMEDY AVAILABLE AT
        LAW TO THE INVESTOR.

 THE FOREGOING SUMMARY IS SUBJECT TO THE EXPRESS PROVISIONS OF THE
 SECURITIES ACT (ONTARIO) AND THE REGULATIONS THEREUNDER AND REFERENCE IS
 MADE THERETO FOR THE COMPLETE TEXT OF SUCH PROVISIONS. THE ISSUER IS
 LOCATED OUTSIDE CANADA AND, ACCORDINGLY, IT MAY NOT BE POSSIBLE FOR
 PURCHASERS TO EFFECT SERVICE OF PROCESS WITHIN CANADA UPON THE ISSUER. IN
 ADDITION, ALL OR SUBSTANTIALLY ALL OF THE ASSETS OF THE ISSUER WILL BE
 LOCATED OUTSIDE CANADA AND, AS A RESULT, IT MAY NOT BE POSSIBLE TO SATISFY A
 JUDGEMENT OBTAINED AGAINST THE ISSUER IN ONTARIO. MOREOVER, IT MAY NOT BE
 POSSIBLE FOR PURCHASERS TO ENFORCE A JUDGEMENT OBTAINED IN CANADIAN
 COURTS AGAINST THE ISSUER IN THE JURISDICTION OF THE ISSUER.

                     NOTICE TO RESIDENTS OF CAYMAN ISLANDS

 NO INVITATION MAY BE MADE TO THE PUBLIC IN THE CAYMAN ISLANDS TO SUBSCRIBE
 FOR THE SECURITIES UNLESS AT THE TIME OF INVITATION THE CO-ISSUERS ARE LISTED
 ON THE CAYMAN ISLANDS STOCK EXCHANGE. THE CO-ISSUERS ARE NOT OBLIGATED
 AND DO NOT INTEND TO BE LISTED.

                     NOTICE TO RESIDENTS OF CZECH REPUBLIC

 NO PERMIT FOR THE ISSUE OF THE SECURITIES HAS BEEN OBTAINED FROM THE
 SECURITIES COMMISSION OF THE CZECH REPUBLIC (THE "SECURITIES COMMISSION")
 UNDER THE BONDS ACT OF THE CZECH REPUBLIC (NO. 530/1990 COLL., AS AMENDED).
 NO ACTION HAS BEEN TAKEN (INCLUDING THE OBTAINING OF THE PROSPECTUS
 APPROVAL FROM THE SECURITIES COMMISSION AND THE ADMISSION TO TRADING ON A
 PUBLIC MARKET LICENSED BY THE SECURITIES COMMISSION) FOR THE PURPOSES OF
 THE SECURITIES TO QUALIFY AS LISTED SECURITIES WITHIN THE MEANING OF SECTION
 71 ET SEQ. OF THE SECURITIES ACT OF THE CZECH REPUBLIC (NO. 591/1992 COLL., AS
 AMENDED).

 THE SECURITIES HAVE NOT BEEN AND WILL NOT BE OFFERED OR SOLD IN THE CZECH
 REPUBLIC THROUGH A PUBLIC OFFERING. THE TERM "PUBLIC OFFERING" IS DEFINED
 IN SECTION 78C(2) OF THE SECURITIES ACT OF THE CZECH REPUBLIC AS ANY CONDUCT
 BY WHICH AN OFFEROR COMMUNICATES TO A CONSIDERABLE GROUP OF PERSONS THE
 TERMS UNDER WHICH THEY MAY ACQUIRE SECURITIES AND (I) IF A CONTRACT
 LEADING TO THE ACQUISITION OF SUCH SECURITIES IS CONCLUDED BY SUCH PERSONS
 BY THE ACCEPTANCE OF SUCH TERMS, OR (II) IF ON THE BASIS OF SUCH TERMS, THE
 OFFEROR INVITES SUBMISSIONS OF OFFERS TO CONCLUDE A CONTRACT LEADING TO
 THE ACQUISITION OF SUCH SECURITIES.

 ALL THE REQUIREMENTS OF THE SECURITIES ACT OF THE CZECH REPUBLIC AND THE
 BONDS ACT OF THE CZECH REPUBLIC HAVE BEEN COMPLIED WITH AND WILL BE
 COMPLIED WITH AND NO ACTION HAS BEEN TAKEN OR WILL BE TAKEN WHICH WOULD
 RESULT IN THE NOTES BEING DEEMED TO BE ISSUED IN THE CZECH REPUBLIC OR A
 PERMIT, REGISTRATION, FILING OR NOTIFICATION OF THE SECURITIES COMMISSION OR
 OTHER AUTHORITIES IN THE CZECH REPUBLIC BEING REQUIRED IN RESPECT OF THE
 NOTES IN ACCORDANCE WITH THE SECURITIES ACT OF THE CZECH REPUBLIC, THE
 BONDS ACT OF THE CZECH REPUBLIC OR THE PRACTICE OF THE SECURITIES
 COMMISSION. NO INVESTMENT SERVICES ARE OR WILL BE PROVIDED IN THE CZECH
 REPUBLIC (WITHIN THE MEANING OF THE SECURITIES ACT OF THE CZECH REPUBLIC)
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 AND NO OTHER SIMILAR BUSINESS IS OR WILL BE CONDUCTED IN THE CZECH REPUBLIC
 IN RESPECT OF THE SECURITIES. ALL THE LAWS OF THE CZECH REPUBLIC APPLICABLE
 TO THE CONDUCT OF BUSINESS IN THE CZECH REPUBLIC IN RESPECT OF THE NOTES
 HAVE BEEN, AND WILL BE, COMPLIED WITH.

                        NOTICE TO RESIDENTS OF DENMARK

 THIS OFFERING CIRCULAR HAS NOT BEEN FILED WITH OR APPROVED BY THE DANISH
 SECURITIES COUNCIL OR ANY OTHER REGULATORY AUTHORITY IN THE KINGDOM OF
 DENMARK.

 THE SECURITIES HAVE NOT BEEN OFFERED OR SOLD AND MAY NOT BE OFFERED, SOLD
 OR DELIVERED DIRECTLY OR INDIRECTLY IN DENMARK, UNLESS IN COMPLIANCE WITH
 THE DANISH EXECUTIVE ORDER NO. 229 OF 20 APRIL 1998 ON THE FIRST PUBLIC OFFER
 OF CERTAIN SECURITIES ISSUED PURSUANT TO CHAPTER 12 OF THE DANISH ACT ON
 TRADING IN SECURITIES.

                         NOTICE TO RESIDENTS OF FRANCE

 THE SECURITIES ARE ISSUED BY A RESIDENT OF A NON-OECD STATE. ACCORDINGLY,
 PURSUANT TO THE PROVISIONS OF DECREE NO. 89-938 OF 29 DECEMBER 1989, THE
 SECURITIES MAY NOT BE OFFERED, INTRODUCED OR SOLD, DIRECTLY OR INDIRECTLY,
 IN FRANCE, WITHOUT THE PRIOR APPROVAL OF THE FRENCH MINISTRY OF FINANCE.

 EACH OF THE ISSUER AND JPMORGAN REPRESENTS AND AGREES THAT IT HAS NOT
 OFFERED, INTRODUCED OR SOLD AND WILL NOT OFFER, INTRODUCE OR SELL,
 DIRECTLY OR INDIRECTLY, ANY OF THE SECURITIES IN FRANCE.

 THIS OFFERING CIRCULAR IS FURNISHED TO YOU SOLELY FOR YOUR INFORMATION
 AND MAY NOT BE REPRODUCED OR REDISTRIBUTED TO ANY OTHER PERSON. IT IS
 STRICTLY CONFIDENTIAL AND IS SOLELY DESTINED FOR PERSONS OR INSTITUTIONS TO
 WHICH IT WAS INITIALLY SUPPLIED. THIS OFFERING CIRCULAR DOES NOT CONSTITUTE
 AN OFFER OR AN INVITATION TO SUBSCRIBE FOR OR TO PURCHASE ANY SECURITIES
 AND NEITHER THIS DOCUMENT NOR ANYTHING CONTAINED HEREIN SHALL FORM THE
 BASIS OF ANY CONTRACT OR COMMITMENT WHATSOEVER.

 THIS OFFERING CIRCULAR MAY NOT BE DISTRIBUTED TO THE PUBLIC IN FRANCE OR
 USED IN CONNECTION WITH ANY OFFER FOR SUBSCRIPTION OR SALE OF SECURITIES IN
 FRANCE OTHER THAN IN ACCORDANCE WITH ARTICLE L-411-2 OF THE CODE
 MONÉTAIRE ET FINANCIER ET DÉCRET NO. 98-880 DATED 1ST OCTOBER 1998. THIS
 DOCUMENT HAS NOT BEEN SUBMITTED TO THE "COMMISSION DES OPÉRATIONS DE
 BOURSE" FOR APPROVAL AND DOES NOT CONSTITUTE AN OFFER FOR SALE OR
 SUBSCRIPTION OF SECURITIES.

                        NOTICE TO RESIDENTS OF GERMANY

 THE SECURITIES DESCRIBED IN THIS DOCUMENT MAY ONLY BE ACQUIRED IN GERMANY
 IN ACCORDANCE WITH THE GERMAN WERTPAPIERVERKAUF-SPROSPEKTGESETZ
 (SECURITIES SALES PROSPECTUS ACT). NO PROSPECTUS HAS BEEN FILED WITH THE
 GERMAN FEDERAL SECURITIES TRADING SUPERVISORY AUTHORITY OR PUBLISHED IN
 GERMANY. CONSEQUENTLY, THE SECURITIES ARE ONLY OFFERED ON A PRIVATE
 PLACEMENT BASIS TO INVESTORS WHO BUY AND SELL SECURITIES AS THEIR
 PROFESSION OR COMMERCE FOR THEIR OWN ACCOUNT.

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                         NOTICE TO RESIDENTS OF GREECE

 ALL INFORMATION REGARDING THE OFFERING DESCRIBED HEREIN, INCLUDING THIS
 OFFERING CIRCULAR, IS CONFIDENTIAL AND NOT FOR PUBLIC USE. AS REGARDS
 GREEK PARTICIPANTS, JPMORGAN HAS AGREED THAT THIS OFFERING CIRCULAR AND
 ALL RELATED MATERIAL ARE DIRECTED SOLELY AT PERSONS WHO QUALIFY AS
 INSTITUTIONAL INVESTORS. ACCORDING TO THE DECISION 9/201/10.10.00 OF THE GREEK
 CAPITAL MARKET COMMISSION, INSTITUTIONAL INVESTORS ARE MUTUAL FUNDS,
 PORTFOLIO INVESTMENT COMPANIES, COMPANIES FOR THE PROVISION OF
 INVESTMENT SERVICES WITH A SHARE CAPITAL ABOVE EURO 2,934,703 OR THE
 EQUIVALENT, CREDIT INSTITUTIONS, INSURANCE COMPANIES WITH TOTAL ASSETS OF
 OVER EURO 17,608,217 OR THE EQUIVALENT (IN ACCORDANCE WITH THEIR MOST
 RECENTLY PUBLISHED FINANCIAL ACCOUNTS) AND SOCIAL SECURITY FUNDS.

                       NOTICE TO RESIDENTS OF HONG KONG

 THE SECURITIES MAY NOT BE OFFERED OR SOLD IN HONG KONG BY MEANS OF THIS
 DOCUMENT (IN PROOF OR FINAL FORM) OR ANY OTHER DOCUMENT OTHER THAN TO
 PERSONS WHOSE ORDINARY BUSINESS IT IS TO BUY OR SELL SHARES OR DEBENTURES,
 WHETHER AS PRINCIPAL OR AGENT, OR IN CIRCUMSTANCES WHICH DO NOT
 CONSTITUTE AN OFFER TO THE PUBLIC WITHIN THE MEANING OF THE COMPANIES
 ORDINANCE (CAP. 32 OF THE LAWS OF HONG KONG). EXCEPT AS PERMITTED BY LAW,
 THERE MAY NOT IN OR FROM HONG KONG BE DISTRIBUTED OR ISSUED OR CAUSED TO
 BE DISTRIBUTED OR ISSUED ANY INVITATION OR DOCUMENT RELATING TO THE
 SECURITIES, THIS DOCUMENT OR ANY OTHER OFFERING MATERIAL RELATING TO THE
 SECURITIES AND THE PREFERENCE SHARES IN ANY CASE OTHER THAN TO PERSONS
 OUTSIDE HONG KONG OR TO PERSONS IN HONG KONG WHOSE BUSINESS INVOLVES THE
 ACQUISITION, DISPOSAL OR HOLDING OF SECURITIES, WHETHER AS PRINCIPAL OR AS
 AGENT.

                        NOTICE TO RESIDENTS OF HUNGARY

 THE SECURITIES MAY ONLY BE OFFERED FOR SUBSCRIPTION IN HUNGARY PURSUANT
 TO THE PROVISIONS OF ACT CXX OF 2001 ON THE CAPITAL MARKETS. THE SECURITIES
 MAY ONLY BE RE-SOLD TO PERSONS IN HUNGARY WHO HAVE AN EXISTING DIRECT
 PERSONAL OR COMMERCIAL RELATIONSHIP WITH THE SELLER OF THE SECURITIES.

                         NOTICE TO RESIDENTS OF IRELAND

 THE SECURITIES WILL NOT AND MAY NOT BE OFFERED, SOLD, TRANSFERRED OR
 DELIVERED WHETHER DIRECTLY OR INDIRECTLY OTHERWISE THAN IN
 CIRCUMSTANCES WHICH DO NOT CONSTITUTE AN OFFER TO THE PUBLIC WITHIN THE
 MEANING OF THE IRISH COMPANIES ACTS, 1963-1999 AND THE SECURITIES WILL NOT
 AND MAY NOT BE THE SUBJECT OF AN OFFER IN IRELAND TO WHICH THE EUROPEAN
 COMMUNITIES (TRANSFERABLE SECURITIES AND STOCK EXCHANGE) REGULATIONS,
 1992 OF IRELAND WOULD APPLY. NO APPLICATION FORM HAS BEEN ISSUED OR WILL BE
 ISSUED IN THE REPUBLIC OF IRELAND IN RESPECT OF THE SECURITIES.

                          NOTICE TO RESIDENTS OF ITALY

 THE OFFERING OF THE SECURITIES HAS NOT BEEN REGISTERED WITH THE
 COMMISSIONE NAZIONALE PER LA SOCIETÀ E LA BORSA ("CONSOB") PURSUANT TO
 ITALIAN SECURITIES LEGISLATION AND JPMORGAN HAS REPRESENTED AND AGREED
 THAT SALES OF THE SECURITIES IN THE REPUBLIC OF ITALY SHALL BE EFFECTED IN
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 ACCORDANCE WITH ALL ITALIAN SECURITIES, TAX AND OTHER APPLICABLE LAWS AND
 REGULATIONS.

 JPMORGAN HAS REPRESENTED THAT IT WILL NOT OFFER, SELL OR DELIVER ANY
 SECURITIES OR DISTRIBUTE COPIES OF THE OFFERING CIRCULAR OR ANY OTHER
 DOCUMENT RELATING TO THE SECURITIES IN THE REPUBLIC OF ITALY UNLESS SUCH
 OFFER, SALE OR DELIVERY OF SECURITIES OR DISTRIBUTION OF COPIES OF THE
 OFFERING CIRCULAR OR ANY OTHER DOCUMENT RELATING TO THE NOTES IN THE
 REPUBLIC OF ITALY IS:

               (A)  MADE BY THE INVESTMENT FIRMS, BANK OR FINANCIAL
        INTERMEDIARY PERMITTED TO CONDUCT SUCH ACTIVITIES IN THE REPUBLIC OF
        ITALY IN ACCORDANCE WITH LEGISLATIVE DECREE NO. 385 OF 1 SEPTEMBER
        1993 ("DECREE NO. 385"), LEGISLATIVE DECREE NO. 58 OF 24 FEBRUARY 1998,
        CONSOB REGULATION NO. 11971 OF 14 MAY 1999 AND ANY OTHER APPLICABLE
        LAWS AND REGULATION;

              (B)   IN COMPLIANCE WITH ARTICLE 129 OF DECREE NO. 385 AND THE
        IMPLEMENTING INSTRUCTIONS OF THE BANK OF ITALY, PURSUANT TO WHICH
        THE ISSUE, TRADING OR PLACEMENT OF SECURITIES IN ITALY IS SUBJECT TO
        PRIOR NOTIFICATION TO THE BANK OF ITALY, UNLESS AN EXEMPTION APPLIES;
        AND

             (C)   IN COMPLIANCE WITH ANY OTHER APPLICABLE NOTIFICATION
        REQUIREMENT OR LIMITATION WHICH MAY BE IMPOSED BY CONSOB OR THE
        BANK OF ITALY OR ANY OTHER ITALIAN REGULATORY AUTHORITY.

                          NOTICE TO RESIDENTS OF JAPAN

 THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED UNDER THE
 SECURITIES AND EXCHANGE LAW OF JAPAN (THE "SECURITIES AND EXCHANGE
 LAW"). ANY PERSON RESIDENT IN JAPAN, INCLUDING ANY CORPORATION OR OTHER
 ENTITY ORGANIZED UNDER THE LAWS OF JAPAN, AND, WITH RESPECT TO ANY ENTITY
 ORGANIZED UNDER THE LAWS OF A JURISDICTION OTHER THAN JAPAN, ITS BRANCHES
 OR OFFICES LOCATED IN JAPAN, MAY ONLY PURCHASE SECURITIES IN ACCORDANCE
 WITH AN EXEMPTION FROM THE REGISTRATION PROVISIONS OF THE SECURITIES AND
 EXCHANGE LAW AVAILABLE THEREUNDER AND IN COMPLIANCE WITH THE OTHER
 RELEVANT LAWS AND REGULATIONS OF JAPAN.

                          NOTICE TO RESIDENTS OF JERSEY

 NO PERSON MAY CIRCULATE IN THE ISLAND OF JERSEY THIS OFFERING CIRCULAR OR
 ANY OTHER OFFER FOR SALE OF ANY OF THE SECURITIES UNLESS SUCH OFFER DOES
 NOT, FOR THE PURPOSES OF ARTICLE 6 OF THE CONTROL OF BORROWING (JERSEY)
 ORDER 1958, AS AMENDED, CONSTITUTE AN OFFER TO THE PUBLIC.

                          NOTICE TO RESIDENTS OF LATVIA

 THE SECURITIES MAY BE OFFERED AND SOLD IN LATVIA IN ACCORDANCE WITH THE
 LAW ON SECURITIES OF 23 AUGUST 1995, PROVIDED THAT THE OFFER OR SALE OF THE
 SECURITIES CANNOT BE CONSTRUED AS CONDUCTING INTERMEDIARY ACTIVITIES IN
 LATVIA, AND PROVIDED THAT THE SECURITIES ARE NOT PUT IN PUBLIC CIRCULATION.



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                      NOTICE TO RESIDENTS OF LUXEMBOURG

 THE SECURITIES MAY NOT BE OFFERED TO THE PUBLIC IN LUXEMBOURG, UNLESS THE
 APPLICABLE LEGAL AND REGULATORY REQUIREMENTS, IN PARTICULAR THE RULES
 SET FORTH IN THE DECEMBER 28, 1990 GRAND DUCAL REGULATION (ON THE
 REQUIREMENTS FOR THE DRAWING-UP, SCRUTINY AND DISTRIBUTION OF THE
 PROSPECTUS TO BE PUBLISHED WHERE TRANSFERABLE SECURITIES ARE OFFERED TO
 THE PUBLIC OR OF LISTING PARTICULARS TO BE PUBLISHED FOR THE ADMISSION OF
 TRANSFERABLE SECURITIES TO OFFICIAL STOCK EXCHANGE LISTING), AS AMENDED,
 HAVE BEEN COMPLIED WITH.

                    NOTICE TO RESIDENTS OF THE NETHERLANDS

 THE SECURITIES MAY NOT BE OFFERED, AS PART OF THEIR INITIAL DISTRIBUTION OR
 AS PART OF ANY RE-OFFERING, IN THE NETHERLANDS, EXCEPT FOR NOTES HAVING A
 DENOMINATION OF AT LEAST EURO 45,379 (OR ITS EQUIVALENT), PROVIDED THAT IF
 ANY SUCH NOTES ARE ISSUED:

             (A)  AT A DISCOUNT, THEY MAY ONLY BE OFFERED IN THE
        NETHERLANDS IF THEIR ISSUE PRICE IS NO LESS THAN EURO 45,379 (OR ITS
        EQUIVALENT);

             (B)  ON A PARTLY-PAID BASIS, THEY MAY ONLY BE OFFERED IN THE
        NETHERLANDS IF PAID-UP AT LEAST TO AN AMOUNT OF EURO 45,379 (OR ITS
        EQUIVALENT);

              (C)   WITH A DENOMINATION OF PRECISELY EURO 45,379 (OR
        EQUIVALENT); THEY MAY ONLY BE OFFERED IN THE NETHERLANDS ON A FULLY-
        PAID BASIS AND AT PAR OR AT A PREMIUM.

                         NOTICE TO RESIDENTS OF NORWAY

 THE OFFERING OF THE SECURITIES WILL NOT BE A PUBLIC OFFER IN NORWAY AND THIS
 OFFERING CIRCULAR IS INTENDED TO BE READ BY THE ADDRESSEE ONLY.

                         NOTICE TO RESIDENTS OF PANAMA

 THE SECURITIES HAVE NOT BEEN AND WILL NOT BE REGISTERED WITH THE NATIONAL
 SECURITIES COMMISSION OF THE REPUBLIC OF PANAMA UNDER DECREE LAW N°1 OF
 JULY 8, 1999 (THE "PANAMANIAN SECURITIES ACT") AND MAY NOT BE PUBLICLY
 OFFERED OR SOLD WITHIN PANAMA, EXCEPT IN CERTAIN LIMITED TRANSACTIONS
 EXEMPT FROM THE REGISTRATION REQUIREMENTS OF THE PANAMANIAN SECURITIES
 ACT. THESE SECURITIES DO NOT BENEFIT FROM THE TAX INCENTIVES PROVIDED BY
 THE PANAMANIAN SECURITIES ACT AND ARE NOT SUBJECT TO REGULATION OR
 SUPERVISION BY THE NATIONAL SECURITIES COMMISSION OF THE REPUBLIC OF
 PANAMA.

                         NOTICE TO RESIDENTS OF POLAND

 NO PERMIT HAS BEEN OBTAINED FROM THE POLISH SECURITIES AND EXCHANGE
 COMMISSION IN RELATION TO THE ISSUE OF THE SECURITIES. ACCORDINGLY, THE
 SECURITIES MAY NOT BE OFFERED IN THE REPUBLIC OF POLAND ("POLAND") IN THE
 COURSE OF PUBLIC TRADING, DEFINED IN THE POLISH ACT ON PUBLIC TRADING IN
 SECURITIES DATED 21ST AUGUST 1997 AS OFFERING TO SELL OR PURCHASE OR SALES
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 AND PURCHASES OF SECURITIES ISSUED IN A SERIES THROUGH USE OF MASS MEDIA OR
 OTHER MEANS IF THE OFFER IS DIRECTED AT MORE THAN 300 PEOPLE OR TO AN
 UNNAMED ADDRESSEE ("PUBLIC TRADING"). NO SUCH PERMIT HAS BEEN OBTAINED
 AND SECURITIES HAVE NOT BEEN OFFERED, SOLD OR DELIVERED AND WILL NOT BE
 OFFERED, SOLD OR DELIVERED IN POLAND IN THE COURSE OF PUBLIC TRADING AS
 PART OF THEIR INITIAL DISTRIBUTION OR OTHERWISE TO RESIDENTS OF POLAND. THE
 ACQUISITION AND HOLDING OF THE SECURITIES BY RESIDENTS OF POLAND MAY BE
 SUBJECT TO RESTRICTIONS IMPOSED BY POLISH LAW (INCLUDING FOREIGN EXCHANGE
 REGULATIONS) AND THAT THE OFFER AND SALE OF THE SECURITIES TO POLISH
 RESIDENTS OR WITHIN POLAND IN SECONDARY TRADING MAY ALSO BE SUBJECT TO
 RESTRICTIONS.

                        NOTICE TO RESIDENTS OF PORTUGAL

 THE SECURITIES HAVE NOT BEEN OFFERED, ADVERTISED, SOLD OR DELIVERED AND
 WILL NOT BE DIRECTLY OR INDIRECTLY OFFERED, ADVERTISED, SOLD, RE-SOLD, RE-
 OFFERED OR DELIVERED IN CIRCUMSTANCES WHICH COULD QUALIFY AS A PUBLIC
 OFFER PURSUANT TO THE CÓDIGO DOS VALORES MOBILIÁRIOS OR IN CIRCUMSTANCES
 WHICH COULD QUALIFY THE ISSUE OF THE SECURITIES AS AN ISSUE IN THE
 PORTUGUESE MARKET. THE SECURITIES HAVE NOT BEEN DIRECTLY OR INDIRECTLY
 DISTRIBUTED AND THIS OFFERING CIRCULAR, ANY OTHER DOCUMENT, CIRCULAR,
 ADVERTISEMENT OR ANY OFFERING MATERIAL WILL NOT BE DIRECTLY OR
 INDIRECTLY DISTRIBUTED EXCEPT IN ACCORDANCE WITH ALL APPLICABLE LAWS AND
 REGULATIONS.

                        NOTICE TO RESIDENTS OF SINGAPORE

 THIS OFFERING CIRCULAR HAS NOT BEEN REGISTERED AS A PROSPECTUS WITH THE
 MONETARY AUTHORITY OF SINGAPORE UNDER THE SECURITIES AND FUTURES ACT
 2001 (ACT 42 OF 2001) OF SINGAPORE (THE "SECURITIES AND FUTURES ACT").
 ACCORDINGLY, THE SECURITIES MAY NOT BE OFFERED OR SOLD OR MADE THE
 SUBJECT OF AN INVITATION FOR SUBSCRIPTION OR PURCHASE NOR MAY THIS
 OFFERING CIRCULAR OR ANY OTHER DOCUMENT OR MATERIAL IN CONNECTION WITH
 THE OFFER OR SALE, OR INVITATION FOR SUBSCRIPTION OR PURCHASE OF SUCH
 SECURITIES BE CIRCULATED OR DISTRIBUTED, WHETHER DIRECTLY OR INDIRECTLY, TO
 THE PUBLIC OR ANY MEMBER OF THE PUBLIC IN SINGAPORE OTHER THAN (1) TO AN
 INSTITUTIONAL INVESTOR OR OTHER PERSON FALLING WITHIN SECTION 274 OF THE
 SECURITIES AND FUTURES ACT, (2) TO A SOPHISTICATED INVESTOR (AS DEFINED IN
 SECTION 275 OF THE SECURITIES AND FUTURES ACT) AND IN ACCORDANCE WITH THE
 CONDITIONS SPECIFIED IN SECTION 275 OF THE SECURITIES AND FUTURES ACT OR (3)
 OTHERWISE THAN PURSUANT TO, AND IN ACCORDANCE WITH THE CONDITIONS OF,
 ANY OTHER APPLICABLE PROVISION OF THE SECURITIES AND FUTURES ACT.

                        NOTICE TO RESIDENTS OF SLOVENIA

 THIS OFFERING OF THE SECURITIES HAS NOT BEEN REGISTERED WITH OR NOTIFIED TO
 THE SECURITIES MARKET AGENCY OF THE REPUBLIC OF SLOVENIA AND NO APPROVAL
 BY THE MINISTRY OF FINANCE OF THE REPUBLIC OF SLOVENIA HAS BEEN SOUGHT OR
 WILL BE SOUGHT FOR THIS OFFERING. THE SECURITIES WILL NOT AND MAY NOT BE
 ISSUED, OFFERED OR SOLD IN THE REPUBLIC OF SLOVENIA EXCEPT IN A MANNER
 CONSISTENT WITH ANY REGISTRATION, NOTIFICATION OR APPROVAL UNDER THE LAW
 ON SECURITIES MARKET (OFF. JOURNAL OF THE RS, NO. 56/1999) AND THE LAW ON
 FOREIGN EXCHANGE TRANSACTIONS (OFF. JOURNAL OF THE RS, NO. 23/1999).
 ACCORDINGLY, THE SECURITIES MAY NOT BE ISSUED, OFFERED, SOLD, TRANSFERRED
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 OR DELIVERED TO THE PUBLIC NOR OFFERED NON-PUBLICLY WITHIN THE MEANING OF
 THE ARTICLE 50 OF THE LAW ON SECURITIES MARKET IN THE REPUBLIC OF SLOVENIA.
 SLOVENE RESIDENTS MAY ACQUIRE THE SECURITIES ABROAD ONLY IN ACCORDANCE
 WITH THE PROVISIONS OF THE LAW ON FOREIGN EXCHANGE TRANSACTIONS.

                      NOTICE TO RESIDENTS OF SOUTH AFRICA

 THE SECURITIES HAVE NOT AND WILL NOT BE OFFERED FOR SALE OR SUBSCRIPTION,
 DIRECTLY OR INDIRECTLY, WITHIN THE REPUBLIC OF SOUTH AFRICA OR TO ANY
 PERSON OR CORPORATE OR OTHER ENTITY RESIDENT IN THE REPUBLIC OF SOUTH
 AFRICA EXCEPT (I) IN ACCORDANCE WITH THE EXCHANGE CONTROL REGULATIONS OF
 THE REPUBLIC OF SOUTH AFRICA AND (II) TO ANY ENTITY RESIDENT OR WITHIN THE
 REPUBLIC OF SOUTH AFRICA IN ACCORDANCE WITH THE COMPANIES ACT, 1973 AND
 THE REGULATIONS TO THE BANKS ACT, 1990.

                           NOTICE TO RESIDENTS OF SPAIN

 THE SECURITIES MAY NOT BE OFFERED OR SOLD IN SPAIN EXCEPT IN ACCORDANCE
 WITH THE REQUIREMENTS OF THE SPANISH SECURITIES MARKET LAW (LEY 24/1988, DE
 28 DE JULIO, DEL MERCADO DE VALORES), AS AMENDED AND RESTATED, AND ROYAL
 DECREE 291/1992, OF 27 MARCH, ON ISSUES AND PUBLIC OFFERINGS OF SECURITIES
 (REAL DECRETO 291/1992, DE 27 DE MARZO, SOBRE EMISIONES Y OFERTAS PÚBLICAS DE
 VENTA DE VALORES), AS AMENDED AND RESTATED, AND THE DECREES AND
 REGULATIONS MADE THEREUNDER. THE SECURITIES HAVE NOT AND WILL NOT BE
 SOLD, OFFERED OR DISTRIBUTED IN SPAIN EXCEPT IN CIRCUMSTANCES WHICH DO NOT
 CONSTITUTE AN OFFER OF SECURITIES IN SPAIN WITHIN THE MEANING OF SPANISH
 SECURITIES LAWS AND REGULATIONS. THE OFFERING CIRCULAR HAS NOT BEEN
 REGISTERED WITH THE SPANISH SECURITIES MARKET COMMISSION (COMISIÓN
 NACIONAL DEL MERCADO DE VALORES) AND THEREFORE IT IS NOT INTENDED FOR THE
 OFFERING OR SALE OF THE SECURITIES IN SPAIN.

                         NOTICE TO RESIDENTS OF SWEDEN

 THIS OFFERING CIRCULAR IS FOR THE RECIPIENT ONLY AND MAY NOT IN ANY WAY BE
 FORWARDED TO ANY OTHER PERSON OR TO THE PUBLIC IN SWEDEN.

                  NOTICE TO RESIDENTS OF THE UNITED KINGDOM

 JPMORGAN HAS REPRESENTED, WARRANTED AND AGREED THAT:

              (I)    IT HAS NOT OFFERED OR SOLD AND WILL NOT OFFER OR SELL ANY
        SECURITIES TO PERSONS IN THE UNITED KINGDOM PRIOR TO ADMISSION OF THE
        NOTES TO LISTING IN ACCORDANCE WITH PART VI OF THE FINANCIAL SERVICES
        AND MARKETS ACT 2000 (THE "FSMA"), EXCEPT TO PERSONS WHOSE ORDINARY
        ACTIVITIES INVOLVE THEM IN ACQUIRING, HOLDING, MANAGING OR DISPOSING
        OF INVESTMENTS (AS PRINCIPAL OR AGENT) FOR THE PURPOSES OF THEIR
        BUSINESSES OR OTHERWISE IN CIRCUMSTANCES WHICH HAVE NOT RESULTED
        AND WILL NOT RESULT IN AN OFFER TO THE PUBLIC IN THE UNITED KINGDOM
        WITHIN THE MEANING OF THE PUBLIC OFFERS OF SECURITIES REGULATIONS 1995
        OR THE FSMA;

              (II)  IT HAS NOT OFFERED OR SOLD AND, PRIOR TO THE EXPIRY OF A
        PERIOD OF SIX MONTHS FROM THE ISSUE DATE OF THE SECURITIES, WILL NOT
        OFFER OR SELL ANY SECURITIES TO PERSONS IN THE UNITED KINGDOM EXCEPT
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         TO PERSONS WHOSE ORDINARY ACTIVITIES INVOLVE THEM IN ACQUIRING,
         HOLDING, MANAGING OR DISPOSING OF INVESTMENTS (AS PRINCIPAL OR
         AGENT) FOR THE PURPOSES OF THEIR BUSINESSES OR OTHERWISE IN
         CIRCUMSTANCES WHICH HAVE NOT RESULTED AND WILL NOT RESULT IN AN
         OFFER TO THE PUBLIC IN THE UNITED KINGDOM WITHIN THE MEANING OF THE
         PUBLIC OFFERS OF SECURITIES REGULATIONS 1995;

               (III)  IT HAS ONLY COMMUNICATED OR CAUSED TO BE COMMUNICATED
         AND WILL ONLY COMMUNICATE OR CAUSE TO BE COMMUNICATED ANY
         INVITATION OR INDUCEMENT TO ENGAGE IN INVESTMENT ACTIVITY (WITHIN
         THE MEANING OF SECTION 21 OF THE FSMA) RECEIVED BY IT IN CONNECTION
         WITH THE ISSUE OR SALE OF ANY SECURITIES IN CIRCUMSTANCES IN WHICH
         SECTION 21(1) OF THE FSMA DOES NOT APPLY TO THE ISSUER; AND

              (IV)  IT HAS COMPLIED AND WILL COMPLY WITH ALL APPLICABLE
         PROVISIONS OF THE FSMA WITH RESPECT TO ANYTHING DONE BY IT IN
         RELATION TO THE SECURITIES IN, FROM OR OTHERWISE INVOLVING THE UNITED
         KINGDOM.

                                     AVAILABLE INFORMATION

 To permit compliance with Rule 144A in connection with the sale of the Securities, the Issuer (and, solely
 in the case of the Notes, the Co-Issuers) under the Indenture referred to under "Description of the
 Securities" and the Preference Share Documents will be required to furnish upon request of a holder of a
 Security to such holder and a prospective purchaser designated by such holder the information required to
 be delivered under Rule 144A(d)(4) under the Securities Act if at the time of the request the Co-Issuers
 are not reporting companies under Section 13 or Section 15(d) of the United States Securities Exchange
 Act of 1934, as amended (the "Exchange Act"), or exempt from reporting pursuant to Rule 12g3-2(b)
 under the Exchange Act. Such information may be obtained directly from the Issuer or through the
 paying agent in Ireland at the address set forth on the final page of this Offering Circular.

                   INFORMATION AS TO SALE WITHIN THE UNITED STATES

 This Offering Circular is highly confidential and has been prepared by the Issuer solely for use in
 connection with this offering. This Offering Circular is personal to each offeree to whom it has been
 delivered by the Co-Issuers, JPMorgan or affiliates thereof and does not constitute an offer to any other
 person or to the public generally to subscribe for or otherwise acquire the Securities. Distribution of this
 Offering Circular to any persons other than the offeree and those persons, if any, retained to advise such
 offeree with respect thereto is unauthorized and any disclosure of any of its contents, without the prior
 written consent of the Issuer, is prohibited except as otherwise authorized under "Income Tax
 Considerations—Tax Return Disclosure and Investor List Requirements." Each prospective purchaser in
 the United States, by accepting delivery of this Offering Circular, agrees to the foregoing and to make no
 copies of this Offering Circular or any documents related hereto and, if the offeree does not purchase
 Securities or the offering is terminated, to return this Offering Circular and all documents attached hereto
 to: J.P. Morgan Securities Inc., 270 Park Avenue, 8th Floor, New York, New York 10017, Attention:
 Structured Credit Products.

 NOTWITHSTANDING THE CONFIDENTIAL NATURE OF THIS OFFERING CIRCULAR, EACH
 PROSPECTIVE INVESTOR (AND EACH EMPLOYEE, REPRESENTATIVE, OR OTHER AGENT
 OF SUCH PROSPECTIVE INVESTOR) MAY DISCLOSE TO ANY AND ALL PERSONS,
 WITHOUT LIMITATIONS OF ANY KIND, THE TAX TREATMENT AND TAX STRUCTURE OF
 THE TRANSACTION AND ALL MATERIALS OF ANY KIND (INCLUDING OPINIONS OR
 OTHER TAX ANALYSES) THAT ARE PROVIDED TO THE PROSPECTIVE INVESTOR
 RELATING TO SUCH TAX TREATMENT AND TAX STRUCTURE. ANY SUCH DISCLOSURE
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 OF THE TAX TREATMENT, TAX STRUCTURE AND OTHER TAX-RELATED MATERIALS
 SHALL NOT BE MADE FOR THE PURPOSE OF OFFERING TO SELL THE SECURITIES
 OFFERED HEREBY OR SOLICITING AN OFFER TO PURCHASE ANY SUCH SECURITIES. FOR
 PURPOSES OF THIS PARAGRAPH, THE TERMS "TAX TREATMENT" AND "TAX STRUCTURE"
 HAVE THE MEANING GIVEN TO SUCH TERMS UNDER UNITED STATES TREASURY
 REGULATION SECTION 1.6011-4(C) AND ANY ANALOGOUS PROVISIONS UNDER UNITED
 STATES STATE AND LOCAL LAW.        IN GENERAL, THE TAX TREATMENT OF A
 TRANSACTION IS THE PURPORTED OR CLAIMED U.S. TAX TREATMENT OF THE
 TRANSACTION, AND THE TAX STRUCTURE OF A TRANSACTION IS ANY FACT THAT MAY
 BE RELEVANT TO UNDERSTANDING THE PURPORTED OR CLAIMED U.S. TAX
 TREATMENT OF THE TRANSACTION.




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                                                                                                    SUMMARY OF TERMS
        The following summary of terms does not purport to be complete and is qualified in its entirety by, and should be read in conjunction with, the more
detailed information appearing elsewhere in this Offering Circular and the documents referred to in this Offering Circular. A Glossary and an Index of
Defined Terms appear at the back of this Offering Circular. Except as otherwise specified herein or as the context may otherwise require or dictate or
unless the Composite Securities are explicitly addressed in the same context, (A) all references in this Offering Circular to the "Preference Shares" include
the "Preference Share Component" of the Class 1 Composite Securities and (B) all references in this Offering Circular to the rights of the Holders of the
Preference Shares (including with respect to any payments, distributions, redemptions, votes or consents to be given by such Holders) include the rights of
the Holders of the Class 1 Composite Securities to the extent of the Preference Share Component of the Class 1 Composite Securities.
Principal Terms of the Securities
                                    Class A-1a           Class A-1b            Class A-1g        Class A-2 Notes         Class A-3a           Class A-3b          Class B Notes        Class C Notes           Class 1              Preference
                                      Notes                Notes                 Notes                                     Notes                Notes                                                         Composite               Shares
                                                                                                                                                                                                              Securities1
             Type                  Floating Rate          Fixed Rate          Floating Rate        Floating Rate        Floating Rate          Fixed Rate          Floating Rate        Floating Rate         Extendable            Extendable
                                  Senior Secured        Senior Secured       Senior Secured       Senior Secured       Senior Secured        Senior Secured       Senior Secured       Senior Secured
                                    Extendable            Extendable           Extendable           Extendable           Extendable            Extendable           Deferrable           Deferrable
                                                                                                                                                                      Interest             Interest
                                                                                                                                                                    Extendable           Extendable
           Issuer(s)                 Co-Issuers           Co-Issuers           Co-Issuers           Co-Issuers            Co-Issuers           Co-Issuers           Co-Issuers           Co-Issuers              Issuer               Issuer
    Principal Amount / Face         $52,000,000           $7,000,000          $400,000,000         $42,500,000           $23,500,000           $2,500,000          $39,000,000           $36,300,000          $6,000,0002          $82,200,0003
        Amount (U.S.$)
    Expected Moody's Initial           "Aaa"                "Aaa"                "Aaa"                 "Aaa"                "Aa2"                "Aa2"                 "A2"                "Baa2"                "Aaa"5                N/A
            Rating4
     Expected S&P Initial             "AAA"                "AAA"                 "AAA"                "AAA"                 "AA"                 "AA"                   "A"                "BBB"                  N/A                  N/A
           Rating4
       Note Interest Rate         LIBOR + 0.31%            4.685%           LIBOR + 0.25%6       LIBOR + 0.50%         LIBOR + 0.60%            5.068%           LIBOR + 1.05%         LIBOR + 2.10%              N/A                  N/A
       Stated Maturity /          February, 2017        February, 2017       February, 2017       February, 2017       February, 2017        February, 2017       February, 2017       February, 2017       February, 2017        February, 2017
     Scheduled Preference         Payment Date          Payment Date         Payment Date         Payment Date         Payment Date          Payment Date         Payment Date         Payment Date         Payment Date          Payment Date
      Shares Redemption
             Date7
          Minimum                    $250,000             $250,000              $250,000             $250,000             $250,000              $250,000             $250,000             $250,000             $100,000                100
    Denominations (U.S.$) /          ($1,000)             ($1,000)              ($1,000)             ($1,000)             ($1,000)              ($1,000)             ($1,000)             ($1,000)             ($1,000)                (1)
           Number
     (Integral Multiples)
        Ranking of the
         Securities:
        Priority Class                 None                 None                  None            Senior Class A       Senior Class A,      Senior Class A,       Senior Class A,      Senior Class A,            N/A             Senior Class A,
                                                                                                                            A-2                  A-2                 A-2, A-3           A-2, A-3, B                               A-2, A-3, B, C
         Junior Class             A-2, A-3, B, C,      A-2, A-3, B, C,       A-2, A-3, B, C,        A-3, B, C,         B, C, Preference     B, C, Preference       C, Preference         Preference               N/A                  None
                                    Preference           Preference            Preference           Preference              Shares               Shares               Shares               Shares
                                      Shares               Shares                Shares               Shares
    Deferred Interest Notes             No                    No                   No                   No                 No                     No                   Yes                    Yes                  N/A                   N/A
1    The Class 1 Composite Securities shall consist of the Preference Share Component and the Class 1 Component. The portions of the interest in the Treasury Strip and the Preference Shares that comprise the Class 1 Composite Securities are
     not separately transferable. On the Composite Security Payment Date, the Holders of the Class 1 Composite Securities will be entitled to receive the proceeds from the sale of the portion of the Treasury Strip with respect to such Composite
     Securities Payment Date and a pro rata share of the distribution on the Preference Shares on such date. No other payments will be made on the Class 1 Composite Securities.
2     The amount of the Class 1 Composite Securities shown also includes the Preference Share Component comprised of 2,000 Preference Shares.
3     The Preference Shares will be issued with a Face Amount of U.S.$1,000 per share.
4     The initial ratings assume no Maturity Extension occurs after the Closing Date. The "Expected Moody's Initial Rating" and the "Expected S&P Initial Rating" assigned to the Class A-1g Notes give effect to the Policy.
5     The Class 1 Composite Securities are rated only as to the ultimate payment of their Class 1 Composite Security Rated Balance.
6     Upon the termination of the Policy, the Note Interest Rate for the Class A-1g Notes shall be LIBOR + 0.25% + the Premium Rate (the "Step-Up Note Interest Rate"). See "Description of the Securities—Termination of the Policy."
7     The Stated Maturity of the Notes and the Composite Securities and the Scheduled Preference Shares Redemption Date of the Preference Shares are subject to multiple extensions to the applicable Extended Stated Maturity Date (in the case
      of the Notes and the Composite Securities) and the applicable Extended Scheduled Preference Shares Redemption Date (in the case of the Preference Shares), if the Issuer provides timely notice and the Extension Conditions are satisfied.
      See "Risk Factors—The Weighted Average Lives of the Notes May Vary," "—A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected," "Maturity and Prepayment Considerations" and "Description of the
      Securities—Extension of the Reinvestment Period, the Stated Maturity and the Scheduled Preference Shares Redemption Date."



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                                The Notes will be limited recourse obligations of the Co-Issuers
                                and the Composite Securities will be limited recourse obligations
                                of the Issuer. The Notes and the Composite Securities will be
                                issued pursuant to the Indenture.

                                The Preference Shares will be part of the issued share capital of
                                the Issuer and, accordingly, will not be secured obligations of the
                                Issuer. JPMorgan Chase Bank, National Association will act as
                                the Preference Shares Paying Agent for the Preference Shares
                                and will perform various administrative services pursuant to a
                                Preference Shares Paying Agency Agreement, dated as of the
                                Closing Date (the "Preference Shares Paying Agency
                                Agreement") by and between the Issuer and the Preference
                                Shares Paying Agent, as amended from time to time in
                                accordance with the terms thereof.

                                Payments to each Holder of the Notes of each Class shall be
                                made ratably among the Holders of the Notes of that Class in
                                proportion to the Aggregate Outstanding Amount of the Notes of
                                such Class held by each Holder (treating the Class A-1a Notes,
                                the Class A-1b Notes, the Class A-1g Notes, the Class A-2
                                Notes, the Class A-3a Notes and the Class A-3b Notes as
                                separate Classes for this purpose). Payments to each Holder of
                                the Preference Shares shall be made ratably among the Holders
                                of the Preference Shares in proportion to the Aggregate
                                Outstanding Amount of such Preference Shares held by each
                                Holder.

                                Except as provided under "Description of the Securities—
                                Priority of Payments," the Senior Class A Notes will be senior in
                                right of interest and principal payments on each Payment Date to
                                the Class A-2 Notes; the Class A-2 Notes will be senior in right
                                of interest and principal payments on each Payment Date to the
                                Class A-3 Notes; the Class A-3 Notes will be senior in right of
                                interest and principal payments on each Payment Date to the
                                Class B Notes; the Class B Notes will be senior in right of
                                interest and principal payments on each Payment Date to the
                                Class C Notes; and the Class C Notes will be senior in right of
                                interest and principal payments on each Payment Date to the
                                Preference Shares.

                                The Class 1 Composite Securities consist of (i) a Preference
                                Share Component entitling its holders to rights in respect of
                                2,000 Preference Shares and (ii) a Class 1 Component entitling
                                its holders to rights to receive proceeds from a trust account
                                initially holding a United States Treasury strip security maturing
                                on November 15, 2016 with a principal amount at maturity of
                                U.S.$6,000,000.

                                The Securities and certain other obligations of the Co-Issuers
                                will have the priorities of payment described under "Description
                                of the Securities—Priority of Payments."


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  Co-Issuers .......................................... The Issuer has been incorporated and exists under the laws of the
                                                        Cayman Islands. Pursuant to the Indenture, the Issuer's activities
                                                        are limited to acquiring Collateral Obligations and Eligible
                                                        Investments, entering into any Hedge Agreements, issuing the
                                                        Securities and entering into certain related transactions.

                                               The Co-Issuer is organized under the laws of the State of
                                               Delaware for the sole purpose of co-issuing the Notes.

                                               The Issuer will not have any significant assets other than
                                               Collateral Obligations, Eligible Investments, any Hedge
                                               Agreement and certain other eligible assets. The Collateral
                                               Obligations, Eligible Investments, the rights of the Issuer under
                                               any Hedge Agreements and other collateral will be pledged to
                                               the Trustee as security for, among other things, the Issuer's
                                               obligations under the Notes and the Class 1 Collateral will be
                                               pledged to the Trustee as security solely for the benefit of the
                                               Holders of the Class 1 Composite Securities.

                                               The Co-Issuer is not expected to have any significant assets and
                                               will not pledge any assets to secure the Notes. The Co-Issuer
                                               will have no claim against the Issuer in respect of the Collateral
                                               Obligations or otherwise.

  Portfolio Manager............................. Certain advisory and management functions with respect to the
                                                 Collateral will be performed by Highland Capital Management,
                                                 L.P., a Delaware limited partnership ("Highland Capital" or, in
                                                 such capacity, the "Portfolio Manager"). On the Closing Date,
                                                 the Portfolio Manager or its Affiliates are expected to purchase
                                                 Preference Shares having an aggregate Face Amount equal to
                                                 U.S.$13,200,000. Under the Portfolio Management Agreement,
                                                 the Portfolio Manager or its Affiliates will maintain, in the
                                                 aggregate, ownership of Preference Shares having an aggregate
                                                 Face Amount of at least $10,000,000 until the earlier of such
                                                 time as:

                                                (i)     none of the Notes are Outstanding; or

                                                (ii)    Highland Capital is removed or resigns as Portfolio
                                                        Manager and such removal or resignation has become
                                                        effective in accordance with the Portfolio Management
                                                        Agreement.

                                               The Portfolio Manager or its Affiliates may also acquire
                                               Preference Shares upon the occurrence of (i) the Amendment
                                               Buy-Out Option and (ii) a proposed removal of the Portfolio
                                               Manager by the Directing Preference Shares. In addition, the
                                               Portfolio Manager or its Affiliates may acquire the Class A-1g
                                               Notes upon the occurrence of the Removal Buy-Out Option. In
                                               addition, the Portfolio Manager or its Affiliates may acquire all
                                               or any portion of any Extension Sale Securities in connection
                                               with a Maturity Extension. See "The Portfolio Manager," "Risk
                                               Factors—Relating to the Securities," "—Relating to the Portfolio

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                                                Manager" and "—Relating to Certain Conflicts of Interest—The
                                                Issuer Will Be Subject to Various Conflicts of Interest Involving
                                                the Portfolio Manager," "Description of the Securities—
                                                Amendment Buy-Out," "—Removal Buy-Out," "Description of
                                                the Securities—Extension of the Reinvestment Period, the Stated
                                                Maturity and the Scheduled Preference Shares Redemption
                                                Date" and "The Management Agreement."

  Insurer ............................................... As Insurer, Assured Guaranty Corp., a Maryland-domiciled
                                                          insurance corporation ("Assured Guaranty"), will issue the
                                                          Policy for the benefit of the Holders of the Insured Notes,
                                                          pursuant to which it will irrevocably and unconditionally
                                                          guarantee the Insured Amounts on the Insured Notes. No other
                                                          Class of Securities will be entitled to the benefits of the Policy.
                                                          See "The Insurer and the Policy."

                                                The Indenture provides that, as the "Controlling Class," the
                                                Insurer, and not the Holders of the Insured Notes, will have
                                                certain voting rights under the Indenture at all times prior to the
                                                payment in full of the Class A-1g Notes and all amounts owing
                                                to the Insurer in accordance with the Insurance Agreement so
                                                long as no Insurer Default has occurred and is continuing. In
                                                addition, the Insurer will have certain other rights under the
                                                Insurance Agreement, including rights to declare events of
                                                default thereunder in certain circumstances, which events of
                                                default will constitute Events of Default under the Indenture.
                                                See "Risk Factors—Insurer as Controlling Class," "Description
                                                of the Securities—The Indenture—Events of Default" and "The
                                                Insurer and the Policy—The Policy."

  Use of Proceeds ................................. The gross proceeds of the offering of the Securities received on
                                                    the Closing Date are expected to equal approximately
                                                    $689,000,000 and will be used by the Issuer to:

                                                •     purchase a portfolio of Collateral Obligations;

                                                •     fund a trust account for Revolving Loans (the "Revolving
                                                      Reserve Account") and a trust account for Delayed
                                                      Drawdown Loans (the "Delayed Drawdown Reserve
                                                      Account") to cover any future draws on Revolving Loans
                                                      and Delayed Drawdown Loans;

                                                •     enter into any Hedge Agreements, as applicable;

                                                •     enter into any Securities Lending Agreements (and
                                                      correspondingly to fund the Securities Lending Account);

                                                •     enter into any Synthetic Security Agreements (and
                                                      correspondingly to fund the related accounts);




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                                              •     repurchase and terminate Participations outstanding under
                                                    the Warehouse Agreement (at a price reflecting the price
                                                    originally paid by the Issuer to acquire the Warehoused
                                                    Loans, plus the amount of extensions of credit in respect of
                                                    certain Warehoused Loans, minus the aggregate amount of
                                                    payments of principal received by the Warehouse Provider
                                                    in respect of such Warehoused Loans (excluding the
                                                    amount of any such payment that was required to be repaid
                                                    or returned by the Warehouse Provider by claw-back or
                                                    otherwise), plus all accrued and unpaid interest and fees on
                                                    the Warehoused Loans;

                                              •     fund the Closing Date Expense Account and the Interest
                                                    Reserve Account;

                                              •     purchase the Treasury Strip for deposit into the Class 1
                                                    Component Account;

                                              •     pay an arrangement and advisory fee to Sumitomo Trust &
                                                    Banking Co., Ltd.; and

                                              •     undertake certain related activities.

                                              See "Use of Proceeds."

  Payment Dates................................... Payment of interest on, and principal of, the Notes will be made
                                                   by the Issuer in U.S. Dollars on the first day of each February,
                                                   May, August and November of each year (or if such day is not a
                                                   Business Day, the next succeeding Business Day), commencing
                                                   August 1, 2005, to the extent of available cash flow in respect of
                                                   the Collateral in accordance with the Priority of Payments.

  Interest Payments and Payments
  of Dividends from Interest
  Proceeds ............................................. The Notes will accrue interest from the Closing Date. Interest on
                                                         the Notes will be payable, to the extent of funds available
                                                         therefor, on each Payment Date.

                                               So long as any Priority Classes are Outstanding with respect to
                                               any Class of Deferred Interest Notes, any payment of interest due
                                               on such Class of Deferred Interest Notes that is not available to
                                               be paid ("Deferred Interest") in accordance with the Priority of
                                               Payments on any Payment Date shall not be considered
                                               "payable" for the purposes of the Indenture (and the failure to
                                               pay the interest shall not be an Event of Default) until the
                                               Payment Date on which the interest is available to be paid in
                                               accordance with the Priority of Payments. Deferred Interest on
                                               any Class of Deferred Interest Notes shall be payable on the first
                                               Payment Date on which funds are available to be used for that
                                               purpose in accordance with the Priority of Payments. To the
                                               extent lawful and enforceable, interest on Deferred Interest with
                                               respect to any Class of Deferred Interest Notes shall accrue at the
                                               Note Interest Rate for the Class (and to the extent not paid as

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                                                current interest on the Payment Date after the Interest Period in
                                                which it accrues, shall thereafter be additional Deferred Interest),
                                                until paid.      See "Description of the Securities—Interest
                                                Payments on the Notes and Payments of Dividends on the
                                                Preference Shares from Interest Proceeds," "—Priority of
                                                Payments" and "—The Indenture—Events of Default."

                                                On each Payment Date (or, with respect to the Preference Share
                                                Components, the Composite Securities Payment Date), the Issuer
                                                will make distributions to the Preference Shares Paying Agent
                                                for payment to the Holders of the Preference Shares as dividends
                                                on the Preference Shares pursuant to the Preference Share
                                                Documents, to the extent legally permitted, to the extent of
                                                available Interest Proceeds as described under clauses (18), (21)
                                                and (23) under "Description of the Securities—Priority of
                                                Payments—Interest Proceeds."

                                                On each Payment Date on which distributions are made in
                                                respect of the Preference Shares, a portion of such payment will
                                                be allocated to the Class 1 Composite Securities in the
                                                proportion that the aggregate Face Amount of the Preference
                                                Share Component bears to the aggregate Face Amount of the
                                                Preference Shares. The payment of distributions, redemption
                                                amounts and any other payments on the Class 1 Composite
                                                Securities will be distributed in the same manner as the
                                                Preference Shares to which the Preference Share Component
                                                relates, except that such payment will be made on the Composite
                                                Securities Payment Date. See "Description of the Securities—
                                                Priority of Payments."

                                                On each Composite Securities Payment Date, the Trustee will
                                                disburse (solely from amounts in the Class 1 Component
                                                Account attributable to the proceeds from the sale of the
                                                Treasury Strip as described in "Description of the Securities—
                                                Class 1 Component Distributions") to the Holders of the Class 1
                                                Composite Securities, pro rata based on their share of the
                                                Class 1 Composite Security Rated Balance, the proceeds from
                                                the sale of the Treasury Strip relating to such Composite
                                                Securities Payment Date. See "Description of the Securities—
                                                Class 1 Component Distribution."

  Principal Payments and
  Distributions from Principal
  Proceeds ............................................. The Notes and the Composite Securities will mature at par on the
                                                         Payment Date in February, 2017 or, upon a Maturity Extension
                                                         (if any), the applicable Extended Stated Maturity Date (the
                                                         "Stated Maturity") and the Preference Shares are scheduled to
                                                         be redeemed at the Redemption Price thereof by the Issuer on the
                                                         Payment Date in February, 2017 or, upon a Maturity Extension
                                                         (if any), the applicable Extended Scheduled Preference Shares
                                                         Redemption Date (the "Scheduled Preference Shares
                                                         Redemption Date"), in each case unless redeemed or (in the
                                                         case of the Notes) repaid in full prior thereto. The average life of

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                                each Class of Notes is expected to be shorter than the number of
                                years from issuance until Stated Maturity for such Notes. See
                                "Risk Factors—Relating to the Securities—The Weighted
                                Average Lives of the Notes May Vary," "—A Maturity
                                Extension May Result in a Longer or Shorter Holding Period
                                Than Expected" and "Maturity and Prepayment Considerations."

                                In general, principal payments will not be made on the Notes
                                before the end of the Reinvestment Period, except in the
                                following circumstances:

                                •      in connection with an Optional Redemption;

                                •      at the option of the Portfolio Manager, to effect a Special
                                       Redemption of the Notes;

                                •      pursuant to a redemption made in connection with a Tax
                                       Event; or

                                •      following a mandatory redemption of the Notes caused by
                                       a failure to meet any of the Coverage Tests or a Rating
                                       Confirmation Failure.

                                See "Description of the Securities—Priority of Payments," "—
                                Optional Redemption," "—Special Redemption of the Notes If
                                the Portfolio Manager Does Not Identify Investments as
                                Contemplated by the Indenture," "—Mandatory Redemption of
                                the Notes" and "Security for the Notes and the Composite
                                Securities—Ramp-Up."

                                No payments of principal will be made on the Class A-2 Notes
                                until the principal of the Senior Class A Notes has been paid in
                                full. No payments of principal will be made on the Class A-3
                                Notes until the principal of the Senior Class A Notes and the
                                Class A-2 Notes has been paid in full. No payments of principal
                                will be made on the Class B Notes until the principal of the Class
                                A Notes has been paid in full. No payments of principal will be
                                made on the Class C Notes until the principal of the Class A
                                Notes and the Class B Notes has been paid in full. However,
                                Principal Proceeds may be used to pay Deferred Interest and
                                other amounts before the payment of principal of the Notes. See
                                "Description of the Securities—Priority of Payments."

                                No principal of any Class of Notes will be payable on any
                                Payment Date other than in accordance with the Priority of
                                Payments and to the extent funds are available therefor on that
                                Payment Date for that purpose, except that the principal of each
                                Class of Notes will be payable in full at the Stated Maturity,
                                unless repaid before that.

                                On each Payment Date (or, with respect to the Preference Share
                                Components, the Composite Securities Payment Date), the Issuer
                                will make distributions to the Preference Shares Paying Agent

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                                            for payment to the Holders of the Preference Shares as dividends
                                            on the Preference Shares pursuant to the Preference Share
                                            Documents, to the extent legally permitted, to the extent of
                                            available Principal Proceeds as described under clauses (6)(A),
                                            (9) and (10) under "Description of the Securities—Priority of
                                            Payments—Principal Proceeds."

                                            On each Payment Date on which distributions are made in
                                            respect of the Preference Shares, a portion of such payment will
                                            be allocated to the Class 1 Composite Securities in the
                                            proportion that the aggregate Face Amount of the Preference
                                            Share Component bears to the aggregate Face Amount of the
                                            Preference Shares. The payment of distributions, redemption
                                            amounts and any other payments on the Class 1 Composite
                                            Securities will be distributed in the same manner as the
                                            Preference Shares to which the Preference Share Component
                                            relates, except that such payment will be made on the Composite
                                            Securities Payment Date. See "Description of the Securities—
                                            Priority of Payments."

                                            For a description of the relative priority of payments and level of
                                            subordination of the Securities and certain fees, expenses and
                                            other liabilities of the Co-Issuers, see "Description of the
                                            Securities—Priority of Payments."

  Extension of the Reinvestment
  Period, the Stated Maturity and
  the Scheduled Preference Shares
  Redemption Date .............................. The Issuer, if directed by the Portfolio Manager, shall be entitled
                                                 on each Extension Effective Date to extend the Reinvestment
                                                 Period to the applicable Extended Reinvestment Period End Date
                                                 if (i) in the case of an Extension Effective Date occurring after
                                                 the first Extension Effective Date, the Issuer has previously
                                                 affected a Maturity Extension for each preceding Extension
                                                 Effective Date and (ii) the Extension Conditions are satisfied and
                                                 the Issuer has given written notice of its election to extend the
                                                 Reinvestment Period no later than 60 days and no earlier than 90
                                                 days prior to such Extension Effective Date. For purposes of the
                                                 foregoing, "Extension Effective Date" means if an Extension
                                                 has occurred, the sixteenth Payment Date after the then current
                                                 Extension Effective Date (or, in the case of the first Extension
                                                 Effective Date, the Payment Date in May, 2010) and "Extended
                                                 Reinvestment Period End Date" means, if an Extension has
                                                 occurred, the sixteenth Payment Date after the then current
                                                 Extended Reinvestment Period End Date (or, in the case of the
                                                 first Extension, the Payment Date in May, 2016).

                                            If the Extension Conditions are satisfied, the Stated Maturity of
                                            the Notes and the Composite Securities shall be automatically
                                            extended to the related Extended Stated Maturity Date and the
                                            Weighted Average Life Test shall be automatically extended to
                                            the related Extended Weighted Average Life Date, without any
                                            requirement for approval or consent of any Holders of Securities

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                                            or amendment or supplement to the Indenture or the Preference
                                            Share Documents (the "Maturity Extension"). For purposes of
                                            the foregoing, "Extended Stated Maturity Date" means, if a
                                            Maturity Extension has occurred, the sixteenth Payment Date
                                            after the then current Extended Stated Maturity Date (or, in the
                                            case of the first Extended Stated Maturity Date, the Payment
                                            Date in February, 2021) and "Extended Weighted Average Life
                                            Date" means, if a Maturity Extension has occurred, the sixteenth
                                            Payment Date after the then current Extended Weighted Average
                                            Life Date (or, in the case of the first Extended Weighted Average
                                            Life Date, March 15, 2018).

                                            As a condition to a Maturity Extension, any Holder of Notes,
                                            Composite Securities or Preference Shares will have the right to
                                            offer to sell their Notes, Composite Securities or Preference
                                            Shares to one or more Extension Qualifying Purchasers for
                                            purchase on the applicable Extension Effective Date.

                                            If all Extension Conditions are satisfied and a Maturity
                                            Extension is effected, each Holder of a Note, other than
                                            Extension Sale Securities, and the Insurer (so long as the Policy
                                            has not been terminated) will be entitled to receive the applicable
                                            Extension Bonus Payment, in each case to the extent of available
                                            funds and as provided in the Priority of Payments. Holders of
                                            Composite Securities and Preference Shares will not be entitled
                                            to receive any Extension Bonus Payment.

                                            If all Extension Conditions are satisfied, other than obtaining the
                                            consent of the Insurer to such Extension, and the Insurer has and
                                            continues to object to such Extension, so long as there are no
                                            Accrued Insurance Liabilities outstanding on the related Payment
                                            Date, the Policy may be terminated by the Holders of 100% of
                                            the Class A-1g Notes (after giving effect to the sale of any
                                            Insured Notes which are Extension Sale Securities in connection
                                            with the proposed Maturity Extension). Upon such termination
                                            of the Policy, the Note Interest Rate in respect of the Class A-1g
                                            Notes will be the Step-Up Note Interest Rate.

                                            See "Risk Factors—Relating to the Securities—The Weighted
                                            Average Lives of the Notes May Vary," "—A Maturity
                                            Extension May Result in a Longer or Shorter Holding Period
                                            Than Expected," "Maturity and Prepayment Considerations,"
                                            "Description of the Securities—Extension of the Reinvestment
                                            Period, the Stated Maturity and the Scheduled Preference Shares
                                            Redemption Date" and "Description of the Securities—
                                            Termination of the Policy."

  Security for the Notes and the
  Composite Securities ........................ The Notes will be secured by a portfolio having an Aggregate
                                                Principal Balance following the Ramp-Up Period of
                                                approximately U.S.$663,000,000 (in principal amount) and
                                                consisting primarily of Collateral Obligations and certain other
                                                debt securities, in each case having the characteristics set forth

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                                         herein. The Notes will also be secured by funds on deposit in the
                                         Issuer Accounts, the Issuer's rights under any Hedge
                                         Agreements, any Securities Lending Agreements, the
                                         Management Agreement, the Collateral Administration
                                         Agreement and, solely for the benefit of the Holders of the Class
                                         A-1g Notes only, the Insurance Documents. For the avoidance
                                         of any doubt, the Collateral shall not include the Class 1
                                         Collateral or any Excluded Property. See "Security for the Notes
                                         and the Composite Securities."

                                         The Holders of the Class 1 Composite Securities (solely to the
                                         extent of their Class 1 Component), will be secured by the
                                         Treasury Strip deposited in the Class 1 Component Account.
                                         See "Security for the Notes and the Composite Securities."

                                         The Preference Shares are unsecured equity interests in the
                                         Issuer.

  Collateral Ramp-Up Period ............. The Issuer expects that, as of the Closing Date, it will have
                                          purchased (or entered into commitments to purchase) Collateral
                                          Obligations to be included in the anticipated portfolio such that
                                          the Overcollateralization Ratio Numerator will be at least
                                          $663,000,000 as of the Ramp-Up Completion Date. The
                                          "Ramp-Up Completion Date" is the earlier of (i) the Business
                                          Day after the 179th day after the Closing Date, and (ii) the first
                                          day on which the following conditions are satisfied (x) either (A)
                                          the Aggregate Principal Balance of the Collateral Obligations
                                          owned by the Issuer equals at least $663,000,000 or (B) the
                                          Aggregate Principal Balance of the Collateral Obligations
                                          purchased (or committed to be purchased) by the Issuer with
                                          proceeds from the sale of the Securities (in each case in this
                                          clause (B), measured solely as of the date of purchase or
                                          commitment, as the case may be) equals at least $663,000,000
                                          (for the avoidance of doubt, without giving effect to any
                                          reductions of that amount that may have resulted from scheduled
                                          principal payments, principal prepayments or dispositions made
                                          with respect to any Collateral Obligations on or before the
                                          Ramp-Up Completion Date) and (y) the Overcollateralization
                                          Ratio Numerator is at least $663,000,000.

                                         In anticipation of the issuance of the Securities, the Issuer, the
                                         Portfolio Manager and JPMorgan Chase Bank (as Warehouse
                                         Provider) entered into the Warehouse Agreement pursuant to
                                         which the Portfolio Manager has agreed to manage, on behalf of
                                         the Issuer, the Warehoused Loans to be acquired by the Issuer
                                         before the Closing Date and the Warehouse Provider has agreed
                                         to acquire a 100% participation in each Warehoused Loan
                                         concurrently with its acquisition by the Issuer, for a purchase
                                         price equal to the purchase price paid by the Issuer for the related
                                         Warehoused Loan. On the Closing Date, eligible Warehoused
                                         Loans will be repurchased by the Issuer with proceeds of the



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                                               offering.  See "Risk Factors—Relating to the Collateral
                                               Obligations—A Substantial Amount of Collateral Obligations

                                               Was Acquired Before the Closing Date, and the Terms of the
                                               Acquisition May Adversely Affect the Issuer."

                                               See "Security for the Notes and the Composite Securities—
                                               Ramp-Up."

  Reinvestment Period;
  Reinvestment in Collateral
  Obligations ........................................ During the Reinvestment Period, the Issuer may generally (and
                                                       subject to certain requirements) reinvest Principal Proceeds
                                                       received with respect to the Collateral in additional or substitute
                                                       Collateral Obligations in compliance with the Eligibility Criteria
                                                       (which Eligibility Criteria includes a requirement that an item of
                                                       Collateral purchased by the Issuer meet the definition of
                                                       "Collateral Obligation" and that the portfolio of Collateral
                                                       Obligations be in compliance with the Concentration Limitations
                                                       to the extent provided in the Eligibility Criteria). See "—
                                                       Collateral Obligations," "—Concentration Limitations" and
                                                       "Security for the Notes and the Composite Securities—
                                                       Eligibility Criteria."

                                               The "Reinvestment Period" will be the period from the Closing
                                               Date through and including the first to occur of:

                                               (i)     the Payment Date after the date that the Portfolio
                                                       Manager notifies the Trustee, each Rating Agency and the
                                                       Administrator, in the sole discretion of the Portfolio
                                                       Manager, that, in light of the composition of the
                                                       Collateral, general market conditions, and other factors,
                                                       investments in additional Collateral Obligations within
                                                       the foreseeable future would either be impractical or not
                                                       beneficial;

                                               (ii)    the Payment Date in May, 2012 or, in the case of an
                                                       Extension, the Extended Reinvestment Period End Date;

                                               (iii)   the Payment Date on which all Notes are to be optionally
                                                       redeemed or an earlier date after notice of an Optional
                                                       Redemption chosen by the Portfolio Manager to facilitate
                                                       the liquidation of the Collateral for the Optional
                                                       Redemption; and

                                               (iv)    the date on which the Reinvestment Period terminates or
                                                       is terminated as a result of an Event of Default (subject to
                                                       the terms of the Indenture).

                                               No investment will be made in Collateral Obligations after the
                                               termination of the Reinvestment Period, except that (x)
                                               Unscheduled Principal Payments and (y) Sale Proceeds from
                                               Credit Improved Obligations may be invested in Collateral


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                                          Obligations after the Reinvestment Period subject to the
                                          limitations described under "Security for the Notes and the
                                          Composite Securities—Eligibility Criteria" and "—Sale of
                                          Collateral Obligations; Reinvestment of Principal Proceeds and
                                          Reinvestment Criteria."       After the termination of the
                                          Reinvestment Period, all Principal Proceeds (other than Principal
                                          Proceeds constituting Unscheduled Principal Payments and Sale
                                          Proceeds from Credit Improved Obligations) must be applied in
                                          accordance with the Priority of Payments.

  Collateral Obligations ...................... Any obligation or security (a "Collateral Obligation") that,
                                                when the Issuer commits to purchase (or otherwise acquire) the
                                                obligation or security, is a Loan, High-Yield Bond, Structured
                                                Finance Obligation or Synthetic Security with a Reference
                                                Obligation that is a Loan, a Structured Finance Obligation or
                                                High-Yield Bond that is:

                                          (i)     denominated and payable in U.S. Dollars and is not
                                                  convertible by its obligor into any other currency;

                                          (ii)    an obligation of an obligor Domiciled in an Eligible
                                                  Country;
                                          (iii)   an obligation that is eligible by its terms to be assigned to
                                                  the Issuer and pledged by the Issuer to the Trustee for
                                                  inclusion in the Collateral;

                                          (iv)    not an exchangeable or convertible security that is
                                                  exchangeable or convertible at the option of its issuer;
                                          (v)     not an equity security or a component of an equity
                                                  security or a security that has a component that is an
                                                  equity security (other than for avoidance of doubt, a pass-
                                                  through trust certificate in a trust holding Collateral
                                                  Obligations);
                                          (vi)    not an obligation or security that has been called for
                                                  redemption and is not an obligation or security that is the
                                                  subject of an Offer other than a Permitted Offer or an
                                                  exchange offer in which a security that is not registered
                                                  under the Securities Act is exchanged for (a) a security
                                                  that has substantially identical terms (except for transfer
                                                  restrictions) but is registered under the Securities Act or
                                                  (b) a security that would otherwise qualify for purchase
                                                  under the Eligibility Criteria;
                                          (vii)   an obligation that (a) has a Moody's Rating (including any
                                                  estimated or confidential rating which is in respect of the
                                                  full obligation of the obligor and which is monitored) and
                                                  (b) has an S&P Rating (including any confidential rating
                                                  which is in respect of the full obligation of the obligor and
                                                  which is monitored), which S&P Rating does not have a
                                                  "p", "pi", "q", "r" or "t" subscript unless S&P otherwise
                                                  authorizes in writing;


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                                (viii) an obligation that is a Finance Lease (if it is a lease) and
                                       the Rating Condition has been satisfied with respect to the
                                       acquisition thereof;

                                (ix)    an obligation that is not a Current-Pay Obligation, Non-
                                        Performing Collateral Obligation or Credit Risk
                                        Obligation and in the case of a Collateral Obligation that
                                        has a Moody's Rating of "Caa1" or lower or an S&P
                                        Rating of "CCC+" or lower, an obligation for which the
                                        Portfolio Manager has certified in writing that such
                                        Collateral Obligation is not a Credit Risk Obligation;

                                (x)     an obligation that (unless it is a High-Yield Bond) is not
                                        subordinated by its terms to other indebtedness for
                                        borrowed money of the applicable issuer; provided that
                                        for the avoidance of doubt, this clause shall not prohibit
                                        the inclusion as Collateral Obligations of Subordinated
                                        Lien Loans;

                                (xi)    an obligation that (a) (unless it is a PIK Security) bears
                                        simple interest payable in cash no less frequently than
                                        annually at a fixed or floating rate that is paid on a
                                        periodic basis on an unleveraged basis and, in the case of
                                        a floating rate, computed on a benchmark interest rate
                                        plus or minus a spread, if any (which may vary under the
                                        terms of the obligation) and (b) provides for a fixed
                                        amount of principal payable in cash according to a fixed
                                        schedule (which may include optional call dates) or at
                                        maturity (or a fixed notional amount in the case of
                                        Synthetic Securities);

                                (xii)   an obligation the payment or repayment of the principal,
                                        if any, of which is not an amount determined by reference
                                        to any formula or index or subject to any contingency
                                        under the terms thereof;

                                (xiii) in the case of a Loan, an obligation that is part of, or a
                                       Participation in, a syndicated loan facility that provides
                                       for a commitment by the lenders, in the aggregate, of at
                                       least U.S.$100 million;

                                (xiv) an obligation the portion of which to be acquired
                                      (including through a Synthetic Security with respect to
                                      the Reference Obligation) does not represent, directly or
                                      indirectly, more than a 25% interest in the obligation;

                                (xv)    not an obligation with a maturity later than one year after
                                        the Stated Maturity of the Notes;

                                (xvi) an obligation upon which no payments are subject to
                                      withholding tax imposed by any jurisdiction unless the
                                      obligor thereof or counterparty with respect thereto is
                                      required to make "gross-up" payments that cover the full
                                      amount of any such withholding tax on an after-tax basis

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                                       (other than withholding taxes with respect to commitment
                                       fees associated with Collateral Obligations constituting
                                       Revolving Loans or Delayed Drawdown Loans);

                                (xvii) not a Loan or Synthetic Security that would require the
                                       Issuer after its purchase of the Loan or Synthetic Security
                                       to advance any funds to the related borrower or Synthetic
                                       Security Counterparty or permit the borrower or Synthetic
                                       Security Counterparty to require that any future advances
                                       be made except for:

                                       (A)    any Revolving Loan or Delayed Drawdown Loan
                                              if, simultaneously with its purchase of the
                                              Revolving Loan or Delayed Drawdown Loan, the
                                              Issuer deposits into the Revolving Reserve Account
                                              or the Delayed Drawdown Reserve Account,
                                              respectively, the maximum amount of any advances
                                              that may be required of the Issuer under the related
                                              Underlying Instrument (as provided in the
                                              Indenture); and

                                       (B)    any Synthetic Security if, simultaneously with its
                                              purchase of the Synthetic Security, the Issuer posts
                                              cash collateral with (or for the benefit of) the
                                              Synthetic Security Counterparty simultaneously
                                              with the Issuer's purchase of or entry into the
                                              Synthetic Security in an amount not exceeding the
                                              amount of any future advances;

                                (xviii) if such obligation is a Structured Finance Obligation that
                                        is a collateralized loan obligation, such obligation:

                                       (A)    has been assigned a rating by both Moody's and
                                              S&P;

                                       (B)    has a Moody's Rating of "Ba3" or higher and an
                                              S&P Rating of "BB-" or higher; and

                                       (C)    has not been placed on the watch list for possible
                                              downgrade by Moody's or S&P;

                                (xix) not a Loan that is an obligation of a debtor in possession
                                      or a trustee for a debtor in an insolvency proceeding other
                                      than a DIP Loan;

                                (xx)   with respect to an obligation that provides for the
                                       payment of interest at a floating rate, an obligation for
                                       which such floating rate is determined by reference to the
                                       U.S. Dollar prime rate or other base rate, London
                                       interbank offered rate or similar interbank offered rate,
                                       commercial deposit rate or any other index that the Rating




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                                       Condition with respect to each Rating Agency is satisfied
                                       with respect thereto;

                                (xxi) in the case of a Synthetic Security, a Synthetic Security
                                      for which the counterparty or issuer, as the case may be,
                                      has a long-term senior unsecured rating by Moody's of at
                                      least "A3", and if rated "A3" by Moody's, such rating is
                                      not on watch for downgrade, and an issuer credit rating by
                                      S&P of at least "A-";

                                (xxii) not an obligation that constitutes Margin Stock;

                                (xxiii) not a Zero-Coupon Security;

                                (xxiv) not an obligation that is currently deferring interest or
                                       paying interest "in kind" or otherwise has an interest "in
                                       kind" balance outstanding at the time of purchase, which
                                       interest is otherwise payable in cash, unless the Rating
                                       Condition has been satisfied with respect to the
                                       acquisition thereof;

                                (xxv) not a security whose repayment is subject to substantial
                                      non-credit related risk as determined by the Portfolio
                                      Manager;

                                (xxvi) not an obligation the interest payments of which are
                                       scheduled to decrease (although interest payments may
                                       decrease due to unscheduled events such as a decrease if
                                       the index relating to a Floating Rate Obligation, the
                                       change from a default rate of interest to a non-default rate
                                       of interest or an improvement in the obligor's financial
                                       condition); and

                                (xxvii) not an obligation that will cause the Issuer, the Co-Issuer,
                                        or the pool of assets to be required to be registered as an
                                        investment company under the Investment Company Act.

                                The Treasury Strip shall not be a Collateral Obligation and it
                                shall not be taken into account in any calculation involving
                                Collateral Obligations.

                                Pursuant to the definition of "Synthetic Security", unless the
                                Rating Condition is otherwise satisfied, any "deliverable
                                obligation" that may be delivered to the Issuer as a result of the
                                occurrence of any "credit event" must qualify (when the Issuer
                                purchases the related Synthetic Security and when such
                                "deliverable obligation" is delivered to the Issuer as a result of
                                the occurrence of any "credit event") as a Collateral Obligation,
                                except that such "deliverable obligation" may constitute a
                                Defaulted Obligation when delivered upon a "credit event".




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                                                See "Security for the Notes and the Composite Securities—
                                                Collateral Obligations" and "—Eligibility Criteria."

  Concentration Limitations............... Upon a purchase of a Collateral Obligation, the Eligibility
                                           Criteria require that each of the limits set forth below with
                                           respect to a particular type of Investment Obligation (measured
                                           by Aggregate Principal Balance) as a percentage of the
                                           Maximum        Investment       Amount     (the     "Concentration
                                           Limitations") is satisfied or, if any such limit is not satisfied, the
                                           extent of satisfaction is not reduced:

                                                                                                          Percentage of the
                                                                                                             Maximum
                                                                                                         Investment Amount
   (1)     Senior Secured Loans and Eligible Investments                                                      ≥ 92.5%
   (2)     unsecured Loans                                                                                    ≤ 3.0%
   (3)     Subordinated Lien Loans                                                                            ≤ 5.0%
   (4)     Revolving Loans and Delayed Drawdown Loans                                                         ≤ 15.0%
   (5)     DIP Loans                                                                                          ≤ 5.0%
           (a) except that with a Rating Confirmation, DIP Loans may constitute up to the
                                                                                                              ≤ 7.5%
               percentage of the Maximum Investment Amount specified in the right column
   (6)     S&P Unrated DIP Loans                                                                              ≤ 2.5%
   (7)     PIK Securities                                                                                     ≤ 3.0%
   (8)     High-Yield Bonds                                                                                   ≤ 7.5%
   (9)     Structured Finance Obligations                                                                     ≤ 7.5%
   (10)    Structured Finance Obligations that are collateralized loan obligations                            ≤ 2.5%
   (11)    obligors Domiciled other than in the United States and Canada                                      ≤ 15.0%
   (12)    obligors Domiciled in Canada or any single Moody's Group I Country                                 ≤ 10.0%
   (13)    obligors Domiciled in any single Moody's Group II Country                                          ≤ 5.0%
   (14)    obligors Domiciled in any single Moody's Group III Country                                         ≤ 2.5%
   (15)    obligors organized in a Tax Advantaged Jurisdiction                                                ≤ 5.0%
   (16)    same S&P Industry Classification                                                                   ≤ 8.0%
           (a)       except that Investment Obligations belonging to two S&P Industry
                     Classifications (not including Telecommunications) may each constitute up to
                                                                                                              ≤ 10.0%
                     the percentage of the Maximum Investment Amount specified in the right
                     column
   (17)    single issuer or any of its Affiliates (excluding Secondary Risk Counterparties)                   ≤ 1.5%
           (a)       except that up to each of five individual issuers (including any of their
                     respective Affiliates but excluding issuers that the Portfolio Manager reasonably
                     determines are Affiliated but are not dependent upon one another for credit
                                                                                                              ≤ 2.0%
                     support and are not dependent upon a Person by which they are commonly
                     controlled for credit support) may each constitute up to the percentage of the
                     Maximum Investment Amount specified in the right column
   (18)    Fixed Rate Obligations                                                                             ≤ 7.5%
   (19)    Pay interest less frequently than quarterly but no less frequently than annually                   ≤ 7.5%
   (20)    Synthetic Securities                                                                               ≤ 20.0%


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          (a)       except that Synthetic Securities that provide for settlement other than by
                    physical delivery may not exceed the percentage of the Maximum Investment                   ≤ 5.0%
                    Amount specified in the right column
          (b)       except that Synthetic Securities that reference a senior secured index investment
                    providing non-leveraged credit exposure to a basket of credit default swaps
                    referencing a diversified group of Reference Obligations, with respect to which
                                                                                                                ≤ 5.0%
                    the principal or notional amount of the credit exposure to any single Reference
                    Obligation does not increase over time may not exceed the percentage of the
                    Maximum Investment Amount specified in the right column
   (21)   Participations (provided, that no Investment Obligations may be a Participation in a
                                                                                                               ≤ 10.0%
          Participation)
   (22)   Investment Obligations of which are (i) obligors Domiciled other than in the United
          States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)
                                                                                                               ≤ 20.0%
          Participations and (iv) Synthetic Securities, in the aggregate may not exceed the
          percentage of the Maximum Investment Amount specified in the right column
                                                                                                              ≤ respective
                                                                                                             percentage in
   (23)   Investment Obligations of which are (i) obligors Domiciled other than in the United
                                                                                                            Secondary Risk
          States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)
                                                                                                              Table under
          Participations and (iv) Synthetic Securities, entered into with, or issued by, a single
                                                                                                              "Individual
          Secondary Risk Counterparty
                                                                                                          Counterparty Limit"
                                                                                                         for applicable rating*
                                                                                                             ≤ respective
                                                                                                            percentage in
   (24)   Investment Obligations of which are (i) obligors Domiciled other than in the United              Secondary Risk
          States, (ii) Collateral Obligations lent under Securities Lending Agreements, (iii)                Table under
          Participations and (iv) Synthetic Securities, entered into with, or issued by, all Secondary       "Aggregate
          Risk Counterparties                                                                            Counterparty Limit"
                                                                                                            for applicable
                                                                                                               rating**
   (25)   Deep Discount Obligations                                                                             ≤ 5.0%
   (26)   CCC/Caa Collateral Obligations                                                                        ≤ 7.5%
   (27)   Long-Dated Collateral Obligations                                                                     ≤ 2.0%
   (28)   Collateral Obligations lent under Securities Lending Agreements                                      ≤ 15.0%
   (29)   Collateral Obligations providing for interest at a non-London interbank offered
                                                                                                                ≤ 5.0%
          rate


     *    Applicable long-term unsecured rating by Moody's or S&P of such Secondary Risk Counterparty (using
          the limit for the lower of such ratings if different).
     **   Long-term unsecured rating by Moody's or S&P at or below a level specified in the Secondary Risk Table
          (using the lower of such ratings for a Secondary Risk Counterparty, if different).

                                                     Subject to the rights in circumstances of the Portfolio
                                                     Manager to determine otherwise as set out in the Indenture,
                                                     solely for the purpose of determining whether the
                                                     Concentration Limitations are met, Eligible Investments
                                                     and Cash will be treated as Senior Secured Loans and
                                                     Floating Rate Obligations.

                                                     See "Security For the Notes and the Composite Securities—
                                                     Eligibility Criteria."




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  Coverage Tests and the Reinvestment
  Overcollateralization Test........................ The       "Coverage      Tests"   will    consist    of    the
                                                     Overcollateralization Tests and the Interest Coverage Tests.
                                                     In addition, the Reinvestment Overcollateralization Test,
                                                     which is not a Coverage Test, will apply as described
                                                     herein. See "Security For the Notes and the Composite
                                                     Securities—The               Coverage              Tests—The
                                                     Overcollateralization Tests" and "—The Interest Coverage
                                                     Tests" for the formulations of these tests, which are highly
                                                     detailed. The ratios on which they are based are also
                                                     described under such headings. The tests will be used to
                                                     determine, among other things, whether (i) Notes will be
                                                     redeemed in certain circumstances as described under
                                                     "Description of the Securities—Priority of Payments" and
                                                     (ii) in the case of the Coverage Tests, Collateral Obligations
                                                     may be acquired as described under "Security for the Notes
                                                     and the Composite Securities—Eligibility Criteria."

                                                 There will not be any Coverage Test applicable to the
                                                 Composite Securities or the Preference Shares.

      The Overcollateralization Tests......... The Overcollateralization Tests will consist of the "Class A
                                               Overcollateralization        Test,"      the     "Class      B
                                               Overcollateralization Test" and the "Class C
                                               Overcollateralization Test." Each Overcollateralization
                                               Test will be satisfied with respect to any Class of Notes
                                               (treating the Senior Class A Notes, the Class A-2 Notes and
                                               the Class A-3 Notes as one Class for this purpose) if, as of
                                               any Measurement Date, the Overcollateralization Ratio for
                                               the Class is at least equal to the specified required level for
                                               the specified Class indicated in the table below:

                                                                   Test                       Required Level
                                                 Class A Overcollateralization Test               113.40%
                                                 Class B Overcollateralization Test               108.00%
                                                 Class C Overcollateralization Test               106.30%

      The Interest Coverage Tests .............. The Interest Coverage Tests will consist of the "Class A
                                                 Interest Coverage Test," the "Class B Interest Coverage
                                                 Test" and the "Class C Interest Coverage Test." Each
                                                 Interest Coverage Test will be satisfied with respect to any
                                                 specified Class of Notes (treating the Senior Class A Notes,
                                                 the Class A-2 Notes and the Class A-3 Notes as one Class
                                                 for this purpose) if, as of the second Payment Date and any
                                                 Measurement Date thereafter on which any Notes remain
                                                 Outstanding, the Interest Coverage Ratio equals or exceeds
                                                 the applicable required level specified in the table below for
                                                 the specified Class:




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                                                                       Test                        Required Level
                                                    Class A Interest Coverage Test                      120.00%
                                                    Class B Interest Coverage Test                      115.00%
                                                    Class C Interest Coverage Test                      110.00%

      Reinvestment Overcollateralization
      Test..................................................... A test that will be satisfied as of any Measurement Date
                                                                during the Reinvestment Period on which Class C Notes
                                                                remain       Outstanding,      if     the    Reinvestment
                                                                Overcollateralization Ratio as of such Measurement Date is
                                                                at least equal to 107.30%.

  Collateral Quality Tests ........................... The Collateral Quality Tests will be used primarily as
                                                       criteria for purchasing Collateral Obligations.       See
                                                       "Security for the Notes and the Composite Securities—
                                                       Eligibility Criteria." The "Collateral Quality Tests" will
                                                       consist of the Diversity Test, the Weighted Average Life
                                                       Test, the Weighted Average Moody's Recovery Rate Test,
                                                       the Weighted Average S&P Recovery Rate Test, the
                                                       Weighted Average Fixed Rate Coupon Test, the Weighted
                                                       Average Spread Test, the Weighted Average Rating Factor
                                                       Test and the S&P CDO Monitor Test, as described below.

      Diversity Test ....................................... The Diversity Test will be satisfied as of any Measurement
                                                             Date, if the Diversity Score equals or exceeds the Minimum
                                                             Diversity Score.

      S&P CDO Monitor Test....................... The S&P CDO Monitor Test will be satisfied as of any
                                                  Measurement Date if, after giving effect to the sale of a
                                                  Collateral Obligation or the purchase of a Collateral
                                                  Obligation, each Note Class Loss Differential of the
                                                  Proposed Portfolio is positive.

      Weighted Average Fixed Rate
      Coupon Test ......................................... The Weighted Average Fixed Rate Coupon Test will be
                                                            satisfied as of any Measurement Date if the Weighted
                                                            Average Fixed Rate Coupon equals or exceeds 8.0%.

      Weighted Average Life Test ................. The Weighted Average Life Test will be satisfied as of any
                                                   Measurement Date if the Weighted Average Life on that
                                                   date of all Collateral Obligations is equal to or less than the
                                                   number of years (including any fraction of a year) between
                                                   such Measurement Date and March 15, 2014 or, in the case
                                                   of a Maturity Extension, the Extended Weighted Average
                                                   Life Date.
      Weighted Average Moody's
      Recovery Rate Test............................... The Weighted Average Moody's Recovery Rate Test will
                                                        be satisfied as of any Measurement Date if the Moody's
                                                        Minimum Average Recovery Rate is greater than or equal
                                                        to 44.5%.


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      Weighted Average Rating Factor
      Test....................................................... The Weighted Average Rating Factor Test will be satisfied
                                                                  as of any Measurement Date, if the Weighted Average
                                                                  Moody's Rating Factor of the Collateral Obligations
                                                                  (excluding Eligible Investments) as of such Measurement
                                                                  Date is less than or equal to the Maximum Weighted
                                                                  Average Moody's Rating Factor.

      Weighted Average S&P Recovery
      Rate Test .............................................. The Weighted Average S&P Recovery Rate Test will be
                                                               satisfied as of any Measurement Date if the S&P Minimum
                                                               Average Recovery Rate is greater than or equal to 49.3%.

      Weighted Average Spread Test ............ The Weighted Average Spread Test will be satisfied as of
                                                any Measurement Date if the Weighted Average Spread as
                                                of the Measurement Date equals or exceeds the Minimum
                                                Weighted Average Spread.

                                                    See "Security for the Notes and the Composite Securities—
                                                    The Collateral Quality Tests."

  Mandatory Redemption of the Notes
  for Failure to Satisfy Coverage Tests...... If any of the Coverage Tests are not satisfied on the last day
                                              of any Due Period (each, a "Determination Date"), funds
                                              will be used pursuant to the Priority of Payments to redeem
                                              the related Notes to the extent necessary for such failing
                                              Coverage Tests to be satisfied that would otherwise be
                                              used:

                                                    (i)     to purchase additional Collateral Obligations during
                                                            the Reinvestment Period; or

                                                    (ii)    to make interest and principal payments on the Notes
                                                            and to make dividend or redemption payments in
                                                            respect of the Preference Shares.

                                                    See "Description of the Securities—Mandatory Redemption
                                                    of the Notes—Mandatory Redemption of the Notes for
                                                    Failure to Satisfy Coverage Tests."

  Certain Consequences of Failure to
  Satisfy the Reinvestment
  Overcollateralization Test........................ If during the Reinvestment Period, the Reinvestment
                                                     Overcollateralization Test is not satisfied on any
                                                     Determination Date, certain funds, as described under
                                                     clause (16) under "Description of the Securities—Priority
                                                     of Payments—Interest Proceeds," representing Interest
                                                     Proceeds that would otherwise be used to make payments
                                                     on the Preference Shares and certain subordinated expenses
                                                     of the Issuer, will be deposited instead into the Collection
                                                     Account as Principal Proceeds to the extent necessary to
                                                     cause the Reinvestment Overcollateralization Test to be
                                                     satisfied as of that Determination Date after application of


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                                                  Principal Proceeds as described under clause (1) under
                                                  "Description of the Securities—Priority of Payments—
                                                  Principal Proceeds."

  Mandatory Redemption of the Notes
  Upon Rating Confirmation Failure......... The Issuer will request S&P to confirm and Moody's to
                                            confirm in writing, by the Business Day after the 29th day
                                            after the Ramp-Up Completion Date, that it has not
                                            reduced, suspended or withdrawn the Initial Rating of each
                                            Class of Notes and Composite Securities and that it has not
                                            placed any Class of Notes or Composite Securities on credit
                                            watch with negative implications. If the Trustee does not
                                            receive evidence of confirmation before the Payment Date
                                            following the 29-day period (such an event, a "Rating
                                            Confirmation Failure"), all Interest Proceeds remaining
                                            after payment of amounts referred to in clauses (1) and (3)
                                            through (12) of "Description of the Securities—Priority of
                                            Payments—Interest Proceeds" will be used to pay principal
                                            of the Senior Class A Notes, the Class A-2 Notes, the Class
                                            A-3 Notes, the Class B Notes and the Class C Notes
                                            sequentially in order of their priority on the next Payment
                                            Date and each Payment Date thereafter until the Initial
                                            Ratings are confirmed. If necessary, after the foregoing
                                            payments are made out of Interest Proceeds, Principal
                                            Proceeds in accordance with clause (3) under "Description
                                            of the Securities—Priority of Payments—Principal
                                            Proceeds" will be used to pay principal of each Class of the
                                            Notes sequentially in order of their priority on each
                                            Payment Date until the Initial Ratings are confirmed. See
                                            "Description of the Securities—Mandatory Redemption of
                                            the Notes—Mandatory Redemption of the Notes Upon
                                            Rating Confirmation Failure."

  Non-Call Period ........................................ The period from the Closing Date to but not including the
                                                           Payment Date in May, 2010 (the "Non-Call Period").
  Optional Redemption ............................... Upon the occurrence of a Tax Event or at any time after the
                                                      Non-Call Period, the Holders of at least 63% of the
                                                      Aggregate Outstanding Amount of the Preference Shares
                                                      may require the Issuer or Co-Issuers, as applicable, to
                                                      redeem the Notes, in whole but not in part, from Principal
                                                      Proceeds and all other funds available for that purpose in
                                                      the Collection Account, the Payment Account, the Interest
                                                      Reserve Account, the Closing Date Expense Account, the
                                                      Revolving Reserve Account and the Delayed Drawdown
                                                      Reserve Account in accordance with the redemption
                                                      procedures described under "Description of the Securities—
                                                      Optional Redemption."
                                                  Notes to be redeemed shall, on the Redemption Date,
                                                  become payable at their Redemption Price. From and after
                                                  the Redemption Date the redeemed Notes will cease to bear
                                                  interest.


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                                                  The redemption price payable in connection with the
                                                  Optional Redemption of any Class of Notes will be the sum
                                                  of:

                                                  (i)     the outstanding principal amount of the portion of
                                                          the Note being redeemed; plus

                                                  (ii)    accrued interest on the Note (including any
                                                          Defaulted Interest and interest on Defaulted
                                                          Interest); plus

                                                  (iii)   in the case of any Deferred Interest Note, the
                                                          applicable Deferred Interest on the Note; plus

                                                  (iv)    in the case of the Fixed Rate Notes, the applicable
                                                          Make-Whole Amount; plus

                                                  (v)     any unpaid Extension Bonus Payment in respect of
                                                          the Note.

                                                  The redemption price payable in connection with the
                                                  Optional Redemption of the Preference Shares will be (i) at
                                                  the direction of a Majority of the Preference Shares, the
                                                  entire remaining amount of available funds after all prior
                                                  applications or (ii) as specified by the unanimous direction
                                                  of the Holders of the Preference Shares, in each case, as
                                                  described under "Description of the Securities—Optional
                                                  Redemption."

                                                  With respect to any Class 1 Component and any Optional
                                                  Redemption, "Redemption Price" means the distribution in
                                                  kind of the Treasury Strip provided for in "Description of
                                                  the Securities—Optional Redemption—Preference Shares."

  Special Redemption .................................. The Notes will be subject to redemption in whole or in part
                                                        by the Issuer or the Co-Issuer, as applicable, on Payment
                                                        Dates during the Reinvestment Period if the Portfolio
                                                        Manager elects (subject to the Management Agreement) to
                                                        notify the Trustee and each Rating Agency that it has been
                                                        unable, for 45 consecutive Business Days, to identify
                                                        additional Collateral Obligations that are deemed
                                                        appropriate by the Portfolio Manager in its sole discretion
                                                        and meet the Eligibility Criteria in sufficient amounts to
                                                        permit the investment or reinvestment of all or a portion of
                                                        the funds then in the Collection Account available to be
                                                        invested in additional Collateral Obligations (a "Special
                                                        Redemption"). On the first Payment Date following the
                                                        Due Period for which such notice is effective (a "Special
                                                        Redemption Date"), the funds in the Collection Account or
                                                        the Payment Account representing Principal Proceeds
                                                        which cannot be reinvested in additional Collateral
                                                        Obligations (the "Special Redemption Amount") will be
                                                        available to be applied in accordance with the Priority of


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                                                     Payments. See "Description of the Securities—Special
                                                     Redemption of the Notes If the Portfolio Manager Does Not
                                                     Identify Investments as Contemplated by the Indenture."

  The Policy .................................................. The Insured Notes will be entitled to the benefit of the
                                                                Policy to be issued on the Closing Date by the Insurer
                                                                pursuant to an insurance and indemnity agreement among
                                                                the Issuer, the Co-Issuer and the Insurer (the "Insurance
                                                                Agreement"). Pursuant to the Policy, the Insurer will
                                                                irrevocably and unconditionally guarantee to the Holders of
                                                                the Insured Notes payment of the Insured Amounts that
                                                                shall become Due for Payment but shall be unpaid by
                                                                reason of Nonpayment by the Issuer.

                                                     Payments on the Class A-1g Notes that become due on an
                                                     accelerated basis as described under "Description of the
                                                     Securities—The Indenture—Events of Default", in
                                                     connection with a redemption prior to the Stated Maturity
                                                     or otherwise will not constitute "Insured Amounts" unless
                                                     the Insurer, in its sole discretion, elects to make such
                                                     payments.

                                                     Any amounts paid by the Insurer under the Policy shall
                                                     constitute Accrued Insurance Liabilities and shall be due
                                                     and payable immediately by the Issuer.            "Accrued
                                                     Insurance Liabilities" consist of all amounts paid by the
                                                     Insurer under the Policy for the benefit of the Class A-1g
                                                     Notes, plus interest in respect of such amounts from the
                                                     date incurred to the date of payment to or reimbursement of
                                                     the Insurer at the Accrued Insurance Liabilities Interest
                                                     Rate. See "The Insurer and the Policy."

                                                     The Policy may be terminated in certain circumstances as
                                                     described in "Description of the Securities—Termination of
                                                     the Policy." Upon such termination of the Policy, the Note
                                                     Interest Rate in respect of the Class A-1g Notes will be the
                                                     Step-Up Note Interest Rate.

                                                     See "Description of the Securities—Termination of the
                                                     Policy."

  The Offering.............................................. The Securities are being offered (i) in reliance on
                                                             Regulation S, to non-U.S. Persons in offshore transactions
                                                             ("Offshore Transactions") as such term is defined in
                                                             Regulation S and (ii) to purchasers that are U.S. persons
                                                             ("U.S. Persons") as such term is defined in Regulation S,
                                                             that are (x) Qualified Institutional Buyers or, with respect to
                                                             the Composite Securities and the Preference Shares only,
                                                             Accredited Investors and (y) (A) a Qualified Purchaser, (B)
                                                             with respect to the Preference Shares only, a
                                                             Knowledgeable Employee or (C) an entity owned
                                                             exclusively by Qualified Purchasers and/or, with respect to


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                                                      the Preference Shares only, Knowledgeable Employees.
                                                      Subsequent transferees of the Securities must be (1) non-
                                                      U.S. Persons that purchase the Securities in Offshore
                                                      Transactions or (2)(a) Qualified Institutional Buyers or,
                                                      with respect to the Composite Securities and the Preference
                                                      Shares only, Accredited Investors, and (b) (A) a Qualified
                                                      Purchaser, (B) with respect to the Preference Shares only, a
                                                      Knowledgeable Employee or (C) an entity owned
                                                      exclusively by Qualified Purchasers and/or with respect to
                                                      the Preference Shares only, Knowledgeable Employees.
                                                      See "Plan of Distribution" and "Transfer Restrictions."

  Form, Registration and Transfer of
  the Notes .................................................... Except as provided herein, the Notes sold in reliance on
                                                                 Rule 144A to Qualified Institutional Buyers and Qualified
                                                                 Purchasers will be represented by one or more permanent
                                                                 global notes in definitive, fully registered form without
                                                                 interest coupons (each, a "Rule 144A Global Note")
                                                                 deposited with the Trustee as custodian for, and registered
                                                                 in the name of, a nominee of the Depository. The
                                                                 Depository will credit the account of each of its participants
                                                                 with the principal amount of the Notes being purchased by
                                                                 or through the participant. Beneficial interests in a Rule
                                                                 144A Global Note will be shown on, and transfers thereof
                                                                 will be effected only through, records maintained by the
                                                                 Depository and its direct and indirect participants. See
                                                                 "Description of the Securities—Form, Denomination,
                                                                 Registration and Transfer of the Notes."

                                                      Except as provided herein, the Notes sold in Offshore
                                                      Transactions to non-U.S. Persons in reliance on Regulation
                                                      S will be represented by one or more permanent global
                                                      securities in definitive, fully registered form without interest
                                                      coupons (each, a "Regulation S Global Note") which will
                                                      be deposited with the Trustee as custodian for, and
                                                      registered in the name of, a nominee of the Depository for
                                                      the respective accounts of the beneficial owners at
                                                      Euroclear or Clearstream.           Beneficial interests in a
                                                      Regulation S Global Note may be held only through
                                                      Euroclear or Clearstream at any time.

                                                      Except in the limited circumstances described herein,
                                                      certificated Notes will not be issued in exchange for
                                                      beneficial interests in Global Securities. See "Settlement
                                                      and Clearing."

                                                      Transfers of interests in the Notes are subject to certain
                                                      restrictions and must be made in accordance with the
                                                      procedures and requirements set forth in the Indenture. See
                                                      "Description of the Securities—Form, Denomination,
                                                      Registration and Transfer of the Notes" and "Transfer
                                                      Restrictions." Each purchaser of Notes in making its
                                                      purchase will be required to make, or will be deemed to


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                                                  have made, as the case may be, certain acknowledgments,
                                                  representations   and   agreements.     See    "Transfer
                                                  Restrictions."


  Form, Registration and Transfers of
  the Composite Securities.......................... The Composite Securities sold in Offshore Transactions to
                                                     non-U.S. Persons pursuant to Regulation S will be
                                                     represented by one or more permanent global securities in
                                                     definitive, fully registered form (each, a "Regulation S
                                                     Global Composite Security") which will be deposited with
                                                     the Trustee as custodian for, and registered in the name of, a
                                                     nominee of the Depository for the respective accounts of
                                                     the beneficial owners at Euroclear or Clearstream.
                                                     Beneficial interests in a Regulation S Global Composite
                                                     Security may be held only through Euroclear or Clearstream
                                                     at any time.

                                                  The Composite Securities sold in non-Offshore
                                                  Transactions or to U.S. Persons who purchase such
                                                  Composite Securities for their own account or for the
                                                  account of a Qualified Institutional Buyer or Accredited
                                                  Investor who, in either case, is also (1) a Qualified
                                                  Purchaser or (2) an entity owned exclusively by Qualified
                                                  Purchasers, will be issued in the form of one or more
                                                  certificated Composite Securities in definitive, fully
                                                  registered form, registered in the name of the owner thereof
                                                  (the "Certificated Composite Securities ").

                                                  Transfers of the Composite Securities are subject to certain
                                                  restrictions and must be made in accordance with the
                                                  procedures and requirements set forth in the Indenture. The
                                                  Components of the Composite Securities are not separately
                                                  transferable. See "Description of the Securities—Form,
                                                  Denomination, Registration and Transfer of the Composite
                                                  Securities" and "Transfer Restrictions." Each purchaser of
                                                  Composite Securities in making its purchase will be
                                                  required to make, or will be deemed to have made, as the
                                                  case may be, certain acknowledgments, representations and
                                                  agreements. See "Transfer Restrictions."

  Form, Registration and Transfers of
  the Preference Shares............................... In addition to Certificated Preference Shares, the Preference
                                                       Shares sold in Offshore Transactions to non-U.S. Persons
                                                       pursuant to Regulation S may be represented by one or
                                                       more permanent global securities in definitive, fully
                                                       registered form (each, a "Regulation S Global Preference
                                                       Share" and, together with the Rule 144A Global Notes, the
                                                       Regulation S Global Notes and the Regulation S Global
                                                       Composite Securities, the "Global Securities") which will
                                                       be deposited with the Trustee as custodian for, and
                                                       registered in the name of, a nominee of the Depository for
                                                       the respective accounts of the beneficial owners at

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                                                      Euroclear or Clearstream.       Beneficial interests in a
                                                      Regulation S Global Preference Share may be held only
                                                      through Euroclear or Clearstream at any time.

                                                      The Preference Shares sold in (i) non-Offshore Transactions
                                                      or to U.S. Persons who purchase such Preference Shares for
                                                      their own account or for the account of a Qualified
                                                      Institutional Buyer or Accredited Investor who, in either
                                                      case, is also (1) a Qualified Purchaser, (2) a Knowledgeable
                                                      Employee or (3) an entity owned exclusively by Qualified
                                                      Purchasers and/or Knowledgeable Employees will be, or (ii)
                                                      Offshore Transactions to non-U.S. Persons pursuant to
                                                      Regulation S may be, issued in the form of one or more
                                                      certificated Preference Shares in definitive, fully registered
                                                      form, registered in the name of the owner thereof (the
                                                      "Certificated Preference Shares").
                                                      Transfers of the Preference Shares are subject to certain
                                                      restrictions and must be made in accordance with the
                                                      procedures and requirements set forth in the Preference
                                                      Share Documents. See "Description of the Securities—
                                                      Form, Denomination, Registration and Transfer of the
                                                      Preference Shares" and "Transfer Restrictions." Each
                                                      purchaser of Preference Shares in making its purchase will
                                                      be required to make, or will be deemed to have made, as the
                                                      case may be, certain acknowledgments, representations and
                                                      agreements. See "Transfer Restrictions."
  No Exchange of the Composite
  Securities ................................................... A Holder of a Class 1 Composite Security may not
                                                                 exchange its Class 1 Composite Security for proportional
                                                                 interests in the underlying securities represented by the
                                                                 Components thereof. See "Description of the Securities—
                                                                 No Exchange of the Composite Securities."

  Ratings....................................................... It is a condition of the issuance of the Securities that each
                                                                 Class of Notes and the Composite Securities are rated (in
                                                                 the case of the Insured Notes, after giving effect to the
                                                                 Policy) at least as indicated in the table under "––Principal
                                                                 Terms of the Securities " on the Closing Date.
                                                      The Class 1 Composite Securities are rated only as to the
                                                      ultimate payment of their Class 1 Composite Security Rated
                                                      Balance.
                                                      No rating of the Preference Shares has been sought or
                                                      obtained in connection with the issuance thereof.
                                                      Each of the above ratings assume that no Maturity
                                                      Extension occurs after the Closing Date.
                                                      A credit rating is not a recommendation to buy, sell or hold
                                                      securities and may be subject to revision or withdrawal at



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                                                                 any time by the assigning Rating Agency. See "Risk
                                                                 Factors—Relating to the Securities—Future Ratings of the
                                                                 Notes Are Not Assured and Limited in Scope; the
                                                                 Preference Shares are Not Rated."
  Listing........................................................ Application will be made to list each Class of the Securities
                                                                  (other than the Preference Shares) on the Irish Stock
                                                                  Exchange. There can be no assurance that such admission
                                                                  will be granted or maintained. See "Listing and General
                                                                  Information." In addition, there is currently no market for
                                                                  the Securities and there can be no assurance that a market
                                                                  will develop.

  Governing Law ......................................... The terms and conditions of the Preference Shares (as set
                                                          forth in the Issuer Charter and the Resolutions) will be
                                                          governed by, and construed in accordance with, the law of
                                                          the Cayman Islands. The Notes, the Composite Securities,
                                                          the Indenture, any supplemental indenture, the Management
                                                          Agreement, the Collateral Administration Agreement, the
                                                          Preference Shares Paying Agency Agreement, the Policy,
                                                          the Insurance Agreement and any Hedge Agreements will
                                                          be governed by, and construed in accordance with, the law
                                                          of the State of New York.

  Tax Status..................................................
                                                                   The opinions expressed in this document were not
                                                                   written and are not intended by McKee Nelson
                                                                   LLP, special U.S. tax counsel to the Issuer, to be
                                                                   used and cannot be used by the Issuer or any holder
                                                                   of Notes for purposes of avoiding United States
                                                                   federal income tax penalties that may be imposed,
                                                                   the advice is written to support the promotion or
                                                                   marketing of the transactions, and each taxpayer
                                                                   should seek advice based on the taxpayer's
                                                                   particular circumstances from an independent tax
                                                                   advisor.

                                                                 As more fully described in "Income Tax Considerations":

                                                                 The Issuer and each Holder and beneficial owner of a Note,
                                                                 by acquiring such Note or an interest in such Note, will
                                                                 agree to treat such Note as debt for U.S. federal income tax
                                                                 purposes.

                                                                 The Issuer expects the Issuer's permitted activities will not
                                                                 cause it to be engaged in a trade or business in the United
                                                                 States under the Code and, consequently, the Issuer will not
                                                                 be subject to U.S. federal income tax on a net income basis
                                                                 (or the branch profits tax described below).




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                                                Payments of interest on the Securities and the Collateral
                                                Obligations are not expected to be subject to the imposition
                                                of withholding tax.

                                                See "Income Tax Considerations."

  ERISA Considerations ............................. See "ERISA Considerations."




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                                               RISK FACTORS
          An investment in the Securities involves certain risks. Prospective investors should carefully
 consider the following factors, in addition to the matters set forth elsewhere in this Offering Circular,
 prior to investing in any Class of Securities.

 General; Priorities of Securities

          The Issuer intends to invest in securities and other financial assets with certain risk characteristics
 as provided in the Indenture and the Management Agreement. See "Security for the Notes and the
 Composite Securities." There can be no assurance that the Issuer's investments will be successful, that its
 investment objectives will be achieved, that investors will receive their initial investments under the
 Securities or that they will receive any return (or avoid any loss, including total loss) on their investment
 in the Securities. Prospective investors are therefore advised to review this entire Offering Circular
 carefully and should consider, among other things, the following risk factors (along with, among other
 things, the inherent risks of investment activities) before deciding whether to invest in the Securities.

         Except as is otherwise stated below, the risk factors are generally applicable to all the Securities,
 although the degree of risk associated with each Class of Securities may vary. In particular, the priorities
 of payment of the Notes are generally in the order of their alphabetic designation (and, in the case of the
 Class A Notes, their numeric designation) from Senior Class A Notes (the highest priority) to the Class C
 Notes (the lowest priority), the priorities of payment of the Notes are generally higher than priorities of
 payment of the Preference Shares.

 Relating to the Securities

         The Securities Will Have Limited Liquidity

          There is currently no market for the Securities. There can be no assurance that a secondary
 market for any Class of Securities will develop, or if a secondary market does develop, that it will provide
 the Holders of the applicable Class of Securities with liquidity of investment or that it will continue for
 the life of such Class of Securities. In addition, each Class of Securities is subject to certain transfer
 restrictions and can only be transferred to certain transferees as described under "Transfer Restrictions."
 The restrictions on the transfer of the Securities may further limit their liquidity. Consequently, an
 investor in the Securities must be prepared to hold such Securities until their Stated Maturity or, in the
 case of the Preference Shares, the Scheduled Preference Shares Redemption Date. In addition, the
 Securities will not be registered under the Securities Act or any state securities laws, and the Co-Issuers
 have no plans, and are under no obligation, to register the Securities under the Securities Act. Application
 will be made to admit each Class of the Securities (other than the Preference Shares) to the Daily Official
 List of the Irish Stock Exchange. There can be no assurance that any such admission will be granted or
 maintained.

         The Subordination of the Class A-2 Notes, the Class A-3 Notes, the Class B Notes, the Class C
         Notes and the Preference Shares Will Affect Their Right to Payment in Relation to the More
         Senior Securities

         The Class A-2 Notes are subordinated in right of payment of interest and principal to the Senior
 Class A Notes in the manner and to the extent described in this Offering Circular. Payments of interest on
 the Class A-2 Notes will not be made until due and unpaid interest on the Senior Class A Notes and
 certain other amounts (including certain management fees payable to the Portfolio Manager, certain
 amounts payable to the Insurer, certain hedging termination payments and certain administrative fees)
 have been paid. No payments of principal of the Class A-2 Notes will be made until principal of and due
 and unpaid interest on the Senior Class A Notes and certain other amounts have been paid in full.

        The Class A-3 Notes are subordinated in right of payment of interest and principal to the Senior
 Class A Notes and the Class A-2 Notes in the manner and to the extent described in this Offering
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 Circular. Payments of interest on the Class A-3 Notes will not be made until due and unpaid interest on
 the Senior Class A Notes, the Class A-2 Notes and certain other amounts (including certain management
 fees payable to the Portfolio Manager, certain amounts payable to the Insurer, certain hedging termination
 payments and certain administrative fees) have been paid. No payments of principal of the Class A-3
 Notes will be made until principal of and due and unpaid interest on the Senior Class A Notes, the Class
 A-2 Notes and certain other amounts have been paid in full.

          The Class B Notes are subordinated in right of payment of interest and principal to the Class A
 Notes in the manner and to the extent described in this Offering Circular. Payments of interest on the
 Class B Notes will not be made until due and unpaid interest on the Class A Notes and certain other
 amounts (including certain management fees payable to the Portfolio Manager, certain amounts payable
 to the Insurer, certain hedging termination payments and certain administrative fees) have been paid. No
 payments of principal of the Class B Notes will be made until principal of and due and unpaid interest on
 the Class A Notes and certain other amounts have been paid in full, except in connection with the
 payment of any Class B Deferred Interest.

          The Class C Notes are subordinated in right of payment of interest and principal to the Class A
 Notes and the Class B Notes in the manner and to the extent described in this Offering Circular.
 Payments of interest on the Class C Notes will not be made until due and unpaid interest on the Class A
 Notes, the Class B Notes and certain other amounts (including certain management fees payable to the
 Portfolio Manager, certain amounts payable to the Insurer, certain hedging termination payments and
 certain administrative fees) have been paid. No payments of principal of the Class C Notes will be made
 until principal of and due and unpaid interest on the Class A Notes, the Class B Notes and certain other
 amounts have been paid in full, except in connection with the payment of any Class C Deferred Interest.

         No payments will be made out of Interest Proceeds on the Preference Shares on any Payment
 Date (or, with respect to the Preference Share Components, the Composite Securities Payment Date),
 until due and unpaid interest on the Notes (including any Deferred Interest) and certain amounts
 (including certain amounts due under the Hedge Agreements, certain management fees payable to the
 Portfolio Manager, certain amounts payable to the Insurer, certain hedging termination payments and
 certain administrative fees) have been paid on the Payment Date in accordance with the Priority of
 Payments. No payments will be made out of Principal Proceeds on the Preference Shares until principal
 of each Class of Notes and certain other amounts payable out of Principal Proceeds on each Payment Date
 have been paid in full. In addition, the Preference Shares will not be redeemed until each Class of Notes
 and certain other amounts have been paid in full.

          In addition, the Co-Issuers will have only nominal equity capitalization. Consequently, to the
 extent that any losses are suffered by any of the Holders of any Securities, the losses will be borne first by
 the Holders of the Preference Shares, and then by the Holders of each Class of Notes, serially in inverse
 order of their alphabetic (and, in the case of the Class A Notes, numeric) designations.

         For purposes of subordination, the Composite Securities will not be treated as a separate Class,
 but the Preference Share Component of the Composite Securities will be treated as Preference Shares.

         See "Description of the Securities."

         Interest Will Be Deferred on Deferred Interest Notes if There Are Insufficient Funds under the
         Priority of Payments for Payment of Interest

         So long as any Class A Notes are Outstanding, any interest due and accrued on the Class B Notes
 that remains unpaid on any Payment Date because insufficient funds are available to pay it in accordance
 with the Priority of Payments will be added to the Aggregate Outstanding Amount of the Class B Notes
 as Class B Deferred Interest and failure to pay that interest on the Payment Date when it originally
 became due will not be an Event of Default. Class B Deferred Interest will then be payable on subsequent


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 Payment Dates in accordance with the Priority of Payments, pursuant to which it will remain
 subordinated to the payment of interest on the Class A Notes in the application of Interest Proceeds and to
 the payment in full of the principal of the Class A Notes in the application of Principal Proceeds.

          So long as any Class A Notes or Class B Notes are Outstanding, any interest due and accrued on
 the Class C Notes that remains unpaid on any Payment Date because insufficient funds are available to
 pay it in accordance with the Priority of Payments will be added to the Aggregate Outstanding Amount of
 the Class C Notes as Class C Deferred Interest and failure to pay that interest on the Payment Date when
 it originally became due will not be an Event of Default. Class C Deferred Interest will then be payable
 on subsequent Payment Dates in accordance with the Priority of Payments, pursuant to which it will
 remain subordinated to the payment of interest on the Class A Notes and the Class B Notes in the
 application of Interest Proceeds and to the payment in full of the principal of the Class A Notes and the
 Class B Notes in the application of Principal Proceeds.

         Payments of Interest Proceeds on the Class A-1g Notes May Be Subordinated to Payments of
         Premium

         If on any Payment Date the amount of available Interest Proceeds is not sufficient for the
 payment in full of accrued and unpaid interest on the Senior Class A Notes, accrued and unpaid Premium
 and any accrued and unpaid Defaulted Interest on the Senior Class A Notes, the Class A-1g Notes shall be
 subordinated to the payment of accrued and unpaid Premium to the extent provided in clause (5)(A) under
 "Description of the Securities—Priority of Payments—Interest Proceeds."

         Interest Proceeds May Be Used to Reinvest in Priority to any Payments to Holders of Preference
         Shares

          During the Reinvestment Period, if the Reinvestment Overcollateralization Test is not met on any
 Determination Date, a portion of the Interest Proceeds that might otherwise have been paid to the Holders
 of the Preference Shares on the related Payment Date (or, with respect to the Preference Share
 Components, the Composite Securities Payment Date) will instead be deposited into the Collection
 Account as Principal Proceeds, as described under clause (16) under "Description of the Securities—
 Priority of Payments—Interest Proceeds."

         The Insured Notes May Be Subject to the Insurer's Ability to Make Payments of the Insured
         Amounts

          Pursuant to the Policy, the Insurer will guarantee the payment of Insured Amounts with respect to
 the Insured Notes. However, if the Insurer were to become bankrupt or insolvent or otherwise default on
 its obligations under the Policy, no other persons would be obligated to make any payments or make up
 any deficiencies in payment of the Insured Notes after the liquidation in full of the Collateral by the
 Trustee, on behalf of the Holders of the Notes.

         The Controlling Class Will Control Many Rights under the Indenture; However, Some Rights of
         the Controlling Class to Sell the Collateral in Connection with an Event of Default Are Limited

          Under the Indenture, many rights of the Holders of the Notes will be controlled by a Majority of
 the Controlling Class. As discussed below under "—The Insurer as Controlling Class Will Control Many
 Rights Under the Indenture," the Insurer will be the "Controlling Class" for so long as (i) the Class A-1g
 Notes are Outstanding, (ii) the Policy has not been terminated and (iii) there has not been an Insurer
 Default under the Policy. Remedies pursued by the Holders of the Controlling Class upon an Event of
 Default could be adverse to the interests of the Holders of Securities subordinated to the Controlling
 Class. After any realization on the Collateral, proceeds will be allocated in accordance with the Priority
 of Payments pursuant to which the Notes and certain other amounts owing by the Co-Issuers will be paid
 in full before any allocation to the Preference Shares, and each Class of Notes (along with certain other


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 amounts owing by the Co-Issuers) will be paid serially in alphabetic order (or, with respect to the Class A
 Notes, in numeric order) until it is paid in full before any allocation is made to the next Class of Notes.

          However, the ability of the Controlling Class to direct the sale and liquidation of the Collateral is
 subject to certain limitations. As described under "Description of the Securities—The Indenture—Events
 of Default," if an Event of Default occurs and is continuing, the Trustee must retain the Collateral intact
 and collect all payments in respect of the Collateral and continue making payments in accordance with the
 Priority of Payments and in accordance with the Indenture unless either (A) the Trustee determines that
 the anticipated net proceeds of a sale or liquidation of the Collateral would be sufficient to discharge in
 full the amounts then due and unpaid on the Notes for principal and interest (including Defaulted Interest
 and Deferred Interest and any interest on the Defaulted Interest and Deferred Interest), all Administrative
 Expenses, all other amounts (if any) then payable to the Hedge Counterparty by the Issuer (including any
 applicable termination payments) net of all amounts then payable to the Issuer by the Hedge
 Counterparty, all amounts owing by the Issuer to the Insurer under the Insurance Agreement, and all other
 amounts then payable under clause (3) under "Description of the Securities—Priority of Payments—
 Interest Proceeds," and a Majority of the Controlling Class agrees with that determination or (B) the
 Holders of a Super Majority of each of the Senior Class A Notes, the Class A-2 Notes, the Class A-3
 Notes, the Class B Notes and the Class C Notes direct, subject to the provisions of the Indenture, the sale
 and liquidation of the Collateral; provided, however, if an Event of Default described in clause (d) under
 "Description of the Securities—Events of Default" occurs and if the Insurer is the Controlling Class, the
 Insurer shall have the sole right to direct, subject to the provisions of the Indenture, the sale and
 liquidation of the Collateral.

         The Insurer as Controlling Class Will Control Many Rights Under the Indenture

           So long as (i) the Class A-1g Notes are Outstanding, (ii) the Policy has not been terminated and
 (iii) there has not been an Insurer Default under the Policy, most rights of the Holders of the Class A-1g
 Notes will be exercised by the Insurer. As a result, the Holders of the Class A-1g Notes, for example,
 generally will not have the right to accelerate the maturity of the Notes upon the occurrence of an Event
 of Default but instead will be entitled to continue to receive regularly scheduled payments of interest and
 payments of principal, if any, unless and until such maturity is accelerated by the Insurer. The exercise of
 the rights of the Controlling Class by the Insurer is not conditioned on, among other things, the Insurer's
 maintaining any specified credit ratings.
         In addition, the Insurer has the right to declare an event of default under the Insurance Agreement
 in connection with breaches of covenants and misrepresentations by the Co-Issuers thereunder. See "The
 Insurer and the Policy—Insurance Agreement Events of Default." Any such event of default would also
 constitute an Event of Default under the Indenture, with respect to which the Insurer would have the
 rights described above. In certain circumstances, as described under "Description of the Securities—
 Termination of the Policy," the Policy may be terminated with the consent of 100% of the Holders of the
 Class A-1g Notes.
 The Issuer is Highly Leveraged, which Increases Risks to Investors
         The Issuer will be substantially leveraged. Use of leverage is a speculative investment technique
 and involves certain risks to investors in the Securities. The leverage provided to the Issuer by the
 issuance of the Securities will result in interest expense and other costs incurred in connection with the
 borrowings that may not be covered by the net interest income, dividends and appreciation of the
 Collateral Obligations. The use of leverage generally magnifies the Issuer's risk of loss, particularly for
 the more subordinate Classes of Notes and the Preference Shares. In certain circumstances, such as in
 connection with the exercise of remedies following an Event of Default, the Controlling Class (which, for
 so long as (i) the Class A-1g Notes are Outstanding, (ii) the Policy has not been terminated and (iii) there
 has not been an Insurer Default under the Policy, will be the Insurer) may require the Issuer to dispose of
 some or all of the Collateral Obligations under unfavorable market conditions, thus causing the Issuer to
 recognize a loss that might not otherwise have occurred. In certain circumstances, the Controlling


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 Class (which, for so long as (i) the Class A-1g Notes are Outstanding, (ii) the Policy has not been
 terminated and (iii) there has not been an Insurer Default under the Policy, will be the Insurer) are entitled
 to direct the sales of Collateral Obligations and may be expected to do so in their own interest, rather than
 in the interests of the more subordinate Classes of Securities.

         The Issuer Is Newly Formed, Has No Significant Operating History, Has No Material Assets
         Other than the Collateral and Is Limited in its Permitted Activities

          The Issuer is a newly formed entity and has no significant operating history, other than in
 connection with the acquisition of the Collateral Obligations during the period up to the Ramp-Up
 Completion Date. The Issuer will have no material assets other than the Collateral and the Class 1
 Collateral. The Indenture provides that the Issuer is not permitted to engage in any business activity other
 than the issuance of the Notes, the Composite Securities, the Preference Shares and the Issuer Ordinary
 Shares, the acquisition and disposition of and investment and reinvestment in Collateral Obligations,
 certain activities conducted in connection with the payment of amounts in respect of the Securities and the
 management of the Collateral and the Class 1 Collateral, and other activities incidental or related to the
 foregoing. Income derived from the Collateral and the Class 1 Collateral will be the Issuer's principal
 source of cash.

         The Co-Issuer Is Newly Formed, Has No Significant Operating History, Has No Material Assets,
         and Is Limited in its Permitted Activities

          The Co-Issuer is a newly formed Delaware corporation and has no prior operating history. The
 Co-Issuer will have no material assets. The Indenture provides that the Co-Issuer is not permitted to
 engage in any business activity other than the co-issuance and sale of the Notes, the issuance of its share
 capital, and other activities incidental or related to the foregoing.

         The Notes Are Non-Recourse Obligations; Investors Must Rely on Available Collections from the
         Collateral and Will Have No Other Source for Payment

         The Class A Notes, the Class B Notes and the Class C Notes are non-recourse debt obligations of
 the Co-Issuers. The Securities are payable solely from the Collateral pledged by the Issuer to secure the
 Notes. None of the security holders, members, officers, directors, partners, or incorporators of the Issuer,
 the Co-Issuer, the Portfolio Manager, the Initial Purchaser, the Insurer (other than in respect of the Class
 A-1g Notes), the Trustee, the Preference Shares Paying Agent, the Administrator, the Share Registrar, the
 Share Trustee, any of their respective affiliates, or any other person will be obligated to make payments
 on the Notes. The Issuer's ability to make interest payments and principal repayments on the Notes will
 be constrained by the terms of the Indenture. Holders of the Notes must rely solely on collections
 received on the Collateral pledged to secure the Notes and, solely in respect of the Class A-1g Notes, the
 Policy, as applicable, for the payment of interest and principal on the Notes, and there can be no
 assurance that those collections will be sufficient to pay all amounts due on the Notes. If the Insurer fails
 to make payments due pursuant to the Policy, Holders of the Insured Notes must rely solely on collections
 received on the Collateral pledged to secure the Notes for the payment of interest and principal on the
 Insured Notes, and there can be no assurance that those collections will be sufficient to pay all amounts
 due on the Insured Notes. If distributions on the Collateral are insufficient to make payments on the
 Notes, no other assets will be available for payment of the deficiency and, following liquidation of all of
 the Collateral, the Co-Issuers will not have any obligation to pay any deficiency, which shall be
 extinguished and shall not revive.




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         The Composite Securities Are Non-Recourse Obligations; Investors Must Rely on Available
         Collections from the Collateral and the Class 1 Collateral and Will Have No Other Source for
         Payment.

          The Composite Securities are non-recourse obligations of the Issuer. The Composite Securities
 are payable solely from the Collateral pledged by the Issuer to secure the Notes and from the Class 1
 Collateral pledged by the Issuer to secure the Composite Securities. None of the security holders,
 members, officers, directors, partners, or incorporators of the Issuer, the Co-Issuer, the Portfolio Manager,
 the Initial Purchaser, the Insurer, the Trustee, the Preference Shares Paying Agent, the Administrator, the
 Share Registrar, the Share Trustee, any of their respective affiliates, or any other person will be obligated
 to make payments on the Composite Securities. The Issuer's ability to make payments on the Composite
 Securities will be constrained by the terms of the Indenture. Holders of the Composite Securities must
 rely solely on collections received on the Collateral pledged to secure the Notes and on the Class 1
 Collateral pledged to secure the Composite Securities, and there can be no assurance that those collections
 will be sufficient to pay all amounts due on the Composite Securities. If distributions on the Collateral
 and the Class 1 Collateral are insufficient to make payments on the Composite Securities, no other assets
 will be available for payment of the deficiency and, following liquidation of all of the Collateral and the
 Class 1 Collateral, the Issuer will not have any obligation to pay any deficiency, which shall be
 extinguished and shall not revive.

         The Preference Shares are not Secured Obligations; Investors Must Rely on Available
         Collections from the Collateral and Will Have No Other Source for Payment

          The Preference Shares will be part of the issued share capital of the Issuer. The Preference
 Shares are equity in the Issuer and are not secured by the Collateral Obligations or other Collateral
 securing the Notes. As such, the Holders of Preference Shares will rank behind all creditors, whether
 secured or unsecured and known or unknown, of the Issuer, including, without limitation, the holders of
 the Notes and any Hedge Counterparties. Except with respect to the obligations of the Issuer to pay the
 amounts described under the "Description of the Securities—Priority of Payments—Interest Proceeds"
 and "—Principal Proceeds", the Issuer does not, however, expect to have any creditors though there can
 be no assurance that this will be the case. In addition, the Issuer is also subject to limitations with respect
 to the business that it may undertake. See "The Co-Issuers—Business." Payments in respect of the
 Preference Shares are subject to certain requirements imposed by Cayman Islands law. Any amounts paid
 by the Preference Shares Paying Agent as dividends on the Preference Shares will be payable only if the
 Issuer has sufficient distributable profits and/or balance in the Issuer's share premium account. In
 addition, dividends and the final payment upon redemption of the Preference Shares, will be payable only
 to the extent that the Issuer is and will remain solvent after such dividends or redemption payment is paid.
 Under Cayman Islands law, a company is generally deemed to be solvent if it is able to pay its debts as
 they come due.

          The Issuer's obligation to pay dividends or to make other distributions to the Holders of the
 Preference Shares will therefore not be a secured obligation of the Issuer and will not be entitled to the
 benefits of the Indenture, nor will the Trustee have any obligation to act on behalf of the Holders of
 Preference Shares. Holders of the Preference Shares will only be entitled to receive amounts available for
 payment of dividends or other distributions after payment of all amounts payable on each Class of Notes
 and certain other amounts in accordance with the Priority of Payments and only to the extent of
 distributable profits of the Issuer and/or any balance in the Issuer's share premium account and (in each
 case) only to the extent that the Issuer is and will remain solvent following such distributions.

         To the extent the requirements under Cayman Islands law described in the preceding paragraphs
 are not met, amounts otherwise payable to the Holders of the Preference Shares will be retained in the
 Preference Shares Distribution Account until, in the case of dividends, the next succeeding Payment Date
 on which the Issuer notifies the Preference Shares Paying Agent such requirements are met and, in the
 case of any payment on redemption of the Preference Shares, the next succeeding Business Day on which

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 the Issuer notifies the Preference Shares Paying Agent such requirements are met. Amounts on deposit in
 the Preference Shares Distribution Account will not be available to pay amounts due to the Holders of the
 Notes, the Trustee, the Insurer, the Collateral Administrator, the Portfolio Manager, any Hedge
 Counterparty or any other creditor of the Issuer whose claim is limited in recourse to the Collateral.
 However, amounts on deposit in the Preference Shares Distribution Account may be subject to the claims
 of creditors of the Issuer that have not contractually limited their recourse to the Collateral. The Indenture
 and the Preference Share Documents will limit the Issuer's activities to the issuance and sale of the
 Securities, the acquisition and disposition of, and investment and reinvestment in, the Collateral
 Obligations and Eligible Investments and the other activities related to the issuance and sale of the
 Securities described under the "The Co-Issuers." The Issuer therefore does not expect to have any
 significant full recourse liabilities that would be payable out of amounts on deposit in the Preference
 Shares Distribution Account.

         The Issuer May Not Be Able to Invest and Reinvest Available Funds in Appropriate Collateral

          The amount of Collateral Obligations purchased on the Closing Date, the amount and timing of
 the purchase of additional Collateral Obligations before the Ramp-Up Completion Date, and the
 subsequent reinvestment of Principal Proceeds, will affect the cash flows available to make payments on,
 and the return to the Holders of, the Securities. Reduced liquidity and relatively lower volumes of trading
 in certain Collateral Obligations, in addition to restrictions on investment represented by the Eligibility
 Criteria, could result in periods during which the Issuer is not able to fully invest its available cash in
 Collateral Obligations, and it is unlikely that the Issuer's available cash will be fully invested in Collateral
 Obligations at any time. The longer the period before reinvestment of cash or cash-equivalents in
 Collateral Obligations and the larger the amount of uninvested cash or cash equivalents, the greater the
 adverse impact may be on aggregate interest collected and distributed by the Issuer, thereby resulting in
 lower yield than could have been obtained if the net proceeds associated with the offering of the
 Securities and all Principal Proceeds were immediately and fully reinvested. The associated reinvestment
 risk on the Collateral Obligations will be borne first by the Holders of the Preference Shares and second
 by the Holders of the Notes (beginning with the most subordinated Class of Notes). Although the
 Portfolio Manager may mitigate this risk to some degree during the Reinvestment Period by declaring a
 Special Redemption, the Portfolio Manager is not required to do so, and any Special Redemption may
 result in a lower yield on the Issuer's assets than could have been obtained if the net proceeds from the
 offering of the Securities and all Principal Proceeds were immediately and fully reinvested and no Special
 Redemption had taken place.

          Generally, Principal Proceeds (together with Interest Proceeds, but only to the extent used to pay
 for accrued interest on Collateral Obligations, and Sale Proceeds received on the Collateral Obligations)
 will be reinvested during the Reinvestment Period (and, Principal Proceeds constituting Unscheduled
 Principal Payments and Sale Proceeds from Credit Improved Obligations, may be invested on any date
 after the Reinvestment Period, at the discretion of the Portfolio Manager) in substitute Collateral
 Obligations or temporarily reinvested in the Eligible Investments pending reinvestment in substitute
 Collateral Obligations in accordance with the Priority of Payments. The earnings with respect to
 substitute Collateral Obligations will depend, among other factors, on reinvestment rates available in the
 marketplace at the time and on the availability of investments acceptable to the Portfolio Manager that
 satisfy the criteria under "Security for the Notes and the Composite Securities—Eligibility Criteria." The
 need to satisfy the criteria and identify acceptable investments may require the purchase of substitute
 Collateral Obligations having lower yields than those initially acquired or require that Principal Proceeds
 be held temporarily in cash or Eligible Investments, which will reduce the yield earned by the Issuer.
 Further, issuers of Collateral Obligations may be more likely to exercise any rights they may have to
 redeem them when interest rates or spreads are declining. Any decrease in the yield on the Collateral
 Obligations will reduce the amounts available to make payments of principal and interest on the Notes
 and payments on the Preference Shares.




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         The Issuer expects that, as of the Closing Date, it will have purchased (or entered into
 commitments to purchase) at least $497,250,000 in Aggregate Principal Balance of the Collateral
 Obligations to be included in the anticipated portfolio as of the Ramp-Up Completion Date.

         Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
         Payments on the Securities, and the Issuer Will Not Gross-Up Payments to Holders

          Although no withholding tax is currently imposed by the United States or the Cayman Islands on
 payments on the Securities, there can be no assurance that, as a result of any change in any applicable
 law, treaty, rule, regulation, or interpretation thereof, the payments with respect to the Securities would
 not in the future become subject to withholding taxes. If any withholding tax is imposed on payments on
 any Securities, the Issuer will not "gross up" payments to their Holders.

         The Securities Are Subject to Substantial Transfer Restrictions

          The Securities have not been registered under the Securities Act, under any U.S. state securities
 or "Blue Sky" laws, or under the securities laws of any other jurisdiction and are being issued and sold in
 reliance upon exemptions from registration provided by those laws. No Securities may be sold or
 transferred unless: the sale or transfer is exempt from the registration requirements of the Securities Act
 (for example, in reliance on exemptions provided by Rule 144A or Regulation S) and applicable state
 securities laws; and the sale or transfer does not cause either of the Co-Issuers or the pool of Collateral to
 become subject to the registration requirements of the Investment Company Act. See "Transfer
 Restrictions" and "ERISA Considerations."

         Non-Compliance with Restrictions on Ownership of the Securities under the United States
         Investment Company Act of 1940 Could Adversely Affect the Issuer

         Neither of the Co-Issuers has registered with the United States Securities and Exchange
 Commission (the "SEC") as an investment company pursuant to the Investment Company Act. The
 Issuer has not so registered in reliance on an exclusion from the definition of "investment company" for
 companies organized under the laws of a jurisdiction other than the United States or any of its states: (i)
 whose investors residing in the United States are solely "qualified purchasers" (within the meaning given
 to such term in the Investment Company Act and related SEC regulations); and (ii) that do not make a
 public offering of their securities in the United States. No opinion or no-action position with respect to
 the registration of either of the Co-Issuers or the pool of Collateral under the Investment Company Act
 has been requested of, or received from, the SEC.

         If the SEC or a court of competent jurisdiction were to find that the Issuer or the Co-Issuer is
 required, but in violation of the Investment Company Act had failed, to register as an investment
 company, possible consequences include the following: (i) the SEC could apply to a district court to
 enjoin the violation; (ii) investors in the Issuer or the Co-Issuer could sue the Issuer or the Co-Issuer, as
 the case may be, and recover any damages caused by the violation; and (iii) any contract to which the
 Issuer or the Co-Issuer, as the case may be, is party whose performance involves a violation of the
 Investment Company Act would be unenforceable by any party to the contract unless a court were to find
 that under the circumstances enforcement would produce a more equitable result than non-enforcement
 and would not be inconsistent with the purposes of the Investment Company Act.

         In addition, the Issuer's being required to register as an investment company would result in an
 Event of Default. See "Description of the Securities—The Indenture—Events of Default." Should the
 Issuer or the Co-Issuer be subjected to any or all of the foregoing, the Issuer or the Co-Issuer, as the case
 may be, would be materially and adversely affected.




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         The Weighted Average Lives of the Notes May Vary

          The Stated Maturity of the Notes is the Payment Date in February, 2017 or, upon a Maturity
 Extension (if any), the applicable Extended Stated Maturity Date. The weighted average life of each
 Class of Notes is expected to be shorter than the number of years until their Stated Maturity. See
 "Description of the Securities." The weighted average life of a Class of Notes will be affected by the
 amount and timing of payments of principal of the Notes and the amount and timing of payments received
 on the Collateral Obligations. The amount and timing of payments of principal on the Notes will be
 affected by, among other things, any Optional Redemption of the Notes, a failure of any Coverage Test, a
 Rating Confirmation Failure, any failure by the Portfolio Manager to invest or reinvest uninvested
 proceeds of the offering of the Securities in Collateral Obligations, a redemption of the Securities made in
 connection with a Tax Event, any Special Redemption of one or more Classes of Notes, and an Event of
 Default by the Issuer in the payment of the Notes and an acceleration of the principal of the Notes in
 connection with an Event of Default. The occurrence of any of the foregoing unscheduled principal
 repayments of the Notes is, in turn, determined by the amount and timing of payments on the Collateral,
 which will be dependent on, among other things, the financial condition of the obligors on or issuers of
 the Collateral and the characteristics of the Collateral Obligations, including the existence and frequency
 of exercise of any prepayment, optional redemption, or sinking fund features, the prevailing level of
 interest rates, the redemption price, the actual default rate and the actual level of recoveries on any
 Defaulted Collateral Obligations, the frequency of tender or exchange offers for the Collateral Obligations
 and any sales of Collateral Obligations, dividends or other distributions received on any obligations that
 at the time of acquisition, conversion, or exchange do not satisfy the requirements of a Collateral
 Obligation, as well as the risks unique to investments in obligations of foreign issuers. See "Security for
 the Notes and the Composite Securities."

         A Maturity Extension May Result in a Longer or Shorter Holding Period Than Expected.

         Under the Indenture, the Issuer, if directed by the Portfolio Manager, shall be entitled to, on each
 Extension Effective Date, to extend the Reinvestment Period to the applicable Extended Reinvestment
 Period End Date if (i) in the case of an Extension Effective Date occurring after the first Extension
 Effective Date, the Issuer has previously affected a Maturity Extension for each preceding Extension
 Effective Date and (ii) the Extension Conditions are satisfied and the Issuer has given written notice of its
 election to extend the Reinvestment Period no later than 60 days and no earlier than 90 days prior to such
 Extension Effective Date. Under the Indenture, if the Reinvestment Period is so extended, the Stated
 Maturity of the Notes and the Composite Securities (or, in the case of the Preference Shares, the
 Scheduled Preference Shares Redemption Date) will be equally extended and the Weighted Average Life
 Test shall be automatically extended without the requirement for any approval or consent of any Holders
 of Securities. Holders of Securities will not be able to prevent or prohibit the extension of the Stated
 Maturity of the Notes and the Composite Securities (or, in the case of the Preference Shares, the
 Scheduled Preference Shares Redemption Date) so long as the Extension Conditions are satisfied, which
 include the ability of Holders of Securities to sell their Securities at the designated purchase price to a
 designated purchaser under the Indenture. However, in the case of the Preference Shares, the Indenture
 provides that Holders of Preference Shares that have received a Preference Share Internal Rate of Return
 equal to or in excess of 12.0% as of the Extension Effective Date will not receive any payment in
 exchange for their Preference Shares sold in connection with a Maturity Extension.

         As a consequence, if the Portfolio Manager elects to extend the Reinvestment Period and the
 Extension Conditions are satisfied, the Holders of the Securities may either be required to hold their
 Securities for a significantly longer period of time or be forced to sell their Securities for the applicable
 purchase price under the Indenture, resulting in a shorter holding period than expected at the time of
 investment in the Securities.




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         An Amendment Buy-Out May Result in a Shorter Holding Period Than Expected.

         Any Non-Consenting Holder of Securities with respect to an amendment of the Indenture (which
 includes Holders that fail to respond to a consent solicitation within the applicable period) may be forced
 to sell its applicable Securities to the Amendment Buy-Out Purchaser at the Amendment Buy-Out
 Purchase Price, resulting in a shorter holding period than expected at the time of investment in the
 Securities. However, in the case of the Preference Shares, the Indenture provides that the Amendment
 Buy-Out Purchase Price will be zero for Non-Consenting Holders that have received a Preference Share
 Internal Rate of Return equal to or in excess of 12.0% as of the Amendment Buy-Out Date. See
 "Description of the Securities—Amendment Buy-Out." A Holder's ability to vote against an amendment
 or affect or influence the amendment process with respect to the Indenture may thus be limited. The
 Amendment Buy-Out Option may also increase the ability of the Portfolio Manager to affect or influence
 the amendment process.

         A Removal Buy-Out May Result in a Shorter Holding Period Than Expected.

          Under the Management Agreement, upon the occurrence of an Event of Default described in
 clause (d) under "Description of the Securities—Events of Default" and so long as the Policy has not been
 terminated and delivered for cancellation as described in "Description of the Securities—Termination of
 the Policy," a Majority of the Controlling Class may terminate the Management Agreement and cause the
 Issuer to remove the Portfolio Manager; provided, however, that the Portfolio Manager shall have the
 right to avoid such removal if, in accordance with the terms described in "The Management Agreement,"
 the Removal Buy-Out Purchaser purchases not less than all of the Class A-1g Notes at the Removal Buy-
 Out Purchase Price prior to the proposed removal date and terminates the Policy upon the effectiveness of
 such purchase. Upon the occurrence of such Removal Buy-Out Option, any Holder of Class A-1g Notes
 will be forced to sell its applicable Class A-1g Notes to the Removal Buy-Out Purchaser at the Removal
 Buy-Out Purchase Price, resulting in a shorter holding period than expected at the time of investment in
 the Class A-1g Notes. See "Description of the Securities—Removal Buy-Out." A Holder's ability to vote
 to terminate the Management Agreement and remove the Portfolio Manager upon the occurrence of an
 Event of Default described in clause (d) under "Description of the Securities—Events of Default" may
 thus be limited.

         The Indenture Requires Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

          If any of the Coverage Tests are not satisfied on any Determination Date on which the Notes of
 the relevant Class are Outstanding, Interest Proceeds available on the related Payment Date in accordance
 with the Priority of Payments (and, to the extent Interest Proceeds are insufficient, Principal Proceeds
 available on the Payment Date in accordance with the Priority of Payments) are required to be applied to
 pay principal of the relevant Class of Notes (and any Classes senior to it) to the extent necessary for the
 relevant Coverage Test to be satisfied. The application of Interest Proceeds and Principal Proceeds to pay
 principal of the Notes to the extent necessary to restore the Coverage Tests to certain minimum required
 levels could result in an elimination, deferral or reduction in the amounts available to make distributions
 on the Preference Shares and interest and principal payments on one or more classes of Notes, which
 would adversely affect the returns to the Holders of the Securities.

         The Indenture Requires Mandatory Redemption of the Notes Upon Rating Confirmation Failure

          If any rating of any Class of Notes is reduced or withdrawn or placed on credit watch with
 negative implications by the Business Day after the 29th day after the Ramp-Up Completion Date by
 either Rating Agency, Interest Proceeds and, if Interest Proceeds are insufficient, Principal Proceeds, are
 required to be diverted in accordance with the Priority of Payments and used to pay the principal of the
 Notes sequentially in order of their relative priority on the next Payment Date and each Payment Date
 after that until each rating is reinstated. The application of Interest Proceeds and Principal Proceeds to
 pay principal of the Notes to the extent necessary for one or more ratings to be reinstated could result in

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 an elimination, deferral, or reduction in one or more payments or distributions on one or more Classes of
 Securities, which would adversely affect the returns to the Holders of those Classes of Securities.

         The Indenture Permits Special Redemption of Notes Based on the Portfolio Manager's Inability to
         Identify Investments

          The Portfolio Manager is permitted under the Indenture to elect to have all or a portion of the
 funds then in the Collection Account available to be invested in additional Collateral Obligations applied
 to a Special Redemption of the Notes, in whole or in part, on one or more Payment Dates during the
 Reinvestment Period because it has been unable, for a period of at least 45 consecutive Business Days, to
 identify additional Collateral Obligations that are deemed appropriate by the Portfolio Manager in its sole
 discretion and meet the Eligibility Criteria in sufficient amounts to permit the investment or reinvestment
 of all or a portion of the funds then in the Collection Account available to be invested in additional
 Collateral Obligations. On the Special Redemption Date, in accordance with the Indenture, the Special
 Redemption Amount will be applied in accordance with "Description of the Securities—Priority of
 Payments—Principal Proceeds," to the extent available (which includes for this purpose uninvested
 proceeds specified by the Portfolio Manager), to pay the principal of the Notes. The application of funds
 in that manner could result in an elimination, deferral, or reduction of amounts available to make
 payments on Securities subordinate in priority to the Securities being amortized. See "Description of the
 Securities—Special Redemption of Notes If the Portfolio Manager Does Not Identify Investments as
 Contemplated by the Indenture."

         The Notes Are Subject to Optional Redemption

          Subject to satisfaction of certain conditions, on any Payment Date upon the occurrence of a Tax
 Event or at any time after the Non-Call Period, the Holders of at least 63% of the Aggregate Outstanding
 Amount of the Preference Shares may require that the Notes be redeemed as described under "Description
 of the Securities—Optional Redemption." In the case of an Optional Redemption of the Notes, the
 Portfolio Manager may be required to aggregate Collateral Obligations to be sold together in one block
 transaction, thereby possibly resulting in a lower realized value for the Collateral Obligations sold. There
 can be no assurance that the market value of the Collateral will be sufficient for the Holders of the
 Preference Shares to direct an Optional Redemption of the Notes. A decrease in the market value of the
 Collateral would adversely affect the Sale Proceeds from their sale. Consequently, the conditions
 precedent to the exercise of an Optional Redemption may not be met. Moreover, the Holders of the Notes
 may not be able to invest the proceeds of the redemption of the Notes in investments providing a return
 equal to or greater than the Holders of the Notes expected to obtain from their investment in the Notes.

         Future Ratings of the Notes and the Composite Securities Are Not Assured and Limited in Scope;
         the Preference Shares Are Not Rated

           It is a condition to the issuance of the Notes and the Composite Securities that they be rated as
 provided under "Summary of Terms—Principal Terms of the Securities." A credit rating is not a
 recommendation to buy, sell or hold securities and is subject to revision or withdrawal at any time. There
 is no assurance that a rating will remain for any given period or that a rating will not be lowered or
 withdrawn entirely by each Rating Agency if in its judgment circumstances in the future so warrant. Any
 such action could have an adverse effect on the Holders of the relevant Class of Securities. If a rating
 initially assigned to a Class of Notes or Composite Securities is subsequently lowered for any reason, no
 person is obligated to provide any additional credit support or credit enhancement.

         No rating of the Preference Shares will be sought or obtained in connection with their issuance.




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         Events Outside the Control of the Co-Issuers and the Portfolio Manager Can Affect the Securities

          Various acts of God, force majeure, and certain other events beyond the control of the Co-Issuers,
 the Trustee, the Portfolio Manager, the Insurer, the Collateral Administrator, the Indenture Registrar, the
 Preference Shares Paying Agent and the Administrator could affect the ability of financial institutions to
 process payments and transfer funds and could impair the financial records and record-keeping practices
 of financial institutions and others (including the Trustee, the Portfolio Manager, the Insurer, the
 Collateral Administrator, the Indenture Registrar, the Preference Shares Paying Agent and the
 Administrator). In addition, the existence of those circumstances could cause lenders and other creditors
 more readily to agree to restructure debt obligations (including payment terms) than they would in the
 absence of those circumstances. The existence of those circumstances could adversely affect the ability
 of the Issuer or the Co-Issuer, as applicable, to make timely payments on the Securities.

         Anti-Money Laundering Provisions

          The Uniting and Strengthening America By Providing Appropriate Tools Required to Intercept
 and Obstruct Terrorism Act of 2001 (the "USA PATRIOT Act"), signed into law on and effective as of
 October 26, 2001, imposes anti-money laundering obligations on different types of financial institutions,
 including banks, broker-dealers and investment companies. The USA PATRIOT Act requires the
 Secretary of the United States Department of the Treasury (the "Treasury") to prescribe regulations to
 define the types of investment companies subject to the USA PATRIOT Act and the related anti-money
 laundering obligations. It is not clear whether Treasury will require entities such as the Issuer to enact
 anti-money laundering policies. It is possible that Treasury will promulgate regulations requiring the Co-
 Issuers or the Portfolio Manager or other service providers to the Co-Issuers, in connection with the
 establishment of anti-money laundering procedures, to share information with governmental authorities
 with respect to investors in the Securities. Such legislation and/or regulations could require the Co-
 Issuers to implement additional restrictions on the transfer of the Securities. As may be required, the
 Issuer reserves the right to request such information and take such actions as are necessary to enable it to
 comply with the USA PATRIOT Act.

          The Issuer and the Administrator are also subject to anti-money laundering laws and regulations
 in the Cayman Islands which impose specific requirements with respect to the obligation "to know your
 client". Except in relation to certain categories of institutional investors, the Issuer will require a detailed
 verification of each initial investor's identity and the source of the payment used by such initial investor
 for purchasing the Securities in a manner similar to the obligations imposed under the laws of other major
 financial centers. If the Cayman Islands government determined the Issuer was in violation of the anti-
 money laundering provisions, the Issuer could be subject to substantial criminal penalties. Payment of
 any such penalties could materially adversely affect the timing and amount of payments to Holders of
 Securities.

 Relating to the Portfolio Manager

         The Issuer Will Depend on the Managerial Expertise Available to the Portfolio Manager and its
         Key Personnel

          The performance of the Issuer's investment portfolio depends heavily on the skills of the Portfolio
 Manager in analyzing, selecting and managing the Collateral Obligations. As a result, the Issuer will be
 highly dependent on the financial and managerial experience of certain investment professionals
 associated with the Portfolio Manager, none of whom is under a contractual obligation to the Issuer to
 continue to be associated with the Portfolio Manager for the term of this transaction. The loss of one or
 more of these individuals could have a material adverse effect on the performance of the Co-Issuers.
 Furthermore, the Portfolio Manager has informed the Issuer that these investment professionals are also
 actively involved in other investment activities and will not be able to devote all of their time to the
 Issuer's business and affairs. In addition, individuals not currently associated with the Portfolio Manager

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 may become associated with the Portfolio Manager and the performance of the Collateral Obligations
 may also depend on the financial and managerial experience of such individuals. See "The Management
 Agreement" and "The Portfolio Manager."

         The Portfolio Manager Will Have Limited Control of the Administration and Amendment of
         Collateral Obligations

         The Portfolio Manager will cause the Issuer to exercise or enforce, or refrain from exercising or
 enforcing, its rights in connection with the Collateral Obligations or any related documents or will refuse
 amendments or waivers of the terms of any Collateral Obligation and related documents in accordance
 with its ordinary business practices as if the Portfolio Manager were administering the Collateral
 Obligations for its own account. The authority of the Portfolio Manager to cause the Issuer to change the
 terms of the Collateral Obligations will generally not be restricted by the Indenture or the Management
 Agreement. As a result, the Issuer will be relying on the Portfolio Manager's ordinary business practices
 with respect to the servicing of the Collateral Obligations. The Holders of the Securities and the Issuer
 will not have any right to compel the Issuer or the Portfolio Manager to take or refrain from taking any
 actions other than in accordance with its ordinary business practices.

          In addition, when the Issuer holds a Participation, the Issuer generally will have no right to
 enforce compliance by the borrower with the loan or credit agreement or other instrument evidencing the
 related loan obligation, no rights of set-off against the borrower, no direct interest in the collateral
 supporting the loan obligation, and no right to vote with respect to amendments of, or waivers of defaults
 under, the loan obligation. However, most participation agreements relating to Participations in loans
 provide that the Participating Institution may not vote in favor of any amendment, modification, or waiver
 that forgives principal, interest, or fees; reduces principal, interest, or fees that are payable; postpones any
 payment of principal (whether a scheduled payment or a mandatory prepayment), interest or fees; or
 releases any material guarantee or security without the consent of the participant (at least to the extent the
 participant would be affected by the amendment, modification, or waiver). A Participating Institution
 voting in connection with a potential waiver of a default by an obligor may have interests different from
 those of the Issuer, and the Participating Institution might not consider the interests of the Issuer in
 connection with its vote. In addition, many participation agreements relating to Participations in loans
 that do provide voting rights to the participant further provide that if the participant does not vote in favor
 of amendments, modifications, or waivers, the Participating Institution may repurchase the Participation
 at par. In the event of the insolvency of the Participating Institution, the Issuer may be treated as a
 general creditor of the Participating Institution with respect to a Participation and may not benefit from
 any set-off between the Participating Institution and the borrower and may not be able to proceed against
 the collateral supporting the loan obligation. As a result, the Issuer is subject to the credit risk of both the
 borrower and the Participating Institution. An investment by the Issuer in a Synthetic Security related to a
 Loan involves many of the same considerations relevant to Participations. See "—Relating to the
 Collateral Obligations—Investing in Loans Involves Particular Risks" and "—Investing in Synthetic
 Securities Involves Particular Risks" below.

         A modification that would increase the commitment of a lender, reduce the interest rate, or
 postpone the final maturity of an obligation under a participation agreement, or release all of the collateral
 for an obligation, generally requires the affirmative vote of the participating lender for a loan in which the
 Issuer owns a Participation, or of the Issuer for a Loan purchased by assignment, for the increase,
 reduction, or postponement to be binding. The exercise of remedies may also be subject to the vote of a
 specified percentage of the lenders under the loan obligation. The Portfolio Manager will have the
 authority to cause the Issuer to consent to certain amendments, waivers, or modifications to the Collateral
 Obligations requested by obligors or the lead agents for participation agreements relating to Participations
 (subject to operating procedures intended to reduce the risk that the Issuer would be deemed to be
 engaged in a trade or business in the United States for United States federal income tax purposes). The
 Portfolio Manager may, subject to the transaction documents, cause the Issuer to extend or defer the
 maturity, adjust the outstanding balance of any Collateral Obligation, reduce or forgive interest or fees,

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 release material collateral or guarantees, or otherwise amend, modify, or waive the terms of any related
 loan agreement, including its payment terms. The Portfolio Manager will make determinations in
 accordance with its servicing standards under the Management Agreement. Any amendment, waiver, or
 modification of a Collateral Obligation could postpone the expected maturity of the Notes or the expected
 redemption date of the Preference Shares, or reduce the likelihood of timely and complete payment of
 interest or principal under the Notes or a full return of an investment in the Preference Shares.

         Performance History of the Portfolio Manager May Not Be Indicative of Future Results

          Any prior investment results of the Portfolio Manager, and the persons associated with it or any
 other entity may not be indicative of the Issuer's future investment results. The nature of, and risks
 associated with, the Issuer's future investments may differ substantially from those investments and
 strategies undertaken historically by the Portfolio Manager, and the persons associated with it or any other
 entity. There can be no assurance that the Issuer's investments will perform as well as the past
 investments of the Portfolio Manager, and the persons associated with it or any other entity. Moreover,
 since the investment criteria that govern investments in the Collateral Obligations do not govern the
 Portfolio Manager's investments and investment strategies generally, investments in the Collateral
 Obligations conducted in accordance with the investment criteria that govern investments in the Collateral
 Obligations, and the results they yield, may differ substantially from other investments undertaken by the
 Portfolio Manager.

          Notwithstanding the inapplicability of the results obtained and expected to be obtained from the
 past investments of the Portfolio Manager, a period of increased volatility in market conditions, including
 interest rate environments, can have an adverse effect on the realized and unrealized returns to investors
 in the past investments of the Portfolio Manager. There can be no assurance that current economic
 conditions and the effects of increased interest rate and corresponding price volatility will not adversely
 impact the investment returns ultimately realized by investors or continued compliance with, among other
 things, applicable coverage requirements described in this Offering Circular.

         Right of Portfolio Manager to Avoid Removal Without Cause May Result in a Shorter Holding
         Period of the Preference Shares Than Expected.

          The Portfolio Manager may be removed without cause upon 90 days' prior written notice by the
 Issuer, at the direction of the Holders of at least 63% of the Aggregate Outstanding Amount of the
 Preference Shares (excluding Preference Shares held by the Portfolio Manager, its Affiliates or any
 account for which the Portfolio Manager or its Affiliates have discretionary voting authority at the time of
 such vote); provided, however, that the Portfolio Manager shall have the right to avoid such removal if, in
 accordance with the terms described in "The Management Agreement," the Removal Buy-Out Purchaser
 purchases not less than all of the Directing Preference Shares and all of the Composite Securities relating
 to the Preference Share Component which constitute a part of the Directing Preference Shares. Upon the
 occurrence of such purchase by the Removal Buy-Out Purchaser of all of the Directing Preference Shares
 and all of the Composite Securities relating to the Preference Share Component which constitute a part of
 the Directing Preference Shares, the Holders of such Directing Preference Shares or Composite
 Securities, as the case may be, will be forced to sell its Preference Shares or Composite Securities, as the
 case may be, to the Portfolio Manager at the Buy-Out Amount, resulting in a shorter holding period than
 expected at the time of investment in the Preference Shares or the Composite Securities, as the case may
 be,. However, the Management Agreement provides that the Buy-Out Amount will be zero for Directing
 Preference Shares that have received a Preference Share Internal Rate of Return equal to or in excess of
 12.0% as of the purchase date. See "The Management Agreement." The ability of a Holder of Preference
 Shares to remove the Portfolio Manager or affect or influence the removal of the Portfolio Manager may
 thus be limited.




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 Relating to the Collateral Obligations

         In General, the Collateral Obligations Are Subject to Various Risks

         The Collateral Obligations are subject to credit, liquidity, and interest rate risks, among others.
 The Eligibility Criteria and the Collateral Quality Tests have been established to address certain assumed
 deficiencies in payment occasioned by defaults with respect to the Collateral Obligations. If any
 deficiencies exceed certain modeled scenarios, however, payments or distributions on the Securities could
 be adversely affected. To the extent that a default occurs with respect to any Collateral Obligation
 securing the Notes and the Issuer (on the advice of the Portfolio Manager) sells or otherwise disposes of
 the Collateral Obligation, it is not likely that the proceeds of the sale or other disposition will be equal to
 the amount of principal and interest owing to the Issuer on of the Collateral Obligation.

         The value of the Collateral Obligations generally will fluctuate with, among other things, the
 financial condition of the obligors on or issuers of the Collateral Obligations and, with respect to
 Synthetic Securities, both the financial condition of the related Synthetic Security counterparties and the
 obligors on or issuers of the Reference Obligations, general economic conditions, the condition of certain
 financial markets, political events, developments or trends in any particular industry, and changes in
 prevailing interest rates.

          The ability of the Issuer to sell Collateral Obligations before their maturity is subject to certain
 restrictions under the Indenture including those described under "Security for the Notes and the
 Composite Securities—Sale of Collateral Obligations; Reinvestment of Principal Proceeds and
 Reinvestment Criteria."

         Investing in Loans Involves Particular Risks

         The Collateral Obligations will consist primarily of Dollar-denominated senior secured and senior
 unsecured loans, which are required by the Indenture to be obligations of corporations, partnerships, or
 other entities organized under the laws of the United States (or any of its states) or of foreign obligors
 meeting specified criteria, or Synthetic Securities the Reference Obligations of which are such loans. See
 "Security for the Notes and the Composite Securities—Collateral Obligations."

          Loans may become non-performing for a variety of reasons. Non-performing loans may require
 substantial workout negotiations or restructuring that may entail, among other things, a substantial
 reduction in the interest rate or a substantial write-down of the principal of a loan. In addition, because of
 the unique and customized nature of a loan agreement and the private syndication of a loan, loans
 typically may not be purchased or sold as easily as publicly traded securities, and historically the trading
 volume in the bank term loan market has been small relative to the corporate bond market. Loans may
 encounter trading delays due to their unique and customized nature, and transfers may require the consent
 of an agent bank or borrower.

         Investments in loans are also subject to interest rate risk and reinvestment risk. Prepayments of
 loans in the Issuer's portfolio are likely to be made during any period of declining interest rates.
 Prepayments would force the Issuer to replace the loans with lower-yielding investments.

          The Issuer may acquire interests in loans either directly (by assignment) or indirectly (by
 Participation or through Synthetic Securities). The Issuer may not originate any loans. The purchaser of
 an assignment of a loan obligation typically succeeds to all the rights and obligations of the selling
 institution and becomes a lender under the loan or credit agreement with respect to the debt obligation. In
 contrast, a Participation acquired by the Issuer in a portion of a loan obligation held by a Participating
 Institution or a security or other debt obligation typically results in a contractual relationship only with the
 Participating Institution, not with the borrower. The Issuer would have the right to receive payments of
 principal, interest, and any fees to which it is entitled under a Participation only from the Participating


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 Institution and only upon receipt by the Participating Institution of those payments from the borrower.
 The Issuer will be subject to restrictions on the amount of Participations that may be acquired for
 inclusion in the Collateral. See "Security for the Notes and the Composite Securities—Eligibility
 Criteria."

          Certain of the loans in the Issuer's portfolio may be unsecured or secured by collateral worth less
 than the outstanding balance of the loan. In addition to the general risks associated with loans described
 above, unsecured loans will not be secured by substantial collateral or any collateral and secured loans
 may be substantially under-secured. Without collateral and with materially inadequate collateral, the
 ability of the holder of the loan to recover amounts due from the borrower may be substantially limited.

         Investing in Below Investment-Grade Obligations Involves Particular Risks, as Does Investing in
         Investment-Grade Obligations

         A substantial amount of the Collateral Obligations will consist of loans, bonds and other
 obligations that are below investment grade, including high-yield loans and securities. Those Collateral
 Obligations will have greater credit and liquidity risk than investment grade obligations. They are also
 often unsecured and may be subordinated to certain other obligations of their issuer. The lower rating of
 those Collateral Obligations reflects a greater possibility that adverse changes in the financial condition of
 an issuer or in general economic conditions or both may impair the ability of their issuer to make
 payments of principal or interest. These Collateral Obligations may be speculative.

         Risks of below investment-grade Collateral Obligations may include (among others):

         (i)      limited liquidity and secondary market support;

         (ii)     in the case of fixed-rate high-yield debt securities, substantial market place volatility
                  resulting from changes in prevailing interest rates;

         (iii)    subordination to the prior claims of senior lenders and creditors;

         (iv)     the operation of mandatory sinking fund or call and redemption provisions during periods
                  of declining interest rates that could cause the Issuer to reinvest premature redemption
                  proceeds in lower-yielding debt obligations;

         (v)      the possibility that earnings of the below investment-grade issuer may be insufficient to
                  meet its debt service; and

         (vi)     the declining creditworthiness and potential for insolvency of a below investment-grade
                  issuer during periods of rising interest rates and economic downturn.

        An economic downturn or an increase in interest rates could severely disrupt the market for
 below investment-grade obligations and could adversely affect the value of outstanding below
 investment-grade obligations and the ability of their issuers to repay principal and interest.

          Issuers that are below investment grade may be highly leveraged and may not have available to
 them more traditional methods of financing. The risk associated with obligations of below investment-
 grade issuers is generally greater than is the case with investment grade issuers. For example, during an
 economic downturn or a sustained period of rising interest rates, below investment-grade issuers may be
 more likely to experience financial stress, especially if they are highly leveraged. During those periods,
 timely service of debt obligations may also be adversely affected by specific issuer developments, or the
 issuer's inability to meet specific projected business forecasts or the unavailability of additional financing.
 The risk of loss from default by the issuer is significantly greater for the holders of below investment-
 grade obligations because those obligations may be unsecured and may be subordinated to obligations


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 owed to other creditors of the issuer. In addition, the Issuer may incur additional expenses to the extent it
 is required to seek recovery upon a default on such an obligation or participate in its restructuring.

         As a result of the limited liquidity of below investment-grade obligations, their prices have at
 times experienced significant and rapid decline when a substantial number of holders decided to sell. In
 addition, the Issuer may have difficulty disposing of certain below investment-grade obligations because
 there may be a thin trading market for them. To the extent that a secondary trading market for below
 investment-grade obligations does exist, it is generally not as liquid as the secondary market for highly
 rated obligations. Reduced secondary market liquidity may have an adverse impact on the Issuer's ability
 to dispose of particular Collateral Obligations in response to a specific economic event, such as a
 deterioration in the creditworthiness of the issuer of the Collateral Obligation.

          In addition, a portion of the Collateral Obligations may consist of Dollar-denominated
 investment-grade debt obligations. Those Collateral Obligations have higher ratings than high-yield debt
 securities, but they are subject to many risks similar to the foregoing, in varying degrees depending on the
 circumstances.

         Investing in Structured Finance Obligations Involves Particular Risks

          A portion of the Collateral Obligations may consist of Structured Finance Obligations and
 Synthetic Securities the Reference Obligations of which are Loans, Structured Finance Obligations or
 High-Yield Bonds. Structured Finance Obligations may present risks similar to those of the other types
 of Collateral Obligations in which the Issuer may invest and, in fact, the risks may be of greater
 significance in the case of Structured Finance Obligations. Moreover, investing in Structured Finance
 Obligations may entail a variety of unique risks. Among other risks, Structured Finance Obligations may
 be subject to prepayment risk, credit risk, liquidity risk, market risk, structural risk, legal risk and interest
 rate risk (which may be exacerbated if the interest rate payable on a Structured Finance Obligation
 changes based on multiples of changes in interest rates or inversely to changes in interest rates). In
 addition, certain Structured Finance Obligations (particularly subordinated collateralized bond
 obligations) may provide that non-payment of interest is not an event of default in certain circumstances
 and the holders of the securities will therefore not have available to them any associated default remedies.
 During the period of non-payment, unpaid interest will generally be capitalized and added to the
 outstanding principal balance of the related security. Furthermore, the performance of a Structured
 Finance Obligation will be affected by a variety of factors, including its priority in the capital structure of
 its issuer the availability of any credit enhancement, the level and timing of payments and recoveries on
 and the characteristics of the underlying receivables, loans, or other assets that are being securitized,
 bankruptcy remoteness of those assets from the originator or transferor, the adequacy of and ability to
 realize on any related collateral, and the skill of the manager of the Structured Finance Obligation in
 managing securitized assets. The price of a Structured Finance Obligation, if required to be sold, may be
 subject to certain market and liquidity risks for securities of its type at the time of sale. In addition,
 Structured Finance Obligations may involve initial and ongoing expenses above the costs associated with
 the related direct investments.

         Investing in Synthetic Securities Involves Particular Risks

         As described above, a portion of the Collateral Obligations may consist of Synthetic Securities
 the Reference Obligations of which are Loans, Structured Finance Obligations, or High-Yield Bonds.
 Investments in these types of assets through the purchase of Synthetic Securities present risks in addition
 to those inherently associated with direct purchases of such assets. With respect to Synthetic Securities,
 the Issuer will usually have a contractual relationship only with the counterparty of the Synthetic Security,
 and not the reference obligor on the Reference Obligation. The Issuer will have no right to enforce
 compliance by the reference obligor with the Reference Obligation nor any rights of set-off against the
 reference obligor, nor have any voting or other consensual rights of ownership with respect to the
 Reference Obligation. The Issuer will not directly benefit from any collateral supporting the Reference

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 Obligation and will not have the benefit of the remedies that would normally be available to a holder of
 the Reference Obligation.

          In addition, in the event of the insolvency of the Synthetic Security Counterparty, the Issuer will
 be treated as a general creditor of the counterparty and will not have any claim of title with respect to the
 Reference Obligation. Consequently, the Issuer will be subject to the credit risk of the counterparty as
 well as that of the reference obligor and concentrations of Synthetic Securities entered into with any one
 counterparty will subject the Securities to an additional degree of risk with respect to defaults by that
 counterparty. One or more affiliates of the Initial Purchaser may act as counterparty with respect to all or
 a portion of the Synthetic Securities, which relationship may create certain conflicts of interest. See "—
 Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts of Interest
 Involving the Initial Purchaser" below. In addition, Synthetic Securities may involve initial and ongoing
 expenses above the costs associated with the related direct investments. The Issuer will be subject to
 restrictions on the amount of Synthetic Securities it may own at any one time.

         Many of the Collateral Obligations Will Be Illiquid

          Many of the Collateral Obligations purchased by the Issuer will have no, or only a limited,
 trading market. The Issuer's investment in illiquid Collateral Obligations may restrict its ability to
 dispose of investments in a timely fashion and for a fair price, as well as its ability to take advantage of
 market opportunities, although the Issuer is generally prohibited by the Indenture from selling Collateral
 Obligations except under certain limited circumstances described under "Security for the Notes and the
 Composite Securities—Sale of Collateral Obligations; Reinvestment of Principal Proceeds and
 Reinvestment Criteria." Illiquid Collateral Obligations may trade at a discount from comparable, more
 liquid investments. In addition, the Issuer may invest in privately placed Collateral Obligations that may
 or may not be freely transferable under the laws of the applicable jurisdiction or due to contractual
 restrictions on resale, and even if those privately placed Collateral Obligations are transferable, the prices
 realized from their sale could be less than those originally paid by the Issuer or less than what may be
 considered their fair value.

         Insolvency Considerations With Respect to Issuers of Collateral Obligations May Affect the
         Issuer's Rights

          Various laws enacted for the protection of creditors may apply to the Collateral Obligations. If,
 in a lawsuit brought by a creditor or representative of creditors of an obligor under a Collateral Obligation
 (such as a trustee in bankruptcy), a court were to find that the obligor did not receive fair consideration or
 reasonably equivalent value for incurring the indebtedness evidenced by the Collateral Obligation and,
 after giving effect to the indebtedness and the use of the proceeds thereof, the obligor (i) was insolvent,
 (ii) was engaged in a business for which the remaining assets of the obligor constituted unreasonably
 small capital or (iii) intended to incur, or believed that it would incur, debts beyond its ability to pay them
 as they mature, the court could determine to invalidate, in whole or in part, the indebtedness as a
 fraudulent conveyance, to subordinate the indebtedness to existing or future creditors of the obligor, or to
 recover amounts previously paid by the obligor in satisfaction of the indebtedness. There can be no
 assurance as to what standard a court would apply to determine whether the obligor was "insolvent" or
 that, regardless of the method of valuation, a court would not determine that the obligor was "insolvent,"
 in each case, after giving effect to the incurrence of the Collateral Obligation and the use of its proceeds.
 In addition, in the event of the insolvency of an obligor under a Collateral Obligation, payments made on
 the Collateral Obligation may be subject to avoidance as a "preference" if made within a certain period
 before insolvency (which may be as long as approximately one year).

         In general, if payments on a Collateral Obligation are avoidable, whether as fraudulent
 conveyances or preferences, the payments can be recaptured either from the initial recipient (such as the
 Issuer) or from subsequent transferees of the payments (such as the Holders of the Securities). To the
 extent that any payments are recaptured from the Issuer, the resulting reduction in payments on the

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 Securities will be borne by the Holders of the applicable Class of Securities (except in the case of the
 Insured Notes, to the extent not paid from the Policy). A court in a bankruptcy or insolvency proceeding
 would be able to direct the recapture of any payment from a Holder of the Securities to the extent that the
 court has jurisdiction over the Holder or its assets. Since there is no judicial precedent relating to
 structured securities such as the Securities, there can be no assurance that a Holder of Securities will be
 able to avoid recapture on this basis.

          The preceding discussion is based on principles of United States federal and state laws. Insofar
 as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
 certain foreign jurisdictions may provide for avoidance remedies under factual circumstances similar to,
 or broader or narrower than, those described above, with consequences that may or may not be analogous
 to those described above under United States federal and state laws.

         International Investing Involves Particular Risks

          A portion of the Collateral Obligations may consist of obligations of obligors Domiciled outside
 the United States. Investing outside the United States may involve greater risks than investing in the
 United States. These risks may include: less publicly available information; varying levels of
 governmental regulation and supervision; and the difficulty of enforcing legal rights in a foreign
 jurisdiction and uncertainties as to the status, interpretation and application of laws. Moreover, foreign
 companies may be subject to accounting, auditing, and financial reporting standards, practices, and
 requirements different from those applicable to U.S. companies.

          There generally is less governmental supervision and regulation of exchanges, brokers and issuers
 in foreign countries than there is in the United States. For example, there may be no comparable
 provisions under certain foreign laws with respect to insider trading and similar investor protection
 securities laws that apply with respect to securities transactions consummated in the United States.

          Foreign markets also have different clearance and settlement procedures, and in certain markets
 there have been times when settlements have failed to keep pace with the volume of securities
 transactions, making it difficult to conduct transactions. Delays in settlement could result in periods when
 assets of the Issuer are uninvested and no return is earned on them. The inability of the Issuer to make
 intended purchases of Collateral Obligations due to settlement problems or the risk of intermediary
 counterparty failures could cause the Issuer to miss investment opportunities. The inability to dispose of
 a Collateral Obligation due to settlement problems could result either in losses to the Issuer due to
 subsequent declines in the value of the Collateral Obligation or, if the Issuer has entered into a contract to
 sell the security, could result in possible liability to the purchaser. Transaction costs of buying and selling
 foreign securities, including brokerage, tax, and custody costs, also are generally higher than those
 involved in domestic transactions. Furthermore, foreign financial markets, while generally growing in
 volume, have, for the most part, substantially less volume than U.S. markets, and securities of many
 foreign companies are less liquid and their prices more volatile than securities of comparable domestic
 companies.

          In certain foreign countries there is the possibility of expropriation, nationalization, or
 confiscatory taxation; limitations on the convertibility of currency or the removal of securities, property,
 or other assets of the Issuer; political, economic, or social instability; or adverse diplomatic developments,
 each of which could have an adverse effect on the Issuer's investments in the foreign countries (which
 may make it more difficult to pay Dollar-denominated obligations such as the Collateral Obligations).
 The economies of individual non-U.S. countries may also differ favorably or unfavorably from the U.S.
 economy in such respects as growth of gross domestic product, rate of inflation, volatility of currency
 exchange rates, depreciation, capital reinvestment, resource self-sufficiency and balance of payments
 position.




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         Lender Liability Considerations and Equitable Subordination Can Affect the Issuer's Rights with
         Respect to Collateral Obligations

          In recent years, a number of judicial decisions in the United States have upheld the right of
 borrowers to sue lenders and bondholders on the basis of various evolving legal theories (collectively
 termed "lender liability"). Generally, lender liability is founded on the premise that a lender has violated
 a duty (whether implied or contractual) of good faith and fair dealing owed to the debtor or has assumed a
 degree of control over the debtor resulting in the creation of a fiduciary duty owed to the debtor or its
 other creditors or shareholders. Because of the nature of the Collateral Obligations, the Issuer may be
 subject to allegations of lender liability. In addition, under common law principles that in some cases
 form the basis for lender liability claims, a court may elect to subordinate the claim of the offending
 lender to the claims of the disadvantaged creditors, a remedy called "equitable subordination," if a lender:
 (i) intentionally takes an action that results in the undercapitalization of a borrower to the detriment of
 other creditors of the borrower; (ii) engages in other inequitable conduct to the detriment of the other
 creditors; (iii) engages in fraud with respect to, or makes misrepresentations to, the other creditors; or (iv)
 uses its influence as a lender to dominate or control a borrower to the detriment of other creditors of the
 borrower.

          Because the Collateral Obligations are primarily Loans, the Issuer may be subject to claims from
 creditors of an obligor that Collateral Obligations issued by the obligor that are held by the Issuer should
 be equitably subordinated. However, the Portfolio Manager does not intend to engage in conduct that
 would form the basis for a successful cause of action based on lender liability or the equitable
 subordination doctrine. Nonetheless, no assurances can be given that actions taken in good faith by the
 Portfolio Manager will not result in losses to issuers of Collateral Obligations, and that the Issuer will not
 be liable for any such losses. Furthermore, the Issuer and the Portfolio Manager may be unable to control
 the conduct of lenders under a loan syndication agreement requiring less than a unanimous vote, yet the
 Issuer may be subject to lender liability or equitable subordination for such conduct.

          The preceding discussion is based on principles of United States federal and state laws. Insofar
 as Collateral Obligations that are obligations of non-United States obligors are concerned, the laws of
 certain foreign jurisdictions may impose liability on lenders or bondholders under factual circumstances
 similar to, or broader or narrower than, those described above, with consequences that may or may not be
 analogous to those described above under United States federal and state laws.

         Securities May Be Affected by Interest Rate Risks, Including Mismatches Between the Notes and
         the Collateral Obligations

          The Notes (other than the Fixed Rate Notes) bear interest at a rate based on LIBOR as determined
 on the second Business Day prior to the first day of the relevant Interest Period and the Fixed Rate Notes
 bear interest at a fixed rate. The Collateral Obligations will consist primarily of obligations that bear
 interest at floating rates, which floating rates may be different than the floating rates on the Floating Rate
 Notes. Accordingly, the Notes are subject to interest rate risk to the extent that there is a fixed/floating
 interest rate mismatch between the rates at which interest accrues on the Notes and the rates at which
 interest accrues on the Collateral. In addition, there may be a timing mismatch between the Floating Rate
 Notes and the Floating Rate Obligations as the interest on the Floating Rate Obligations may adjust more
 or less frequently, on different dates and based on different indices than the interest rates on the Floating
 Rate Notes. Furthermore, any payments of principal of or interest on Collateral received during a Due
 Period will (except to a limited extent specified in the Indenture) be reinvested in Eligible Investments
 maturing not later than the Business Day immediately preceding the next Payment Date. There is no
 requirement that Eligible Investments bear interest at LIBOR or a similar rate, and the interest rates
 available for Eligible Investments are inherently uncertain. As a result of these mismatches, an increase
 or decrease in LIBOR for the relevant maturity could adversely affect the ability of the Issuer to make
 interest payments on the Notes (including due to a rise or a decline in the value of previously issued
 Collateral Obligations or other Collateral that bear interest at a fixed rate as LIBOR decreases or

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 increases, as applicable) and to make distributions or final distributions on the Preference Shares. To
 mitigate a portion of the interest rate mismatch, the Issuer may enter into Hedge Agreements that are (in
 the case of Hedge Agreements entered into after the Closing Date) subject to a Rating Confirmation.
 However, there can be no assurance that the Collateral Obligations and Eligible Investments, together
 with the Hedge Agreements, will in all circumstances generate sufficient Interest Proceeds to make timely
 payments of interest on the Notes. Moreover, the benefits of any Hedge Agreements may not be achieved
 in the event of the early termination of the Hedge Agreements, including termination upon the failure of
 the related Hedge Counterparty to perform its obligations under the Hedge Agreement. See "Security for
 the Notes and the Composite Securities—Hedge Agreements."

         The Portfolio Manager may direct the Issuer to reduce the notional amount of, or otherwise adjust
 the terms of, any Hedge Agreement outstanding at any time, subject, in the case of any reduction or
 adjustment made on or after the Ramp-Up Completion Date, to obtaining a Rating Confirmation.

         Changes in Tax Law Could Result in the Imposition of Withholding Taxes with Respect to
         Payments on the Collateral Obligations, and the Obligors on the Collateral Obligations Will Not
         Gross-Up Payments to the Issuers

          A Collateral Obligation will be eligible for purchase by the Issuer if, at the time it is purchased,
 either no payments of principal, premium, if any, or interest thereon are subject to withholding taxes
 imposed by any jurisdiction or the obligor is required to make "gross-up" payments that cover the full
 amount of any such withholding taxes on an after-tax basis. In the case of Collateral Obligations issued
 by U.S. obligors after July 18, 1984, payments thereon generally are exempt under current United States
 federal income tax law from the imposition of United States federal withholding tax. See "Income Tax
 Considerations—Tax Treatment of the Issuer—United States Withholding Taxes." However, there can
 be no assurance that, as a result of any change in any applicable law, treaty, rule or regulation or
 interpretation thereof, the payments on the Collateral Obligations would not in the future become subject
 to withholding taxes imposed by the United States or another jurisdiction. In that event, if the obligors of
 such Collateral Obligations were not then required to make "gross-up" payments that cover the full
 amount of any such withholding taxes, the amounts available to make payments on the Securities would
 accordingly be reduced. There can be no assurance that remaining payments on the Collateral would be
 sufficient to make timely payments of interest on and payment of principal at the Stated Maturity of each
 Class of the Notes and payment of dividends or other distributions to the Holders of the Preference
 Shares.

          Upon the occurrence of a Tax Event, the Notes shall be redeemable at the applicable Redemption
 Price, in whole, but not in part, by the Issuer at the written direction of the Holders of at least 63% of the
 Aggregate Outstanding Amount of the Preference Shares, as described under "Description of the
 Securities—Optional Redemption."

         The Issuer Has the Right to Engage in Securities Lending, which Involves Counterparty Risks and
         Other Risks

         The Collateral Obligations may be loaned for a term of 90 days or less to banks, broker-dealers,
 and other financial institutions (other than insurance companies) that have, or are guaranteed by entities
 that have, long-term and short-term senior unsecured debt ratings or a guarantor with those ratings at the
 time of the loan, of at least "A1" (and not "A1" but on credit watch with negative implications) and "P-1"
 (and not on credit watch for possible downgrade) from Moody's and a long-term senior unsecured debt
 rating of at least "A" from S&P. See "Security for the Notes and the Composite Securities—Securities
 Lending." The loans must be secured by cash or direct registered debt obligations of the United States of
 America, in an amount at least equal to 102% of the current Ask-Side Market Value of the loaned
 Collateral Obligations, determined on a daily basis. However, if the borrower of a loaned Collateral
 Obligation defaults on its obligation to return the loaned Collateral Obligation because of insolvency or
 otherwise, the Issuer could experience delays and costs in gaining access to the collateral posted by the


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 borrower (and in extreme circumstances could be restricted from selling the collateral). If the borrower
 defaults, the Issuer could suffer a loss to the extent that the realized value of the cash or securities
 securing the obligation of the borrower to return a loaned Collateral Obligation (less expenses) is less than
 the amount required to purchase the Collateral Obligation in the open market. This shortfall could be due
 to, among other factors, discrepancies between the mark-to-market and actual transaction prices for the

 loaned Collateral Obligations arising from limited liquidity or availability of the loaned Collateral
 Obligations and, in extreme circumstances, the loaned Collateral Obligations being unavailable at any
 price.

          The Rating Agencies may downgrade any of the Notes or Composite Securities if a borrower of a
 Collateral Obligation or, if applicable, the entity guaranteeing the performance of the borrower has been
 downgraded by one of the Rating Agencies such that the Issuer is not in compliance with the Securities
 Lending Counterparty rating requirements. The Securities Lending Counterparties may be Affiliates of
 the Initial Purchaser or Affiliates of the Portfolio Manager, which may create certain conflicts of interest.
 See "—Relating to Certain Conflicts of Interest—The Issuer Will Be Subject to Various Conflicts of
 Interest Involving the Portfolio Manager" and—The Issuer Will Be Subject to Various Conflicts of
 Interest Involving the Initial Purchaser" below.

         There Is Limited Disclosure About the Collateral Obligations in this Offering Circular

          A substantial portion of the initial portfolio of Collateral Obligations to be acquired before   the
 Ramp-Up Completion Date has been identified by the Portfolio Manager but, for reasons                      of
 confidentiality, is not identified in this Offering Circular. Investors that regard the identity of       the
 portfolio in whole or in part necessary or desirable for their investment decision need to consider       the
 availability of that information other than through this Offering Circular.

         The Issuer and the Portfolio Manager will not be required to provide the Holders of the Securities
 or the Trustee with financial or other information (which may include material non-public information) it
 receives pursuant to the Collateral Obligations and related documents. The Portfolio Manager also will
 not disclose to any of these parties the contents of any notice it receives pursuant to the Collateral
 Obligations or related documents. In particular, the Portfolio Manager will not have any obligation to
 keep any of these parties informed as to matters arising in relation to any Collateral Obligations, except
 with respect to: (i) the receipt or non-receipt, on an aggregate basis, of principal, interest, or other
 amounts of collections or recoveries; (ii) the cancellation of any Collateral Obligations; (iii) default
 amounts in respect of the Collateral Obligations; and (iv) certain other information required to be reported
 under the Management Agreement and the Indenture.

          The Holders of the Securities and the Trustee will not have any right to inspect any records
 relating to the Collateral Obligations, and the Portfolio Manager will not be obligated to disclose any
 further information or evidence regarding the existence or terms of, or the identity of any obligor on, any
 Collateral Obligations, unless specifically required by the Management Agreement. Furthermore, the
 Portfolio Manager and the Trustee may demand that any persons requesting that information execute
 confidentiality agreements before being provided with the information.

         A Substantial Amount of Collateral Obligations Was Acquired Before the Closing Date, and the
         Terms of the Acquisition May Adversely Affect the Issuer

        In anticipation of the issuance of the Securities, the Issuer, the Portfolio Manager, and JPMorgan
 Chase Bank, National Association (in that capacity, the "Warehouse Provider") entered into an
 agreement (the "Warehouse Agreement") pursuant to which:




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         (i)      the Portfolio Manager has agreed to manage, on behalf of the Issuer, the selection of
                  certain Loans and other obligations to be acquired by the Issuer before the Closing Date
                  (the "Warehoused Loans");

         (ii)     the Warehouse Provider has agreed to acquire a 100% participation in each Warehoused
                  Loan concurrently with its acquisition by the Issuer, for a purchase price equal to the
                  purchase price paid by the Issuer for the related Warehoused Loan; and

         (iii)    the Portfolio Manager and the Warehouse Provider have agreed to share the economic
                  return on, and assume certain risks (including risks associated with defaults affecting the
                  Warehoused Loans) in respect of, the Warehoused Loans for the period prior to the
                  Closing Date in the specified percentages set forth in the Warehouse Agreement.

          On the Closing Date, the Issuer and the Warehouse Provider will terminate the participations in
 the Warehoused Loans (with any Warehoused Loans that would not satisfy the "Warehousing Eligibility
 Criteria" applicable at the Closing Date being sold by the Issuer). Generally, the price to be paid by the
 Issuer to the Warehouse Provider in connection with the termination of the participation in a Warehoused
 Loan will reflect the price originally paid by the Issuer to acquire the Warehoused Loan (although that
 price may not reflect the market value of the Warehoused Loan on the Closing Date), plus the amount of
 extensions of credit in respect of certain Warehoused Loans, minus the aggregate amount of payments of
 principal received by the Warehouse Provider in respect of such Warehoused Loans (excluding the
 amount of any such payment that was required to be repaid or returned by the Warehouse Provider by
 claw-back or otherwise), plus all accrued and unpaid interest and fees on the Warehoused Loan.

 Relating to Certain Conflicts of Interest

         In General, the Transaction Will Involve Various Potential and Actual Conflicts of Interest

         Various potential and actual conflicts of interest may arise from the overall advisory, investment,
 and other activities of the Portfolio Manager and its Affiliates and from the conduct by the Initial
 Purchaser and its respective Affiliates of other transactions with the Issuer, including acting as
 counterparty with respect to Hedge Agreements, Securities Lending Agreements, and Synthetic
 Securities. The following briefly summarizes some of these conflicts, but is not intended to be an
 exhaustive list of all such conflicts.

         The Issuer Will Be Subject to Various Conflicts of Interest Involving the Portfolio Manager

          Various potential and actual conflicts of interest may arise for the Portfolio Manager with respect
 to its obligations to the Issuer from the overall investment activities of the Portfolio Manager and its
 Affiliates, for the accounts of its other clients. For example, the Portfolio Manager, its Affiliates and their
 respective clients may invest in loans, securities, and other obligations that would be appropriate for
 inclusion in the Issuer's portfolio of Collateral Obligations, as well as in loans, securities, and other
 obligations that are senior to, or have interests different from or adverse to, the loans and or other
 investments that are pledged to secure the Notes. Furthermore, Affiliates of the Portfolio Manager may
 serve as general partners or managers of special-purpose entities organized to issue other collateralized
 loan obligations ("CLOs") secured primarily by corporate loans and collateralized debt obligations
 ("CDOs") secured by corporate debt obligations. The Portfolio Manager and its Affiliates may also have
 ongoing relationships with, render services to, or engage in transactions with, companies whose loan
 obligations or securities are pledged to secure the Notes and may now or in the future own (as portfolio
 investments or otherwise) loan obligations or equity or debt securities issued by issuers of or obligors on,
 Collateral Obligations or other Collateral.

         The Portfolio Manager and its Affiliates may possess information relating to issuers of Collateral
 Obligations or other Collateral that (i) may constrain the Issuer's investments as a consequence of the


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 Portfolio Manager's inability to use such information for advisory purposes or otherwise to take actions
 that would be in the best of interests of the Issuer or (ii) is not known to the employees of the Portfolio
 Manager responsible for monitoring the Collateral and performing the other obligations of the Portfolio
 Manager under the Management Agreement. The Portfolio Manager, its Affiliates and their respective
 clients may at certain times be simultaneously seeking to purchase or dispose of investments for the
 respective accounts of the Issuer, any similar entity for which it serves as manager or advisor, and for its
 clients or Affiliates.

         Neither the Portfolio Manager nor any of its Affiliates has any affirmative obligation to offer any
 investments to the Issuer or to inform the Issuer of any investments before offering any investments to
 other funds or accounts that the Portfolio Manager or any of its Affiliates manage or advise. Furthermore,
 the Portfolio Manager may be bound by affirmative obligations in the future, whereby the Portfolio
 Manager is obligated to offer certain investments to funds or accounts that it manages or advises before or
 without the Portfolio Manager offering those investments to the Issuer.

          The Portfolio Manager will endeavor to resolve conflicts with respect to investment opportunities
 in a manner that it deems equitable to the extent possible under the prevailing facts and circumstances.
 Further, the Portfolio Manager will be prohibited under the Management Agreement from directing the
 acquisition of Collateral Obligations from, or the disposition of Collateral Obligations to, its Affiliates or
 any other account managed by the Portfolio Manager except in a transaction conducted on an arm's-length
 basis for fair market value and if the Portfolio Manager has complied with its policies and procedures
 with respect to the acquisition or disposition and the acquisition or disposition otherwise complies with
 the requirements of the United States Investment Advisers Act of 1940.

         The Portfolio Manager currently serves as the portfolio manager for a number of special purpose
 vehicles that have issued securities secured by or referencing collateral consisting of assets similar to the
 Collateral Obligations, which may create conflicts in allocating its time and services among the Issuer and
 the Portfolio Manager's other accounts.

          Upon the removal or resignation of the Portfolio Manager, the Issuer, at the written direction of a
 Majority of the Preference Shares, may appoint a replacement Portfolio Manager if a Majority of the
 Aggregate Outstanding Amount of the Notes (voting as a single Class (excluding any Notes held by the
 retiring Portfolio Manager or any of its Affiliates)) each Class of the Notes do not object to the
 replacement Portfolio Manager. See "The Management Agreement." Securities held by the Portfolio
 Manager or any of its Affiliates will have no voting rights with respect to any vote in connection with
 removal of the Portfolio Manager for "cause" and will be deemed not to be outstanding in connection
 with any vote to remove the Portfolio Manager for "cause." Securities held by the Portfolio Manager or
 any of its Affiliates will have voting rights with respect to all other matters as to which the Holders of the
 Securities are entitled to vote, including any vote to direct an Optional Redemption and any vote to
 appoint a replacement Portfolio Manager in accordance with the Management Agreement. See "The
 Management Agreement" and "Description of the Securities—Optional Redemption." The Portfolio
 Manager and its Affiliates may own equity or other securities of issuers of or obligors on Collateral
 Obligations or other Collateral and may have provided and may provide in the future, advisory and other
 services to issuers of Collateral.

          The Issuer expects to acquire substantially all of the Collateral Obligations to be acquired by the
 Closing Date during an accumulation period before the Closing Date (the "Accumulation Period") and
 will finance those purchases with financing provided by the Warehouse Provider, which is an affiliate of
 the Initial Purchaser. The Issuer will be required to repurchase the participations providing that financing
 by the Closing Date with the proceeds of the issuance of the Securities. The Collateral Obligations
 purchased before the Closing Date will be chosen by the Portfolio Manager on behalf of the Issuer,
 subject to certain rights of the Warehouse Provider. Any interest accrued on Collateral Obligations
 purchased by the Issuer before the Closing Date will be paid to the Warehouse Provider and the Portfolio
 Manager in the specified percentages provided in the Warehouse Agreement. As a result, investors in the

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 Securities will be assuming the risk of market value and credit quality changes in the Collateral
 Obligations from the date the Collateral Obligations are acquired during the Accumulation Period but will
 not receive the benefit of interest earned on the Collateral Obligations during that period.

          On the Closing Date, the Portfolio Manager or its Affiliates are expected to purchase Preference
 Shares having an aggregate Face Amount equal to U.S.$13,200,000. The Portfolio Manager will be
 entitled to receive the Senior Management Fee, the Subordinated Management Fee and the Incentive
 Management Fee, as further described herein. The structure of such fees may cause the Portfolio
 Manager to direct the Issuer to make more speculative investments in Collateral Obligations than it would
 otherwise make in the absence of such performance based compensation. The Portfolio Manager expects
 to borrow funds from a JPMorgan Company for a portion of the purchase price of the Preference Shares
 acquired by it and will pledge all such Preference Shares (including rights to the distributions thereon) as
 well as the Portfolio Manager's right to the Senior Management Fee and Subordinated Management Fee
 as collateral for such loan. The reliance by the Portfolio Manager on distributions on the Preference
 Shares for repayment of such loan from such JPMorgan Company could create a conflict of interest with
 respect to the performance of the Portfolio Manager's obligations. In addition, as agreed in the Portfolio
 Management Agreement, Highland Capital and its Affiliates will, so long as Highland Capital or any of
 its Affiliates is acting as Portfolio Manager, maintain, in the aggregate, ownership of the aggregate Face
 Amount of Preference Shares described in "Summary of Terms—The Portfolio Manager." See "The
 Portfolio Management Agreement."

        In addition, the Portfolio Manager and its Affiliates may act as the Securities Lending
 Counterparty under any Securities Lending Agreement entered into by the Issuer.

         The Issuer Will Be Subject to Various Conflicts of Interest Involving the Initial Purchaser

         Various potential and actual conflicts of interest may arise as a result of the investment banking,
 commercial banking, asset management, financing and financial advisory services and products provided
 by J.P. Morgan Chase & Co. and its Affiliates (including JPMorgan, JPMCB and their Affiliates, (each, a
 "JPMorgan Company" and together the "JPMorgan Companies")), to the Issuer, the Portfolio
 Manager, the issuers of the Collateral Obligations and others, as well as in connection with the
 investment, trading and brokerage activities of the JPMorgan Companies. The following briefly
 summarizes some of these conflicts, but is not intended to be an exhaustive list of all such conflicts.

          JPMorgan will serve as Initial Purchaser for the Notes, the Composite Securities and a portion of
 the Preference Shares and will be paid fees and commissions for such service by the Issuer from the
 proceeds of the issuance of the Securities. One or more of the JPMorgan Companies may from time to
 time hold Securities for investment, trading or other purposes. JPMCB will serve as Trustee, Collateral
 Administrator, securities intermediary and Preference Shares Paying Agent and a JPMorgan Company
 will serve as the Irish listing and paying agent and both will be entitled to fees and expenses senior in
 payment on each Payment Date to payments on the Notes. The Issuer's purchase of Collateral
 Obligations that are loans prior to the Closing Date was financed through the sale of participation interests
 therein to JPMCB pursuant to the Warehousing Agreement. A portion of the proceeds of the offering of
 the Securities will be paid to JPMCB to repurchase such participation interests. The Issuer may have
 purchased and sold prior to the Closing Date, and may purchase or sell after the Closing Date, Collateral
 Obligations from, to or through, and purchase Synthetic Securities and enter into Hedge Agreements with,
 one or more of the JPMorgan Companies. Certain Eligible Investments may be issued, managed or
 underwritten by one or more of the JPMorgan Companies. One or more of the JPMorgan Companies
 may provide investment banking, commercial banking, asset management, financing and financial
 advisory services and products to the Portfolio Manager, its Affiliates, and funds managed by the
 Portfolio Manager and its Affiliates, and purchase, hold and sell, both for their respective accounts or for
 the account of their respective clients, on a principal or agency basis, loans, securities, and other
 obligations and financial instruments of the Portfolio Manager, its Affiliates, and funds managed by the
 Portfolio Manager and its Affiliates. As a result of such transactions or arrangements, one or more of the

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 JPMorgan Companies may have interests adverse to those of the Issuer and Holders of the Notes,
 Composite Securities and Preference Shares.

         One or more of the JPMorgan Companies may:

         •       have placed or underwritten, or acted as a financial arranger, structuring agent or advisor
                 in connection with the original issuance of, or may act as a broker or dealer with respect
                 to, certain of the Collateral Obligations;

         •       act as trustee, paying agent and in other capacities in connection with certain of the
                 Collateral Obligations or other classes of securities issued by an issuer of a Collateral
                 Obligation or an Affiliate thereof;

         •       be a counterparty to issuers of certain of the Collateral Obligations under swap or other
                 derivative agreements;

         •       lend to certain of the issuers of Collateral Obligations or their respective Affiliates or
                 receive guarantees from the issuers of those Collateral Obligations or their respective
                 Affiliates;

         •       provide other investment banking, asset management, commercial banking, financing or
                 financial advisory services to the issuers of Collateral Obligations or their respective
                 Affiliates; or

         •       have an equity interest, which may be a substantial equity interest, in certain issuers of
                 the Collateral Obligations or their respective Affiliates.

          When acting as a trustee, paying agent or in other service capacities with respect to a Collateral
 Obligation, the JPMorgan Companies will be entitled to fees and expenses senior in priority to payments
 to such Collateral Obligation. When acting as a trustee for other classes of securities issued by the issuer
 of a Collateral Obligation or an Affiliate thereof, the JPMorgan Companies will owe fiduciary duties to
 the holders of such other classes of securities, which classes of securities may have differing interests
 from the holders of the class of securities of which the Collateral Obligation is a part, and may take
 actions that are adverse to the holders (including the Issuer) of the class of securities of which the
 Collateral Obligation is a part. As a counterparty under swaps and other derivative agreements, the
 JPMorgan Companies might take actions adverse to the interests of the Issuer, including, but not limited
 to, demanding collateralization of its exposure under such agreements (if provided for thereunder) or
 terminating such swaps or agreements in accordance with the terms thereof. In making and administering
 loans and other obligations, the JPMorgan Companies might take actions including, but not limited to,
 restructuring a loan, foreclosing on or exercising other remedies with respect to a loan, requiring
 additional collateral or other credit enhancement, charging significant fees and interest, placing the
 obligor in bankruptcy or demanding payment on a loan guarantee or under other credit enhancement. The
 Issuer's purchase, holding and sale of Collateral Obligations may enhance the profitability or value of
 investments made by the JPMorgan Companies in the issuers thereof. As a result of all such transactions
 or arrangements between the JPMorgan Companies and issuers of Collateral Obligations or their
 respective Affiliates, J.P. Morgan Chase & Co. may have interests that are contrary to the interests of the
 Issuer and the Holders of the Notes and Preference Shares.

         As part of their regular business, the JPMorgan Companies may also provide investment banking,
 commercial banking, asset management, financing and financial advisory services and products to, and
 purchase, hold and sell, both for their respective accounts or for the account of their respective clients, on
 a principal or agency basis, loans, securities, and other obligations and financial instruments and engage
 in private equity investment activities. The JPMorgan Companies will not be restricted in their
 performance of any such services or in the types of debt or equity investments, which they may make. In


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 conducting the foregoing activities, the JPMorgan Companies will be acting for their own account or the
 account of their customers and will have no obligation to act in the interest of the Issuer.

         The JPMorgan Companies may, by virtue of the relationships described above or otherwise, at the
 date hereof or at any time hereafter, be in possession of information regarding certain of the issuers of
 Collateral Obligations and their respective Affiliates, that is or may be material in the context of the
 Securities and that is or may not be known to the general public. None of the JPMorgan Companies has
 any obligation, and the offering of the Securities will not create any obligation on their part, to disclose to
 any purchaser of the Securities any such relationship or information, whether or not confidential.

                                 DESCRIPTION OF THE SECURITIES
          The Notes and the Composite Securities will be issued pursuant to the Indenture. The terms of
 the Preference Shares are contained in the Issuer Charter and in certain resolutions adopted by the Issuer's
 Board of Directors on or before the Closing Date authorizing and approving the issuance of the Securities,
 as reflected in the minutes thereof (the "Resolutions" and, together with the Issuer Charter and the
 Preference Shares Paying Agency Agreement, the "Preference Share Documents"). The following
 summary describes certain provisions of the Notes, the Composite Securities, the Preference Shares, the
 Indenture and the Preference Share Documents. The summary does not purport to be complete and is
 subject to, and qualified in its entirety by reference to, the provisions of the Indenture and the Preference
 Share Documents. Copies of the Indenture may be obtained by prospective purchasers upon request in
 writing to the Trustee at the Corporate Trust Office, 600 Travis Street, 50th Floor, Houston, Texas 77002,
 Attention: Institutional Trust Services—Southfork CLO Ltd., and will be available at the office of JP
 Morgan Bank (Ireland) PLC (in such capacity, the "Irish Paying and Listing Agent") in the City of
 Dublin. Copies of the Preference Share Documents may be obtained upon request in writing to the
 Administrator at P.O. Box 1093 GT, Queensgate House, South Church Street, George Town, Grand
 Cayman, Cayman Islands, Attention: Southfork CLO Ltd.

 Status and Security

          The Notes are non-recourse debt obligations of the Co-Issuers. The Composite Securities are
 limited recourse obligations of the Issuer, secured as described in this Offering Circular. Each Note
 within a Class will rank pari passu with all other Notes of that Class (with the Senior Class A Notes, the
 Class A-2 Notes and the Class A-3 Notes being treated as separate Classes). Under the Indenture, the
 Issuer will grant to the Trustee a first-priority security interest in the Collateral to secure the Issuer's
 obligations under the Indenture, the Notes, the Composite Securities, the Insurance Documents, the
 Hedge Agreements and the Management Agreement (collectively, the "Secured Obligations"). The
 Notes are payable solely from amounts received in respect of the Collateral pledged by the Issuer to
 secure the Notes which includes, solely for the benefit of the Class A-1g Notes, amounts available under
 the Policy with respect to Insured Amounts. The Composite Securities are payable solely from amounts
 received in respect of the Collateral and the Class 1 Collateral, pledged by the Issuer to secure the Notes
 and the Composite Securities. If the amounts received in respect of the Collateral and the Class 1
 Collateral (net of certain expenses) are insufficient to make payments on the Secured Obligations and,
 solely in the case of the Class 1 Collateral, the Composite Securities, in accordance with the Priority of
 Payments, no other assets will be available for payment of the deficiency and, following liquidation of all
 the Collateral and the Class 1 Collateral, the obligations of the Issuer or the Co-Issuer, as the case may be,
 to pay the deficiency will be extinguished.

         The Preference Shares are entitled only to proceeds of the Collateral to the extent that any Sales
 Proceeds are remaining on any Payment Date after payment of all interest and principal payable on each
 Class of Notes on that Payment Date and the satisfaction of certain other amounts payable in accordance
 with the Priority of Payments (provided that payments in respect of the Preference Share Components
 will be made on the Composite Securities Payment Date).



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          In furtherance of the priorities of payments among the Classes of Notes and the Preference
 Shares, the Indenture contains express subordination provisions pursuant to which the Holders of each
 Class of Notes that is a Junior Class as described below agree for the benefit of the Holders of the Notes
 of each Priority Class and (in the case of the Class A-1g Notes) the Insurer with respect to the Junior
 Class that the Junior Class shall be subordinate and junior to the Notes of each Priority Class to the extent
 and in the manner provided in the Indenture.

          If any Event of Default has not been cured or waived and acceleration occurs under and in
 accordance with the Indenture, each Priority Class of Notes and all amounts owed by the Issuer to the
 Insurer under the Indenture or the Insurance Agreement shall be paid in full in cash (without giving effect
 to payments on the Policy) or, to the extent a Majority of the Class consents, other than in cash, before
 any further payment or distribution is made on account of any Junior Class of Notes with respect to the
 Priority Class. The Holders of each Junior Class of Notes agree, for the benefit of the Holders of the
 Notes of each Priority Class and (in the case of the Class A-1g Notes) the Insurer in respect of the Junior
 Class, not to cause the filing of a petition in bankruptcy against the Issuer or the Co-Issuer for failure to
 pay to them amounts due to the Junior Class, of the Notes or each Class of Notes, as the case may be, or
 under the Indenture until the payment in full of the Priority Classes or all the Classes, as the case may be,
 and all amounts owed by the Issuer to the Insurer under the Indenture or the Insurance Agreement, and
 not before one year and a day, or if longer, the applicable preference period then in effect, has elapsed
 since the payment.

          For purposes of this provision, with respect to each Class of Notes, the Classes of Notes that are
 Priority Classes and Junior Classes are as follows:

                      Class                   Junior Classes                    Priority Classes
                                        A-2, A-3, B, C, Preference
                 Senior Class A                                                       None
                                                  Shares
                       A-2             A-3, B, C, Preference Shares              Senior Class A
                       A-3               B, C, Preference Shares              Senior Class A, A-2
                        B                  C, Preference Shares             Senior Class A, A-2, A-3
                        C                   Preference Shares             Senior Class A, A-2, A-3, B
                Preference Shares                 None*                  Senior Class A, A-2, A-3, B, C
               _______________
               *The Preference Shares will be entitled to certain residual cashflow after payment of
               senior obligations in accordance with the Priority of Payments.

          If, notwithstanding the provisions of the Indenture, any Holder of Notes of any Junior Class has
 received any payment or distribution in respect of the Notes contrary to the provisions of the Indenture,
 then, until each Priority Class with respect to the Junior Class of Notes or each Class of Notes, as the case
 may be, and the Insurer has been paid in full in cash or, to the extent a Majority of the Priority Class or
 the Class, as the case may be, consents, other than in cash in accordance with the Indenture, the payment
 or distribution shall be received and held in trust for the benefit of, and shall forthwith be paid over and
 delivered to, the Trustee, which shall pay and deliver the same to the Holders of the applicable Priority
 Classes of Notes or the Holders of all Classes of Notes, as the case may be, and the Insurer in accordance
 with the Indenture. If any such payment or distribution is made other than in cash, it shall be held by the
 Trustee as part of the Collateral and subject in all respects to the Indenture.

         Each Holder of Notes of any Junior Class agrees with all Holders of the applicable Priority
 Classes and the Insurer that the Holder of Junior Class Notes shall not demand, accept, or receive any


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 payment or distribution in respect of the Notes in violation of the Indenture. After a Priority Class and
 the Insurer has been paid in full, the Holders of the related Junior Class or Classes shall be fully
 subrogated to the rights of the Holders of the Priority Class and the Insurer. Nothing in these provisions
 shall affect the obligation of the Issuer to pay Holders of any Junior Class of Notes.

         Distributions to Holders of the Preference Shares are subordinate to distributions on the Notes
 and Preference Shares as described in the Priority of Payments.

         The Management Fees shall have priority only to the extent provided in the Priority of Payments.

         For purposes of subordination, the Composite Securities shall not be treated as a separate Class,
 but the Preference Share Component shall be treated as forming a part of the Preference Shares.

 Interest Payments on the Notes and Payments of Dividends on the Preference Shares from Interest
 Proceeds

          The Notes of each Class will accrue interest during each Interest Period on their Aggregate
 Outstanding Amount (determined as of the first day of the Interest Period and after giving effect to any
 redemption or other payment of principal occurring on that day) at the applicable per annum interest rates
 for each such Class (the "Note Interest Rate") equal to (i) in the case of the Notes (other than the Fixed
 Rate Notes), LIBOR for Eurodollar deposits for the applicable Interest Period plus the spread, as specified
 above under "Summary of Terms—Principal Terms of the Securities" and (ii) in the case of the Fixed
 Rate Notes, as specified above under "Summary of Terms—Principal Terms of the Securities." Interest
 shall be payable in arrears on each Payment Date. Interest accrued shall be calculated (i) in the case of
 the Notes (other than the Fixed Rate Notes) on the basis of the actual number of days elapsed in the
 applicable Interest Period divided by 360 and (ii) in the case of the Fixed Rate Notes on the basis of a
 360-day year consisting of twelve 30-day months. Payment of interest on each Class of Notes shall be
 subordinated to the payments of interest on the related Priority Classes and other amounts in accordance
 with the Priority of Payments. If on any Payment Date the amount of available Interest Proceeds is not
 sufficient for the payment in full of accrued and unpaid interest on the Senior Class A Notes, accrued and
 unpaid Premium and any accrued and unpaid Defaulted Interest on the Senior Class A Notes, the Class A-
 1g Notes shall be subordinated to the payments of Premium to the extent provided in clause (5)(A) under
 "Description of the Securities—Priority of Payments—Interest Proceeds."

          So long as any Priority Classes are Outstanding with respect to any Class of Deferred Interest
 Notes, any payment of Deferred Interest in accordance with the Priority of Payments on any Payment
 Date shall not be considered "payable" for the purposes of the Indenture (and the failure to pay the
 interest shall not be an Event of Default) until the Payment Date on which the interest is available to be
 paid in accordance with the Priority of Payments. Deferred Interest on any Class of Deferred Interest
 Notes shall be payable on the first Payment Date on which funds are available to be used for that purpose
 in accordance with the Priority of Payments. To the extent lawful and enforceable, interest on Deferred
 Interest with respect to any Class of Deferred Interest Notes shall accrue at the Note Interest Rate for the
 Class (and to the extent not paid as current interest on the Payment Date after the Interest Period in which
 it accrues, shall thereafter be additional Deferred Interest), until paid.

         Interest shall cease to accrue on each Note, or in the case of a partial repayment, on the part
 repaid, from the date of repayment or the respective Stated Maturity unless payment of principal is
 improperly withheld or unless there is some other default with respect to the payments of principal.

         On each Payment Date (or, with respect to the Preference Share Components, the Composite
 Securities Payment Date), the Issuer will make distributions to the Preference Shares Paying Agent for
 payment to the Holders of the Preference Shares as dividends on the Preference Shares pursuant to the
 Preference Share Documents, to the extent legally permitted, to the extent of available Interest Proceeds



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 as described under clauses (18), (21) and (23) under "Description of the Securities—Priority of
 Payments—Interest Proceeds."

         For purposes of calculating interest on each Class of Notes, the Issuer will initially appoint the
 Trustee as calculation agent (the Trustee in that capacity, and each successor calculation agent, the
 "Calculation Agent").

          As soon as possible after 11:00 a.m. (London time) on the second Business Day before the first
 day of each Interest Period, but in no event later than 11:00 a.m. (London time) on the next Business Day,
 the Calculation Agent will calculate the Note Interest Rate for each Class of Floating Rate Notes for the
 related Interest Period and the amount of interest for the Interest Period payable in respect of each
 $100,000 in principal amount of each Class of Floating Rate Notes (in each case rounded to the nearest
 cent, with half a cent being rounded upward) on the related Payment Date and will communicate the Note
 Interest Rate for each Class of Floating Rate Notes and the date of the next Payment Date to the Trustee,
 the Initial Purchaser, each paying agent, Euroclear, Clearstream, the Depository, and (as long as the
 Securities (other than the Preference Shares) are listed on the Irish Stock Exchange) the Irish Stock
 Exchange.

          The Calculation Agent may be removed by the Co-Issuers at any time. If the Calculation Agent
 is unable or unwilling to act as such or is removed by the Co-Issuers or if the Calculation Agent fails to
 determine the Note Interest Rate for each Class of Floating Rate Notes or the amount of interest payable
 in respect of each Class of Floating Rate Notes for any Interest Period, the Issuer will promptly appoint as
 a replacement Calculation Agent a leading bank which is engaged in transactions in U.S. Dollar deposits
 in the international U.S. Dollar market and which does not control and is not controlled by or under
 common control with the Co-Issuers or any of their respective affiliates. The Calculation Agent may not
 resign its duties without a successor having been duly appointed. The determination of the Note Interest
 Rate with respect to each Class of Floating Rate Notes for each Interest Period by the Calculation Agent
 shall (in the absence of manifest error) be final and binding upon all parties.

         "LIBOR," determined by the Calculation Agent for any Interest Period, means the offered rate,
 as determined by the Calculation Agent, for three month Dollar deposits that appears on Moneyline
 Telerate Page 3750 as reported on Bloomberg Financial Markets Commodities News (or a page that
 replaces Moneyline Telerate Page 3750 for the purpose of displaying comparable rates), as of 11:00 a.m.
 (London time) on the second Business Day before the first day of the relevant Interest Period.

          If, on the second Business Day before the first day of any relevant Interest Period, that rate does
 not appear on Moneyline Telerate Page 3750 as reported on Bloomberg Financial Market Commodities
 News (or a page that replaces Moneyline Telerate Page 3750 for the purpose of displaying comparable
 rates), the Calculation Agent shall determine the arithmetic mean of the offered quotations of the
 Reference Banks to prime banks in the London interbank market for three month Dollar deposits in
 Europe, by reference to requests by the Calculation Agent to four major banks in the London interbank
 market selected by the Calculation Agent (after consultation with the Portfolio Manager) (the "Reference
 Banks") for quotations as of approximately 11:00 A.M. (London time) on the second Business Day
 before the first day of the Interest Period. If at least two of the Reference Banks provide quotations as
 requested, LIBOR shall equal such arithmetic mean. If fewer than two Reference Banks provide
 quotations, LIBOR shall be the arithmetic mean of the offered quotations that leading banks in New York
 City selected by the Calculation Agent (after consultation with the Portfolio Manager) are quoting to the
 principal London offices of leading banks in the London interbank market on the second Business Day
 before the first day of the relevant Interest Period for three month Dollar deposits.

         If the Calculation Agent is unable to determine a rate in accordance with any of the above
 procedures, LIBOR for the Interest Period shall be calculated on the last day of the Interest Period and
 shall be the arithmetic mean of the rate of interest for each day during the Interest Period determined by
 the Calculation Agent as being the rate of interest most recently announced by the Bank at its New York

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 office as its base rate, prime rate, reference rate, or similar rate for Dollar loans (or if the Bank ceases to
 exist or is not quoting a base rate, prime rate, reference rate, or similar rate for Dollar loans, another major
 money center commercial bank in New York City selected by the Calculation Agent (after consultation
 with the Portfolio Manager)).

          For the first Interest Period, LIBOR shall be determined based on the actual number of days in the
 Interest Period using straight-line interpolation of two rates calculated in accordance with the above
 procedure, except that instead of using three month deposits, one rate shall be determined using the period
 for which rates are obtainable next shorter than the Interest Period and the other rate shall be determined
 using the period for which rates are obtainable next longer than the Interest Period. All calculations shall
 be calculated to at least four decimal places and rounded to four decimal places.

 Principal Payments on the Notes and Distributions on the Preference Shares from Principal
 Proceeds

          The principal of each Note of each Class matures at par and is payable on the Payment Date that
 is the Stated Maturity for the Class of Notes, unless the unpaid principal of the Note becomes payable at
 an earlier date by declaration of acceleration, call for redemption, or otherwise. The Preference Shares
 are scheduled to be redeemed on the Scheduled Preference Shares Redemption Date, unless redeemed or
 repaid in full prior thereto. The average life of each Class of Notes is expected to be shorter than the
 number of years from issuance until Stated Maturity for such Notes. See "Risk Factors—Relating to the
 Securities—The Weighted Average Lives of the Notes Interests May Vary" and "Maturity and
 Prepayment Considerations." Notwithstanding the foregoing, the payment of principal of each Class of
 Notes: (i) may only occur after principal on each Class of Notes that is a Priority Class with respect to the
 Class has been paid in full and (ii) is subordinated to the payment on each Payment Date of the principal
 and interest payable on the Priority Classes, and other amounts in accordance with the Priority of
 Payments. However, Principal Proceeds may be used to pay Deferred Interest and other amounts before
 the payment of principal of the Notes. See "Description of the Securities—Priority of Payments."

          In general, principal payments will not be made on the Notes before the end of the Reinvestment
 Period, except in the following circumstances: (i) in connection with an Optional Redemption, (ii) at the
 option of the Portfolio Manager, to effect a Special Redemption of the Notes, (iii) pursuant to a
 redemption made in connection with a Tax Event or (iv) following a mandatory redemption of the Notes
 caused by a failure to meet any of the Coverage Tests or a Rating Confirmation Failure. After the
 Reinvestment Period, Principal Proceeds will be applied on each Payment Date in accordance with the
 Priority of Payments to pay principal of each Class of Notes (except for Principal Proceeds constituting
 Unscheduled Principal Payments and Sale Proceeds from Credit Improved Obligations which may be
 reinvested as described herein). No principal of any Class of Notes will be payable on any Payment Date
 other than in accordance with the Priority of Payments and to the extent funds are available therefor on
 that Payment Date for that purpose, except that the principal of each Class of Notes will be payable in full
 at the Stated Maturity, unless repaid before that.

         On each Payment Date (or, with respect to the Preference Share Components, the Composite
 Securities Payment Date), the Issuer will make distributions to the Preference Shares Paying Agent for
 payment to the Holders of the Preference Shares as dividends on the Preference Shares pursuant to the
 Preference Share Documents, to the extent legally permitted, to the extent of available Principal Proceeds
 as described under clauses (6)(A), (9) and (10) under "Description of the Securities—Priority of
 Payments—Principal Proceeds."
 Legal Provisions Applicable to the Payments of Dividends from Interest Proceeds and Dividends or
 Other Distributions from Principal Proceeds

          Interest Proceeds and Principal Proceeds paid to the Preference Shares Paying Agent for payment
 of dividends on, or the payment of the Redemption Price in respect of, the Preference Shares, will be
 distributable to the Holders of the Preference Shares only if the Issuer is and will remain solvent

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 following such distribution and Interest Proceeds and Principal Proceeds paid to the Preference Shares
 Paying Agent for payment of dividends in respect of the Preference Shares will be distributable to the
 Holders of the Preference Shares only if the Issuer has sufficient distributable profits and/or share
 premium and if the Issuer is and will remain solvent following such distribution. Payments will be paid
 by the Trustee to the Preference Shares Paying Agent, on behalf of the Issuer, for payment of dividends
 and other distributions to the Holders of the Preference Shares pursuant to the Preference Share
 Documents, to the extent legally permitted, on a pro rata basis according to the number of Preference
 Shares held by each Holder on the Record Date for such Payment Date.

 Distributions on the Composite Securities

         On each Payment Date on which distributions are made in respect of the Preference Shares, a
 portion of such payment will be allocated to the Class 1 Composite Securities in the proportion that the
 aggregate Face Amount of the Preference Share Component bears to the aggregate Face Amount of the
 Preference Shares. The payment of distributions, redemption amounts and any other payments on the
 Class 1 Composite Securities will be distributed in the same manner as the Preference Shares to which the
 Preference Share Component relates, except that such payment will be made on the Composite Securities
 Payment Date. See "—Priority of Payments."

         On each Composite Securities Payment Date, the Trustee will disburse (solely from amounts in
 the Class 1 Component Account attributable to the proceeds from the sale of the Treasury Strip as
 described in "Description of the Securities—Class 1 Component Distributions") to the Holders of the
 Class 1 Composite Securities, pro rata based on their share of the Class 1 Composite Security Rated
 Balance, the proceeds from the sale of the Treasury Strip relating to such Composite Securities Payment
 Date. See "—Priority of Payments—Class 1 Component Distributions."

 Extension of the Reinvestment Period, the Stated Maturity and the Scheduled Preference Shares
 Redemption Date

         General

         The Issuer, if directed by the Portfolio Manager, shall be entitled on each Extension Effective
 Date to extend the Reinvestment Period to the applicable Extended Reinvestment Period End Date if (i) in
 the case of an Extension Effective Date occurring after the first Extension Effective Date, the Issuer has
 previously affected a Maturity Extension for each preceding Extension Effective Date and (ii) the
 Extension Conditions are satisfied and the Issuer has given written notice of its election to extend the
 Reinvestment Period no later than 60 days and no earlier than 90 days prior to such Extension Effective
 Date. If the Extension Conditions are satisfied, the Stated Maturity of the Notes shall be automatically
 extended to the related Extended Stated Maturity Date and the Weighted Average Life Test shall be
 automatically extended to the related Extended Weighted Average Life Date, without any requirement for
 approval or consent of any Holders of Securities or Preference Shares or amendment or supplement to the
 Indenture or the Preference Share Documents.

          In the case of a Maturity Extension, any Holder of Notes, Composite Securities or Preference
 Shares wishing to sell such Securities to an Extension Qualifying Purchaser pursuant to the Extension
 Conditions must provide the applicable Extension Sale Notice within the Extension Sale Notice Period
 pursuant to "—Extension Procedure" below (such Securities as to which an Extension Sale Notice has
 been duly given, "Extension Sale Securities"). Notwithstanding anything to the contrary herein, each
 Holder providing an Extension Sale Notice shall be deemed to agree that no Extension Sale Securities of
 any Holder shall be purchased unless all Extension Sale Securities of all Holders are purchased and
 settled at the applicable Extension Purchase Price on the applicable Extension Effective Date and the
 other Extension Conditions are satisfied as of such date.




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        The Maturity Extension shall be effective only if the following conditions (the "Extension
 Conditions") are satisfied:

         (i)     the purchase of all Extension Sale Securities has been settled by the designated Extension
                 Qualifying Purchasers at the applicable Extension Purchase Price as of the applicable
                 Extension Effective Date;

         (ii)    all such purchases of Extension Sale Securities individually and in the aggregate comply
                 with the applicable transfer restrictions herein, in the Indenture and the Preference Share
                 Documents immediately after such purchase and the legends on such Securities and all
                 applicable law, rules and regulations (including, without limitation, rules, regulations and
                 procedures of any applicable securities exchange, self-regulatory organization or clearing
                 agency);

         (iii)   (a) the Rating Condition has been satisfied with respect to S&P (so long as any Notes are
                 then rated by S&P) and (b) either (A) all Coverage Tests and the Selected Collateral
                 Quality Tests are satisfied as of the related Extension Determination Date, the rating of
                 each Class of Notes or Composite Securities by Moody's has not been downgraded,
                 withdrawn or qualified from that in effect on the Closing Date (unless it subsequently has
                 been reinstated to the rating assigned on the Closing Date) and the Overcollateralization
                 Ratio Numerator is at least $663,000,000 or (B) the Rating Condition has been satisfied
                 with respect to Moody's (so long as any Notes or Composite Securities are then rated by
                 Moody's); and

         (iv)    so long as the Insurer is the Controlling Class, the Portfolio Manager on behalf of the
                 Issuer has obtained the Insurer's consent; provided, however, in the event that the Insurer
                 does not consent to a Maturity Extension, the Holders of 100% of the Insured Notes (after
                 giving effect to the sale of any Insured Notes which are Extension Sale Securities in
                 connection with the proposed Maturity Extension) the Insured Notes may, pursuant to the
                 Indenture and as described below under "—Termination of the Policy," terminate the
                 Policy, upon which, so long as clauses (i) through (iii) above have been satisfied, the
                 Maturity Extension shall be effective.

         In the case of a Maturity Extension, each Holder of Notes other than Extension Sale Securities
 and the Insurer (so long as the Policy has not been terminated as described below under "—Termination
 of the Policy") shall be entitled to receive an amount equal to the applicable Extension Bonus Payment.
 Holders of Composite Securities and Preference Shares shall not be entitled to receive any Extension
 Bonus Payment.

          The Extension Bonus Payment shall be payable to (i) any applicable qualifying beneficial owners
 who have provided the Trustee with an Extension Bonus Eligibility Certification and (ii) to the Insurer, on
 the first Payment Date from and including the Extension Effective Date on which funds are available to
 be used for such purposes in accordance with the Priority of Payments, but in any event, no later than the
 earlier of the Stated Maturity and the date of redemption of the Notes. Extension Bonus Payments which
 are not available to be paid on a Payment Date in accordance with the Priority of Payments on a Payment
 Date shall not be considered "due and payable" hereunder. The failure to pay any such Extension Bonus
 Payment on such date shall not be an Event of Default, unless the Issuer shall fail to pay in full such
 Extension Bonus Payment on the earlier of the Stated Maturity and the date of redemption in full of the
 relevant Securities. Unpaid Extension Bonus Payments shall not accrue interest. Such amounts shall be
 paid: (i) in the case of the Notes, to the accounts designated in the applicable Extension Bonus Eligibility
 Certification or, to the extent otherwise required by the rules of any applicable securities exchange or



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 clearing agency, in a manner determined by the Issuer and (ii) in the case of the Insurer, to the account
 specified in the Premium Letter or as otherwise directed by the Insurer in writing.

         If all Extension Conditions are satisfied, other than obtaining the consent of the Insurer to such
 Extension, and the Insurer has and continues to object to such Extension, so long as there are no Accrued
 Insurance Liabilities outstanding on the related Payment Date, the Policy may be terminated by the
 Holders of 100% of the Class A-1g Notes (after giving effect to the sale of any Insured Notes which are
 Extension Sale Securities in connection with the proposed Maturity Extension). Upon such termination
 of the Policy, the Note Interest Rate in respect of the Class A-1g Notes will be the Step-Up Note Interest
 Rate. See "—Termination of the Policy."

         Extension Procedure

          No later than three Business Days following receipt by the Trustee of the notice given by the
 Issuer's election to extend the Reinvestment Period (the "Extension Notice"), the Trustee shall mail the
 Extension Notice to all Holders of Securities and the Preference Shares Paying Agent (for forwarding to
 the Holders of the Preference Shares) and each Rating Agency (so long as any rated Notes or Composite
 Securities are Outstanding), in the form set out in the Indenture, and shall request the Rating Condition
 for the Maturity Extension from S&P, if applicable.

         Any Holder of Securities may give irrevocable notice (an "Extension Sale Notice") within 30
 days after the Trustee has mailed the Extension Notice (the "Extension Sale Notice Period") of its
 intention to sell its Securities to an Extension Qualifying Purchaser in the case of a Maturity Extension.
 Any Extension Sale Notice received by the Trustee after the Extension Sale Notice Period shall be
 disregarded and deemed not to have been given. No Holder of Securities that has not given such an
 Extension Sale Notice within the Extension Sale Notice Period shall be entitled to sell its Securities to an
 Extension Qualifying Purchaser in connection with the Maturity Extension.

         If clause (iii)(b)(A) of the Extension Conditions is not satisfied as of the applicable Extension
 Determination Date as determined by the Issuer (or its agent), the Trustee shall request the Rating
 Condition to be satisfied with respect to Moody's.

         On the applicable Extension Determination Date, the Issuer (or its agent) shall confirm (i)
 whether or not Extension Qualifying Purchasers for all Extension Sale Securities have been designated to
 purchase such Securities in compliance with all transfer restrictions in the Indenture and the legends on
 such Securities and all applicable laws, rules and regulations (including, without limitation, any rules,
 regulations and procedures of any securities exchange, self-regulatory organization or clearing agency),
 (ii) whether the requirements of clause (iii) of the Extension Conditions are satisfied as of the applicable
 Extension Determination Date and (iii) whether all other Extension Conditions can be satisfied as of the
 applicable Extension Effective Date.

          On each Extension Effective Date, the Maturity Extension shall automatically become effective
 under the terms of the Indenture; provided that all Extension Conditions set forth above are satisfied. No
 later than two Business Days after each Extension Effective Date, the Trustee based on a determination
 made by the Issuer, at the expense of the Co-Issuers, shall mail a notice to all Holders of Notes and
 Composite Securities, the Preference Shares Paying Agent (for forwarding to the Holders of Preference
 Shares), the Portfolio Manager, the Initial Purchaser, each Rating Agency (so long as any rated Notes are
 Outstanding) and the Irish Stock Exchange (if and for so long as any Class of Notes or Composite
 Securities is listed thereon) confirming whether or not the Maturity Extension became effective. If the
 Maturity Extension became effective, the Issuer shall make any required notifications thereof to the
 Depositary for any Securities subject to the Maturity Extension.

        None of the Initial Purchaser, the Portfolio Manager or any of their respective Affiliates shall
 have any duty to act as an Extension Qualifying Purchaser.


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 Optional Redemption

          Notes. The Holders of at least 63% of the Aggregate Outstanding Amount of the Preference
 Shares may give written notice to the Preference Shares Paying Agent, the Trustee, the Issuer, the Insurer
 and the Portfolio Manager directing an optional redemption of the Notes (with respect to the Notes, an
 "Optional Redemption") upon the occurrence of a Tax Event or at any time after the Non-Call Period.
 Such notice must be given not later than 45 days before the Payment Date on which the redemption is to
 be made. Upon receipt of the written notice directing an Optional Redemption of the Notes, the Issuers
 are required by the Indenture to redeem the Notes (in whole but not in part) from amounts available
 therefor in accordance with "—Redemption Procedures" described below. Any Optional Redemption of
 the Notes shall be made at the applicable Redemption Price. Upon an Optional Redemption of the Notes,
 the Reinvestment Period will terminate in accordance with the definition of that term. The Issuer shall, at
 least 30 days before the Redemption Date (unless the Trustee shall agree to a shorter notice period), notify
 the Trustee, the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares), the
 Insurer and each Rating Agency of the Redemption Date, the applicable Record Date, the principal
 amount of Notes to be redeemed on the Redemption Date and the applicable Redemption Prices.

         Preference Shares. On any Payment Date on or after payment in full of the Notes, all
 administrative and other fees (without regard to any payment limitations) payable under the Priority of
 Payments (including the Senior Management Fee and the Subordinated Management Fee), all amounts
 owing under the Indenture and the Insurance Documents to the Insurer, and all amounts owing under the
 Indenture and any Hedge Agreement to any Hedge Counterparty have been discharged:

                  (i)     at the direction of a Majority of the Preference Shares, the Issuer shall cause the
         Trustee to make payments in redemption of all of the Preference Shares, in an aggregate amount
         equal to all of the proceeds from the sale or other disposition of all of the remaining Collateral
         less any fees and expenses owed by the Issuer (including the Redemption Price of any Notes
         being simultaneously redeemed), the aggregate amount to be distributed to the Preference Shares
         Paying Agent for distribution to the Holders of the Preference Shares pro rata in accordance with
         their respective holdings; or

                 (ii)     at the unanimous direction of the Holders of the Preference Shares, voting as a
         single Class or group the Issuer shall cause the Trustee to make payments in redemption of all or
         a directed portion (representing less than all) of the Preference Shares to the Preference Shares
         Paying Agent for distribution to the Holders of the Preference Shares based upon such direction,

 (with respect to the Preference Shares and each of clauses (i) and (ii) above, an "Optional Redemption").

          Upon a distribution pursuant to clause (i) above, the Portfolio Manager will (subject to the
 standard of care specified in the Management Agreement), on behalf of the Issuer (and subject to clause
 (ii) above), direct the sale of all remaining Collateral Obligations. Upon a distribution pursuant to clause
 (ii) above, the Portfolio Manager will effect the sale of Collateral Obligations in accordance with the
 unanimous direction of the Holders of the Preference Shares.

          Upon receipt of the written notice directing an Optional Redemption of the Preference Shares, the
 Issuer is required by the Preference Shares Paying Agency Agreement to redeem the Preference Shares in
 accordance with "—Redemption Procedures" described below. Any Optional Redemption of the
 Preference Shares shall be made at the applicable Redemption Price.

         In connection with a redemption of the Preference Shares, a portion of the payments paid in
 respect of the Preference Shares will be allocated to the Composite Securities in the proportion that the
 aggregate Face Amount of the Preference Share Components bears to the aggregate Face Amount of the
 Preference Shares as a whole (including the related Preference Share Component and any other applicable
 Preference Share Component) (and such payment will be made on the Composite Securities Payment


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 Date). Other than as set forth below, no other payments will be made on the Composite Securities in
 connection with a redemption of the Preference Shares.

         Upon the occurrence of a redemption of the Preference Shares pursuant to the Indenture, in whole
 or in part, the Class 1 Components shall be redeemed by the Issuer, in whole but not in part, on the
 Composite Securities Payment Date from Class 1 Collateral available for that purpose in the Class 1
 Component Account at the applicable Redemption Price.              All Class 1 Components must be
 simultaneously redeemed. Upon any redemption of the Class 1 Components, the Holders of Class 1
 Composite Securities shall receive the Redemption Price as a distribution in kind of a pro rata share
 (based on the Class 1 Composite Security Rated Balance) of each item of the Class 1 Collateral.

          Redemption Procedures. Notice of a redemption shall be given by first-class mail, postage
 prepaid, mailed not later than 10 Business Days and not earlier than 30 days before the applicable
 Redemption Date, to (i) the Insurer, each Holder of Notes to be redeemed, at the Holder's address in the
 Indenture Register or otherwise in accordance with the rules and procedures of the Depository, Euroclear
 and Clearstream, as applicable, to the Holders of the Composite Securities and to the Preference Shares
 Paying Agent (for forwarding to the Holders of Preference Shares) and (ii) in the case of an Optional
 Redemption of the Notes, to each Rating Agency. In addition, for so long as any Securities (other than
 the Preference Shares) are listed on the Irish Stock Exchange and so long as the rules of the exchange so
 require, notice of an Optional Redemption of Notes shall also be given to the Company Announcements
 Office of the Irish Stock Exchange.

          Notice of redemption having been given as provided above, the Notes to be redeemed shall, on
 the Redemption Date, become payable at the Redemption Price therein specified and from and after the
 Redemption Date (unless the Issuer shall default in the payment of the Redemption Price and accrued
 interest) the Notes shall cease to bear interest on the Redemption Date.

          Upon final payment on a Note to be so redeemed, the Holder shall present and surrender the Note
 at the place specified in the notice of redemption to receive the applicable Redemption Price unless the
 Holder provides an undertaking to surrender the Note thereafter. If a Component is to be redeemed, the
 related Composite Security does not need to be surrendered at the office of any paying agent under the
 Indenture to receive the applicable Redemption Price.

         The Notes may not be optionally redeemed unless either of the following conditions are satisfied:

                  (i)      at least ten Business Days before the Redemption Date, the Portfolio Manager
         shall have furnished to the Trustee evidence (in form reasonably satisfactory to the Trustee) that
         the Issuer has entered into a binding agreements (with a financial or other institution or entity
         whose short-term unsecured debt obligations (other than obligations whose rating is based on the
         credit of a person other than the institution) have a credit rating of at least "A-1" from S&P and of
         "P-1" (and not on credit watch for possible downgrade) from Moody's (or to any other institution
         or entity if the Rating Condition with respect to Moody's is satisfied with respect to the other
         entity)) to sell to the financial or other institutions, not later than the Business Day before the
         Redemption Date in immediately available funds, all or part of the Collateral (directly or by
         participation or other arrangement) at a Purchase Price at least equal to an amount sufficient
         (together with any Cash and other Eligible Investments not subject to the agreements and
         maturing on or before the Redemption Date and any payments to be received with respect to the
         Hedge Agreements on or before the Redemption Date) to pay all administrative and other fees
         and expenses payable under the Priority of Payments without regard to any payment limitations
         (including the Senior Management Fee and the Subordinated Management Fee), all amounts
         owing under the Indenture and the Insurance Agreement to the Insurer, all amounts owing under
         the Hedge Agreements to the Hedge Counterparties and to redeem the Notes on the Redemption
         Date at the applicable Redemption Prices; or



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                  (ii)     before entering into any binding agreement to sell all or a portion of the
         Collateral and selling or terminating any Hedge Agreement, the Portfolio Manager shall have
         certified that, in its commercially reasonable judgment, the settlement dates of the sales will be
         scheduled to occur on or before the Business Day before the Redemption Date and that the
         expected proceeds from the sales are to be delivered to the Trustee no later than the Business Day
         before the Redemption Date, in immediately available funds, in an amount (calculated as
         applicable in the manner provided below) sufficient (together with any Cash and other Eligible
         Investments not subject to the agreements and maturing on or before the Redemption Date and
         any payments to be received with respect to the Hedge Agreements on or before the Redemption
         Date) to pay all administrative and other fees and expenses payable under the Priority of
         Payments (including the Senior Management Fee and the Subordinated Management Fee), all
         amounts owing under the Indenture and the Insurance Documents to the Insurer, all amounts
         owing under the Hedge Agreements to the Hedge Counterparties and to redeem the Notes on the
         Redemption Date at the applicable Redemption Prices. For purposes of this paragraph, the
         amount shall be calculated with respect to the classes of Collateral listed in the table below by
         multiplying the expected proceeds of sale of the Collateral by the indicated percentage in the
         table below.

                                                                Number of Business Days Between
                                                                Certification to the Trustee and Sale
                                                           Same Day      1 to 2        3 to 5      6 to 15
   1.   Cash or other Eligible Investments                   100%        100%          100%         100%
   2.   Loans (other than 5 below)                           100%         93%          92%          88%
   3.   High-Yield Bonds (other than 5 below) and
        Structured Finance Obligations (in each case,
        other than 4 below)                                  100%         89%          85%          75%
   4.   High-Yield Bonds (other than 5 below) and
        Structured Finance Obligations, in each case
        with a Moody's Rating of "B3" and on credit
        watch with negative implications or below
        "B3"                                                 100%         75%          65%          55%
   5.   Synthetic Securities                                 100%         65%          55%          35%

          Any certification delivered by the Portfolio Manager shall include (A) the prices of, and expected
 proceeds from, the sale of any Collateral Obligations, Eligible Investments or Hedge Agreements and (B)
 all calculations required by the Indenture.

         Any notice of redemption may be withdrawn by the Issuer up to the fourth Business Day before
 the scheduled Redemption Date by written notice to the Preference Shares Paying Agent (for forwarding
 to the Holders of Preference Shares), the Trustee, the Insurer and the Portfolio Manager only if:

                  (i)     in the case of an Optional Redemption of Notes, the Portfolio Manager does not
         deliver the sale agreement or certifications required under the Indenture, as the case may be, in
         form satisfactory to the Trustee;

                  (ii)    in the case of an Optional Redemption in whole of either the Notes or the
         Preference Shares as described above in "—Optional Redemption—Notes" and clause (i) of the
         first paragraph under "—Optional Redemption—Preference Shares," the Issuer receives the
         written direction of the Preference Shares to withdraw the notice of redemption delivered by the
         percentage of the Preference Shares requesting redemption under "—Optional Redemption—
         Notes" or clause (i) of the first paragraph under "—Optional Redemption—Preference Shares,",
         as applicable; and



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                 (iii)    in the case of an Optional Redemption of Preference Shares as described in
         clause (ii) of the first paragraph under "Optional Redemption—Preference Shares," the Issuer
         receives the unanimous written direction of the Holders of the Preference Shares to withdraw the
         notice of redemption (and the Issuer hereby agrees for the benefit of the directing person to
         withdraw the applicable notice of redemption if it receives the written direction referred to in the
         preceding clause (ii) or this clause (iii)).

         Notice of any withdrawal shall be sent, not later than the third Business Day before the scheduled
 Redemption Date (assuming that the Trustee has received timely written notice from the Issuer as
 provided above), by the Trustee, to each Holder of Notes scheduled to be redeemed at the Holder's
 address in the Indenture Register by overnight courier guaranteeing next day delivery (or, to the extent the
 address contained in the Indenture Register is not sufficient for that purpose, by first-class mail), the
 Holders of Composite Securities and the Preference Shares Paying Agent (for forwarding to each Holder
 of Preference Shares). If the Issuer so withdraws any notice of redemption or is otherwise unable to
 complete any redemption of the Notes, the Sale Proceeds received from the sale of any Collateral
 Obligations sold in accordance with the Indenture may, during the Reinvestment Period (and, in respect
 of Sale Proceeds from Credit Improved Obligations, after the Reinvestment Period) at the Portfolio
 Manager's discretion, be reinvested in accordance with the Eligibility Criteria.

          Notice of redemption shall be given by the Co-Issuers or, upon an Issuer Order, by the Trustee in
 the name and at the expense of the Co-Issuers. Failure to give notice of redemption, or any defect therein,
 to any Holder of any Note selected for redemption, to each Holder of Composite Securities or the
 Preference Shares Paying Agent (for forwarding to each Holder of Preference Shares) shall not impair or
 affect the validity of the redemption of any other Securities.

 Special Redemption of Notes If the Portfolio Manager Does Not Identify Investments as
 Contemplated by the Indenture

          Principal payments on the Notes shall be made in whole or in part, at par, in accordance with the
 Priority of Payments if, at any time during the Reinvestment Period, the Portfolio Manager elects (subject
 to the Management Agreement) to notify the Trustee and each Rating Agency that it has been unable, for
 45 consecutive Business Days, to identify additional Collateral Obligations that are deemed appropriate
 by the Portfolio Manager in its sole discretion and meet the Eligibility Criteria in sufficient amounts to
 permit the investment or reinvestment of all or a portion of the funds then in the Collection Account
 available to be invested in additional Collateral Obligations.

         On the Special Redemption Date, the Special Redemption Amount will be available to be applied
 in accordance with "—Priority of Payments—Principal Proceeds" to the extent of available Principal
 Proceeds. Notice of payment of the Special Redemption Amount shall be given by first-class mail,
 postage prepaid, mailed not later than three Business Days before the applicable Special Redemption
 Date, to the Insurer and each Holder of Notes to be redeemed, at the Holder's address in the Indenture
 Register or otherwise in accordance with the rules and procedures of the Depository. In addition, for so
 long as any Securities (other than the Preference Shares) are listed on the Irish Stock Exchange and so
 long as the rules of the exchange so require, notice of a Special Redemption of the Notes shall also be
 given to the Company Announcements Office of the Irish Stock Exchange.

         In connection with a Special Redemption, the principal of the Notes will be paid from Principal
 Proceeds in an aggregate amount equal to the Special Redemption Amount (first to any Senior Class A
 Notes to be redeemed, then to any Class A-2 Notes to be redeemed, then to any Class A-3 Notes to be
 redeemed, then to any Class B Notes to be redeemed and then to any Class C Notes to be redeemed, in
 each case until paid in full) in accordance with the Priority of Payments. See "Description of the
 Securities—Priority of Payments—Principal Proceeds."




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 Mandatory Redemption of the Notes

         General

         In the event of a Rating Confirmation Failure or a failure to meet any Coverage Test on any
 Determination Date, a mandatory redemption of one or more Classes of Notes in whole or in part will be
 required. Any mandatory redemption could result in an elimination, deferral or reduction in interest or
 principal payments to one or more Classes of Securities, which would adversely affect the returns to the
 Holders of the Class or Classes of Securities. See "Risk Factors—Relating to the Securities—The
 Indenture Requires Mandatory Redemption of the Interests for Failure to Satisfy Coverage Tests" and "—
 The Indenture Requires Mandatory Redemption of the Notes Upon Rating Confirmation Failure."

         Mandatory Redemption of the Notes for Failure to Satisfy Coverage Tests

         Except with respect to payments made pursuant to an Optional Redemption or a redemption made
 in connection with a Tax Event as described under "—Optional Redemption," on any Payment Date with
 respect to which any Coverage Test (as described under "Security for the Notes and the Composite
 Securities—The Coverage Tests") is not met on any Determination Date, principal payments on the Notes
 will be made as described under "—Priority of Payments."

         Mandatory Redemption of the Notes Upon Rating Confirmation Failure

         Upon the event of a Rating Confirmation Failure, all Interest Proceeds remaining after payment
 of amounts referred to in clauses (1) and (3) through (12) of "—Priority of Payments—Interest Proceeds"
 will be used to pay principal of the Senior Class A Notes, the Class A-2 Notes, the Class A-3 Notes, the
 Class B Notes and the Class C Notes sequentially in order of their priority on the next Payment Date and
 each Payment Date thereafter until the Initial Ratings are confirmed. If necessary, after the foregoing
 payments are made out of Interest Proceeds, Principal Proceeds in accordance with clause (3) "—Priority
 of Payments—Principal Proceeds" will be used to pay principal of each Class of the Notes sequentially in
 order of their priority on each Payment Date until the Initial Ratings are confirmed.

          Upon receipt of notice of a Rating Confirmation Failure and if available Interest Proceeds and
 Principal Proceeds are insufficient to effect the redemption of the Notes, at par on any subsequent
 Payment Date in accordance with the Priority of Payments as and to the extent necessary for each of
 Moody's and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to the
 Notes, then at the direction and in accordance with the instructions of the Portfolio Manager the Trustee
 shall sell Collateral Obligations so that the proceeds from the sale and all other funds available for the
 purpose in the Collection Account will be used to redeem the Notes (but only to the extent necessary for
 each of Moody's and S&P to confirm in writing the Initial Ratings assigned by it on the Closing Date to
 the Notes) and to pay all administrative and other fees, expenses and obligations payable under the
 Priority of Payments. Any sale under these provisions shall be conducted in such a manner that:

                  (i)     after giving effect to the sale each Overcollateralization Test is satisfied or, if any
         Overcollateralization Test is not satisfied, the extent of compliance with the Overcollateralization
         Test is not reduced;

                 (ii)     if the sale occurs on or after the second Payment Date, after giving effect to the
         sale each Interest Coverage Test is satisfied or, if any Interest Coverage Test is not satisfied, the
         extent of compliance with the Interest Coverage Test is not reduced; and

                  (iii)  after giving effect to the sale each Collateral Quality Test is satisfied or, if any
         Collateral Quality Test is not satisfied, the extent of compliance with the Collateral Quality Test
         is not reduced.



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 Redemption of the Preference Shares in Connection with Mandatory Redemption of the Notes

         The Preference Shares will be redeemed in whole in accordance with the Priority of Payments
 and the Preference Share Documents on any Payment Date (or, with respect to the Preference Share
 Components, the Composite Securities Payment Date) on which a mandatory redemption of the Notes
 described under "—Mandatory Redemption of the Notes" results in the payment in full of the Aggregate
 Outstanding Amount of each Class of Notes.

 Priority of Payments

          Collections received on the Collateral during the related Due Period will be segregated into
 Interest Proceeds and Principal Proceeds and applied on each Payment Date in the priority below under
 "—Interest Proceeds" and "—Principal Proceeds," respectively (collectively, the "Priority of
 Payments").

 Interest Proceeds

          On each Payment Date, Interest Proceeds with respect to the related Due Period (other than
 Interest Proceeds previously used during such Due Period to purchase accrued interest in respect of
 Collateral Obligations or otherwise used as permitted under the Indenture) will be distributed in the
 following order of priority:

        (1)     to the payment of any taxes and registration and filing fees owed by the Co-Issuers
                (without limit) and then to the payment of Administrative Expenses up to the
                Administrative Expense Cap as follows:

                     FIRST, in the following order of priority:

                         (i)     fees, expenses and indemnities of the Trustee; and then

                         (ii)    fees, expenses and indemnities of the Collateral Administrator; and then

                         (iii)   fees, expenses and indemnities of the Preference Shares Paying Agent;
                                 and

                     SECOND, in the following order of priority;

                         (x)     fees and expenses of the Administrator; and then;

                         (y)     fees and expenses of the Co-Issuers (including fees and expenses of
                         counsel and surveillance, credit estimate, and other fees owing to the Rating
                         Agencies) and any other person (except the Portfolio Manager) if specifically
                         provided for in the Indenture, and to the expenses (but not fees) of the Portfolio
                         Manager if payable under the Management Agreement and to the fees, expenses
                         and indemnities of the Insurer;

        (2)     the excess, if any, of the Administrative Expense Cap over the amounts paid pursuant to
                clause (1) above to deposit into the Expense Reimbursement Account;

        (3)     to the payment to the Portfolio Manager of any accrued and unpaid Senior Management
                Fee then payable;




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        (4)    to the payment of all amounts due to the Hedge Counterparties under the Hedge
               Agreements other than any Defaulted Hedge Termination Payments;

        (5)

               (A)      first, pro rata to the payment of accrued and unpaid interest on the Senior Class
               A Notes, accrued and unpaid Premium and any accrued and unpaid Defaulted Interest on,
               and any Defaulted Interest Charge with respect to, the Senior Class A Notes; provided,
               however, if the amounts available pursuant to this clause (A) are insufficient to pay the
               foregoing amounts in full, the amount available for distribution under this clause (A)
               shall be distributed pro rata based on the amounts owing to the Class A-1a Notes and the
               Class A-1b Notes, on the one hand, and to the amounts owing to the Class A-1g Notes
               and in respect of the Premium, on the other hand, with the amounts distributed to the
               Insurer and the Holders of the Class A-1g Notes being paid first to the Insurer in respect
               of the Premium until paid in full and then in respect of amounts owing to the Class A-1g
               Notes; provided, further, that distributions in respect of the Class A-1a Notes and the
               Class A-1b Notes pursuant to this clause (5)(A) shall be made to the Holders thereof pro
               rata based upon the amount of accrued and unpaid interest and accrued and unpaid
               Defaulted Interest owing in respect of the Class A-1a Notes and the Class A-1b Notes;

               (B)     second, to the payment of Accrued Insurance Liabilities then payable under the
               Insurance Agreement;

        (6)    to the payment of accrued and unpaid interest on the Class A-2 Notes and any accrued
               and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect to, the
               Class A-2 Notes;

        (7)    to the payment of accrued and unpaid interest on the Class A-3 Notes and any accrued
               and unpaid Defaulted Interest on, and any Defaulted Interest Charge with respect to, the
               Class A-3 Notes (with distributions in respect of the Class A-3 Notes made to the Holders
               thereof pro rata based upon the amount of accrued and unpaid interest and accrued and
               unpaid Defaulted Interest owing in respect of the Class A-3a Notes and the Class A-3b
               Notes);

        (8)    if the Class A Coverage Tests are not satisfied on the related Determination Date, to the
               payment of principal of the Senior Class A Notes, the Class A-2 Notes and the Class A-3
               Notes in the Note Payment Sequence in the amount necessary so that all of the Class A
               Coverage Tests would be met on such Determination Date on a pro forma basis after
               giving effect to any payments in reduction of the principal of Notes made through this
               clause, or until paid in full (Interest Proceeds to be applied pursuant to this clause (8)
               before the application of any Principal Proceeds as described under "—Principal
               Proceeds" below on the current Payment Date);

        (9)    to the payment of accrued and unpaid interest on the Class B Notes (excluding Class B
               Deferred Interest, but including interest accrued for the preceding Interest Period on
               Class B Deferred Interest);

        (10)   if the Class B Coverage Tests are not satisfied on the related Determination Date, to the
               payment of principal of the Senior Class A Notes, the Class A-2 Notes, the Class A-3
               Notes and the Class B Notes in the Note Payment Sequence and then to the payment of
               any Class B Deferred Interest, in each case in the amount necessary so that all of the
               Class B Coverage Tests would be met on such Determination Date on a pro forma basis
               after giving effect to any payments in reduction of the principal of Notes made through
               this clause, or until paid in full (Interest Proceeds to be applied pursuant to this clause


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               (10) before the application of any Principal Proceeds as described under "—Principal
               Proceeds" below on the current Payment Date) (with each of the Senior Class A Notes
               and the Class A-3 Notes being redeemed pro rata based upon the outstanding principal
               amount of the Class A-1a Notes, the Class A-1b Notes and the Class A-1g Notes (in the
               case of a redemption of the Senior Class A Notes) and the outstanding principal amount
               of the Class A-3a Notes and the Class A-3b Notes (in the case of a redemption of the
               Class A-3 Notes));

        (11)   to the payment of Class B Deferred Interest;

        (12)   to the payment of accrued and unpaid interest on the Class C Notes (excluding Class C
               Deferred Interest but including interest accrued for the preceding Interest Period on Class
               C Deferred Interest);

        (13)   if the Class C Coverage Tests are not satisfied on the related Determination Date or if a
               Rating Confirmation Failure exists on the Payment Date, to the payment of principal of
               the Notes in the Note Payment Sequence and then to the payment of the Class C Deferred
               Interest in the amount necessary so that all of the Class C Coverage Tests would be met
               on such Determination Date on a pro forma basis after giving effect to any payments in
               reduction of the principal of Notes made through this clause, or until paid in full (Interest
               Proceeds to be applied pursuant to this clause (13) before the application of any Principal
               Proceeds as described under "—Principal Proceeds" below on the current Payment Date,
               unless a Rating Confirmation is obtained) (with each of the Senior Class A Notes and the
               Class A-3 Notes being redeemed pro rata based upon the outstanding principal amount
               of the Class A-1a Notes, the Class A-1b Notes and the Class A-1g Notes (in the case of a
               redemption of the Senior Class A Notes) and the outstanding principal amount of the
               Class A-3a Notes and the Class A-3b Notes (in the case of a redemption of the Class A-3
               Notes));

        (14)   to the payment of Class C Deferred Interest;

        (15)   to deposit in the Collection Account as Principal Proceeds amounts representing Principal
               Proceeds previously used to pay amounts referred to in clauses (1), (3) through (7), (9),
               (11), (12) and (14) above and not previously restored to the Collection Account or, if not
               restored to the Collection Account, used to purchase Collateral Obligations;

        (16)   during the Reinvestment Period, if the Reinvestment Overcollateralization Test is not
               satisfied on the related Determination Date, for deposit to the Collection Account as
               Principal Proceeds the lesser of (i) 50% of the remaining Interest Proceeds available after
               the payments pursuant to clause (15) above and (ii) the amount necessary to cause the
               Reinvestment Overcollateralization Test to be satisfied as of such Determination Date,
               after application of Principal Proceeds as described under "—Principal Proceeds" below
               on the current Payment Date;

        (17)   first, to the payment to the Insurer of any remaining Administrative Expenses payable
               thereto and not paid under clause (1) above, and second, to the payment of any remaining
               Administrative Expenses not paid under clause (1) above in the respective priorities
               specified in clause (1);

        (18)   to the Preference Shares Paying Agent, on behalf of the Issuer, for deposit into the
               Preference Shares Distribution Account for payment to the Holders of the Preference
               Shares, an amount not to exceed the Preference Shares Distribution Amount;




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         (19)     to the payment (i) first to the Portfolio Manager of accrued and unpaid Subordinated
                  Management Fee then due and payable and (ii) to the Insurer (if entitled thereto) and to
                  each Holder of Securities entitled thereto, the applicable Extension Bonus Payment as
                  described under "—Extension of the Reinvestment Period, the Stated Maturity and the
                  Scheduled Preference Shares Redemption Date";

         (20)     to the payment of any Defaulted Hedge Termination Payments;

         (21)     to the Preference Shares Paying Agent, on behalf of the Issuer, for deposit into the
                  Preference Shares Distribution Account for payment to the Holders of the Preference
                  Shares until the Holders of the Preference Shares have realized a Preference Share
                  Internal Rate of Return of 10.75%;

         (22)     to the payment to the Portfolio Manager of the Incentive Management Fee, if applicable;
                  and

         (23)     any remaining Interest Proceeds, to the Preference Shares Paying Agent, on behalf of the
                  Issuer, for deposit into the Preference Shares Distribution Account for payment to the
                  Holders of the Preference Shares.

 Principal Proceeds

         On each Payment Date, Principal Proceeds with respect to the related Due Period other than:

         (A)      Principal Proceeds previously reinvested in Collateral Obligations (including any related
                  deposit into the Revolving Reserve Account or the Delayed Drawdown Reserve Account
                  or the posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic
                  Security Counterparty simultaneously with the Issuer's purchase of or entry into a
                  Synthetic Security) or otherwise used as permitted under the Indenture;

         (B)      Principal Proceeds on deposit in the Revolving Reserve Account, the Delayed Drawdown
                  Reserve Account, the Synthetic Security Collateral Account or the Securities Lending
                  Account; and

         (C)      Principal Proceeds on deposit in the Collection Account in an aggregate amount equal to
                  the agreed Purchase Prices for Collateral Obligations with respect to which the Issuer has
                  entered into a commitment before the end of the Due Period for their purchase, but has
                  not settled the purchase by the end of the Due Period;

 shall be distributed in the following order of priority:

         (1)      (x) first, to the payment of the amounts referred to in clauses (1) and (3) through (7)
                  under "—Interest Proceeds" above (and in the same manner and order of priority) to the
                  extent not previously paid in full thereunder and (y) second, to the payment of amounts
                  referred to in clause (8) under "—Interest Proceeds" above to the extent not previously
                  paid in full thereunder and to the extent necessary to cause the Class A
                  Overcollateralization Test to be met as of the related Determination Date on a pro forma
                  basis after giving effect to any payments made through this clause (1);

         (2)      to the payment of the amounts referred to in clause (10) under "—Interest Proceeds"
                  above to the extent not previously paid in full thereunder and to the extent necessary to
                  cause the Class B Overcollateralization Test to be met as of the related Determination
                  Date on a pro forma basis after giving effect to any payments made through this clause
                  (2);


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        (3)   to the payment of the amounts referred to in clause (13) under "—Interest Proceeds"
              above to the extent not previously paid in full thereunder and to the extent necessary to
              cause the Class C Overcollateralization Test to be met as of the related Determination
              Date on a pro forma basis after giving effect to any payments made through this clause
              (3);

        (4)   to the payment of the amounts referred to in clauses (9) and (11) under "—Interest
              Proceeds" above (and in the same manner and order of priority) to the extent not
              previously paid in full thereunder, only to the extent that all of the Coverage Tests would
              be met on a pro forma basis after giving effect to any payments made through this clause
              (4);

        (5)   to the payment of the amounts referred to in clauses (12) and (14) under "—Interest
              Proceeds" above (and in the same manner and order of priority) to the extent not
              previously paid in full thereunder, only to the extent that all of the Coverage Tests would
              be met on a pro forma basis after giving effect to any payments made through this clause
              (5);

        (6)

              (A)     if the Payment Date is a Redemption Date in the following order of priority: (i) to
                      the payment in the Note Payment Sequence of the Redemption Prices of all of the
                      Notes to be redeemed (with each of the Senior Class A Notes and the Class A-3
                      Notes being redeemed pro rata based upon the outstanding principal amount of
                      the Class A-1a Notes, the Class A-1b Notes and the Class A-1g Notes (in the
                      case of a redemption of the Senior Class A Notes) and the outstanding principal
                      amount of the Class A-3a Notes and the Class A-3b Notes (in the case of a
                      redemption of the Class A-3 Notes)), (ii) to the payment of the amounts referred
                      to in clauses (17) through (22) under "—Interest Proceeds" above (and in the
                      same manner and order of priority) to the extent not previously paid in full
                      thereunder and (iii) to the Preference Shares Paying Agent, on behalf of the
                      Issuer, for deposit into the Preference Shares Distribution Account for payment
                      to the Holders of the Preference Shares of the Redemption Price of any
                      Preference Shares to be redeemed; and

              (B)     if the Payment Date is a Special Redemption Date, to the payment in the Note
                      Payment Sequence of principal of the Notes in an aggregate amount equal to the
                      Special Redemption Amount, in each case until paid in full (with each of the
                      Senior Class A Notes and the Class A-3 Notes being redeemed pro rata based
                      upon the outstanding principal amount of the Class A-1a Notes, the Class A-1b
                      Notes and the Class A-1g Notes (in the case of a redemption of the Senior Class
                      A Notes) and the outstanding principal amount of the Class A-3a Notes and the
                      Class A-3b Notes (in the case of a redemption of the Class A-3 Notes));

        (7)   during the Reinvestment Period, all remaining Principal Proceeds to the acquisition of
              additional Collateral Obligations in accordance with the Indenture (and, until so applied
              (including any related deposit into the Revolving Reserve Account or the Delayed
              Drawdown Reserve Account or the posting by the Issuer of cash collateral with (or for
              the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer's
              purchase of or entry into a Synthetic Security), to be deposited in the Collection Account
              as Principal Proceeds);

        (8)   after the Reinvestment Period, (i) first, at the discretion of the Portfolio Manager (with
              respect to Unscheduled Principal Payments and Sale Proceeds from the sale of Credit

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                 Improved Obligations) to the purchase or funding of substitute Collateral Obligations in
                 accordance with the Eligibility Criteria and the applicable provisions of the Indenture
                 when appropriate Collateral Obligations are available, and until such time, to the
                 Collection Account for the purchase of Eligible Investments; and (ii) second, to the
                 payment in the Note Payment Sequence of principal of Notes until paid in full;

         (9)     to the extent not previously paid in full under clause (6) above, after the Reinvestment
                 Period, to the payment of the amounts referred to in clauses (17) through (22) under "—
                 Interest Proceeds" above (and in the same manner and order of priority) to the extent not
                 previously paid in full thereunder; and

         (10)    after the Reinvestment Period to the Preference Shares Paying Agent, on behalf of the
                 Issuer, for deposit into the Preference Shares Distribution Account for payment to the
                 Holders of the Preference Shares.

         Amounts referred to in clauses (9) and (12) under "—Interest Proceeds" above, to the extent not
 previously paid in full thereunder, will be added to deferred interest for purposes of calculating the
 Coverage Tests in clauses (1), (2) and (3) of this Principal Proceeds order of priority.

         If on any Payment Date the amount available in the Payment Account is insufficient to make the
 full amount of the disbursements required by the Valuation Report, the Trustee shall make the
 disbursements called for in the order and according to the priority under "—Interest Proceeds" and "—
 Principal Proceeds," to the extent funds are available therefor.

         The Trustee shall remit funds to pay Administrative Expenses of the Issuer or the Co-Issuer in
 accordance with the Priority of Payments under "—Interest Proceeds" and "—Principal Proceeds" above,
 to the extent available, to the Issuer, the Co-Issuer as directed and designated in an Issuer Order (which
 may be in the form of standing instructions) delivered to the Trustee no later than the Business Day before
 each Payment Date.

 Class 1 Component Distributions

         On the first Business Day after each Payment Date, the Trustee shall make commercially
 reasonable efforts to sell a portion or all of the Treasury Strip held in the Class 1 Component Account on
 the customary open markets in accordance with customary industry standards. The face amount of the
 Treasury Strip to be sold, if any, on the first Business Day after the relevant Payment Date shall be a
 calculated amount (rounded down to the nearest $1,000) equal to:

                 (1)    the sum of the distributions allocated to the Preference Share Component of the
         Class 1 Composite Securities under clauses (18), (21) and (23) under "—Interest Proceeds" above
         and clauses (6)(A), (9) and (10) under "—Principal Proceeds" above on such Payment Date;
         divided by

                 (2)     one minus the bid-side market price of the Treasury Strip on the first Business
         Day after such Payment Date, expressed as a percentage.

 No portion of the Treasury Strip may be sold, if after its sale, the Class 1 Collateral Principal Balance
 would not be greater than or equal to the Class 1 Composite Security Rated Balance.

          On each Composite Securities Payment Date, the Trustee shall disburse (solely from amounts in
 the Class 1 Component Account attributable to the proceeds from the sale of the Treasury Strip pursuant
 to the preceding paragraph) to the Holders of the Class 1 Composite Securities, pro rata based on their
 share of the Class 1 Composite Security Rated Balance, the proceeds from the sale of the Treasury Strip
 relating to such Composite Securities Payment Date pursuant to the preceding paragraph.


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         On each Composite Securities Payment Date following a redemption pursuant to "Description of
 the Securities—Optional Redemption," the Trustee shall disburse (solely from Class 1 Collateral held in
 the Class 1 Component Account) to the Holders of the Class 1 Composite Securities, pro rata based on
 their share of the Class 1 Composite Security Rated Balance, the Redemption Price of the Class 1
 Component as a distribution in kind of each item of the Class 1 Collateral.

 Termination of the Policy

         The Policy may be terminated on any Payment Date if: (x) after giving effect to all payments to
 be made on such Payment Date, all Accrued Insurance Liabilities and all Administrative Expenses
 payable to the Insurer accrued through the date of termination have been paid and all Premium accrued
 through such Payment Date has been paid and (y) any of the following events has occurred and is
 continuing on such date:

                 (i)     the Co-Issuers have elected to extend the Reinvestment Period as described under
         "—Extension of the Reinvestment Period, the Stated Maturity and the Scheduled Preference
         Shares Redemption Date" and have satisfied all of the requirements related thereto (including
         each of the Extension Conditions), other than obtaining the consent of the Insurer to such
         Extension, and the Insurer has and continues to object to such Extension, and the Holders of
         100% of the Insured Notes (after giving effect to the sale of any Insured Notes which are
         Extension Sale Securities in connection with the proposed Maturity Extension) consent to such
         termination in accordance with the Indenture;

                 (ii)    the Co-Issuers have proposed to enter into a supplemental indenture pursuant to
         the Indenture and have satisfied all of the requirements for the effectiveness thereof and the
         Insurer has and continues to object to such amendment and 100% of the Holders of the Insured
         Notes consent to such termination in accordance with the Indenture; or

                 (iii)  the Removal Buy-Out Purchaser shall have purchased the Insured Notes for the
         applicable Removal Buy-Out Purchase Price as described in "—Removal Buy-Out."

         If none of the conditions set forth in clause (i) through (iii) above are satisfied, the Policy may be
 terminated on any Business Day if 100% of the Holders of the Insured Notes consent to such termination
 in accordance with the Indenture.

          Upon such termination of the Policy, the Note Interest Rate in respect of the Class A-1g Notes
 will be the Step-Up Note Interest Rate.

          If the Issuer or the Holders of at least 25% of the Aggregate Outstanding Amount of the Insured
 Notes wish to solicit the vote of the Holders of the Insured Notes in connection with a proposed
 termination of the Policy pursuant to the Indenture, the Issuer or such Holders shall notify the Trustee at
 least 45 days prior to the proposed termination date (which in the case of a termination pursuant to the
 first paragraph above must be a Payment Date). If the conditions for termination specified above are
 satisfied as of the date of such notice (or are expected to be satisfied as of the proposed date of
 termination), as certified to the Trustee by an Issuer Order, the Trustee shall, promptly upon receipt
 thereof, notify the Issuer (in the case of notice to the Trustee by the requisite Holders of the Insured
 Notes), the Portfolio Manager, and the Insurer and shall send to all Holders of the Insured Notes (with a
 copy to the Issuer, the Portfolio Manager and the Insurer) a notice of proposed termination that shall state:

                 1.       the notice is being sent at the request of the Issuer or certain Holders of the
                          Insured Notes (as applicable) who wish to solicit the vote of the Holders of the
                          Insured Notes in connection with a termination of the Policy pursuant to the
                          Indenture;



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                  2.      a copy of the Issuer Order stating that the proposed termination is pursuant to the
                          Indenture, and any conditions to such proposed termination have been satisfied;

                  3.      the proposed date of termination (which in the case of a termination pursuant to
                          the Indenture must be a Payment Date);

                  4.      that from and after termination of the Policy, the Insured Notes will bear interest
                          at a rate of LIBOR + 0.25% + the Premium Rate; and

                  5.      that if the Policy is terminated, the Insurer shall have no further liability for
                          losses, claims, demands, damages, controversies, losses, costs and expenses of
                          any nature whatsoever, known or unknown, suspected or unsuspected, fixed or
                          contingent, under the Policy as of the date of such termination, whether such
                          losses, claims, demands, damages, controversies, losses, costs and expenses
                          occurred prior to or subsequent to the date of such termination, and whether in
                          connection with an Avoided Payment or other amount that has been paid by the
                          Issuer or the Insurer prior to or after the termination of the Policy and
                          subsequently is required to be returned as a preference or otherwise.

         Each Holder of the Insured Notes that wishes to terminate the Policy must notify the Issuer and
 Trustee in writing of such determination within 10 Business Days after delivery of the notice of proposed
 termination. If the Trustee and the Issuer have not received written notification from all of the Holders of
 the Insured Notes within 10 Business Days of delivery of notice of proposed termination, the solicitation
 of the vote of the Holders of the Notes will be deemed not to have succeeded. The Trustee shall promptly
 forward to the Issuer, the Portfolio Manager and the Insurer the solicitation of votes received from the
 Holders of the Insured Notes. If all Holders of the Insured Notes notify the Issuer and the Trustee that
 they wish to terminate the Policy, the Issuer shall issue an Issuer Order instructing the Trustee to:

                  1.      surrender the Policy to the Insurer for cancellation on the date of termination;

                  2.      promptly notify each Rating Agency of such termination; and

                  3.      execute, acknowledge and deliver (at the expense of Issuer) such other
                          documents or instruments as the Insurer may reasonably request evidencing the
                          termination of the Policy.

 Form, Denomination, Registration and Transfer of the Notes

          The Notes sold in Offshore Transactions may only be sold to non-U.S. Persons in reliance on
 Regulation S. Except as provided below, the Notes sold in reliance on Regulation S will be represented
 by one or more Regulation S Global Notes. The Regulation S Global Notes will be deposited with the
 Trustee as custodian for, and registered in the name of, a nominee of the Depository for the respective
 accounts of the beneficial owners at Euroclear and Clearstream. Beneficial interests in a Regulation S
 Global Note may be held only through Euroclear or Clearstream. Investors may hold their interests in a
 Regulation S Global Note directly through Euroclear or Clearstream, if they are participants in such
 systems, or indirectly through organizations that are participants in such systems. Beneficial interests in a
 Regulation S Global Note may not be held by a U.S. Person at any time. By acquisition of a beneficial
 interest in a Regulation S Global Note, the purchaser thereof will be deemed to represent that it is not a
 U.S. Person and that, if in the future it determines to transfer such beneficial interest, it will transfer such
 interest only to a person whom the seller reasonably believes to be a non-U.S. Person or to a person who
 takes delivery in the form of an interest in a Rule 144A Global Note.

          The Notes sold in non-Offshore Transactions or to U.S. Persons may only be sold to (i) Qualified
 Institutional Buyers and (ii) (A) a Qualified Purchaser or (B) an entity owned exclusively by Qualified


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 Purchasers. Except as provided below, the Notes sold in reliance on Rule 144A to Qualified Institutional
 Buyers and Qualified Purchasers will be represented by one or more permanent Rule 144A Global Notes.
 Investors may hold their interests in the Rule 144A Global Notes directly through the Depository if they
 are the Depository participants, or indirectly through organizations that are the Depository participants.
 The Rule 144A Global Notes will be deposited with the Trustee as custodian for the Depository, and
 registered in the name of a nominee of the Depository.

          Beneficial interests in Notes represented by Global Notes will be subject to certain restrictions on
 transfer set forth therein and in the Indenture and such Global Notes will bear the applicable legends
 regarding the restrictions set forth under "Transfer Restrictions." A beneficial interest in a Regulation S
 Global Note may be transferred to a person who takes delivery in the form of an interest in a Rule 144A
 Global Note only upon receipt by the Trustee of a written certification from (A) the transferor (in the form
 provided in the Indenture) to the effect that the transfer is being made to a person whom the transferor
 reasonably believes is a Qualified Institutional Buyer who is also (i) a Qualified Purchaser or (ii) an entity
 owned exclusively by Qualified Purchasers and in accordance with any applicable securities laws of any
 state of the United States or any other jurisdiction and (B) the transferee (in the form provided in the
 Indenture) to the effect that, among other things, the transferee is both a Qualified Institutional Buyer and
 a Qualified Purchaser. Beneficial interests in the Rule 144A Global Notes may be transferred to a person
 who takes delivery in the form of an interest in a Regulation S Global Note only upon receipt by the
 Trustee of a written certification from (A) the transferor (in the form provided in the Indenture) to the
 effect that the transfer is being made to a non-U.S. Person in an Offshore Transaction in accordance with
 Regulation S and (B) the transferee (in the form provided in the Indenture) to the effect that, among other
 things, the transferee is a non-U.S. Person.

          Any beneficial interest in a Regulation S Global Note that is transferred to a person who takes
 delivery in the form of an interest in a Rule 144A Global Note will, upon transfer, cease to be an interest
 in such Regulation S Global Note and become an interest in the Rule 144A Global Note and, accordingly,
 will thereafter be subject to all transfer restrictions and other procedures applicable to beneficial interests
 in a Rule 144A Global Note for as long as it remains such an interest. Any beneficial interest in a Rule
 144A Global Note that is transferred to a person who takes delivery in the form of an interest in a
 Regulation S Global Note will, upon transfer, cease to be an interest in the Rule 144A Global Note and
 become an interest in the Regulation S Global Note and, accordingly, will thereafter be subject to all
 transfer restrictions and other procedures applicable to beneficial interests in a Regulation S Global Note
 for as long as it remains such an interest. No service charge will be made for any registration of transfer
 or exchange of Notes, but the Issuer or Co-Issuers, as the case may be, or the Trustee may require
 payment of a sum sufficient to cover any tax or other governmental charge payable in connection
 therewith.

         Except in the limited circumstances described in this paragraph, owners of beneficial interests in
 Notes held in the form of Global Notes will not be entitled to receive delivery of certificated Notes. The
 Notes are not issuable in bearer form. A Global Note deposited with the Depository pursuant to the
 Indenture shall be transferred to the beneficial owners thereof only if such transfer complies with the
 Indenture and either (i) the Depository notifies the Co-Issuers that it is unwilling or unable to continue as
 depository for a Global Note or ceases to be a "Clearing Agency" registered under the Exchange Act and a
 successor depository is not appointed by the Issuer within 90 days of such notice or (ii) as a result of any
 amendment to or change in, the laws or regulations of the Cayman Islands or of any authority therein or
 thereof having power to tax or in the interpretation or administration of such laws or regulations which
 become effective on or after the Closing Date, the Issuer or the Paying Agent becomes aware that it is or
 will be required to make any deduction or withholding from any payment in respect of the Notes which
 would not be required if the Notes were in definitive form. In addition, the owner of a beneficial interest
 in a Global Note will be entitled to receive a certificated Note in exchange for such interest if an Event of
 Default has occurred and is continuing. In the event that certificated Notes are not so issued by the Issuer
 to such beneficial owners of interests in Global Notes, the Issuer expressly acknowledges that such
 beneficial owners shall be entitled to pursue any remedy that the holders of a Global Note would be

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 entitled to pursue in accordance with the Indenture (but only to the extent of such beneficial owner's
 interest in the Global Note) as if certificated Notes had been issued. Payments on such certificated Notes
 will be made by wire transfer in immediately available funds to a Dollar-denominated account maintained
 by the owner or, if a wire transfer cannot be effected, by a Dollar check delivered to the owner. See
 "Settlement and Clearing."

        The Notes will be issued in minimum denominations of U.S.$250,000 and integral multiples of
 U.S.$1,000 in excess thereof for each Class of Notes.

 Form, Denomination, Registration and Transfer of the Composite Securities

          Except as provided below, the Composite Securities sold in reliance on Regulation S will be
 represented by one or more Regulation S Global Composite Securities. The Regulation S Global
 Composite Securities will be deposited with the Trustee as custodian for, and registered in the name of, a
 nominee of the Depository for the respective accounts of the beneficial owners at Euroclear and
 Clearstream. Beneficial interests in a Regulation S Global Composite Security may be held only through
 Euroclear or Clearstream. Investors may hold their interests in a Regulation S Global Composite Security
 directly through Euroclear or Clearstream, if they are participants in such systems, or indirectly through
 organizations that are participants in such systems. Beneficial interests in a Regulation S Global
 Composite Security may not be held by a U.S. Person at any time. By acquisition of a beneficial interest
 in a Regulation S Global Composite Security, the purchaser thereof will be deemed to represent that it is
 not a U.S. Person and that, if in the future it determines to transfer such beneficial interest, it will transfer
 such interest only to a person whom the seller reasonably believes to be a non-U.S. Person or to a person
 who takes delivery in the form of an interest in a Regulation S Global Composite Security.

         Composite Securities sold in non-Offshore Transactions or to U.S. Persons may only be sold to
 (i) a Qualified Institutional Buyer or an Accredited Investor who, in either case, is also (ii) (A) a Qualified
 Purchaser or (B) an entity owned exclusively by Qualified Purchasers, and will be issued in the form of
 one or more Certificated Composite Securities.

          Beneficial interests in the Composite Securities will be subject to certain restrictions on transfer
 set forth therein and in the Indenture and the Composite Securities will bear the applicable legends
 regarding the restrictions set forth under "Transfer Restrictions." A beneficial interest in a Regulation S
 Global Composite Security may be transferred only upon (inter alia) receipt by the Trustee of a written
 certification from (A) the transferor (in the form provided in the Indenture) to the effect that the transfer is
 being made to a person whom the transferor reasonably believes is a Qualified Institutional Buyer or an
 Accredited Investor who is also either (i) a Qualified Purchaser or (ii) an entity owned exclusively by
 Qualified Purchasers and in accordance with any applicable securities laws of any state of the United
 States or any other jurisdiction and (B) the transferee (in the form provided in the Indenture) to the effect
 that, among other things, the transferee is (a) a Qualified Institutional Buyer or an Accredited Investor
 who is also, in either case, (i) a Qualified Purchaser or (ii) an entity owned exclusively by Qualified
 Purchasers. Beneficial interests in the Certificated Composite Securities may be transferred to a person
 who takes delivery in the form of an interest in a Regulation S Global Composite Security only upon
 receipt by the Trustee of a written certification from (A) the transferor (in the form provided in the
 Indenture) to the effect that the transfer is being made to a non-U.S. Person in an Offshore Transaction in
 accordance with Regulation S and (B) the transferee (in the form provided in the Indenture) to the effect
 that, among other things, the transferee is a non-U.S. Person.

         Except in the limited circumstances described in this paragraph, owners of beneficial interests in
 Composite Securities held in the form of Regulation S Global Composite Securities will not be entitled to
 receive delivery of certificated Composite Securities. A Regulation S Global Composite Security
 deposited with the Depository pursuant to the Indenture shall be transferred to the beneficial owners
 thereof only if such transfer complies with the Indenture and either (i) the Depository notifies the Co-
 Issuers that it is unwilling or unable to continue as depository for a Regulation S Global Composite

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 Securities or ceases to be a "Clearing Agency" registered under the Exchange Act and a successor
 depository is not appointed by the Issuer within 90 days of such notice or (ii) as a result of any
 amendment to or change in, the laws or regulations of the Cayman Islands or of any authority therein or
 thereof having power to tax or in the interpretation or administration of such laws or regulations which
 become effective on or after the Closing Date, the Issuer or the Paying Agent becomes aware that it is or
 will be required to make any deduction or withholding from any payment in respect of the Composite
 Securities which would not be required if the Composite Securities were in definitive form. Payments on
 such certificated Composite Securities will be made by wire transfer in immediately available funds to a
 Dollar-denominated account maintained by the owner or, if a wire transfer cannot be effected, by a Dollar
 check delivered to the owner. See "Settlement and Clearing."

         The Composite Securities will be issued in minimum denominations of U.S.$100,000 and integral
 multiples of U.S.$1,000 in excess thereof.

 Form, Denomination, Registration and Transfer of the Preference Shares

          In addition to Certificated Preference Shares and except as provided below, the Preference Shares
 sold in reliance on Regulation S may be represented by one or more Regulation S Global Preference
 Shares. The Regulation S Global Preference Shares be deposited with the Trustee as custodian for, and
 registered in the name of, a nominee of the Depository for the respective accounts of the beneficial
 owners at Euroclear and Clearstream. Beneficial interests in a Regulation S Global Preference Share may
 be held only through Euroclear or Clearstream. Investors may hold their interests in a Regulation S
 Global Preference Share directly through Euroclear or Clearstream, if they are participants in such
 systems, or indirectly through organizations that are participants in such systems. Beneficial interests in a
 Regulation S Global Preference Share may not be held by a U.S. Person at any time. By acquisition of a
 beneficial interest in a Regulation S Global Preference Share, the purchaser thereof will be deemed to
 represent that it is not a U.S. Person and that, if in the future it determines to transfer such beneficial
 interest, it will transfer such interest only to a person whom the seller reasonably believes to be a non-
 U.S. Person or to a person who takes delivery in the form of an interest in a Regulation S Global
 Preference Share.

         Preference Shares sold in non-Offshore Transactions or to U.S. Persons may only be sold to (i) a
 Qualified Institutional Buyer or an Accredited Investor who, in either case, is also (ii) (A) a Qualified
 Purchaser, (B) a Knowledgeable Employee or (C) an entity owned exclusively by Qualified Purchasers
 and/or Knowledge Employees, and will be issued in the form of one or more Certificated Preference
 Shares. In addition, Preference Shares sold to non-U.S. Persons in Offshore Transactions in reliance on
 Regulation S may also be issued in the form of one or more Certificated Preference Shares.

          Beneficial interests in the Preference Shares will be subject to certain restrictions on transfer set
 forth therein and in the Preference Share Documents and the Preference Shares will bear the applicable
 legends regarding the restrictions set forth under "Transfer Restrictions." Certificated Preference Shares
 may be transferred only upon (inter alia) receipt by the Preference Shares Paying Agent of a written
 certification (in the form provided in the Preference Share Documents) from the transferee to the effect
 that the transferee is (A) a Qualified Institutional Buyer or an Accredited Investor who is also, in either
 case, (i) a Qualified Purchaser, (ii) a Knowledgeable Employee or (iii) an entity owned exclusively by
 Qualified Purchasers and/or Knowledgeable Employees, and such transfer is being made in accordance
 with any applicable securities laws of any state of the United States or any other jurisdiction or (B) a non-
 U.S. Person and such transfer is being made in an Offshore Transaction in accordance with Regulation S.
 See "Transfer Restrictions."

         Except in the limited circumstances described in this paragraph, owners of beneficial interests in
 Preference Shares held in the form of Regulation S Global Preference Shares will not be entitled to
 receive delivery of certificated Preference Shares. A Regulation S Global Preference Share deposited
 with the Depository pursuant to the Preference Share Documents shall be transferred to the beneficial

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 owners thereof only if such transfer complies with the Preference Share Documents and either (i) the
 Depository notifies the Co-Issuers that it is unwilling or unable to continue as depository for a Regulation S
 Global Preference Share or ceases to be a "Clearing Agency" registered under the Exchange Act and a
 successor depository is not appointed by the Issuer within 90 days of such notice or (ii) as a result of any
 amendment to or change in, the laws or regulations of the Cayman Islands or of any authority therein or
 thereof having power to tax or in the interpretation or administration of such laws or regulations which
 become effective on or after the Closing Date, the Issuer or the Paying Agent becomes aware that it is or
 will be required to make any deduction or withholding from any payment in respect of the Preference
 Shares which would not be required if the Preference Shares were in definitive form. Payments on such
 certificated Preference Shares will be made by wire transfer in immediately available funds to a Dollar-
 denominated account maintained by the owner or, if a wire transfer cannot be effected, by a Dollar check
 delivered to the owner. See "Settlement and Clearing."

         Maples Finance Limited, has been appointed and will serve as the registrar with respect to the
 Preference Shares (the "Share Registrar") and will provide for (inter alia) the registration of the
 Preference Shares and the registration of transfers of the Preference Shares in accordance with the
 Preference Share Documents and the Administration Agreement in the register maintained by it. The
 Preference Shares will be issued in minimum numbers of 100 Preference Shares per investor and integral
 multiples of one Preference Share in excess thereof.

 No Exchange of the Composite Securities

         The Components of the Composite Securities are not separately transferable. For the avoidance
 of doubt, a Holder of a Class 1 Composite Security may not exchange its Class 1 Composite Security for
 proportional interests in the underlying securities represented by the Components thereof.

 The Indenture

         The following summary describes certain provisions of the Indenture. The summary does not
 purport to be complete and is subject to, and qualified in its entirety by reference to, the provisions of the
 Indenture.

         Events of Default

         "Event of Default" is defined in the Indenture as:

                  (a)     a default for four Business Days in the payment of any interest on any Class of
         Notes (determined without giving effect to any payments made under the Policy) that is currently
         part of the Controlling Class when it becomes payable (or in the case of a default in payment due
         to an administrative error or omission by the Trustee, the Irish Listing and Paying Agent or the
         Indenture Registrar, after seven Business Days);

                 (b)     a default in the payment of principal of any Note (and any Make-Whole
         Premium, if applicable) (determined without giving effect to any payments made under the
         Policy) or any distribution with respect to the Class 1 Component under "—Priority of
         Payments—Class 1 Component Distributions," when the same becomes payable, at its Stated
         Maturity or on the Redemption Date;

                (c)     the failure on any Payment Date to disburse amounts available in the Payment
         Account in accordance with the Priority of Payments and the failure continues for 3 Business
         Days;




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                 (d)     on any Measurement Date for so long as any Senior Class A Notes or Class A-2
          Notes are Outstanding, the Overcollateralization Ratio Numerator is less than 102% of the
          Aggregate Outstanding Amount of the Senior Class A Notes and the Class A-2 Notes;

                  (e)    either of the Co-Issuers or the pool of Collateral becomes an investment company
          under the 1940 Act;

                   (f)      breach of any other covenant or other agreement of the Issuer or the Co-Issuer
          under the Indenture (other than any failure to satisfy any of the Collateral Quality Tests, any of
          the Concentration Limitations, any of the Coverage Tests, the Reinvestment Overcollateralization
          Test, or other covenants or agreements for which a specific remedy has been provided under the
          Indenture) in any material respect, or the failure of any representation or warranty of the Issuer or
          the Co-Issuer made in the Indenture or in any certificate or other writing delivered pursuant
          thereto, or in connection therewith, to be correct in any material respect when made, and the
          breach or failure continues for 30 days after either of the Co-Issuers has actual knowledge of it or
          after notice to the Issuer, the Co-Issuer and the Portfolio Manager by the Trustee or to the Issuer,
          the Co-Issuer, the Portfolio Manager and the Trustee by the Holders of at least 25% of the
          Aggregate Outstanding Amount of the Controlling Class by registered or certified mail or
          overnight courier specifying the breach or failure and requiring it to be remedied and stating that
          the notice is a "Notice of Default" under the Indenture;

                  (g)      the entry of a decree or order by a court having competent jurisdiction adjudging
          the Issuer or the Co-Issuer as bankrupt or insolvent, or approving as properly filed a petition
          seeking reorganization, arrangement, adjustment, or composition of the Issuer or the Co-Issuer
          under the Bankruptcy Law or any other applicable law, or appointing a receiver, liquidator,
          assignee, or sequestrator (or other similar official) of the Issuer or the Co-Issuer or of any
          substantial part of its property, or ordering the winding up or liquidation of its affairs, and if the
          decree or order remains unstayed and in effect for 45 consecutive days;

                  (h)      the institution by the shareholders of the Issuer or the Co-Issuer of Proceedings to
          have the Issuer or Co-Issuer, as the case may be, adjudicated as bankrupt or insolvent, or the
          consent by the shareholders of the Issuer or the Co-Issuer to the institution of bankruptcy or
          insolvency Proceedings against the Issuer or Co-Issuer, or the filing by the Issuer or the Co-Issuer
          of a petition or answer or consent seeking reorganization or relief under the Bankruptcy Law or
          any other similar applicable law, or the consent by the Issuer or the Co-Issuer to the filing of any
          such petition or to the appointment of a receiver, liquidator, assignee, trustee, or sequestrator (or
          other similar official) of the Issuer or the Co-Issuer or of any substantial part of its property, or
          the making by the Issuer or the Co-Issuer of an assignment for the benefit of creditors, or the
          admission by the Issuer or the Co-Issuer in writing of its inability to pay its debts generally as
          they become due, or the taking of any action by the Issuer or the Co-Issuer in furtherance of any
          such action;

                  (i)      one or more final judgments is rendered against the Issuer or the Co-Issuer that
          exceed in the aggregate U.S.$2,000,000 (or any lesser amount specified by any Rating Agency)
          and that remain unstayed, undischarged, and unsatisfied for 30 days after the judgments become
          nonappealable, unless adequate funds have been reserved or set aside for their payment, and
          unless (except as otherwise specified in writing by each Rating Agency) the Rating Condition
          with respect to each Rating Agency is satisfied with respect thereon; or

                (j)       the occurrence of an "Event of Default" under (and defined in) the Insurance
          Agreement.

          If an Event of Default is continuing (other than (i) an Event of Default described in clauses (e),
  (g) or (h) under "Events of Default" above or (ii) and Event of Default with respect to the Class 1

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  Component under clause (b) above "—Events of Default"), the Trustee may, and upon the written
  direction of a Majority of the Controlling Class shall, declare the principal of all the Notes and the Class 1
  Component to be immediately payable (and the Class 1 Composite Security Rated Balance shall become
  immediately payable) by notice to the Applicable Issuers, and upon that declaration the unpaid principal
  of all the Notes, together with all its accrued and unpaid interest (and any applicable Defaulted Interest
  Charge), and other amounts payable under the Indenture, shall become immediately payable. The
  Reinvestment Period shall terminate upon a declaration of acceleration (subject to re-commencement as
  described below). If an Event of Default described in clauses (e), (g) or (h) above under "Events of
  Default" occurs, all unpaid principal, together with all its accrued and unpaid interest (and any applicable
  Defaulted Interest Charge), of all the Notes and the Class 1 Component, and other amounts payable under
  the Indenture, shall automatically become payable (and the Class 1 Composite Security Rated Balance
  shall become immediately payable) without any declaration or other act on the part of the Trustee or any
  Noteholder and the Reinvestment Period shall terminate automatically (subject to re-commencement as
  described below). If an Event of Default occurs with respect to the Class 1 Component under clause (b)
  above under "—Events of Default," a Majority of the Holders of the Class 1 Composite Securities may
  declare the Class 1 Component immediately payable by notice to the Issuer and the Class 1 Composite
  Security Rated Balance shall become immediately payable. Payment of the Class 1 Composite Security
  Rated Balance when made shall be made to the Holders of the Class 1 Components as a distribution in
  kind of a pro rata share (based on the Class 1 Composite Security Rated Balance) of each item of the
  Class 1 Collateral.

          At any time after the declaration of acceleration of maturity has been made and before a judgment
  or decree for payment of the money due has been obtained by the Trustee, a Majority of the Controlling
  Class (or a Majority of the Holders of the Class 1 Composite Securities solely in respect of the
  acceleration of the Class 1 Component by the Majority of the Class 1 Component) by written notice to the
  Issuer, the Trustee and the Preference Shares Paying Agent, may rescind the declaration and its
  consequences if:

          (i)     the Issuer or the Co-Issuer has paid or deposited with the Trustee a sum sufficient to pay:

                   (A)    all unpaid installments of interest and principal on the Notes then due or, in the
      case of acceleration of the Class 1 Component by the Majority of the Class 1 Component, all
      distributions with respect to the Class 1 Component under "—Priority of Payments—Class 1
      Component Distributions" (other than as a result of the acceleration);

                  (B)    to the extent that payment of the interest is lawful, interest on any Deferred
      Interest and Defaulted Interest at the Applicable Note Interest Rate or Default Interest Rate, as
      applicable;

                  (C)      all unpaid Accrued Insurance Liabilities and unpaid Premium;

                  (D)     all Administrative Expenses of the Co-Issuers and other sums paid or advanced
      by the Trustee under the Indenture;

                  (E)      all unpaid Senior Management Fees; and

                  (F)      all amounts then payable to any Hedge Counterparty; and




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          (ii)     the Trustee has determined that all Events of Default, other than the nonpayment of the
                   interest on or principal of the Notes or nonpayment of distributions with respect to the
                   Class 1 Component under "—Priority of Payments—Class 1 Component Distributions"
                   that have become due solely by the acceleration, have been (A) cured, and a Majority of
                   the Controlling Class (or a Majority of the Holders of the Class 1 Composite Securities
                   solely in respect of the acceleration of the Class 1 Component) by written notice to the
                   Trustee has agreed with that determination, or (B) waived as provided in the Indenture.

          No rescission shall affect any subsequent Default or impair any right resulting from the Default.

           If an Event of Default is continuing, the Trustee shall retain the Class 1 Collateral intact, collect,
  and cause the collection of the proceeds of the Class 1 Collateral and make and apply all payments and
  deposits and maintain all accounts in respect of the Class 1 Collateral and the Class 1 Components in
  accordance with "—Priority of Payments—Class 1 Component Distributions" and the Indenture and shall
  not sell the Class 1 Collateral in any circumstances unless so directed by all of the Holders of the Class 1
  Composite Securities, in which case the Trustee shall sell the Class 1 Collateral to the Buyer identified by
  such Holders of the Class 1 Composite Securities. If an Event of Default is continuing, the Trustee will
  retain the Collateral intact, collect, and cause the collection of the proceeds of the Collateral and make
  and apply all payments and deposits and maintain all accounts in respect of the Collateral and the Notes
  and any Hedge Agreements (other than amounts received under a Hedge Agreement that are used in
  putting a replacement hedge in place) in the manner described under "—Priority of Payments" and the
  Indenture unless either:

                   (i)      the Trustee determines (bid prices having been obtained with respect to each
          security contained in the Collateral from two nationally recognized dealers (or if there is only one
          dealer, that dealer and if there is no dealer, from a pricing service), selected and specified by the
          Portfolio Manager to the Trustee in writing, at the time making a market in those securities, and
          having computed the anticipated proceeds of sale or liquidation on the basis of the lower of the
          bid prices for each security) that the anticipated net proceeds of a sale or liquidation of the
          Collateral would (after deduction of the reasonable expenses of the sale or liquidation) be
          sufficient to discharge in full the amounts then due and unpaid on the Notes for principal and
          interest (including Defaulted Interest and Deferred Interest and any interest on the Defaulted
          Interest and the Deferred Interest), all Administrative Expenses, all other amounts (if any) then
          payable to the Hedge Counterparty by the Issuer (including any applicable termination payments)
          net of all amounts then payable to the Issuer by the Hedge Counterparty, all amounts owing by
          the Issuer to the Insurer under the Insurance Agreement, and all other amounts then payable under
          clause (3) under "—Priority of Payments—Interest Proceeds," and a Majority of the Controlling
          Class agrees with that determination; or

                   (ii)    the Holders of a Super Majority of each of the Senior Class A Notes, the Class
          A-2 Notes, the Class A-3 Notes, the Class B Notes and the Class C Notes direct the sale and
          liquidation of the Collateral; provided, however, if an Event of Default described in clause (d)
          under "Description of the Securities—Events of Default" occurs and if the Insurer is the
          Controlling Class, the Insurer shall have the sole right to direct the sale and liquidation of the
          Collateral under this clause (ii).

          During the continuance of an Event of Default, a Majority of the Controlling Class or a Majority
  of the Class 1 Composite Securities, as applicable, may institute and direct the Trustee in the conduct of
  any proceedings for any remedy available to the Trustee or for the exercise of any right of the Trustee
  under the Indenture if the direction does not conflict with any rule of law or with any express provision of
  the Indenture and the Trustee has been indemnified to its reasonable satisfaction. Any direction to the
  Trustee to undertake a sale of the Collateral or the Class 1 Collateral shall be by the Holders of Notes or
  the Class 1 Composite Securities representing the requisite percentage of the Aggregate Outstanding
  Amount of the Notes or Class 1 Composite Securities, as applicable, specified in the Indenture. The


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  Trustee need not take any action that it determines might involve it in liability unless it has received an
  indemnity reasonably satisfactory to it against the liability.

           A Majority of the Controlling Class may on behalf of the Holders of all the Notes or all of the
  Holders of the Class 1 Composite Securities, as the case may be, before the time a judgment or decree for
  the payment of money due has been obtained by the Trustee, waive any past Event of Default or event
  that, with notice or the lapse of time or both, would become an Event of Default and its consequences,
  except such a default:

          (i)     in the payment of principal or Redemption Price of any Note or the Class 1 Component,
                  as the case may be, or in the payment of interest (including Defaulted Interest, Deferred
                  Interest, and any interest on Defaulted Interest or Deferred Interest) on the Notes;

          (ii)    with respect to a provision of the Indenture that cannot be modified or amended without
                  the waiver or consent of the Holder of each Outstanding Note or Class 1 Composite
                  Security adversely affected by the modification or amendment;

          (iii)   in the payment of amounts due to the Portfolio Manager, the Trustee, the Insurer or the
                  Hedge Counterparty, which may only be waived with the consent of the affected party; or

          (iv)    arising as a result of an Event of Default described in clause (e), (g) or (h) under
                  "Events of Default."

         No Holder of any Security may institute any proceeding with respect to the Indenture, or for the
  appointment of a receiver or trustee, or for any other remedy under the Indenture, unless:

          (i)     the Holder has previously given to the Trustee written notice of an Event of Default;

          (ii)    the Holders of not less than 25% of the Aggregate Outstanding Amount of the
                  Controlling Class or, in the case of acceleration of the Class 1 Component by the
                  Majority of the Class 1 Component, the Class 1 Components, of the Class 1 Composite
                  Securities shall have made written request to the Trustee to institute Proceedings with
                  respect to the Event of Default in its own name as Trustee under the Indenture and the
                  Holders have offered to the Trustee indemnity satisfactory to it against the expenses and
                  liabilities to be incurred in compliance with the request;

          (iii)   the Trustee for 30 days after its receipt of the notice, request, and offer of indemnity has
                  failed to institute a Proceeding; and

          (iv)    no direction inconsistent with the written request has been given to the Trustee during the
                  30 day period by a Majority of the Controlling Class or, in the case of acceleration of the
                  Class 1 Component by the Majority of the Class 1 Component, the Class 1 Components,
                  of the Class 1 Composite Securities.

          If the Trustee receives conflicting or inconsistent requests and indemnity from two or more
  groups of Holders of the Controlling Class, each representing less than a Majority of the Controlling
  Class, the Trustee shall take the action requested by the Holders of the largest percentage in Aggregate
  Outstanding Amount of the Controlling Class, notwithstanding any other provisions of the Indenture.




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  Supplemental Indentures

          Without Consent of Holders

          Without the consent of the Holders of any Securities, but with the consent of the parties the
  consent of which is required as described in the following paragraph, the Co-Issuers, in each instance
  when authorized by resolutions of the respective Boards of Directors, and the Trustee, at any time and
  from time to time subject to the requirement provided below with respect to receipt of a Rating
  Confirmation, may, and the Insurer shall, if it is not materially and adversely affected thereby (and will be
  bound by a standard of good faith and fair dealing in making such determination) enter into one or more
  indentures supplemental to the Indenture, in form satisfactory to the Trustee, for any of the following
  purposes:

          (1)     to evidence the succession of another person to the Issuer or the Co-Issuer and the
                  assumption by the successor person of the obligations of the Issuer or the Co-Issuer under
                  the Indenture and in the Securities;

          (2)     to add to the covenants of the Co-Issuers or the Trustee for the benefit of the Holders of
                  the Notes and the Composite Securities or to surrender any right in the Indenture
                  conferred on the Co-Issuers;

          (3)     to convey, transfer, assign, mortgage, or pledge any property to the Trustee, or add to the
                  conditions, limitations or restrictions on the authorized amount, terms and purposes of the
                  issue, authentication and delivery of the Notes and the Composite Securities;

          (4)     evidence and provide for the acceptance of appointment under the Indenture by a
                  successor Trustee and to add to or change any of the provisions of the Indenture
                  necessary to facilitate the administration of the trusts under the Indenture by more than
                  one Trustee, pursuant to the requirements of the Indenture;

          (5)     correct or amplify the description of any property at any time subject to the lien of the
                  Indenture, or to better assure, convey, and confirm to the Trustee any property subject or
                  required to be subject to the lien of the Indenture (including all actions appropriate as a
                  result of changes in law) or to subject to the lien of the Indenture any additional property;

          (6)     modify the restrictions on and procedures for resales and other transfers of the Notes and
                  the Composite Securities to reflect any changes in applicable law (or its interpretation) or
                  to enable the Co-Issuers to rely on any less restrictive exemption from registration under
                  the Securities Act or the 1940 Act or to remove restrictions on resale and transfer to the
                  extent not required under the Indenture;

          (7)     with the consent of the Portfolio Manager, to modify the restrictions on the sales of
                  Collateral Obligations described in "Security for the Notes and the Composite
                  SecuritiesSale of Collateral Obligations; Reinvestment of Principal Proceeds and
                  Reinvestment Criteria" or the Eligibility Criteria described in "Security for the Notes and
                  the Composite SecuritiesEligibility Criteria" (and the related definitions) in a manner
                  not materially adverse to the Holders of any Class of Securities as evidenced by an
                  opinion of counsel (which may be supported as to factual (including financial and capital
                  markets) matters by any relevant certificates and other documents necessary or advisable
                  in the judgment of counsel delivering the opinion) or a certificate of an officer of the
                  Portfolio Manager to the effect that the modification would not be materially adverse to
                  the Holders of any Class of Securities;

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        (8)    make appropriate changes for any Class of Securities (other than the Preference Shares)
               to be listed on an exchange other than the Irish Stock Exchange;

        (9)    otherwise to correct any inconsistency or cure any ambiguity or errors in the Indenture;

        (10)   accommodate the issuance of the Notes or Composite Securities in book-entry form
               through the facilities of DTC or otherwise;

        (11)   to take any appropriate action to prevent the Issuer, the Insurer, the Holders of Securities
               or the Trustee from becoming subject to withholding or other taxes, fees, or assessments
               or to prevent the Issuer from being treated as being engaged in a U.S. trade or business or
               otherwise being subject to U.S. federal, state, or local income tax on a net income basis,
               so long as the action will not cause the Insurer or the Holders of any Securities to be
               adversely affected to any material extent by any change to the timing, character, or source
               of the income from the Securities, as evidenced by an opinion of counsel (which may be
               supported as to factual (including financial and capital markets) matters by any relevant
               certificates and other documents necessary or advisable in the judgment of counsel
               delivering the opinion);

        (12)   to authorize the appointment of any listing agent, transfer agent, paying agent, or
               additional registrar for any Class of Notes or Composite Securities appropriate in
               connection with the listing of any Class of Securities (other than the Preference Shares)
               on the Irish Stock Exchange or any other stock exchange, and otherwise to amend the
               Indenture to incorporate any changes required or requested by any governmental
               authority, stock exchange authority, listing agent, transfer agent, paying agent, or
               additional registrar for any Class of Notes or Composite Securities in connection with its
               appointment, so long as the supplemental indenture would not materially and adversely
               affect any Holder of Notes or Composite Securities, as evidenced by an opinion of
               counsel (which may be supported as to factual (including financial and capital markets)
               matters by any relevant certificates and other documents necessary or advisable in the
               judgment of counsel delivering the opinion) or a certificate of an Authorized Officer of
               the Portfolio Manager, to the effect that the modification would not be materially adverse
               to the Holders of any Class of Notes or Composite Securities;

        (13)   to amend, modify, enter into, or accommodate the execution of any contract relating to a
               Synthetic Security (including posting collateral under a Synthetic Security Agreement);

        (14)   to modify certain representations as to Collateral in the Indenture in order that it may be
               consistent with applicable laws or Rating Agency requirements;

        (15)   to evidence any waiver by any Rating Agency as to any requirement or condition, as
               applicable, of the Rating Agency in the Indenture;

        (16)   to facilitate the issuance of participation notes, combination notes, composite securities
               and other similar securities;

        (17)   to facilitate hedging transactions;

        (18)   to facilitate the ability of the Issuer to lend collateral pursuant to a Securities Lending
               Agreement;

        (19)   to modify any provision to facilitate an exchange of one security for another security of
               the same issuers that has substantially identical terms except transfer restrictions,
               including to effect any serial designation relating to the exchange; or


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          (20)    with the consent of the Portfolio Manager, to enter into any additional agreements not
                  expressly prohibited by the Indenture as well as any amendment, modification, or waiver
                  if the Issuer determines that the amendment, modification, or waiver would not, upon or
                  after becoming effective, materially and adversely affect the rights or interest of the
                  Holders of any Class of Securities, as evidenced by an opinion of counsel (which may be
                  supported as to factual (including financial and capital markets) matters by any relevant
                  certificates and other documents necessary or advisable in the judgment of counsel
                  delivering the opinion) or a certificate of an officer of the Portfolio Manager, to the effect
                  that the modification would not be materially adverse to the Holders of any Class of
                  Securities.

           Without the consent of the Portfolio Manager, no supplemental indenture may be entered into that
  would reduce the rights, decrease the fees or other amounts payable to the Portfolio Manager under the
  Indenture or increase the duties or obligations of the Portfolio Manager. The Trustee is authorized to join
  in the execution of any such supplemental indenture and to make any further appropriate agreements and
  stipulations that may be in the agreements, but the Trustee shall not be obligated to enter into any such
  supplemental indenture that affects the Trustee's own rights, duties, liabilities, or immunities under the
  Indenture or otherwise, except to the extent required by law. Unless notified by a Majority of any Class
  of Securities that the Class of Securities would be materially and adversely affected, the Trustee may rely
  on a certificate of the Portfolio Manager and an opinion of counsel (which may be supported as to factual
  (including financial and capital markets) matters by any relevant certificates and other documents
  necessary or advisable in the judgment of counsel delivering the opinion) as to whether the interests of
  any Holder of Securities would be materially and adversely affected by any such supplemental indenture.
  The Trustee shall give at least 15 Business Days' notice of the proposed change to the Holders of the
  Notes and to the Preference Shares Paying Agent (for forwarding to the Holders of the Preference
  Shares).

           If any Outstanding Notes or Composite Securities are rated by a Rating Agency, the Trustee shall
  enter into a supplemental indenture without the consent of Holders only if either (1) the Rating Condition
  with respect to each Rating Agency is satisfied with respect to the supplemental indenture or (2) the
  Portfolio Manager and the Holders of 100% in Aggregate Outstanding Amount of each Class of Notes
  and Composite Securities the ratings on which would be reduced or withdrawn consent to the
  supplemental indenture. Prior to the entry into any supplemental Indenture with respect to which a Rating
  Confirmation for one or more Classes of Notes is not expected to be delivered, the Trustee shall provide
  written notice to each Holder of each Outstanding Note and each Holder of each Outstanding Composite
  Security informing them of such fact.

          For so long as any Notes or Composite Securities are Outstanding and rated by a Rating Agency,
  the Trustee shall provide to the Rating Agency, the Preference Shares Paying Agent (for forwarding to the
  Holders of Preference Shares) and each Hedge Counterparty a copy of any proposed supplemental
  indenture at least 15 Business Days before its execution by the Trustee.

          With Consent of Holders

           If the Rating Condition is satisfied with respect to each Rating Agency, with the consent of (a) the
  Portfolio Manager if the supplemental indenture would reduce the rights, decrease the fees or other
  amounts payable to it under the Indenture or increase the duties or obligations of the Portfolio Manager,
  (b) a Majority of each Class of Notes adversely affected thereby, by Act of the Holders of each such Class
  of Notes, (c) a Majority of the Composite Securities adversely affected thereby, by Act of the Holders of
  the Composite Securities and (d) a Majority of the Preference Shares adversely affected thereby, the
  Trustee, the Insurer and the Co-Issuers may enter into a supplemental indenture to add any provisions to,
  or change in any manner or eliminate any of the provisions of, the Indenture or modify in any manner the
  rights of the Holders of the Notes and the Composite Securities under the Indenture.


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          Any proposed supplemental indenture that would also necessitate a change to the Issuer Charter
  may only be made after a Special Resolution (as defined in the Issuer Charter) has been passed to permit
  the Issuer's constitutional documents to be altered to conform them to the proposed change to the
  Indenture as certified to the Trustee by the Issuer.

          Notwithstanding anything in the Indenture to the contrary, without the consent of the Holder of
  each Outstanding Note adversely affected thereby, the Holder of each Outstanding Composite Security
  adversely affected thereby and the Holder of each Outstanding Preference Share adversely affected
  thereby, no supplemental indenture shall:

                  (i)      change the Stated Maturity of the principal of or the due date of any installment
         of interest on any Note or the Class 1 Component or of any payment to the Preference Shares
         Paying Agent for payment to the Holders of the Preference Shares Interests, reduce its principal
         amount or the rate of interest on it, or the Default Interest Rate or the Redemption Price with
         respect to any Note, the Class 1 Component or Preference Share, or change the earliest date on
         which Notes of any Class or Preference Share may be redeemed at the option of the Issuer,
         change the provisions of the Indenture relating to the application of proceeds of any Collateral to
         the payment of principal of or interest on Notes and the application of proceeds of any Class 1
         Collateral or Preference Share Components corresponding to their related Components, or to
         payment to the Preference Shares Paying Agent for payment to the Holders of the Preference
         Shares, or change any place where, or the coin or currency in which, Notes or their principal or
         interest are paid or impair the right to institute suit for the enforcement of any such payment on or
         after their Stated Maturity (or, in the case of redemption, on or after the applicable Redemption
         Date);

                 (ii)     reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
         of each Class or Composite Securities or Holders of Preference Shares whose consent is required
         for the authorization of any such supplemental indenture or for any waiver of compliance with
         certain provisions of the Indenture or certain defaults under the Indenture or their consequences
         provided for in the Indenture;

                 (iii)    permit the creation of any lien ranking prior to or on a parity with the lien of the
         Indenture with respect to any part of the Collateral or the Class 1 Collateral or terminate the lien
         on any property at any time subject hereto or deprive the Holder of any Note or Composite
         Security of the security afforded by the lien of the Indenture;

                  (iv)    reduce the percentage of the Aggregate Outstanding Amount of Holders of Notes
         of each Class whose consent is required to request the Trustee to preserve the Collateral or the
         percentage of the Aggregate Outstanding Amount of Holders of Class 1 Composite Securities
         whose consent is required to request the Trustee to preserve the Class 1 Collateral or rescind the
         Trustee's election to preserve the Collateral or the Class 1 Collateral, as the case may be, pursuant
         to the Indenture or to sell or liquidate the Collateral or the Class 1 Collateral, as the case may be,
         pursuant to the Indenture;

                 (v)     modify any of the provisions of the Indenture with respect to supplemental
         indentures or to provide that certain other provisions of the Indenture cannot be modified or
         waived without the consent of the Holder of each Outstanding Note, Preference Share and
         Composite Security affected thereby;

                  (vi)   modify the definition of "Outstanding," "Controlling Class," or "Majority," or the
         Priority of Payments in the Indenture; or

                  (vii)   modify any of the provisions of the Indenture in such a manner as to affect the
         calculation of the amount of any payment of Redemption Price or of interest or principal on any


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          Note or the Class 1 Component or any payment to the Preference Shares Paying Agent for the
          payment of dividends or other payments on the Preference Shares on any Payment Date (or, with
          respect to the Preference Share Components, the Composite Securities Payment Date) or to affect
          the rights of the Holders of Notes or Preference Shares or the Holders of the Class 1 Composite
          Securities to the benefit of any provisions for the redemption of the Notes, the Class 1
          Component or the Preference Shares contained in the Indenture.

           Not later than 15 Business Days prior to the execution of any proposed supplemental indenture
  pursuant to the above provision, the Trustee, at the expense of the Co-Issuers, shall mail to the Holders of
  the Notes and the Composite Securities, the Portfolio Manager, the Preference Shares Paying Agent (for
  forwarding to the Holders of Preference Shares) and each Rating Agency (so long as any rated Notes or
  Composite Securities are Outstanding) a copy of such supplemental indenture and shall request any
  required consent from the applicable Holders of Securities to be given within the Initial Consent Period.
  Any consent given to a proposed supplemental indenture by the Holder of any Securities shall be
  irrevocable and binding on all future Holders or beneficial owners of that Security, irrespective of the
  execution date of the supplemental indenture. If the Holders of less than the required percentage of the
  Aggregate Outstanding Amount of the relevant Securities consent to a proposed supplemental indenture
  within the Initial Consent Period, on the first Business Day after the Initial Consent Period, the Trustee
  shall notify the Issuer and the Portfolio Manager which Holders of Securities have consented to the
  proposed supplemental indenture and, which Holders (and, to the extent such information is reasonably
  available to the Trustee, which beneficial owners) have not consented to the proposed supplemental
  indenture. If it intends to exercise its Amendment Buy-Out Option, the Amendment Buy-Out Purchaser
  shall so notify the Trustee (which notice shall designate a date for the Amendment Buy-Out to occur no
  earlier than 10 Business Days after the date of such notice) no later than five (5) Business Days after so
  being notified by the Trustee and the Trustee shall mail such notice to all Holders of Notes and Composite
  Securities and the Preference Shares Paying Agent (for forwarding to the Holders of Preference Shares).
  Any Non-Consenting Holder may give consent to the related proposed supplemental indenture until the
  5th Business Day prior to the date of the Amendment Buy-Out designated by the Amendment Buy-Out
  Purchaser, and in such case shall cease to be a Non-Consenting Holder for purposes of the Amendment
  Buy-Out. If the Amendment Buy-Out Purchaser exercises its Amendment Buy-Out Option and purchases
  the applicable Securities, the Amendment Buy-Out Purchaser, as Holder or beneficial owner of the
  applicable Securities, may consent to the related proposed supplemental indenture within five (5)
  Business Days of the Amendment Buy-Out. In the event that the Insurer does not consent to the related
  proposed supplemental indenture but all of the Holders of the Notes whose consent is required have
  consented to such proposed supplemental indenture, the Holders of the Insured Notes may, pursuant to
  the Indenture and as described in "—Termination of the Policy," terminate the Policy, upon which, the
  consent of the Insurer pursuant to this clause (c) shall no longer be required; provided, however, that no
  such amendment shall (i) affect the rights of the Insurer to be reimbursed for Accrued Insurance
  Liabilities, (ii) decrease the rights of the Insurer or (iii) increase the duties or obligations of the Insurer
  that survive the termination of the Policy.

          It shall not be necessary for any Act of Holders of Notes or Composite Securities under the above
  provision to approve the particular form of any proposed supplemental indenture, but it shall be sufficient
  if the Act or consent approves its substance.

          At the cost of the Co-Issuers, for so long as any Notes or Composite Securities are Outstanding
  and rated by a Rating Agency, the Trustee will provide to the Rating Agency a copy of any proposed
  supplemental indenture at least 15 Business Days before its execution by the Trustee and a copy of the
  executed supplemental indenture will be mailed to the Holders of the Notes and the Composite Securities,
  the Portfolio Manager, the Preference Shares Paying Agent (for forwarding to the Holders of the
  Preference Shares) and each Rating Agency after its execution.




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  Amendment Buy-Out

           In the case of any supplemental indenture that requires the consent of one or more Holders of
  Securities, the Amendment Buy-Out Purchaser shall have the right, but not the obligation, to purchase
  from Non-Consenting Holders all Securities held by such Holders of the Class of Securities whose
  consent was solicited with respect to such supplemental indenture (the "Amendment Buy-Out Option")
  for the applicable Amendment Buy-Out Purchase Price. If such option is exercised, the Amendment Buy-
  Out Purchaser must purchase all such Securities of Non-Consenting Holders, regardless of the applicable
  percentage of the Aggregate Outstanding Amount of the Securities the consent of whose Holders is
  required for such supplemental indenture (an "Amendment Buy-Out"). By its acceptance of its
  Securities under the Indenture, each Holder of Securities agrees that if the Amendment Buy-Out Option is
  exercised, any Non-Consenting Holder will be required to sell its applicable Securities to the Amendment
  Buy-Out Purchaser; provided that, if the solicited consent to a supplemental indenture only applies to one
  Component of a Composite Security, the Non-Consenting Holder will be required to sell, at the Non-
  Consenting Holder's option, its Composite Security as a whole. Neither the Amendment Buy-Out
  Purchaser nor any other Person shall have any liability to any Holder or beneficial owner of Securities as
  a result of an election by the Amendment Buy-Out Purchaser not to exercise the Amendment Buy-Out
  Option.

           All purchases made pursuant to an Amendment Buy-Out Option individually and in the aggregate
  must comply with the applicable transfer restrictions for the relevant Securities set forth in "Transfer
  Restrictions" and all applicable laws, rules and regulations (including, without limitation, any rules,
  regulations and procedures of any securities exchange, self-regulatory organization or clearing agency).

  Removal Buy-Out

          In the case of any proposed removal of the Portfolio Manager relating to the occurrence of an
  Event of Default described in clause (d) under "Events of Default," pursuant to the Management
  Agreement and as described in "The Management Agreement," the Removal Buy-Out Purchaser shall
  have the right, but not the obligation, to purchase from the Holders of the Class A-1g Notes, all Class A-
  1g Notes (the "Removal Buy-Out Option") for the applicable Removal Buy-Out Purchase Price. If such
  option is exercised, the Removal Buy-Out Purchaser must purchase all such Class A-1g Notes, regardless
  of the applicable percentage of the Aggregate Outstanding Amount of the Controlling Class required to
  remove the Portfolio Manager pursuant to the Management Agreement and as described in "The
  Management Agreement" (a "Removal Buy-Out"). By its acceptance of the Class A-1g Notes under the
  Indenture, each Holder of Class A-1g Notes agrees that if the Removal Buy-Out Option is exercised, any
  Holder of Class A-1g Notes will be required to sell its applicable Class A-1g Notes to the Removal Buy-
  Out Purchaser. Neither the Removal Buy-Out Purchaser nor any other Person shall have any liability to
  any Holder or beneficial owner of Class A-1g Notes as a result of an election by the Removal Buy-Out
  Purchaser not to exercise the Removal Buy-Out Option.

           All purchases made pursuant to a Removal Buy-Out Option individually and in the aggregate
  must comply with the applicable transfer restrictions for the Class A-1g Notes set forth in "Transfer
  Restrictions" herein and all applicable laws, rules and regulations (including, without limitation, any
  rules, regulations and procedures of any securities exchange, self-regulatory organization or clearing
  agency).

          Upon the effectiveness of the Removal Buy-Out, the Removal Buy-Out Purchaser shall be
  deemed to have exercised its right, without any further action or notice to any Person, to terminate the
  Policy pursuant to the Indenture and as described in "—Termination of the Policy."




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  Voting Rights of the Preference Shares

           Holders of the Preference Shares will have no voting rights, either general or special, of the
  Issuer, except as set forth in the Preference Share Documents, as required by Cayman Islands law or as
  otherwise described herein.

  Notices

           Notices to the Holders of the Securities will be given by first-class mail, postage prepaid, to the
  registered Holders of the Securities at their respective addresses appearing in the Indenture Register and
  the Preference Shares Paying Agent (for forwarding to the Holders of the Preference Shares). If and for
  so long as any Class of Securities (other than the Preference Shares) is listed on the Irish Stock Exchange
  and the rules of the exchange so require, notice will also be given to the Company Announcements Office
  of the Irish Stock Exchange.

  Certain Covenants

            The Indenture contains certain covenants restricting the conduct of the Co-Issuers, including
  (i) restrictions on consolidations, mergers and transfers or conveyances of assets involving either Co-
  Issuer, (ii) restrictions on incurrence of debt other than the Notes and certain obligations incidental to the
  performance by each Co-Issuer of its obligations under the Indenture, (iii) restrictions on the ability of
  either Co-Issuer to conduct activities inconsistent with its special-purpose nature and (iv) certain
  restrictions on amendments of the Collateral Administration Agreement and the Management Agreement.

  Certain Additional Issues Relating to Listing of Securities

           Application will be made to admit each Class of Securities (other than the Preference Shares) to
  the Daily Official List of the Irish Stock Exchange. There can be no assurance that any such admission
  will be granted or maintained.

          The Indenture provides that, so long as any Notes or the Composite Securities remain
  Outstanding, the Co-Issuers shall use all reasonable efforts to obtain and maintain the listing of the
  Securities (other than the Preference Shares) on the Irish Stock Exchange.

  Cancellation

          All Securities that are paid in full or redeemed and surrendered for cancellation will forthwith be
  canceled and may not be reissued or resold.

  No Gross-Up

          All payments made by the Issuer under the Securities will be made without any deduction or
  withholding for or on account of any tax unless the deduction or withholding is required by any
  applicable law, as modified by the practice of any relevant governmental revenue authority, then in effect.
  If the Issuer is so required to deduct or withhold, then the Issuer will not be obligated to pay any
  additional amounts in respect of the withholding or deduction.

  Petitions for Bankruptcy

           The Indenture provides that the Trustee, the Insurer, each Hedge Counterparty, the Portfolio
  Manager and the Holders of the Notes and the Composite Securities may not cause the Issuer or Co-Issuer
  to petition for bankruptcy before one year and one day have elapsed since the final payments to the
  Holders of all Notes or, if longer, the applicable preference period then in effect, including any period
  established pursuant to the laws of the Cayman Islands.


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  Standard of Conduct

           The Indenture provides that, in exercising any of its or their voting rights, rights to direct and
  consent or any other rights as a Noteholder or Composite Securityholder under the Indenture, subject to
  the terms and conditions of the Indenture, a Noteholder or Composite Securityholder or the Insurer shall
  not have any obligation or duty to any Person or to consider or take into account the interests of any
  Person and shall not be liable to any Person for any action taken by it or them or at its or their direction or
  any failure by it or them to act or to direct that an action be taken, without regard to whether the action or
  inaction benefits or adversely affects any Noteholder or Composite Securityholder, the Issuer, or any
  other Person, except for any liability to which the Noteholder or Composite Securityholder or the Insurer
  may be subject to the extent the same results from the Noteholder's or Composite Securityholder's taking
  or directing an action, or failing to take or direct an action, in bad faith or in violation of the express terms
  of the Indenture.

  Satisfaction and Discharge of Indenture

           The Indenture will be discharged with respect to the Collateral and the Class 1 Collateral upon
  delivery to the Trustee for cancellation of all of the Notes and Composite Securities, or, within certain
  limitations (including the obligation to pay interest on or principal of the Notes and the obligation to make
  payments with respect to the Class 1 Component) upon deposit with the Trustee of funds sufficient for the
  payment or redemption thereof and the payment by the Co-Issuers or the Issuer, as applicable, of all other
  amounts due under the Indenture.

  Trustee

           JPMorgan Chase Bank, National Association, will be the Trustee under the Indenture. The Co-
  Issuers, the Portfolio Manager and their respective Affiliates may maintain other banking relationships in
  the ordinary course of business with the Trustee and its affiliates. The payment of the fees and expenses
  of the Trustee relating to the Notes and the Composite Securities is solely the obligation of the Issuer.
  The payment of the fees and expenses, which will be paid in accordance with the Priority of Payments, is
  secured by a lien on the Collateral which is senior to the lien of the Holders of the Notes and is secured by
  a lien on the Class 1 Collateral which is senior to the lien of the Holders of the Composite Securities
  (solely to the extent of their Class 1 Component). The Trustee and its affiliates may receive
  compensation in connection with the investment of trust assets in certain Eligible Investments as provided
  in the Indenture. Eligible Investments may include investments for which the Trustee or its affiliates
  provide services. The Indenture contains provisions for the indemnification of the Trustee for any loss,
  liability or expense incurred without negligence, willful misconduct or bad faith arising out of or in
  connection with the acceptance or administration of the Indenture.

           Pursuant to the Indenture, as security for the payment by the Issuer of the compensation and
  expenses of the Trustee and any sums the Trustee may be entitled to receive as indemnification by the
  Issuer, the Issuer will grant the Trustee a senior lien on the Collateral, which is senior to the lien of the
  holders of the Secured Obligations on the Collateral.

          Pursuant to the Indenture, the Trustee may resign at any time by providing 30 days' written notice
  and the Trustee may be removed at any time by an Act of a Majority of each Class of Notes, at any time
  when an Event of Default is continuing by a Majority of the Controlling Class, or by order of a court of
  competent jurisdiction. However, no resignation or removal of the Trustee will become effective until the
  acceptance of appointment by a successor Trustee pursuant to the terms of the Indenture.

  Governing Law

        The Notes, the Composite Securities, the Indenture, the Preference Shares Paying Agency
  Agreement, the Management Agreement, the Policy, the Insurance Agreement, the Collateral


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  Administration Agreement, the Purchase Agreement, the Subscription Agreements, the Securities
  Lending Agreements, and the Hedge Agreements will be governed by the laws of the State of New York.
  The Administration Agreement and the Issuer Charter will be governed by the laws of the Cayman
  Islands.

  Method of Payments

           Payments of principal and interest on any Note or payments on or in respect of the Preference
  Shares (including any Redemption Price paid on the applicable Redemption Date) and of any payments
  on any Notes or Preference Shares will be made to the person in whose name the related Note or
  Preference Share is registered fifteen days before the applicable Payment Date (the "Record Date").
  Payments will be made (i) in the case of a Global Security, to the Depository or its designee and to the
  Holder or its nominee with respect to a Certificated Composite Security or a Definitive Security, by wire
  transfer in immediately available funds to a United States dollar account maintained by the Depository or
  its nominee with respect to a Global Security and to the Holder or its designee with respect to a
  Certificated Composite Security or a Definitive Security if the Holder has provided written wiring
  instructions to the Trustee (or, in the case of the Preference Shares, the Preference Share Paying Agent)
  and, if the payment is to be made by the Irish Listing and Paying Agent, the Irish Listing and Paying
  Agent on or before the related Record Date or, (ii) if appropriate wiring instructions are not received by
  the related Record Date, by check drawn on a U.S. bank mailed to the address of the Holder in the
  Indenture Register (or, in the case of the Preference Shares, the Preference Share register). Final
  payments of principal of the Notes, Composite Securities or Preference Shares will be made against
  surrender of the related Notes, Composite Securities or Preference Shares at the office designated by the
  Trustee and the Preference Shares Paying Agent. None of the Issuer, the Co-Issuer, the Trustee, the
  Preference Shares Paying Agent, the Portfolio Manager, the Initial Purchaser, any paying agent, or any of
  their respective affiliates will have any responsibility or liability for any aspects of the records maintained
  by the Depository or its nominee or any of its direct or indirect participants (including Euroclear or
  Clearstream or any of their respective direct or indirect participants) relating to payments made on
  account of beneficial interests in a Global Security.

           The Co-Issuers expect that the Depository or its nominee, upon receipt of any payment of
  principal or interest in respect of a Global Security held by the Depository or its nominee, will
  immediately credit participants' accounts with payments in amounts proportionate to their respective
  beneficial interests in the Global Security as shown on the records of the Depository or its nominee. The
  Co-Issuers also expect that payments by participants (i.e., direct participants) to owners of beneficial
  interests in a Global Security held through the participants (i.e., indirect participants) will be governed by
  standing instructions and customary practices, as is now the case with securities held for the accounts of
  customers registered in the names of nominees for the customers. The payments will be the responsibility
  of the participants.

          For so long as any Securities (other than the Preference Shares) are listed on the Irish Stock
  Exchange and the rules of the exchange shall so require, the Issuer and the Co-Issuers, as applicable, will
  have the Irish Listing and Paying Agent for the Notes in Ireland and payments on the Notes may be
  effected through the Irish Listing and Paying Agent. If the Irish Listing and Paying Agent is replaced at
  any time during the period, notice of the appointment of any replacement will be given to the Company
  Announcements Office of the Irish Stock Exchange.

          The full, complete and timely payment of (i) the Insured Amounts in respect of the Insured Notes
  on each Payment Date and (ii) any Insured Amount which subsequently is avoided in whole or in part as a
  preference payment under applicable law, will be irrevocably and unconditionally guaranteed pursuant to
  the Policy issued by the Insurer. See "The Insurer and the Policy."




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  Preference Shares Paying Agency Agreement

           Pursuant to the Preference Shares Paying Agency Agreement, the Preference Shares Paying
  Agent will perform various fiscal services with respect to the Preference Shares on behalf of the Issuer,
  including the maintenance of the Preference Shares Distribution Account and the making of distributions
  on the Preference Shares. The Preference Shares Paying Agent will deliver or request the Trustee to
  deliver all Monthly Reports and Valuation Reports prepared pursuant to the Indenture to the Holders of
  the Preference Shares, and the Preference Shares Paying Agent will deliver, or shall cause the Trustee or
  the Administrator to deliver, a copy of any other notice or information it receives from the Trustee under
  the Indenture to the Holders of the Preference Shares, in each case by first-class mail, postage prepaid, to
  each holder of a Preference Share at the address appearing in the Preference Share register. The payment
  of the fees and expenses of the Preference Shares Paying Agent is solely the obligation of the Issuer. The
  Preference Shares Paying Agency Agreement contains provisions for the indemnification of the
  Preference Shares Paying Agent for any loss, liability or expense incurred without gross negligence,
  willful misconduct or bad faith on its part, arising out of or in connection with the performance of its
  function under the Preference Shares Paying Agency Agreement.

          On the Scheduled Preference Shares Redemption Date, the Issuer is scheduled to redeem the
  Preference Shares for a redemption price equal to all amounts distributable to the Preference Shares
  Paying Agent for distribution to the Holders of the Preference Shares as provided under "—Priority of
  Payments," unless the Preference Shares have been redeemed earlier through an optional redemption as
  described herein or otherwise.

           The Preference Shares Paying Agency Agreement will be governed by, and construed in
  accordance with, the laws of the State of New York. The rights of the Holders of the Preference Shares
  will be governed by, and construed in accordance with, the laws of the Cayman Islands.

  The Issuer Charter

          The following summary describes certain provisions of the Issuer Charter relating to the
  Preference Shares that are not referred to elsewhere in this Offering Circular.

          Voting Rights

           Other than as provided below, only the holders of the Issuer Ordinary Shares shall have the right
  to receive notice of, attend at and vote as a shareholder of the Issuer at any general meeting of the Issuer.
  Every holder of an Issuer Ordinary Share present at any meeting shall, on a show of hands, be entitled to
  one vote and, on a poll, shall be entitled to one vote per Issuer Ordinary Share held by such holder.

           The Holders of the Preference Shares shall have the right to receive notice of, attend at and vote
  as a shareholder of the Issuer at any general meeting of the Issuer only in respect of a resolution which
  relates to any circumstance or matter which under the Indenture, the Preference Share Documents or the
  Management Agreement can take place or occur only at the direction of the Holders of the Preference
  Shares (a "Preference Share Vote"). Every Holder of Preference Shares present shall, on a show of
  hands, be entitled to one vote and, on a poll, shall be entitled to one vote per Preference Share held by
  such Holder except that, in relation to a Preference Share Vote relating to certain matters (as set out in the
  Indenture) Preference Shares held by certain Holders (as set out in the Indenture), shall be ignored.

          Liquidation

          In the event of any voluntary or involuntary liquidation, dissolution or winding up of the Issuer:

          (i)      the Holders of the Issuer Ordinary Shares at the time outstanding will be entitled to
  receive out of the assets of the Issuer available for distribution to shareholders, before any distribution of


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  assets is made to Holders of the Preference Shares, an amount equal to U.S.$2.00 in respect of each Issuer
  Ordinary Share held by each such holder; and

          (ii)    the Holders of the Preference Shares at the time Outstanding will be entitled to the
  balance of the assets of the Issuer available for distribution to shareholders, after distribution of amounts
  due to holders of Issuer Ordinary Shares under the above subparagraph, pro rata according to the number
  of Preference Shares held by each such holder.

           If the assets available for distribution to holders of the Issuer Ordinary Shares are not sufficient to
  pay to such holders U.S.$2.00 in respect of each Issuer Ordinary Share, the available assets shall be
  distributed to holders of the Issuer Ordinary Shares pro rata according to the number of Issuer Ordinary
  Shares held by each such holder.

          Transfer

           The rights of a Holder of a Preference Share to transfer such Preference Share are subject to
  restrictions set out in the Preference Share Documents and as described in "Transfer Restrictions."

          Petitions for Bankruptcy

          Each Holder of a Preference Share will be required to agree (or be deemed to have agreed) not to
  cause the filing of a petition in bankruptcy or winding up against the Issuer before one year and one day
  have elapsed since the payment in full of the Notes or, if longer, the applicable preference period then in
  effect.

                                             USE OF PROCEEDS
          The Securities will be issued and sold for Cash on the Closing Date. The gross proceeds from the
  issuance of such Securities on the Closing Date are expected to equal approximately U.S.$689,000,000
  and will be used by the Issuer to:

          •   purchase a portfolio of Collateral Obligations;

          •   fund the Revolving Reserve Account and the Delayed Drawdown Reserve Account to cover
              any future draws on Revolving Loans and Delayed Drawdown Loans;

          •   enter into any Hedge Agreements, as applicable;

          •   enter into any Securities Lending Agreements (and correspondingly to fund the Securities
              Lending Account);

          •   enter into Synthetic Security Agreements (and correspondingly to fund the related accounts);

          •   repurchase and terminate Participations outstanding under the Warehouse Agreement (at a
              price reflecting the price originally paid by the Issuer to acquire the Warehoused Loan, plus
              the amount of extensions of credit in respect of certain Warehoused Loans, minus the
              aggregate amount of payments of principal received by the Warehouse Provider in respect of
              such Warehoused Loans (excluding the amount of any such payment that was required to be
              repaid or returned by the Warehouse Provider by claw-back or otherwise), plus all accrued
              and unpaid interest and fees on the Warehoused Loans;

          •   fund the Closing Date Expense Account and the Interest Reserve Account;

          •   purchase the Treasury Strip for deposit into the Class 1 Component Account;



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          •   pay an arrangement and advisory fee to Sumitomo Trust & Banking Co., Ltd.; and

          •   undertake certain related activities.

                SECURITY FOR THE NOTES AND THE COMPOSITE SECURITIES
          The Notes, the Composite Securities and the Issuer's obligations under the Hedge Agreements,
  the Insurance Documents and the Management Agreement will be secured by the following:

                  (i)     the Collateral Obligations and all Workout Assets;

                  (ii)     the Custodial Account, the Collection Account, the Payment Account, the
          Revolving Reserve Account, the Delayed Drawdown Reserve Account, the Interest Reserve
          Account, the Synthetic Security Collateral Account, the Hedge Counterparty Collateral Account,
          the Closing Date Expense Account, the Expense Reimbursement Account and the Securities
          Lending Account (such accounts, collectively, the "Issuer Accounts"), Eligible Investments
          purchased with funds on deposit in the Issuer Accounts, and all income from the investment of
          funds in the Issuer Accounts;

                  (iii)   the Synthetic Security Counterparty Account (and together with the Issuer
          Accounts, the "Accounts") and assets included therein, subject to the terms of the related
          Synthetic Security (provided, however, that any such rights in any Synthetic Security
          Counterparty Account shall be held in trust by the Trustee (or securities intermediary) first to
          secure the Issuer's payment obligations to the relevant Synthetic Security Counterparty and
          second for the benefit of the Secured Parties);

                  (iv)     the Management Agreement, the Securities Lending Agreements, the Hedge
          Agreements as set forth in the Indenture, the Collateral Administration Agreement and, solely for
          the benefit of the Holders of the Class A-1g Notes only, the Insurance Documents to the extent of
          any rights of the Issuer therein;

                  (v)     all Cash or money delivered to the Trustee (or its bailee); and

                  (vi)    all proceeds with respect to the foregoing (collectively, the "Collateral").

          For the avoidance of any doubt, Collateral will exclude (i) amounts released from the Trustee's
  lien in connection with certain Synthetic Securities, Hedge Agreements and Securities Lending
  Agreements in accordance with the Indenture, (ii) the Class 1 Collateral, and (iii) the Excluded Property.

           The Class 1 Composite Securities (to the extent of the Class 1 Component) will be secured by the
  Class 1 Component Account and the Treasury Strip deposited into the Class 1 Component Account and
  all proceeds with respect to the foregoing (collectively, the "Class 1 Collateral").

  Purchase of Collateral Obligations

          The Indenture will provide that the Portfolio Manager will use commercially reasonable efforts to
  cause the Issuer to purchase or enter into binding commitments to purchase Collateral Obligations that
  meet certain minimum amounts and characteristics. The composition of the portfolio of Collateral
  Obligations will be eligible for purchase by the Issuer if it meets the Eligibility Criteria and will be
  determined by the selections of the Portfolio Manager designed to meet the Collateral Quality Tests, the
  Coverage Tests and the Reinvestment Criteria. See "—Eligibility Criteria," "—The Collateral Quality
  Tests" and "—The Coverage Tests."

         The Portfolio Manager expects that, by the end of the Ramp-Up Period, the Issuer will have
  purchased or committed to purchase Collateral Obligations having an Aggregate Principal Balance of

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  approximately $663,000,000 (for the avoidance of doubt, without giving effect to any reductions of that
  amount that may have resulted from scheduled principal payments, principal prepayments or dispositions
  made with respect to any Collateral Obligations on or before the Ramp-Up Completion Date).

  Eligibility Criteria

          On any date during the Reinvestment Period (and, in respect of Principal Proceeds constituting
  Unscheduled Principal Payments and Sale Proceeds from Credit Improved Obligations, on any date after
  the Reinvestment Period), so long as no Event of Default is continuing, at the direction of the Portfolio
  Manager, the Issuer may direct the Trustee to invest or reinvest Principal Proceeds (together with Interest
  Proceeds, but only to the extent used to pay for accrued interest on Collateral Obligations) in Collateral
  Obligations (including any related deposit into the Revolving Reserve Account or the Delayed Drawdown
  Reserve Account or the posting by the Issuer of cash collateral with (or for the benefit of) a Synthetic
  Security Counterparty simultaneously with the Issuer's purchase of or entry into a Synthetic Security) if
  the conditions specified in the Indenture are satisfied. No obligations may be purchased unless each of
  the conditions in the following clauses (1) through (12) (the "Eligibility Criteria") is satisfied as
  evidenced by a certificate of the Portfolio Manager as of the date the Issuer commits to make the
  purchase, in each case after giving effect to the purchase and all other purchases and sales previously or
  simultaneously committed to:

          (1)     the obligation is a Collateral Obligation;

          (2)     for any date occurring during the Reinvestment Period:

                  (A)     each Overcollateralization Test is satisfied and, if the commitment is made on or
                          after the second Payment Date, each Interest Coverage Test is satisfied; or

                  (B)     if any such Coverage Test is not satisfied, both:

                          (i)      the extent of satisfaction of the Coverage Test is not reduced; and

                          (ii)     the Collateral Obligation is being purchased with Principal Proceeds
                                   other than:

                                   (x)     Principal Proceeds received in respect of a Defaulted Collateral
                                           Obligation; or

                                   (y)     Principal Proceeds received in respect of a Workout Asset that
                                           has been received in exchange for a Defaulted Collateral
                                           Obligation;

          (3)     for any date occurring during the Reinvestment Period, the Diversity Test is satisfied or,
                  if not satisfied, the extent of satisfaction is not reduced;

          (4)     for any date occurring during the Reinvestment Period, the Weighted Average Rating
                  Factor Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (5)     for any date occurring during the Reinvestment Period, each of the limits in the definition
                  of "Concentration Limitations" is satisfied or, if any such limit is not satisfied, the extent
                  of satisfaction is not reduced;

          (6)     for any date occurring during the Reinvestment Period, the Weighted Average Spread
                  Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;



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          (7)     for any date occurring during the Reinvestment Period, the Weighted Average Fixed Rate
                  Coupon Test is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (8)     for any date occurring during the Reinvestment Period, the Weighted Average Life Test
                  is satisfied or, if not satisfied, the extent of satisfaction is not reduced;

          (9)     for any date occurring during the Reinvestment Period, the Weighted Average Moody's
                  Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
                  reduced;

          (10)    for any date occurring during the Reinvestment Period, the Weighted Average S&P
                  Recovery Rate Test is satisfied or, if not satisfied, the extent of satisfaction is not
                  reduced;

          (11)    for any date occurring during the Reinvestment Period, the S&P CDO Monitor Test is
                  satisfied or, if not satisfied, the extent of satisfaction is not reduced; provided, however,
                  that this Eligibility Criterion (11) shall not apply either to reinvestment of the proceeds
                  from the sale of a Credit Risk Obligation, Non-Performing Collateral Obligation or
                  Workout Asset or to the reinvestment of Principal Proceeds in respect of Defaulted
                  Collateral Obligations; and

          (12)    for any date occurring after the Reinvestment Period:

                  (A)     each Coverage Test is satisfied and the extent of satisfaction is not reduced;

                  (B)     each Collateral Quality Test is maintained or improved;

                  (C)     each Concentration Limitation is maintained or improved;

                  (D)     the maturity date of such Collateral Obligation will occur prior to the Stated
          Maturity of the Notes; and

                  (E)     the S&P Rating of such Collateral Obligation is at least equal to the S&P Rating
          of the Collateral Obligation being the source of the Unscheduled Principal Payments or of the
          Credit Improved Obligation being the source of Sale Proceeds, as applicable.

          The Issuer may, at the direction of the Portfolio Manager, exchange a Collateral Obligation for
  another Collateral Obligation in an exchange of one security for another security of the same issuers that
  has substantially identical terms except transfer restrictions.

         Cash on deposit in the Collection Account may be invested at any time in Eligible Investments in
  accordance with this "Eligibility Criteria" section pending investment in Collateral Obligations.

          The Indenture provides that any sale or purchase by the Issuer of a Collateral Obligation shall be
  conducted on an arm's length basis and, if effected with the Portfolio Manager or a person Affiliated with
  the Portfolio Manager or any fund or account for which the Portfolio Manager or an Affiliate of the
  Portfolio Manager acts as investment adviser, shall be effected in accordance with the requirements the
  Management Agreement on terms no less favorable to the Issuer than would be the case if the person
  were not so Affiliated.




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  The Collateral Quality Tests

          The Collateral Quality Tests will be used primarily as criteria for purchasing Collateral
  Obligations. See "—Eligibility Criteria" above and "—Sale of Collateral Obligations; Reinvestment of
  Principal Proceeds and Reinvestment Criteria" below. The Collateral Quality Tests are described below.

         Measurement of the degree of compliance with the Collateral Quality Tests will be required on
  each Measurement Date on and after the Ramp-Up Completion Date.

         The Diversity Test

          The "Diversity Test" is a test that will be satisfied on any Measurement Date if the Diversity
  Score as of the Measurement Date equals or exceeds the Minimum Diversity Score.

         Weighted Average Life Test

          The "Weighted Average Life Test" is a that will be satisfied on any Measurement Date if the
  Weighted Average Life on that date of all Collateral Obligations is equal to or less than the number of
  years (including any fraction of a year) between such Measurement Date and March 15, 2014 or, in the
  case of a Maturity Extension, the Extended Weighted Average Life Date.



         Weighted Average Moody's Recovery Rate Test

         The "Weighted Average Moody's Recovery Rate Test" is a test that is satisfied as of any
  Measurement Date if the Moody's Minimum Average Recovery Rate is greater than or equal to 44.5%.

         Weighted Average S&P Recovery Rate Test

         The "Weighted Average S&P Recovery Rate Test" is a test that is satisfied as of any
  Measurement Date if the S&P Minimum Average Recovery Rate is greater than or equal to 49.3%.

         "S&P Minimum Average Recovery Rate" is a rate, as of any Measurement Date, equal to the
  number obtained by:

                 (i)     summing the products obtained by multiplying the Principal Balance of each
         Collateral Obligation by its respective S&P Priority Category Recovery Rate;

                (ii)    dividing the sum determined pursuant to clause (i) above by the sum of the
         Aggregate Principal Balance of all Collateral Obligations; and

                 (iii)   rounding up to the first decimal place.

         Weighted Average Fixed Rate Coupon Test

         The "Weighted Average Fixed Rate Coupon Test" is a test that is satisfied if, as of any
  Measurement Date, the Weighted Average Fixed Rate Coupon equals or exceeds 8.0 %.




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          Weighted Average Spread Test

         The "Weighted Average Spread Test" is a test that is satisfied as of any Measurement Date if
  the Weighted Average Spread as of the Measurement Date equals or exceeds the Minimum Weighted
  Average Spread.

          Weighted Average Rating Factor Test

         The "Weighted Average Rating Factor Test" is a test that is satisfied on any Measurement Date
  if the Weighted Average Moody's Rating Factor of the Collateral Obligations (excluding Eligible
  Investments) as of the Measurement Date is less than or equal to the Maximum Weighted Average
  Moody's Rating Factor.

          S&P CDO Monitor Test

           The "S&P CDO Monitor Test" is a test that will be satisfied on any Measurement Date if, after
  giving effect to the sale of a Collateral Obligation or the purchase of a Collateral Obligation, each Note
  Class Loss Differential of the Proposed Portfolio is positive. The S&P CDO Monitor Test shall be
  considered to be improved if each Note Class Loss Differential of the Proposed Portfolio is at least equal
  to the corresponding Note Class Loss Differential of the Current Portfolio. The S&P CDO Monitor Test
  is not required to be satisfied or improved upon the sale of a Credit Risk Obligation and the reinvestment
  of the related Sale Proceeds in additional Collateral Obligations. For purposes of the S&P CDO Monitor
  Test:

          (i)     the S&P Rating of any S&P Unrated DIP Loan shall be "CCC-"; and

          (ii)    the S&P Industry Classification for a Synthetic Security shall be that of the related
                  Reference Obligation and not the Synthetic Security.

          The "Note Class Loss Differential" with respect to any Measurement Date and any Class of
  Notes that is rated by S&P, the rate calculated by subtracting the Class Scenario Loss Rate for the Class
  from the then-applicable Note Break-Even Loss Rate for the Class of Notes.

          The "Note Break-Even Loss Rate" with respect to each Class of Notes that is rated by S&P, the
  maximum percentage of defaults that the Current Portfolio or Proposed Portfolio can sustain and
  nevertheless sufficient funds will remain for the payment of principal of the Class of Notes in full by its
  Stated Maturity and the timely payment of interest on the Senior Class A Notes, the Class A-2 Notes and
  the Class A-3 Notes and the ultimate payment of interest on the Class B Notes and the Class C Notes
  using S&P's assumptions on recoveries, defaults, and timing, and taking into account the Priority of
  Payments and the adjusted Weighted Average Spread level specified in the applicable row of the table
  below. The adjusted Weighted Average Spread as of any Measurement Date is the Weighted Average
  Spread as of the Measurement Date minus the amount of any Spread Excess added to the Weighted
  Average Fixed Rate Coupon as of the Measurement Date.




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                        Row             Adjusted Weighted Average Spread
                         1                  Greater than or equal to 3.05 %
                         2        Greater than or equal to 2.95% but less than 3.05%
                         3        Greater than or equal to 2.85% but less than 2.95%
                         4        Greater than or equal to 2.75% but less than 2.85%
                         5        Greater than or equal to 2.65% but less than 2.75%
                         6        Greater than or equal to 2.55% but less than 2.65%
                         7        Greater than or equal to 2.45% but less than 2.55%

  The Coverage Tests

          General

           The Coverage Tests will be used to determine, among other things, whether Notes will be
  redeemed in certain circumstances as described under "Description of the Securities—Priority of
  Payments" and whether additional Collateral Obligations may be acquired as described under "—
  Eligibility Criteria." There will not be any Coverage Test applicable to the Composite Securities or the
  Preference Shares.

          The Overcollateralization Tests

          The "Overcollateralization Tests" will consist of the Class A Overcollateralization Test, the
  Class B Overcollateralization Test and the Class C Overcollateralization Test.

          Each Overcollateralization Test will be satisfied with respect to any Class of Notes (treating the
  Senior Class A Notes, the Class A-2 Notes and the Class A-3 Notes as one Class for this purpose) on any
  Measurement Date if, as of such Measurement Date, the Overcollateralization Ratio for the Class is at
  least equal to the specified required level for the Class indicated in the table in "Summary of Terms—The
  Overcollateralization Tests."

           The Overcollateralization Ratio, with respect to each Class of Notes (treating the Senior Class A
  Notes, the Class A-2 Notes and the Class A-3 Notes as one Class for this purpose) on any Measurement
  Date, is referred to as an "Overcollateralization Ratio," and is the ratio calculated by dividing:

          (i)     the Overcollateralization Ratio Numerator; by

          (ii)    the Aggregate Outstanding Amount of the Class of Notes and all Notes ranking senior to
                  it together with any Deferred Interest on the Notes and all Notes ranking senior to it.

          The "Overcollateralization Ratio Numerator" is, on any date, the sum of:

          (1)     the Aggregate Principal Balance of all Collateral Obligations (other than any Excess
                  CCC/Caa Collateral Obligations, any Non-Performing Collateral Obligations, any Deep
                  Discount Obligations, and any Collateral Obligations loaned pursuant to a Securities
                  Lending Agreement with respect to which an "event of default" (under and as defined in
                  the Securities Lending Agreement) is continuing); plus

          (2)     unpaid Accrued Interest Purchased With Principal (excluding any unpaid Accrued
                  Interest Purchased With Principal in respect of Non-Performing Collateral Obligations);
                  plus


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         (3)     the Aggregate Principal Balance of any Eligible Investments that were purchased with
                 Principal Proceeds and the amount of Principal Proceeds on deposit in the Collection
                 Account; plus

         (4)     the Aggregate Principal Balance of Eligible Investments on deposit in a Securities
                 Lending Account that relate to a Securities Lending Agreement with respect to which an
                 "event of default" (under and as defined in the Securities Lending Agreement) is
                 continuing; plus

         (5)     with respect Collateral Obligation that are Non-Performing Collateral Obligations, Deep
                 Discount Obligations or Excess CCC/Caa Collateral Obligations, the amount determined
                 by using one of the following methods applicable to such type of Collateral Obligation;
                 provided that if a Collateral Obligation falls within more than one of such types, the
                 Issuer will be required to use the method that results in the smallest amount:

                 (A)     with respect to any Excess CCC/Caa Collateral Obligations, an amount equal to
                         the product of (i) the lower of (1) 70% and (2) the weighted average Market
                         Value of all CCC/Caa Collateral Obligations, expressed as a percentage of their
                         outstanding principal balances multiplied by (ii) the Excess CCC/Caa Collateral
                         Obligations

                 (B)     with respect to any Non-Performing Collateral Obligations, the aggregate of the
                         Applicable Collateral Obligation Amounts for all included Non-Performing
                         Collateral Obligations (other than Defaulted Collateral Obligations that have
                         been held by the Issuer for more than three years, which shall be deemed to be
                         zero for purposes of this clause (B)); and

                 (C)     with respect to any Deep Discount Obligations, the Aggregate Purchase Price
                         Amount for all Deep Discount Obligations.

          As used in this definition, "Applicable Collateral Obligation Amount" for any Non-Performing
  Collateral Obligation means:

         (1)     the lesser of (x) the Market Value Percentage of the Non-Performing Collateral
                 Obligation and (y) the Applicable Percentage for the Non-Performing Collateral
                 Obligation multiplied by:

         (2)     if the Non-Performing Collateral Obligation is:

                 (A)     any Pledged Obligation other than those in clauses (B) through (D) below, the
                         outstanding principal amount of the Pledged Obligation as of the relevant
                         Measurement Date;

                 (B)     a Synthetic Security, the notional amount specified in the Synthetic Security;

                 (C)     any Revolving Loan or Delayed Drawdown Loan, its Principal Balance including
                         any unfunded amount thereof (regardless of the nature of the contingency
                         relating to the Issuer's obligation to fund the unfunded amount); and

                 (D)     any PIK Security, its Principal Balance.

          As used in the calculation of Market Value Percentage of the Non-Performing Collateral
  Obligation, the Principal Balance of any Defaulted Obligation shall be, if the Defaulted Obligation is:



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          (i)     any Pledged Obligation other than those in clauses (ii) through (iv) below, the
                  outstanding principal amount of the Pledged Obligation as of the relevant Measurement
                  Date;

          (ii)    a Synthetic Security, the notional amount specified in the Synthetic Security;

          (iii)   any Revolving Loan or Delayed Drawdown Loan, its Principal Balance including any
                  unfunded amount thereof (regardless of the nature of the contingency relating to the
                  Issuer's obligation to fund the unfunded amount); and

          (iv)    any PIK Security, its Principal Balance.

          The Interest Coverage Tests

           The Interest Coverage Test in respect of each Class of Notes (each an "Interest Coverage Test")
  is a test the first Measurement Date for which will be on the second Payment Date and that is satisfied
  with respect to any specified Class of Notes (treating the Senior Class A Notes, the Class A-2 Notes and
  the Class A-3 Notes as one Class for this purpose) if, as of the second Payment Date and any
  Measurement Date thereafter on which any Notes remain Outstanding, the Interest Coverage Ratio equals
  or exceeds the applicable required level specified in the table in "Summary of Terms— The Interest
  Coverage Tests."

         The "Interest Coverage Ratio" with respect to any specified Class of Notes (treating the Senior
  Class A Notes, the Class A-2 Notes and the Class A-3 Notes as one Class for this purpose) on any
  Measurement Date, the ratio calculated by dividing:

          (i)     the sum of:

                  (A)     the Interest Proceeds received or scheduled to be received with respect to the Due
                          Period in which the Measurement Date occurs; minus

                  (B)     amounts payable under clauses (1), (2), (3) and (4) of "Description of the
                          Securities—Priority of Payments—Interest Proceeds" on the related Payment
                          Date; by

          (ii)    the sum of:

                  (A)     all accrued and unpaid interest on the specified Class of Notes and all Notes
                          ranking senior to the Class (excluding any Deferred Interest) on the related
                          Payment Date; plus

                  (B)     any accrued and unpaid Premium on the related Payment Date.

          For purposes of the Interest Coverage Ratio, only the amount of any interest payment (including
  any "gross up" payment) on any Collateral Obligation in excess of any withholding tax or other
  deductions on account of tax of any jurisdiction on any date of determination shall be included in Interest
  Proceeds.

          Reinvestment Overcollateralization Test

         The "Reinvestment Overcollateralization Test" is a test that is satisfied as of any Measurement
  Date during the Reinvestment Period on which Class C Notes remain Outstanding, if the Reinvestment
  Overcollateralization Ratio as of such Measurement Date is at least equal to 107.30%.



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  Ramp-Up

          In connection with the Ramp-Up Completion Date, the Issuer shall use its best efforts to purchase
  Collateral Obligations on any Business Day during the Ramp-Up Period or enter into commitments to
  purchase Collateral Obligations on any Business Day during the Ramp-Up Period for purchase on or as
  soon as practicable thereafter (not to exceed 60 days thereafter), in each case, for inclusion in the
  Collateral so that each of the Aggregate Principal Balance of the Collateral Obligations and the
  Overcollateralization Ratio Numerator is at least $663,000,000.

           No Collateral Obligations may be purchased prior to the Ramp-Up Completion Date unless
  immediately following the purchase of any Collateral Obligation (as certified by the Portfolio Manager in
  writing), the remaining funds in the Collection Account, after giving effect to such purchase, are
  sufficient as of the date of determination to purchase Collateral Obligations for inclusion in the Collateral
  so that each of the Aggregate Principal Balance of the Collateral Obligations and the Overcollateralization
  Ratio Numerator is at least $663,000,000 (taking into account the Collateral Obligations already part of
  the Collateral (without giving effect to any reductions of that amount that may have resulted from
  scheduled principal payments, principal prepayments or dispositions made with respect to any Collateral
  Obligations on or before the Ramp-Up Completion Date)).

          Notwithstanding the foregoing, or any other provision of the Indenture, if the Issuer has
  previously entered into a commitment to purchase a Collateral Obligation to be included in the Collateral,
  such commitment initially not to exceed 60 days, and at the time of the commitment the Collateral
  Obligation complied with the definition of "Collateral Obligation" and the requirements set forth under
  "—Ramp-Up," the Issuer may consummate the purchase of the Collateral Obligation notwithstanding that
  the Collateral Obligation fails to comply with the definition of "Collateral Obligation" and the
  requirements set out above on the date of settlement.

          The Issuer will use commercially reasonable efforts to purchase, or to enter into binding
  agreements to purchase, Collateral Obligations by the Ramp-Up Completion Date, that, together with the
  Collateral Obligations purchased on or before the Closing Date and then held by the Issuer, will satisfy, as
  of the Ramp-Up Completion Date (without giving effect to any reductions of that amount that may have
  resulted from scheduled principal payments, principal prepayments or dispositions made with respect to
  any Collateral Obligations on or before the Ramp-Up Completion Date), the Collateral Quality Tests, the
  Concentration Limitations, the criteria set forth in the Indenture and the Overcollateralization Tests.

          On or prior to July 1, 2005, so long as the Ramp-Up Completion Date has not already occurred,
  the Portfolio Manager shall certify by an order of the Portfolio Manager delivered to the Issuer, the
  Trustee and Moody's that, as of such date: (i)(A) the Aggregate Principal Balance of the Collateral
  Obligations owned by the Issuer equals at least $575,000,000, or (B) the Aggregate Principal Balance of
  the Collateral Obligations purchased (or committed to be purchased) by the Issuer with proceeds from the
  sale of the Securities (in each case in this clause (B), measured solely as of the date of purchase or
  commitment, as the case may be) equals at least $575,000,000 (for the avoidance of doubt, without giving
  effect to any reductions of that amount that may have resulted from scheduled principal payments,
  principal prepayments or dispositions made with respect to any Collateral Obligations on or before the
  Ramp-Up Completion Date), (ii) the Diversity Score is equal to at least 45, (iii) the Weighted Average
  Rating Factor Test is satisfied and (iv) each of the Coverage Tests are satisfied. If the Portfolio Manager
  is not able to certify each of the foregoing items, an Interim Ramp-Up Completion Date Failure shall
  occur.

           Within 5 Business Days after the Ramp-Up Completion Date, the Issuer or the Portfolio Manager
  (on behalf of the Issuer) shall request a Rating Confirmation on behalf of the Issuer and shall provide a
  report to the Rating Agencies identifying the Collateral Obligations then included in the Collateral and the
  Issuer shall obtain and deliver to the Trustee and the Rating Agencies, together with the delivery of a



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  report (and an electronic file of the Collateral Obligations to S&P) substantially in the form of a Monthly
  Report as of the Ramp-Up Completion Date, an accountants' certificate:

          (i)      confirming the maturity date, rating, spread and recovery rate for each item of original
  Collateral Obligations owned by the Issuer as of the Ramp-Up Completion Date and the information
  provided by the Issuer with respect to every other asset included in the Collateral, by reference to such
  sources as shall be specified therein;

          (ii)    confirming that as of the Ramp-Up Completion Date:

                  (1)      each of the Coverage Tests are satisfied;

                 (2)     the Aggregate Principal Balance of Collateral Obligations that the Issuer owned
          or committed to purchase as of the Ramp-Up Completion Date is at least equal to the Maximum
          Investment Amount; and

                   (3)   the Collateral Obligations comply with all of the requirements of the Collateral
          Quality Tests and the Concentration Limitations and the criteria set forth in "—Eligibility
          Criteria"; and

           (iii)   specifying the procedures undertaken by them to review data and computations relating
  to the foregoing statements.

          If a Rating Confirmation Failure should occur, the Notes will be redeemed pursuant to the
  Indenture and as described in "Description of the Securities—Mandatory Redemption of the Notes—
  Mandatory Redemption of the Notes upon Rating Confirmation Failure."

  Sale of Collateral Obligations; Reinvestment of Principal Proceeds and Reinvestment Criteria

           Pursuant to the Indenture and so long as no Event of Default has occurred and is continuing, the
  Issuer may, at the direction of the Portfolio Manager, direct the Trustee to sell (and the Trustee will sell)
  any Collateral Obligation or Workout Asset if the sale meets the requirements in paragraphs (i) through
  (ix) below:

          (i)     Credit Risk Securities. At the direction of the Portfolio Manager, the Issuer may direct
                  the Trustee to sell any Credit Risk Obligation at any time during or after the
                  Reinvestment Period without restriction and the Trustee shall sell the Credit Risk
                  Obligation in accordance with such direction. Following any sale of a Credit Risk
                  Obligation pursuant to the Indenture, at the direction of the Portfolio Manager during the
                  Reinvestment Period, the Issuer shall use commercially reasonable efforts to purchase
                  additional Collateral Obligations (to the extent the purchase is in the best interest of the
                  Issuer) with an Aggregate Principal Balance at least equal to the Sale Proceeds received
                  by the Issuer with respect to the Collateral Obligation sold. For this purpose, the
                  Principal Balance of any Revolving Loan or Delayed Drawdown Loan shall only include
                  its funded amount.

          (ii)    Credit Improved Obligations. At the direction of the Portfolio Manager, the Issuer may
                  direct the Trustee to sell any Credit Improved Obligation if either:

                  (1)      during the Reinvestment Period, the Portfolio Manager believes before the sale
                           that it will be able to cause the Issuer to reinvest its Sale Proceeds, in compliance
                           with the Eligibility Criteria, in one or more additional Collateral Obligations with
                           an Aggregate Principal Balance at least equal to the Investment Criteria Adjusted
                           Balance of the Credit Improved Obligation by the end of the immediately


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                        succeeding Due Period (for this purpose, the Principal Balance of any Revolving
                        Loan or Delayed Drawdown Loan shall only include its funded amount and
                        Principal Balance shall include the principal balance of Collateral Obligations in
                        which the Trustee does not have a first priority perfected security interest); or

                (2)     after the Reinvestment Period, the Sale Proceeds received in respect of the Credit
                        Improved Obligation are at least equal to its Investment Criteria Adjusted
                        Balance (for this purpose, the Principal Balance of any Revolving Loan or
                        Delayed Drawdown Loan shall only include its funded amount and Principal
                        Balance shall include the principal balance of Collateral Obligations in which the
                        Trustee does not have a first priority perfected security interest);

                and the Trustee shall sell the Credit Improved Obligation in accordance with such
                direction.

        (iii)   Non-Performing Collateral Obligations and Current-Pay Obligations. At the direction
                of the Portfolio Manager, the Issuer may direct the Trustee to sell any Non-Performing
                Collateral Obligation or Current-Pay Obligation at any time during or after the
                Reinvestment Period without restriction and the Trustee shall sell the Non-Performing
                Collateral Obligation or Current-Pay Obligation in accordance with such direction. Non-
                Performing Collateral Obligations may be sold regardless of price.

        (iv)    Non-qualifying Collateral Obligations. At the direction of the Portfolio Manager, the
                Issuer may direct the Trustee to sell any obligation that at the time of acquisition,
                conversion, or exchange does not satisfy the requirements of a Collateral Obligation at
                any time during or after the Reinvestment Period without restriction and the Trustee shall
                sell that obligation in accordance with such direction.

        (v)     Withholding Tax Sales. At the direction of the Portfolio Manager, the Issuer may direct
                the Trustee to sell any Collateral Obligation subject to withholding tax at any time during
                or after the Reinvestment Period without restriction and the Trustee shall sell the
                Collateral Obligation in accordance with such direction.

        (vi)    Optional Redemption. After the Issuer has notified the Trustee of an Optional
                Redemption of the Notes, at the direction of the Portfolio Manager, the Issuer shall direct
                the Trustee to sell all or a portion of the Collateral Obligations as contemplated therein if
                (A) the requirements in respect of an Optional Redemption under the Indenture have been
                satisfied and (B) the independent certified public accountants appointed pursuant to the
                Indenture have confirmed the calculations contained in any required certificate furnished
                by the Portfolio Manager pursuant to the Indenture's Note redemption procedure
                provisions. After a Majority of the Preference Shares have directed an Optional
                Redemption of the Preference Shares in accordance with the Indenture, at the direction of
                the Portfolio Manager, the Issuer shall direct the Trustee to sell all of the remaining
                Collateral Obligations (in the case of an Optional Redemption pursuant to clause (i)
                under "Description of the Securities—Optional Redemption—Preference Shares") or a
                portion of the remaining Collateral Obligations in accordance with the unanimous
                directions of Holders of the Preference Shares (in the case of an Optional Redemption
                pursuant to clause (ii) under "Description of the Securities—Optional Redemption—
                Preference Shares) and the Trustee shall sell the remaining Collateral Obligations in
                accordance with such direction.

        (vii)   Rating Confirmation Failure. After the Portfolio Manager has received notice of a
                Rating Confirmation Failure and if available Interest Proceeds and Principal Proceeds are
                insufficient to effect the redemption of the Notes at par on any subsequent Payment Date

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                 in accordance with the Priority of Payments as and to the extent necessary for each of
                 Moody's and S&P to confirm the Initial Ratings assigned by it on the Closing Date to the
                 Securities, the Issuer may, at the direction of the Portfolio Manager, direct the Trustee to
                 sell Collateral Obligations as contemplated in the Indenture and the Trustee shall sell the
                 Collateral Obligations in accordance with such direction.

        (viii)   Discretionary Sales. At the direction of the Portfolio Manager, the Issuer may direct the
                 Trustee to sell any Collateral Obligation:

                 (1)     at any time on or before the Ramp-Up Completion Date (without regard to any
                         restriction specified in clause (2) below); and

                 (2)     at any time after the Ramp-Up Completion Date if:

                         (A)     after giving effect to the sale and the sale of any other Collateral
                                 Obligations whose sale is pending, the Aggregate Principal Balance of
                                 all Collateral Obligations sold under "—Discretionary Sales" (in each
                                 case determined as of the date the direction to sell is given) is not greater
                                 than 20% of the Maximum Investment Amount as of January 1 of such
                                 calendar year (or, for the first calendar year, as of the Ramp-Up
                                 Completion Date) (for the purpose of determining the percentage of
                                 Collateral Obligations sold during any such period, the amount of any
                                 Collateral Obligation sold shall be reduced (a) to the extent of any
                                 purchases of Collateral Obligations of the same obligor (which are pari
                                 passu with such sold Collateral Obligation) occurring within 30 Business
                                 Days of the sale (determined based on the date of any relevant trade
                                 confirmation or commitment letter) (but only for so long as (x) the
                                 Collateral Obligations purchased have not been downgraded by any of
                                 the Rating Agencies during the 30 Business Day period, (y) the
                                 Collateral Obligations have not been purchased from the Portfolio
                                 Manager or any of its Affiliates acting, in each case, as principal or from
                                 any funds or accounts advised or managed by the Portfolio Manager or
                                 any of its Affiliates, and (z) the purchase price of each such Collateral
                                 Obligation must not exceed the sale price of the sold Collateral
                                 Obligation) and (b) to the extent of any purchases of Collateral
                                 Obligations permitted pursuant to the second paragraph set forth under
                                 "—Eligibility Criteria"; and

                         (B)     during the Reinvestment Period the Portfolio Manager believes before
                                 the sale that it will be able to cause the Issuer within 30 days thereafter to
                                 reinvest or commit to reinvest its Sale Proceeds, in compliance with the
                                 Eligibility Criteria, in one or more additional Collateral Obligations with
                                 an Aggregate Principal Balance at least equal to the Investment Criteria
                                 Adjusted Balance of the Collateral Obligation (for this purpose, the
                                 Principal Balance of any Revolving Loan or Delayed Drawdown Loan
                                 shall only include its funded amount and Principal Balance shall include
                                 the principal balance of Collateral Obligations in which the Trustee does
                                 not have a first priority perfected security interest);

                 and the Trustee shall sell the Collateral Obligations in accordance with such direction.
                 However, if the rating by Moody's of any of the Senior Class A Notes (without giving
                 effect to the Policy), the Class A-2 Notes or the Class A-3 Notes is one or more rating
                 sub-categories below the Initial Rating of the Senior Class A Notes (without giving effect
                 to the Policy), the Class A-2 Notes or the Class A-3 Notes or has been withdrawn or the

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                   rating by Moody's of the Class B Notes or the Class C Notes is two or more rating sub-
                   categories below the Initial Rating of the Class B Notes or the Class C Notes or has been
                   withdrawn, the Issuer shall not instruct the Trustee to sell any Collateral Obligations
                   pursuant to "—Discretionary Sales." This restriction may be waived by written consent of
                   a Majority of the Controlling Class. For the purposes of this clause (viii), any withdrawal
                   or reduction in rating shall not restrict the sale of any Collateral Obligations pursuant to
                   "—Discretionary Sales" if after the withdrawal or reduction Moody's has upgraded the
                   reduced or withdrawn rating to at least the Initial Rating in the case of the Senior Class A
                   Notes (without giving effect to the Policy), the Class A-2 Notes and the Class A-3 Notes,
                   or to only one subcategory below their Initial Rating in the case of the Class B Notes and
                   the Class C Notes.

          (ix)     Workout Assets. At the direction of the Portfolio Manager, the Issuer may direct the
                   Trustee to sell any Workout Asset at any time during or after the Reinvestment Period
                   without restriction and regardless of price and the Trustee shall sell the Workout Assets
                   in accordance with such direction.

  Certain Determinations Relating to Collateral Obligations

          The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
  for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Portfolio
  Manager on behalf of the Issuer shall be deemed to have purchased any Collateral Obligations as of the
  date on which the Issuer delivers to the Trustee a contract to purchase, a commitment letter, a
  confirmation or a due bill for such Collateral Obligation, in each case entitling the Issuer (or the Trustee
  as assignee thereof) to receive such Collateral Obligations and, in such event, the Issuer shall be deemed
  to have acquired, granted or delivered, as the case may be, such Collateral Obligations on such date.

          The Indenture provides that, notwithstanding anything to the contrary contained therein, solely
  for the purpose of calculations in connection with the Eligibility Criteria, the Issuer or the Portfolio
  Manager on behalf of the Issuer shall be deemed to have sold any Collateral Obligations as of the date on
  which the Issuer delivers to the Trustee a contract to sell, a commitment letter, a confirmation or a due bill
  for such Collateral Obligation, in each case entitling the Issuer (or the Trustee as assignee thereof) to sell,
  and requiring the purchaser to purchase, such Collateral Obligations and, in such event, the Issuer shall be
  deemed to have sold such Collateral Obligations on such date.

           Under the circumstances described in the two preceding paragraphs, if the transaction
  contemplated by the contract, commitment letter, confirmation or due bill referred to therein does not
  settle on or before the 60th day following the scheduled settlement date (the "Deadline"), the deemed
  purchase or sale shall be deemed not to have occurred; provided, however, that the Portfolio Manager
  shall have the right to extend the Deadline for an additional period (not to exceed an additional 60 days)
  by notice to the Trustee, which notice shall include the Portfolio Manager's certification to the effect that
  the Portfolio Manager believes that the settlement shall occur on or before the extended Deadline.

         Scheduled distributions with respect to any Pledged Collateral Obligation shall be determined in
  accordance with the applicable provisions of the Indenture.

  The Accounts

           The Indenture provides that the Trustee will establish separate segregated non-interest bearing
  trust accounts, which will be designated as the Collection Account, the Payment Account, the Custodial
  Account, the Revolving Reserve Account, the Delayed Drawdown Reserve Account, the Synthetic
  Security Collateral Account, the Hedge Counterparty Collateral Account, the Closing Date Expense
  Account, the Expense Reimbursement Account, the Interest Reserve Account, the Policy Payment



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  Account and the Securities Lending Account. In addition, Synthetic Security Counterparty Accounts may
  also be established. Any account may contain any number of subaccounts.

          Collection Account. The Trustee shall deposit into the "Collection Account":

          (i)     any funds transferred from (1) the Closing Date Expense Account pursuant to the
                  Indenture or (2) the Interest Reserve Account pursuant to the Indenture;

          (ii)    all Principal Proceeds (unless (1) simultaneously reinvested in Collateral Obligations in
                  accordance with the Indenture, (2) deposited into the Revolving Reserve Account or the
                  Delayed Drawdown Reserve Account or (3) posted by the Issuer as cash collateral with
                  (or for the benefit of) a Synthetic Security Counterparty simultaneously with the Issuer's
                  purchase of or entry into a Synthetic Security or in Eligible Investments) received by the
                  Trustee;

          (iii)   all Interest Proceeds received by the Trustee (unless simultaneously reinvested in accrued
                  interest in respect of Collateral Obligations in accordance with the Indenture or in
                  Eligible Investments); and

          (iv)    all other funds received by the Trustee and not excluded above.

          The Issuer and the Portfolio Manager may, but will not be required to, jointly deposit from time
  to time any monies in the Collection Account it deems, in its sole discretion, to be advisable (and may
  designate any amounts so deposited as Principal Proceeds or Interest Proceeds in its discretion).

           Any Principal Proceeds received during the Reinvestment Period, and Sale Proceeds from the sale
  of Credit Improved Obligations and Unscheduled Principal Payments received after the Reinvestment
  Period, which have not been reinvested in additional Collateral Obligations on the Business Day of
  receipt shall be deposited in the Collection Account and shall at the direction of the Portfolio Manager be
  applied to the purchase of additional Collateral Obligations in accordance with the Eligibility Criteria and
  the other requirements set forth in the Indenture or the purchase of Eligible Investments pending such
  investment or used to enter into additional Hedge Agreements or used in connection with a Special
  Redemption. Principal Proceeds (other than Sale Proceeds from the sale of Credit Improved Obligations
  and Unscheduled Principal Payments) received after the Reinvestment Period shall be deposited into the
  Collection Account and applied to the purchase of Eligible Investments.

           The Collection Account shall be maintained for the benefit of the Noteholders, the Composite
  Securityholders, the Trustee, the Portfolio Manager and each Hedge Counterparty and amounts on deposit
  in the Collection Account will be available for application in the order of priority under "Description of
  the Securities—Priority of Payments" and for the acquisition of Collateral Obligations under the
  circumstances and pursuant to the requirements in the Indenture. Amounts received in the Collection
  Account during a Due Period and amounts received in prior Due Periods and retained in the Collection
  Account under the circumstances stated above in "Description of the Securities—Priority of Payments"
  will be invested in Eligible Investments with Stated Maturities no later than the Business Day before the
  next Payment Date as directed by the Portfolio Manager (which may be in the form of standing
  instructions). All proceeds deposited in the Collection Account will be retained therein unless used to
  purchase Collateral Obligations during the Reinvestment Period (or, in respect of Principal Proceeds
  constituting Unscheduled Principal Payments and Sale Proceeds from Credit Improved Obligations, after
  the Reinvestment Period) in accordance with the Eligibility Criteria, to honor commitments with respect
  thereto entered into during or after the Reinvestment Period, or used as otherwise permitted under the
  Indenture. See "—Eligibility Criteria."




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         The Trustee shall transfer to the Payment Account from the Collection Account for application
  pursuant to the Priority of Payments, no later than the Business Day preceding each Payment Date, the
  amount set forth to be so transferred in the Valuation Report for the Payment Date.

          At any time during or after the Reinvestment Period, at the direction of the Portfolio Manager, the
  Issuer may direct the Trustee to pay from amounts on deposit in the Collection Account on any Business
  Day during any Interest Period from Interest Proceeds only, any Administrative Expenses that require
  payment before the next Payment Date to the extent that the amount of the payments does not exceed the
  aggregate amount that may be paid on the next payment Date under, and at the level of priority specified
  by, "Description of the Securities—Priority of Payments—Interest Proceeds."

          Custodial Account. The Trustee will from time to time deposit collateral into the "Custodial
  Account", over which the Trustee will have exclusive control and sole right of withdrawal, in accordance
  with the Indenture. All assets or securities at any time on deposit in or otherwise to the credit of the
  Custodial Account will be held in trust by the Trustee for the benefit of the Noteholders, the Composite
  Securityholders, the Trustee, the Portfolio Manager and each Hedge Counterparty.

          Revolving Reserve Account and Delayed Drawdown Reserve Account. Upon the purchase of any
  Collateral Obligation that is a Revolving Loan or Delayed Drawdown Loan, at the direction of the
  Portfolio Manager, the Trustee shall deposit Principal Proceeds into the Revolving Reserve Account," in
  the case of a Revolving Loan, and the Delayed Drawdown Reserve Account," in the case of a Delayed
  Drawdown Loan, each equal to the unfunded commitment amount of the Revolving Loan or Delayed
  Drawdown Loan, respectively, and the Principal Proceeds so deposited shall be considered part of the
  Purchase Price of the Revolving Loan or Delayed Drawdown Loan for purposes of the Indenture. At the
  direction of the Portfolio Manager at any time during or after the Reinvestment Period, the Trustee shall
  withdraw funds from the Revolving Reserve Account or the Delayed Drawdown Reserve Account to fund
  extensions of credit pursuant to Revolving Loans or Delayed Drawdown Loans, respectively. In addition,
  to the extent that the Issuer receives proceeds of a repayment in respect of a Revolving Loan (except to
  the extent of any concurrent commitment reduction) at any time during or after the Reinvestment Period,
  the Trustee shall deposit the proceeds into the Revolving Reserve Account.

          Upon the sale of a Revolving Loan or Delayed Drawdown Loan in whole or in part or the
  reduction in part or termination of the Issuer's commitment thereunder, an amount on deposit in the
  Revolving Reserve Account or the Delayed Drawdown Reserve Account, as the case may be, specified by
  the Portfolio Manager as being equal to (i) the unfunded amount of the commitment (in the case of a sale
  in whole or a termination of the commitment), (ii) the proportionate amount of the amount on deposit (in
  the case of a sale in part) or (iii) the amount by which the commitment is reduced (in the case of a
  reduction thereof in part), shall be transferred by the Trustee to the Collection Account as Principal
  Proceeds.

           Amounts on deposit in the Revolving Reserve Account or the Delayed Drawdown Reserve
  Account will be invested in Eligible Investments with Stated Maturities as directed by the Portfolio
  Manager (which may be in the form of standing instructions) not later than the Business Day after the
  date of their purchase. All interest and other income from amounts in the Revolving Reserve Account
  and the Delayed Drawdown Reserve Account deposited to the Collection Account under the Indenture
  shall be considered Interest Proceeds in the Due Period in which they are so deposited.

           Synthetic Security Collateral Account. On or before the date on which the Issuer enters into a
  Synthetic Security the Trustee shall create a sub-account of the non-interest bearing trust account
  established for Synthetic Security Collateral (the "Synthetic Security Collateral Account") with respect
  to the Synthetic Security. All Synthetic Security Collateral posted by any Synthetic Security
  Counterparty in support of its respective obligation under a Synthetic Security shall be immediately
  deposited into the Synthetic Security Collateral Account and posted to the sub-account related to the
  Synthetic Security. On each day on which amounts are payable to the Issuer out of Synthetic Security

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  Collateral, the Issuer shall direct the Trustee to withdraw amounts on deposit in the Synthetic Security
  Collateral Account in an amount sufficient to make the payment (including any total or partial release of
  Synthetic Security Collateral). The only permitted withdrawal from or application of funds on deposit in,
  or otherwise to the credit of, the Synthetic Security Collateral Account shall be:

          (i)     for application to obligations of the relevant Securities Lending Counterparty to the
                  Issuer under a Securities Lending Agreement if the Securities Lending Agreement
                  becomes subject to early termination or in the exercise of remedies under the related
                  Securities Lending Agreement upon any "event of default" under and as defined in the
                  related Securities Lending Agreement, including liquidating the related Securities
                  Lending Collateral; or

          (ii)    to return the Securities Lending Collateral to the relevant Securities Lending
                  Counterparty when and as required by the relevant Securities Lending Agreement, in
                  each case as directed by the Portfolio Manager.

  Amounts on deposit in the Synthetic Security Collateral Account will be invested in Eligible Investments
  having Stated Maturities not later than one Business Day after their purchase, as directed by the Portfolio
  Manager (which may be in the form of standing instructions), and shall not be considered an asset of the
  Issuer for the purposes of the Coverage Tests.

           Hedge Counterparty Collateral Account. The Trustee will deposit all collateral received from a
  Hedge Counterparty under any Hedge Agreement into the "Hedge Counterparty Collateral Account".
  The only permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of,
  the Hedge Counterparty Collateral Account will be (i) for application to obligations of the relevant Hedge
  Counterparty to the Issuer under a Hedge Agreement if the Hedge Agreement becomes subject to early
  termination or (ii) to return collateral to the relevant Hedge Counterparty when and as required by the
  relevant Hedge Agreement, in each case as directed by the Portfolio Manager. Amounts on deposit in the
  Hedge Counterparty Collateral Account will be invested in Eligible Investments with Stated Maturities no
  later than the Business Day before the next Payment Date as directed by the Portfolio Manager (which
  may be in the form of standing instructions) and shall not be considered an asset of the Issuer for the
  purposes of the Coverage Tests.

          Closing Date Expense Account. Amounts deposited in the "Closing Date Expense Account" on
  the Closing Date will be withdrawn to pay certain administrative expenses of the Co-Issuers. On the
  Payment Date in November 2005, the Trustee shall transfer all funds on deposit in the Closing Date
  Expense Account to the Collection Account as Principal Proceeds and close the Closing Date Expense
  Account. Amounts on deposit in the Closing Date Expense Account shall be invested in Eligible
  Investments with Stated Maturities no later than the Business Day before the second Payment Date as
  directed by the Portfolio Manager (which may be in the form of standing instructions) and shall not be
  considered an asset of the Issuer for the purposes of the Coverage Tests.

          Expense Reimbursement Account. On any Payment Date and on any date between Payment
  Dates, the Trustee will apply amounts, if any, in the "Expense Reimbursement Account" to the payment
  of expenses and fees that must be paid between Payment Dates or that are due on that Payment Date
  under clause (1) of "Description of the Securities—Priority of Payments—Interest Proceeds" and the
  Trustee shall on any Payment Date transfer to the Expense Reimbursement Account an amount equal to
  the excess, if any of the Administrative Expense Cap over the amounts due under clause (1) of
  "Description of the Securities—Priority of Payments—Interest Proceeds" to the Expense Reimbursement
  Account in accordance with clause (2) of "Description of the Securities—Priority of Payments—Interest
  Proceeds." Amounts on deposit in the Expense Reimbursement Account shall be invested in Eligible
  Investments with Stated Maturities as directed by the Portfolio Manager (which may be in the form of
  standing instructions), no later than the Business Day before the next Payment Date.



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           Securities Lending Account. The Trustee will deposit all Securities Lending Collateral posted by
  any Securities Lending Counterparty in support of its respective obligation under a Securities Lending
  Agreement in a non-interest bearing trust account (the "Securities Lending Account"). The only
  permitted withdrawal from or application of funds on deposit in, or otherwise to the credit of, the
  Securities Lending Account will be (i) for application to obligations of the relevant Securities Lending
  Counterparty to the Issuer under a Securities Lending Agreement if the Securities Lending Agreement
  becomes subject to early termination or in the exercise of remedies under the Securities Lending
  Agreement upon any "event of default" under and as defined in the Securities Lending Agreement,
  including liquidating the related Securities Lending Collateral or (ii) to return collateral to the Hedge
  Counterparty when and as required by a Hedge Agreement. Amounts on deposit in the Securities
  Lending Account shall be invested in Eligible Investments with Stated Maturities as directed by the
  Portfolio Manager (which may be in the form of standing instructions) no later than the Business Day
  before the next Payment Date. Amounts on deposit in the Securities Lending Account shall not be
  considered an asset of the Issuer for the purposes of the Coverage Tests, but the loaned security or asset
  that relates to the Securities Lending Account shall be so considered an asset of the Issuer.

           Payment Account. The Trustee will deposit collateral into the "Payment Account", over which
  the Trustee will have exclusive control and sole right of withdrawal, in accordance with the Indenture.
  All assets or securities at any time on deposit in or otherwise to the credit of the Payment Account will be
  held in trust by the Trustee for the benefit of the Noteholders, the Composite Securityholders, the Trustee,
  the Portfolio Manager, and each Hedge Counterparty. The only permitted withdrawal from or application
  of funds on deposit in, or otherwise to the credit of, the Payment Account shall be to pay amounts due and
  payable on the Notes and to pay Administrative Expenses, Premium, Accrued Insurance Liabilities and
  other amounts specified in the Indenture, each in accordance with the Priority of Payments.

           Interest Reserve Account. Amounts deposited in the "Interest Reserve Account", on the Closing
  Date will be withdrawn to pay amounts necessary such that the amounts referred to in clauses (1) through
  (14) of "Description of the Securities—Priority of Payments—Interest Proceeds" will be paid in full on
  each Payment Date occurring on or before the Payment Date in November 2005. On the Payment Date in
  November 2005, the Trustee shall transfer all funds on deposit in the Interest Reserve Account to the
  Collection Account as Principal Proceeds and close the Interest Reserve Account. Amounts on deposit in
  the Interest Reserve Account shall be invested in Eligible Investments with Stated Maturities as directed
  by the Portfolio Manager (which may be in the form of standing instructions), no later than the Business
  Day before the second Payment Date.

           Synthetic Security Counterparty Account. To the extent that any Synthetic Security requires the
  Issuer to secure its obligations to the Synthetic Security Counterparty, the Issuer shall direct the Trustee
  and the Trustee shall establish a segregated non-interest bearing trust account (the "Synthetic Security
  Counterparty Account") for the Synthetic Security which shall be held in trust for the benefit of the
  related Synthetic Security Counterparty and over which the Trustee shall have exclusive control and the
  sole right of withdrawal in accordance with the applicable Synthetic Security and the Indenture. In the
  alternative, a Synthetic Security Counterparty Account may be established with a trustee designated by
  the Synthetic Security Counterparty that satisfies the requirements with respect to being a securities
  intermediary with respect to the posted collateral if that trustee would qualify to be a successor trustee
  under the Indenture and the account satisfies the other requirements of a Synthetic Security Counterparty
  Account under the Indenture.

           As directed in writing by the Portfolio Manager, the Trustee shall deposit (or deliver for deposit)
  into each Synthetic Security Counterparty Account all amounts or securities that are required to secure the
  obligations of the Issuer in accordance with the related Synthetic Security, including the entire notional
  amount of any Synthetic Security in the form of a credit default swap or other similar transaction. The
  Portfolio Manager shall direct any such deposit only during the Reinvestment Period and only to the
  extent that monies are available for the purchase of Collateral Obligations pursuant to the Indenture. Any
  income received on amounts in the Synthetic Security Counterparty Account shall, after application in

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  accordance with the relevant Synthetic Security, be withdrawn from the Synthetic Security Counterparty
  Account and deposited in the Collection Account for distribution as Interest Proceeds.

          As directed by the Portfolio Manager in writing and in accordance with the applicable Synthetic
  Security and the Indenture, amounts on deposit in a Synthetic Security Counterparty Account shall be
  invested in Synthetic Security Collateral.

           In connection with the occurrence of a credit event or an event of default or a termination event
  (each as defined in the applicable Synthetic Security) under the related Synthetic Security, amounts in any
  Synthetic Security Counterparty Account shall be withdrawn by the Trustee (or the Trustee shall request
  their withdrawal) and applied toward the payment of any amounts payable by the Issuer to the related
  Synthetic Security Counterparty in accordance with the Synthetic Security, as directed by the Portfolio
  Manager in writing. Any excess amounts held in a Synthetic Security Counterparty Account, or held
  directly by a Synthetic Security Counterparty, after payment of all amounts owing from the Issuer to the
  related Synthetic Security Counterparty in accordance with the related Synthetic Security shall be
  withdrawn from the Synthetic Security Counterparty Account and deposited in the Collection Account for
  distribution as Principal Proceeds.

          Amounts on deposit in any Synthetic Security Counterparty Account shall not be considered an
  asset of the Issuer for the purposes of the Coverage Tests, but the Synthetic Security that relates to the
  Synthetic Security Counterparty Account shall be so considered an asset of the Issuer (with the notional
  amount as the Principal Balance unless a default exists under the applicable Synthetic Security).

           Class 1 Component Account. Before the Closing Date, the Trustee shall establish a single,
  segregated non-interest bearing trust account (the "Class 1 Component Account") that shall be held in
  trust in the name of the Trustee for the benefit of the Holders of the Class 1 Composite Securities, over
  which the Trustee shall have exclusive control and the sole right of withdrawal, and into which the
  Trustee shall deposit the United States Treasury strip security maturing on November 15, 2016 paying a
  principal amount at maturity equal to the original principal amount of the Class 1 Composite Securities
  specified in "Summary of Terms—Principal Terms of the Securities" (the "Treasury Strip"), which
  Treasury Strip shall be delivered to the Trustee by the Issuer on the Closing Date. All assets or securities
  at any time on deposit in, or otherwise to the credit of, the Class 1 Component Account shall be held in
  trust by the Trustee for the benefit of the Holders of the Class 1 Composite Securities. The only
  permitted withdrawals from the Class 1 Component Account shall be in accordance with the Indenture.
  None of the Co-Issuers, the Noteholders, the Holders of Preference Shares (other than the Holders of the
  Class 1 Composite Securities, to the extent of their Preference Share Components) or any other Secured
  Party shall have any legal, equitable, or beneficial interest in the Class 1 Component Account.

           Policy Payment Account. The Trustee shall deposit all amounts received from the Insurer under
  the Policy in the "Policy Payment Account", over which the Trustee will have exclusive control and sole
  right of withdrawal, in accordance with the Indenture. Amounts held in the Policy Payment Account shall
  not be invested, unless otherwise instructed in writing by the Insurer. The only permitted withdrawal
  from or application of funds on deposit in, or otherwise to the credit of, the Policy Payment Account shall
  be to make payments in respect of the amounts due on the Insured Notes on the related Payment Date in
  respect of which such funds are paid, to the extent such amounts are not paid pursuant to the Priority of
  Payments. Any monies held in the Policy Payment Account after the distributions made pursuant to the

  Indenture on any Payment Date shall promptly be remitted (but in no event later than two Business Days
  after such Payment Date) to the Insurer.

  Hedge Agreements

          At any time and from time to time after the Closing Date, the Issuer, at the direction of the
  Portfolio Manager, shall enter into the Hedge Agreements and shall assign its rights (but none of its


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  obligations) under the Hedge Agreements to the Trustee pursuant to the Indenture and the collateral
  assignment of Hedge Agreements. The Portfolio Manager, on behalf of the Issuer, shall obtain the
  approval of each new Hedge Agreement from each Hedge Counterparty to a then-existing Hedge
  Agreement. The Trustee shall, on behalf of the Issuer and in accordance with the Valuation Report, pay
  amounts due to the Hedge Counterparties under the Hedge Agreements on any Payment Date in
  accordance with the Priority of Payments.

           Each Hedge Counterparty will be required to have (i) a debt rating by Moody's for long-term debt
  of "Aa3" (which rating of "Aa3" is not on credit watch for a possible downgrade) or higher if the Hedge
  Counterparty has only a long-term rating; or a debt rating by Moody's for long-term debt of "A1" (which
  rating of "A1" is not on credit watch for possible downgrade) or higher and a debt rating by Moody's for
  short-term debt of "P-1" (which rating of "P-1" is not on credit watch for possible downgrade) if the
  Hedge Counterparty has both long-term and short-term ratings and (ii) a short-term debt rating by S&P of
  not less than "A-1" or a long-term debt rating of not less than "A+" (the "Required Rating").

          If at any time a Hedge Counterparty has:

          (A)     no short-term Moody's rating and a long-term Moody's rating and that rating is below
                  "Aa3" or is "Aa3" and has been placed on credit watch for possible downgrade by
                  Moody's; or

          (B)     both a short-term and long-term Moody's rating; and either:

                          (i)     the long-term Moody's rating is below "A1" or that rating is "A1" and
                                  has been placed on credit watch for possible downgrade by Moody's, or

                          (ii)    the short-term Moody's rating is below "P-1" or that rating is "P-1" and
                                  has been placed on credit watch for possible downgrade by Moody's;

                  then the Hedge Counterparty shall be required, at its sole expense, to, within 30 days,
                  either:

                          (i)     post collateral with the Trustee to secure the Hedge Counterparty's
                                  obligations under the Hedge Agreement, in an amount and of the type
                                  sufficient to cause the Rating Condition with respect to Moody's to be
                                  satisfied;

                          (ii)    obtain a guarantor whose short-term and long-term debt ratings equal or
                                  exceed the above criteria;

                          (iii)   replace itself under the related or substantially equivalent Hedge
                                  Agreement with a substitute Hedge Counterparty whose short-term and
                                  long-term debt ratings equal or exceed the above criteria; or

                          (iv)    take other actions to satisfy the Rating Condition with respect to
                                  Moody's.

          If at any time the Hedge Counterparty has:

          (A)     no short-term Moody's rating and a long-term Moody's rating that is "A2" or below or has
                  been suspended or withdrawn;

          (B)     both a short-term and long-term Moody's rating; and either:



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                          (i)      the long-term Moody's rating is "A3" or below or is suspended or
                                   withdrawn; or

                          (ii)     the short-term Moody's rating is "P-2" or below; or

          (C)     a short-term debt rating by S&P below "A-1" or, if the Hedge Counterparty has no short-
                  term rating by S&P, a long-term rating by S&P below "A+" or that has been suspended
                  or withdrawn;

          then the Hedge Counterparty shall be required, at its sole expense, to, within 30 days, either:

                  (i)     post collateral as required by the Hedge Agreement to secure the Hedge
                          Counterparty's obligations under the Hedge Agreement in an amount and of the
                          type sufficient to cause the Rating Condition with respect to Moody's and S&P to
                          be satisfied; or

                  (ii)    (x) obtain a guarantor that has a Required Rating and that will satisfy the Rating
                          Condition with respect to S&P with respect to its appointment; (y) replace itself
                          under the related or substantially equivalent Hedge Agreement with a substitute
                          Hedge Counterparty that has a Required Rating and the appointment of which
                          will satisfy the Rating Condition with respect to S&P; or (z) take such other
                          actions to satisfy the Ratings Condition.

          Any payments required to be made under the Hedge Agreements shall be made in accordance
  with the Priority of Payments. Hedge termination payments shall be subordinate to interest and principal
  payments on the Notes and any other payments required to be made by the Issuer under the Hedge
  Agreements, but senior distributions to Holders of the Preference Shares pursuant to the Indenture.

           Unless the Rating Condition with respect to each Rating Agency is otherwise satisfied, following
  the early termination of a Hedge Agreement (other than on a Redemption Date) the Issuer, at the direction
  of the Portfolio Manager, shall promptly (but no later than 60 days after the early termination), at the
  expense of the Issuer and to the extent possible through Hedge Termination Receipts, enter into a
  replacement hedge, unless, in the exercise of the Portfolio Manager's commercially reasonable judgment,
  to do so would not be in the best interest of the Issuer and the Rating Condition with respect to each
  Rating Agency is satisfied with respect to not entering into a replacement hedge. In addition, a
  replacement hedge may not be entered into unless the Issuer provides the Rating Agencies with at least
  seven Business Days' prior written notice of its intention to enter into a replacement hedge, together with
  its form and the Rating Condition with respect to each Rating Agency is satisfied with respect to the
  replacement hedge. The Issuer shall use commercially reasonable efforts to cause the termination of a
  Hedge Agreement (other than a termination resulting from the bankruptcy, insolvency, or similar event
  with respect to the Hedge Counterparty) to become effective simultaneously with its entering into a
  replacement hedge. To the extent that (i) the Portfolio Manager determines not to replace the Hedge
  Agreement and the Rating Condition with respect to each Rating Agency is satisfied with respect to the
  determination; or (ii) termination is occurring on a Redemption Date, the Hedge Termination Receipts
  shall become part of Principal Proceeds and be distributed in accordance with the Priority of Payments on
  the next following Payment Date (or on the Redemption Date, if the Notes are redeemed on the
  Redemption Date).

          The notional amounts of the Hedge Agreements outstanding at any time may be reduced or
  increased from time to time, by the Issuer, and the Hedge Agreements may be amended, modified, or
  terminated in accordance with the Hedge Agreements if the Rating Condition with respect to each Rating
  Agency is satisfied with respect to the reduction, increase, amendment, modification, or termination, as
  the case may be.



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          Each Hedge Agreement may be terminated pursuant to its terms upon an Optional Redemption of
  the Notes or an acceleration of maturity of the Notes after an Event of Default. The Hedge Agreement
  will not be permitted to be terminated as the result of a Default or Event of Default unless any
  acceleration of maturity of the Notes resulting from the Event of Default is no longer permitted to be
  rescinded pursuant to the Indenture.

           Except for Hedge Agreements entered into on or before the Closing Date, the Issuer shall not
  enter into any Hedge Agreement unless the Rating Condition with respect to each Rating Agency is
  satisfied.

  Securities Lending

          The Indenture permits the Issuer to engage in a limited number of securities lending transactions
  as described below.

            The Portfolio Manager may instruct the Trustee to cause Collateral Obligations that are not
  Defaulted Collateral Obligations to be lent for a term of 90 days or less to banks, broker-dealers, and
  other financial institutions (other than insurance companies) having long-term and short-term senior
  unsecured debt ratings or guarantors with ratings of at least "A1" (and not "A1" but on credit watch with
  negative implications) and "P-1" (and not on credit watch for possible downgrade) from Moody's and a
  long-term senior unsecured debt rating of at least "A" from S&P (each, a "Securities Lending
  Counterparty") pursuant to one or more agreements (each, a "Securities Lending Agreement");
  provided that Collateral Obligations the Market Value of which cannot be determined under clause (i), (ii)
  or (iii) of that definition may not be lent pursuant to a Securities Lending Agreement. Upon receipt of an
  Issuer Order, the Trustee shall release any lent Collateral Obligations to a Securities Lending
  Counterparty as directed by the Portfolio Manager. The Securities Lending Counterparties may be
  Affiliates of the Initial Purchaser or Affiliates of the Portfolio Manager. The duration of any Securities
  Lending Agreement shall not exceed the Stated Maturity of the Notes. Collateral Obligations
  representing no more than 15% (measured by Aggregate Principal Balance) of the Maximum Investment
  Amount may be loaned pursuant to Securities Lending Agreements at any time.

        Each Securities Lending Agreement shall be on market terms as determined by the Portfolio
  Manager (except to the extent specified in the Indenture) and shall:

          (i)     require that the Securities Lending Counterparty return to the Issuer debt obligations that
                  are identical (in terms of issue and class) to the lent Collateral Obligations;

          (ii)    require that the Securities Lending Counterparty pay to the Issuer amounts equivalent to
                  all interest and other payments that the owner of the lent Collateral Obligation is entitled
                  to for the period during which the Collateral Obligation is lent and require that any such
                  payments not be subject to withholding tax imposed by any jurisdiction unless the
                  Securities Lending Counterparty is required under the Securities Lending Agreement to
                  make "gross-up" payments to the Issuer that cover the full amount of the withholding tax
                  on an after-tax basis;

          (iii)   require that the Rating Condition with respect to each Rating Agency shall be satisfied
                  with respect to the execution of the Securities Lending Agreement;

          (iv)    satisfy any other requirements of Section 1058 of the Code and the Treasury Regulations
                  promulgated under it;

          (v)     be governed by the laws of New York;




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        (vi)     permit the Issuer to assign its rights under the Securities Lending Agreement to the
                 Trustee pursuant to the Indenture;

        (vii)    provide for early termination and the delivery of any lent Collateral Obligation with no
                 penalty if the Collateral Obligation becomes a Credit Risk Obligation or is subject to
                 redemption in accordance with its terms;

        (viii)   provide for early termination and the delivery of any lent Collateral Obligation with no
                 penalty upon any redemption of the Notes or Composite Securities in whole;

        (ix)     require the Securities Lending Counterparty to post with the Trustee collateral consisting
                 of cash or direct registered debt obligations of the United States of America that have a
                 maturity date no later than the Business Day preceding the stated termination date of the
                 Securities Lending Agreement to secure its obligation to return the Collateral Obligations
                 or in the alternative post that collateral with a custodian for the benefit of the Issuer
                 designated by the Securities Lending Counterparty that satisfies the requirements with
                 respect to being a securities intermediary with respect to the posted collateral if that
                 custodian would qualify to be a successor trustee under the Indenture;

        (x)      provide that the Securities Lending Collateral shall be maintained at all times in an
                 amount equal to at least 102% of the current Ask-Side Market Value (determined daily
                 and monitored by the Portfolio Manager) of the lent Collateral Obligations and if
                 securities are delivered to the Trustee as security for the obligations of the Securities
                 Lending Counterparty under the related Securities Lending Agreement, the Portfolio
                 Manager on behalf of the Issuer will negotiate with the Securities Lending Counterparty a
                 rate for the loan fee to be paid to the Issuer for lending the lent Collateral Obligations;

        (xi)     the lent Collateral Obligations shall be marked-to-market on a daily basis by the Portfolio
                 Manager on the basis of their Market Value;

        (xii)    the Collateral will include the Issuer's rights under the related Securities Lending
                 Agreement rather than the loaned Collateral Obligation;

        (xiii)   provide for early termination within 10 days at the option of the Issuer and the delivery of
                 any lent Collateral Obligation with no penalty if the Securities Lending Counterparty is
                 no longer in compliance with the requirements relating to the credit ratings of the
                 Securities Lending Counterparty and the noncompliance is not cured as provided in the
                 Indenture; and

        (xiv)    contain appropriate limited recourse and non-petition provisions (to the extent the Issuer
                 has contractual payment obligations to the Securities Lending Counterparty) equivalent
                 (mutatis mutandis) to those in the Indenture.




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           In addition, each Securities Lending Agreement must provide that if either Moody's or S&P
  downgrades a Securities Lending Counterparty such that the Securities Lending Agreements to which the
  Securities Lending Counterparty is a party are no longer in compliance with the requirements relating to
  the credit ratings of the Securities Lending Counterparty, then the Issuer, within 10 days of the
  downgrade, shall (i) terminate its Securities Lending Agreements with the Securities Lending
  Counterparty unless a guarantor for the Securities Lending Counterparty's obligations under the Securities
  Lending Agreements has been obtained; or (ii) reduce the percentage of the Aggregate Principal Balance
  of the Collateral Obligations lent to the downgraded Securities Lending Counterparty so that the
  Securities Lending Agreements to which the Securities Lending Counterparty is a party, together with all
  other Securities Lending Agreements, are in compliance with the requirements relating to the credit
  ratings of Securities Lending Counterparties; or (iii) take any other steps Moody's or S&P may require to
  cause the Securities Lending Counterparty's obligations under the Securities Lending Agreements to
  which the Securities Lending Counterparty is a party to be treated by Moody's or S&P, as the case may
  be, as if the obligations were owed by a counterparty having a rating at least equivalent to the rating that
  was assigned by Moody's or S&P, as the case may be, to the downgraded Securities Lending
  Counterparty before its being downgraded.

           The Portfolio Manager shall instruct the Trustee in writing with respect to the administration of
  any Securities Lending Agreement (including with respect to any default and the exercise of rights under
  it). The Trustee shall not have any responsibility for evaluating the sufficiency, validity, or acceptability
  of any Securities Lending Agreement or for the qualifications or eligibility of any Securities Lending
  Counterparty. Nothing in the Indenture shall be construed to cause the Trustee to have any fiduciary
  duties to any Securities Lending Counterparty.

           So long as any Collateral Obligation is on loan pursuant to a Securities Lending Agreement,
  (a) the Trustee shall have no liability for any failure or inability on its part to receive any information or
  take any action with respect to the Collateral Obligation because of its being on loan (including any
  failure to take action with respect to a notice of redemption, consent solicitation, exchange or tender offer,
  or similar corporate action) and (b) the loaned Collateral Obligations shall not be disqualified for return to
  the Trustee as a Collateral Obligation by any change in circumstance or status during the time while on
  loan (including any change that would cause the Collateral Obligation to be ineligible for purchase by the
  Issuer under the Indenture if applied to a proposed purchase of it in the open market at the time of its
  return from loan).

                         MATURITY AND PREPAYMENT CONSIDERATIONS
           The Stated Maturity of each Class of Notes and Composite Securities will be the Payment Date in
  February, 2017 or, upon a Maturity Extension (if any), the applicable Extended Stated Maturity Date;
  however, the principal of each Class of the Notes and Composite Securities is expected to be paid in full
  prior to its Stated Maturity (or Extended Stated Maturity Date, as applicable). Average life refers to the
  average amount of time that will elapse from the date of delivery of a security until each dollar of the
  principal of such security will be paid to the investor. The average lives of the Notes will be determined
  by the amount and frequency of principal payments, which are dependent upon, among other things, the
  amount of sinking fund payments and any other payments received at or in advance of the scheduled
  maturity of Collateral Obligations (whether through sale, maturity, redemption, default or other
  liquidation or disposition). The average lives of the Composite Securities will be dependent on the
  proceeds received on its Components.
           The actual performance of the Securities will also be affected by the financial condition of the
  obligors on or issuers of the Collateral Obligations and the characteristics of the Collateral Obligations,
  including the interest rate or other rate of distribution, the actual default rate and actual losses sustained,
  the existence and frequency of exercise of any prepayment, optional redemption, or sinking fund features
  and any related premium, the prevailing level of interest rates, any sales of Collateral Obligations, and
  any unique risks of the Collateral Obligations. Any disposition of a Collateral Obligation may change the
  composition and characteristics of the portfolio of Collateral Obligations and their rate of payment, and,

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  accordingly, may affect the actual performance of each respective Class of Securities. The ability of the
  Issuer to reinvest any Interest Proceeds or Principal Proceeds in the manner described under "Security for
  the Notes and the Composite Securities " will also affect the performance of the Securities. Redemptions
  will also affect the performance of the Securities.
                                       THE PORTFOLIO MANAGER
          The information appearing in this section has been prepared by the Portfolio Manager and has
  not been independently verified by the Co-Issuers or JPMorgan. Accordingly, notwithstanding anything
  to the contrary herein, the Co-Issuers and JPMorgan do not assume any responsibility for the accuracy,
  completeness or applicability of such information.

  General

          Based in Dallas, Texas, Highland Capital is a registered investment adviser specializing in below
  investment grade credit and special situation investing. As of November 30, 2004, Highland Capital
  managed over $11 billion in leveraged loans, high yield bonds, structured products and other assets for
  banks, insurance companies, pension plans, foundations, and high net worth individuals.

          As of November 30, 2004 , Highland Capital employed 35 investment professionals with over
  800 credits owned and 900 credits followed. Portfolios as of November 30, 2004 include 14 structured
  investment vehicles (including 8 CLOs), 2 separate accounts and 5 hedge funds. Additionally, Highland
  Capital manages 4 closed-end registered investment companies listed on the NYSE.

          Investment Philosophy and Process

           Highland Capital's investment philosophy is based on a belief that fundamental research and
  disciplined asset acquisition/disposition produces superior long-term results. Highland Capital's
  investment approach seeks to generate superior performance with muted volatility. Highland Capital
  anticipates long-term secular trends and identifies those sectors and issues that it believes have the highest
  relative value characteristics. Highland Capital's process and philosophy have been consistent over time.

           Highland Capital has a large range and depth of experience. It has expertise in syndicated loans,
  high yield bonds, and distressed investments. Highland Capital believes it is in a position to arbitrage
  disparities in the historical spread relationship between various below investment grade asset classes.
  Highland Capital believes that, historically, the most inefficient asset classes have demonstrated the best
  risk/return characteristics.

           Highland Capital has invested over $200 million of firm capital in its funds, and expects that one
  of its Affiliates or funds will invest $13.2 million aggregate Face Amount in the Preference Shares of the
  Issuer. Additionally, Highland Capital believes that it strives to minimize operating expenses and hires
  the brightest and most talented professionals, insisting on a high degree of dedication and integrity.

           Highland Capital believes that its disciplined investment process minimizes a portfolio's risk and
  that its strategy seeks to maximize current yield over capital appreciation while limiting downside risk.
  Portfolio managers actively follow each credit and several times each year the entire investment staff
  reviews all positions during multi-day monitoring meetings. Highland Capital diversifies its portfolios
  with set limits on exposure to any one given industry or issuer. Highland Capital believes that this
  philosophy and process has resulted in positive returns in 46 of the last 48 quarters on its underlying loan
  portfolio and consistent outperformance relative to its indices.

          Highland Capital focuses on a "team" approach that it has used since the investment committee
  started in 1990. It is Highland Capital management's belief that this style creates the optimum
  environment for the exchange of information and the development of all investment professionals. All
  aspects of the investment process are coordinated through the committee's direct interaction. The

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  investment committee meets every morning to discuss the market, investment strategy, and credits. In
  addition, the firm maintains an "informal" open door policy with regards to investment or personal issues.
  The committee is composed of senior management and portfolio managers/analysts. Collectively, the
  committee utilizes an investment process which is driven by fundamental credit research. Each portfolio
  manager/analyst makes specific credit recommendations based upon industry coverage. The investment
  proposal is then brought to the investment committee for consideration. Based upon the consensus
  decision, the portfolio manager with the recommendation will direct Highland traders to execute the trade.
  Highland Capital has also provided its investment committee with a strong commitment to technology.
  The firm developed Wall Street Office® which is a proprietary software system that allows Highland
  Capital to model, portfolio manage, and trade syndicated loans. This software has been licensed to more
  than 70 financial institutions that invest in syndicated loans.

  Professionals of the Portfolio Manager

          Set forth below is information regarding certain persons who are currently employed by the
  Portfolio Manager. Such persons may not necessarily continue to be so employed during the entire term
  of the Management Agreement.

          Senior Management

          James Dondero, CFA, CPA, CMA – President

          Mr. Dondero is a Founder and President of Highland Capital. Formerly, Mr. Dondero served as
  Chief Investment Officer of Protective Life's GIC subsidiary and helped grow the business from concept
  to over $2 billion between 1989 and 1993. His portfolio management experience includes mortgage-
  backed securities, investment grade corporates, leveraged bank loans, emerging markets, derivatives,
  preferred stocks and common stocks. From 1985 to 1989, he managed approximately $1 billion in fixed
  income funds for American Express. Mr. Dondero is a Beta Gamma Sigma graduate of the University of
  Virginia with degrees in Accounting and Finance. He completed financial training at Morgan Guaranty
  Trust Company. Mr. Dondero is a Certified Public Accountant, Chartered Financial Analyst and a
  Certified Management Accountant.

          Mark Okada, CFA – Chief Investment Officer

           Mr. Okada is a Founder and Chief Investment Officer of Highland Capital. He is responsible for
  overseeing Highland's investment activities for its various funds and has over 19 years of experience in
  the leveraged finance market. Formerly, Mr. Okada served as Manager of Fixed Income for Protective
  Life's GIC subsidiary from 1990 to 1993. He was primarily responsible for the bank loan portfolio and
  other risk assets. Protective was one of the first non-bank entrants into the syndicated loan market. From
  1986 to 1990, he served as Vice President for Hibernia National Bank, managing over $1 billion of high
  yield bank loans. Mr. Okada is an honors graduate of the University of California Los Angeles with
  degrees in Economics and Psychology. He completed his credit training at Mitsui and is a Chartered
  Financial Analyst. Mr. Okada is also Chairman of the Board of Directors of Common Grace Ministries
  Inc.

          Todd Travers, CFA – Partner – Head of CDOs

          Mr. Travers is the primary portfolio manager for Highland Capital's par debt funds, a member of
  the Credit Committee, and heads a team that is responsible for structuring new transactions and
  implementing additional opportunities in Highland Capital's core businesses. Formerly, Mr. Travers
  served as Portfolio Manager/Portfolio Analyst from 1994 to 1998 for Highland Capital. In 1999, he was
  promoted to Senior Portfolio Manager and his duties were expanded beyond sector portfolio management
  to include the origination, structuring and issuance of new structured vehicles, including Highland Loan
  Funding V Ltd. and Restoration Funding Ltd. His prior responsibilities included managing a portion of


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  Highland Capital's leveraged loan and high yield debt portfolios with an emphasis on technology and
  aviation transactions. Prior to joining Highland Capital, Mr. Travers was a Finance Manager at American
  Airlines. Mr. Travers is a graduate of Iowa State University with a BS in Industrial Engineering. He
  received his MBA with an emphasis in Finance from Southern Methodist University. Mr. Travers is a
  Chartered Financial Analyst.

          Jack Yang – Head of Business Development

           Mr. Yang is responsible for new product development, fundraising, and investor relations, and
  heads the firm's New York Office. Prior to joining Highland Capital, he was Managing Director and
  Global Head of Leveraged Finance Products at Merrill Lynch. He joined Merrill Lynch in 1994 to
  establish the firm's syndicated loan activities and co-headed the firm's Global Leveraged Finance Division
  from 1999 to 2001. In addition to heading the syndicated loan activities of the firm, while at Merrill
  Lynch he had significant responsibility for establishing and managing the $1.5 billion ML Bridge Loan
  Fund, the $1.1 billion ML Mezzanine Fund, and the European Leveraged Finance Group. He was a
  senior member of the firm's Debt Markets Commitment Committee and Mezzanine Investment
  Committee. Prior to joining Merrill, he spent 11 years at Chemical Securities, Inc. and was a founding
  member of the Global Syndicated Finance Division. Mr. Yang is a member of the Board of Directors of
  The Loan Syndications and Trading Association, and is a member of the Governance and Public
  Relations Sub-Committees. He earned a BA from Cornell University and an MBA from Columbia
  University. He is a Registered Representative with Series 7, 63, and 24 licenses.

          Traders

          Brad Borud – Senior Trader

          Mr. Borud is a Senior Trader of leveraged loans and high yield bonds. Prior to his current duties,
  Mr. Borud served as a Portfolio Analyst for Highland Capital from 1996 to 1998. From 1998 to 2003,
  Mr. Borud was a Portfolio Manager covering a wide range of industries, including Wireline
  Telecommunications, Wireless Telecommunications, Telecommunication Equipment Manufacturers,
  Multi-channel Video, and Media. Prior to joining Highland Capital, Mr. Borud worked as a Global
  Finance Analyst in the Corporate Finance Group at NationsBank from 1995 to 1996 where he was
  involved in the originating, structuring, modeling, and credit analysis of leveraged transactions for large
  corporate accounts in the Southwest portion of the United States. During 1994, Mr. Borud also served at
  Conseco Capital Management as an Analyst Intern in the Fixed Income Research Department following
  the Transportation and Energy sectors. He has a BS in Business Finance from Indiana University.

          Paul Kauffman, CFA, CPA – Senior Trader

          Mr. Kauffman is a Senior Trader for loan and high yield credit products. Prior to his current
  duties, Mr. Kauffman served as a Portfolio Analyst from 1998 to 1999 and afterward as a Portfolio
  Manager covering a wide range of industries, including Paper and Packaging as well as General
  Industrials. Formerly, Mr. Kauffman was a Supervising Senior Accountant at KPMG Peat Marwick LLP
  from 1994 to 1996. Prior to this, he was a Staff Accountant at Pattillo, Brown & Hill CPAs from 1992 to
  1994. He received a BBA in Accounting from Baylor University and an MBA from Duke University.
  Mr. Kauffman is a Chartered Financial Analyst.

          Senior Portfolio Managers

          Patrick H. Daugherty – Senior Portfolio Manager & General Counsel

         Mr. Daugherty is co-head of the Distressed Group at Highland Capital and is responsible for
  managing the sourcing and monitoring process. Prior to joining Highland Capital in early 1998, Mr.
  Daugherty served as Vice President in the Corporate Finance Group at NationsBanc Capital Markets, Inc.


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  (now Bank of America Capital Markets, Inc.) where he originated and structured leveraged transactions
  for a $2.5 billion portfolio of mid-cap companies located in the Southwest. Mr. Daugherty has over 15
  years of experience in distressed, high yield and corporate restructuring. He has been involved in over
  100 bankruptcy situations and held steering committee positions in over 35 cases. Prior to joining Bank
  of America, Mr. Daugherty was an Associate with the law firm of Baker, Brown, Sharman and Parker in
  Houston, Texas where he represented banks and financial institutions in the liquidation of various RTC
  portfolios. He received a BBA in Finance from The University of Texas at Austin and a Juris Doctorate
  from The University of Houston School of Law. Mr. Daugherty's professional certifications include
  membership in the Texas Bar Association and admittance to the American Bar Association in 1992.

         John Morgan, CFA – Senior Portfolio Manager

           Mr. Morgan is a Senior Portfolio Manager covering the Retail, Food & Drug, and Steel sectors.
  Prior to joining Highland Capital, Mr. Morgan served as Portfolio Analyst for Falcon Fund Management,
  LTD from August 1995-February 2000. There he created comparables to assess the attractiveness of
  companies within industries and across the portfolio. He assisted the portfolio manager in the security
  selection process and management of the portfolio. Prior to Falcon, he was an Analyst for a Convertible
  Arbitrage Fund at Q Investments. His primary responsibility included analyzing financial statements and
  related corporate disclosures and performing analysis on potential investment opportunities. He received
  both a BS in Biological Sciences and an MBA from Southern Methodist University.

         Kurtis Plumer, CFA – Senior Portfolio Manager: Energy & Food Processors

           Mr. Plumer is co-head of the Distressed Group at Highland Capital and is responsible for
  managing the sourcing and monitoring process. He has over 14 years of experience in distressed, high
  yield bond and leveraged loan products. Prior to joining Highland Capital in 1999, Mr. Plumer was a
  distressed high yield bond trader at Lehman Brothers in New York, where he managed a $250 million
  portfolio invested in global distressed securities. While at Lehman, he also traded emerging market
  sovereign bonds. Prior to joining Lehman Brothers, Mr. Plumer was a corporate finance banker at
  NationsBanc Capital Markets, Inc. (now Bank of America Capital Markets, Inc.) where he focused on
  M&A and financing transactions for the bank's clients. Mr. Plumer earned a BBA in Economics and
  Finance from Baylor University and an MBA in Strategy and Finance from the Kellogg School at
  Northwestern University. Mr. Plumer is a Chartered Financial Analyst.

         Dansby White, CFA – Managing Director and Senior Portfolio Manager

          Mr. White is responsible for growing Highland Capital's structured finance and structured
  vehicles business. Prior to joining Highland Capital he was Managing Director and Head of Structured
  Finance in the Americas from June 2000 to September 2002 at Merrill Lynch. In this capacity, Mr. White
  was responsible for managing the Asset Backed Commercial Paper, Asset Backed Securities,
  Collateralized Debt Obligation and CMBS businesses. From March 1999 until June 2000 Mr. White was
  the Head of Merrill's Global CDO Group. Prior to joining Merrill Lynch Mr. White was a Principal in the
  Structured Finance Group at BT Alex Brown focusing on the CDO business. In the early 1980s, Mr.
  White worked in various capacities at GATX Leasing Corporation. Prior to joining BT Alex Brown, Mr.
  White spent eight years practicing general corporate law at Cahill Gordon and Reindel and White & Case.
  Mr. White holds a BA in Economics from Northwestern University, an MBA from the Kellogg School of
  Management at Northwestern University and a JD from Rutgers University School of Law in Newark
  where Mr. White was selected for the Law Review. After graduating from Law School, Mr. White served
  as Law Clerk to the Hon. Robert N. Wilentz, Chief Justice of the New Jersey Supreme Court for one year.

         David Walls, CFA – Portfolio Manager: Distressed

          Mr. Walls is a Portfolio Manager covering the Cable, Building Materials and Equipment Rental
  sectors. Prior to joining Highland Capital, Mr. Walls worked at Lend Lease Real Estate Investments


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  (LLREI) in their Asset Management unit where, as an Associate, he participated in the underwriting and
  acquisition of bulk portfolios of distressed Korean real estate and corporate debt. Before his international
  responsibilities at LLREI, Mr. Walls performed loan workouts on a domestic portfolio of sub- and non-
  performing real estate secured assets. Prior to joining Lend Lease, Mr. Walls worked at U.S. Trust
  Company of California as an Assistant Vice President, Junior Portfolio Manager in their Fixed Income
  Portfolio Management group. He holds a BA in Economics from Northwestern University and an MBA
  in Finance and Marketing from the Kellogg School of Management at Northwestern University. Mr.
  Walls is a member of AIMR and DAIA. Mr. Walls is a Chartered Financial Analyst.

          Joe Dougherty, CFA, CPA

           Mr. Dougherty is a Senior Portfolio Manager. Additionally, Mr. Dougherty heads Highland
  Capital's retail funds business unit ("Highland Funds") and serves as Senior Vice President and Director
  of the Firm's two NYSE-listed bond funds, which invest in both investment grade and high yield debt.
  Additionally, Mr. Dougherty serves as Senior Vice President and Director of the Firm's two 1940 Act
  Registered floating rate funds, which primarily invest in senior secured floating rate loans. In this
  capacity, Mr. Dougherty oversees investment decisions for the retail funds, alongside several other
  Portfolio Managers, and manages the team dedicated to their day-to-day administration. Prior to his
  current duties, Mr. Dougherty served as Portfolio Analyst for Highland Capital from 1998 to 1999. As a
  Portfolio Analyst, Mr. Dougherty also helped follow companies within the Chemical, Retail, Supermarket
  and Restaurant sectors. Prior to joining Highland Capital, Mr. Dougherty served as an Investment
  Analyst with Sandera Capital Management from 1997 to 1998. Formerly, he was a Business
  Development Manager at Akzo Nobel from 1994 to 1996 and a Senior Accountant at Deloitte & Touche,
  LLP from 1992 to 1994. He received a BS in Accounting from Villanova University and an MBA from
  Southern Methodist University. Mr. Dougherty is a Chartered Financial Analyst and a Certified Public
  Accountant.

        See "Risk Factors—Relating to the Portfolio Manager—The Issuer Will Depend on the
  Managerial Expertise Available to the Portfolio Manager and Its Key Personnel."

                                   THE MANAGEMENT AGREEMENT
         The following summary describes certain provisions of the Management Agreement. The
  summary does not purport to be complete and is subject to, and qualified in its entirety by reference to,
  the Management Agreement.

           Pursuant to the terms of the Management Agreement, and in accordance with the requirements set
  forth in the Indenture, the Portfolio Manager will select the portfolio of Collateral Obligations and will
  instruct the Trustee with respect to any acquisition, disposition or sale of a Collateral Obligation and an
  Eligible Investment. Neither the Initial Purchaser or any Affiliate thereof will select any of the Collateral
  Obligations.

           Pursuant to the terms of the Management Agreement, the Portfolio Manager will monitor the
  Collateral Obligations and provide the Issuer with certain information received from the Collateral
  Administrator with respect to the composition and characteristics of the Collateral Obligations, any
  disposition or tender of a Collateral Obligation, the reinvestment of the proceeds of any such disposition
  in Eligible Investments and with respect to the retention of the proceeds of any such disposition or the
  application thereof toward the purchase of additional Collateral Obligations. The Portfolio Manager will,
  and will be authorized to, negotiate, on behalf of the Issuer, with respect to all actions to be taken by the
  Issuer under any Hedge Agreements.




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        As compensation for the performance of its obligations as Portfolio Manager, the Portfolio
  Manager will be entitled to receive:

          (i)      a fee (the "Senior Management Fee") that accrues from the Closing Date payable to the
                   Portfolio Manager in arrears on each Payment Date equal to 0.30% per annum of the
                   Maximum Investment Amount if and to the extent funds are available for that purpose in
                   accordance with the Priority of Payments (with the Senior Management Fee being
                   calculated on the basis of a 360-day year consisting of twelve 30-day months);

          (ii)     an amount (the "Subordinated Management Fee") payable on each Payment Date equal
                   to the sum of (a) a fee that accrues from the Closing Date payable to the Portfolio
                   Manager in arrears on each Payment Date equal to 0.25% per annum of the Maximum
                   Investment Amount if and to the extent funds are available for that purpose in accordance
                   with the Priority of Payments, (b) on any Payment Date that any part of the Senior
                   Management Fee was not paid on the preceding Payment Date, an amount equal to
                   interest on such unpaid amount at a rate of LIBOR for the applicable period plus 3.00%
                   per annum and (c) on any Payment Date that any part of the Subordinated Management
                   Fee was not paid on the preceding Payment Date, an amount equal to interest on such
                   unpaid amount at a rate of LIBOR for the applicable period plus 3.00% per annum (with
                   the portion of the Subordinated Management Fee or Senior Management Fee, as
                   applicable, in clauses (a) through (c) above, as applicable, being calculated on the basis
                   of a 360-day year consisting of twelve 30-day months); and

          (iii)    a fee (the "Incentive Management Fee" and together with the Senior Management Fee
                   and the Subordinated Management Fee, the " Management Fee"), if any, payable on
                   each Payment Date to the Portfolio Manager in an amount equal to: (i) 20% of the
                   remaining Interest Proceeds, if any, available after making the distributions on such
                   Payment Date pursuant to clause (21) under "Description of the Securities—Priority of
                   Payments—Interest Proceeds" and (ii) 20% of the remaining Principal Proceeds, if any,
                   available for payment in respect of the Incentive Management Fee pursuant to clause
                   (6)(A) and, if applicable, clause (9), in each case pursuant to "Description of the
                   Securities—Priority of Payments—Principal Proceeds."

           The Portfolio Manager may, in its sole discretion: (i) waive all or any portion of the Management
  Fee, any funds representing the waived Management Fees to be retained in the Collection Account for
  distribution as either Interest Proceeds or Principal Proceeds (as determined by the Portfolio Manager)
  pursuant to the Priority of Payments; or (ii) defer all or any portion of the Management Fee, any funds
  representing the deferred Management Fees to be retained in the Collection Account, when they will
  become payable in the same manner and priority as their original characterization would have required
  unless deferred again.

           The Portfolio Manager, its directors, officers, stockholders, partners, agents and employees, and
  its Affiliates and their directors, officers, stockholders, partners, agents and employees, shall not be liable
  to the Issuer, the Co-Issuer, the Trustee, the Noteholders, the Preference Share Paying Agent, the Holders
  of the Preference Shares or any other person for any losses, claims, damages, judgments, assessments,
  costs or other liabilities (collectively "Liabilities") incurred by the Issuer, the Co-Issuer, the Trustee, the
  Noteholders, the Preference Share Paying Agent, the Holders of the Preference Shares or any other person
  that arise out of or in connection with the performance by the Portfolio Manager of its duties under the
  Management Agreement and the Indenture, except by reason of (i) acts or omissions constituting bad
  faith, willful misconduct, gross negligence or breach of fiduciary duty in the performance, or reckless
  disregard, of the obligations of the Portfolio Manager under the Management Agreement and under the
  terms of the Indenture applicable to it or (ii) with respect to any information included in this Offering
  Circular in the sections entitled "The Portfolio Manager" and "Certain Conflicts of Interest—Conflicts of
  Interest Involving the Portfolio Manager" that contains any untrue statement of material fact or omits to

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  state a material fact necessary in order to make the statements therein, in the light of the circumstances
  under which they were made, not misleading (the preceding clauses (i) and (ii) collectively being the
  "Portfolio Manager Breaches"). The Portfolio Manager will be liable for any non-waivable breaches of
  applicable securities laws.

           The Issuer will indemnify and hold harmless the Portfolio Manager, its directors, officers,
  stockholders, partners, agents and employees (such parties collectively in such case, the "Indemnified
  Parties") from and against any and all Liabilities, and shall reimburse each such Indemnified Party for all
  reasonable fees and expenses (including reasonable fees and expenses of counsel) (collectively, the
  "Expenses") as such Expenses are incurred in investigating, preparing, pursuing or defending any claim,
  action, proceeding or investigation with respect to any pending or threatened litigation (collectively, the
  "Actions"), caused by, or arising out of or in connection with, the issuance of the Securities, the
  transactions contemplated by the Offering Circular, the Indenture or the Management Agreement, and/or
  any action taken by, or any failure to act by, such Indemnified Party; provided, however, that no
  Indemnified Party shall be indemnified for any Liabilities or Expenses it incurs as a result of any acts or
  omissions by any Indemnified Party constituting Portfolio Manager Breaches. Any such indemnification
  by the Issuer will be paid in accordance with, and subject to, the Priority of Payments.

           Pursuant to the terms of the Portfolio Management Agreement, the Portfolio Manager will agree
  that on the Closing Date the Portfolio Manager or its Affiliates will purchase Preference Shares having an
  aggregate Face Amount equal to $13,200,000 and maintain, in the aggregate, ownership of Preference
  Shares having an aggregate Face Amount of at least $10,000,000 until such time as described in
  "Summary of Terms—The Portfolio Manager."

          The Management Agreement may not be amended (i) without the consent of the Holders of Notes
  or Preference Shares that would be sufficient to meet the consent requirements for such an amendment if
  it were made to the Indenture and (ii) without the satisfying the Rating Condition with respect to each
  Rating Agency.

           The Management Agreement provides that the Portfolio Manager will not direct the Trustee to
  acquire an obligation to be included in the Collateral from the Portfolio Manager or any of its Affiliates as
  principal or to sell an obligation to the Portfolio Manager or any of its Affiliates as principal unless (i) the
  Issuer shall have received from the Portfolio Manager such information relating to such acquisition or
  sale as it may reasonably require and shall have approved such acquisition, which approval shall not be
  unreasonably withheld, (ii) in the judgment of the Portfolio Manager, such transaction is on terms no less
  favorable than would be obtained in a transaction conducted on an arm's length basis between third
  parties unaffiliated with each other and (iii) such transaction is permitted by the Investment Adviser's Act
  of 1940. The Management Agreement also provides that the Portfolio Manager will not direct the Trustee
  to acquire an obligation to be included in the Collateral directly from any account or portfolio for which
  the Portfolio Manager serves as investment advisor, or direct the Trustee to sell an obligation directly to
  any account or portfolio for which the Portfolio Manager serves as investment advisor unless such
  acquisition or sale is (i) in the judgment of the Portfolio Manager, on terms no less favorable than would
  be obtained in a transaction conducted on an arm's length basis between third parties unaffiliated with
  each other and (ii) permitted by the Investment Adviser's Act of 1940.

          Subject to the provisions for a successor portfolio manager discussed below, the Portfolio
  Manager may resign, upon 90 days' written notice to the Issuer (or such shorter notice as is acceptable to
  the Issuer).

          The Management Agreement provides that the Portfolio Manager may be removed without cause
  upon 90 days' prior written notice by the Issuer, at the direction of the Holders of at least 63% of the
  Aggregate Outstanding Amount of Preference Shares (excluding Preference Shares held by the Portfolio
  Manager, its Affiliates or any account for which the Portfolio Manager or its Affiliates have discretionary
  voting authority at the time of such vote); provided, however, that the Portfolio Manager shall have the

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  right to avoid any such removal if, on or prior to the proposed removal date the following conditions are
  satisfied: (i) the Portfolio Manager provides written notice, not less than 20 Business Days prior to the
  proposed removal date, to the Holders of the Composite Securities, the Preference Shares Paying Agent
  (for forwarding to Holders of Preference Shares), the Issuer and the Trustee that the Portfolio Manager
  intends to purchase not less than all of the Preference Shares voting for such removal from the Holders
  thereof (the "Directing Preference Shares"), (ii) in the notice provided to the Holders of Composite
  Securities and the Preference Shares Paying Agent (for forwarding to Holders of Preference Shares) in the
  preceding clause (i), the Portfolio Manager includes a statement to the effect that each Holder of
  Preference Shares (including each Holder of a Composite Security in respect of the Preference Share
  Component) who did not vote for removal may provide written notice to the Portfolio Manager not later
  than 5 Business Days prior to the proposed removal date that the Preference Shares or Preference Share
  Components, as applicable, held by such Holder shall be deemed to be included in the Directing
  Preference Shares as provided in the preceding clause (i), and (iii) the Portfolio Manager effects the
  purchase of not less than all of the Directing Preference Shares and all of the Composite Securities
  relating to the Preference Share Components which form a part of the Directing Preference Shares at the
  Buy-out Amount. If all of the conditions set forth in the preceding sentence are satisfied on or prior to the
  proposed removal date, the Portfolio Manager shall continue as the Portfolio Manager under the
  Management Agreement.

          The Management Agreement provides that if (i) an Event of Default described in clause (d) under
  "Description of the SecuritiesEvents of Default" occurs, and (ii) the Policy has not been terminated and
  delivered for cancellation in accordance with the terms of the Indenture as described in "Description of
  the Securities—Termination of the Policy," the Management Agreement shall be terminated, and the
  Portfolio Manager shall be removed, by the Issuer, if directed by a Majority of the Controlling Class upon
  10 days' prior written notice to the Portfolio Manager and upon written notice to the Noteholders and the
  Holders of the Preference Shares as set forth below; provided, however, that the Portfolio Manager shall
  have the right to avoid any such removal if, on or prior to the proposed removal date the Portfolio
  Manager provides written notice, not less than 2 Business Days prior to the proposed removal date, to the
  Controlling Class, the Issuer and the Trustee that the Removal Buy-Out Purchaser intends to (i) purchase
  not less than all of the Class A-1g Notes at the Removal Buy-Out Purchase Price pursuant to the
  Indenture and as described in "Description of the Securities—Removal Buy-Out" and (ii) terminate the
  Policy pursuant to the Indenture upon the effectiveness of such purchase, and the Removal Buy-Out
  Purchaser purchases not less than all of the Class A-1g Notes prior to the proposed removal date. If the
  conditions set forth in the preceding sentence are satisfied on or prior to the proposed removal date, the
  Portfolio Manager shall continue as the Portfolio Manager under the Management Agreement.

           In addition, the Management Agreement will be terminated, and the Portfolio Manager will be
  removed, by the Issuer, if directed by the Trustee or the Controlling Class of Notes or by a Majority of the
  Holders of the Preference Shares (excluding any Preference Shares held by the Portfolio Manager or its
  Affiliates), in each case for "cause" upon 10 days' prior written notice to the Portfolio Manager and upon
  written notice to the Noteholders and the Holders of the Preference Shares as set forth below. For
  purposes of determining "cause" with respect to any such termination of the Management Agreement,
  such term shall mean any one of the following events:

                  (i)     the Portfolio Manager willfully breaches in any respect, or takes any action that it
          knows violates in any respect, any provision of the Management Agreement or any terms of the
          Indenture applicable to it;

                   (ii)    the Portfolio Manager breaches in any material respect any provision of the
          Management Agreement or any terms of the Indenture or the Collateral Administration
          Agreement applicable to it, or any representation, warranty, certification or statement given in
          writing by the Portfolio Manager shall prove to have been incorrect in any material respect when
          made or given, and the Portfolio Manager fails to cure such breach or take such action so that the
          facts (after giving effect to such action) conform in all material respects to such representation,

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          warranty, certificate or statement, in each case within 30 days of becoming aware of, or receiving
          notice from, the Trustee of, such breach or materially incorrect representation, warranty,
          certificate or statement;

                  (iii)    certain events of bankruptcy or insolvency occur with respect to the Portfolio;

                  (iv)    the occurrence of any Event of Default under the Indenture that results from any
          breach by the Portfolio Manager of its duties under the Indenture or the Management Agreement,
          which breach or default is not cured within any applicable cure period;

                   (v)     (x) the occurrence of an act by the Portfolio Manager related to its activities in
          any securities, financial advisory or other investment business that constitutes fraud, (y) the
          Portfolio Manager being indicted, or any of its principals being convicted, of a felony criminal
          offense related to its activities in any securities, financial advisory or other investment business or
          (z) the Portfolio Manager being indicted for, adjudged liable in a civil suit for, or convicted of a
          violation of the Securities Act or any other United States Federal securities law or any rules or
          regulations thereunder; or

                  (vi)     a Change of Control shall occur with respect to the Portfolio Manager.

           For purposes of clause (vi) above: (i) "Change of Control" means that two or more of James
  Dondero, Mark Okada and Todd Travers (or any Approved Replacement therefor) shall fail to be a
  partner, director, officer or management-level employee of Highland Capital and (ii) "Approved
  Replacement" means an individual who shall (x) be proposed by Highland Capital to replace James
  Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement therefor) within 30 days after
  James Dondero, Mark Okada or Todd Travers (or a prior Approved Replacement therefor) fails to be a
  partner, director, officer or management-level employee of Highland Capital or, following any objection
  pursuant to the following clause (y) to the first proposed replacement, within 30 days after such objection
  and (y) not have been objected to by either (A) the Controlling Class of Notes or (B) a Majority of the
  Preference Shares (excluding any Preference Shares held by Highland Capital or any of its affiliates),
  within 30 days after written notice of such Approved Replacement has been given by the Portfolio
  Manager to the Controlling Class of Notes and the Holders of Preference Shares).

           No removal, termination or resignation of the Portfolio Manager will be effective under the
  Management Agreement unless (i) at the written direction of a Majority of the Preference Shares, the
  Issuer appoints a successor Portfolio Manager has agreed in writing to assume all of the Portfolio
  Manager's duties and obligations pursuant to the Management Agreement and the Indenture and (ii) the
  successor Portfolio Manager is not objected to within 30 days after notice of such succession by either (x)
  the Controlling Class of Notes or (y) a Majority in Aggregate Outstanding Amount of the Notes (voting
  as a single Class (excluding any Notes held by the retiring Portfolio Manager or any of its Affiliates));
  provided, that if a Majority of the Preference Shares has nominated two or more successor Portfolio
  Managers that have been objected to pursuant to clause (ii) of the preceding sentence or has otherwise
  failed to appoint a successor Portfolio Manager that is not objected to pursuant to clause (ii) of the
  preceding sentence within 60 days of the date of notice of such removal, termination or resignation of the
  Portfolio Manager, then the Controlling Class of Notes may petition a court of competent authority to
  appoint a successor Portfolio Manager. In addition, any successor Portfolio Manager must be an
  established institution which (i) has demonstrated an ability to professionally and competently perform
  duties similar to those imposed upon the Portfolio Manager under the Management Agreement, (ii) is
  legally qualified and has the capacity to act as Portfolio Manager under the Management Agreement, as
  successor to the Portfolio Manager under the Management Agreement in the assumption of all of the
  responsibilities, duties and obligations of the Portfolio Manager under the Management Agreement and
  under the applicable terms of the Indenture, (iii) shall not cause the Issuer or the pool of Collateral to
  become required to register under the provisions of the Investment Company Act, (iv) shall perform its
  duties as Portfolio Manager under the Management Agreement and the Indenture without causing the

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  Issuer, the Co-Issuer or any Holder of Preference Shares to become subject to tax in any jurisdiction
  where such successor Portfolio Manager is established as doing business and (v) each Rating Agency has
  confirmed that the appointment of such successor Portfolio Manager shall not cause its then-current rating
  of any Class of Notes or Composite Securities to be reduced or withdrawn. No compensation payable to
  a successor from payments on the Collateral shall be greater than that paid to the Portfolio Manager
  without the prior written consent of the Controlling Class of Notes, a Majority of the Notes, a Majority of
  the Composite Securities and a Majority of the Preference Shares (voting collectively).

           The Management Agreement, and any obligations or duties of the Portfolio Manager under the
  Management Agreement, cannot be delegated by the Portfolio Manager, in whole or in part, except to any
  entity that is both (i) controlled by all or any of James Dondero, Mark Okada and Todd Travers and (ii)
  one in which all of James Dondero, Mark Okada and Todd Travers (or any Approved Replacement
  thereof) is involved in the day to day management and operations (and in any such case pursuant to an
  instrument of delegation in form and substance satisfactory to the Issuer), without the prior written
  consent of the Issuer, the Controlling Class of Notes, a Majority of the Composite Securities and a
  Majority of the Preference Shares (excluding Preference Shares held by the Portfolio Manager or any of
  its Affiliates), and, notwithstanding any such consent, no delegation of obligations or duties by the
  Portfolio Manager (including, without limitation, to an entity described above) shall relieve the Portfolio
  Manager from any liability under the Management Agreement.

                                   THE INSURER AND THE POLICY
          The information appearing in this section under the heading "The Insurer and the Policy—The
  Insurer" has been prepared by the Insurer and has not been independently verified by the Co-Issuers or
  JPMorgan. Accordingly, notwithstanding anything to the contrary herein, the Co-Issuers and JPMorgan
  do not assume any responsibility for the accuracy, completeness or applicability of such information.

  The Insurer

           Assured Guaranty is a Maryland-domiciled insurance company licensed as a financial guaranty
  insurance company in forty-seven states and the District of Columbia. Assured Guaranty was formed in
  1985 and commenced operations in 1988. Assured Guaranty has license applications pending, or intends
  to file an application, in each of those states in which it is not currently licensed. Assured Guaranty is
  located at 1325 Avenue of the Americas, New York, New York 10019. Assured Guaranty is a wholly
  owned indirect subsidiary of Assured Guaranty Ltd., a Bermuda company whose shares are publicly held
  and are listed on the New York Stock Exchange under the symbol "AGO" ("AGL"). AGL files annual,
  quarterly and current reports, with the SEC. Copies of AGL's SEC filings are available over the SEC's
  website at www.sec.gov or over AGL's website at www.assuredguaranty.com. These websites do not
  form part of this document for the purpose of listing the Notes and the Composite Securities on the Irish
  Stock Exchange.

           Assured Guaranty is subject to insurance laws and regulations in Maryland and in New York
  (among other limited states jurisdictions) that, among other things, (i) limit Assured Guaranty's business
  to financial guaranty insurance and related lines, (ii) prescribe minimum solvency requirements, including
  capital and surplus requirements, (iii) limit classes and concentrations of investments, (iv) regulate the
  amount of both the aggregate and individual risks that may be insured, (v) limit the payment of dividends
  by Assured Guaranty, (vi) require the maintenance of contingency reserves and (vii) govern changes in
  control and transactions among affiliates. Certain state laws to which Assured Guaranty is subject also
  require the approval of policy rates and forms.

          Assured Guaranty's financial strength is rated "AAA" by S&P, and "Aa1" by Moody's. Assured
  Guaranty's ratings outlook from S&P is "negative." Each rating of Assured Guaranty should be evaluated
  independently. The ratings reflect the respective Rating Agency's current assessment of the
  creditworthiness of Assured Guaranty and its ability to pay claims on its policies of insurance. Any


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  further explanation of the significance of the above ratings may be obtained from the applicable Rating
  Agency. The above ratings are not recommendations to buy, sell or hold any security, and such ratings
  may be subject to revision or withdrawal at any time by the Rating Agencies. Any downward revision or
  withdrawal of any of the above ratings may have an adverse effect on the market price of any security
  guaranteed by Assured Guaranty. Assured Guaranty does not guaranty the market price of the securities
  it guarantees, nor does it guaranty that the ratings on such securities will not be revised or withdrawn.

          Assured Guaranty makes no representation regarding the Securities or the advisability of
  investing in the Securities. In addition, Assured Guaranty makes no representation regarding, nor does it
  accept any responsibility for the accuracy or completeness of this Offering Circular or any information or
  disclosure contained herein, or omitted herefrom, other than with respect to the accuracy of the
  information regarding Assured Guaranty supplied by Assured Guaranty and presented under the heading
  "The Insurer."

  Capitalization of Assured Guaranty

            As of December 31, 2003, Assured Guaranty has total admitted assets of $1,207,785,868, total
  liabilities of $952,203,218, total surplus of $255,582,650 and total statutory capital (surplus plus
  contingency reserves) of $655,582,596, determined in accordance with statutory accounting practices
  prescribed or permitted by insurance regulatory authorities ("SAP"). Copies of the statutory quarterly and
  annual statements filed with Maryland Insurance Administration are available upon request by contacting
  Assured Guaranty at (212) 974-0100.

           Attached to this Offering Circular as Exhibit A are the audited financial statements of Assured
  Guaranty for the years ended December 31, 2003, 2002 and 2001 and its unaudited financial statements
  for the nine months ended September 30, 2004 and 2003.

          The following table sets forth the capitalization of Assured Guaranty as of the period ended
  December 2002 and 2003 and as of September 30, 2004 (unaudited), on the basis of accounting principles
  generally accepted in the United States of America:


                                               December 31, December 31, September 30,
                                                    2002            2003            2004
                                               ($ in millions) ($ in millions) ($ in millions)
  Unearned Premiums                                 353             389              386
  Other Liabilities                                 233             236              261
  Stockholder's Equity:
     Common Stock                                    15              15               15
     Additional Paid-in Capital                     345             351              386
     Unrealized Gain on Bonds, Net of Tax            42              45               42
     Retained Earnings                              371             465              535
  Total Stockholder's Equity                        773             876              978

  Total Liabilities and Stockholder's Equity      1,359           1,501            1,625

          The New York State Insurance Department recognizes only statutory accounting practices for
  determining and reporting the financial condition and results of operations of an insurance company, for
  determining its solvency under the New York Insurance Law, and for determining whether its financial
  condition warrants the payment of a dividend to its stockholders. No consideration is given by the New
  York State Insurance Department to financial statements prepared in accordance with United States
  generally accepted accounting principles in making such determinations.




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  The Policy

          The following summary of the terms and conditions of the Policy does not purport to be complete
  and is qualified in its entirety by reference to the Policy and the Insurance Agreement.

          Simultaneously with the issuance of the Insured Notes, the Insurer will deliver the Policy to the
  Beneficiary for the benefit of each Insured Noteholder. In consideration of the payment of the Premium
  and subject to the terms and conditions of the Policy, the Insurer will unconditionally and irrevocably
  agree to pay each and every Insured Amount which shall become Due for Payment, but shall be unpaid by
  reason of Nonpayment by the Issuer (as such terms are defined below).

          "Avoided Payment" means any amount that is paid, credited, transferred or delivered to the
  Beneficiary under the terms of the Indenture in respect of any Insured Amount, which amount has been
  rescinded or recovered from or otherwise required to be returned or repaid by the Beneficiary as a result
  of Insolvency Proceedings by or against the Issuer.

          "Beneficiary" means JPMorgan Chase Bank, National Association, as Trustee under the
  Indenture and any successor in such capacity, for the benefit of each Insured Noteholder.

           "Due for Payment" with respect to an Insured Amount, means (i) scheduled interest on the
  Insured Notes when due and payable (after the expiration of any applicable or deemed grace period (after
  the satisfaction of any conditions precedent to the commencement of such grace period)) in accordance
  with the terms of the Indenture and (ii) final payment of principal of the Insured Notes on the Stated
  Maturity (in each of sub-clauses (i) and (ii), in accordance with the original terms of the Insured Notes
  when issued and without regard to any subsequent amendment or modification of the Insured Notes that
  has not been consented to in writing by the Insurer).

          "Insured Amount" means the following amounts now owing or which may in the future be
  owing by the Issuer under the terms of the Indenture and the Insured Notes to the Beneficiary:
  (a) scheduled interest on the Insured Notes when due and payable (after the expiration of any applicable
  or deemed grace period (after the satisfaction of any conditions precedent to the commencement of such
  grace period)) in accordance with the terms of the Indenture and (b) final payment of principal of the
  Insured Notes on the Stated Maturity in a principal amount not to exceed $400,000,000. "Insured
  Amounts" will not include, nor will coverage be provided under the Policy in respect of:

                  (i)     payments that become due on an accelerated basis as a result of the occurrence of
          (1) an Event of Default under the Indenture, (2) an Optional Redemption by the Issuers, (3) a
          failure to meet any Coverage Test as of any Determination Date, (4) the occurrence and
          continuance of a Rating Confirmation Failure or (5) any other cause;

                   (ii)    any amounts due in respect of the Insured Notes attributable to any increase in
          interest rate, penalty or other sum payable by the Issuer by reason of any default under the
          Indenture or Event of Default in respect of the Insured Notes, or by reason of any deterioration of
          the creditworthiness of the Issuer;

                  (iii)  any present or future taxes, withholding, deduction, assessment or other charge
          imposed by the United States, any other sovereign state, or any political subdivision or
          governmental or taxing authority thereof (including interest and penalties in respect of such taxes,
          withholding, deduction, assessment or other charge) with respect to any payment due under the
          Insured Notes;

                  (iv)   any default, redemption or other make whole premium with respect to the
          Insured Notes;



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                  (v)     in the case of the election by 100% of the Holders of the Insured Notes to receive
          less than 100% of the portion of the Redemption Price that would otherwise be payable to such
          Holders in connection with any Optional Redemption, the amount by which the Redemption Price
          exceeds such lesser amount to be received by such Holders; or

                  (vi)     any Extension Bonus Payment with respect to the Insured Notes.

          "Nonpayment by the Issuer" with respect to an Insured Amount at a time when such Insured
  Amount is Due for Payment, means that the funds, if any, remitted to the Beneficiary under the terms of
  the Indenture are insufficient for payment in full of such Insured Amount. In addition to and without
  limiting the foregoing, "Nonpayment by the Issuer" applies to any portion of any Insured Amount that has
  become an Avoided Payment.

          In the event that the payment of any amount in respect of any Insured Amount is accelerated or
  must otherwise be paid by the Issuer in advance of the scheduled payment date therefore, nothing in the
  Policy shall be deemed to require the Insurer to make any payment thereunder in respect of any such
  Insured Amount prior to the date such Insured Amount otherwise would have been Due for Payment
  without giving effect to such acceleration, unless the Insurer in its sole discretion elects to make any prior
  payment, in whole or in part, with respect to any such Insured Amount.

           The Policy will be non-cancelable for any reason, including without limitation the non-payment
  of Premium. The Policy and the obligations of the Insurer thereunder shall terminate upon the earlier of:
  (i) the date on which all Insured Amounts have been paid or shall be deemed to have been paid under the
  Insured Notes or (ii) the date on which the Policy has been terminated by the Beneficiary and delivered
  for cancellation as described under "Description of the Securities—Termination of the Policy"; provided,
  however, that in the event that any amount with respect to any Insured Amount paid to the Beneficiary
  under the terms of the Indenture during the term of the Policy becomes an Avoided Payment, the Insurer's
  obligations with respect thereto shall, unless the term of the Policy has expired pursuant to clause (ii)
  above, remain in effect or shall be reinstated, as applicable, until payment in full by the Insurer pursuant
  to the terms of the Policy. For the avoidance of doubt, if the term of the Policy has expired pursuant to
  clause (ii), the Insurer shall have no further liability under the Policy, including, without limitation, for
  any subsequent Avoided Payment.

          Following receipt by the Insurer of a notice of claim in the form attached to, and delivered in the
  manner specified in, the Policy, the Insurer will pay any amounts payable under the Policy (other than an
  amount that constitutes an Avoided Payment, which is discussed below) to the Beneficiary on behalf of
  the Insured Noteholder on the later to occur of (i) the date on which such payment becomes Due for
  Payment or (ii) the third Business Day following receipt by the Insurer of such notice of claim.

          In the event the Insurer is required under law to deduct or withhold any tax or similar charge from
  or in respect of any amount payable under or in respect of the Policy, the Insurer will make all such
  deductions and withholdings and pay the full amount deducted or withheld to the relevant taxation
  authority in accordance with law, but the Insurer will not "gross-up" or otherwise pay additional amounts
  in respect of such taxes, and the Insurer's payments to the Beneficiary, the bankruptcy trustee or the
  Insured Noteholders, as the case may be, will be amounts that are net of such deductions or withholdings.

          Unless this Policy has been terminated by the Beneficiary and delivered by the Beneficiary for
  cancellation as described under "Description of the Securities—Termination of the Policy", if any amount
  or property paid to the Beneficiary under the terms of the Indenture becomes an Avoided Payment, the
  Insurer will pay the amount of such Avoided Payment when due to be paid pursuant to an applicable
  Order (referred to below), but in any event no earlier than the fourth Business Day following receipt (as
  specified in the Policy) by the Insurer from the Beneficiary of (i) a certified copy of such final, non-
  appealable order of the court or other body exercising jurisdiction in an insolvency proceeding by or
  against the Issuer to the effect that the Beneficiary is required to return or repay all or any portion of an

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  Avoided Payment (the "Order"), (ii) a certificate by or on behalf of the Beneficiary that such Order has
  been entered and is not subject to any stay, (iii) an assignment in form and substance satisfactory to the
  Insurer, duly executed and delivered by the Beneficiary on behalf of the affected holders, irrevocably
  assigning to the Insurer all rights and claims of the Beneficiary on behalf of the affected holders against
  the estate of the Issuer or otherwise, which rights and claims relate to or arise under or with respect to the
  subject Avoided Payment, and (iv) a notice of claim, which notice is in the form specified in the Policy
  and appropriately completed and executed by the Beneficiary. Such payment shall be disbursed to the
  receiver, conservator, administrator, debtor-in-possession or trustee in bankruptcy named in the Order,
  and not to the Beneficiary directly, unless the Beneficiary has previously paid the Avoided Payment over
  to such court or receiver, conservator, administrator, debtor-in-possession or trustee in bankruptcy, in
  which case the Insurer will pay the Beneficiary subject to the delivery of (a) the items referred to in
  clauses (i), (ii), (iii) and (iv) above to the Insurer, and (b) evidence satisfactory to the Insurer that payment
  has been made to such court or receiver, conservator, administrator, debtor-in-possession or trustee in
  bankruptcy named in such Order.

             The Policy may not be assigned by the Beneficiary without the prior written consent of the
  Insurer.

           The Insurer's obligation under the Policy in respect of Insured Amounts shall be discharged to the
  extent that funds are transferred to the Beneficiary as provided in the notice of claim, whether or not such
  funds are properly applied by the Beneficiary.

           In addition to the rights provided to the Insurer in the Indenture and unless the Policy has been
  terminated by the Beneficiary and delivered by the Beneficiary for cancellation as described under
  "Description of the Securities—Termination of the Policy", the Insurer shall be subrogated to the rights of
  the Insured Noteholders to receive payments in respect of Insured Amounts to the extent of any payment
  by the Insurer under the Policy (subject to the Priority of Payments). Any payment made by or on behalf
  of the Issuer to or for the benefit of the Insured Noteholders in respect of any Insured Amount forming the
  basis of a claim under the Policy (which claim shall have been paid by the Insurer) shall be received and
  held in trust for the benefit of the Insurer and shall be paid over to the Insurer. The Beneficiary on behalf
  of the Insured Noteholders shall cooperate in all reasonable respects, and at the expense of the Insurer,
  with any request by the Insurer for action to preserve or enforce the Insurer's rights and remedies in
  respect of the Issuer under the Insured Notes, any related security arrangements or otherwise, including
  without limitation any request to (i) institute or participate in any suit, action or other proceeding, (ii)
  enforce any judgment obtained and collect from the Issuer any amounts adjudged due or (iii) transfer to
  the Insurer, via absolute legal assignment, the Beneficiary's rights on behalf of the Insured Noteholders in
  respect of any Insured Amount which may form the basis of a claim thereunder.

          For a discussion of the rights and powers of the Insurer as the Controlling Class upon an Event of
  Default, see "Description of the Securities—The Indenture—Events of Default."

           To the fullest extent permitted by applicable law, the Insurer will waive, for the benefit of the
  Beneficiary and each Insured Noteholder, all its rights (whether by counterclaim, setoff or otherwise) and
  all defenses of any kind (including the defense of fraud), whether acquired by subrogation, assignment or
  otherwise, to the extent that such rights and defenses may be available to the Insurer to avoid payment of
  its obligations under the Policy. Any rights of subrogation acquired by the Insurer as a result of any
  payment under the Policy will be subject to the Priority of Payments in accordance with the express
  provisions of the Policy. Notwithstanding the foregoing, the Insurer will reserve all rights to assert,
  subsequent to making payment to the Beneficiary of the Insured Amounts and payment in full of the
  Insured Notes in accordance with the Indenture, any claim it may have against the Beneficiary or any
  other Person (other than any Insured Noteholder) and none of the foregoing waivers shall prejudice any
  such claim the Insurer may have, whether directly or as a subrogee, subsequent to making such payment
  to the Beneficiary; provided that any such claim does not seek to impair payment by the Beneficiary to
  the Holders of Insured Notes of the proceeds of the Policy. The Insurer will acknowledge in the Policy

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  that, with regard to the Insured Noteholders, the waivers contained in this paragraph are complete waivers
  and that there shall be no reserved rights to proceed against such parties subsequent to such payment.

       THE POLICY IS NOT COVERED BY THE NEW YORK PROPERTY/CASUALTY
  INSURANCE SECURITY FUND SPECIFIED IN ARTICLE 76 OF THE NEW YORK
  INSURANCE LAW.

  Insurance Agreement

          The Issuer, the Co-Issuer and the Insurer will enter into an Insurance Agreement. Pursuant to the
  Insurance Agreement and the Indenture, the Issuer will agree to pay or reimburse the Insurer for:

                  (i)     all amounts paid by the Insurer under the Policy for the benefit of the Holders of
          the Insured Notes (unless such amounts have previously been repaid to the Insurer); and

                  (ii)   all reasonable out-of-pocket costs and expenses incurred by the Insurer in
          connection with the transactions contemplated by the related documents, as described in the
          Insurance Agreement;

  and, in the case of clause (i) above, interest accrued on the foregoing amounts at the Accrued Insurance
  Liabilities Interest Rate for the period from the date the Insurer paid or advanced such amounts until the
  date such amounts are paid in full. In addition, the Issuer will agree to pay and to protect, indemnify and
  save harmless, the Insurer and its officers, directors, shareholders, employees, agents and each Person, if
  any, who controls the Insurer within the meaning of either Section 15 of the Securities Act or Section 20
  of the Exchange Act from and against all losses incurred by reason of:

                  (i)     any actual or alleged statement, omission or action (other than of or by the
          Insurer) in connection with the offering, issuance, sale or delivery of the Securities;

                  (ii)     the actual or alleged negligence, willful misconduct, misfeasance, malfeasance or
          theft committed by any director, officer, employee, agent or advisor of the Issuer in connection
          with the transactions or relating to any related document to which it is a party;

                  (iii)     the actual or alleged violation by the Issuer of any domestic or foreign law, rule
          or regulation, including, but not limited to, any securities or banking law, rule or regulation in
          connection with any issuance, offer and sale of the Securities, or any judgment, order or decree
          applicable to it;

                  (iv)     (A) the actual or alleged breach by the Issuer of any representation, warranty or
          covenant under any of the related documents, or (B) any event of default under any related
          document or any event which, with the giving of notice or the lapse of time or both, would
          constitute an event of default thereunder; or

                  (v)      any untrue statement or alleged untrue statement of a material fact contained
          herein or any omission or alleged omission to state herein a material fact required to be stated
          herein or necessary to make the statements herein, in light of the circumstances under which they
          were made, not misleading, except insofar as such claims arise out of or are based upon any
          untrue statement or alleged untrue statement or omission or alleged omission in information
          included herein furnished by the Insurer expressly for use herein (all such information so
          furnished being referred to herein as "Insurer Information"), it being understood that the Insurer
          Information is limited solely to the information included under the caption "The Insurer and the
          Policy—The Insurer" (including all information incorporated by reference therein) and in Exhibit
          A to this Offering Circular and the documents filed by the Insurer with the Maryland Insurance
          Administration and by AGL with the SEC incorporated by reference herein.


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           Pursuant to the Premium Letter, the Issuer will agree to pay to the Insurer on each Payment Date
  a premium (the "Premium") in accordance with the terms of the Insurance Agreement and the Indenture.
  All amounts owing by the Issuer under the Insurance Agreement will be payable in accordance with the
  Priority of Payments. See "Description of the Securities—Priority of Payments." The Premium payable
  to the Insurer will cease to accrue on any date on which the Policy is terminated or otherwise ceases to be
  outstanding and in full force and effect.

           The occurrence of an Insurance Agreement Event of Default will constitute an Event of Default
  under the Indenture so long as the Insurer is the Controlling Party and will allow the Insurer, among other
  things, to direct the Trustee to declare the principal of and interest on the Notes immediately due and
  payable. See "Description of the Securities—The Indenture—Events of Default".

          Pursuant to the Indenture, so long as it is the Controlling Class, the Insurer will have the right to
  exercise all the rights of the Holders of the Insured Notes under the Indenture and, except in certain
  limited circumstances, the Holders of the Insured Notes will not be permitted to exercise any such rights
  without the consent of the Insurer.

          For information concerning the business, ratings and regulation of the Insurer, see "The Insurer
  and the Policy—The Insurer."

  Insurance Agreement Events of Default

          The occurrence of any of the following events shall constitute an "Event of Default" under the
  Insurance Agreement (each , an "Insurance Agreement Event of Default"):

                   (i)     any representation or warranty made by the Issuer or the Co-Issuer under the
          Insurance Agreement shall prove to have been untrue, inaccurate or incorrect in any material
          respect when made, and it shall fail to cure such breach of representation or warranty within 15
          calendar days for any representation or warranty regarding the Collateral or within 30 calendar
          days, for any other representation or warranty, in each case after the date which is the earlier of
          (x) the date on which the it has actual knowledge of such breach or (y) the date on which notice
          thereof was given to it, and in each case, which breach or breaches (individually or collectively)
          has or can be reasonably be expected to have a material adverse effect on the Insurer; and

                   (ii)     the Issuer or the Co-Issuer shall fail to perform or observe in any material respect
          any covenant or agreement to be performed or observed by it under the Insurance Agreement and
          such failure shall continue for a period of 30 calendar days after the date which is the earlier of
          (x) the date on which it has actual knowledge of such failure or (y) the date on which written
          notice thereof was given to it; provided, however, that if such failure shall be of a nature that it
          cannot be cured within 30 calendar days, such failure shall not constitute an Insurance Agreement
          Event of Default if within such 30 calendar-day period it shall have given written notice to the
          Insurer of corrective action it proposes to take, which corrective action shall have been agreed in
          writing by the Insurer to be satisfactory and it shall thereafter pursue such corrective action
          diligently until such default is cured.




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                                             THE CO-ISSUERS
  General

          The Issuer was incorporated as an exempted limited liability company on October 21, 2004 in the
  Cayman Islands under registration number 140999 and the Issuer Charter was adopted by the holder of all
  the Issuer Ordinary Shares on February 4, 2005. The registered office of the Issuer is at the offices of
  Maples Finance Limited, P.O. Box 1093 GT, Queensgate House, South Church Street, George Town,
  Grand Cayman, Cayman Islands. The Issuer has no prior operating experience (other than in connection
  with the acquisition of the Collateral Obligations during the Accumulation Period) and will not have any
  material assets other than (i) the Collateral pledged to secure the Secured Obligations, and (ii) $500 (of
  which $250 represents the Issuer's ordinary share capital and $250 represents a fee for issuing the
  Securities).

           The Co-Issuer was incorporated on January 19, 2005 in the State of Delaware under registration
  number 3914226 as a corporation and has a perpetual existence. The registered office of the Co-Issuer is
  at 850 Library Avenue, Suite 204, Newark, Delaware 19711. The Co-Issuer has no prior operating
  history and will not have any material assets. The Issuer will be the sole member of the Co-Issuer.

           The Notes are limited recourse obligations of the Co-Issuers, the Composite Securities will be
  limited recourse obligations of the Issuer and the Preference Shares are equity interests only in the Issuer.
  The Securities are not obligations of the Trustee, the Preference Shares Paying Agent, the Portfolio
  Manager, JPMorgan, the Administrator, the Holders of the Preference Shares, Maples Finance Limited, as
  the share trustee (in such capacity, the "Share Trustee"), or any directors or officers of the Co-Issuers or
  any of their respective Affiliates.

          At the Closing Date, the authorized and issued share capital of the Issuer consists of 250 ordinary
  shares, U.S.$1.00 par value per share (the "Issuer Ordinary Shares") and 82,200 Preference Shares,
  U.S.$0.01 par value per share, 100% of which will be issued on or about the Closing Date. The
  authorized common stock of the Co-Issuer consists of 1,000 shares of common stock, U.S.$0.01 par value
  (the "Co-Issuer Common Stock"), all of which shares will be issued on or about the Closing Date. All
  of the outstanding Issuer Ordinary Shares and all of the Co-Issuer Common Stock will be held by the
  Share Trustee. For so long as any of the Securities are Outstanding, no transfer of any Issuer Ordinary
  Shares or Co-Issuer Common Stock to a U.S. Person shall be registered.




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  Capitalization

           The initial proposed capitalization of the Issuer as of the Closing Date after giving effect to the
  initial issuance of the Securities and the Issuer Ordinary Shares (before deducting expenses of the
  offering) is as set forth below.

                                                                                              Amount (U.S.$)
          Class A-1a Notes ...........................................................             52,000,000
          Class A-1b Notes ...........................................................               7,000,000
          Class A-1g Notes ...........................................................            400,000,000
          Class A-2 Notes .............................................................            42,500,000
          Class A-3a Notes ...........................................................             23,500,000
          Class A-3b Notes ...........................................................               2,500,000
          Class B Notes.................................................................           39,000,000
          Class C Notes.................................................................           36,300,000
                Total Notes ...........................................................           602,800,000

          Class 1 Composite Securities.........................................                         6,000,0001

          Preference Shares...........................................................                 82,200,0002
          Issuer Ordinary Shares...................................................                            250
                Total Equity..........................................................                  82,200,250

         Total Capitalization........................................................ 689,000,2503
  _________________________
  1.
     The capitalization relating to the Class 1 Composite Securities consisting of the Preference Share
     Component is also included in the initial aggregate Face Amount of the Preference Shares, but such
     amount is not included in the calculation of Total Capitalization of the Issuer.
  2.
     Including the portion of the Preference Shares represented by the Class 1 Composite Securities.
  3.
     Does not total because the Total Capitalization has excluded the capitalization relating to the
     $2,000,000 aggregate Face Amount of the Preference Shares underlying the Preference Share
     Component.

          The Co-Issuer will be capitalized only to the extent of its common equity of U.S.$10, will have
  no assets other than its equity capital and will have no debt other than as Co-Issuer of the Notes.

  Business

          General

           Object 3 of the Issuer Charter provides that the objects for which the Issuer is established are
  unrestricted and the Issuer shall have full power and authority to carry out any object not prohibited by
  the Companies Law (2004 Revision) or as the same may be revised from time to time, or any other law of
  the Cayman Islands. Article III of the Co-Issuer's Certificate of Incorporation provides that the principal
  purpose of the Co-Issuer is the issuance of the Notes and to engage in any lawful act or activity and to
  exercise any powers permitted to corporations organized under Delaware Law and to engage in any and
  all activities necessary or incidental thereto.




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          The Issuer

          The Indenture provides that the activities of the Issuer are limited to the following:

          (i)     acquisition and disposition of, and investment and reinvestment in, Collateral Obligations
                  and Eligible Investments;

          (ii)    entering into, and performing its obligations under, the Indenture, the Preference Share
                  Documents, the Insurance Documents, any Hedge Agreements, the Securities Lending
                  Agreements, the Management Agreement, the Collateral Administration Agreement, the
                  Administration Agreement and the Purchase Agreement;

          (iii)   the issuance and sale of the Securities and the Issuer Ordinary Shares;

          (iv)    the pledge of the Collateral as security for its obligations in respect of the Notes and any
                  Hedge Agreements;

          (v)     the pledge of the Class 1 Collateral as security for its obligations in respect of the Class 1
                  Composite Securities (solely to the extent of the Class 1 Component);

          (vi)    entering into certain pre-closing warehousing arrangements and the agreements relating
                  thereto; and

          (vii)   undertaking certain other activities incidental to the foregoing.

          The Co-Issuer

          The activities of the Co-Issuer are to be limited to the following:

          (i)     the issuance of its common stock;

          (ii)    the co-issuance and sale of the Notes; and

          (iii)   undertaking certain other activities incidental to the foregoing and permitted by the
                  Indenture.

  Administration

           Maples Finance Limited (in such capacity, the "Administrator"), a Cayman Islands company,
  will act as the administrator of the Issuer, the Share Registrar and the Share Trustee. The office of the
  Administrator will serve as the principal office of the Issuer. Through this office and pursuant to the
  terms of an agreement by and between the Administrator and the Issuer (as amended, supplemented and
  modified from time to time) (the "Administration Agreement"), the Administrator will perform various
  management functions on behalf of the Issuer, including the provision of certain clerical, administrative
  and other services including acting as Share Registrar until termination of the Administration Agreement.
  In consideration of the foregoing, the Administrator will receive various fees and reimbursement of its
  expenses.

           The activities of the Administrator under the Administration Agreement will be subject to the
  overview of the Issuer's Board of Directors. The Administration Agreement may be terminated by the
  Issuer upon 14 days' written notice following the happening of certain events or upon 90 days' written
  notice in all other cases. Upon the earlier of the termination of the Administration Agreement or the
  dissolution of the Issuer, the Administrator shall cease to serve in such capacity.

           The Administrator's principal office is at P.O. Box 1093 GT, Queensgate House, South Church
  Street, George Town, Grand Cayman, Cayman Islands.

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  Directors

          The Issuer will have three directors, each of whom is an employee or officer of the Administrator.
  Below is information regarding the background and experience of certain persons who will be the
  Directors of the Board of the Issuer.

          The Directors of the Issuer are Carrie Bunton, Chris Leslie and Phillip Hinds.

           The directors of the Issuer serve as directors of, and provide services to, other special purpose
  entities that issue collateralized obligations and perform other duties for the Administrator. They may be
  contacted at the address of the Administrator.

           The director of the Co-Issuer is Donald Puglisi. Mr. Puglisi is also the President, Secretary and
  Treasurer of the Co-Issuer. Mr. Puglisi is a Professor of Finance at the University of Delaware. Mr.
  Puglisi serves as a director of, and provides services to, a number of special purpose entities. He may be
  contacted at the address of the Co-Issuer.

                                           THE LOAN MARKET
          A substantial portion, by principal amount, of the Collateral Obligations is expected to consist of
  corporate loans rated below investment grade extended to U.S. and other non-U.S. borrowers. Such loans
  are typically negotiated by one or more commercial banks or other financial institutions and syndicated
  among a group of commercial banks and financial institutions.

           Corporate loans are typically at the most senior level of the capital structure, and are often
  secured by specific collateral, including but not limited to, trademarks, patents, accounts receivable,
  inventory, equipment, buildings, real estate, franchises and common and preferred stock of the obligor
  and its subsidiaries. Some loans may be unsecured, subordinated to other obligations of the obligor and
  may have greater credit and liquidity risk than is typically associated with senior secured corporate loans.
  The corporate loans expected to secure the Notes are of a type generally incurred by the borrowers
  thereunder in connection with a highly leveraged transaction, often to finance internal growth,
  acquisitions, mergers, stock purchases, or for other reasons. As a result of the additional debt incurred by
  the borrower in the course of the transactions, the borrower's creditworthiness is often judged by the
  rating agencies to be below investment grade. In order to induce the banks and institutional investors to
  invest in a borrower's loan facility, and to offer a favorable interest rate, the borrower often provides the
  banks and institutional investors with extensive information about its business, which is not generally
  available to the public. Because of the provision of confidential information, the unique and customized
  nature of a loan agreement, and the private syndication of the loan, loans are not as easily purchased or
  sold as a publicly traded security, and historically the trading volume in the loan market has been small
  relative to the high yield bond market.

           Corporate loans often provide for restrictive covenants designed to limit the activities of the
  borrower in an effort to protect the right of lenders to receive timely payments of interest on and
  repayment of principal of the loans. Such covenants may include restrictions on dividend payments,
  specific mandatory minimum financial ratios, limits on total debt and other financial tests. A breach of
  covenant (after giving effect to any cure period) in a loan that is not waived by the lending syndicate
  normally is an event of acceleration that allows the syndicate to demand immediate repayment in full of
  the outstanding loan. Loans usually have shorter terms than more junior obligations and may require
  mandatory prepayments from excess cash flow, asset dispositions and offerings of debt and/or equity
  securities.

          The majority of loans bear interest based on a floating rate index, e.g., LIBOR, the certificate of
  deposit rate, a prime or base rate (each as defined in the applicable loan agreement) or other index, which
  may reset daily (as most prime or base rate indices do) or offer the borrower a choice of one, two, three,


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  six, nine or twelve month interest rate and rate reset periods. The purchaser of a loan may receive certain
  syndication or participation fees in connection with its purchase. Other fees payable in respect of a loan,
  which are separate from interest payments on such loan, may include facility, commitment, amendment
  and prepayment fees.

           Purchases of loans are predominantly investment and commercial banks, which have applied their
  experience in high yield securities to the commercial and industrial loan market, acting as both principal
  and broker. The range of investors for loans has broadened to include money managers, insurance
  companies, arbitrageurs, bankruptcy investors and mutual funds seeking increased potential total returns
  and portfolio managers of trusts or special purpose companies issuing collateralized bond and loan
  obligations. As secondary market trading volumes increase, new loans are frequently adopting more
  standardized documentation to facilitate loan trading that should improve market liquidity. There can be
  no assurance, however, that future levels or supply and demand in loan trading will provide the degree of
  liquidity that currently exists in the market.

                           THE HIGH YIELD DEBT SECURITIES MARKET
           A portion of the Collateral Obligations securing the Notes will consist of high yield debt
  securities rated below investment grade and Synthetic Securities, the Reference Obligations of which are
  high yield debt securities rated below investment grade. High yield debt securities are generally
  unsecured, may be subordinated to other obligations of the obligor and generally have greater credit and
  liquidity risk than is typically associated with investment grade corporate obligations. The lower rating of
  high yield debt securities reflects a greater possibility that adverse changes in the financial condition of
  the obligor or in general economic conditions (including a sustained period of rising interest rates or an
  economic downturn) may adversely affect the obligor's ability to pay principal and interest on its debt.
  Many issuers of high yield debt obligations are highly leveraged, and specific developments affecting
  such issuers, including reduced cash flow from operations or inability to refinance at maturity, may also
  adversely affect such issuers' ability to meet their debt service obligations.

           High yield debt securities are often issued in connection with leveraged acquisitions or
  recapitalizations in which the issuers incur a substantially higher amount of indebtedness than the level at
  which they had previously operated. High yield debt securities have historically experienced greater
  default rates than has been the case for investment grade securities. Although several studies have been
  made of historical default rates in the high yield market, such studies do not necessarily provide a basis
  for drawing definitive conclusions with respect to default rates and, in any event, do not necessarily
  provide a basis for predicting future default rates.

                                   INCOME TAX CONSIDERATIONS
  General

           The following summary describes the principal U.S. federal income tax and Cayman Islands tax
  consequences of the purchase, ownership and disposition of the Notes and the Preference Shares to
  investors that acquire the Notes and the Preference Shares at original issuance and, in the case of the
  Notes, for an amount equal to the Issue Price of the relevant Class of Notes (for purposes of this section,
  with respect to each such Class of Notes, the first price at which a substantial amount of Notes of such
  Class are sold to investors (excluding bond houses, brokers, underwriters, placement agents and
  wholesalers) is referred to herein as the "Issue Price"). This summary does not purport to be a
  comprehensive description of all the tax considerations that may be relevant to a particular investor's
  decision to purchase the Notes and the Preference Shares. In addition, this summary does not describe
  any tax consequences arising under the laws of any state, locality or taxing jurisdiction other than the
  United States federal income tax laws and Cayman Islands tax laws. In general, the summary assumes
  that a Holder holds a Security as a capital asset and not as part of a hedge, straddle or conversion
  transaction, within the meaning of Section 1258 of the Code.


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         The opinions expressed below were not written and are not intended by McKee
  Nelson LLP, special U.S. tax counsel to the Issuer, to be used and cannot be used by the
  Issuer or any Noteholder for purposes of avoiding United States federal income tax
  penalties that may be imposed, the advice is written to support the promotion or
  marketing of the transactions, and each taxpayer should seek advice based on the
  taxpayer's particular circumstances from an independent tax advisor.

           This summary is based on the U.S. and Cayman Islands tax laws, regulations (final, temporary
  and proposed), administrative rulings and practice and judicial decisions in effect or available on the date
  of this Offering Circular. All of the foregoing are subject to change or differing interpretation at any time,
  which change or interpretation may apply retroactively and could affect the continued validity of this
  summary.

          This summary is included herein for general information only, and there can be no assurance that
  the U.S. Internal Revenue Service (the "IRS") will take a similar view of the U.S. federal income tax
  consequences of an investment in the Securities as described herein. ACCORDINGLY, PROSPECTIVE
  PURCHASERS OF THE SECURITIES SHOULD CONSULT THEIR OWN TAX ADVISORS AS TO
  U.S. FEDERAL INCOME TAX AND CAYMAN ISLANDS TAX CONSEQUENCES OF THE
  PURCHASE, OWNERSHIP AND DISPOSITION OF THE SECURITIES, AND THE POSSIBLE
  APPLICATION OF STATE, LOCAL, FOREIGN OR OTHER TAX LAWS.

           As used in this section, the term "U.S. Holder" includes a beneficial owner of a Security that is,
  for U.S. federal income tax purposes, a citizen or individual resident of the United States of America, an
  entity treated for United States federal income tax purposes as a corporation or a partnership created or
  organized in or under the laws of the United States of America or any state thereof or the District of
  Columbia, an estate the income of which is includable in gross income for U.S. federal income tax
  purposes regardless of its source, or a trust if, in general, a court within the United States of America is
  able to exercise primary supervision over its administration and one or more U.S. persons have the
  authority to control all substantial decisions of such trust, and certain eligible trusts that have elected to be
  treated as United States persons. This summary also does not address the rules applicable to certain types
  of investors that are subject to special U.S. federal income tax rules, including but not limited to, dealers
  in securities or currencies, traders in securities, financial institutions, U.S. expatriates, tax-exempt entities
  (except with respect to specific issues discussed herein), charitable remainder trusts and their
  beneficiaries, insurance companies, persons or their qualified business units whose functional currency is
  not the U.S. Dollar, persons that own (directly or indirectly) equity interests in Holders of Securities and
  subsequent purchasers of the Securities.

          In this summary, the treatment of each of the Class 1 Composite Securities either as a single unit
  or as its respective Components is uncertain because the Class 1 Composite Securities cannot be
  exchanged for its respective Components. If treated as a single unit, each of the Class 1 Composite
  Securities will be treated as equity (and the analysis applicable to equity interests in the Issuer shall
  apply). If treated as two separate Components, then a holder of a Class 1 Composite Security will be
  treated as directly holding the Preference Share constituting the Preference Share Component and the
  United States Treasury strip security constituting the Class 1 Component. Holders of the Class 1
  Composite Securities should refer to the discussion of the Preference Shares with respect to the
  Preference Share Component and should refer to their own tax advisers with respect to the Class 1
  Component.




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  United States Federal Income Taxation

  Tax Treatment of the Issuer

           The Code and the Treasury Regulations promulgated thereunder provide a specific exemption
  from U.S. federal income tax to non-U.S. corporations which restrict their activities in the United States
  to trading in stocks and securities (and any other activity closely related thereto) for their own account,
  whether such trading (or such other activity) is conducted by the corporation or its employees or through
  a resident broker, commission agent, custodian or other agent. This particular exemption does not apply
  to non-U.S. corporations that are engaged in activities in the United States other than trading in stocks and
  securities (and any other activity closely related thereto) for their own account or that are dealers in stocks
  and securities.

           The Issuer intends to rely on the above exemption and does not intend to operate so as to be
  subject to U.S. federal income taxes on its net income. In this regard, on the Closing Date, the Issuer will
  receive an opinion from McKee Nelson LLP, special U.S. tax counsel to the Issuer ("Special U.S. Tax
  Counsel") to the effect that, although no activity closely comparable to that contemplated by the Issuer
  has been the subject of any Treasury Regulation, revenue ruling or judicial decision, under current law
  and assuming compliance with the Indenture, the Preference Share Documents, the Management
  Agreement, and other related documents (the "Documents") by all parties thereto, the Issuer's
  contemplated activities will not cause it to be engaged in a trade or business in the United States under the
  Code and, consequently, the Issuer's profits will not be subject to U.S. federal income tax on a net income
  basis (or the branch profits tax described below). The opinion of Special U.S. Tax Counsel will be based
  on the Code, the Treasury Regulations (final, temporary and proposed) thereunder, the existing
  authorities, and Special U.S. Tax Counsel's interpretation thereof, and on certain factual assumptions and
  representations as to the Issuer's contemplated activities. The Issuer intends to conduct its affairs in
  accordance with such assumptions and representations, and the remainder of this summary assumes such
  result. In addition, in interpreting and complying with the Documents and such assumptions and
  representations, the Issuer and the Portfolio Manager are entitled to rely upon the advice and/or opinions
  of their selected counsel, and the opinion of Special U.S. Tax Counsel will assume that any such advice
  and/or opinions are correct and complete. However, the opinion of Special U.S. Tax Counsel and any
  such other advice or opinions are not binding on the IRS or the courts, and no ruling will be sought from
  the IRS regarding this, or any other, aspect of the U.S. federal income tax treatment of the Issuer.
  Accordingly, in the absence of authority on point, the U.S. federal income tax treatment of the Issuer is
  not entirely free from doubt, and there can be no assurance that positions contrary to those stated in the
  opinion of Special U.S. Tax Counsel or any such other advice or opinions may not be asserted
  successfully by the IRS.

           If, notwithstanding the aforementioned opinion of Special U.S. Tax Counsel, it were determined
  that the Issuer were engaged in a trade or business in the United States (as defined in the Code), and the
  Issuer had taxable income that was effectively connected with such U.S. trade or business, the Issuer
  would be subject under the Code to the regular U.S. corporate income tax on such effectively connected
  taxable income (and possibly to the 30% branch profits tax as well). The imposition of such taxes would
  materially affect the Issuer's financial ability to make payments with respect to the Securities and could
  materially affect the yield of the Notes and the return on the Preference Shares.

          United States Withholding Taxes. Although, based on the foregoing, the Issuer is not expected to
  be subject to U.S. federal income tax on a net income basis, income derived by the Issuer may be subject
  to withholding taxes imposed by the United States or other countries. Generally, U.S. source interest
  income received by a foreign corporation not engaged in a trade or business within the United States is
  subject to U.S. withholding tax at the rate of 30% of the amount thereof. The Code provides an
  exemption (the "portfolio interest exemption") from such withholding tax for interest paid with respect
  to certain debt obligations issued after July 18, 1984, unless the interest constitutes a certain type of
  contingent interest or is paid to a 10% shareholder of the payor, to a controlled foreign corporation related

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  to the payor, or to a bank with respect to a loan entered into in the ordinary course of its business. In this
  regard, the Issuer is permitted to acquire a particular Collateral Obligation only if the payments thereon
  are exempt from U.S. withholding taxes at the time of purchase or the obligor is required to make "gross-
  up" payments that offset fully any such tax on any such payments. Accordingly, assuming compliance
  with the foregoing restrictions and subject to the foregoing qualifications, income derived by the Issuer
  will be free of or fully "grossed up" for any material amount of U.S. withholding tax. However, there can
  be no assurance that income derived by the Issuer will not generally become subject to U.S. withholding
  tax as a result of a change in U.S. tax law or administrative practice, procedure, or interpretations thereof.
  It is also anticipated that the Issuer will acquire Collateral Obligations that consist of obligations of non-
  U.S. issuers. In this regard, the Issuer may only acquire a particular Collateral Obligation if either the
  payments thereon are not subject to foreign withholding tax or the obligor of the Collateral Obligation is
  required to make "gross-up" payments.

           Prospective investors should be aware that, under certain Treasury Regulations, the IRS may
  disregard the participation of an intermediary in a "conduit" financing arrangement and the conclusions
  reached in the immediately preceding paragraph assume that such Treasury Regulations do not apply.
  Those Treasury Regulations could require withholding of U.S. federal income tax from payments to the
  Issuer of interest on the Collateral. In order to prevent "conduit" classification, each holder and beneficial
  owner of a Preference Share (including a Preference Share Component of a Class 1 Composite Security)
  (other than a subsequent transferee of an interest in the Regulation S Global Preference Shares) that is not
  a "United States person" (as defined in Section 7701(a)(30) of the Code) will be required to provide to the
  Issuer and the Trustee written certification in a form of certification acceptable to the Issuer and the
  Trustee as to whether it is an Affected Bank. Each subsequent transferee (other than an initial transferee
  from the Initial Purchaser) of an interest in the Regulation S Global Preference Shares (including the
  Preference Share Components of the Class 1 Composite Securities) will be deemed to represent to the
  Issuer and to the Trustee that it is not an Affected Bank. No transfer of any Preference Share (including a
  Preference Share Component of a Class 1 Composite Security) to an Affected Bank will be effective, and
  the Trustee will not recognize any such transfer, unless such transfer is specifically authorized by the
  Issuer in writing; provided, however, that the Issuer shall authorize any such transfer if (x) such transfer
  would not cause more than 33 1/3% of the Aggregate Outstanding Amount of the Preference Shares
  (including the Preference Share Components of the Class 1 Composite Securities) to be owned by
  Affected Banks or (y) the transferor is an Affected Bank previously approved by the Issuer. In addition,
  each Holder and beneficial owner of a Preference Share (including a Preference Share Component of a
  Class 1 Composite Security) will be required to make the representations set forth under "Transfer
  Restrictions."

  Tax Treatment of U.S. Holders of the Notes

          Treatment of the Notes. In the opinion of Special U.S. Tax Counsel, the Notes will be treated as
  debt for U.S. federal income tax purposes when issued and this summary assumes such treatment.
  Further, the Issuer will treat, and each Holder and beneficial owner of a Note (by acquiring such Note or
  an interest in such Note) will agree to treat, such Note as debt for U.S. federal income tax purposes,
  except as otherwise required by law. With regard to the characterization for U.S. federal income tax
  purposes of the Notes issued after the Closing Date, prospective investors should note that the
  characterization of an instrument as debt or equity for U.S. federal income tax purposes is highly factual
  and must be based on the applicable law and the facts and circumstances existing at the time such
  instrument is issued and material changes from those existing on the Closing Date (e.g. a material decline
  in the value of the Issuer's assets, a material adverse change in the Issuer's ability to repay the Notes
  previously issued, and/or a material decline in the proportion of the Preference Shares) could affect the
  characterization of the Notes issued after (but not before) such changes. However, the opinion of Special
  U.S. Tax Counsel is based on current law and certain representations and assumptions and is not binding
  on the IRS or the courts, and no ruling will be sought from the IRS regarding this, or any other, aspect of
  the U.S. federal income tax treatment of the Notes. Accordingly, there can be no assurance that the IRS
  will not contend, and that a court will not ultimately hold, that for U.S. federal income tax purposes one

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  or more Classes of the Notes (e.g., the Class C Notes as a result of the terms of these Notes and place in
  the Issuer's capital structure) are properly treated as equity in the Issuer. In that case, the U.S. federal
  income tax consequences to U.S. Holders of the Notes would be substantially the same as those set forth
  under "Tax Treatment of U.S Holders of Preference Shares" and there might be adverse U.S. federal
  income tax consequences to a U.S. Holder of Notes upon the sale, redemption, retirement or other
  disposition of, or the receipt of certain types of distributions on, the Notes. The following discussion
  assumes that the Notes will be treated as debt of the Issuer for U.S. federal income tax purposes.

          Interest or Discount on the Notes. U.S. Holders of the Senior Class A Notes, the Class A-2 Notes
  and the Class A-3 Notes generally will include in gross income payments of stated interest as received in
  accordance with their usual method of tax accounting, as ordinary interest income from sources outside
  the United States.

          If the Issue Price of a Class of Notes is less than the "stated redemption price at maturity" of such
  Class of Notes by more than a de minimis amount, U.S. Holders of Notes of such Class will be considered
  to have purchased such Notes with original issue discount ("OID"). The stated redemption price at
  maturity of a Class of Notes will be the sum of all payments to be received on Notes of such Class, other
  than payments of "qualified stated interest" (i.e., generally, stated interest which is unconditionally
  payable in money at least annually during the entire term of a debt instrument). Interest is
  unconditionally payable if reasonable remedies exist to compel payment as the or the terms of the
  instrument make late payment or non-payment remote. Prospective U.S. Holders of the Class B Notes
  and the Class C Notes should note that, because interest on these Notes may not qualify as
  unconditionally payable on each Payment Date (and, therefore, may not be "qualified stated interest"), all
  of the stated interest payments on one or both of these Notes classes may be included in the stated
  redemption prices at maturity, and required to be accrued by U.S. Holders pursuant to the OID rules
  described below. Such OID inclusion on such Notes generally will be treated as income from sources
  outside the United States.

          A U.S. Holder of such Class of Notes issued with OID will be required to accrue and include in
  gross income the sum of the "daily portions" of total OID on such Notes for each day during the taxable
  year on which the U.S. Holder held such Notes, generally under a constant yield method, regardless of
  such U.S. Holder's usual method of accounting for U.S. federal income tax purposes. If a Note is issued
  at a discount from its stated principal balance and that discount is considered to represent only a de
  minimis amount of OID, such discount is not subject to accrual under the OID rules and should be
  included in gross income proportionately as stated principal payments are received. Such de minimis OID
  should be treated as gain from the sale or exchange of property and may be eligible as capital gain if the
  Note is a capital asset in the hands of the U.S. Holder.

           In the case of such Class of Notes that provides for a floating rate of interest, the amount of OID
  to be accrued over the term of such Notes will be based initially on the assumption that the floating rate in
  effect for the first accrual period of such Notes will remain constant throughout their term. To the extent
  such rate varies with respect to any accrual period, such variation will be reflected in an increase or
  decrease of the amount of OID accrued for such period. Under the foregoing method, U.S. Holders of the
  Notes may be required to include in gross income increasingly greater amounts of OID and may be
  required to include OID in advance of the receipt of cash attributable to such income.

           The Issuer intends to treat Classes of Notes issued with more than de minimis OID as being
  subject to rules prescribed by Section 1272(a)(6) of the Code using an assumption as to the prepayments
  on such Class of Notes, as discussed below under "—OID on the Notes." A prepayment assumption
  applies to debt instruments if payments under such debt instruments may be accelerated by reason of
  prepayments of other obligations securing such debt instruments.

         OID on the Notes. The following discussion will apply to a Class of Notes if it is issued with
  more than de minimis OID. Because principal repayments on the Notes are subject to acceleration, the

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  method by which OID on the Notes is required to be accrued is uncertain. For purposes of accruing OID
  on these Notes under such circumstances, the Issuer intends to treat these Notes as being subject to the
  "prepayment assumption method". These rules require that the amount and rate of accrual of OID be
  calculated based on a prepayment assumption and the anticipated reinvestment rate, if any, relating to the
  Notes and prescribe a method for adjusting the amount and rate of accrual of the discount where the
  actual prepayment rate differs from the prepayment assumption. Under the Code, the prepayment
  assumption must be determined in the manner prescribed by the Treasury Regulations, which have not yet
  been issued. The legislative history provides, however, that Congress intended the Treasury Regulations
  to require that the prepayment assumption be the prepayment assumption that is used in determining the
  initial offering price of the Notes. Solely for purposes of determining OID, market discount and bond
  premium, the Issuer intends to assume that the Collateral Obligations will either not prepay or any
  prepayments will be reinvested. No representation is made that the Notes will prepay at the prepayment
  assumption or at any other rate.

          It is possible the IRS could contend that another method of accruing OID with respect to these
  Notes is appropriate that may result in adverse or more favorable U.S. federal income tax consequences to
  a U.S. Holder of such Notes. One such alternative method of accruing OID may be the noncontingent
  bond method that governs contingent payment debt obligations. Such method could affect the amount
  and character of the gain or loss recognized upon a disposition of a Note.

           A purchaser of a Note issued with OID who purchases such Note at a cost greater than the
  adjusted issue price but less than the stated redemption price at maturity will also be required to include in
  gross income the sum of the daily portions of OID on such Note. In computing the daily portions of OID,
  however, the daily portion is equal to the amount that would be the daily portion for the day (computed in
  accordance with the rules set forth above) multiplied by a fraction, the numerator of which is the amount,
  if any, by which the price paid by the U.S. Holder for such Note exceeds the following amount:

          •       The sum of the Issue Price plus the aggregate amount of OID that would have been
                  includible in the gross income of an original U.S. Holder (who purchased the Note at the
                  Issue Price); less

          •       Any prior payments included in the stated redemption price at maturity,

  and the denominator of which is the sum of the daily portions for such Note for all days beginning on the
  date after the purchase date and ending on the maturity date computed under the prepayment assumption.

          A U.S. Holder who purchases a Note at a cost greater than its stated redemption price at maturity
  may elect to amortize such premium under a constant yield method over the life of such Note. The
  amortizable amount for any accrual period would offset the amount of interest that must be included in
  the gross income of a U.S. Holder in such accrual period. The U.S. Holder's basis in such Note would be
  reduced by the amount of amortization. It is not clear whether the prepayment assumption would be
  taken into account in determining the life of such Note for this purpose.

          If the Holder acquires a Note at a discount to the adjusted issue price of such Note that is greater
  than a specified de minimis amount, such discount is treated as market discount. Absent an election to
  accrue into income currently, the amount of accrued market discount on a Note is included in income as
  ordinary income when principal payments are received or the Holder disposes of the Note. Market
  discount is included ratably unless a Holder elects to use a constant yield method for accrual. For this
  purpose, ratable may be the term of the Note, or a Holder may be permitted to accrue market discount in
  proportion to interest on Notes issued without OID or in proportion to OID on Notes issued with OID.

          As a result of the complexity of the OID rules, each U.S. Holder of a Note should consult its own
  tax advisor regarding the impact of the OID rules on its investment in such Note.



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           Election to Treat All Interest as OID. The OID rules permit a U.S. Holder of a Note to elect to
  accrue all interest, discount (including de minimis market or original issue discount) and premium in
  income, based on a constant yield method. If an election to treat all interest as OID were to be made with
  respect to a Note with market discount, the U.S. Holder of such Note would be deemed to have made an
  election to include in income currently market discount with respect to all other debt instruments having
  market discount that such U.S. Holder acquires during the taxable year of the election or thereafter. A
  U.S. Holder that makes this election for a Note that is acquired at a premium will be deemed to have
  made an election to amortize bond premium with respect to all debt instruments having amortizable bond
  premium that such U.S. Holder owns or acquires. The election to accrue interest, discount and premium
  on a constant yield method with respect to a Note cannot be revoked without the consent of the IRS.

          Disposition of the Notes. In general, a U.S. Holder of a Note initially will have a basis in such
  Note equal to the cost of such Note to such U.S. Holder, (i) increased by any amount includable in income
  by such U.S. Holder as OID and by any accrued market discount the Holder previously included in
  income with respect to such Note, and (ii) reduced by any amortized premium and by payments on such
  Note, other than payments of qualified stated interest. Upon a sale, exchange, redemption, retirement or
  other taxable disposition of a Note, a U.S. Holder will generally recognize gain or loss equal to the
  difference between the amount realized on the disposition (other than amounts attributable to accrued
  qualified stated interest, which will be taxable as described above) and the U.S. Holder's tax basis in such
  Note. Except to the extent of any accrued interest or accrued market discount not previously included in
  income, gain or loss from the disposition of a Note generally will be long term capital gain or loss if the
  U.S. Holder held the Note for more than one year at the time of disposition, provided that such Note is
  held as a "capital asset" (generally, property held for investment) within the meaning of Section 1221 of
  the Code.

          In certain circumstances, U.S. Holders that are individuals may be entitled to preferential
  treatment for net long-term capital gains; however, the ability of U.S. Holders to offset capital losses
  against ordinary income is limited.

           Gain recognized by a U.S. Holder on the sale, exchange, redemption, retirement or other taxable
  disposition of a Note generally will be treated as from sources within the United States and loss so
  recognized generally will offset income from sources within the United States.

  Tax Treatment of U.S. Holders of Preference Shares

           Investment in a Passive Foreign Investment Company. The Issuer will constitute a "passive
  foreign investment company" ("PFIC") and the Preference Shares will be treated as equity in the Issuer.
  Accordingly, U.S. Holders of Preference Shares (other than certain U.S. Holders that are subject to the
  rules pertaining to a "controlled foreign corporation" with respect to the Issuer, described below) will be
  considered U.S. shareholders in a PFIC. In general, a U.S. Holder of a PFIC may desire to make an
  election to treat the Issuer as a "qualified electing fund" ("QEF") with respect to such U.S. Holder.
  Generally, a QEF election should be made with the filing of a U.S. Holder's federal income tax return for
  the first taxable year for which it held the Preference Shares. If a timely QEF election is made for the
  Issuer, an electing U.S. Holder will be required in each taxable year to include in gross income (i) as
  ordinary income, such holder's pro rata share of the Issuer's ordinary earnings and (ii) as long-term
  capital gain, such holder's pro rata share of the Issuer's net capital gain, whether or not distributed. A
  U.S. Holder will not be eligible for the dividends received deduction in respect of such income or gain. In
  addition, any losses of the Issuer in a taxable year will not be available to such U.S. Holder and may not
  be carried back or forward in computing the Issuer's ordinary earnings and net capital gain in other
  taxable years. An amount included in an electing U.S. Holder's gross income should be treated as income
  from sources outside the United States for U.S. foreign tax credit limitation purposes. However, if U.S.
  Holders collectively own (directly or constructively) 50% or more (measured by vote or value) of the
  Preference Shares, such amount will be treated as income from sources within the United States for such
  purposes to the extent that such amount is attributable to income of the Issuer from sources within the

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  United States. If applicable to a U.S. Holder of Preference Shares, the rules pertaining to a "controlled
  foreign corporation", discussed below, generally override those pertaining to a PFIC with respect to
  which a QEF election is in effect.

           In certain cases in which a QEF does not distribute all of its earnings in a taxable year, U.S.
  shareholders may also be permitted to elect to defer payment of some or all of the taxes on the QEF's
  undistributed income subject to an interest charge on the deferred amount. In this respect, prospective
  purchasers of Preference Shares should be aware that it is expected that the Collateral Obligations may be
  purchased by the Issuer with substantial OID the cash payment of which may be deferred, perhaps for a
  substantial period of time, and the Issuer may use interest and other income from the Collateral
  Obligations to purchase additional Collateral Obligations or to retire the Notes. As a result, the Issuer
  may have in any given year substantial amounts of earnings for U.S. federal income tax purposes that are
  not distributed on the Preference Shares. Thus, absent an election to defer payment of taxes, U.S. Holders
  that make a QEF election with respect to the Issuer may owe tax on significant "phantom" income.

           In addition, it should be noted that if the Issuer invests in obligations that are not in registered
  form, a U.S. Holder making a QEF election (i) may not be permitted to take a deduction for any loss
  attributable to such obligations when calculating its share of the Issuer's earnings and (ii) may be required
  to treat income attributable to such obligations as ordinary income even though the income would
  otherwise constitute capital gains. It is possible that some portion of the investments of the Issuer will
  constitute obligations that are not in registered form.

         The Issuer will provide, upon request, all information and documentation that a U.S. Holder
  making a QEF election is required to obtain for U.S. federal income tax purposes.

           A U.S. Holder of Preference Shares (other than certain U.S. Holders that are subject to the rules
  pertaining to a "controlled foreign corporation," described below) that does not make a timely QEF
  election will be required to report any gain on disposition of any Preference Shares as if it were an excess
  distribution, rather than capital gain, and to compute the tax liability on such gain and other "excess
  distributions" received in respect of the Preference Shares as if such items had been earned ratably over
  each day in the U.S. Holder's holding period (or a certain portion thereof) for the Preference Shares. The
  U.S. Holder will be subject to tax on such items at the highest ordinary income tax rate for each taxable
  year, other than the current year of the U.S. Holder, in which the items were treated as having been
  earned, regardless of the rate otherwise applicable to the U.S. Holder. Further, such U.S. Holder will also
  be liable for an additional tax equal to interest on the tax liability attributable to income allocated to prior
  years as if such liability had been due with respect to each such prior year. For purposes of these rules,
  gifts, exchanges pursuant to corporate reorganizations and use of the Preference Shares as security for a
  loan may be treated as a taxable disposition of the Preference Shares. Very generally, an "excess
  distribution" is the amount by which distributions during a taxable year in respect of a Preference Share
  exceed 125 percent of the average amount of distributions in respect thereof during the three preceding
  taxable years (or, if shorter, the U.S. Holder's holding period for the Preference Share). In addition, a
  stepped-up basis in the Preference Share upon the death of an individual U.S. Holder may not be
  available.

          In many cases, application of the tax on gain on disposition and receipt of excess distributions
  will be substantially more onerous than the treatment applicable if a timely QEF election is made.
  ACCORDINGLY, U.S. HOLDERS OF PREFERENCE SHARES SHOULD CONSIDER CAREFULLY
  WHETHER TO MAKE A QEF ELECTION WITH RESPECT TO THE PREFERENCE SHARES AND
  THE CONSEQUENCES OF NOT MAKING SUCH AN ELECTION.

           Investment in a Controlled Foreign Corporation. The Issuer may be classified as a controlled
  foreign corporation ("CFC"). In general, a foreign corporation will be classified as a CFC if more than
  50% of the shares of the corporation, measured by reference to combined voting power or value, is owned
  (actually or constructively) by "U.S. Shareholders." A U.S. Shareholder, for this purpose, is in general

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  any U.S. Holder that possesses (actually or constructively) 10% or more of the combined voting power
  (generally the right to vote for directors of the corporation) of all classes of shares of a corporation.
  Although the Preference Shares do not vote for directors of the Issuer, it is possible that the IRS would
  assert that the Preference Shares are de facto voting securities and that U.S. Holders possessing (actually
  or constructively) 10% or more of the total stated amount of Outstanding Preference Shares are U.S.
  Shareholders. If this argument were successful and more than 50% of the Preference Shares (determined
  with respect to aggregate value or vote) are owned (actually or constructively) by such U.S. Shareholders,
  the Issuer would be treated as a CFC.

           If the Issuer were treated as a CFC, a U.S. Shareholder of the Issuer (at the end of the taxable year
  of the Issuer) would be treated, subject to certain exceptions, as receiving a deemed dividend in an
  amount equal to that person's pro rata share of the "subpart F income" of the Issuer. Such deemed
  dividend normally would be treated as income from sources within the United States for U.S. foreign tax
  credit limitation purposes to the extent that it is attributable to income of the Issuer from sources within
  the United States. Among other items, and subject to certain exceptions, "subpart F income" includes
  dividends, interest, annuities, gains from the sale of shares and securities, certain gains from commodities
  transactions, income from certain notional principal contracts, certain types of insurance income and
  income from certain transactions with related parties. It is likely that, if the Issuer were to constitute a
  CFC, all or most of its income would be subpart F income. In general, if the subpart F income exceeds
  70% of the Issuer's gross income, the entire amount of the Issuer's income will be subpart F income. U.S.
  Holders should consult their tax advisors regarding these special rules.

          If the Issuer were treated as a CFC, a U.S. Shareholder of the Issuer which made a QEF election
  with respect to the Issuer would be taxable on the subpart F income of the Issuer under rules described in
  the preceding paragraph and not under the QEF rules previously described. As a result, to the extent
  subpart F income of the Issuer includes net capital gains, such gains would be treated as ordinary income
  of the U.S. Shareholder under the CFC rules, notwithstanding the fact that the character of such gains
  generally would otherwise be preserved under the QEF rules.

           Furthermore, if the Issuer were treated as a CFC and a U.S. Holder were treated as a U.S.
  Shareholder therein, the Issuer would not be treated as a PFIC or a QEF with respect to such U.S. Holder
  for the period during which the Issuer remained a CFC and such U.S. Holder remained a U.S. Shareholder
  therein (the "qualified portion" of the U.S. Holder's holding period for the Preference Shares). If the
  qualified portion of such U.S. Holder's holding period for the Preference Shares subsequently ceased
  (either because the Issuer ceased to be a CFC or the U.S. Holder ceased to be a U.S. Shareholder), then
  solely for purposes of the PFIC rules, such U.S. Holder's holding period for the Preference Shares would
  be treated as beginning on the first day following the end of such qualified portion, unless the U.S. Holder
  had owned any Preference Shares for any period of time prior to such qualified portion and had not made
  a QEF election with respect to the Issuer. In that case, the Issuer would again be treated as a PFIC which
  is not a QEF with respect to such U.S. Holder and the beginning of such U.S. Holder's holding period for
  the Preference Shares would continue to be the date upon which such U.S. Holder acquired the Preference
  Shares, unless the U.S. Holder made an election to recognize gain with respect to the Preference Shares
  and a QEF election with respect to the Issuer.

         Indirect Interests in PFICs and CFCs. If the Issuer owns a Collateral Obligation or a Qualified
  Equity Security issued by a non-U.S. corporation that is treated as equity for U.S. federal income tax
  purposes, U.S. Holders of Preference Shares could be treated as owning an indirect equity interest in a
  PFIC or a CFC and could be subject to certain adverse tax consequences.

          In particular, if the Issuer owns equity interests in PFICs ("Lower-Tier PFICs"), a U.S. Holder
  of Preference Shares would be treated as owning directly the U.S. Holder's proportionate amount (by
  value) of the Issuer's equity interests in the Lower-Tier PFICs. A U.S. Holder's QEF election with respect
  to the Issuer would not be effective with respect to such Lower-Tier PFICs. However, a U.S. Holder
  would be able to make QEF elections with respect to such Lower-Tier PFICs if the Lower-Tier PFICs

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  provide certain information and documentation to the Issuer in accordance with applicable Treasury
  Regulations. However, there can be no assurance that the Issuer would be able to obtain such information
  and documentation from any Lower-Tier PFIC, and thus there can be no assurance that a U.S. Holder
  would be able to make or maintain a QEF election with respect to any Lower-Tier PFIC. If a U.S. Holder
  does not have a QEF election in effect with respect to a Lower-Tier PFIC, as a general matter, the U.S.
  Holder would be subject to the adverse consequences described above under "—Investment in a Passive
  Foreign Investment Company" with respect to any excess distributions made by such Lower-Tier PFIC to
  the Issuer, any gain on the disposition by the Issuer of its equity interest in such Lower-Tier PFIC treated
  as indirectly realized by such U.S. Holder, and any gain treated as indirectly realized by such U.S. Holder
  on the disposition of its equity in the Issuer (which may arise even if the U.S. Holder realizes a loss on
  such disposition). Such amount would not be reduced by expenses or losses of the Issuer, but any income
  recognized may increase a U.S. Holder's tax basis in its Preference Shares. Moreover, if the U.S. Holder
  has a QEF election in effect with respect to a Lower-Tier PFIC, the U.S. Holder would be required to
  include in income the U.S. Holder's pro rata share of the Lower-Tier PFIC's ordinary earnings and net
  capital gain as if the U.S. Holder's indirect equity interest in the Lower-Tier PFIC were directly owned,
  and it appears that the U.S. Holder would not be permitted to use any losses or other expenses of the
  Issuer to offset such ordinary earnings and/or net capital gains but recognition of such income may
  increase a U.S. Holder's tax basis in its Preference Shares.

          Accordingly, if any of the Collateral Obligations or Qualified Equity Securities are treated as
  equity interests in a PFIC, such U.S. Holders could experience significant amounts of phantom income
  with respect to such interests. Other adverse tax consequences may arise for such U.S. Holders that are
  treated as owning indirect interests in CFCs. U.S. Holders should consult their own tax advisors
  regarding the tax issues associated with such investments in light of their own individual circumstances.

           Distributions on the Preference Shares. The treatment of actual distributions of cash on the
  Preference Shares, in very general terms, will vary depending on whether a U.S. Holder has made a
  timely QEF election as described above. See "—Investment in a Passive Foreign Investment Company."
  If a timely QEF election has been made, distributions should be allocated first to amounts previously
  taxed pursuant to the QEF election (or pursuant to the CFC rules, if applicable) and to this extent will not
  be taxable to U.S. Holders. Distributions in excess of such previously taxed amounts pursuant to a QEF
  election (or pursuant to the CFC rules, if applicable) will be taxable to U.S. Holders as ordinary income
  upon receipt to the extent of any remaining amounts of untaxed current and accumulated earnings and
  profits of the Issuer. Distributions in excess of any current and accumulated earnings and profits will be
  treated first as a nontaxable reduction to the U.S. Holder's tax basis for the Preference Shares to the extent
  thereof and then as capital gain.

           In the event that a U.S. Holder does not make a timely QEF election, then except to the extent
  that distributions may be attributable to amounts previously taxed pursuant to the CFC rules, some or all
  of any distributions with respect to the Preference Shares may constitute "excess distributions," taxable as
  previously described. See "—Investment in a Passive Foreign Investment Company." In that event,
  except to the extent that distributions may be attributable to amounts previously taxed to the U.S. Holder
  pursuant to the CFC rules or are treated as "excess distributions," distributions on the Preference Shares
  generally would be treated as dividends to the extent paid out of the Issuer's current or accumulated
  earnings and profits not allocated to any "excess distributions," then as a nontaxable reduction to the U.S.
  Holder's tax basis for the Preference Shares to the extent thereof and then as capital gain. Dividends
  received from a foreign corporation generally will be treated as income from sources outside the United
  States for U.S. foreign tax credit limitation purposes. However, if U.S. Holders collectively own (directly
  or constructively) 50% or more (measured by vote or value) of the Preference Shares, a percentage of the
  dividend income equal to the proportion of the Issuer's earnings and profits from sources within the
  United States generally will be treated as income from sources within the United States for such purposes.




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           Purchase or Disposition of the Preference Shares. In general, a U.S. Holder of a Preference
  Share will recognize a gain or loss upon the sale, exchange, redemption or other taxable disposition of a
  Preference Share equal to the difference between the amount realized and such U.S. Holder's adjusted tax
  basis in the Preference Share. Except as discussed below, such gain or loss will be a capital gain or loss
  and will be a long-term capital gain or loss if the U.S. Holder held the Preference Shares for more than
  one year at the time of the disposition. In certain circumstances, U.S. Holders who are individuals may be
  entitled to preferential treatment for net long-term capital gains; however, the ability of U.S. Holders to
  offset capital losses against ordinary income is limited. Any gain recognized by a U.S. Holder on the
  sale, exchange, redemption or other taxable disposition of a Preference Share (other than, in the case of a
  U.S. Holder treated as a "U.S. Shareholder," any such gain characterized as a dividend, as discussed
  below) generally will be treated as from sources within the United States and loss so recognized generally
  will offset income from sources within the United States.

          Initially, a U.S. Holder's tax basis for a Preference Share will equal the cost of such Preference
  Share to such U.S. Holder. Such basis will be increased by amounts taxable to such U.S. Holder by virtue
  of a QEF election, or by virtue of the CFC rules, as applicable, and decreased by actual distributions from
  the Issuer that are deemed to consist of such previously taxed amounts or are treated as a nontaxable
  reduction to the U.S. Holder's tax basis for the Preference Share (as described above).

           If a U.S. Holder does not make a timely QEF election as described above, any gain realized on
  the sale, exchange, redemption or other taxable disposition of a Preference Share (or any gain deemed to
  accrue prior to the time a non-timely QEF election is made) will be taxed as ordinary income and subject
  to an additional tax reflecting a deemed interest charge under the special tax rules described above. See
  "—Investment in a Passive Foreign Investment Company."

           If the Issuer were treated as a CFC and a U.S. Holder were treated as a "U.S. Shareholder"
  therein, then any gain realized by such U.S. Holder upon the disposition of Preference Shares, other than
  gain constituting an excess distribution under the PFIC rules, if applicable, would be treated as ordinary
  income to the extent of the U.S. Holder's share of the current or accumulated earnings and profits of the
  Issuer. In this regard, earnings and profits would not include any amounts previously taxed pursuant to a
  timely QEF election or pursuant to the CFC rules.

  Tax Treatment of Tax-Exempt U.S. Holders

          U.S. Holders which are tax-exempt entities ("Tax-Exempt U.S. Holders") will not be subject to
  the tax on unrelated business taxable income ("UBTI") with respect to interest and capital gains income
  derived from an investment in the Notes. However, a Tax-Exempt U.S. Holder that also acquires the
  Preference Shares (or, any Note recharacterized as equity in the Issuer) should consider whether interest it
  receives in respect of the Notes may be treated as UBTI under rules governing certain payments received
  from controlled entities.

          A Tax-Exempt U.S. Holder generally will not be subject to the tax on UBTI with respect to
  regular distributions or "excess distributions" (defined above under "Tax Treatment of U.S. Holders of
  Preference Shares - Investment in a Passive Foreign Investment Company") on the Preference Shares (or,
  any Note recharacterized as equity in the Issuer). A Tax-Exempt U.S. Holder which is not subject to tax
  on UBTI with respect to "excess distributions" may not make a QEF election. In addition, a Tax-Exempt
  U.S. Holder which is subject to the rules relating to "controlled foreign corporations" with respect to the
  Preference Shares (or, any Note recharacterized as equity in the Issuer) generally should not be subject to
  the tax on UBTI with respect to income from such Preference Shares (or, any Note recharacterized as
  equity in the Issuer).

          Notwithstanding the discussion in the preceding two paragraphs, a Tax-Exempt U.S. Holder
  which incurs "acquisition indebtedness" (as defined in Section 514(c) of the Code) with respect to the
  Securities may be subject to the tax on UBTI with respect to income from the Securities to the extent that

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  the Securities constitute "debt-financed property" (as defined in Section 514(b) of the Code) of the Tax-
  Exempt U.S. Holder. A Tax-Exempt U.S. Holder subject to the tax on UBTI with respect to income from
  the Preference Shares (or, and Note recharacterized as equity in the Issuer) will be taxed on "excess
  distributions" in the manner discussed above under "Tax Treatment of U.S. Holders of Preference
  Shares—Investment in a Passive Foreign Investment Company". Such a Tax-Exempt U.S. Holder will be
  permitted, and should consider whether, to make a QEF election with respect to the Issuer as discussed
  above.

          Tax-Exempt U.S. Holders should consult their own tax advisors regarding an investment in the
  Securities.

  Transfer Reporting Requirements

           A U.S. Holder of Preference Shares (and, any Note recharacterized as equity in the Issuer) that
  owns (actually or constructively) at least 10% by vote or value of the Issuer (and each officer or director
  of the Issuer that is a U.S citizen or resident) may be required to file an information return on IRS Form
  5471. A U.S. Holder of Preference Shares (and, any Note recharacterized as equity in the Issuer)
  generally is required to provide additional information regarding the Issuer annually on IRS Form 5471 if
  it owns (actually or constructively) more than 50% by vote or value of the Issuer. U.S. Holders should
  consult their own tax advisors regarding whether they are required to file IRS Form 5471.

           A U.S. person (including a Tax-Exempt U.S. Holder) that purchases the Preference Shares for
  cash will be required to file a Form 926 or similar form with the IRS if (i) such person owned, directly or
  by attribution, immediately after the transfer at least 10% by vote or value of the Issuer or (ii) if the
  transfer, when aggregated with all transfers made by such person (or any related person) within the
  preceding 12 month period, exceeds $100,000. In the event a U.S. Holder fails to file any such required
  form, the U.S. Holder could be required to pay a penalty equal to 10% of the gross amount paid for such
  Preference Shares (subject to a maximum penalty of $100,000, except in cases involving intentional
  disregard). U.S. persons should consult their tax advisors with respect to this or any other reporting
  requirement which may apply with respect to their acquisition of the Preference Shares.

  Tax Return Disclosure and Investor List Requirements

           Any person that files a U.S. federal income tax return or U.S. federal information return and
  participates in a "reportable transaction" in a taxable year is required to disclose certain information on
  IRS Form 8886 (or its successor form) attached to such person's U.S. tax return for such taxable year (and
  also file a copy of such form with the IRS's Office of Tax Shelter Analysis) and to retain certain
  documents related to the transaction. In addition, under certain circumstances, certain organizers and
  sellers and advisors of a "reportable transaction" are required to file reports with the IRS and also will be
  required to maintain lists of participants in the transaction containing identifying information, retain
  certain documents related to the transaction, and furnish those lists and documents to the IRS upon
  request. Recently enacted legislation imposes significant penalties for failure to comply with these
  disclosure and list keeping requirements. The definition of "reportable transaction" is highly technical.
  However, in very general terms, a transaction may be a "reportable transaction" if, among other things, it
  is offered under conditions of confidentiality, it results in the claiming of a loss or losses for U.S. federal
  income tax purposes in excess of certain threshold amounts, or an item from the transaction is treated
  differently for U.S. federal income tax purposes and for book purposes (generally under U.S. generally
  accepted accounting principles).

          In this regard, in order to prevent the investors' purchase of the Securities in this offering from
  being treated as offered under conditions of confidentiality, the Portfolio Manager, the Issuer and the
  Holders and beneficial owners of the Securities (and each of their respective employees, representatives
  or other agents) may disclose to any and all persons, without limitation of any kind, the tax treatment and
  tax structure of the transactions described herein (including the ownership and disposition of the

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  Securities) and all materials of any kind (including opinions or other tax analyses) that are provided to
  them relating to such tax treatment and tax structure. For this purpose, the tax treatment of a transaction
  is the purported or claimed U.S. federal income or state and local tax treatment of the transaction, and the
  tax structure of a transaction is any fact that may be relevant to understanding the purported or claimed
  U.S. federal income tax treatment of the transaction.

           In addition, under these Treasury Regulations, if the Issuer participates in a "reportable
  transaction", a U.S. Holder of Preference Shares that is a "reporting shareholder" of the Issuer will be
  treated as participating in the transaction and will be subject to the rules described above. Although most
  of the Issuer's activities generally are not expected to give rise to "reportable transactions", the Issuer
  nevertheless may participate in certain types of transactions that could be treated as "reportable
  transactions." A U.S. Holder of Preference Shares will be treated as a "reporting shareholder" of the
  Issuer if (i) such U.S. Holder owns 10% or more of the Preference Shares and makes a QEF election with
  respect to the Issuer or (ii) the Issuer is treated as a CFC and such U.S. Holder is a "U.S. Shareholder" (as
  defined above) of the Issuer. The Issuer will make reasonable efforts to make such information available.

           Prospective investors in the Securities should consult their own tax advisors concerning any
  possible disclosure obligations under these Treasury Regulations with respect to their ownership or
  disposition of the Securities in light of their particular circumstances.

  Tax Treatment of Non-U.S. Holders of Securities

           In general, payments on the Securities to a Holder that is not, for U.S. federal income tax
  purposes, a U.S. Holder (a "non-U.S. Holder") and gain realized on the sale, exchange, redemption,
  retirement or other disposition of the Securities by a non-U.S. Holder, will not be subject to U.S. federal
  income or withholding tax, unless (i) such income is effectively connected with a trade or business
  conducted by such non-U.S. Holder in the United States, or (ii) in the case of gain, such non-U.S. Holder
  is a nonresident alien individual who holds the Securities as a capital asset and is present in the United
  States for more than 182 days in the taxable year of the sale, exchange, redemption, retirement or other
  disposition and certain other conditions are satisfied.

  Information Reporting and Backup Withholding

          Under certain circumstances, the Code requires "information reporting," and may require "backup
  withholding" with respect to certain payments made on the Securities and the payment of the proceeds
  from the disposition of the Securities. Backup withholding generally will not apply to corporations, tax-
  exempt organizations, qualified pension and profit sharing trusts, and individual retirement accounts.
  Backup withholding will apply to a U.S. Holder if the U.S. Holder fails to provide certain identifying
  information (such as the U.S. Holder's taxpayer identification number) or otherwise comply with the
  applicable requirements of the backup withholding rules. The application for exemption from backup
  withholding for a U.S. Holder is available by providing a properly completed IRS Form W-9.

            A non-U.S. Holder of the Securities generally will not be subject to these information reporting
  requirements or backup withholding with respect to payments of interest or distributions on the Securities
  if (1) it certifies to the Trustee its status as a non-U.S. Holder under penalties of perjury on the appropriate
  IRS Form W-8, and (2) in the case of a non-U.S. Holder that is a "nonwithholding foreign partnership,"
  "foreign simple trust" or "foreign grantor trust" as defined in the applicable Treasury Regulations, the
  beneficial owners of such non-U.S. Holder also certify to the Trustee their status as non-U.S. persons
  under penalties of perjury on the appropriate IRS Form W-8 or as U.S. persons under penalties of perjury
  on IRS Form W-9.

         The payments of the proceeds from the disposition of a Security by a non-U.S. Holder to or
  through the U.S. office of a broker generally will not be subject to information reporting and backup
  withholding if the non-U.S. Holder certifies its status as a non-U.S. Holder (and, if applicable, its


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  beneficial owners also certify their status as non-U.S. Holders) under penalties of perjury on the
  appropriate IRS Form W-8, satisfies certain documentary evidence requirements for establishing that it is
  a non-U.S. Holder or otherwise establishes an exemption. The payment of the proceeds from the
  disposition of a Security by a non-U.S. Holder to or through a non-U.S. office of a non-U.S. broker will
  not be subject to backup withholding or information reporting unless the non-U.S. broker has certain
  specific types of relationships to the United States, in which case the treatment of such payment for such
  purposes will be as described in the following sentence. The payment of proceeds from the disposition of
  a Security by a non-U.S. Holder to or through a non-U.S. office of a U.S. broker or to or through a non-
  U.S. broker with certain specific types of relationships to the United States generally will not be subject to
  backup withholding but will be subject to information reporting unless the non-U.S. Holder certifies its
  status as a non-U.S. Holder (and, if applicable, its beneficial owners also certify their status as non-U.S.
  Holders) under penalties of perjury or the broker has certain documentary evidence in its files as to the
  non-U.S. Holder's foreign status and the broker has no actual knowledge to the contrary.

          Backup withholding is not an additional tax and may be refunded (or credited against the U.S.
  Holder's or non-U.S. Holder's U.S. federal income tax liability, if any); provided that certain required
  information is furnished to the U.S. Internal Revenue Service. The information reporting requirements
  may apply regardless of whether withholding is required.

  Cayman Islands Tax Considerations

          The following discussion of certain Cayman Islands income tax consequences of an investment in
  the Securities is based on the advice of Maples and Calder as to Cayman Islands law. The discussion is a
  general summary of present law, which is subject to prospective and retroactive change. It assumes that
  the Issuer will conduct its affairs in accordance with assumptions made by, and representations made to,
  counsel. It is not intended as tax advice, does not consider any investor's particular circumstances, and
  does not consider tax consequences other than those arising under Cayman Islands law.

          Under existing Cayman Islands laws:

                  (i)      payments of principal and interest on the Notes and dividends and capital in
          respect of the Preference Shares will not be subject to taxation in the Cayman Islands and no
          withholding will be required on such payments to any Holder of a Security and gains derived
          from the sale of Securities will not be subject to Cayman Islands income or corporation tax. The
          Cayman Islands currently have no income, corporation or capital gains tax and no estate duty,
          inheritance tax or gift tax;

                 (ii)    no stamp duty is payable in respect of the issue or transfer of Securities although
          duty may be payable if Notes are executed in or brought into the Cayman Islands; and

                   (iii)    certificates evidencing Securities, in registered form, to which title is not
          transferable by delivery, should not attract Cayman Islands stamp duty. However, an instrument
          transferring title to a Note, if brought to or executed in the Cayman Islands, would be subject to
          Cayman Islands stamp duty.

           The Issuer has been incorporated under the laws of the Cayman Islands as an exempted company
  and, as such, has applied for and obtained an undertaking from the Governor in Cabinet of the Cayman
  Islands in substantially the following form:




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                                      "THE TAX CONCESSIONS LAW
                                            (1999 REVISION)
                                  UNDERTAKING AS TO TAX CONCESSIONS
          In accordance with Section 6 of the Tax Concessions Law (1999 Revision) the Governor in
  Cabinet undertakes with:

          Southfork CLO Ltd. "the Company"

                  (a)      that no Law which is hereafter enacted in the Islands imposing any tax to be
                           levied on profits, income, gains or appreciations shall apply to the Company or
                           its operations; and
                  (b)      in addition, that no tax to be levied on profits, income, gains or appreciations or
                           which is in the nature of estate duty or inheritance tax shall be payable
                           (i)      on or in respect of the shares debentures or other obligations of the
                                    Company; or
                           (ii)     by way of the withholding in whole or in part of any relevant payment as
                                    defined in Section 6(3) of the Tax Concessions Law (1999 Revision).
          These concessions shall be for a period of TWENTY years from the 16th day of November, 2004.
          GOVERNOR IN CABINET"
          The Cayman Islands does not have an income tax treaty arrangement with the U.S. or any other
  country.

        THE PRECEDING DISCUSSION IS ONLY A SUMMARY OF CERTAIN OF THE TAX
  IMPLICATIONS OF AN INVESTMENT IN THE SECURITIES. PROSPECTIVE INVESTORS ARE
  URGED TO CONSULT WITH THEIR OWN TAX ADVISORS PRIOR TO INVESTING TO
  DETERMINE THE TAX IMPLICATIONS OF SUCH INVESTMENT IN LIGHT OF SUCH
  INVESTORS' CIRCUMSTANCES.

                                        ERISA CONSIDERATIONS
           The U.S. Employee Retirement Income Security Act of 1974, as amended ("ERISA"), imposes
  fiduciary standards and certain other requirements on employee benefit plans and other retirement
  arrangements subject thereto, including collective investment funds, insurance company general and
  separate accounts whose underlying assets are treated as if they were assets of such plans pursuant to the
  U.S. Department of Labor's "plan assets" regulation, set forth at 29 C.F.R. Section 2510.3-101 (the "Plan
  Assets Regulation"), and on those persons who are fiduciaries with respect to such plans or
  arrangements. ERISA's general fiduciary requirements include the requirements of investment prudence
  and diversification and that investments be made in accordance with the governing plan documents. The
  prudence of a particular investment will be determined by the responsible fiduciary by taking into account
  the particular circumstances of the plan and all of the facts and circumstances of the investment including,
  but not limited to, the matters discussed above under "Risk Factors" and the fact that in the future there
  may be no market in which such fiduciary will be able to sell or otherwise dispose of an investment.

           In addition, Section 406 of ERISA and Section 4975 of the Code prohibit certain transactions
  involving the assets of plans and arrangements subject to ERISA (as well as those that are not subject to
  ERISA but which are subject to Section 4975 of the Code (together "Plans")) and certain persons
  (referred to as "parties in interest" or "disqualified persons" (collectively, "Parties in Interest")) having
  certain relationships to such Plans, unless a statutory or administrative exemption applies to the
  transaction. In particular, a sale or exchange of property or an extension of credit between a Plan and a
  Party in Interest may constitute a prohibited transaction. In the case of indebtedness, the prohibited

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  transaction provisions apply throughout the term of such indebtedness (and not only on the date of the
  initial borrowing). A Party in Interest who engages in a prohibited transaction may be subject to excise
  taxes or other liabilities under ERISA and the Code.

           Governmental, church and non-U.S. plans, while not subject to the fiduciary responsibility
  provisions of ERISA or the provisions of Section 4975 of the Code, may nevertheless be subject to U.S.
  federal, state or local laws or non-U.S. laws that are substantially similar to the foregoing provisions of
  ERISA and the Code. Fiduciaries of any such plans should consult with their counsel before purchasing
  any Notes.

           Under a "look-through rule" set forth in the Plan Assets Regulation, if a Plan invests in an "equity
  interest" of an entity such as the Issuer and no other exception applies, the Plan's assets include both the
  equity interest and an undivided interest in each of the entity's underlying assets. An equity interest does
  not include debt (as determined by applicable local law) which does not have any substantial equity
  features. Under the Plan Assets Regulation, if a Plan invests in an "equity interest" of an entity that is
  neither a "publicly-offered security" nor a security issued by an investment company registered under the
  Investment Company Act, the Plan's assets include both the equity interest and an undivided interest in
  each of the entity's underlying assets, unless it is established that the entity is an "operating company" or
  that equity participation in the entity by Benefit Plan Investors is not "significant." Equity participation in
  an entity by Benefit Plan Investors is "significant" if 25% or more of the value of any class of equity
  interest in the entity is held by Benefit Plan Investors, as calculated under the Plan Assets Regulation.
  The term "Benefit Plan Investor" includes (a) an employee benefit plan (as defined in Section 3(3) of
  ERISA whether or not subject to ERISA), (b) a plan (as defined in Section 4975(e)(1) of the Code
  whether or not subject to Section 4975) or (c) any entity whose underlying assets include "plan assets" by
  reason of any such plan's investment in the entity and thus would include most governmental, church and
  non-U.S. plans.

           The Preference Shares and the Composite Securities would likely be considered to have
  substantial equity features under the Plan Assets Regulation, and the Issuer does not intend to limit the
  value of the interests held by Benefit Plan Investors in each class of Notes to below 25%. However, as (i)
  no employee benefit plan (as defined in Section 3(3) of ERISA which is subject to ERISA), (ii) no plan
  (as defined in Section 4975(e)(1) of the Code which is subject to Section 4975 of the Code) and (iii) no
  entity whose underlying assets include "plan assets" by reason of such plan's investment in the entity
  (collectively, "ERISA Plans") shall be permitted to acquire either Preference Shares or Composite
  Securities in the initial offering or thereafter, the fiduciary responsibility and prohibited transaction
  provisions of ERISA and Section 4975 of the Code will not be applicable to the Issuer or to any other
  Benefit Plan Investors who invest in the Preference Shares or the Composite Securities. Therefore,
  provided no ERISA Plans acquire either Preference Shares or Composite Securities, even if other types of
  Benefit Plan Investors hold 25% or more of the value of one or more classes of Preference Shares or
  Composite Securities, the assets of the Issuer should not be deemed "plan assets" under the Plan Asset
  Regulations for purposes of ERISA or Section 4975 of the Code.

           In determining whether or not a Benefit Plan Investor is an ERISA Plan, life insurance company
  general accounts (both U.S. and non-U.S.) should consider the effect of the U.S. Supreme Court's
  decision in John Hancock Life Insurance Co. v. Harris Trust and Savings Bank, 510 U.S. 86 (1993),
  which held that those funds allocated to the general account of an insurance company pursuant to
  contracts which vary with the investment experience of the insurance company's general account and are
  attributable to ERISA Plans are considered to be "plan assets." Despite the presence of such contracts
  attributable to ERISA Plans invested in the general account, if the insurance company complies with
  certain regulations issued by the U.S. Department of Labor under Section 401(c) of ERISA, it will not be
  deemed to hold the plan assets of any ERISA Plans. However, any separate account funds held on behalf
  of an ERISA Plan by a life insurance company (whether held in or outside of the U.S.) would generally
  be considered to be "plan assets." Any Benefit Plan Investor, including a life insurance company general


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  account, should consult with its counsel in determining whether or not it is an ERISA Plan prior to
  investing in the Preference Shares or the Composite Securities.

        BY ITS PURCHASE OR HOLDING OF A PREFERENCE SHARE OR COMPOSITE
  SECURITY, OR ANY INTEREST THEREIN, THE PURCHASER AND/OR HOLDER THEREOF
  AND EACH TRANSFEREE WILL BE REQUIRED OR WILL BE DEEMED TO HAVE
  REPRESENTED AND WARRANTED THAT, AT THE TIME OF ITS ACQUISITION, AND
  THROUGHOUT THE PERIOD THAT IT HOLDS SUCH PREFERENCE SHARE, COMPOSITE
  SECURITY OR INTEREST THEREIN, THAT (1) IT IS NOT AN ERISA PLAN; AND IF AFTER ITS
  INITIAL ACQUISITION OF A PREFERENCE SHARE, A COMPOSITE SECURITY OR ANY
  INTEREST THEREIN, THE INVESTOR DETERMINES, IT IS DETERMINED BY ANOTHER
  PARTY, OR THE PREFERENCE SHARES PAYING AGENT BECOMES AWARE, THAT SUCH
  INVESTOR IS AN ERISA PLAN, THE INVESTOR WILL DISPOSE OF ALL OF ITS PREFERENCE
  SHARES AND COMPOSITE SECURITIES IN A MANNER CONSISTENT WITH THE
  RESTRICTIONS SET FORTH IN THE PREFERENCE SHARE DOCUMENTS OR INDENTURE, AS
  APPLICABLE, AND (2) IF IT IS A BENEFIT PLAN INVESTOR OTHER THAN AN ERISA PLAN,
  ITS PURCHASE, HOLDING AND DISPOSITION OF THE PREFERENCE SHARES OR
  COMPOSITE SECURITIES WILL NOT CAUSE A NON-EXEMPT VIOLATION OF ANY U.S.
  FEDERAL, STATE OR LOCAL LAW OR ANY NON-U.S. LAW WHICH IS SUBSTANTIALLY
  SIMILAR TO SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE AS A RESULT OF THE
  TRANSACTIONS CONTEMPLATED HEREIN AND (3) IT WILL NOT SELL OR OTHERWISE
  TRANSFER ANY SUCH PREFERENCE SHARE, COMPOSITE SECURITY OR INTEREST
  THEREIN, TO ANY PERSON WHO IS UNABLE TO SATISFY THE SAME FOREGOING
  REPRESENTATIONS AND WARRANTIES.

            Based on the credit quality and the absence of rights to payment in excess of principal and stated
  interest, the Issuer believes that the Notes should not be considered "equity interests" for purposes of the
  Plan Assets Regulation. Nevertheless, prohibited transactions within the meaning of Section 406 of
  ERISA or Section 4975 of the Code may arise if the Notes are acquired by a Plan with respect to which
  the Issuer or the Portfolio Manager, or any of their respective affiliates, is a Party in Interest. Similarly,
  "prohibited transactions" within the meaning of Section 406 of ERISA or Section 4975 of the Code may
  arise if a person or entity which is a Party in Interest with respect to a Plan acquires or holds 50% or more
  of the aggregate equity interest in the Issuer. Certain exemptions from the prohibited transaction
  provisions of Section 406 of ERISA and Section 4975 of the Code may apply depending in part on the
  type of Plan fiduciary making the decision to acquire a Note and the circumstances under which such
  decision is made. Included among these exemptions are Prohibited Transaction Class Exemption
  ("PTCE") 84-14 (relating to transactions effected by a "qualified professional asset manager"),
  PTCE 90-1 (relating to investments by insurance company pooled separate accounts), PTCE 91-38
  (relating to investments by bank collective investment funds), PTCE 95-60 (relating to investments by
  insurance company general accounts) and PTCE 96-23 (relating to transactions determined by an
  in-house asset manager). There can be no assurance that any of these class exemptions or any other
  exemption will be available with respect to any particular transaction involving the Notes. The purchase
  and holding of the Notes could also result in a violation of U.S. federal, state, local or non-U.S. law which
  is substantially similar to Section 406 of ERISA or Section 4975 of the Code.

        BY ITS PURCHASE OR HOLDING OF ANY NOTES, OR ANY INTEREST THEREIN, THE
  PURCHASER AND/OR HOLDER THEREOF AND EACH TRANSFEREE WILL BE DEEMED TO
  HAVE REPRESENTED AND WARRANTED EITHER THAT (A) IT IS NOT AN EMPLOYEE
  BENEFIT PLAN (AS DEFINED IN SECTION 3(3) OF ERISA AND SUBJECT TO ERISA), OR A
  PLAN (AS DEFINED IN SECTION 4975(e)(1) OF THE CODE AND SUBJECT TO SECTION 4975
  OF THE CODE), OR A GOVERNMENTAL, CHURCH, NON-U.S. OR OTHER PLAN WHICH IS
  SUBJECT TO ANY U.S. FEDERAL, STATE, LOCAL OR NON-U.S. LAW THAT IS
  SUBSTANTIALLY SIMILAR TO THE PROVISIONS OF SECTION 406 OF ERISA OR
  SECTION 4975 OF THE CODE, OR AN ENTITY WHOSE ASSETS ARE TREATED AS ASSETS OF

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  ANY SUCH PLAN OR (B) ITS PURCHASE, HOLDING AND DISPOSITION OF A NOTE, OR ANY
  INTEREST THEREIN, WILL NOT CONSTITUTE OR RESULT IN A NON-EXEMPT PROHIBITED
  TRANSACTION UNDER SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE AND WILL
  NOT CAUSE A NON-EXEMPT VIOLATION OF ANY U.S. FEDERAL, STATE, LOCAL OR NON-
  U.S. LAW WHICH IS SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR
  SECTION 4975 OF THE CODE.

          Other Fiduciary Considerations

           Despite the prohibition upon, and the procedures employed to prevent, the acquisition of
  Preference Shares or Composite Securities by ERISA Plans, there can be no assurances that an ERISA
  Plan will not in fact acquire Preference Shares in violation of such restriction. In such an event, if the
  total value of the Preference Shares or Composite Securities in one or more classes held by Benefit Plan
  Investors (both ERISA Plans and non-ERISA plans) were to equal or exceed 25%, the assets of the Issuer
  could be deemed "plan assets."

           If for any reason the assets of the Issuer are deemed to be "plan assets" of an ERISA Plan, certain
  transactions the Portfolio Manager might enter into, or may have entered into, on behalf of the Issuer in
  the ordinary course of its business might constitute non-exempt "prohibited transactions" under Section
  406 of ERISA or Section 4975 of the Code and might have to be rescinded at significant cost to the
  Issuer. The Portfolio Manager may be deemed an ERISA fiduciary, and may therefore be prevented from
  engaging in certain investments (as not being deemed consistent with the ERISA prudent investment
  standards) or engaging in certain transactions or fee arrangements because they might be deemed to cause
  non-exempt prohibited transactions. It also is not clear that Section 403(a) of ERISA, which generally
  requires that all of the assets of an ERISA Plan be held in trust and limits delegation of investment
  management responsibilities by fiduciaries of ERISA Plans, would be satisfied. In addition, it is unclear
  whether Section 404(b) of ERISA, which generally provides that no fiduciary may maintain the indicia of
  ownership of any assets of a plan outside the jurisdiction of the district courts of the U.S., would be
  satisfied or any of the exceptions to the requirement set forth in 29 C.F.R. Section 2550.404b-1 would be
  available.

           Any fiduciary that proposes to cause a Benefit Plan Investor to purchase any Securities should
  consult with its counsel to confirm that such investment will not constitute or result in a prohibited
  transaction or any other violation of an applicable requirement of ERISA or the Code or any substantially
  similar law.

           The sale of any Securities to a Benefit Plan Investor is in no respect a representation by the Co-
  Issuers, the Initial Purchaser, the Trustee, the Preference Shares Paying Agent or the Portfolio Manager
  that such an investment meets all relevant legal requirements with respect to investments by Benefit Plan
  Investors generally or any particular Benefit Plan Investor, or that such an investment is appropriate for
  Benefit Plan Investors generally or any particular Benefit Plan Investor.

          Investors whose investment activities are subject to regulation by federal, state or local law or
  governmental authorities should review the applicable laws and/or rules, policies and guidelines adopted
  from time to time by such authorities before purchasing any Securities. No representation is made as to
  the proper characterization of the Securities for legal investment or other purposes or as to the ability of
  particular investors to purchase any Securities under applicable law or other legal investment restrictions.
  Accordingly, all investors whose investment activities are subject to such laws and/or regulations,
  regulatory capital requirements or review by regulatory authorities should consult their own legal advisors
  in determining whether and to what extent the Securities constitute a legal investment or are subject to
  investment, capital or other restrictions.




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                                         PLAN OF DISTRIBUTION
          Subject to the terms and conditions contained in a purchase agreement (the "Purchase
  Agreement") to be entered into among the Co-Issuers and JPMorgan, the Co-Issuers will agree to sell,
  and JPMorgan will agree to purchase, the Purchased Securities. The Issuer will agree to sell, and the
  Portfolio Manager and/or its Affiliates will agree to purchase, the Preference Shares not forming a part of
  the Purchased Securities in a privately negotiated transaction. JPMorgan is not acting as a placement
  agent or initial purchaser with respect to those Preference Shares sold directly by the Issuer to the
  Portfolio Manager and/or its Affiliates.

          The Purchased Securities will be offered by the Initial Purchaser from time to time for sale to
  investors in negotiated transactions at varying prices to be determined in each case at the time of sale.

          The Purchase Agreement provides that the obligations of the Initial Purchaser to pay for and
  accept delivery of the Purchased Securities thereunder are subject to certain conditions.

           In the Purchase Agreement, each of the Issuer and the Co-Issuer will agree to indemnify the
  Initial Purchaser against certain liabilities under the Securities Act or to contribute to payments the Initial
  Purchaser may be required to make in respect thereof. In addition, the Issuer will agree to reimburse the
  Initial Purchaser for certain of its expenses incurred in connection with the closing of the transactions
  contemplated hereby.

           The offering of the Securities has not been and will not be registered under the Securities Act and
  may not be offered or sold in non-Offshore Transactions except pursuant to an exemption from, or in a
  transaction not subject to, the registration requirements of the Securities Act.

           No action has been taken or is being contemplated by the Issuer that would permit a public
  offering of the Securities or possession or distribution of this Offering Circular or any amendment thereof,
  or supplement thereto or any other offering material relating to the Securities in any jurisdiction (other
  than Ireland) where, or in any other circumstances in which, action for those purposes is required. No
  offers, sales or deliveries of any Securities, or distribution of this Offering Circular or any other offering
  material relating to the Securities, may be made in or from any jurisdiction except in circumstances that
  will result in compliance with any applicable laws and regulations and will not impose any obligations on
  the Issuer or the Initial Purchaser. Because of the restrictions contained in the front of this Offering
  Circular, purchasers are advised to consult legal counsel prior to making any offer, resale, pledge or
  transfer of the Securities.

           In the Purchase Agreement, the Initial Purchaser will agree that it or one or more of its Affiliates
  will sell the Notes, the Composite Securities and the Preference Shares only to or with, (a) purchasers it
  reasonably believes to be (i) Qualified Institutional Buyers, or with respect to the Composite Securities
  and the Preference Shares only, Accredited Investors and (ii)(1) Qualified Purchasers or, with respect to
  the Preference Shares only, Knowledgeable Employees or (2) entities owned exclusively by Qualified
  Purchasers or, with respect to the Preference Shares only, Knowledgeable Employees and (b) non-U.S.
  Persons in Offshore Transactions pursuant to Regulation S. In the Purchase Agreement, the Initial
  Purchaser will agree that it will send to each other dealer to which it sells Securities pursuant to
  Regulation S during the distribution compliance period a confirmation or other notice setting forth the
  restrictions on offers and sales of Securities in non-Offshore Transactions or to, or for the account or
  benefit of, U.S. Persons. Until 40 days (in the case of the Notes) or one year (in the case of the
  Composite Securities and the Preference Shares) after completion of the distribution by the Issuer, an
  offer or sale of Securities, in a non-Offshore Transaction by a dealer (whether or not participating in the
  Offering) may violate the registration requirements of the Securities Act if the offer or sale is made
  otherwise than pursuant to Rule 144A or, in the case of the Composite Securities and the Preference
  Shares, a transaction exempt from the registration requirements under the Securities Act. Resales of the
  Securities offered in reliance on Rule 144A or in a transaction exempt from the registration requirements


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  under the Securities Act, as the case may be, are restricted as described under the "Transfer Restrictions."
  Beneficial interests in a Regulation S Global Note, Regulation S Global Composite Security or a
  Regulation S Global Preference Share may not be held by a U.S. Person at any time, and resales of the
  Securities offered in non-Offshore Transactions to non-U.S. Persons in reliance on Regulation S may be
  effected only in accordance with the transfer restrictions described herein. As used in this paragraph, the
  terms "United States" and "U.S." have the meanings given to them by Regulation S.

           The Securities are a new issue of securities for which there is currently no market. The Initial
  Purchaser is not under any obligation to make a market in any class of Securities and any market making
  activity, if commenced, may be discontinued at any time. There can be no assurance that a secondary
  market for any class of Securities will develop, or if one does develop, that it will continue. Accordingly,
  no assurance can be given as to the liquidity of or trading market for the Securities.

           In connection with the offering of the Securities, the Initial Purchaser may, as permitted by
  applicable law, overallot or effect transactions that stabilize or maintain the market price of the Securities
  at a level which might not otherwise prevail in the open market. The stabilizing, if commenced, may be
  discontinued at any time.

                                     SETTLEMENT AND CLEARING
  Book Entry Registration of the Global Securities

           So long as the Depository, or its nominee, is the registered owner or Holder of a Global Security,
  the Depository or the nominee, as the case may be, will be considered the sole owner or Holder of the
  Note or Preference Share represented by a Global Security for all purposes under the Indenture, the
  Preference Share Paying Agency Agreement and the Global Securities, and members of, or participants
  in, the Depository as well as any other persons on whose behalf the participants may act (including
  Clearstream and Euroclear and account holders and participants therein) will have no rights under the
  Indenture, the Preference Share Paying Agency Agreement or a Global Security. Owners of beneficial
  interests in a Global Security will not be considered to be owners or Holders of the related Note or
  Preference Share under the Indenture or the Preference Share Paying Agency Agreement. Unless the
  Depository notifies the Co-Issuers (or, with respect to the Composite Securities or the Preference Shares,
  the Issuer) that it is unwilling or unable to continue as depositary for a Global Security or ceases to be a
  "clearing agency" registered under the Exchange Act, owners of a beneficial interest in a Global Security
  will not be entitled to have any portion of a Global Security registered in their names, will not receive or
  be entitled to receive physical delivery of Notes, Composite Securities or Preference Shares in certificated
  form and will not be considered to be the owners or Holders of any Notes, Composite Securities or
  Preference Shares under the Indenture or the Preference Share Paying Agency Agreement. In addition,
  no beneficial owner of an interest in a Global Security will be able to transfer that interest except in
  accordance with the Depository's applicable procedures (in addition to those under the Indenture, the
  Preference Share Paying Agency Agreement and, if applicable, those of Euroclear and Clearstream).

          Investors may hold their interests in a Regulation S Global Note, Regulation S Global Composite
  Security or Regulation S Global Preference Share directly through Clearstream or Euroclear, if they are
  participants in Clearstream or Euroclear, or indirectly through organizations that are participants in
  Clearstream or Euroclear. Clearstream and Euroclear will hold interests in the Regulation S Global
  Notes, Regulation S Global Composite Securities and Regulation S Global Preference Shares on behalf of
  their participants through their respective depositories, which in turn will hold the interests in
  Regulation S Global Notes, Regulation S Global Composite Securities and Regulation S Global Notes in
  customers' securities accounts in the depositories' names on the books of the Depository. Investors may
  hold their interests in a Rule 144A Global Note directly through the Depository if they are participants in
  the Depository, or in directly through organizations that are participants in the Depository.




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          Payments of principal of, or interest or other distributions on a Global Security will be made to
  the Depository or its nominee, as the registered owner thereof. The Co-Issuers, the Trustee, the
  Preference Shares Paying Agent, the paying agents, the Initial Purchaser, the Portfolio Manager and their
  respective affiliates will not have any responsibility or liability for any aspect of the records relating to or
  payments made on account of beneficial ownership interests in a Global Security or for maintaining,
  supervising or reviewing any records relating to the beneficial ownership interests.

          The Co-Issuers expect that the Depository or its nominee, upon receipt of any payment of
  principal, interest, or other distributions in respect of a Global Security representing any Notes or
  Preference Shares, as the case may be, held by it or its nominee, will immediately credit participants'
  accounts with payments in amounts proportionate to their respective beneficial interests in the stated
  aggregate principal amount or number of a Global Security for the Notes, Composite Securities or
  Preference Shares, as the case may be, as shown on the records of the Depository or its nominee. The Co-
  Issuers also expect that payments by participants to owners of beneficial interests in a Global Security
  held through the participants will be governed by standing instructions and customary practices, as is now
  the case with securities held for the accounts of customers registered in the names of nominees for those
  customers. The payments will be the responsibility of the participants.

  Global Security Settlement Procedures

           Transfers between the participants in the Depository will be effected in the ordinary way in
  accordance with the Depository rules and will be settled in immediately available funds. The laws of
  some states require that certain persons take physical delivery of securities in definitive form.
  Consequently, the ability to transfer beneficial interests in a Global Security to these persons may be
  limited. Because the Depository can only act on behalf of participants, who in turn act on behalf of
  indirect participants and certain banks, the ability of a person holding a beneficial interest in a Global
  Security to pledge its interest to persons or entities that do not participate in the Depository system, or
  otherwise take actions in respect of its interest, may be affected by the lack of a physical certificate of the
  interest. Transfers between participants in Euroclear and Clearstream will be effected in the ordinary way
  in accordance with their respective rules and operating procedures.

           Subject to compliance with the transfer restrictions applicable to the Securities described above
  and under "Transfer Restrictions," cross-market transfers between the Depository, on the one hand, and
  directly or indirectly through Euroclear or Clearstream participants, on the other, will be effected in the
  Depository in accordance with the Depository rules on behalf of Euroclear or Clearstream, as the case
  may be, by its respective depositary; however, the cross-market transactions will require delivery of
  instructions to Euroclear or Clearstream, as the case may be, by the counterparty in the system in
  accordance with its rules and procedures and within its established deadlines (Brussels time). Euroclear
  or Clearstream, as the case may be, will if the transaction meets its settlement requirements, deliver
  instructions to its respective depositary to take action to effect final settlement on its behalf by delivering
  or receiving interests in a Note, Composite Security or Preference Share, as the case may be, represented
  by a Regulation S Global Note, Regulation S Global Composite Security or Regulation S Global
  Preference Share in the Depository and making or receiving payment in accordance with normal
  procedures for same-day funds settlement applicable to the Depository. Clearstream participants and
  Euroclear participants may not deliver instructions directly to the depositories of Clearstream or
  Euroclear.

           Because of time zone differences, cash received in Euroclear or Clearstream as a result of sales of
  interests in a Regulation S Global Note, Regulation S Global Composite Security or Regulation S Global
  Preference Share by or through a Euroclear or Clearstream participant to the Depository participant will
  be received with value on the Depository settlement date but will be available in the relevant Euroclear or
  Clearstream cash account only as of the business day following settlement in the Depository.




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          The Depository has advised the Issuer that it will take any action permitted to be taken by a
  Holder of Securities (including the presentation of Securities for exchange as described above) only at the
  direction of one or more participants in the Depository to whose account with the Depository interests in
  the Securities are credited and only in respect of the portion of the Aggregate Outstanding Amount of the
  Securities as to which the participant or participants has or have given the direction. However, upon the
  occurrence of certain events, the Depository will exchange the Securities for Certificated Composite
  Securities, legended as appropriate, which it will distribute to its participants as set out in the Indenture.

          The Depository has advised the Issuer as follows: The Depository is a limited-purpose trust
  company organized under the New York Banking Law, a "banking organization" within the meaning of
  the New York Banking Law, a member of the Federal Reserve System, a "clearing corporation" within
  the meaning of the UCC and a "Clearing Agency" registered pursuant to the provisions of Section 17A of
  the Exchange Act. The Depository was created to hold securities for its participants and facilitate the
  clearance and settlement of securities transactions between participants through electronic book-entry
  changes in accounts of its participants, thereby eliminating the need for physical movement of certificates.
  Participants in the Depository include securities brokers and dealers, banks, trust companies, and clearing
  corporations and may include certain other organizations. Indirect access to the Depository system is
  available to others such as banks, brokers, dealers, and trust companies that clear through or maintain a
  custodial relationship with a participant, either directly or indirectly.

           Although the Depository, Clearstream and Euroclear have agreed to the foregoing procedures to
  facilitate transfers of interests in Regulation S Global Notes, Regulation S Global Composite Securities
  and Regulation S Global Preference Shares among participants of the Depository, Clearstream and
  Euroclear, they are under no obligation to perform or continue to perform the procedures, and the
  procedures may be discontinued at any time. Neither the Co-Issuers nor the Trustee will have any
  responsibility for the performance by the Depository, Clearstream, or Euroclear or their respective
  participants or indirect participants of their respective obligations under the rules and procedures
  governing their operations.

                                       TRANSFER RESTRICTIONS
           Because of the following restrictions, purchasers are advised to consult legal counsel prior to
  making any offer, resale, pledge or transfer of the Securities. Purchasers of Securities represented by an
  interest in a Regulation S Global Note, Regulation S Global Composite Security or a Regulation S Global
  Preference Share are advised that such interests are not transferable to U.S. Persons at any time except in
  accordance with the following restrictions.

         Each prospective purchaser of Securities that is a U.S. Person or is purchasing the Securities in a
  non-Offshore Transaction (a "U.S. Offeree"), by accepting delivery of this Offering Circular, will be
  deemed to have represented and agreed as follows:

                   (1)     The U.S. Offeree acknowledges that this Offering Circular is personal to the U.S.
          Offeree and does not constitute an offer to any other person or to the public generally to subscribe
          for or otherwise acquire the Securities other than pursuant to transactions exempt from the
          registration requirements under the Securities Act or Rule 144A or in Offshore Transactions in
          accordance with Regulation S. Distribution of this Offering Circular to any person other than the
          U.S. Offeree and those persons, if any, retained to advise the U.S. Offeree with respect thereto,
          and other persons that are Accredited Investors, Qualified Institutional Buyers or non-U.S.
          Persons, is unauthorized and any disclosure of any of its contents, without the prior written
          consent of the Co-Issuers, is prohibited except as authorized under "Income Tax
          Considerations—Tax Return Disclosure and Investor List Requirements."

                (2)      The U.S. Offeree agrees to make no photocopies of this Offering Circular or any
          documents referred to herein and, if the U.S. Offeree does not purchase the Securities or the


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          Offering is terminated, to return this Offering Circular and all documents referred to herein to J.P.
          Morgan Securities Inc., 270 Park Avenue, 8th Floor, New York, New York 10017, Attention:
          Structured Credit Products.

          Under the Indenture (with respect to the Co-Issuers) and the Preference Share Documents (with
  respect to the Issuer), the Co-Issuers or the Issuer will agree to comply with the requirements of Rule
  144A relative to the dissemination of information to prospective purchasers in the secondary market. See
  "Available Information."

           The Securities have not been registered under the Securities Act and may not be offered or sold in
  non-Offshore Transactions or to, or for the account or benefit of, U.S. Persons, except to (i) Qualified
  Institutional Buyers in reliance on the exemption from the registration requirements of the Securities Act
  provided by Rule 144A or (ii) solely in the case of the Composite Securities and the Preference Shares, to
  Accredited Investors in transactions exempt from the registration requirements of the Securities Act, who
  are in each case, also (x) Qualified Purchasers, (y) in the case of the Preference Shares only,
  Knowledgeable Employees or (z) entities owned exclusively by Qualified Purchasers and/or, in the case
  of the Preference Shares only, Knowledgeable Employees.

          Any purported transfer of a Security not in accordance with this section shall be null and void and
  shall not be given effect for any purpose hereunder.

  Transfer Restrictions Applicable to Rule 144A Global Notes

          Each purchaser of a beneficial interest in Notes represented by a Rule 144A Global Note will be
  deemed to have acknowledged, represented and agreed as follows (terms used in this paragraph that are
  defined in Rule 144A or Regulation S are used herein as defined therein):

                   (1)      (A) The purchaser is a Qualified Institutional Buyer and a Qualified Purchaser,
          (B) the purchaser is purchasing the Notes for its own account or the account of another Qualified
          Purchaser that is also a Qualified Institutional Buyer as to which the purchaser exercises sole
          investment discretion, (C) the purchaser and any such account is acquiring the Notes as principal
          for its own account for investment and not for sale in connection with any distribution thereof,
          (D) the purchaser and any such account was not formed solely for the purpose of investing in the
          Notes (except when each beneficial owner of the purchaser or any such account is a Qualified
          Purchaser), (E) to the extent the purchaser (or any account for which it is purchasing the Notes) is
          a private investment company formed on or before April 30, 1996, the purchaser and each such
          account has received the necessary consent from its beneficial owners, (F) the purchaser is not a
          broker-dealer that owns and invests on a discretionary basis less than $25,000,000 in securities of
          unaffiliated issuers, (G) the purchaser is not a pension, profit-sharing or other retirement trust
          fund or plan in which the partners, beneficiaries or participants or affiliates may designate the
          particular investment to be made, (H) the purchaser agrees that it and each such account shall not
          hold such Notes for the benefit of any other Person and shall be the sole beneficial owner thereof
          for all purposes and that it shall not sell participation interests in the Notes or enter into any other
          arrangement pursuant to which any other Person shall be entitled to a beneficial interest in the
          distributions on the Notes (except when each beneficial owner of the purchaser or any such
          account is a Qualified Purchaser), (I) the Notes purchased directly or indirectly by the purchaser
          or any account for which it is purchasing the Notes constitute an investment of no more than 40%
          of the purchaser's and each such account's assets (except when each beneficial owner of the
          purchaser or any such account is a Qualified Purchaser), (J) the purchaser and each such account
          is purchasing the Notes in a principal amount of not less than the minimum denomination
          requirement for the purchaser and each such account, (K) the purchaser will provide notice of the
          transfer restrictions set forth in the Indenture (including the exhibits thereto) to any transferee of
          its Notes, and (L) the purchaser understands and agrees that any purported transfer of the Notes to



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        a purchaser that does not comply with the requirements of this paragraph (1) shall be null and
        void ab initio.

                (2)     The purchaser has such knowledge and experience in financial and business
        matters as to be capable of evaluating the merits and risks of its investment in Notes, and the
        purchaser, and any accounts for which it is acting, are each able to bear the economic risk of its
        investment.

                 (3)      The purchaser understands that the Notes are being offered only in a transaction
        not involving any public offering in the United States within the meaning of the Securities Act,
        the Notes have not been and will not be registered under the Securities Act, and, if in the future
        the purchaser decides to offer, resell, pledge or otherwise transfer the Notes or any beneficial
        interest therein, such Notes or any beneficial interest therein may be offered, resold, pledged or
        otherwise transferred only in accordance with the applicable legend in respect of such Notes set
        forth in (6) below and the restrictions set forth in the Indenture. The purchaser acknowledges that
        no representation is made by the Co-Issuers or the Initial Purchaser as to the availability of any
        exemption under the Securities Act or other applicable laws of any other jurisdiction for resale of
        the Notes.

                 (4)      The purchaser is not purchasing the Notes or any beneficial interest therein with
        a view to the resale, distribution or other disposition thereof in violation of the Securities Act.
        The purchaser understands that an investment in the Notes involves certain risks, including the
        risk of loss of its entire investment in the Notes under certain circumstances. The purchaser has
        had access to such financial and other information concerning the Co-Issuers and the Notes as it
        deemed necessary or appropriate in order to make an informed investment decision with respect
        to its purchase of the Notes or any beneficial interest therein, including an opportunity to ask
        questions of and request information from the Co-Issuers and the Initial Purchaser.

                 (5)     In connection with the purchase of Notes or any beneficial interest therein
        (provided that no such representation is made with respect to the Portfolio Manager by any
        Affiliate of or account managed by the Portfolio Manager): (i) none of the Co-Issuers, the Initial
        Purchaser, any Hedge Counterparty, the Trustee, the Preference Share Paying Agent or the
        Portfolio Manager is acting as a fiduciary or financial or investment advisor for the purchaser, (ii)
        the purchaser is not relying (for purposes of making any investment decision or otherwise) upon
        any advice, counsel or representations (whether written or oral) of the Co-Issuers, the Initial
        Purchaser, any Hedge Counterparty, the Trustee, the Preference Share Paying Agent or the
        Portfolio Manager other than in a current offering circular for such Notes and any representations
        expressly set forth in a written agreement with such party; (iii) none of the Co-Issuers, the Initial
        Purchaser, any Hedge Counterparty, the Trustee, the Preference Share Paying Agent or the
        Portfolio Manager has given to the purchaser (directly or indirectly through any other person) any
        assurance, guarantee, or representation whatsoever as to the expected or projected success,
        profitability, return, performance result, effect, consequence, or benefit (including legal,
        regulatory, tax, financial, accounting, or otherwise) of an investment in the Notes; (iv) the
        purchaser has consulted with its own legal, regulatory, tax, business, investment, financial and
        accounting advisors to the extent it has deemed necessary, and it has made its own investment
        decisions (including decisions regarding the suitability of any transaction pursuant to the
        Indenture) based upon its own judgment and upon any advice from such advisors as it has
        deemed necessary and not upon any view expressed by the Co-Issuers, the Initial Purchaser, any
        Hedge Counterparty, the Trustee, the Preference Share Paying Agent or the Portfolio Manager;
        (v) the purchaser has determined that the rates, prices or amounts and other terms of the purchase
        and sale of the Notes or any beneficial interest therein reflect those in relevant market for similar
        transactions; (vi) the purchaser is purchasing the Notes or any beneficial interest therein with a
        full understanding of all of the terms, conditions and risks thereof (economic and otherwise), and


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        it is capable of assuming and willing to assume (financially and otherwise) those risks; and (vii)
        the purchaser is a sophisticated investor.

                 (6)      The purchaser understands that the Notes offered to Qualified Institutional
        Buyers in reliance on the exemption from the registration requirements under the Securities Act
        provided by Rule 144A (a) will bear the legend set forth below unless the Co-Issuers determine
        otherwise in accordance with applicable law, (b) will be represented by one or more Rule 144A
        Global Notes, and (c) may not at any time be held by or on behalf of U.S. Persons that are not
        Qualified Institutional Buyers and either (i) Qualified Purchasers or (ii) entities owned
        exclusively by Qualified Purchasers. Before any interest in a Rule 144A Global Note may be
        offered, resold, pledged or otherwise transferred to a Person who takes delivery in the form of an
        interest in a Regulation S Global Note, the transferor will be required to provide the Trustee with
        a written certification as to compliance with the transfer restrictions.

        THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN HAS NOT BEEN AND WILL NOT
  BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS AMENDED
  (THE "SECURITIES ACT"), AND THE CO-ISSUERS HAVE NOT BEEN REGISTERED UNDER
  THE UNITED STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE
  "INVESTMENT COMPANY ACT"). THE PURCHASER HEREOF, BY PURCHASING THIS
  NOTE, AGREES FOR THE BENEFIT OF THE CO-ISSUERS THAT THIS NOTE OR ANY
  BENEFICIAL INTEREST HEREIN MAY BE OFFERED, SOLD, PLEDGED OR OTHERWISE
  TRANSFERRED, ONLY (A)(1) TO A PERSON WHOM THE SELLER REASONABLY BELIEVES
  IS A QUALIFIED INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER
  THE SECURITIES ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A
  QUALIFIED INSTITUTIONAL BUYER, IN A TRANSACTION MEETING THE REQUIREMENTS
  OF RULE 144A UNDER THE SECURITIES ACT SO LONG AS THIS NOTE IS ELIGIBLE FOR
  RESALE IN ACCORDANCE WITH RULE 144A, OR (2) TO A NON-U.S. PERSON IN AN
  OFFSHORE TRANSACTION COMPLYING WITH RULE 903 OR RULE 904 OF REGULATION S
  UNDER THE SECURITIES ACT AND, IN CASE OF CLAUSE (1), TO A PURCHASER THAT (W) IS
  A QUALIFIED PURCHASER WITHIN THE MEANING OF SECTION 3(c)(7) OF THE
  INVESTMENT COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING
  IN THE ISSUER (EXCEPT WITH EACH BENEFICIAL OWNER OF THE PURCHASER IS A
  QUALIFED PURCHASER), (X) TO THE EXTENT THE PURCHASER (OR ANY ACCOUNT FOR
  WHICH IT IS PURCHASING THE NOTES) IS A PRIVATE INVESTMENT COMPANY FORMED
  ON OR BEFORE APRIL 30, 1996, HAS RECEIVED THE NECESSARY CONSENT FROM ITS
  BENEFICIAL OWNERS, (Y) IS NOT A BROKER-DEALER THAT OWNS AND INVESTS ON A
  DISCRETIONARY BASIS LESS THAN $25,000,000 IN SECURITIES OF UNAFFILIATED
  ISSUERS, AND (Z) IS NOT A PENSION, PROFIT-SHARING OR OTHER RETIREMENT TRUST
  FUND OR PLAN IN WHICH THE PARTNERS, BENEFICIARIES OR PARTICIPANTS OR
  AFFILIATES MAY DESIGNATE THE PARTICULAR INVESTMENT TO BE MADE, (B) IN A
  PRINCIPAL AMOUNT OF NOT LESS THAN U.S.$250,000 FOR THE PURCHASER AND FOR
  EACH ACCOUNT FOR WHICH IT IS ACTING AND (C) IN ACCORDANCE WITH ALL
  APPLICABLE SECURITIES LAWS OF THE STATES OF THE UNITED STATES. EACH
  TRANSFEROR OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL PROVIDE
  NOTICE OF THE TRANSFER RESTRICTIONS AS SET FORTH HEREIN TO ITS TRANSFEREE.
  EACH PURCHASER OF THIS NOTE OR ANY BENEFICIAL INTEREST HEREIN WILL BE
  DEEMED TO HAVE MADE THE APPLICABLE REPRESENTATIONS AND AGREEMENTS SET
  FORTH IN THE INDENTURE. ANY TRANSFER IN VIOLATION OF THE FOREGOING WILL BE
  OF NO FORCE AND EFFECT AND WILL NOT OPERATE TO TRANSFER ANY RIGHTS TO THE
  TRANSFEREE, NOTWITHSTANDING ANY INSTRUCTIONS TO THE CONTRARY TO THE CO-
  ISSUERS, THE TRUSTEE OR ANY INTERMEDIARY. IN ADDITION TO THE FOREGOING, THE
  CO-ISSUERS MAINTAIN THE RIGHT TO RESELL NOTES OR ANY BENEFICIAL INTEREST
  THEREIN PREVIOUSLY TRANSFERRED TO NON-PERMITTED U.S. HOLDERS (AS DEFINED


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  IN THE INDENTURE) IN ACCORDANCE WITH AND SUBJECT TO THE TERMS OF THE
  INDENTURE.

        UNLESS THIS NOTE IS PRESENTED BY AN AUTHORIZED REPRESENTATIVE OF THE
  DEPOSITORY TRUST COMPANY (DTC) TO THE INDENTURE REGISTRAR FOR
  REGISTRATION OF TRANSFER OR PAYMENT, AND ANY CERTIFICATE ISSUED IS
  REGISTERED IN THE NAME OF CEDE & CO. OR IN SUCH OTHER NAME AS IS REQUESTED
  BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT MADE TO CEDE &
  CO. OR TO SUCH OTHER ENTITY AS IS REQUESTED BY AN AUTHORIZED
  REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE
  OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
  OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.

        THE FAILURE TO PROVIDE THE ISSUER, THE TRUSTEE AND ANY PAYING AGENT
  WITH THE APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN
  INTERNAL REVENUE SERVICE FORM W-9 (OR SUCCESSOR APPLICABLE FORM) IN THE
  CASE OF A PERSON THAT IS A "UNITED STATES PERSON" WITHIN THE MEANING OF
  SECTION 7701(A)(30) OF THE INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE
  "CODE") OR AN APPLICABLE INTERNAL REVENUE SERVICE FORM W-8 (OR SUCCESSOR
  APPLICABLE FORM) IN THE CASE OF A PERSON THAT IS NOT A "UNITED STATES PERSON"
  WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE CODE) MAY RESULT IN U.S.
  FEDERAL BACK-UP WITHHOLDING FROM PAYMENTS TO THE HOLDER IN RESPECT OF
  THIS NOTE.

        THE ACQUISITION OF THIS NOTE BY, OR ON BEHALF OF, OR WITH THE ASSETS OF
  ANY "EMPLOYEE BENEFIT PLAN" SUBJECT TO THE FIDUCIARY RESPONSIBILITY
  PROVISIONS OF THE UNITED STATES EMPLOYEE RETIREMENT INCOME SECURITY ACT
  OF 1974, AS AMENDED ("ERISA"), OR ANY "PLAN" SUBJECT TO SECTION 4975 OF THE
  UNITED STATES INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE "CODE"), OR ANY
  ENTITY PART OR ALL OF THE ASSETS OF WHICH CONSTITUTE ASSETS OF ANY SUCH
  EMPLOYEE BENEFIT PLAN OR PLAN BY REASON OF UNITED STATES DEPARTMENT OF
  LABOR REGULATION SECTION 2510.3-101 OR OTHERWISE, OR ANY GOVERNMENTAL,
  CHURCH OR OTHER PLAN SUBJECT TO FEDERAL, STATE, LOCAL OR NON-U.S. LAW
  SUBSTANTIALLY SIMILAR TO THE FIDUCIARY RESPONSIBILITY PROVISIONS OF ERISA
  OR SECTION 4975 OF THE CODE IS PROHIBITED UNLESS SUCH PURCHASE, HOLDING AND
  SUBSEQUENT DISPOSITION WOULD NOT RESULT IN ANY NON-EXEMPT PROHIBITED
  TRANSACTION UNDER SECTION 406 OF ERISA OR UNDER SECTION 4975 OF THE CODE
  AND WILL NOT CAUSE A NON-EXEMPT VIOLATION OF ANY U.S. FEDERAL, STATE, LOCAL
  OR NON-U.S. LAW WHICH IS SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR
  SECTION 4975 OF THE CODE.

                (7)       The purchaser will provide notice to each person to whom it proposes to transfer
        any interest in the Notes of the transfer restrictions and representations set forth in the Indenture,
        including the exhibits referenced therein.

                 (8)      The purchaser understands that the Indenture permits the Issuer to compel any
        Holder of the Notes or any beneficial interest therein who is a U.S. Person and who is determined
        not to have been both (x) a Qualified Institutional Buyer and (y) either (i) a Qualified Purchaser
        or (ii) an entity owned exclusively by Qualified Purchasers at the time of acquisition of the Notes
        or any beneficial interest therein to sell such interest, or to sell such interest on behalf of such
        purchaser, to a person that is both (x) a Qualified Institutional Buyer and (y) either (i) a Qualified
        Purchaser or (ii) an entity owned exclusively by Qualified Purchasers, in a transaction meeting
        the requirements of Rule 144A or to a person that is a non-U.S. Person in an Offshore
        Transaction meeting the requirements of Regulation S.

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                (9)     The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Notes, the Indenture permits the
        Amendment Buy-Out Purchaser to purchase the beneficial interest in the Notes from any Non-
        Consenting Holder thereof at the applicable Amendment Buy-Out Purchase Price; and such Non-
        Consenting Holder will be required to sell its beneficial interest in this Note to the Amendment
        Buy-Out Purchaser at such price.

                (10)     The purchaser of the Class A-1g Notes understands that in the case of any
        Removal Buy-Out Option, the Indenture permits the Removal Buy-Out Purchaser to purchase the
        beneficial interest in the Class A-1g Notes from any Holder of such Class A-1g Notes at the
        applicable Removal Buy-Out Purchase Price; and such Holder of Class A-1g Notes will be
        required to sell its beneficial interest in such Note to the Removal Buy-Out Purchaser at such
        price.

                 (11)     The purchaser understands that the Stated Maturity of the Notes is subject to
        multiple extensions of four years each without consent of any Holders of Securities at the option
        of the Issuer, if directed by the Portfolio Manager, upon satisfaction of certain conditions.

                (12)     The purchaser acknowledges that no action was taken or is being contemplated
        by the Co-Issuers that would permit a public offering of the Notes or possession or distribution of
        the offering circular with respect thereto or any amendment thereof or supplement thereto or any
        other offering material relating to the Notes in any jurisdiction (other than Ireland) where, or in
        any circumstances in which, action for those purposes is required. Nothing contained in the
        offering circular relating to the Notes shall constitute an offer to sell or a solicitation of an offer to
        purchase any Notes in any jurisdiction where it is unlawful to do so absent the taking of such
        action or the availability of an exemption therefrom.

                 (13)    The purchaser will not, at any time, offer to buy or offer to sell the Notes or any
        beneficial interest therein by any form of general solicitation or advertising, including, but not
        limited to, any advertisement, article, notice or other communication published in any newspaper,
        magazine or similar medium or broadcast over television or radio or seminar or meeting whose
        attendees have been invited by general solicitations or advertising.

                (14)     On each day the purchaser holds the Notes or any beneficial interest therein,
        either (1) the purchaser is not and will not be a Benefit Plan Investor or (2) the purchaser's
        purchase, holding and disposition of a Note or any beneficial interest therein (x) will not
        constitute or result in a non-exempt prohibited transaction under Section 406 of ERISA or Section
        4975 of the Code and (y) in the case of a governmental, church or other plan, will not result in a
        non-exempt violation of any substantially similar U.S. federal, state, local or non-U.S. law.

                 (15)    The purchaser understands that the Indenture permits the Issuer to compel any
        purchaser of the Notes or any beneficial interest therein who has made an ERISA-related
        representation required by the Indenture that was at the time made, or has subsequently become,
        false or misleading to sell such interest, or to sell such interest on behalf of such purchaser, to a
        person able to make such ERISA-related representation.

                (16)    The purchaser understands that the Co-Issuers may receive a list of participants
        holding positions in its securities from one or more book-entry depositories.

                (17)    The purchaser acknowledges that the Co-Issuers, the Portfolio Manager, the
        Initial Purchaser and others will rely upon the truth and accuracy of the foregoing
        acknowledgments, representations and agreements and agrees that if any of the
        acknowledgments, representations or agreements deemed to have been made by it by its purchase
        of the Notes or any beneficial interest therein are no longer accurate, it shall promptly notify the


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          Co-Issuers, the Portfolio Manager and the Initial Purchaser. If the purchaser is acquiring any
          Notes or any beneficial interest therein as a fiduciary or agent for one or more institutional
          accounts, it represents that it has sole investment discretion with respect to each such account and
          it has full power to make the foregoing acknowledgments, representations and agreements on
          behalf of such account.

  Transfer Restrictions Applicable to Regulation S Global Notes

           Each purchaser of a beneficial interest in a Regulation S Global Note will be deemed to have
  made the representations set forth in paragraphs (4), (5) and (7) through (17) above in "—Transfer
  Restrictions Applicable to Rule 144A Global Notes" and to have further represented and agreed as
  follows:

           The purchaser is aware that the Notes have not been and will not be registered under the
  Securities Act or any other applicable state securities law and the sale of such Notes or any beneficial
  interest therein to it is being made in reliance on the exemption from registration provided by Regulation
  S and understands that the Notes offered in reliance on Regulation S will bear the appropriate legend set
  forth in paragraph (6) above in "—Transfer Restrictions Applicable to Rule 144A Global Notes" and will
  be represented by one or more Regulation S Global Notes. The purchaser acknowledges that no
  representation is made by the Co-Issuers or the Initial Purchaser as to the availability of any exemption
  under the Securities Act or other applicable laws of any other jurisdiction for resale of the Notes. The
  purchaser and each beneficial owner of the Notes or any beneficial interest therein that it holds is not, and
  will not be, a U.S. Person as defined in Regulation S and its purchase of the Notes or any beneficial
  interest therein will comply with all applicable laws in any jurisdiction in which it resides or is located
  and will be in a principal amount of not less than U.S.$250,000. The purchaser has such knowledge and
  experience in financial and business matters as to be capable of evaluating the merits and risks of its
  investment in Notes or any beneficial interest therein, and it, and any accounts for which it is acting are
  each able to bear the economic risk of its investment. Before any interest in a Regulation S Global Note
  may be offered, resold, pledged or otherwise transferred to a person who takes delivery in the form of an
  interest in a Rule 144A Global Note, the transferor and the transferee will be required to provide the
  Trustee with written certifications as to compliance with the transfer restrictions.

  Transfer Restrictions Applicable to Composite Securities

          Each purchaser of Certificated Composite Securities and each purchaser of Regulation S Global
  Composite Securities acquiring such Composite Securities from the Issuer in the initial offering will be
  required to acknowledge, represent and agree, and each subsequent purchaser of Regulation S Global
  Composite Securities will be deemed to have acknowledged, represented and agreed, in each case as
  follows (terms used in this paragraph that are defined in Rule 144A or Regulation S are used herein as
  defined therein):

                  (1) If the purchaser is:

                           (A)     a U.S. Offeree, such purchaser is either (i) a Qualified Institutional Buyer
                  and is aware that the sale of the Composite Securities to it is being made in reliance on an
                  exemption from the registration requirements under the Securities Act and is acquiring
                  the Composite Securities for its own account or for one or more accounts, each of which
                  is a Qualified Institutional Buyer, and as to each of which the purchaser exercises sole
                  investment discretion, and in an amount not less than the authorized denomination
                  permitted by the Indenture, in each case for the purchaser and for each such account, or
                  (ii) is an Accredited Investor and is aware that the sale of Composite Securities to it is
                  being made in reliance on an exemption from the registration requirements under the
                  Securities Act and is acquiring the Composite Securities for its own account in an amount
                  not less than the authorized denomination permitted by the Indenture, or

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                        (B)      a non-U.S. Person, such purchaser is purchasing the Composite
                Securities in an Offshore Transaction, is aware that the sale of Composite Securities to it
                is being made in reliance on the exemption from the registration requirements under the
                Securities Act provided by Regulation S and is acquiring the Composite Securities for its
                own account in an amount not less than the authorized denomination permitted by the
                Indenture.

                In addition, the purchaser has such knowledge and experience in financial and business
        matters as to be capable of evaluating the merits and risks of its investment in Composite
        Securities, and the purchaser, and any accounts for which it is acting, are each able to bear the
        economic risk of the purchaser's or its investment.

                 (2)      The purchaser understands that the Composite Securities are being offered only
        in a transaction not involving any public offering in the United States within the meaning of the
        Securities Act, the Composite Securities have not been and will not be registered under the
        Securities Act, and, if in the future the purchaser decides to offer, resell, pledge or otherwise
        transfer the Composite Securities, such Composite Securities may be offered, resold, pledged or
        otherwise transferred only in accordance with the legend in respect of such Composite Securities
        set forth in (5) below and the restrictions set forth in the Indenture. The purchaser acknowledges
        that no representation is made by the Issuer or the Initial Purchaser as to the availability of any
        exemption under the Securities Act or other applicable laws of any other jurisdiction for resale of
        the Composite Securities.

                 (3)     In connection with the purchase of Composite Securities (provided that no such
        representation is made with respect to the Portfolio Manager by any Affiliate of or account
        managed by the Portfolio Manager): (i) none of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent, or the Portfolio Manager is acting as a
        fiduciary or financial or investment advisor for the purchaser, (ii) the purchaser is not relying (for
        purposes of making any investment decision or otherwise) upon any advice, counsel or
        representations (whether written or oral) of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent or the Portfolio Manager other than in a
        current offering circular for such Composite Securities and any representations expressly set forth
        in a written agreement with such party; (iii) none of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent or the Portfolio Manager has given to the
        purchaser (directly or indirectly through any other Person) any assurance, guarantee, or
        representation whatsoever as to the expected or projected success, profitability, return,
        performance result, effect, consequence, or benefit (including legal, regulatory, tax, financial,
        accounting, or otherwise) of an investment in the Composite Securities; (iv) the purchaser has
        consulted with its own legal, regulatory, tax, business, investment, financial and accounting
        advisors to the extent it has deemed necessary, and it has made its own investment decisions
        (including decisions regarding the suitability of any transaction pursuant to the documentation for
        the Composite Securities) based upon its own judgment and upon any advice from such advisors
        as it has deemed necessary and not upon any view expressed by the Issuer, the Initial Purchaser,
        any Hedge Counterparty, the Preference Shares Paying Agent or the Portfolio Manager; (v) the
        purchaser has determined that the rates, prices or amounts and other terms of the purchase and
        sale of the Composite Securities reflect those in relevant market for similar transactions; (vi) the
        purchaser is purchasing the Composite Securities with a full understanding of all of the terms,
        conditions and risks thereof (economic and otherwise), and it is capable of assuming and willing
        to assume (financially and otherwise) those risks; and (vii) the purchaser is a sophisticated
        investor.

                (4)       If the purchaser is acquiring the Composite Securities pursuant to paragraph
        (1)(A) above, (A) the purchaser and each account for which the purchaser is acquiring Composite
        Securities is (i) a Qualified Purchaser or (ii) an entity owned exclusively by Qualified Purchasers,

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        (B) the purchaser (or if the purchaser is acquiring Composite Securities for any account, each
        such account) is acquiring the Composite Securities as principal for its own account for
        investment and not for sale in connection with any distribution thereof, (C) the purchaser (or if
        the purchaser is acquiring Composite Securities for any account, each such account) was not
        formed solely for the purpose of investing in the Composite Securities (except when each
        beneficial owner of the purchaser or any such account is a Qualified Purchaser), (D) to the extent
        the purchaser or any account for which the purchaser is acquiring Composite Securities is a
        private investment company formed before April 30, 1996, the purchaser or such account has
        received the necessary consent from its beneficial owners, (E) the purchaser (or if the purchaser is
        acquiring Composite Securities for any account, each such account) agrees that it shall not hold
        such Composite Securities for the benefit of any other Person and shall be the sole beneficial
        owner thereof for all purposes and that it shall not sell participation interests in the Composite
        Securities or enter into any other arrangement pursuant to which any other Person shall be
        entitled to a beneficial interest in the dividends or other distributions on the Composite Securities
        (except when each such person is a Qualified Purchaser) and (F) the purchaser understands and
        agrees that any purported transfer of the Composite Securities to a purchaser that does not comply
        with the requirements of this paragraph shall be null and void ab initio.

                 (5)      The purchaser understands that the Composite Securities (A) will be represented
        by either one or more Certificated Composite Securities or Regulation S Global Composite
        Securities which will bear the legend set forth below unless the Issuer determines otherwise in
        accordance with applicable law, and (B) (i) in the case of Composite Securities represented by an
        interest in Certificated Composite Securities, may not at any time be held by or on behalf of U.S.
        Persons that are not either Qualified Institutional Buyers or Accredited Investors and either (A)
        Qualified Purchasers or (B) entities owned exclusively by Qualified Purchasers and (ii) in the
        case of Composite Securities represented by an interest in a Regulation S Global Composite
        Security, may not at any time be held by or on behalf of any person that is a U.S. Person. Before
        the Composite Securities represented by an interest in Certificated Composite Securities may be
        offered, resold, pledged or otherwise transferred, the transferor and the transferee will be required
        to provide the Trustee and the Issuer with written certifications as to compliance with the transfer
        restrictions.

         THE COMPOSITE SECURITIES REPRESENTED HEREBY HAVE NOT BEEN AND WILL
  NOT BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
  AMENDED (THE "SECURITIES ACT"), AND THE ISSUER HAS NOT BEEN REGISTERED
  UNDER THE UNITED STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE
  "INVESTMENT COMPANY ACT"). THE COMPOSITE SECURITIES REPRESENTED HEREBY
  HAVE NOT BEEN OFFERED, SOLD, PLEDGED OR OTHERWISE TRANSFERRED, EXCEPT
  (A)(1) TO A PERSON WHOM THE SELLER REASONABLY BELIEVES IS A QUALIFIED
  INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER THE SECURITIES
  ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A QUALIFIED
  INSTITUTIONAL BUYER, IN A TRANSACTION MEETING THE REQUIREMENTS OF RULE
  144A SO LONG AS THE COMPOSITE SECURITIES ARE ELIGIBLE FOR RESALE IN
  ACCORDANCE WITH RULE 144A, (2) TO AN ACCREDITED INVESTOR (AS DEFINED IN RULE
  501(a) UNDER THE SECURITIES ACT) IN A TRANSACTION EXEMPT FROM REGISTRATION
  UNDER THE SECURITIES ACT, OR (3) TO A NON-U.S. PERSON IN AN OFFSHORE
  TRANSACTION IN ACCORDANCE WITH RULE 903 OR RULE 904 OF REGULATION S UNDER
  THE SECURITIES ACT AND, IN THE CASE OF CLAUSES (1) AND (2), TO A PURCHASER THAT
  (X) IS A QUALIFIED PURCHASER WITHIN THE MEANING OF SECTION 3(c)(7) OF THE
  INVESTMENT COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING
  IN THE ISSUER (EXCEPT WITH EACH BENEFICIAL OWNER OF THE PURCHASER IS A
  QUALIFIED PURCHASER), AND TO THE EXTENT THE PURCHASER (OR ANY ACCOUNT FOR
  WHICH IT IS PURCHASING THE COMPOSITE SECURITIES) IS A PRIVATE INVESTMENT
  COMPANY FORMED ON OR BEFORE APRIL 30, 1996, HAS RECEIVED THE NECESSARY

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  CONSENT FROM ITS BENEFICIAL OWNERS OR (Y) IS AN ENTITY OWNED EXCLUSIVELY
  BY QUALIFIED PURCHASERS, (B) IN EACH CASE, IN A PRINCIPAL AMOUNT OF NOT LESS
  THAN U.S.$100,000 FOR THE PURCHASER AND FOR EACH SUCH ACCOUNT FOR WHICH IT
  IS ACTING, AND (C) IN ACCORDANCE WITH ALL APPLICABLE SECURITIES LAWS OF ANY
  STATE OF THE UNITED STATES AND ANY OTHER APPLICABLE JURISDICTION. EACH
  TRANSFEROR OF THE COMPOSITE SECURITIES REPRESENTED HEREBY OR ANY
  BENEFICIAL INTEREST THEREIN WILL PROVIDE NOTICE OF THE TRANSFER
  RESTRICTIONS AS SET FORTH HEREIN TO ITS PURCHASER. EACH PURCHASER OF THE
  COMPOSITE SECURITIES REPRESENTED HEREBY WILL BE REQUIRED TO MAKE (OR WILL
  BE DEEMED TO MAKE) THE APPLICABLE REPRESENTATIONS AND AGREEMENTS SET
  FORTH IN THE INDENTURE. ANY TRANSFER IN VIOLATION OF THE FOREGOING WILL BE
  OF NO FORCE AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT OPERATE TO
  TRANSFER ANY RIGHTS TO THE PURCHASER, NOTWITHSTANDING ANY INSTRUCTIONS
  TO THE CONTRARY TO THE ISSUER, THE TRUSTEE OR ANY INTERMEDIARY. IN
  ADDITION TO THE FOREGOING, THE ISSUER MAINTAINS THE RIGHT TO RESELL ANY
  COMPOSITE SECURITIES PREVIOUSLY TRANSFERRED TO NON-PERMITTED U.S. HOLDERS
  (AS DEFINED IN THE INDENTURE) IN ACCORDANCE WITH AND SUBJECT TO THE TERMS
  OF THE INDENTURE.

         BY ITS PURCHASE OR HOLDING OF THIS COMPOSITE SECURITY, OR ANY
  INTEREST THEREIN, EACH PURCHASER ACQUIRING SUCH COMPOSITE SECURITY FROM
  THE ISSUER IN THE INITIAL OFFERING AND EACH SUBSEQUENT PURCHASER THEREOF
  WILL BE REQUIRED TO REPRESENT AND WARRANT (OR, IN THE CASE OF A SUBSEQUENT
  PURCHASER OF A REGULATION S GLOBAL COMPOSITE SECURITY, WILL BE DEEMED TO
  HAVE REPRESENTED AND WARRANTED), AT THE TIME OF ITS ACQUISITION, AND
  THROUGHOUT THE PERIOD THAT IT HOLDS SUCH COMPOSITE SECURITY OR INTEREST
  THEREIN, THAT (1) IT IS NOT AN EMPLOYEE BENEFIT PLAN (AS DEFINED IN SECTION 3(3)
  OF THE UNITED STATES EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS
  AMENDED ("ERISA")), WHICH IS SUBJECT TO ERISA, (II) A PLAN (AS DEFINED IN SECTION
  4975(e)(1) OF THE UNITED STATES INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE
  "CODE")), WHICH IS SUBJECT TO SECTION 4975 OF THE CODE, OR (III) AN ENTITY WHOSE
  UNDERLYING ASSETS INCLUDE "PLAN ASSETS" BY REASON OF SUCH PLAN'S
  INVESTMENT IN THE ENTITY (AN "ERISA PLAN"), AND IF AFTER ITS INITIAL ACQUISITION
  OF A COMPOSITE SECURITY OR ANY INTEREST THEREIN, THE PURCHASER DETERMINES,
  IT IS DETERMINED BY ANOTHER PARTY, OR THE TRUSTEE BECOMES AWARE, THAT
  SUCH PURCHASER IS AN ERISA PLAN, SUCH PURCHASER WILL DISPOSE OF ALL OF ITS
  COMPOSITE SECURITIES IN A MANNER CONSISTENT WITH THE PROVISIONS SET FORTH
  IN THE INDENTURE, AND (2) IF IT IS A BENEFIT PLAN INVESTOR OTHER THAN AN ERISA
  PLAN, ITS PURCHASE, HOLDING AND DISPOSITION OF THIS COMPOSITE SECURITY WILL
  NOT CAUSE A NON-EXEMPT VIOLATION OF ANY U.S. FEDERAL, STATE OR LOCAL LAW
  OR ANY NON-U.S. LAW WHICH IS SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR
  SECTION 4975 OF THE CODE AS A RESULT OF THE TRANSACTIONS CONTEMPLATED
  HEREIN AND (3) IT WILL NOT SELL OR OTHERWISE TRANSFER ANY SUCH COMPOSITE
  SECURITY OR INTEREST THEREIN TO ANY PERSON WHO IS UNABLE TO SATISFY THE
  SAME FOREGOING REPRESENTATIONS AND WARRANTIES.

        THE FAILURE TO PROVIDE THE ISSUER AND ANY PAYING AGENT, WHENEVER
  REQUESTED BY THE ISSUER OR THE PORTFOLIO MANAGER ON BEHALF OF THE ISSUER,
  WITH THE APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN
  INTERNAL REVENUE SERVICE FORM W-9 (OR APPLICABLE SUCCESSOR FORM) IN THE
  CASE OF A PERSON THAT IS A "UNITED STATES PERSON" WITHIN THE MEANING OF
  SECTION 7701(A)(30) OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE
  FORM W-8 (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A PERSON THAT IS NOT
  A "UNITED STATES PERSON" WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE

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  CODE) SHALL RESULT IN THE IMPOSITION OF U.S. FEDERAL BACK-UP WITHHOLDING
  FROM PAYMENTS TO THE HOLDER IN RESPECT OF THE COMPOSITE SECURITIES
  REPRESENTED HEREBY.

        Each Regulation S Global Composite Security will bear the additional legend set forth below.

        UNLESS THIS COMPOSITE SECURITY IS PRESENTED BY AN AUTHORIZED
  REPRESENTATIVE OF THE DEPOSITORY TRUST COMPANY ("DTC") TO THE INDENTURE
  REGISTRAR FOR REGISTRATION OF TRANSFER OR PAYMENT, AND ANY CERTIFICATE
  ISSUED IS REGISTERED IN THE NAME OF CEDE & CO. OR IN SUCH OTHER NAME AS IS
  REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT MADE
  TO CEDE & CO. OR TO SUCH OTHER ENTITY AS IS REQUESTED BY AN AUTHORIZED
  REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE
  OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
  OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.

                (6)       The purchaser will provide notice to each Person to whom it proposes to transfer
        any interest in the Composite Securities of the transfer restrictions and representations set forth in
        the Indenture, including the exhibits referenced in the Indenture.

                (7)      The purchaser understands that the Indenture permits the Issuer to compel any
        holder of the Composite Securities who is a U.S. Person and who is determined not to have been
        both (x) either a Qualified Institutional Buyer or Accredited Investor and (y) either (i) a Qualified
        Purchaser or (ii) an entity owned exclusively by Qualified Purchasers, at the time of acquisition
        of the Composite Securities to sell such Composite Securities, or to sell such Composite
        Securities on behalf of such purchaser, to a person that is both (x) either a Qualified Institutional
        Buyer or Accredited Investor and (y) either (i) a Qualified Purchaser or (ii) an entity owned
        exclusively by Qualified Purchasers, in a transaction exempt from the registration requirements
        under the Securities Act or to a person that is a non-U.S. Person in an Offshore Transaction
        meeting the requirements of Regulation S.

                 (8)     The purchaser acknowledges that no action was taken or is being contemplated
        by the Issuer that would permit a public offering of the Composite Securities or possession or
        distribution of the offering circular with respect thereto or any amendment thereof or supplement
        thereto or any other offering material relating to the Composite Securities in any jurisdiction
        (other than Ireland) where, or in any circumstances in which, action for those purposes is
        required. Nothing contained in the offering circular relating to the Composite Securities shall
        constitute an offer to sell or a solicitation of an offer to purchase any Composite Securities in any
        jurisdiction where it is unlawful to do so absent the taking of such action or the availability of an
        exemption therefrom.

                (9)      The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Composite Securities, the Indenture
        permits the Amendment Buy-Out Purchaser to purchase the beneficial interest in the Composite
        Securities from any Non-Consenting Holder thereof at the applicable Amendment Buy-Out
        Purchase Price; and such Non-Consenting Holder will be required to sell its beneficial interest in
        this Composite Security to the Amendment Buy-Out Purchaser at such price.

                (10)    The purchaser understands that the Stated Maturity of the Composite Securities is
        subject to multiple extensions of four years each without consent of any Holders of Securities at
        the option of the Issuer, if directed by the Portfolio Manager, upon satisfaction of certain
        conditions.




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                 (11)    The purchaser understands that in the case of any vote to remove the Portfolio
        Manager, the Management Agreement permits the Portfolio Manager to purchase the beneficial
        interest in the Composite Securities relating to those Preference Share Components which form a
        part of the Directing Preference Shares from any Holder of Composite Securities that voted to
        remove the Portfolio Manger at the applicable Buy-Out Amount; and such Holder of Composite
        Securities will be required to sell its beneficial interest in this Composite Security to the Portfolio
        Manager at such price.

                (12)    The purchaser will not, at any time, offer to buy or offer to sell the Composite
        Securities by any form of general solicitation or advertising, including, but not limited to, any
        advertisement, article, notice or other communication published in any newspaper, magazine or
        similar medium or broadcast over television or radio or seminar or meeting whose attendees have
        been invited by general solicitations or advertising.

                (13)     The purchaser agrees to treat the Composite Securities as equity of the Issuer for
        U.S. federal, state and local income tax purposes, if applicable.

                 (14)     On each day the purchaser holds the Composite Securities or any beneficial
        interest therein, (i) the purchaser, and any account on behalf of which the purchaser is purchasing
        the Composite Securities, is not and will not be an ERISA Plan, and if, after its initial acquisition
        of a Composite Securities, the purchaser determines, it is determined by another person, or the
        Trustee becomes aware that it or any such account is an ERISA Plan, such purchaser will dispose
        of its interest in the Composite Securities in a manner consistent with the requirements of the
        Indenture and (ii) if the purchaser is a Benefit Plan Investor that is not an ERISA Plan, the
        purchaser's purchase, holding and disposition of a Composite Security or any beneficial interest
        therein will not result in a non-exempt violation of any U.S. federal, state, local or non-U.S. law
        which is substantially similar to Section 406 of ERISA or Section 4975 of the Code. The
        purchaser understands and agrees that any purported transfer of Composite Securities to a
        purchaser that does not comply with the requirements of clause (i) of this paragraph (14) shall not
        be recognized or effective and such purported purchaser or transferee shall acquire no rights
        thereby and that the Indenture permits the Issuer to require any purchaser of the Composite
        Securities or any beneficial interest therein who has made, or is deemed to have made, such
        ERISA-related representation that is subsequently shown to be false or misleading to sell such
        interest to a person able to make such ERISA-related representation. The purchaser and any
        fiduciary causing the purchaser to purchase the Composite Securities agrees to indemnify and
        hold harmless the Issuer, the Portfolio Manager, the Preference Shares Paying Agent, the Initial
        Purchaser and the Trustee and their respective affiliates from any cost, damage, or loss incurred
        by them as a result of the purchaser being or being deemed to be an ERISA Plan.

                 (15)    The purchaser acknowledges that the Issuer, the Portfolio Manager, the Initial
        Purchaser and others will rely upon the truth and accuracy of the foregoing acknowledgments,
        representations and agreements and agrees that if any of the acknowledgments, representations or
        agreements deemed to have been made by it by its purchase of the Composite Securities are no
        longer accurate, it shall promptly notify the Issuer, the Portfolio Manager and the Initial
        Purchaser. If it is acquiring any Composite Securities as a fiduciary or agent for one or more
        institutional accounts, it represents that it has sole investment discretion with respect to each such
        account and it has full power to make the foregoing acknowledgments, representations and
        agreements on behalf of such account.

                (16)     Each purchaser or subsequent transferee (other than a subsequent transferee of
        Regulation S Global Composite Securities) of Composite Securities will be required to provide to
        the Issuer and the Trustee written certification in a form acceptable to the Issuer and the Trustee
        as to whether it is an Affected Bank and each subsequent transferee of Regulation S Global
        Composite Securities will be deemed to represent to the Issuer and to the Trustee that it is not an

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          Affected Bank. No transfer of any Composite Security to an Affected Bank will be effective, and
          the Trustee will not recognize any such transfer, unless such transfer is specifically authorized by
          the Issuer in writing; provided, however, that the Issuer shall authorize any such transfer if
          (x) such transfer would not cause more than 33 1/3% of the aggregate outstanding amount of the
          Preference Shares (including the Preference Share Components of the Class 1 Composite
          Securities) to be owned by Affected Banks or (y) the transferor is an Affected Bank previously
          approved by the Issuer.

                  (17)     To the extent required by the Issuer, as determined by the Issuer or the Portfolio
          Manager on behalf of the Issuer, the Issuer may, upon notice to the Trustee and the Indenture
          Registrar, impose additional transfer restrictions on the Composite Securities to comply with the
          Uniting and Strengthening America by Providing Appropriate Tools Required to Intercept and
          Obstruct Terrorism Act of 2001 (the U.S. Patriot Act) and other similar laws or regulations,
          including, without limitation, requiring each transferee of a Composite Security to make
          representations to the Issuer in connection with such compliance.

                  (18)     The purchaser agrees to not cause the filing of a petition in bankruptcy or
          winding up against the Issuer before one year and one day have elapsed since the payment in full
          of the Notes or, if longer, the applicable preference period in effect.

                  (19)    The purchaser is not a member of the public in the Cayman Islands.

  Transfer Restrictions Applicable to Preference Shares

           Each purchaser of Certificated Preference Shares and each purchaser of Regulation S Global
  Preference Shares acquiring such Preference Shares from the Issuer in the initial offering will be required
  to acknowledge, represent and agree, and each subsequent purchaser of Regulation S Global Preference
  Shares will be deemed to have acknowledged, represented and agreed, in each case as follows (terms used
  in this paragraph that are defined in Rule 144A or Regulation S are used herein as defined therein):

                  (1) If the purchaser is:

                           (A)     a U.S. Offeree, such purchaser is either (i) a Qualified Institutional Buyer
                  and is aware that the sale of the Preference Shares to it is being made in reliance on an
                  exemption from the registration requirements under the Securities Act and is acquiring
                  the Preference Shares for its own account or for one or more accounts, each of which is a
                  Qualified Institutional Buyer, and as to each of which the purchaser exercises sole
                  investment discretion, and in a number not less than the minimum lot, in each case for the
                  purchaser and for each such account, or (ii) is an Accredited Investor and is aware that
                  the sale of Preference Shares to it is being made in reliance on an exemption from the
                  registration requirements under the Securities Act and is acquiring the Preference Shares
                  for its own account in a number not less than the minimum lot, or

                          (B)     a non-U.S. Person, such purchaser is purchasing the Preference Shares in
                  an Offshore Transaction, is aware that the sale of Preference Shares to it is being made in
                  reliance on the exemption from the registration requirements under the Securities Act
                  provided by Regulation S and is acquiring the Preference Shares for its own account in a
                  number not less than the minimum lot.

                  In addition, the purchaser has such knowledge and experience in financial and business
          matters as to be capable of evaluating the merits and risks of its investment in Preference Shares,
          and the purchaser, and any accounts for which it is acting, are each able to bear the economic risk
          of the purchaser's or its investment.



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                 (2)      The purchaser understands that the Preference Shares are being offered only in a
        transaction not involving any public offering in the United States within the meaning of the
        Securities Act, the Preference Shares have not been and will not be registered under the Securities
        Act, and, if in the future the purchaser decides to offer, resell, pledge or otherwise transfer the
        Preference Shares, such Preference Shares may be offered, resold, pledged or otherwise
        transferred only in accordance with the legend in respect of such Preference Shares set forth in (6)
        below and the restrictions set forth in the Preference Share Documents. The purchaser
        acknowledges that no representation is made by the Issuer or the Initial Purchaser as to the
        availability of any exemption under the Securities Act or other applicable laws of any other
        jurisdiction for resale of the Preference Shares.

                 (3)      The purchaser is not purchasing the Preference Shares with a view to the resale,
        distribution or other disposition thereof in violation of the Securities Act. The purchaser
        understands that the Preference Shares will be highly illiquid and are not suitable for short-term
        trading. The Preference Shares are a leveraged investment in the Collateral Obligations that may
        expose the Preference Shares to disproportionately large changes in value. Payments in respect
        of the Preference Shares are not guaranteed as they are dependent on the performance of the
        Issuer's portfolio of Collateral Obligations. The purchaser understands that it is possible that, due
        to the structure of the transaction and the performance of the Issuer's portfolio of Collateral
        Obligations, dividends or other distributions in respect of the Preference Shares may be reduced
        or eliminated entirely. Furthermore, the Preference Shares constitute equity in the Issuer, are not
        secured by the Collateral and will rank behind all creditors (secured and unsecured and whether
        known or unknown) of the Issuer, including, without limitation, the holders of the Notes, and any
        Hedge Counterparties. The Issuer has assets limited to the Collateral for payment of all Classes
        of the Notes and dividends and other distributions on the Preference Shares, and the Preference
        Shares bear, pro rata, the first risk of loss. The purchaser has had access to such financial and
        other information concerning the Issuer and the Preference Shares as it deemed necessary or
        appropriate in order to make an informed investment decision with respect to its purchase of the
        Preference Shares including an opportunity to ask questions of and request information from the
        Issuer and the Initial Purchaser.

                (4)      In connection with the purchase of Preference Shares (provided that no such
        representation is made with respect to the Portfolio Manager by any Affiliate of or account
        managed by the Portfolio Manager): (i) none of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent, or the Portfolio Manager is acting as a
        fiduciary or financial or investment advisor for the purchaser, (ii) the purchaser is not relying (for
        purposes of making any investment decision or otherwise) upon any advice, counsel or
        representations (whether written or oral) of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent or the Portfolio Manager other than in a
        current offering circular for such Preference Shares and any representations expressly set forth in
        a written agreement with such party; (iii) none of the Issuer, the Initial Purchaser, any Hedge
        Counterparty, the Preference Shares Paying Agent or the Portfolio Manager has given to the
        purchaser (directly or indirectly through any other Person) any assurance, guarantee, or
        representation whatsoever as to the expected or projected success, profitability, return,
        performance result, effect, consequence, or benefit (including legal, regulatory, tax, financial,
        accounting, or otherwise) of an investment in the Preference Shares; (iv) the purchaser has
        consulted with its own legal, regulatory, tax, business, investment, financial and accounting
        advisors to the extent it has deemed necessary, and it has made its own investment decisions
        (including decisions regarding the suitability of any transaction pursuant to the documentation for
        the Preference Shares) based upon its own judgment and upon any advice from such advisors as it
        has deemed necessary and not upon any view expressed by the Issuer, the Initial Purchaser, any
        Hedge Counterparty, the Preference Shares Paying Agent or the Portfolio Manager; (v) the
        purchaser has determined that the rates, prices or amounts and other terms of the purchase and
        sale of the Preference Shares reflect those in relevant market for similar transactions; (vi) the

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        purchaser is purchasing the Preference Shares with a full understanding of all of the terms,
        conditions and risks thereof (economic and otherwise), and it is capable of assuming and willing
        to assume (financially and otherwise) those risks; and (vii) the purchaser is a sophisticated
        investor.

                 (5)     If the purchaser is acquiring the Preference Shares pursuant to paragraph (1)(A)
        above, (A) the purchaser and each account for which the purchaser is acquiring Preference Shares
        is (i) a Qualified Purchaser, (ii) a Knowledgeable Employee or (iii) an entity owned exclusively
        by Qualified Purchasers and/or Knowledgeable Employees, (B) the purchaser (or if the purchaser
        is acquiring Preference Shares for any account, each such account) is acquiring the Preference
        Shares as principal for its own account for investment and not for sale in connection with any
        distribution thereof, (C) the purchaser (or if the purchaser is acquiring Preference Shares for any
        account, each such account) was not formed solely for the purpose of investing in the Preference
        Shares (except when each beneficial owner of the purchaser or any such account is (i) a Qualified
        Purchaser or (ii) a Knowledgeable Employee), (D) to the extent the purchaser or any account for
        which the purchaser is acquiring Preference Shares is a private investment company formed
        before April 30, 1996, the purchaser or such account has received the necessary consent from its
        beneficial owners, (E) the purchaser (or if the purchaser is acquiring Preference Shares for any
        account, each such account) agrees that it shall not hold such Preference Shares for the benefit of
        any other Person and shall be the sole beneficial owner thereof for all purposes and that it shall
        not sell participation interests in the Preference Shares or enter into any other arrangement
        pursuant to which any other Person shall be entitled to a beneficial interest in the dividends or
        other distributions on the Preference Shares (except when each person is (i) a Qualified Purchaser
        or (ii) a Knowledgeable Employee) and (F) the purchaser understands and agrees that any
        purported transfer of the Preference Shares to a purchaser that does not comply with the
        requirements of this paragraph shall be null and void ab initio.

                 (6)      The purchaser understands that the Preference Shares (A) will be represented by
        either one or more Certificated Preference Shares or Regulation S Global Preference Shares
        which will bear the legend set forth below unless the Issuer determines otherwise in accordance
        with applicable law, and (B) (i) in the case of Preference Shares represented by an interest in a
        Certificated Preference Share, may only be held by or on behalf of either (x) non-U.S. Persons or
        (y) U.S. Persons that are either Qualified Institutional Buyers or Accredited Investors and either
        (a) Qualified Purchasers, (b) Knowledgeable Employees or (c) entities owned exclusively by
        Qualified Purchasers and/or Knowledgeable Employees and (ii) in the case of Preference Shares
        represented by an interest in a Regulation S Global Preference Share, may not at any time be held
        by or on behalf of any person that is a U.S. Person. Before the Preference Shares represented by
        an interest in Certificated Preference Shares may be offered, resold, pledged or otherwise
        transferred, the transferee will be required to provide the Preference Shares Paying Agent and the
        Issuer with a written certification as to compliance with the transfer restrictions.

         THE PREFERENCE SHARES REPRESENTED HEREBY HAVE NOT BEEN AND WILL
  NOT BE REGISTERED UNDER THE UNITED STATES SECURITIES ACT OF 1933, AS
  AMENDED (THE "SECURITIES ACT"), AND THE ISSUER HAS NOT BEEN REGISTERED
  UNDER THE UNITED STATES INVESTMENT COMPANY ACT OF 1940, AS AMENDED (THE
  "INVESTMENT COMPANY ACT"). THE PREFERENCE SHARES REPRESENTED HEREBY
  HAVE NOT BEEN OFFERED, SOLD, PLEDGED OR OTHERWISE TRANSFERRED, EXCEPT
  (A)(1) TO A PERSON WHOM THE SELLER REASONABLY BELIEVES IS A QUALIFIED
  INSTITUTIONAL BUYER WITHIN THE MEANING OF RULE 144A UNDER THE SECURITIES
  ACT PURCHASING FOR ITS OWN ACCOUNT OR FOR THE ACCOUNT OF A QUALIFIED
  INSTITUTIONAL BUYER, IN A TRANSACTION MEETING THE REQUIREMENTS OF RULE
  144A SO LONG AS THE PREFERENCE SHARES ARE ELIGIBLE FOR RESALE IN
  ACCORDANCE WITH RULE 144A, (2) TO AN ACCREDITED INVESTOR (AS DEFINED IN RULE
  501(a) UNDER THE SECURITIES ACT) IN A TRANSACTION EXEMPT FROM REGISTRATION

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  UNDER THE SECURITIES ACT, OR (3) TO A NON-U.S. PERSON IN AN OFFSHORE
  TRANSACTION IN ACCORDANCE WITH RULE 903 OR RULE 904 OF REGULATION S UNDER
  THE SECURITIES ACT AND, IN THE CASE OF CLAUSES (1) AND (2), TO A PURCHASER THAT
  (X) IS A QUALIFIED PURCHASER WITHIN THE MEANING OF SECTION 3(C)(7) OF THE
  INVESTMENT COMPANY ACT THAT WAS NOT FORMED FOR THE PURPOSE OF INVESTING
  IN THE ISSUER (EXCEPT WHEN EACH BENEFICIAL OWNER OF THE PURCHASER IS A
  QUALIFIED PURCHASER OR KNOWLEDGEABLE EMPLOYEE) THAT HAS RECEIVED THE
  NECESSARY CONSENT FROM ITS BENEFICIAL OWNERS WHEN THE PURCHASER IS A
  PRIVATE INVESTMENT COMPANY FORMED ON OR BEFORE APRIL 30, 1996, (Y) IS A
  KNOWLEDGEABLE EMPLOYEE (AS DEFINED IN RULE 3C-5 UNDER THE INVESTMENT
  COMPANY ACT) WITH RESPECT TO THE ISSUER OR (Z) IS AN ENTITY OWNED
  EXCLUSIVELY BY QUALIFIED PURCHASERS AND/OR KNOWLEDGEABLE EMPLOYEES, (B)
  IN EACH CASE, IN A NUMBER OF NOT LESS THAN 100 PREFERENCE SHARES FOR THE
  PURCHASER AND FOR EACH SUCH ACCOUNT FOR WHICH IT IS ACTING, AND (C) IN
  ACCORDANCE WITH ALL APPLICABLE SECURITIES LAWS OF ANY STATE OF THE UNITED
  STATES AND ANY OTHER APPLICABLE JURISDICTION. EACH TRANSFEROR OF THE
  PREFERENCE SHARES REPRESENTED HEREBY OR ANY BENEFICIAL INTEREST THEREIN
  WILL PROVIDE NOTICE OF THE TRANSFER RESTRICTIONS AS SET FORTH HEREIN TO ITS
  PURCHASER. EACH PURCHASER OF THE PREFERENCE SHARES REPRESENTED HEREBY
  WILL BE REQUIRED TO MAKE (OR WILL BE DEEMED TO MAKE) THE APPLICABLE
  REPRESENTATIONS AND AGREEMENTS SET FORTH IN THE PREFERENCE SHARE
  DOCUMENTS. ANY TRANSFER IN VIOLATION OF THE FOREGOING WILL BE OF NO FORCE
  AND EFFECT, WILL BE VOID AB INITIO, AND WILL NOT OPERATE TO TRANSFER ANY
  RIGHTS TO THE PURCHASER, NOTWITHSTANDING ANY INSTRUCTIONS TO THE
  CONTRARY TO THE ISSUER, THE PREFERENCE SHARES PAYING AGENT OR ANY
  INTERMEDIARY. IN ADDITION TO THE FOREGOING, THE ISSUER MAINTAINS THE RIGHT
  TO RESELL ANY PREFERENCE SHARES PREVIOUSLY TRANSFERRED TO NON-PERMITTED
  U.S. HOLDERS (AS DEFINED IN THE PREFERENCE SHARE DOCUMENTS) IN ACCORDANCE
  WITH AND SUBJECT TO THE TERMS OF THE PREFERENCE SHARE DOCUMENTS.

         BY ITS PURCHASE OR HOLDING OF THIS PREFERENCE SHARE, OR ANY INTEREST
  THEREIN, EACH PURCHASER ACQUIRING SUCH PREFERENCE SHARE FROM THE ISSUER
  IN THE INITIAL OFFERING AND EACH SUBSEQUENT PURCHASER THEREOF WILL BE
  REQUIRED TO REPRESENT AND WARRANT (OR, IN THE CASE OF A SUBSEQUENT
  PURCHASER OF A REGULATION S GLOBAL PREFERENCE SHARE, WILL BE DEEMED TO
  HAVE REPRESENTED AND WARRANTED), AT THE TIME OF ITS ACQUISITION, AND
  THROUGHOUT THE PERIOD THAT IT HOLDS SUCH PREFERENCE SHARE OR INTEREST
  THEREIN, THAT (1) IT IS NOT AN EMPLOYEE BENEFIT PLAN (AS DEFINED IN SECTION 3(3)
  OF THE UNITED STATES EMPLOYEE RETIREMENT INCOME SECURITY ACT OF 1974, AS
  AMENDED ("ERISA")), WHICH IS SUBJECT TO ERISA, (II) A PLAN (AS DEFINED IN SECTION
  4975(e)(1) OF THE UNITED STATES INTERNAL REVENUE CODE OF 1986, AS AMENDED (THE
  "CODE")), WHICH IS SUBJECT TO SECTION 4975 OF THE CODE, OR (III) AN ENTITY WHOSE
  UNDERLYING ASSETS INCLUDE "PLAN ASSETS" BY REASON OF SUCH PLAN'S
  INVESTMENT IN THE ENTITY (AN "ERISA PLAN"); AND IF AFTER ITS INITIAL ACQUISITION
  OF A PREFERENCE SHARE OR ANY INTEREST THEREIN, THE INVESTOR DETERMINES, IT
  IS DETERMINED BY ANOTHER PARTY, OR THE PREFERENCE SHARES PAYING AGENT
  BECOMES AWARE, THAT THE INVESTOR IS AN ERISA PLAN, THE INVESTOR WILL
  DISPOSE OF ALL OF ITS PREFERENCE SHARES IN A MANNER CONSISTENT WITH THE
  PROVISIONS SET FORTH IN THE PREFERENCE SHARE DOCUMENTS, AND (2) IF IT IS A
  BENEFIT PLAN INVESTOR OTHER THAN AN ERISA PLAN, ITS PURCHASE, HOLDING AND
  DISPOSITION OF THIS PREFERENCE SHARE WILL NOT CAUSE A NON-EXEMPT VIOLATION
  OF ANY U.S. FEDERAL, STATE OR LOCAL LAW OR ANY NON-U.S. LAW WHICH IS
  SUBSTANTIALLY SIMILAR TO SECTION 406 OF ERISA OR SECTION 4975 OF THE CODE AS
  A RESULT OF THE TRANSACTIONS CONTEMPLATED HEREIN AND (3) IT WILL NOT SELL

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  OR OTHERWISE TRANSFER ANY SUCH PREFERENCE SHARE OR INTEREST THEREIN TO
  ANY PERSON WHO IS UNABLE TO SATISFY THE SAME FOREGOING REPRESENTATIONS
  AND WARRANTIES.

        THE FAILURE TO PROVIDE THE ISSUER AND ANY PAYING AGENT, WHENEVER
  REQUESTED BY THE ISSUER OR THE PORTFOLIO MANAGER ON BEHALF OF THE ISSUER,
  WITH THE APPLICABLE U.S. FEDERAL INCOME TAX CERTIFICATIONS (GENERALLY, AN
  INTERNAL REVENUE SERVICE FORM W-9 (OR APPLICABLE SUCCESSOR FORM) IN THE
  CASE OF A PERSON THAT IS A "UNITED STATES PERSON" WITHIN THE MEANING OF
  SECTION 7701(A)(30) OF THE CODE OR AN APPROPRIATE INTERNAL REVENUE SERVICE
  FORM W-8 (OR APPLICABLE SUCCESSOR FORM) IN THE CASE OF A PERSON THAT IS NOT
  A "UNITED STATES PERSON" WITHIN THE MEANING OF SECTION 7701(A)(30) OF THE
  CODE) SHALL RESULT IN THE IMPOSITION OF U.S. FEDERAL BACK-UP WITHHOLDING
  FROM PAYMENTS TO THE HOLDER IN RESPECT OF THE PREFERENCE SHARES
  REPRESENTED HEREBY.

        Each Regulation S Global Preference Share will bear the additional legend set forth below.

        UNLESS THIS PREFERENCE SHARE IS PRESENTED BY AN AUTHORIZED
  REPRESENTATIVE OF THE DEPOSITORY TRUST COMPANY ("DTC") TO THE SHARE
  REGISTRAR FOR REGISTRATION OF TRANSFER OR PAYMENT, AND ANY CERTIFICATE
  ISSUED IS REGISTERED IN THE NAME OF CEDE & CO. OR IN SUCH OTHER NAME AS IS
  REQUESTED BY AN AUTHORIZED REPRESENTATIVE OF DTC (AND ANY PAYMENT MADE
  TO CEDE & CO. OR TO SUCH OTHER ENTITY AS IS REQUESTED BY AN AUTHORIZED
  REPRESENTATIVE OF DTC), ANY TRANSFER, PLEDGE OR OTHER USE HEREOF FOR VALUE
  OR OTHERWISE BY OR TO ANY PERSON IS WRONGFUL INASMUCH AS THE REGISTERED
  OWNER HEREOF, CEDE & CO., HAS AN INTEREST HEREIN.

                (7)       The purchaser will provide notice to each Person to whom it proposes to transfer
        any interest in the Preference Shares of the transfer restrictions and representations set forth in the
        Preference Share Documents, including the exhibits referenced in the Preference Share
        Documents.

                  (8)     The purchaser understands that the Preference Share Documents permit the
        Issuer to compel any holder of the Preference Shares who is a U.S. Person and who is determined
        not to have been both (x) either a Qualified Institutional Buyer or Accredited Investor and (y)
        either (i) a Qualified Purchaser, (ii) a Knowledgeable Employee or (iii) an entity owned
        exclusively by Qualified Purchasers and/or Knowledgeable Employees, at the time of acquisition
        of the Preference Shares to sell such Preference Shares, or to sell such Preference Shares on
        behalf of such purchaser, to a person that is both (x) either a Qualified Institutional Buyer or
        Accredited Investor and (y) either (i) a Qualified Purchaser, (ii) a Knowledgeable Employee or
        (iii) an entity owned exclusively by Qualified Purchasers and/or Knowledgeable Employees, in a
        transaction exempt from the registration requirements under the Securities Act or to a person that
        is a non-U.S. Person in an Offshore Transaction meeting the requirements of Regulation S.

                 (9)     The purchaser acknowledges that no action was taken or is being contemplated
        by the Issuer that would permit a public offering of the Preference Shares or possession or
        distribution of the offering circular with respect thereto or any amendment thereof or supplement
        thereto or any other offering material relating to the Preference Shares in any jurisdiction (other
        than Ireland) where, or in any circumstances in which, action for those purposes is required.
        Nothing contained in the offering circular relating to the Preference Shares shall constitute an
        offer to sell or a solicitation of an offer to purchase any Preference Shares in any jurisdiction
        where it is unlawful to do so absent the taking of such action or the availability of an exemption
        therefrom.

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                (10)    The purchaser understands that in the case of any supplemental indenture to the
        Indenture that requires consent of one or more Holders of the Preference Shares, the Indenture
        permits the Amendment Buy-Out Purchaser to purchase the beneficial interest in the Preference
        Shares from any Non-Consenting Holder thereof at the applicable Amendment Buy-Out Purchase
        Price; and such Non-Consenting Holder will be required to sell its beneficial interest in this
        Preference Share to the Amendment Buy-Out Purchaser at such price.

                 (11)    The purchaser understands that the Scheduled Redemption Date of the Preference
        Shares is subject to multiple extensions of four years each without consent of any Holders of
        Securities at the option of the Issuer, if directed by the Portfolio Manager, upon satisfaction of
        certain conditions.

                 (12)    The purchaser understands that in the case of any vote to remove the Portfolio
        Manager, the Management Agreement permits the Portfolio Manager to purchase the beneficial
        interest in the Preference Shares from any Holder of Preference Shares that voted to remove the
        Portfolio Manger at the applicable Buy-Out Amount; and such Holder of Preference Shares will
        be required to sell its beneficial interest in this Preference Share to the Portfolio Manager at such
        price.

                (13)    The purchaser will not, at any time, offer to buy or offer to sell the Preference
        Shares by any form of general solicitation or advertising, including, but not limited to, any
        advertisement, article, notice or other communication published in any newspaper, magazine or
        similar medium or broadcast over television or radio or seminar or meeting whose attendees have
        been invited by general solicitations or advertising.

                (14)     The purchaser agrees to treat the Preference Shares as equity of the Issuer for
        U.S. federal, state and local income tax purposes, if applicable.

                 (15)    On each day the purchaser holds the Preference Shares or any beneficial interest
        therein, (i) the purchaser, and any account on behalf of which the purchaser is purchasing the
        Preference Shares, is not and will not be an ERISA Plan, and if, after its initial acquisition of a
        Preference Shares, the purchaser determines, it is determined by another person, or the Preference
        Shares Paying Agent becomes aware that it or any such account is an ERISA Plan, such
        purchaser will dispose of its interest in the Preference Shares in a manner consistent with the
        requirements of the Preference Share Documents and (ii) if the purchaser is a Benefit Plan
        Investor that is not an ERISA Plan, the purchaser's purchase, holding and disposition of a
        Preference Share or any beneficial interest therein will not result in a non-exempt violation of any
        U.S. federal, state, local or non-U.S. law which is substantially similar to Section 406 of ERISA
        or Section 4975 of the Code. The purchaser understands and agrees that any purported transfer of
        Preference Shares to a purchaser that does not comply with the requirements of clause (i) of this
        paragraph (15) shall not be recognized or effective and such purported purchaser or transferee
        shall acquire no rights thereby and that the Preference Share Documents permit the Issuer to
        require any purchaser of the Preference Shares or any beneficial interest therein who has made, or
        is deemed to have made, such ERISA-related representation that is subsequently shown to be
        false or misleading to sell such interest to a person able to make such ERISA-related
        representation. The purchaser and any fiduciary causing the purchaser to purchase the Preference
        Shares agrees to indemnify and hold harmless the Issuer, the Portfolio Manager, the Preference
        Shares Paying Agent, the Initial Purchaser and the Trustee and their respective affiliates from any
        cost, damage, or loss incurred by them as a result of the purchaser being or being deemed to be an
        ERISA Plan.

                (16)    The purchaser acknowledges that the Issuer, the Portfolio Manager, the Initial
        Purchaser and others will rely upon the truth and accuracy of the foregoing acknowledgments,
        representations and agreements and agrees that if any of the acknowledgments, representations or

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          agreements deemed to have been made by it by its purchase of the Preference Shares are no
          longer accurate, it shall promptly notify the Issuer, the Portfolio Manager and the Initial
          Purchaser. If it is acquiring any Preference Shares as a fiduciary or agent for one or more
          institutional accounts, it represents that it has sole investment discretion with respect to each such
          account and it has full power to make the foregoing acknowledgments, representations and
          agreements on behalf of such account.

                  (17)     Each purchaser or subsequent transferee (other than a subsequent transferee of
          Regulation S Global Preference Shares) of Preference Shares will be required to provide to the
          Issuer and the Trustee written certification in a form acceptable to the Issuer and the Trustee as to
          whether it is an Affected Bank and each subsequent transferee of Regulation S Global Preference
          Shares will be deemed to represent to the Issuer and to the Trustee that it is not an Affected Bank.
          No transfer of any Preference Share to an Affected Bank will be effective, and the Trustee will
          not recognize any such transfer, unless such transfer is specifically authorized by the Issuer in
          writing; provided, however, that the Issuer shall authorize any such transfer if (x) such transfer
          would not cause more than 33 1/3% of the aggregate outstanding amount of the Preference Shares
          (including the Preference Share Components of the Class 1 Composite Securities) to be owned by
          Affected Banks or (y) the transferor is an Affected Bank previously approved by the Issuer.

                  (18)     To the extent required by the Issuer, as determined by the Issuer or the Portfolio
          Manager on behalf of the Issuer, the Issuer may, upon notice to the Preference Shares Paying
          Agent and the Share Registrar, impose additional transfer restrictions on the Preference Shares to
          comply with the Uniting and Strengthening America by Providing Appropriate Tools Required to
          Intercept and Obstruct Terrorism Act of 2001 (the U.S. Patriot Act) and other similar laws or
          regulations, including, without limitation, requiring each transferee of a Preference Share to make
          representations to the Issuer in connection with such compliance.

                  (19)     The purchaser agrees to not cause the filing of a petition in bankruptcy or
          winding up against the Issuer before one year and one day have elapsed since the payment in full
          of the Notes or, if longer, the applicable preference period in effect.

                  (20)    The purchaser is not a member of the public in the Cayman Islands.

                               LISTING AND GENERAL INFORMATION
          1.     The Issuer and the Co-Issuer accept responsibility for the information contained in this
  document. To the best knowledge and belief of the Issuer and the Co-Issuer, the information contained in
  this document is in accordance with the facts and does not omit anything likely to affect the import of
  such information.

           2.       Application will be made to list the Securities (other than the Preference Shares) on the
  Irish Stock Exchange. However, there can be no assurance that any admission will be granted or
  maintained. In connection with the listing of the Securities (other than the Preference Shares) on the Irish
  Stock Exchange, the listing particulars will be filed with the Registrar of Companies of Ireland, pursuant
  to Regulation 13 of the European Community (Stock Exchange) regulations, 1984 of Ireland. Prior to the
  listing, a legal notice relating to the issue of the Notes and the Composite Securities and copies of the
  Issuer Charter and the Certificate of Incorporation and By-laws of the Co-Issuer will be deposited with JP
  Morgan Bank (Ireland) PLC and at the principal office of the Issuer, where copies thereof may be
  obtained, free of charge, upon request.

           3.     As long as any of the Notes or the Composite Securities are Outstanding and listed on the
  Irish Stock Exchange, copies of the Issuer Charter and the Certificate of Incorporation and By-laws of the
  Co-Issuer, the Administration Agreement, the Resolutions, the resolutions of the Board of Directors of the
  Co-Issuer authorizing the issuance of the Notes, the Indenture, the Management Agreement, the Collateral


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  Administration Agreement, the Preference Shares Paying Agency Agreement, the Insurance Documents,
  any Hedge Agreement and the Monthly Report will be available for inspection at the offices of the Irish
  Paying and Listing Agent in the City of Dublin, where copies thereof may be obtained upon request.

           4.      For fourteen days following the date of listing of the Notes and the Composite Securities
  on the Irish Stock Exchange, copies of the Issuer Charter and the Certificate of Incorporation and By-laws
  of the Co-Issuer, the Administration Agreement, the Resolutions, the resolutions of the Board of Directors
  of the Co-Issuer authorizing the issuance of the Notes, the Indenture, the Insurance Documents, the
  Management Agreement, the Collateral Administration Agreement, the Preference Shares Paying Agency
  Agreement and any Hedge Agreement will be available for inspection at the principal office of the Issuer
  and copies thereof may be obtained upon request.

           5.     Copies of the Issuer Charter and the Certificate of Incorporation and By-laws of the Co-
  Issuer, the Administration Agreement, the Resolutions, the resolutions of the Board of Directors of the
  Co-Issuer authorizing the issuance of the Notes, the Indenture, the Insurance Documents, the
  Management Agreement, the Collateral Administration Agreement, the Preference Shares Paying Agency
  Agreement, any Hedge Agreement and the Monthly Report prepared by the Portfolio Manager on behalf
  of the Issuer containing information relating to the Collateral will be available for inspection so long as
  any of the Securities are Outstanding in the City of Houston, Texas at the office of the Trustee.

          6.      Each of the Co-Issuers represents that as of the date of this Offering Circular, there has
  been no material adverse change in its financial position since its date of incorporation. Since their date
  of incorporation, neither the Issuer nor the Co-Issuer has commenced operations, other than the Issuer
  purchasing certain Collateral Obligations and selling participation interests therein pursuant the
  Warehousing Agreement preparatory to the offering of the Securities, and no annual reports or accounts
  have been prepared as of the date of this Offering Circular.

           7.      The Co-Issuers are not involved in any litigation or arbitration proceedings relating to
  claims on amounts that are material in the context of the issue of the Notes, as applicable, nor, so far
  either of the Co-Issuers are aware, is any such litigation or arbitration involving it pending or threatened.

          8.       The Insurer is not involved in any litigation or arbitration proceeding (including any such
  proceedings which are pending or threatened of which the Insurer is aware) which may have or have had
  within the last twelve (12) months a significant effect on the Insurer's financial position.

          9.       The issuance of the Securities was authorized and approved by the Board of Directors of
  the Issuer by the Resolutions. The issuance of the Notes was authorized and approved by the Board of
  Directors of the Co-Issuer by resolutions passed on or before the Closing Date.

          10.      Since the date of their incorporation, no financial statements of the Co-Issuers have been
  prepared. The Issuer is not required by Cayman Islands law to publish financial statements, and does not
  intend to publish any financial statements. The Issuer is required to provide written confirmation to the
  Trustee, on an annual basis, that no Event of Default or other matter that is required to be brought to the
  Trustee's attention has occurred.
          11.      Other than the Securities, as of the Closing Date, the Issuer and the Co-Issuer will not
  have any loan capital (including term loans) outstanding or created but unissued, or any outstanding
  mortgages, charges or other borrowings or indebtedness in the nature of borrowing, including bank
  overdrafts and liabilities under acceptance credits, hire purchase agreement, guarantees or other
  contingent liabilities.




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                                           IDENTIFYING NUMBERS
          The Notes sold in offshore transactions in reliance on Regulation S and represented by
  Regulation S Global Notes have been accepted for clearance under the Common Codes in the table
  below. The table also lists the CUSIP (CINS) Numbers, the International Securities Identification
  Numbers (ISIN) and the WKN numbers for each Class of Securities.

                                                           Common
                   Security                      CUSIP      Code           ISIN          WKN

  Class A-1a Notes
  Rule 144A Global Notes                      844272AA2   021282227   US844272AA26      A0DYUB
  Regulation S Global Notes                   G82911AA9   021282120   USG82911AA97      A0DYUA

  Class A-1b Notes
  Rule 144A Global Notes                      844272AS3   021282405   US844272AS34      A0DYUE
  Regulation S Global Notes                   G82911AJ0   021282260   USG82911AJ07      A0DYUD

  Class A-1g Notes
  Rule 144A Global Notes                      844272AL8   021282529   US844272AL80      A0DYUH
  Regulation S Global Notes                   G82911AF8   021282464   USG82911AF84      A0DYUG

  Class A-2 Notes
  Rule 144A Global Notes                      844272AB0   021282634   US844272AB09      A0DYUL
  Regulation S Global Notes                   G82911AB7   021282588   USG82911AB70      A0DYUK

  Class A-3a Notes
  Rule 144A Global Notes                      844272AM6   021282812   US844272AM63      A0DYUP
  Regulation S Global Notes                   G82911AG6   021282766   USG82911AG67      A0DYUN

  Class A-3b Notes
  Rule 144A Global Notes                      844272AN4   021282880   US844272AN47      A0DYUS
  Regulation S Global Notes                   G82911AH4   021282839   USG82911AH41      A0DYUR

  Class B Notes
  Rule 144A Global Notes                      844272AC8   021283002   US844272AC81      A0DYUV
  Regulation S Global Notes                   G82911AC5   021282952   USG82911AC53      A0DYUU

  Class C Notes
  Rule 144A Global Notes                      844272AD6   021261220   US844272AD64      A0DYUY
  Regulation S Global Notes                   G82911AD3   021283045   USG82911AD37      A0DYUX

  Class 1 Composite Securities
  Certificated Composite Security
  (Rule 144A)                                 844272AJ3   021445860   US844272AJ35      A0DYU1
  Certificated Composite Security
  (Regulation D)                              844272AK0      N/A      US844272AK08      A0DYU2
  Regulation S Global Composite Security      G82911AE1   021445932   USG82911AE10      A0DYU0

  Preference Shares
  Certificated Preference Shares
  (Rule 144A)                                 84427P202   021449318   KY84427P2029        N/A
  Certificated Preference Shares
  (Regulation D)                              84427P301      N/A      KY84427P3019        N/A
  Regulation S Global Preference Shares       G82910103   021287644   KYG829101032        N/A




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                                           LEGAL MATTERS
           Certain legal matters will be passed upon for the Co-Issuers and the Initial Purchaser by McKee
  Nelson LLP, New York, New York. Certain matters with respect to Cayman Islands corporate law and
  tax law will be passed upon for the Issuer by Maples and Calder, George Town, Grand Cayman, Cayman
  Islands. Certain legal matters will be passed upon for the Portfolio Manager by Orrick, Herrington &
  Sutcliffe LLP, Los Angeles, California.




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                                    GLOSSARY OF DEFINED TERMS
           "Accrued Insurance Liabilities Interest Rate" means, as of any date of calculation, LIBOR (as
  in effect with respect to the Notes on such date of calculation) plus 0.75%. The Accrued Insurance
  Liabilities Interest Rate shall be computed on the basis of a 360-day year and the actual number of days
  elapsed. In no event shall the Accrued Insurance Liabilities Interest Rate exceed the maximum rate
  permissible under any applicable law limiting interest rates.

          "Accrued Interest On Sale" means interest accrued on a Collateral Obligation at the time of sale
  or other disposition to the extent paid to the Issuer as part of the sale or other disposition price of the
  Collateral Obligation after deduction of any amount representing Accrued Interest Purchased With
  Principal of the Collateral Obligation.

           "Accrued Interest Purchased With Principal" means (i) interest accrued on or purchased with
  a Collateral Obligation as part of the price paid by the Issuer to acquire the Collateral Obligation less any
  amount of Interest Proceeds (applied as Interest Proceeds) applied by the Issuer to acquire the accrued
  interest at the time of purchase and (ii) interest accrued on a Warehoused Loan as part of the price paid by
  the Issuer to repurchase and terminate the related participation under the Warehouse Agreement.

           "Act" means any request, demand, authorization, direction, notice, consent, waiver or other action
  to be given or taken by Noteholders or Holders of Preference Shares under the Indenture embodied in and
  evidenced by one or more instruments of substantially similar tenor signed by Noteholders or Holders of
  Preference Shares in person or by agents duly appointed in writing. The instruments (and the action
  embodied in them) are referred to as the "Act" of the Noteholders or Holders of Preference Shares signing
  the instruments.

          "Administrative Expense Cap" means, an amount on any Payment Date equal to the excess of:

                 (i)     the sum of 0.05% of the Maximum Investment Amount on the related
          Determination Date plus $150,000; over

                  (ii)    the sum of the amounts paid for Administrative Expenses in the twelve months
          preceding the current Payment Date.

          "Administrative Expenses" means amounts due or accrued representing:

                   (i)     tax preparation, filing, and registration fees or expenses and any other filing and
          registration fees owed by the Co-Issuers (including all filing, registration, and annual return fees
          payable to the Cayman Islands government and registered office fees);

                  (ii)    fees, indemnities and expenses of the Trustee (including all amounts under
          Section 6.7 of the Indenture), the Administrator, the Preference Shares Paying Agent and the
          Collateral Administrator;

                  (iii)    fees, indemnities and expenses of the Co-Issuers and of accountants, agents and
          counsel for either of the Co-Issuers;

                  (iv)    fees and expenses of the Rating Agencies in connection with any rating of the
          Notes owed by either Co-Issuer (including fees and expenses for surveillance, credit estimates
          and other fees owing to the Rating Agencies);

                  (v)     expenses and indemnities (but not Management Fees) of the Portfolio Manager if
          payable under the Management Agreement;



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                  (vi)     expenses and indemnities of the Insurer if payable under Section 4.2(a)(ii) and
          Section 4.3 of the Insurance Agreement;

                  (vii)    fees and expenses for third-party loan pricing services and accountants; and

                  (viii) amounts due (other than indemnities) to any other person (except the Portfolio
          Manager) if specifically provided for in the Indenture, including fees or expenses in connection
          with any Securities Lending Agreement.

          "Affected Bank" means a "bank" for purposes of Section 881 of the Code or an entity affiliated
  with such a bank that is neither (x) a "United States person" within the meaning of Section 7701(a)(30) of
  the Code (generally an entity created or organized in or under the laws of the United States or any state
  thereof or the District of Columbia) nor (y) entitled to the benefits of an income tax treaty with the United
  States under which withholding taxes on interest payments made by obligors resident in the United States
  to such bank are reduced to 0%.

          "Affiliate" or "Affiliated" means with respect to a Person,

                  (i)   any other Person who, directly or indirectly, is in control of, or controlled by, or
          is under common control with, the Person; or

                 (ii)    any other Person who is a director, officer or employee (A) of the Person, (B) of
          any subsidiary or parent company of the Person or (C) of any Person described in clause (i)
          above.

  For the purposes of this definition, control of a Person shall mean the power, direct or indirect:

                  (A)      to vote more than 50% of the securities having ordinary voting power for the
          election of directors of the Person; or

                  (B)     to direct the corporate management and corporate policies of the Person whether
          by contract or otherwise (this does not include the Management Agreement unless it is amended
          expressly to provide those services).

  For the purpose of this definition, the Administrator and its Affiliates are neither Affiliates of nor
  Affiliated with the Co-Issuers and the Co-Issuers are neither Affiliates of nor Affiliated with the
  Administrator, or any of their Affiliates.

           "Aggregate Outstanding Amount" means, when used with respect to any of the Notes as of any
  date, the aggregate principal amount of the Notes on that date. When used with respect to the Preference
  Shares or the Preference Share Components as of any date, the number of such Preference Shares
  Outstanding on such date in respect of such Preference Shares or Preference Share Components. When
  used with respect to any of the Class 1 Composite Securities, as of any date, the aggregate face amount of
  the Class 1 Composite Securities.

          Except as otherwise provided herein:

                  (i)    the Aggregate Outstanding Amount of the Class A-1a Notes at any time shall
          include any Defaulted Interest in respect thereof and accrued interest on such Defaulted Interest;

                  (ii)    the Aggregate Outstanding Amount of the Class A-1b Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;



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                  (iii)   the Aggregate Outstanding Amount of the Class A-1g Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;

                  (iv)    the Aggregate Outstanding Amount of the Class A-2 Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;

                  (v)     the Aggregate Outstanding Amount of the Class A-3a Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;

                  (vi)    the Aggregate Outstanding Amount of the Class A-3b Notes at any time shall
          include any Defaulted Interest in respect thereof and (to the extent not included in any such
          Defaulted Interest) accrued interest on such Defaulted Interest;

                  (iii)    the Aggregate Outstanding Amount of the Class B Notes at any time shall
          include all Class B Deferred Interest attributed thereto; and

                  (iv)     the Aggregate Outstanding Amount of the Class C Notes at any time shall
          include all Class C Deferred Interest attributed thereto.

           "Aggregate Principal Balance" means, when used with respect to the Pledged Obligations, the
  sum of the Principal Balances of all the Pledged Obligations. When used with respect to a portion of the
  Pledged Obligations, the term Aggregate Principal Balance means the sum of the Principal Balances of
  that portion of the Pledged Obligations.

          "Aggregate Purchase Price Amount" means, when used with respect to the Pledged
  Obligations, the sum of the Purchase Price Amounts of all the Pledged Obligations. When used with
  respect to a portion of the Pledged Obligations, the term Aggregate Purchase Price Amount means the
  sum of the Purchase Price Amounts of that portion of the Pledged Obligations.

           "Allocable Principal Balance" means, with respect to a Synthetic Security based upon or
  relating to a senior secured index investment providing non-leveraged credit exposure to a basket of credit
  default swaps referencing a diversified group of Reference Obligations, with respect to which the
  principal or notional amount of the credit exposure to any single Reference Obligation does not increase
  over time, the portion of the aggregate Principal Balance of such Synthetic Security that is allocable to
  each Reference Obligation comprising such index or indices based upon allocating the Principal Balance
  of such Synthetic Security among such Reference Obligations in the same proportion as each Reference
  Obligation bears to the aggregate Principal Balance of such Synthetic Security.

           "Amendment Buy-Out Purchase Price" means the purchase price payable by the Amendment
  Buy-Out Purchaser for Securities purchased in an Amendment Buy-Out, if any, in an amount equal to (i)
  in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid interest
  (including Deferred Interest, if any) to the date of purchase payable to the Non-Consenting Holder (giving
  effect to any amounts paid to the Holder on such date), plus any unpaid Extension Bonus Payment plus,
  in the case of the Fixed Rate Notes, the applicable Make-Whole Premium, (ii) in the case of the
  Preference Shares, an amount that, when taken together with all payments and distributions made in
  respect of such Preference Shares since the Closing Date (and any amounts payable, if any, to the Non-
  Consenting Holder on the next succeeding Payment Date) would cause such Preference Shares to have
  received (as of the date of purchase thereof) a Preference Share Internal Rate of Return of 12.0%
  (assuming such purchase date was a "Payment Date" under the Indenture); provided, however, that in any
  Amendment Buy-Out from and after the date on which the Non-Consenting Holders of Preference Shares
  have received a Preference Share Internal Rate of Return equal to or in excess of 12.0%, the Amendment


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  Buy-Out Purchase Price for such Preference Shares shall be zero and (iii) in the case of the Class 1
  Composite Securities, the sum of (x) the amount that would be payable pursuant to the preceding clause
  (ii) in respect of the Preference Shares underlying the Class 1 Composite Security Preference Share
  Component, (y) the Treasury Strip Market Value and (z) the Composite Security Make-Up Amount.

          "Amendment Buy-Out Purchaser" means the Portfolio Manager (or any of its Affiliates acting
  as principal or agent); provided that in the event that the Portfolio Manager elects not to purchase
  Securities or Preference Shares from Holders pursuant to "Description of the Securities—Amendment
  Buy-Out", "Amendment Buy-Out Purchaser" shall mean one or more qualifying purchasers (which may
  include the Initial Purchaser) or any of its Affiliates acting as principal or agent) designated by the
  Portfolio Manager; provided, however, none of the Portfolio Manager, the Initial Purchaser or any of their
  respective Affiliates shall have any duty to act as an Amendment Buy-Out Purchaser.

          "Applicable Note Interest Rate" means, with respect to the Notes of any Class, the Note Interest
  Rate with respect to such Class.

         "Applicable Percentage" means the lesser of the Moody's Priority Category Recovery Rate and
  the S&P Priority Category Recovery Rate applicable to the Collateral Obligation as specified in the tables
  below. High-Yield Bonds do not include Structured Finance Obligations for this purpose.

  Moody's Priority                                           Moody's Priority Category
  Category                                                       Recovery Rate
  Synthetic Securities............... In the case of:
                                      (i)     a Form-Approved Synthetic Security, the "Moody's Priority
                                      Category Recovery Rate" given by Moody's to the Form-Approved
                                      Synthetic Security at the time of approval of the Form-Approved Synthetic
                                      Security by Moody's; and
                                      (ii)    any other Synthetic Security, the "Moody's Priority Category
                                      Recovery Rate" given by Moody's to the Synthetic Security at the time of
                                      acquisition of the Synthetic Security.
  Structured Finance
  Obligations............................ The Moody's Priority Category Recovery Rate determined in accordance
                                          with the Moody's Structured Finance Obligation Recovery Rates set forth
                                          in Schedule 5 to the Indenture by reference to the type of asset and its then
                                          Moody's Rating (or, with respect to assets to which that schedule does not
                                          apply, on a case-by-case basis in connection with the grant of the relevant
                                          Collateral Obligation).


  unsecured DIP Loans and
  any Collateral Obligations
  not covered above or below .. As determined by Moody's on a case-by-case basis.


  For High-Yield Bonds, Moody's Senior Secured Loans and Moody's Non Senior Secured Loans, the
  relevant Moody's Priority Category Recovery Rate is the rate determined pursuant to the table below
  based on the number of rating subcategories difference between the High-Yield Bond's or Loan's Moody's
  Obligation Rating and its Moody's Default Probability Rating (for purposes of clarification, if the
  Moody's Obligation Rating is higher than the Moody's Default Probability Rating, the rating
  subcategories difference will be positive and if it is lower, negative):




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  Number of Moody's Rating Subcategories                                               Moody's
     Difference Between the Moody's                                   Moody's         Non Senior
    Obligation Rating and the Moody's                                  Senior          Secured        High-Yield
        Default Probability Rating                                 Secured Loans        Loans           Bonds
                +2 or more                                              60.0%           45.0%            40.0%
                    +1                                                  50.0%           42.5%            35.0%
                     0                                                  45.0%           40.0%            30.0%
                     -1                                                 40.0%           30.0%            15.0%
                     -2                                                 30.0%           15.0%            10.0%
                 -3 or less                                             20.0%           10.0%             2.0%

  If no Moody's Priority Category Recovery Rate has been specifically assigned with respect to a Loan
  pursuant to the above table, and the Loan is a secured DIP Loan, the relevant Moody's Priority Category
  Recovery Rate is 50.0%.

                                                                                S&P Priority Category
            S&P Priority Category                                                  Recovery Rate
  Secured Loans other than
  Subordinated Lien Loans or DIP                                                         52.0%
  Loans.............................................
  Senior Unsecured Loans                                                                 31.0%
  Subordinated Lien Loans other than a
                                                                                         18.0%
  DIP Loan.......................................
  senior secured High-Yield Bonds
  (other than Structured Finance                                                         44.0%
  Obligations) ..................................
  senior unsecured High-Yield Bonds
  (other than Structured Finance                                                         30.0%
  Obligations) ..................................
  subordinated High-Yield Bonds (other
  than Structured Finance Obligations)                                                   18.0%
   ......................................................
  Structured Finance Obligations.....                       The S&P Priority Category Recovery Rate determined in
                                                            accordance with the S&P Structured Finance Obligation
                                                            Recovery Rates set forth in Schedule 6 by reference to the type
                                                            of asset and its then S&P Rating (or, with respect to assets to
                                                            which that table does not apply, on a case by case basis in
                                                            connection with the grant of the relevant Collateral Obligation).
  Synthetic Securities.......................               As assigned by S&P on a case-by-case basis in connection with
                                                            the grant of the relevant Collateral Obligation.
  DIP Loans and any Collateral
  Obligation not covered above .......                      As assigned by S&P on a case-by-case basis.


          "Approved Pricing Service" means Loan Pricing Corporation, Mark-It-Partners, Inc. or any
  other nationally recognized loan pricing service approved in writing by S&P.

          "Ask-Side Market Value" means, as of any Measurement Date, the market value determined by
  the Portfolio Manager and reported to the Trustee as an amount rather than as a percentage or fraction of
  par (expressed in Dollars) of any lent Collateral Obligation based upon the Portfolio Manager's
  commercially reasonable judgment and based upon the following order of priority: (i) the average of the
  ask-side market prices obtained by the Portfolio Manager from three Independent broker-dealers active in
  the trading of such obligations which are also Independent from the Portfolio Manager or (ii) if the


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  foregoing set of prices could not be obtained, the higher of the ask-side market prices obtained by the
  Portfolio Manager from two Independent broker-dealers active in the trading of such obligations which
  are also Independent from the Portfolio Manager or (iii) if the foregoing sets of prices could not be
  obtained, the average of the ask-side prices for the purchase of such Collateral Obligation determined by
  an Approved Pricing Service (Independent from the Portfolio Manager) that derives valuations by polling
  broker-dealers (Independent from the Portfolio Manager); provided that if the Ask-Side Market Value of
  any lent Collateral Obligation cannot be so determined then such Collateral Obligation shall be deemed to
  have a Market Value equal to the outstanding principal balance thereof.

          "Assigned Moody's Rating" means the monitored publicly available rating or the monitored
  estimated rating expressly assigned to a debt obligation (or facility) by Moody's that addresses the full
  amount of the principal and interest promised.

           "Authorized Officer" means, with respect to the Issuer or the Co-Issuer, any Officer or agent
  who is authorized to act for the Issuer or the Co-Issuer, as applicable, in matters relating to, and binding
  on, the Issuer or the Co-Issuer. With respect to the Portfolio Manager, any managing member, Officer,
  manager, employee, partner or agent of the Portfolio Manager who is authorized to act for the Portfolio
  Manager in matters relating to, and binding on, the Portfolio Manager with respect to the subject matter of
  the request, certificate or order in question. With respect to the Trustee or any other bank or trust
  company acting as trustee of an express trust or as custodian, a Trust Officer. Each party may receive and
  accept a certification of the authority of any other party as conclusive evidence of the authority of any
  Person to act, and the certification may be considered as in full force and effect until receipt by the other
  party of written notice to the contrary.

           "Average Life" means, as of any Measurement Date with respect to any Collateral Obligation
  (other than any Defaulted Collateral Obligation), the quotient obtained by dividing:

                     (i)     the sum of the products of:

                             (A)      the number of years (rounded to the nearest hundredth) from the
                     Measurement Date to the respective dates of each successive scheduled payment of
                     principal of the Collateral Obligation; and

                             (B)      the respective amounts of the successive scheduled payments of principal
                     of the Collateral Obligation; by

                     (ii)    the sum of all successive scheduled payments of principal of the Collateral
             Obligation.

             "Bank" means JPMorgan Chase Bank, National Association, in its individual capacity and not as
  Trustee.

             "Bankruptcy Code" means the U.S. Bankruptcy Code, Title 11 of the United States Code.

          "Bankruptcy Law" means the Bankruptcy Code, Part V of the Companies Law (2004 Revision)
  of the Cayman Islands and the Bankruptcy Law (1997 Revision) of the Cayman Islands.

          "Board of Directors" means with respect to the Issuer, the directors of the Issuer duly appointed
  by a resolution of the holders of the Issuer Ordinary Shares or by resolution of the Board of Directors and,
  with respect to the Co-Issuer, the directors of the Co-Issuer duly appointed by the stockholders of the Co-
  Issuer.

        "Business Day" means a day on which commercial banks and foreign exchange markets settle
  payments in New York City, and any other city in which the Corporate Trust Office of the Trustee is


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  located and, in the case of the final payment of principal of any Note or the final payment in respect of
  any Composite Security, the place of presentation of the Note or Composite Security designated by the
  Trustee. To the extent action is required of the Irish Listing and Paying Agent, Dublin, Ireland shall be
  considered in determining "Business Day" for purposes of determining when action by the Irish Listing
  and Paying Agent is required.

          "Buy-out Amount" means, with respect to (i) the Directing Preference Shares, an amount, when
  taken together with all payments and distributions made in respect of such Directing Preference Shares
  since the Closing Date, would cause the Directing Preference Shares to have received (as of the date of
  the Portfolio Manager's purchase thereof) a Preference Share Internal Rate of Return of 12.0% (assuming
  such purchase date was a "Payment Date" under the Indenture) and (ii) the Class 1 Composite Securities,
  the sum of (x) the amount that would be payable pursuant to the preceding clause (i) in respect of the
  Preference Shares underlying the Class 1 Composite Security Preference Share Component, (y) the
  Treasury Strip Market Value and (z) the Composite Security Make-Up Amount.

          "Cash" means such coin or currency of the United States of America as at the time shall be legal
  tender for payment of all public and private debts.

          "CCC/Caa Collateral Obligations" means the Collateral Obligations (excluding any Defaulted
  Collateral Obligations) that on the relevant date have (i) a Moody's Rating below "B3" and/or (ii) an S&P
  Rating below "B-".

           "Class" means with all of the Notes and Composite Securities having the same priority and the
  same Stated Maturity and all of the Preference Shares. Unless otherwise expressly provided for herein:
  (i) the Class A-1a Notes, the Class A-1b Notes and the Class A-1g Notes shall be considered as being of
  the same Class and (ii) each of the Senior Class A Notes, the Class A-2 Notes and the A-3 Notes shall be
  separate Classes.

          "Class 1 Collateral Principal Balance" means the face value of the Treasury Strip at its maturity
  date.

           "Class 1 Composite Security Rated Balance" means with respect to the rating of the Class 1
  Composite Securities by Moody's, on the Closing Date $6,000,000 and on any date of determination
  thereafter, the initial Class 1 Composite Security Rated Balance minus the aggregate amount of all
  distributions paid to the Holders of the Class 1 Composite Securities in respect of its related Components
  on all prior Payment Dates pursuant to "Description of the Securities—Priority of Payments" and "—
  Class 1 Component Distributions."

          "Class A Coverage Tests" means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class A Notes.

          "Class B Coverage Tests" means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class B Notes.

          "Class B Deferred Interest" means Deferred Interest with respect to the Class B Notes.

          "Class C Coverage Tests" means the Overcollateralization Test and the Interest Coverage Test,
  each as applied with respect to the Class C Notes.

          "Class C Deferred Interest" means Deferred Interest with respect to the Class C Notes.

          "Class Scenario Loss Rate" means, with respect to any Class of Notes rated by S&P, an estimate
  of the cumulative default rate for the Current Portfolio or the Proposed Portfolio, as applicable, consistent



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  with S&P's rating of the Class of Notes on the Closing Date, determined by application of the S&P CDO
  Monitor.

          "Clearstream" means Clearstream Banking, société anonyme, a corporation organized under the
  laws of the Duchy of Luxembourg.

         "Collateral Administration Agreement" means the agreement dated as of the Closing Date
  among the Issuer, the Portfolio Manager and the Collateral Administrator, as modified, amended, and
  supplemented and in effect from time to time.

          "Collateral Administrator" means the Bank in its capacity as collateral administrator under the
  Collateral Administration Agreement.

          "Composite Securities" means the Class 1 Composite Securities.

          "Composite Securityholder" means a Holder of Class 1 Composite Securities.

           "Composite Security Make-Up Amount" means, in connection with determining the
  Amendment Buy-Out Purchase Price, the Extension Purchase Price or the Buy-Out Amount in respect of
  all or a portion of the Composite Securities, the greater of: (i) zero and (ii) the sum of (w) the initial
  principal amount of such Composite Securities as of the Closing Date minus (x) the aggregate of all
  payments and distributions made in respect of the Composite Securities since the Closing Date minus (y)
  any amount payable pursuant to clause (ii) of the definition of Amendment Buy-Out Purchase Price (for
  purposes of determining the Composite Security Make-Up Amount pursuant to clause (iii) of such
  definition), clause (ii) of the definition of Extension Purchase Price (for purposes of determining the
  Composite Security Make-Up Amount pursuant to clause (iii) of such definition) or clause (i) of the
  definition of Buy-Out Amount (for purposes of determining the Composite Security Make-Up Amount
  pursuant to clause (ii) of such definition) less (z) the Treasury Strip Market Value.

           "Composite Securities Payment Date" means, the second Business Day after each Payment
  Date or, if such Payment Date coincides with the Stated Maturity, the Composite Securities Payment Date
  shall be such Payment Date.

           "Controlling Class" means the Senior Class A Notes (voting together as a Class or group), so
  long as any Senior Class A Notes are Outstanding; then the Class A-2 Notes (voting together as a Class or
  group), so long as any Class A-2 Notes are Outstanding; then the Class A-3 Notes (voting together as a
  Class or group), so long as any Class A-3 Notes are Outstanding; then the Class B Notes (voting together
  as a Class or group), so long as any Class B Notes are Outstanding; and then the Class C Notes (voting
  together as a Class or group); provided, however, that notwithstanding the foregoing, so long as the Class
  A-1g Notes are Outstanding and the Policy has not been terminated in accordance with the terms of the
  Indenture or any Accrued Insurance Liabilities or Premium are due and owing to the Insurer, and no
  Insurer Default exists, then the "Controlling Class", the "Holders of not less than 25% of the Aggregate
  Outstanding Amount of the Controlling Class", the "Majority of the Controlling Class" or the "Super
  Majority of the Controlling Class" shall, for all purposes, be the Insurer, and the Insurer shall be entitled
  to exercise all of the rights of the Controlling Class, the Holders of not less than 25% of the Aggregate
  Outstanding Amount of the Controlling Class, the Majority of the Controlling Class or the Super Majority
  of the Controlling Class, as applicable, that are provided for herein. In addition to the foregoing, the
  Insurer's right to exercise all of the rights of the Controlling Class, the Holders of not less than 25% of the
  Aggregate Outstanding Amount of the Controlling Class, the Majority of the Controlling Class or the
  Super Majority of the Controlling Class, as applicable, shall be reinstated if a Preference Claim is made
  for as long as any such Preference Claim is pending during the applicable statutory preference period or,
  if the Insurer is required to pay the amount of any Avoided Payment, for so long as any Accrued
  Insurance Liabilities owing to the Insurer have not been paid in full.



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          "Corporate Trust Office" means the corporate trust office of the Trustee at which the Trustee
  performs its duties under the Indenture, currently having an address of 600 Travis Street, 50th Floor,
  Houston, Texas 77002, telecopy no. (713) 216-2101, Attention: Institutional Trust Services—Southfork
  CLO Ltd. or any other address the Trustee designates from time to time by notice to the Noteholders, the
  Portfolio Manager, the Preference Shares Paying Agent, the Insurer, the Issuer and each Rating Agency or
  the principal corporate trust office of any successor Trustee

           "Credit Improved Obligation" is any Collateral Obligation that in the commercially reasonable
  judgment of the Portfolio Manager, has improved in credit quality; provided, if a Credit Rating Event is in
  effect, such Collateral Obligation will be considered a Credit Improved Obligation only if:

                  (i)      the Collateral Obligation has been upgraded or has been put on credit watch list
          with the potential for developing positive credit implications by either of the Rating Agencies
          since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                  (ii)     such Collateral Obligation has experienced a reduction in credit spread of (A)
          0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation
          with a spread (prior to such decrease) less than or equal to 2.00%, (B) 0.375% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such decrease) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such decrease) greater than 4.00%, in each case compared to the credit spread at the time such
          Collateral Obligation was acquired by the Issuer, determined by reference to an applicable index
          selected by the Portfolio Manager (such index selection subject to satisfaction of the Rating
          Condition with respect to Moody's);

                   (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
          increased by at least 1.00% from the Market Value of such Collateral Obligation as of its date of
          acquisition, as determined by the Portfolio Manager (provided that this subclause (iii)(x) will be
          deemed satisfied if Market Value increases to 101%), or (y) in the case of a Bond, the Market
          Value of such Collateral Obligation has changed since its date of acquisition by a percentage
          more positive than the percentage change in the Merrill Lynch US High Yield Master II Index,
          Bloomberg ticker H0A0, plus 3.00%, over the same period; or

                  (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations
          on a Collateral Obligation being a Credit Improved Obligation, and for each subsequent
          downgrade by Moody's after a vote to suspend the limitations pursuant to this clause (iv) has
          occurred, a Super Majority of the Controlling Class must again vote to suspend the limitations on
          the Collateral Obligation being a Credit Improved Obligation for this clause (iv) to remain
          applicable.

          A Synthetic Security shall be considered a Credit Improved Obligation if:

                  (i)     the Synthetic Security itself is a Credit Improved Obligation; or

                  (ii)     the Reference Obligation of the Synthetic Security would, if it were a Collateral
          Obligation, be a Credit Improved Obligation.

          "Credit Rating Event" means an event that is in effect if the rating by Moody's:

                   (i)      of the Senior Class A Notes, the Class A-2 Notes or the Class A-3 Notes (without
          giving effect to the Policy) has been withdrawn or is one or more rating sub-categories below its
          Initial Rating; or



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                   (ii)   of the Class B Notes or the Class C Notes has been withdrawn or is two or more
          rating sub-categories below its respective Initial Rating.

           For the purposes of this definition, any withdrawal or reduction in rating shall not be effective if
  after the withdrawal or reduction Moody's has upgraded the reduced or withdrawn rating to at least the
  Initial Rating in the case of the Senior Class A Notes, the Class A-2 Notes and the Class A-3 Notes (or
  the Initial Shadow Rating in the Class of the Class A-1g Notes), or to only one subcategory below their
  Initial Rating in the case of the Class B Notes and the Class C Notes.

          "Credit Risk Obligation" means any Collateral Obligation (other than a Defaulted Collateral
  Obligation) that, in the commercially reasonable judgment of the Portfolio Manager, has a significant risk
  of declining in credit quality and, with a lapse of time, becoming a Defaulted Collateral Obligation.

          So long as a Credit Rating Event is in effect, no Collateral Obligation shall be eligible to be a
  Credit Risk Obligation unless, as of the date of determination:

                   (i)      the Collateral Obligation has been downgraded or has been put on credit watch
          list with the potential for developing negative credit implications by either of the Rating Agencies
          since the date the Issuer first acquired the Collateral Obligation under the Indenture;

                  (ii)     such Collateral Obligation has experienced an increase in credit spread of (A)
          0.25% or more (on an absolute rather than a relative basis) in the case of a Collateral Obligation
          with a spread (prior to such increase) less than or equal to 2.00%, (B) 0.375% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such increase) greater than 2.00% but less than or equal to 4.00% or (C) 0.50% or more (on an
          absolute rather than a relative basis) in the case of a Collateral Obligation with a spread (prior to
          such increase) greater than 4.00%, in each case compared to the credit spread at the time such
          Collateral Obligation was acquired by the Issuer, determined by reference to an applicable index
          selected by the Portfolio Manager (such index selection subject to satisfaction of the Rating
          Condition with respect to Moody's);

                   (iii)   (x) in the case of a Loan, the Market Value of such Collateral Obligation has
          decreased by at least 2.50% from the Market Value of such Collateral Obligation as of its date of
          acquisition, as determined by the Portfolio Manager, and (y) in the case of a Bond, the Market
          Value of such Collateral Obligation has changed since its date of acquisition by a percentage
          more negative, or less positive, as the case may be, than the percentage change in the Merrill
          Lynch US High Yield Master II Index, Bloomberg ticker H0A0, less 3.00%, over the same
          period; or

                  (iv)    a Super Majority of the Controlling Class have voted to suspend the limitations
          on a Collateral Obligation being a Credit Risk Obligation, and for each subsequent downgrade by
          Moody's after a vote to suspend the limitations pursuant to this clause (iv) has occurred, a Super
          Majority of the Controlling Class must again vote to suspend the limitations on the Collateral
          Obligation being a Credit Risk Obligation for this clause (iv) to remain applicable.

          A Synthetic Security shall be considered a Credit Risk Obligation if:

                  (a)      the Synthetic Security itself is a Credit Risk Obligation; or

                  (b)      the Reference Obligation of the Synthetic Security would, if it were a Collateral
          Obligation, be a Credit Risk Obligation.




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          "Current-Pay Obligation" means a Collateral Obligation as to which:

                   (i)     an insolvency event has occurred with respect to its obligor or as to which its
          obligor is rated "D" or "SD" by S&P or its obligor has previously been rated "CCC-" by S&P and
          the rating has been withdrawn;

                   (ii)     no default as to the payment of principal or interest with respect to the Collateral
          Obligation is then continuing and the Portfolio Manager has delivered to the Trustee an officer's
          certificate to the effect that the Portfolio Manager expects that the obligor will make payments on
          the Collateral Obligation as they become due;

                   (iii)   (A) if the rating by Moody's of the Collateral Obligation is at least "Caa1" (and
          not on credit watch with negative implications) the Market Value of the Collateral Obligation is
          at least equal to 80% of its Principal Balance or (B) if the rating by Moody's of the Collateral
          Obligation is less than "Caa1" or is "Caa1" and on credit watch with negative implications, the
          Market Value of the Collateral Obligation is at least equal to 85% of its Principal Balance;

                  (iv)    if an insolvency event has occurred with respect to the obligor of the Collateral
          Obligation, a bankruptcy court has authorized the payment of interest payable on the Collateral
          Obligation; and

                  (v)     the Portfolio Manager has designated in writing to the Trustee the Collateral
          Obligation as a Current-Pay Obligation.

          If the Aggregate Principal Balance of Collateral Obligations that would otherwise be Current-Pay
  Obligations exceeds 5% of the Maximum Investment Amount, all or a portion of one or more Collateral
  Obligations that would otherwise be Current-Pay Obligations with an Aggregate Principal Balance equal
  to the amount of the excess shall not be Current-Pay Obligations (and will therefore be Defaulted
  Collateral Obligations). The Portfolio Manager shall designate in writing to the Trustee the Collateral
  Obligations that shall not be Current-Pay Obligations pursuant to the preceding sentence as the Collateral
  Obligations (or portions thereof) that have the lowest Market Value on any applicable date of
  determination.

          The Portfolio Manager may, by notice to the Issuer, the Trustee and the Collateral Administrator,
  change the definition of "Current-Pay Obligation" or how Current-Pay Obligations are treated in the
  Indenture, subject to the satisfaction of the Rating Condition with respect to each Rating Agency.

           "Current Portfolio" means, at any time, the portfolio (measured by Aggregate Principal
  Balance) of Collateral Obligations, Principal Proceeds held as cash on deposit in the Collection Account,
  and other Eligible Investments purchased with Principal Proceeds on deposit in the Collection Account
  that exists before the sale, maturity, or other disposition of a Collateral Obligation or before the
  acquisition of a Collateral Obligation, as the case may be.

          "Deep Discount Obligation" means, until the average Market Value Percentage of the Collateral
  Obligation, as determined daily for any period of 30 consecutive days, equals or exceeds 90%, any
  Collateral Obligation acquired by the Issuer for a Purchase Price less than 85% of its Principal Balance.
  For such purpose, the Market Value Percentage of a Collateral Obligation on a day that is not a Business
  Day shall be deemed to be the Market Value Percentage of the Collateral Obligation on the immediately
  preceding Business Day.




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          "Defaulted Collateral Obligation" means any Collateral Obligation or other obligation included
  in the Collateral:

                  (i)      as to which a default in the payment of principal or interest is continuing beyond
         the lesser of three Business Days and any applicable grace or notice period, unless in the case of a
         failure of the obligor to make required interest payments, the obligor has resumed current Cash
         payments of interest previously scheduled and unpaid and has paid in full any accrued interest
         due and payable thereon, in which case the Collateral Obligation shall cease to be classified as a
         Defaulted Collateral Obligation;

                 (ii)     with respect to which there has been effected any distressed exchange or other
         debt restructuring where the obligor has offered the holders thereof a new security or instrument
         or package of securities or instruments that, in the commercially reasonable judgment of the
         Portfolio Manager, either (x) amounts to a diminished financial obligation or (y) has the sole
         purpose of enabling the obligor to avoid a default;

                  (iii)    (1) that is pari passu with or subordinated to other indebtedness for borrowed
         money owing by its obligor ("Other Indebtedness"), (2) the obligor has defaulted in the payment
         of principal or interest (without regard to any applicable grace or notice period and without regard
         to any waiver of the default) on the Other Indebtedness, unless, in the case of a failure of the
         obligor to make required interest payments, the obligor has resumed current Cash payments of
         interest previously scheduled and unpaid on the Other Indebtedness and has paid in full any
         accrued interest due and payable thereon, in which case the Collateral Obligation shall cease to be
         classified as a Defaulted Collateral Obligation and (3) the Portfolio Manager, provided that the
         related Collateral Obligation has not been downgraded after the default on such Other
         Indebtedness has occurred, determines (in its commercially reasonable judgment) that such Other
         Indebtedness is material;

                 (iv)    (other than a Current-Pay Obligation or a DIP Loan) as to which:

                         (A)      an insolvency event has occurred with respect to its obligor; or

                         (B)     the obligation is rated "D", "SD", "C" or "CC" by S&P or was so rated
                                 immediately prior to such rating being withdrawn, or has previously been
                                 rated "CCC-" or lower by S&P and the rating has been withdrawn;

                  (v)    if the Collateral Obligation is a Structured Finance Obligation, it is rated "CC" or
         below by S&P, or it was rated "C" or below by S&P but the rating has since been withdrawn, or it
         is rated "Ca" or below by Moody's, or it was rated "C" or below by Moody's but the rating has
         since been withdrawn;

                 (vi)    that is a Participation that would, if the underlying Loan were a Collateral
         Obligation, be a Defaulted Collateral Obligation under any of clauses (i) through (iv) above or
         with respect to which the Participating Institution has defaulted in the performance of any of its
         payment obligations under the Participation;

                 (vii)    that is a Synthetic Security referencing a Reference Obligation that would, if the
         Reference Obligation were a Collateral Obligation, be a Defaulted Collateral Obligation under
         any of clauses (i) through (v) above or with respect to which the Synthetic Security Counterparty
         has defaulted in the performance of any of its payment obligations under the Synthetic Security;
         provided, however, with respect to a Synthetic Security based upon or relating to a senior secured
         index investment providing non-leveraged credit exposure to a basket of credit default swaps
         referencing a diversified group of Reference Obligations, with respect to which the principal or
         notional amount of the credit exposure to any single Reference Obligation does not increase over


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          time: (x) a determination whether the Reference Obligations upon which such Synthetic Security
          is based would, if such Reference Obligations were Collateral Obligations, be a Defaulted
          Collateral Obligation, shall be determined by treating such Synthetic Security as a direct
          investment by the Issuer in each of the Reference Obligations on which such Synthetic Security is
          based in an amount equal to the Allocable Principal Balance of such Reference Obligation and (y)
          the "Defaulted Collateral Obligation" for purposes of this clause (vii) shall be limited to the
          Allocable Principal Balance of each Reference Obligation that would, if the Reference Obligation
          were a Collateral Obligation, be a Defaulted Collateral Obligation under any of clauses (i)
          through (v) above;

                  (viii)   that is a Written-Down Obligation;

                  (ix)    that is a DIP Loan as to which an order has been entered converting the debtor's
          chapter 11 case to a case under chapter 7 of the Bankruptcy Code; or

                  (x)      that is declared to be a Defaulted Collateral Obligation by the Portfolio Manager.

           Any Collateral Obligation that is classified as a Defaulted Collateral Obligation shall cease to be
  so classified if the Collateral Obligation, at any date thereafter,

                 (1)     would not otherwise be classified as a Defaulted Collateral Obligation in
          accordance with this definition; and

                  (2)      otherwise meets the Eligibility Criteria as of that date.

          If any portion of a Collateral Obligation has a maturity later than one year after the Stated
  Maturity of the Notes due to a change in the payment schedule of the Collateral Obligation occurring after
  its acquisition by the Issuer, that portion of the Collateral Obligation shall be considered a Defaulted
  Collateral Obligation.

          "Defaulted Hedge Termination Payment" means any termination payment required to be made
  by the Issuer to a Hedge Counterparty pursuant to a Hedge Agreement upon a termination of the Hedge
  Agreement in respect of which the Hedge Counterparty is the sole Defaulting Party or Affected Party
  (each as defined in the Hedge Agreements).

          "Defaulted Interest" means any interest payable in respect of any Class of Notes that is not
  punctually paid or duly provided for on the applicable Payment Date or at Stated Maturity; provided that,
  any interest paid with the proceeds of the Policy shall not be treated for the purpose of this definition as
  paid or provided for.

          "Defaulted Interest Charge" means to the extent lawful, interest on any Defaulted Interest at the
  Default Interest Rate.

           "Default Interest Rate" means, with respect to any specified Class of Notes, the per annum
  interest rate equal to the Note Interest Rate payable on the Notes of the Class.

          "Deferred Interest Notes" means the Class B Notes and the Class C Notes.

          "Delayed Drawdown Loan" means a Loan or any Synthetic Security with a Reference
  Obligation that:

                 (i)      requires the Issuer to make one or more future advances to the borrower under its
          Underlying Instruments;



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                 (ii)    specifies a maximum amount that can be borrowed on one or more fixed
          borrowing dates; and

                  (iii)   does not permit the re-borrowing of any amount previously repaid.

  A Loan or Synthetic Security shall only be considered to be a Delayed Drawdown Loan for so long as its
  unused commitment amount is greater than zero.

          "Depository" or "DTC" means The Depository Trust Company and its nominees.

          "DIP Loan" means any Loan:

                  (i)    that has a rating assigned by Moody's (or if the Loan does not have a rating
          assigned by Moody's, the Portfolio Manager has commenced the process of having a rating
          assigned by Moody's within five Business Days of the date the Loan is acquired by the Issuer)
          and a rating assigned by S&P (or if the Loan does not have a rating assigned by S&P, the
          Portfolio Manager has commenced the process of having a rating assigned by S&P within two
          Business Days of the date the Loan is acquired by the Issuer);

                   (ii)    that is an obligation of a debtor in possession as described in Section 1107 of the
          Bankruptcy Code or a trustee (if appointment of a trustee has been ordered pursuant to Section
          1104 of the Bankruptcy Code) (a "Debtor") organized under the laws of the United States or any
          state of the United States; and

                  (iii)   the terms of which have been approved by a final order of the United States
          Bankruptcy Court, United States District Court, or any other court of competent jurisdiction, the
          enforceability of which order is not subject to any pending contested matter or proceeding (as
          those terms are defined in the Federal Rules of Bankruptcy Procedure) and which order provides
          that:

                          (A)      the Loan is secured by liens on the Debtor's otherwise unencumbered
                  assets pursuant to Section 364(c)(2) of the Bankruptcy Code;

                          (B)     the Loan is secured by liens of equal or senior priority on property of the
                  Debtor's estate that is otherwise subject to a lien pursuant to Section 364(d) of the
                  Bankruptcy Code;

                           (C)     the Loan is fully secured (based on a current valuation or appraisal
                  report) by junior liens on the Debtor's encumbered assets; or

                           (D)      if any portion of the Loan is unsecured, the repayment of the Loan
                  retains priority over all other administrative expenses pursuant to Section 364(c)(1) of the
                  Bankruptcy Code (and in the case of this clause (D), before the acquisition of the Loan,
                  the Rating Condition is satisfied with respect to each Rating Agency).

          "Diversity Score" is a single number that indicates collateral concentration in terms of both
  issuer and industry concentration, calculated as set forth in Schedule 4 to the Indenture.

           "Domicile" or "Domiciled" means, with respect to each Collateral Obligation, (i) the jurisdiction
  of incorporation, organization or creation of the related obligor or (ii) in the case of a Collateral
  Obligation that would otherwise be considered to be domiciled pursuant to clause (i) in a Tax Advantaged
  Jurisdiction, the jurisdiction in which, in the commercially reasonable judgment of the Portfolio Manager,
  the related obligor conducts substantially all of its business operations and in which the assets primarily
  responsible for generating its revenues are located.


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           "Due Period" means, with respect to any Payment Date, for all purposes other than payments and
  receipts under Hedge Agreements, the period from the Business Day after the eighth Business Day before
  the previous Payment Date (or in the case of the first Payment Date, from the Closing Date) up to but
  excluding the Business Day after the eighth Business Day before the Payment Date (or in the case of the
  final Payment Date or any Payment Date that is a Redemption Date, through the Business Day before the
  Payment Date and for payments and receipts under Hedge Agreements the period from the day after the
  previous Payment Date (or in the case of the first Payment Date from the Closing Date) through the
  Payment Date).

          "Eligible Country" means the United States, Canada and any country classified by Moody's as a
  Moody's Group I Country, Moody's Group II Country or Moody's Group III Country; provided that such
  country has not imposed currency exchange controls.

           "Eligible Investments" means any Dollar-denominated investment that, when it is pledged by the
  Issuer to the Trustee under the Indenture, is one or more of the following:

                 (i)     Cash;

                  (ii)     direct Registered obligations of, and Registered obligations the timely payment
         of principal and interest on which is fully and expressly guaranteed by, the United States or any
         agency or instrumentality of the United States the obligations of which are expressly backed by
         the full faith and credit of the United States, which in each case are not zero coupon securities;

                  (iii)    demand and time deposits in, trust accounts, certificates of deposit payable
         within 91 days of issuance of, bankers' acceptances payable within 91 days of issuance issued by,
         or Federal funds sold by any depositary institution or trust company incorporated under the laws
         of the United States or any state thereof and subject to supervision and examination by Federal
         and/or state banking authorities so long as the commercial paper and/or the debt obligations of
         such depository institution or trust company (or, in the case of the principal depository institution
         in a holding company system, the commercial paper or debt obligations of such holding
         company), at the time of such investment or contractual commitment providing for such
         investment and throughout the term of the investment, have a credit rating of not less than "Aaa"
         by Moody's and "AAA" by S&P and in each case are not on watch for downgrade, or "P-1" by
         Moody's and "A-1+" by S&P in the case of commercial paper and short-term debt obligations;
         provided that in any case, the issuer thereof must have at the time of such investment a long-term
         credit rating of not less than "AA-" by S&P and "Aa3" by Moody's and a short-term rating of "A-
         1+" by S&P and "P-1" by Moody's, and if so rated, is not on watch for downgrade;

                  (iv)    commercial paper or other short-term obligations with a maturity of not more
         than 183 days from the date of issuance and having at the time of such investment a credit rating
         of at least "P-1" by Moody's and "A-1+" by S&P, provided, that, in any case, the issuer thereof
         must have at the time of such investment a long-term credit rating of not less than "Aa2" by
         Moody's, and if so rated, such rating is not on watch for downgrade;

                  (v)      unleveraged repurchase obligations with respect to any security described in
         clause (b) above entered into with a U.S. federal or state depository institution or trust company
         (acting as principal) described in clause (iii) above or entered into with a corporation (acting as
         principal) whose long-term credit rating is not less than "Aaa" by Moody's and "AAA" by S&P
         and in each case are not on watch for downgrade or whose short-term credit rating is "P-1" by
         Moody's and "A-1+" by S&P at the time of such investment and throughout the term of the
         investment; provided, that, if such repurchase obligation has a maturity of longer than 91 days,
         the counterparty thereto must also have at the time of such investment and throughout the term of
         the investment a long-term credit rating of not less than "Aa2" by Moody's and "AAA" by S&P,
         and if so rated, such rating is not on watch for downgrade;

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                   (vi)    any money market fund or similar investment vehicle having at the time of
          investment therein and throughout the term of the investment a credit rating of "MR1+" by
          Moody's and "AAAm" by S&P; including any fund for which the Trustee or an Affiliate of the
          Trustee serves as an investment advisor, administrator, shareholder servicing agent, custodian or
          subcustodian, notwithstanding that (A) the Trustee or an Affiliate of the Trustee charges and
          collects fees and expenses from such funds for services rendered (provided that such charges, fees
          and expenses are on terms consistent with terms negotiated at arm's length) and (B) the Trustee
          charges and collects fees and expenses for services rendered, pursuant to the Indenture;

                   (vii)   a guaranteed reinvestment agreement from a bank (if treated as a deposit by such
          bank), insurance company or other corporation or entity organized under the laws of the United
          States or any state thereof (if treated as debt by such insurance company or other corporation or
          entity), providing for periodic payments thereunder during each Due Period; provided that each
          such agreement provides that it is terminable by the purchaser, without premium or penalty, in the
          event that the rating assigned to such agreement by either Moody's or S&P is at any time lower
          than the then current ratings assigned to the Senior Class A Notes, the Class A-2 Notes, the Class
          A-3 Notes, the Class B Notes or the Class C Notes; provided, further, that, at the time of
          investment therein and throughout the term of the investment, the issuer of such agreement has a
          senior unsecured long-term debt rating, issuer rating or counterparty rating of at least "Aaa" by
          Moody's, a short-term debt rating of "P-1" by Moody's (and not on watch for downgrade), a
          short-term debt rating of at least "A-1+" by S&P and a long-term debt rating of at least "AAA" by
          S&P (and not on watch for downgrade); and

                  (viii)   such other investments for which Rating Confirmation has been received;

  and, in each case, with a stated maturity (giving effect to any applicable grace period) no later than the
  Business Day before the Payment Date next succeeding the date of the investment.

         Eligible Investments on deposit in the Revolving Reserve Account, the Delayed Drawdown
  Reserve Account, or the Synthetic Security Collateral Account must have a stated maturity no later than
  one Business Day after the date of their purchase.

          Eligible Investments may not include:

                   (1)     any interest-only security, any security purchased at a price in excess of 100% of
          its par value, or any security whose repayment is subject to substantial non-credit related risk as
          determined in the commercially reasonable judgment of the Portfolio Manager;

                   (2)     any security whose rating assigned by S&P includes the subscript "r," "t," "p,"
          "pi," or "q";
                   (3)      any floating rate security whose interest rate is inversely or otherwise not
          proportionately related to an interest rate index or is calculated as other than the sum of an
          interest rate index plus a spread (which spread may be zero);

                  (4)      any security that is subject to an exchange or tender offer; or

                  (5)      any security that has payments subject to foreign or United States withholding
          tax.

          Eligible Investments may include Eligible Investments for which the Trustee or an Affiliate of the
  Trustee provides services. Eligible Investments may not include obligations principally secured by real
  property.



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          "Emerging Market Security" means a security or obligation issued by a sovereign or non-
  sovereign issuer located in a country (excluding the Cayman Islands, Bermuda, the British Virgin Islands,
  the Netherlands Antilles, and the Channel Islands):

                  (i)     that is in Latin America, Asia, Africa, Eastern Europe, or the Caribbean; or

                   (ii)     the long-term foreign currency debt obligations of which are rated below "Aa2"
          or "Aa2" and on credit watch with negative implications by Moody's or the foreign currency
          issuer credit rating of which is below "AA" by S&P.

          "Euroclear" means Euroclear Bank S.A./N.V., as operator of the Euroclear system.

          "Excess CCC/Caa Collateral Obligations" means the Principal Balance of all CCC/Caa
  Collateral Obligations in excess of 7.5% of the Maximum Investment Amount on the relevant
  Determination Date.

         "Excluded Property" means U.S.$250 (attributable to the issue and allotment of the Issuer
  Ordinary Shares) and a U.S.$250 transaction fee paid to the Issuer, the bank account in which those
  amounts are credited in the Cayman Islands and any interest earned on those amounts

         "Extended Scheduled Preference Shares Redemption Date" means, if a Maturity Extension
  has occurred, the sixteenth Payment Date after the then current Extended Scheduled Preference Shares
  Redemption Date (or, in the case of the first Extended Scheduled Preference Shares Redemption Date, the
  Payment Date in February, 2021).

          "Extension" means an extension of the Reinvestment Period, the Stated Maturity of the Notes
  and the Weighted Average Life Test in accordance with the Indenture.

          "Extension Bonus Payment" means, with respect to each Maturity Extension, a single payment
  to each applicable beneficial owner and the Insurer set forth in "Description of the Securities— Extension
  of the Reinvestment Period, the Stated Maturity and the Scheduled Preference Shares Redemption Date"
  in an amount equal to (1) in the case of the Senior Class A Notes (other than the Class A-1g Notes),
  0.25% of the Aggregate Outstanding Amount thereof held by such beneficial owner as of the applicable
  Extension Effective Date, (2) in the case of the Class A-1g Notes, 0.125% of the Aggregate Outstanding
  Amount thereof held by such beneficial owner as of the applicable Extension Date (provided, however, if
  the Policy has been terminated prior to or in connection with such Maturity Extension, each applicable
  beneficial owner of the Class A-1g Notes will instead receive an amount equal to 0.25% of the Aggregate
  Outstanding Amount thereof held by such beneficial owner as of the applicable Extension Date), (3) to
  the Insurer, 0.125% of the Aggregate Outstanding Amount of the Class A-1g Notes as of the applicable
  Extension Date (provided, however, if the Policy has been terminated prior to or in connection with such
  Maturity Extension, the Insurer shall not be entitled to an Extension Bonus Payment pursuant to this
  clause (3)), (4) in the case of the Class A-2 Notes, 0.25% of the Aggregate Outstanding Amount thereof
  held by such beneficial owner as of the applicable Extension Effective Date, (5) in the case of the Class
  A-3 Notes, 0.25% of the Aggregate Outstanding Amount thereof held by such beneficial owner as of the
  applicable Extension Effective Date, (6) in the case of the Class B Notes, 0.25% of the Aggregate
  Outstanding Amount thereof held by such beneficial owner as of the applicable Extension Effective Date
  and (7) in the case of the Class C Notes, 0.50% of the Aggregate Outstanding Amount thereof held by
  such beneficial owner as of the applicable Extension Effective Date.

          "Extension Bonus Eligibility Certification" means, with respect to each Maturity Extension and
  each beneficial owner of Notes other than Extension Sale Securities, the written certification by such
  beneficial owner acceptable to the Issuer to the effect that it held Notes other than Extension Sale
  Securities on the applicable Extension Effective Date, including the Aggregate Outstanding Amount



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  thereof and wire transfer instructions for the Extension Bonus Payment and any required documentation
  thereunder.

          "Extension Determination Date" means the 8th Business Day prior to each Extension Effective
  Date.

           "Extension Purchase Price" means the purchase price payable by the Extension Qualifying
  Purchasers for Extension Sale Securities in connection with each Maturity Extension, if any, in an amount
  equal to (i) in the case of the Notes, the Aggregate Outstanding Amount thereof, plus accrued and unpaid
  interest (including Deferred Interest, if any) as of the applicable Extension Effective Date (giving effect to
  any amounts paid to the Holder on such date) plus, in the case of the Fixed Rate Notes, the applicable
  Make-Whole Premium, (ii) in the case of the Preference Shares, an amount that, when taken together with
  all payments and distributions made in respect of such Preference Shares since the Closing Date would
  cause such Preference Shares to have received (as of the date of purchase thereof) a Preference Share
  Internal Rate of Return of 12.0% (assuming such purchase date was a "Payment Date" under the
  Indenture); provided, however, that if the applicable Extension Effective Date is on or after the date on
  which such Holders have received a Preference Share Internal Rate of Return equal to or in excess of
  12.0%, the applicable Extension Purchase Price for such Preference Shares shall be zero and (iii) in the
  case of the Class 1 Composite Securities, the sum of (x) the amount that would be payable pursuant to the
  preceding clause (ii) in respect of the Preference Shares underlying the Class 1 Composite Security
  Preference Share Component, (y) the Treasury Strip Market Value and (z) the Composite Security Make-
  Up Amount.

           "Extension Qualifying Purchasers" means Portfolio Manager (or any of its Affiliates acting as
  principal or agent); provided that in the event the Portfolio Manager elects not to purchase Securities from
  Holders pursuant to the Extension Conditions set forth in "Description of the Securities—Extension of the
  Reinvestment Period, the Stated Maturity and the Scheduled Preference Shares Redemption Date";
  "Extension Qualifying Purchasers" shall mean one or more qualifying purchasers (which may include the
  Initial Purchaser or any of its Affiliates acting as principal or agent) designated by the Portfolio Manager;
  provided, however, none of the Portfolio Manager, the Initial Purchaser, or any of their respective
  Affiliates shall have any duty to act as an Extension Qualifying Purchaser.

          "Face Amount" means, with respect to any Preference Share, the amount set forth therein as the
  "face amount", which "face amount" thereof shall be $1,000 per Preference Share.

          "Finance Lease" means a lease agreement or other agreement entered into in connection with and
  evidencing a Leasing Finance Transaction.

          "Fixed Rate Excess" means, as of any Measurement Date, a fraction whose numerator is the
  product of:

                  (i)    the greater of zero and the excess of the Weighted Average Fixed Rate Coupon
          for the Measurement Date over the minimum percentage specified to pass the Weighted Average
          Fixed Rate Coupon Test; and

                 (ii)   the Aggregate Principal Balance of all Fixed Rate Obligations (excluding any
          Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date;

  and whose denominator is the Aggregate Principal Balance of all Floating Rate Obligations (excluding
  any Non-Performing Collateral Obligations) held by the Issuer as of the Measurement Date.

         In computing the Fixed Rate Excess on any Measurement Date, the Weighted Average Fixed
  Rate Coupon for the Measurement Date will be computed as if the Spread Excess were equal to zero.



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          "Fixed Rate Notes" means the Class A-1b Notes and the Class A-3b Notes.

           "Fixed Rate Obligation" means any Collateral Obligation that bears interest at a fixed rate,
  including a Collateral Obligation that does not bear interest on a floating rate index and whose interest
  rate is scheduled to increase one or more times over the life of the Collateral Obligation.

          "Floating Rate Notes" means the Class A-1a Notes, the Class A-1g Notes, the Class A-2 Notes,
  the Class A-3a Notes, the Class B Notes and the Class C Notes.

           "Floating Rate Obligation" means any Collateral Obligation that bears interest based on a
  floating rate index.

          "Form-Approved Synthetic Security" means a Synthetic Security:

                  (i)     (A)     each of the Reference Obligations of which satisfy the definition of
                  "Collateral Obligation" and could be purchased by the Issuer without any required action
                  by the Rating Agencies, without satisfaction of the Rating Condition or which the Rating
                  Agencies have otherwise approved; or

                          (B)     each of the Reference Obligations of which would satisfy clause (A)
                  above but for the currency in which the Reference Obligation is payable and the
                  Synthetic Security is payable in Dollars, does not provide for physical settlement, and
                  does not expose the Issuer to Dollar currency risk;

                  (ii)     the Synthetic Security Agreement of which conforms (but for the amount and
          timing of periodic payments, the name of the Reference Obligation, the notional amount, the
          effective date, the termination date, and other similar necessary changes) to a form that has been
          expressly identified and approved in writing in connection with a request under the Indenture by
          Moody's and S&P; and

                   (iii)  that is with a counterparty with respect to which the Rating Condition has been
          satisfied by each of Moody's and S&P prior to the acquisition of any such Form-Approved
          Synthetic Security, and such approval has not been withdrawn.

           Moody's or S&P may at any time, by notice to the Portfolio Manager, withdraw its approval of
  any such form. A withdrawal of approval shall have no effect on any Synthetic Security acquired, entered
  into, or committed to before the date on which the Portfolio Manager receives the notice of withdrawal.

          "Hedge Agreements" means, collectively, all interest rate cap or interest rate swap agreements
  between the Issuer and any Hedge Counterparty, and any replacement agreement entered into pursuant to
  the Indenture.

          "Hedge Counterparty" means JPMorgan Chase Bank, National Association currently having an
  address of 270 Park Avenue, New York, New York 10017, or any other counterparty, to the extent that
  when the Issuer enters into any Hedge Agreement with JPMorgan Chase Bank, National Association or
  the other counterparty, JPMorgan Chase Bank, National Association or the other counterparty satisfies the
  requirements of the Indenture, including, in the case of any other counterparty, to the satisfaction of the
  Rating Condition for each Rating Agency.

          "Hedge Termination Receipt" means any termination payment paid by the Hedge Counterparty
  to the Issuer upon any early termination of a Hedge Agreement with respect to which the Hedge
  Counterparty is the sole Defaulting Party or Affected Party (each as defined in the Hedge Agreements).




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          "High-Yield Bond" means any debt security other than a Loan, including any Structured Finance
  Obligation, that is either Registered or, if not Registered, (i) it is issued by an obligor that is not resident
  in the United States, (ii) the payments on it are not subject to United States withholding tax and (iii) it is
  held through a financial institution pursuant to the procedures described in Treasury Regulation section
  1.165-12(c)(3).

          "Holder" means, of any Note or Composite Security, the person whose name appears on the
  Indenture Register as the registered holder of the Note or Composite Security; and of any Preference
  Share (including any Preference Share underlying the Preference Share Component), the person whose
  name appears in the Preference Share register related thereto as the registered holder of such Preference
  Share.

          "Indemnification Agreement" means Indemnification Agreement, dated as of the Closing Date,
  among the Issuer, the Insurer and J.P. Morgan Securities Inc., as modified, amended and supplemented
  and in effect from time to time.

          "Indenture Registrar" means the Bank in its capacity as Indenture registrar as provided in the
  Indenture.

           "Indenture Register" means the register caused to be kept by the Issuer for the purpose of
  registering Notes and transfers of the Notes as provided in the Indenture.

         "Initial Consent Period" means the period of 15 Business Days from but excluding the date on
  which the Trustee provided notice of a proposed supplemental indenture pursuant to the Indenture to the
  Holders of Securities.

        "Initial Rating" means, the ratings by Moody's and S&P with respect to each Class of Notes and
  Composite Securities provided in the table in "Summary of Terms—Principal Terms of the Securities."

          "Initial Shadow Rating" means, with respect to the Class A-1g Notes, that rating or ratings
  which reflects the ratings assigned to the Class A-1g Notes by Moody's and S&P on the Closing Date
  without giving effect to the Policy.

        "Insurance Documents" means the Policy, the Insurance Agreement, the Indemnification
  Agreement and the Premium Letter.

          "Insured Noteholder" means a Holder of the Insured Notes.

          "Insurer Default" means the occurrence and continuation of any one of the following events:

                   (i)     the Insurer fails to make a payment required under the Policy in accordance with
          its terms;

                   (ii)     the Insurer (A) files any petition or commences any case or Proceeding under any
          provision or chapter of the Bankruptcy Code or any other similar federal or state law relating to
          the insolvency, bankruptcy, rehabilitation, liquidation or reorganization, (B) makes a general
          assignment for the benefit of its creditors, or (C) has an order for relief entered against it under
          the Bankruptcy Code or any other similar federal or state law relating to insolvency, bankruptcy,
          rehabilitation, liquidation or reorganization which is final and nonappealable; or

                  (iii)     a court of competent jurisdiction, the New York Department of Insurance or
          other competent regulatory authority enters a final and nonappealable order, judgment or decree
          (A) appointing a custodian, trustee, agent or receiver for the Insurer or for all or any material
          portion of its property or (B) authorizing the taking of possession by a custodian, trustee, agent or


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          receiver of the Insurer (or the taking of possession of all or any material portion of the property of
          the Insurer).

           "Interest Period" means, initially, the period from and including the Closing Date to but
  excluding the first Payment Date, and, thereafter, each successive period from and including each
  Payment Date to but excluding the following Payment Date; provided, however, that the "Payment Date"
  solely for purposes of determining the Interest Period for the Fixed Rate Notes will be the 1st day of each
  February, May, August and November, regardless of whether such day is a Business Day.

           "Interest Proceeds" means, with respect to any Due Period, the sum (without duplication) of all
  amounts received in Cash during the Due Period (or as otherwise specified below) by the Issuer with
  respect to the Collateral that are:

                  (i)     payments of interest, fees, and commissions (excluding (A) Accrued Interest
          Purchased With Principal, (B) interest and dividends on Workout Assets, (C) fees and
          commissions from Defaulted Collateral Obligations, and (D) syndication and other up-front fees
          and any up-front fixed payments received in connection with entering into a Synthetic Security);

                  (ii)    any portion of the Sale Proceeds of a Collateral Obligation (other than a
          Defaulted Collateral Obligation) representing Accrued Interest On Sale;

                 (iii)    all payments of principal on, or disposition proceeds from the sale of, Eligible
          Investments to the extent purchased with Interest Proceeds;

                  (iv)      payments with respect to the Hedge Agreements received on or before the related
          Payment Date (other than any amount payable thereunder because of any early termination or
          notional amount reduction), but not any Sale Proceeds from any of these instruments (except to
          the extent that they were purchased with Interest Proceeds);

                  (v)     all fees received pursuant to any Securities Lending Agreements;

                  (vi)     during the continuance of an "event of default" (under and as defined in the
          related Securities Lending Agreement), all interest received from the related Securities Lending
          Collateral;

                 (vii)   amounts in the Collection Account designated for distribution as Interest
          Proceeds pursuant to the Priority of Payments (including any amount transferred from the Interest
          Reserve Account);

                  (viii) all earnings on amounts in the Delayed Drawdown Reserve Account and the
          Revolving Reserve Account deposited to the Collection Account in accordance with Section
          10.3(b) of the Indenture;

                  (ix)   amounts in the Expense Reimbursement Account on the Payment Date for the
          relevant Due Period;

                  (x)      any recoveries (including interest) received on a Defaulted Collateral Obligation
          in excess of the principal balance of such Defaulted Collateral Obligation (as of the date the
          related Collateral Obligation became a Defaulted Collateral Obligation).

           Interest Proceeds shall not include the Excluded Property and Interest Proceeds shall not include
  earnings on amounts on deposit in the Securities Lending Account to the extent the earnings are payable
  by the Issuer to a Securities Lending Counterparty.



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          If an Interim Ramp-Up Completion Date Failure has occurred and is continuing on the first
  Payment Date, all Interest Proceeds remaining after application of Interest Proceeds pursuant to clauses
  (1) through (20) of "Description of the Securities—Priority of Payments—Interest Proceeds" shall be
  deemed to be Interest Proceeds received in the Due Period relating to the second Payment Date and not
  available for distribution on such first Payment Date.

          Each reference in the definition of "Interest Proceeds" to a Collateral Obligation shall include a
  Collateral Obligation that has been loaned pursuant to a Securities Lending Agreement and Interest
  Proceeds shall include any amounts referred to in clauses (i) through (iii) above received by the Issuer in
  respect of the Collateral Obligation indirectly from the related Securities Lending Counterparty pursuant
  to the Securities Lending Agreement.

           "Interim Ramp-Up Completion Date Failure" means, the failure of the Issuer to satisfy the
  criteria set forth in "Security for the Notes and the Composite Securities—Ramp-Up" on or before July 1,
  2005; notwithstanding the foregoing, if the Issuer receives a Rating Confirmation after an Interim Ramp-
  Up Completion Date Failure but before the first Payment Date, such Interim Ramp-Up Completion Date
  Failure shall not be deemed to have occurred.

          "Investment Criteria Adjusted Balance" means, for any Collateral Obligation other than Deep
  Discount Obligations, its Principal Balance; and for any Deep Discount Obligation its Purchase Price;
  provided, however, that if any Excess CCC/Caa Collateral Obligations exist, the Investment Criteria
  Adjusted Balance for the Excess CCC/Caa Collateral Obligations shall be the lower of (i) the weighted
  average Market Value of all CCC/Caa Collateral Obligations, expressed as a percentage of their
  outstanding principal balances and (ii) the product of (a) 70% and (b) their respective Principal Balance.

         "Investment Obligation" means, for a Collateral Obligation that is a Synthetic Security, the
  Reference Obligation of the Synthetic Security, and otherwise the Collateral Obligation.

          "Issuer Charter" means the Memorandum and Articles of Association of the Issuer, as amended
  and restated before the Closing Date or in accordance with the Indenture.

          "Issuer Order" and "Issuer Request" means a written order or request dated and signed in the
  name of the Issuer or the Co-Issuer by an Authorized Officer of the Issuer or the Co-Issuer, as applicable,
  or by the Portfolio Manager by an Authorized Officer of the Portfolio Manager, on behalf of the Issuer or
  the Co-Issuer.

          "Junior Class" means, with respect to a particular Class of Notes, each Class of Notes that is
  subordinated to that Class.

           "Leasing Finance Transaction" means and transaction pursuant to which the obligations of the
  lessee to pay rent or other amounts on a triple net basis under any lease of (or other arrangement
  conveying the right to use) real or personal property, or a combination thereof, are required to be
  classified and accounted for as a capital lease on a balance sheet of such lessee under generally accepted
  accounting principles in the United States of America; but only if (a) such lease or other transaction
  provides for the unconditional obligation of the lessee to pay a stated amount of principal no later than a
  stated maturity date, together with interest thereon, and the payment of such obligation is not subject to
  any material non-credit related risk as determined by the Portfolio Manager, (b) the obligations of the
  lessee in respect of such lease or other transaction are fully secured, directly or indirectly, by the property
  that is the subject of such lease and (c) the interest held by the Issuer in respect of such lease or other
  transaction is treated as debt for U.S. federal income tax purposes.




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          "Loan" means any interest in a fully committed, senior secured, unsecured, or revolving loan
  (including loans involving credit linked deposits) that is acquired by assignment or by Participation
  (including any DIP Loan) that is either:

                   (i)     Registered; or

                   (ii)    issued by an obligor that is not resident in the United States;

                           (A)      whose payments are not subject to United States withholding tax; and

                           (B)     that is held through a financial institution pursuant to the procedures
                           described in Treasury Regulation section 1.165-12(c)(3).

           "Long-Dated Collateral Obligation" means any Collateral Obligation with a stated maturity
  later than the Stated Maturity of the Notes other than a Collateral Obligation with a stated maturity later
  than the Stated Maturities of the Notes that includes a "put" option to its obligor at a price of at least par
  payable on or before the Stated Maturity of the Notes.

           "Majority" means, with respect to any Class or group of Notes or Composite Securities or
  Preference Shares, the Holders of more than 50% of the Aggregate Outstanding Amount of that Class or
  group of Notes or Composite Securities or Preference Shares, as the case may be (treating the Senior
  Class A Notes, the Class A-2 Notes and the Class A-3 Notes as separate Classes). When used with
  respect to the Class A-1g Notes, the Insurer if the Insurer is the Controlling Class. When used with
  respect to the Controlling Class, the Insurer if the Insurer is the Controlling Class, and if the Insurer is not
  the Controlling Class, the Holders of more than 50% of the Aggregate Outstanding Amount of the
  Controlling Class.

           "Make-Whole Premium" means, with respect to the Fixed Rate Notes, the premium payable to
  the Holders of the Fixed Rate Notes in connection with (i) an Optional Redemption of such Notes (other
  than in connection with a Tax Event), (ii) the purchase of such Notes that are Extension Sale Securities in
  connection with the Maturity Extension, if any, or (iii) the purchase of such Notes in connection with an
  Amendment Buy-Out, as applicable, in each case in an amount equal to the excess, if any, of (x) the
  present value (discounted to the Redemption Date, Extension Effective Date or date of Amendment Buy-
  Out, as applicable, using the Reinvestment Yield as the discount rate on a semi-annual basis using a 360-
  day year of twelve 30-day months) of the remaining payments of interest and principal due on the Fixed
  Rate Notes, assuming that the entire outstanding principal amount of the applicable Fixed Rate Notes will
  be paid at the end of the Remaining Life Date and that each intervening payment of interest on the Fixed
  Rate Notes will be made on the related Payment Date in its entirety (and therefore there is no Deferred
  Interest on the Fixed Rate Notes) over (y) the Aggregate Outstanding Amount of the applicable Fixed
  Rate Notes on the Redemption Date, Extension Effective Date or date of Amendment Buy-Out, as
  applicable; provided that, in no event shall any Make-Whole Premium be less than zero.

          "Margin Stock" means "Margin Stock" as defined under Regulation U issued by the Board of
  Governors of the Federal Reserve System, including any debt security that is by its terms convertible into
  Margin Stock, but does not include any obligation that at the time of acquisition, conversion, or exchange
  does not satisfy the requirements of a Collateral Obligation received pursuant to an offer by an issuer of a
  Defaulted Collateral Obligation.

          "Management Agreement" means the Portfolio Management Agreement, dated as of the
  Closing Date, between the Issuer and the Portfolio Manager, as modified, amended, and supplemented
  and in effect from time to time.

          "Market Value" means, as of any Measurement Date, the market value determined by the
  Portfolio Manager and reported to the Trustee as an amount rather than as a percentage or fraction of par


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  (expressed in Dollars) of any Collateral Obligation based upon the Portfolio Manager's commercially
  reasonable judgment and based upon the following order of priority: (i) the average of the bid-side market
  prices obtained by the Portfolio Manager from three Independent broker-dealers active in the trading of
  such obligations or (ii) if the foregoing set of prices were not obtained, the lower of the bid-side market
  prices obtained by the Portfolio Manager from two Independent broker-dealers active in the trading of
  such obligations or (iii) if the foregoing sets of prices were not obtained, the average of the bid-side prices
  for the purchase of the Collateral Obligation determined by an Approved Pricing Service (Independent
  from the Portfolio Manager) that derives valuations by polling broker-dealers (Independent from the
  Portfolio Manager); provided that if a Market Value of any Collateral Obligation cannot be so determined
  for a period of 30 consecutive days then such Collateral Obligation shall be deemed to have a Market
  Value of zero; provided, further, that during such 30 day period, such Collateral Obligation shall be
  deemed to have a Market Value equal to the lower of (i) (if any) the Market Value of such Collateral
  Obligation as most recently determined by the Portfolio Manager in accordance with the foregoing and
  (ii) the current market value of such Collateral Obligation as determined by the Portfolio Manager in its
  commercially reasonable judgment; provided, further, that the maximum amount of Collateral
  Obligations having a Market Value assigned pursuant to the immediately preceding proviso shall be
  limited to 5.0% of the Maximum Investment Amount (and any amount in excess of 5.0% of the
  Maximum Investment Amount shall be deemed to have a Market Value of zero).

          "Market Value Percentage" means, for any Collateral Obligation, the ratio obtained by dividing:

                   (i)     the Market Value of the Collateral Obligation; by

                   (ii)    the Principal Balance of the Collateral Obligation.

          "Maximum Investment Amount" means an amount equal to:

                   (i)     on any Measurement Date during the Ramp-Up Period, U.S.$663,000,000; and

                   (ii)    on any Measurement Date after the Ramp-Up Completion Date:

                          (A)      the aggregate Principal Balance of all Collateral Obligations plus the
                   aggregate outstanding principal amount of any Defaulted Collateral Obligations; plus

                          (B)    cash representing Principal Proceeds on deposit in the Collection
                   Account; plus

                           (C)     Eligible Investments (other than cash) purchased by the Issuer with
                   Principal Proceeds on deposit in the Collection Account.

          "Maximum Weighted Average Moody's Rating Factor" means, as of any Measurement Date, a
  rate equal to the sum of (i) the number set forth in the column entitled "Maximum Weighted Average
  Moody's Rating Factor" in the Ratings Matrix based upon the applicable "row/column combination"
  chosen by the Portfolio Manager (or the interpolating between two adjacent rows and/or two adjacent
  columns, as applicable) plus (ii) the Recovery Rate Modifier.

          "Measurement Date" means any date:

                   (i)     on which the Issuer commits to acquire or dispose of any Collateral Obligation;

                   (ii)    on which a Collateral Obligation becomes a Defaulted Collateral Obligation;

                   (iii)   that is a Determination Date;



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                  (iv)    that is the Ramp-Up Completion Date; and

                 (v)       that is the date as of which the information in a Monthly Report is calculated
          pursuant to the Indenture.

          "Minimum Diversity Score" means, as of any Measurement Date, a score equal to the number
  set forth in the column entitled "Minimum Diversity Score" in the Ratings Matrix based upon the
  applicable "row/column combination" chosen by the Portfolio Manager (or the interpolating between two
  adjacent rows and/or two adjacent columns, as applicable).

          "Minimum Weighted Average Spread" means, as of any Measurement Date, the spread equal
  to the percentage set forth in the row entitled "Minimum Weighted Average Spread" in the Ratings
  Matrix based upon the applicable "row/column combination" chosen by the Portfolio Manager (or the
  interpolating between two adjacent rows and/or two adjacent columns, as applicable).

          "Monthly Report" means a monthly report compiled and provided by the Issuer.

           "Moody's Default Probability Rating" means with respect to any Collateral Obligation, as of
  any date of determination, the rating determined in accordance with the following, in the following order
  of priority:

                  (i)     with respect to a Moody's Senior Secured Loan:

                          (A)     if the Loan's obligor has a senior implied rating from Moody's, such
                  senior implied rating; and
                         (B)      if the preceding clause does not apply, the Moody's Obligation Rating of
                  such Loan;
                          (C)   if the preceding clauses do not apply, the rating that is one subcategory
                  above the Moody's Equivalent Senior Unsecured Rating;
                 (ii)    with respect to a Moody's Non Senior Secured Loan or a Bond, the Moody's
          Equivalent Senior Unsecured Rating of such Collateral Obligation;

                   (iii)  with respect to a Collateral Obligation that is a DIP Loan, the rating that is one
          rating subcategory below the Assigned Moody's Rating thereof;

                   (iv)     with respect to a Structured Finance Obligation, the Assigned Moody's Rating
          thereof (or, if the obligation does not have an Assigned Moody's Rating but has a rating by S&P,
          the rating that is the number of rating subcategories specified by Moody's below such S&P
          rating); and

                  (v)     with respect to a Synthetic Security, the Assigned Moody's Rating thereof.

  Notwithstanding the foregoing, if the Moody's rating or ratings used to determine the Moody's Default
  Probability Rating are on watch for downgrade or upgrade by Moody's, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).

          "Moody's Equivalent Senior Unsecured Rating" means, with respect to any Collateral
  Obligation that is a Loan or bond and the obligor thereof, as of any date of determination, the rating
  determined in accordance with the following, in the following order of priority:

                  (i)    if the obligor has a senior unsecured obligation with an Assigned Moody's
          Rating, such Assigned Moody's Rating;

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                   (ii)    if the preceding clause does not apply, the Moody's "Issuer Rating" for the
        obligor;

                (iii)   if the preceding clauses do not apply, but the obligor has a subordinated
        obligation with an Assigned Moody's Rating; then

                           (A)      if such Assigned Moody's Rating is at least "B3" (and, if rated "B3," not
                   on watch for downgrade), the Moody's Equivalent Senior Unsecured Rating shall be the
                   rating which is one rating subcategory higher than such Assigned Moody's Rating; or

                          (B)    if such Assigned Moody's Rating is less than "B3" (or rated "B3" and on
                   watch for downgrade), the Moody's Equivalent Senior Unsecured Rating shall be such
                   Assigned Moody's Rating;

                (iv)    if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with an Assigned Moody's Rating; then:

                            (A)    if such Assigned Moody's Rating is at least "Caa3" (and, if rated "Caa3,"
                   not on watch for downgrade), the Moody's Equivalent Senior Unsecured Rating shall be
                   the rating which is one subcategory below such Assigned Moody's Rating; or

                            (B)  if such Assigned Moody's Rating is less than "Caa3" (or rated "Caa3"
                   and on watch for downgrade), then the Moody's Equivalent Senior Unsecured Rating
                   shall be "C";

               (v)     if the preceding clauses do not apply, but such obligor has a senior implied rating
        from Moody's, the Moody's Equivalent Senior Unsecured Rating shall be one rating subcategory
        below such senior implied rating;

                 (vi)     if the preceding clauses do not apply, but the obligor has a senior unsecured
        obligation (other than a bank loan) with a monitored public rating from S&P (without any
        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), then the Moody's Equivalent Senior Unsecured Rating shall be:

                             (A)    one rating subcategory below the Moody's equivalent of such S&P rating
                   if it is "BBB–" or higher;

                            (D)      two rating subcategories below the Moody's equivalent of such S&P
                   rating if it is "BB+" or lower; or

                            (E)     "B3" until the Issuer or the Portfolio Manager obtains an estimated rating
                   from Moody's of (a) the Portfolio Manager certifies to the Trustee that in its
                   commercially reasonable judgment, it believes an estimated rating equivalent to a rating
                   no lower than "B3" will be assigned by Moody's and the Issuer or the Portfolio Manager
                   on its behalf applies for an estimated rating from Moody's within five Business Days of
                   the date of the commitment to purchase the Loan or Bond, (b) the aggregate Principal
                   Balance of Collateral Obligations having an Assigned Moody's Rating pursuant to either
                   this clause (vi)(C), or clauses (vii)(C) or (viii)(C) does not exceed 5% of the Maximum
                   Investment Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are
                   satisfied;

                (vii)   if the preceding clauses do not apply, but the obligor has a subordinated
        obligation (other than a bank loan) with a monitored public rating from S&P (without any



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        postscripts, asterisks or other qualifying notations, that addresses the full amount of principal and
        interest promised), the Assigned Moody's Rating shall be deemed to be:

                          (A)    one rating subcategory below the Moody's equivalent of such S&P rating
                if it is "BBB–" or higher;

                         (B)      two rating subcategories below the Moody's equivalent of such S&P
                rating if it is "BB+" or lower, and the Moody's Equivalent Senior Unsecured Rating shall
                be determined pursuant to clause (iii) above; or

                         (C)      "B3" until the Issuer or the Portfolio Manager obtains an estimated
                rating from Moody's if (a) the Portfolio Manager certifies to the Trustee that in its
                commercially reasonable judgment, it believes an estimated rating equivalent to a rating
                not lower than "B3" will be assigned by Moody's and the Issuer or the Portfolio Manager
                on its behalf applies for an estimated rating from Moody's within five Business Days of
                the date of the commitment to purchase the Loan or Bond, (b) the aggregate Principal
                Balance of Collateral Obligations having an Assigned Moody's Rating pursuant to either
                this clause (vii)(C), or clauses (vi)(C) or (viii)(C) does not exceed 5% of the Maximum
                Investment Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are
                satisfied;

                (viii) if the preceding clauses do not apply, but the obligor has a senior secured
        obligation with a monitored public rating from S&P (without any postscripts, asterisks or other
        qualifying notations, that addresses the full amount of principal and interest promised), the
        Assigned Moody's Rating shall be deemed to be:

                          (A)    one rating subcategory below the Moody's equivalent of such S&P rating
                if it is "BBB–" or higher;

                         (B)      two rating subcategories below the Moody's equivalent of such S&P
                rating if it is "BB+" or lower, and the Moody's Equivalent Senior Unsecured Rating shall
                be determined pursuant to clause (iv) above; or

                         (C)      "B3" until the Issuer or the Portfolio Manager obtains an estimated rating
                from Moody's if (a) the Portfolio Manager certifies to the Trustee that in its commercially
                reasonable judgment, it believes an estimated rating equivalent to a rating not lower than
                "B3" will be assigned by Moody's and the Issuer or the Portfolio Manager on its behalf
                applies for an estimated rating from Moody's within two Business Days of the date of the
                commitment to purchase the Loan or Bond, (b) the aggregate Principal Balance of
                Collateral Obligations having an Assigned Moody's Rating pursuant to either this clause
                (viii)(C), or clauses (vi)(C) or (vii)(C) does not exceed 5% of the Maximum Investment
                Amount, and (c) all the Coverage Tests and the Collateral Quality Tests are satisfied;

                (ix)    if the preceding clauses do not apply and each of the following clauses (A)
        through (H) do apply, the Moody's Equivalent Senior Unsecured Rating will be "Caa1":

                       (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
                bankruptcy proceedings;

                        (B)      no debt securities or obligations of the obligor are in default;

                        (C)     neither the obligor nor any of its Affiliates has defaulted on any debt
                during the preceding two years;



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                         (D)     the obligor has been in existence for the preceding five years;

                         (E)     the obligor is current on any cumulative dividends;

                         (F)     the fixed-charge ratio for the obligor exceeds 125% for each of the
                 preceding two fiscal years and for the most recent quarter;

                         (G)      the obligor had a net profit before tax in the past fiscal year and the most
                 recent quarter; and

                          (H)     the annual financial statements of such obligor are unqualified and
                 certified by a firm of Independent accountants of international reputation, and quarterly
                 statements are unaudited but signed by a corporate officer;

                  (x)     if the preceding clauses do not apply but each of the following clauses (A) and
          (B) do apply, the Moody's Equivalent Senior Unsecured Rating will be "Caa3":

                        (A)     neither the obligor nor any of its Affiliates is subject to reorganization or
                 bankruptcy proceedings; and

                          (B)    no debt security or obligation of such obligor has been in default during
                 the past two years; and

                  (xi)    if the preceding clauses do not apply and a debt security or obligation of the
          obligor has been in default during the past two years, the Moody's Equivalent Senior Unsecured
          Rating will be "Ca."

  Notwithstanding the foregoing, not more than 10% of the Maximum Investment Amount may consist of
  Investment Obligations given a Moody's Equivalent Senior Unsecured Rating based on a rating given by
  S&P as provided in clauses (vi), (vii) and (viii) above.

         "Moody's Group I Country" means any of the following countries: Australia, the Netherlands,
  the United Kingdom and any country subsequently determined by Moody's to be a Moody's Group I
  Country.

          "Moody's Group II Country" means any of the following countries: Germany, Ireland, Sweden,
  Switzerland and any country subsequently determined by Moody's to be a Moody's Group II Country.

         "Moody's Group III Country" means any of the following countries: Austria, Belgium,
  Denmark, Finland, France, Iceland, Liechtenstein, Luxembourg, Norway, Spain and any country
  subsequently determined by Moody's to be a Moody's Group III Country.

          "Moody's Minimum Average Recovery Rate" means, as of any Measurement Date, a rate equal
  to the number obtained by (i) summing the products obtained by multiplying the Principal Balance of
  each Collateral Obligation by its respective Moody's Priority Category Recovery Rate, (ii) dividing the
  sum determined pursuant to clause (i) above by the sum of the Aggregate Principal Balance of all
  Collateral Obligations and (iii) rounding up to the first decimal place.

          "Moody's Non Senior Secured Loan" means any Loan that is not a Moody's Senior Secured
  Loan.




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         "Moody's Obligation Rating" means, with respect to any Collateral Obligation as of any date of
  determination, the rating determined in accordance with the following, in the following order of priority:

                     (i)     With respect to a Moody's Senior Secured Loan:

                             (A)    if it has an Assigned Moody's Rating, such Assigned Moody's Rating; or

                             (B)    if the preceding clause does not apply, the rating that is one rating
                     subcategory above the Moody's Equivalent Senior Unsecured Rating; and

                     (ii)    With respect to a Moody's Non Senior Secured Loan or a Bond:

                             (A)    if it has an Assigned Moody's Rating, such Assigned Moody's Rating; or

                            (B)     if the preceding clause does not apply, the Moody's Equivalent Senior
                     Unsecured Rating; and

                     (iii)   With respect to a Synthetic Security or a DIP Loan, the Assigned Moody's Rating
          thereof.

  Notwithstanding the foregoing, if the Moody's rating or ratings used to determine the Moody's Default
  Probability Rating are on watch for downgrade or upgrade by Moody's, such rating or ratings will be
  adjusted down one subcategory (if on watch for downgrade) or up one subcategory (if on watch for
  upgrade).

           "Moody's Priority Category" means each type of Collateral Obligation specified in the
  definition of "Applicable Percentage" as a "Moody's Priority Category."

          "Moody's Priority Category Recovery Rate" means for any Collateral Obligation, the
  percentage specified in the definition of "Applicable Percentage" opposite the Moody's Priority Category
  of the Collateral Obligation.

          "Moody's Rating" means the Moody's Default Probability Rating; provided that, with respect to
  the Collateral Obligations generally, if at any time Moody's or any successor to it ceases to provide rating
  services, references to rating categories of Moody's in the Indenture shall be deemed instead to be
  references to the equivalent categories of any other nationally recognized investment rating agency
  selected by the Portfolio Manager, as of the most recent date on which such other rating agency and
  Moody's published ratings for the type of security in respect of which such alternative rating agency is
  used.




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          "Moody's Rating Factor" means the number in the table below opposite the rating of the
  Collateral Obligation (excluding Synthetic Securities where an Assigned Moody's Rating is not
  available).

                                           Moody's                            Moody's
                         Moody's           Rating            Moody's          Rating
                         Rating            Factor            Rating           Factor
                           Aaa                 1               Ba1               940
                           Aa1                10               Ba2              1350
                           Aa2                20               Ba3              1766
                           Aa3                40                B1              2220
                           A1                 70                B2              2720
                           A2                 120               B3              3490
                           A3                 180              Caa1             4770
                           Baa1               260              Caa2             6500
                           Baa2               360              Caa3             8070
                           Baa3               610           Ca or lower         10000


          The Moody's Rating Factor for Collateral Obligations that are Synthetic Securities shall be
  determined by Moody's and obtained by the Issuer or the Portfolio Manager on a case-by-case basis,
  unless there is an Assigned Moody's Rating available for such Collateral Obligation that is a Synthetic
  Security, in which case such Assigned Moody's Rating shall be used to compute the Moody's Rating
  Factor for such Collateral Obligation that is a Synthetic Security.

         "Moody's Senior Secured Loan" means:

                 (i)     A Loan that:

                         (A)      is not (and cannot by its terms become) subordinate in right of payment
                 to any other obligation of the obligor of the Loan;

                         (B)      is secured by a valid first priority perfected security interest or lien in, to
                 or on specified collateral securing the obligor's obligations under the Loan; and

                         (C)      the value of the collateral securing the Loan together with other attributes
                 of the obligor (including, without limitation, its general financial condition, ability to
                 generate cash flow available for debt service and other demands for that cash flow) is
                 adequate (in the commercially reasonable judgment of the Portfolio Manager) to repay
                 the Loan in accordance with its terms and to repay all other loans of equal seniority
                 secured by a first lien or security interest in the same collateral; or




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                  (ii)    a Loan that:

                           (A)      is not (and cannot by its terms become) subordinate in right of payment
                  to any other obligation of the obligor of the Loan, other than, with respect to a Loan
                  described in clause (i) above, with respect to the liquidation of such obligor or the
                  collateral for such loan;

                           (B)     is secured by a valid second priority perfected security interest or lien in,
                  to or on specified collateral securing the obligor's obligations under the Loan; and

                           (C)    the value of the collateral securing the Loan together with other attributes
                  of the obligor (including, without limitation, its general financial condition, ability to
                  generate cash flow available for debt service and other demands for that cash flow) is
                  adequate (in the commercially reasonable judgment of the Portfolio Manager) to repay
                  the Loan in accordance with its terms and to repay all other loans of equal or higher
                  seniority secured by a first or second lien or security interest in the same collateral;

                  (iii)    the Loan is not: (A) a DIP Loan, (B) a Loan for which the security interest or lien
          (or the validity or effectiveness thereof) in substantially all of its collateral attaches, becomes
          effective, or otherwise "springs" into existence after the origination thereof, or (C) a type of loan
          that Moody's has identified as having unusual terms and with respect to which its Moody's
          Recovery Rate has been or is to be determined on a case-by-case basis; and

                  (iv)     if the Loan has an Assigned Moody's Rating, such Assigned Moody's Rating is
          not lower that the senior implied Moody's rating of the related obligor.

           "Non-Consenting Holder" means respect to any supplemental indenture pursuant to the
  Indenture that requires the consent of one or more Holders of Securities, any Holder or, in the case of
  Securities represented by Global Securities, any beneficial owner, that either (i) has declared in writing
  that it will not consent to such supplemental indenture or (ii) had not consented to such supplemental
  indenture within the applicable Initial Consent Period.

           "Non-Performing Collateral Obligation" means any Defaulted Collateral Obligation and any
  PIK Security as to which its issuer or obligor has previously deferred or capitalized any interest due on it
  and all the interest so deferred or capitalized has not subsequently been paid in full in cash by:

                   (i)      if the PIK Security has a Moody's Rating of "Baa3" (and not on credit watch with
          negative implications) or above or an S&P Rating of "BBB-" (and not on credit watch with
          negative implications) or above, the earlier of its second payment date or one year following the
          date of the initial deferral or capitalization of interest due on it; or

                  (ii)    if the PIK Security has a Moody's Rating of "Baa3" and on credit watch with
          negative implications or below "Baa3," or an S&P Rating of "BBB-" and on credit watch with
          negative implications or below "BBB-," the earlier of its first payment date or six months
          following the date of the initial deferral or capitalization of interest due on it.

          "Noteholder" means a Holder of the Senior Class A Notes, the Class A-2 Notes, the Class A-3
  Notes, the Class B Notes or the Class C Notes.

          "Note Payment Sequence" means the application of funds in the following order:

                 (1)    to the Senior Class A Notes until the Senior Class A Notes have been fully
          redeemed (with each of the Senior Class A Notes being redeemed pro rata based upon the



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          outstanding principal amount of the Class A-1 Notes, the Class A-1b Notes and the Class A-1g
          Notes);

                  (2)      to the Class A-2 Notes until the Class A-2 Notes have been fully redeemed;

                 (3)     to the Class A-3 Notes until the Class A-3 Notes have been fully redeemed (with
          each of the Class A-3 Notes being redeemed pro rata based upon the outstanding principal
          amount of the Class A-3a Notes and the Class A-3b Notes);

                  (4)      to the Class B Notes until the Class B Notes have been fully redeemed; and

                  (5)      to the Class C Notes until the Class C Notes have been fully redeemed.

         "Offer" means any Collateral Obligation that is subject to a tender offer, voluntary redemption,
  exchange offer, conversion or other similar action.

          "Officer" means, with respect to the Issuer and any corporation, any director, the Chairman of the
  board of directors, the President, any Vice President, the Secretary, an Assistant Secretary, the Treasurer,
  or an Assistant Treasurer of the entity; with respect to the Co-Issuer and any corporation, any director, the
  Chairman of the board of directors, the President, any Vice President, the Secretary, an Assistant
  Secretary, the Treasurer, or an Assistant Treasurer of the entity; with respect to any partnership, any of its
  general partners; and with respect to the Trustee, any Trust Officer.

          "Outstanding" means, with respect to:

                  (i)      the Notes and the Composite Securities or any specified Class, as of any date of
          determination, all of the Notes, all of the Composite Securities or all of the Notes of the specified
          Class, as the case may be, theretofore authenticated and delivered under the Indenture, except
          with respect to Notes and Composite Securities:

                          (A)     Securities canceled by the Indenture Registrar or delivered to the
                  Indenture Registrar for cancellation;

                           (B)     Notes for whose payment or redemption funds in the necessary amount
                  have been theretofore irrevocably deposited with the Trustee or any Paying Agent in trust
                  for their Holders pursuant to Section 4.1(a)(ii) of the Indenture and if the Notes are to be
                  redeemed, notice of redemption has been duly given pursuant to the Indenture;

                          (C)     Notes in exchange for or in lieu of which other Notes have been
                  authenticated and delivered pursuant to the Indenture and Composite Securities in
                  exchange for or in lieu of which other Composite Securities have been authenticated and
                  delivered pursuant to the Indenture; and

                          (D)      Securities alleged to have been destroyed, lost, or stolen for which
                  replacement Securities have been issued as provided in Section 2.7 of the Indenture,
                  unless proof satisfactory to the Trustee is presented that any such Securities are held by a
                  protected purchaser;

                  (ii)     the Preference Shares, as of any date of determination, all of the Preference
          Shares theretofore issued under the Preference Share Documents and listed in the Preference
          Share register of the Issuer as outstanding;




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  provided that, in determining whether the Holders of the requisite Aggregate Outstanding Amount of the
  Notes, the Preference Shares or the Composite Securities have given any request, demand, authorization,
  direction, notice, consent, or waiver under the Indenture:

                  (1)      to the extent the Class A-1g Notes have been paid with proceeds of the Policy
          and subject to the Indenture, such Class A-1g Notes shall continue to remain Outstanding for
          purposes of the Indenture until the Insurer has been paid as subrogee hereunder and reimbursed
          pursuant to the Insurance Agreement, as evidenced by a written notice from the Insurer delivered
          to the Trustee, and the Insurer shall be deemed the Holder thereof, to the extent of any payments
          thereon made by the Insurer;

                 (2)      Holders of Composite Securities, except to the extent otherwise expressly
          provided, will be entitled to vote with the Preference Shares to which the Preference Share
          Component of such Composite Securities relates, with a face amount equal to the aggregate Face
          Amount of the Preference Shares relating to such Preference Share Component; and

                   (3)      Notes, Composite Securities or Preference Shares owned or beneficially owned
          by the Issuer, the Co-Issuer, any Affiliate of either of them and (only (x) with respect to any
          matter affecting its status as Portfolio Manager, or (y) in any matter respecting an acceleration of
          any Class of Notes or Composite Securities if the effect of the Portfolio Manager's action or
          inaction as a Holder of Notes, Composite Securities or Preference Shares would effectively
          prevent acceleration) the Portfolio Manager and its Affiliates shall be disregarded and not be
          Outstanding, except that, in determining whether the Trustee shall be protected in relying on any
          request, demand, authorization, direction, notice, consent, or waiver, only Notes, Composite
          Securities or Preference Shares that a Trust Officer of the Trustee has actual knowledge to be so
          owned or beneficially owned shall be so disregarded. Notes, Composite Securities or Preference
          Shares so owned or beneficially owned that have been pledged in good faith may be regarded as
          Outstanding if the pledgee establishes to the satisfaction of the Trustee the pledgee's right so to
          act with respect to the Notes, Composite Securities or Preference Shares and that the pledgee is
          not the Issuer, the Co-Issuer, the Portfolio Manager, the Preference Shares Paying Agent or any
          Affiliate of the Issuer or the Co-Issuer.

          With respect to Components, as of any date of determination, all of the Components represented
          by Composite Securities that are Outstanding under the Indenture or the Preference Share
          Documents.

          "Participating Institution" means an institution that creates a participation interest and that has a
  long-term senior unsecured rating by Moody's of at least "A3" (and if so rated by Moody's such rating is
  not on watch for possible downgrade) and an issuer credit rating by S&P of at least "A".

           "Participation" means a Loan acquired as a participation interest created by a Participating
  Institution.

          "Permitted Offer" means a tender offer, voluntary redemption, exchange offer, conversion, or
  other similar action pursuant to which the offeror offers to acquire a debt obligation (including a
  Collateral Obligation) in exchange solely for cash in an amount equal to or greater than the full face
  amount of the debt obligation plus any accrued and unpaid interest and as to which the Portfolio Manager
  has determined in its commercially reasonable judgment that the offeror has sufficient access to financing
  to consummate the tender offer, voluntary redemption, exchange offer, conversion, or other similar
  action.

           "PIK Security" means any Collateral Obligation with respect to which its issuer or obligor may
  defer or capitalize interest due on the Collateral Obligation under the related underlying instruments.



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          "Pledged Obligations" means, as of any date of determination, the Collateral Obligations, the
  Workout Assets, the Eligible Investments, and any other securities or obligations that have been granted
  to the Trustee that form part of the Collateral or the Class 1 Collateral.

         "Person" is an individual, corporation (including a business trust), partnership, limited liability
  company, joint venture, association, joint stock company, trust (including any beneficiary thereof),
  unincorporated association or government or any agency or political subdivision thereof.

           "Preference Share Internal Rate of Return" means, with respect to any Payment Date, the
  internal rate of return (computed using the "XIRR" function in Microsoft® Excel 2002 or an equivalent
  function in another software package), stated on a per annum basis, for the following cash flows,
  assuming all Preference Shares were purchased on the Closing Date at par:

                  (i)     each distribution of Interest Proceeds made to the Holders of the Preference
          Shares on any prior Payment Date and, to the extent necessary to reach the applicable Preference
          Share Internal Rate of Return, the current Payment Date; and

                  (ii)    each distribution of Principal Proceeds made to the Holders of the Preference
          Shares on any prior Payment Date and, to the extent necessary to reach the applicable Preference
          Share Internal Rate of Return, the current Payment Date.

          For purposes of this definition, distributions in respect of the Preference Share Components shall
  be deemed to have been received by the Holders of the Composite Securities on the Payment Date
  preceding the related Composite Securities Payment Date.

           "Preference Shares Distribution Account" means a separate segregated non-interest bearing
  trust account established by the Preference Shares Paying Agent pursuant to the Preference Shares Paying
  Agency Agreement into which the Preference Shares Paying Agent will deposit all amounts received
  from the Issuer and payable to the Holders of the Preference Shares under the Priority of Payments.

          "Preference Shares Distribution Amount" means, with respect to each Payment Date, an
  amount equal to 7.0% per annum of the Preference Shares Notional Amount (such Preference Shares
  Notional Amount reduced by any distribution prior to such Payment Date pursuant to "Description of the
  Securities—Priority of Payments—Principal Proceeds" made in respect of the Preference Shares). The
  Preference Shares Distribution Amount shall be calculated on the basis of a 360-day year consisting of
  twelve 30-day months.

          "Preference Shares Notional Amount" means, $82,200,000.

          "Preference Shares Paying Agent" means JPMorgan Chase Bank, National Association, in its
  capacity as Preference Shares Paying Agent under the Preference Shares Paying Agency Agreement,
  unless a successor Person shall have become the preference shares paying agent pursuant to the applicable
  provisions of the Preference Shares Paying Agency Agreement, and thereafter "Preference Shares Paying
  Agent" shall mean such successor person.

          "Premium Letter" means the letter agreement, dated as of the Closing Date, between the Issuer
  and the Insurer in respect of the Premium payable by the Issuer in consideration of the issuance of the
  Policy.

          "Premium Rate" means a per annum rate equal to the per annum rate at which the Premium
  accrues pursuant to the Premium Letter.




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          "Principal Balance" means, with respect to:

                  (i)     any Pledged Obligation other than those specifically covered in this definition,
          the outstanding principal amount of the Pledged Obligation as of the relevant Measurement Date;

                  (ii)    a Synthetic Security, the notional amount specified in the Synthetic Security;

                  (iii)    any Pledged Obligation in which the Trustee does not have a first priority
          perfected security interest, zero, except as otherwise expressly specified in the Indenture;

                  (iv)    any Defaulted Collateral Obligation, except as otherwise provided, zero;

                   (v)   any Collateral Obligation that has been loaned, its Principal Balance shall be
          reduced by the excess of the amount of collateral required over the actual Market Value of the
          collateral;

                   (vi)    any Revolving Loan or Delayed Drawdown Loan, its Principal Balance shall
          include any unfunded amount thereof (regardless of the nature of the contingency relating to the
          Issuer's obligation to fund the unfunded amount), except as otherwise expressly specified in the
          Indenture;

                  (vii)   any PIK Security, its Principal Balance shall not include any principal amount of
          the PIK Security representing previously deferred or capitalized interest; and

                  (viii) any obligation or security that at the time of acquisition, conversion, or exchange
          does not satisfy the requirements of a Collateral Obligation, zero.

          "Principal Proceeds" means with respect to any Due Period, all amounts received in Cash during
  the Due Period by the Issuer with respect to the Collateral that are not Interest Proceeds.

          Principal Proceeds shall include any funds transferred from the Closing Date Expense Account
  and the Interest Reserve Account into the Collection Account pursuant to Section 10.2 of the Indenture.

          Principal Proceeds do not include the Excluded Property or earnings on amounts on deposit in the
  Securities Lending Account to the extent the earnings are payable by the Issuer to a Securities Lending
  Counterparty.

           At any time when an "event of default" under a Securities Lending Agreement has occurred and
  is continuing, any payments received by the Issuer from the related Securities Lending Collateral shall be
  Principal Proceeds.

          "Priority Class" means, with respect to any specified Class of Notes, each Class of Notes that
  ranks senior to that Class.

         "Proceeding" means any suit in equity, action at law, or other judicial or administrative
  proceeding.

          "Proposed Portfolio" means, as of any Measurement Date, the portfolio (measured by Aggregate
  Principal Balance) of Collateral Obligations and Principal Proceeds held as cash on deposit in the
  Collection Account and other Eligible Investments purchased with Principal Proceeds on deposit in the
  Collection Account resulting from the sale, maturity, or other disposition of a Collateral Obligation or a
  proposed reinvestment in a Collateral Obligation, as the case may be.

          "Purchase Price" means, with respect to the purchase of any Collateral Obligation (other than
  any obligation that at the time of acquisition, conversion, or exchange does not satisfy the requirements of

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  a Collateral Obligation), the net purchase price paid by the Issuer for the Collateral Obligation. The net
  purchase price is determined by subtracting from the purchase price the amount of any Accrued Interest
  Purchased With Principal and any syndication and other upfront fees paid to the Issuer and by adding the
  amount of any related transaction costs (including assignment fees) paid by the Issuer to the seller of the
  Collateral Obligation or its agent.

         "Purchase Price Amount" means, respect to any Collateral Obligation on any date of
  determination, the product of (i) the Purchase Price (stated as a percentage) thereof and (ii) the Principal
  Balance thereof on such date.

           "Qualified Equity Security" means any obligation that at the time of acquisition, conversion, or
  exchange does not satisfy the requirements of a Collateral Obligation that is stock or evidence of an
  interest in or a right to buy stock, or any obligation that at the time of acquisition, conversion, or exchange
  does not satisfy the requirements of a Collateral Obligation but whose acquisition otherwise is a
  transaction in stocks or securities within the meaning of Section 864(b)(2)(A)(ii) of the Code and the
  regulations under the Code. Qualified Equity Securities do not include any obligation that at the time of
  acquisition, conversion, or exchange does not satisfy the requirements of a Collateral Obligation and that
  will cause the Issuer to be treated as engaged in or having income from a United States trade or business
  for United States federal income tax purposes by virtue of its ownership or disposition of the obligation
  (without regard to the Issuer's other activities).

        "Ramp-Up Period" means the period from and including the Closing Date to and including the
  Ramp-Up Completion Date.

           "Rating Agency" means, each of Moody's and S&P or, with respect to Pledged Obligations
  generally, if at any time Moody's or S&P ceases to provide rating services with respect to high yield debt
  securities, any other nationally recognized statistical rating organization selected by the Issuer and
  reasonably satisfactory to a Majority of each Class of Notes. If at any time Moody's ceases to be a Rating
  Agency, references to rating categories of Moody's in the Indenture shall instead be references to the
  equivalent categories of the replacement rating agency as of the most recent date on which the
  replacement rating agency and Moody's published ratings for the type of security in respect of which the
  replacement rating agency is used. If at any time S&P ceases to be a Rating Agency, references to rating
  categories of S&P in the Indenture shall instead be references to the equivalent categories of the
  replacement rating agency as of the most recent date on which the replacement rating agency and S&P
  published ratings for the type of security in respect of which the replacement rating agency is used.

           "Rating Condition" means, with respect to any Rating Agency and any action taken or to be
  taken under the Indenture, a condition that is satisfied when the Rating Agency has confirmed to the
  Portfolio Manager (as agent for the Issuer) in writing that no withdrawal, reduction, suspension, or other
  adverse action with respect to any then current rating by it (including any private or confidential rating) of
  any Class of Notes (in the case of the Class A-1g Notes, without giving effect to the Policy) or Composite
  Securities will occur as a result of the action. The Rating Condition with respect to any Rating Agency
  shall be satisfied for all purposes of the Indenture at any time when no Outstanding Securities are rated by
  it.

          "Rating Confirmation" means confirmation from each Rating Agency (and with respect to the
  Composite Securities, from Moody's only) that it has not reduced, suspended, or withdrawn the Initial
  Rating assigned by it to any Class of Notes or Composite Securities.

          "Ratings Matrix" means the "row/column combination" of the table below selected by the
  Portfolio Manager on the Closing Date to apply initially for purposes of the Diversity Test, the Weighted
  Average Spread Test and the Weighted Average Rating Factor Test. Thereafter, on notice to the Trustee,
  the Portfolio Manager may select a different row of the Ratings Matrix to apply, or may interpolate



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  between two adjacent rows and/or two adjacent columns, as applicable, on a straight-line basis and round
  the results to two decimal points.

                                                         Minimum Diversity Score
                Minimum Weighted
                 Average Spread          50        55      60      65       70      75         80

                         2.45%          2185      2220    2255    2290     2325    2360    2395
                         2.55%          2245      2280    2315    2350     2385    2420    2455
                         2.65%          2305      2340    2375    2410     2445    2480    2515
                         2.75%          2365      2400    2435    2470     2505    2540    2575
                         2.85%          2425      2460    2495    2530     2565    2600    2635
                         2.95%          2485      2520    2555    2590     2625    2660    2695
                         3.05%          2545      2580    2615    2650     2685    2720    2755
                                              Maximum Weighted Average Moody's Rating Factor



          "Recovery Rate Modifier" means, as of any Measurement Date, the lesser of 60 and the product
  of:

                  (i)     (a) the Moody's Minimum Average Recovery Rate minus the minimum
          percentage specified to pass the Weighted Average Moody's Recovery Rate Test (but not less
          than zero) multiplied by (b) 100; and

                  (ii)       40.

          "Redemption Date" means any Payment Date specified for an Optional Redemption under
  "Description of the Securities—Optional Redemption."

          "Redemption Price" means, with respect to any Note and any Optional Redemption, an amount
  equal to:

                  (i)        the outstanding principal amount of the portion of the Note being redeemed; plus

                  (ii)    accrued interest on the Note (including any Defaulted Interest and interest on
          Defaulted Interest); plus

                  (iii)      in the case of any Deferred Interest Note, the applicable Deferred Interest on the
          Note; plus

                  (iv)       in the case of the Fixed Rate Notes, the applicable Make-Whole Amount; plus

                  (v)        any unpaid Extension Bonus Payment in respect of the Note.

            With respect to any Preference Share and any Optional Redemption, "Redemption Price" means
  (i) at the direction of a Majority of the Preference Shares of the remaining amount of available funds after
  all prior applications pursuant to the Priority of Payments or (ii) as specified by the unanimous direction
  of the Holders of the Preference Shares, in each case as specified in "Description of the Securities—
  Optional RedemptionPreference Shares."

         With respect to any Class 1 Component and any Optional Redemption, "Redemption Price"
  means the distribution in kind of the Treasury Strip provided for in "Description of the Securities—
  Optional RedemptionPreference Shares."


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          "Reference Obligation" means an obligation that would otherwise satisfy the definition of
  "Collateral Obligation" and on which a Synthetic Security is based.

           "Registered" means, with respect to a Collateral Obligation or Eligible Investment, means that it
  is issued after July 18, 1984 and is in registered form within the meaning of Section 881(c)(2)(B)(i) of the
  Code and the Treasury Regulations promulgated thereunder.

          "Regulation D" means Regulation D under the Securities Act.

          "Reinvestment Overcollateralization Ratio" means, as of any Measurement Date, the ratio
  obtained by dividing: (i) the Overcollateralization Ratio Numerator by (ii) the Aggregate Outstanding
  Amount of the Senior Class A Notes, the Class A-2 Notes, the Class A-3 Notes, the Class B Notes and the
  Class C Notes together with any Deferred Interest on any Class of Notes.

           "Reinvestment Yield" means, with respect to the Class A-1b Notes and the Class A-3b Notes,
  the rate equal to the sum of (a) (i) for the Class A-1b Notes, 0.155% and (ii) for the Class A-3b Notes,
  0.30% and (b) the applicable yield to maturity implied by (i) the yields reported, as of 10:00 a.m. (New
  York City time) on the tenth Business Day preceding the Redemption Date, Extension Effective Date or
  date of Amendment Buy-Out, as applicable, on "Notes/Bonds" section on the first page on the display
  designated as "Govt PX1" on Bloomberg Financial Markets Commodities News (or such other display as
  may replace such display) for actively traded U.S. Treasury securities (for the avoidance of doubt,
  excluding U.S. Treasury securities with option features, U.S. Treasury inflation securities and other
  markets) having a maturity as nearly as practicable equal to the Remaining Life Date or (ii) if such yields
  are not reported as of such time or the yields reported as of such time are not ascertainable, the Treasury
  Constant Maturity Series Yields reported, for the latest day for which such yields have been so reported as
  of the tenth Business Day preceding the Redemption Date, Extension Effective Date or date of
  Amendment Buy-Out, as applicable, in Federal Reserve Statistical Release H.15 (519) (or any
  comparable successor publication) for actively traded U.S. Treasury securities having a constant maturity
  as nearly as practicable equal to the Remaining Life Date; provided, however, if the maturity of the
  obligations used in the preceding clauses (i) and (ii) differ by more than one month from the Remaining
  Life Date, then the yield determined pursuant to the preceding clauses (i) and (ii) shall be determined by
  using linear interpolation between two maturities, one being the nearest maturity preceding the end of the
  Remaining Life Date and the other being the nearest maturity next succeeding the end of the Remaining
  Life Date.

           "Remaining Life Date" means, with respect to the Class A-1b Notes, June 1, 2013 and with
  respect to the Class A-3b Notes September 1, 2015.

          "Removal Buy-Out Purchase Price" means the purchase price payable by the Removal Buy-Out
  Purchaser for the Class A-1g Notes purchased in an Removal Buy-Out, if any, in an amount equal to the
  Aggregate Outstanding Amount of such Class A-1g Notes, plus accrued and unpaid interest to the date of
  purchase payable to the Holder of such Class A-1g Notes (giving effect to any amounts paid to the Holder
  on such date).

          "Removal Buy-Out Purchaser" means the Portfolio Manager (or any of its Affiliates acting as
  principal or agent); provided that in the event that the Portfolio Manager elects not to purchase Class A-
  1g Notes from Holders pursuant the Indenture and as described in "Description of the Securities—
  Removal Buy-Out," "Removal Buy-Out Purchaser" shall mean one or more qualifying purchasers (which
  may include the Initial Purchaser) or any of its Affiliates acting as principal or agent) designated by the
  Portfolio Manager; provided, however, none of the Portfolio Manager, the Initial Purchaser or any of their
  respective Affiliates shall have any duty to act as an Removal Buy-Out Purchaser.

        "Repository" means the internet-based password protected electronic repository of transaction
  documents relating to privately offered and sold collateralized debt obligation securities located at


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  "www.cdolibrary.com" operated by The Bond Market Association. Information on this website is not
  considered part of this Offering Circular in any way.

           "Revolving Loan" means a Loan or any Synthetic Security with a Reference Obligation (in each
  case excluding any Delayed Drawdown Loan) that requires the Issuer to make future advances to (or for
  the account of) the borrower under its underlying instruments (including any letter of credit for which the
  Issuer is required to reimburse the issuing bank for under it). A Loan or Synthetic Security shall only be
  considered to be a Revolving Loan for so long as its commitment amount is greater than zero.

           "S&P CDO Monitor" means a dynamic, analytical computer model developed by S&P and
  provided to the Portfolio Manager and the Collateral Administrator to be used to calculate the default
  frequency in terms of the amount of debt assumed to default as a percentage of the original principal
  amount of the Collateral Obligations consistent with a specified benchmark rating level based on certain
  assumptions and S&P's proprietary corporate default studies. For the purpose (and only for the purpose)
  of applying the S&P CDO Monitor to a portfolio of obligations, for each obligation in the portfolio, the
  rating of the obligation shall be its S&P Rating.

          "S&P Industry Classification" means the S&P Industry Classifications in Schedule 3 of the
  Indenture as modified, amended, and supplemented from time to time by S&P.

         "S&P Priority Category" means each type of Collateral Obligation specified in the definition of
  "Applicable Percentage" as an "S&P Priority Category."

          "S&P Priority Category Recovery Rate" means, for any Collateral Obligation, the percentage
  specified in the definition of "Applicable Percentage" opposite the S&P Priority Category of the
  Collateral Obligation.

           "S&P Rating" means, with respect to any Collateral Obligation, as of any date of determination,
  the rating determined in accordance with the following methodology:

                  (i)     If there is an issuer credit rating of the borrower of the Collateral Obligation (the
          "Borrower"), or the guarantor who unconditionally and irrevocably guarantees the Collateral
          Obligation (the "Guarantor") by S&P, the most current issuer credit rating for such Borrower or
          Guarantor;

                   (ii)     (a) if there is not an issuer credit rating of the Borrower or its Guarantor by S&P,
          but there is a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, then
          the S&P Rating of the Collateral Obligation will be one subcategory below such rating; (b) if
          there is not a rating by S&P on a senior secured obligation of the Borrower or its Guarantor, but
          there is a rating by S&P on a senior unsecured obligation of the Borrower or its Guarantor, then
          the S&P Rating will be such rating; and (c) if there is not a rating by S&P on a senior obligation
          of the Borrower or its Guarantor, but there is a rating by S&P on a subordinated obligation of the
          Borrower or its Guarantor, then the S&P Rating will be two subcategories above such rating if
          such rating is "BBB-" or higher and will be one subcategory above such rating if such rating is
          "BB+" or lower; or

                   (iii)   if there is neither an issuer credit rating of the Borrower or its Guarantor by S&P
          nor a rating by S&P on an obligation of the Borrower or its Guarantor, then the S&P Rating may
          be determined using any one of the methods below:

                          (A)      if an obligation of the Borrower or its Guarantor is publicly rated by
                  Moody's, then the S&P Rating will be determined in accordance with the methodologies
                  for establishing the Moody's Default Probability Rating, except that the S&P Rating of
                  such obligation will be (1) one subcategory below the S&P equivalent of the rating


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                  assigned by Moody's if such security is rated "Baa3" or higher by Moody's and (2) two
                  subcategories below the S&P equivalent of the rating assigned by Moody's if such
                  security is rated "Bal" or lower by Moody's; provided that Collateral Obligations
                  constituting no more than 10% of the Maximum Investment Amount may be given a S&P
                  Rating based on a rating given by Moody's as provided in this subclause (A) (after giving
                  effect to the addition of the relevant Collateral Obligation, if applicable);

                           (B)     if no other security or obligation of the Borrower or its Guarantor is rated
                  by S&P or Moody's, then the Portfolio Manager may apply to S&P for a S&P credit
                  rating estimate, which will be its S&P Rating; or

                           (C)     if such Collateral Obligation is not rated by Moody's or S&P, no other
                  security or obligation of the Borrower or its Guarantor is rated by S&P or Moody's and if
                  the Portfolio Manager determines in its sole discretion based on information available to
                  it after reasonable inquiry that such Borrower (x) is not subject to any bankruptcy or
                  reorganization proceedings nor in default on any of its obligations (unless the subject of a
                  good faith business dispute), (y) is a legally constituted corporate entity having the
                  minimum legal, financial and operational infrastructure to carry on a definable business,
                  deliver and sell a product or service and report its results in generally accepted
                  accounting terms as verified by a reputable audit firm and (z) is not so vulnerable to
                  adverse business, financial and economic conditions that default in its financial or other
                  obligations is foreseeable in the near term if current operating trends continue, then the
                  S&P Rating will be "CCC-"; provided that the Portfolio Manager must apply to S&P for
                  a S&P credit rating on such Borrower within 30 days after the addition of the relevant
                  Collateral Obligation; provided, further, that Collateral Obligations constituting no more
                  than 5% of the Maximum Investment Amount may be given an S&P Rating based on this
                  subclause (c) (after giving effect to the addition of the relevant Collateral Obligation, if
                  applicable);

          provided that, if (i) the relevant Borrower or Guarantor or obligation is placed on any positive
          "credit watch" list by S&P, such rating will be increased by one rating subcategory or (ii) the
          relevant Borrower or Guarantor or obligation is placed on any negative "credit watch" list by
          S&P, such rating will be decreased by one rating subcategory.

          Notwithstanding the foregoing, in the case of a Collateral Obligation that is a DIP Loan, the S&P
  Rating shall be (A) the rating assigned thereto by S&P if the rating is public, (B) the rating assigned by
  S&P if the rating is confidential, but only if all appropriate parties have provided written consent to its
  disclosure and use, (C) the rating assigned by S&P thereto through an estimated rating or (D) the rating
  assigned thereto by S&P in connection with the acquisition thereof upon the request of the Portfolio
  Manager. In the case of a Collateral Obligation that is a PIK Security or Structured Finance Obligation,
  the S&P Rating may not be determined pursuant to clause (iii)(A) above.

          S&P Ratings for entities or obligations relevant hereunder other than Borrowers and Collateral
  Obligations shall be determined in a corresponding manner.

           Notwithstanding the foregoing, if and for so long as the Aggregate Principal Balance of Collateral
  Obligations consisting in the aggregate of (x) Participations and (y) Synthetic Securities exceeds 20% of
  the Maximum Investment Amount, then the S&P Rating for the Aggregate Principal Balance of Collateral
  Obligations representing that excess (determined assuming the excess is comprised of the Collateral
  Obligations having the lowest S&P Ratings that would otherwise be applicable as determined above)
  shall be the S&P Rating one sub-category below the S&P Rating of the Collateral Obligations that would
  otherwise be applicable as determined above.




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          "S&P Unrated DIP Loan" means a DIP Loan acquired by the Issuer that does not have a rating
  assigned by S&P and for which the Portfolio Manager has commenced the process of having a rating
  assigned by S&P (as specified in the definition of "DIP Loan").

           "Sale Proceeds" means all proceeds received (including any proceeds received with respect to
  any associated interest rate swap or security providing fixed annuity payments ) with respect to Collateral
  Obligations or other Pledged Obligations as a result of their sales or other dispositions less any reasonable
  expenses expended by the Portfolio Manager or the Trustee in connection with the sales or other
  dispositions, which shall be paid from such proceeds notwithstanding their characterization otherwise as
  Administrative Expenses.

         "Secondary Risk Counterparty" means any obligor Domiciled other than in the United States,
  any Participating Institution, any Synthetic Security Counterparty and any Securities Lending
  Counterparty.

          "Secondary Risk Table" means the table below:

                     Long-Term Senior Unsecured              Individual          Aggregate
                     Debt Rating of Secondary Risk          Counterparty        Counterparty
                             Counterparty                      Limit               Limit
                     Moody's               S&P
                        Aaa               AAA                      20.0%             20.0%
                        Aa1                AA+                     10.0%             10.0%
                        Aa2                AA                      10.0%             10.0%
                        Aa3                AA-                     10.0%             10.0%
                        A1                  A+                      5.0%             10.0%
                   A2 or below         A or below                   0.0%               0.0%


           If any Secondary Risk Counterparty's long-term senior unsecured debt rating or short-term rating
  is on credit watch for possible downgrade by Moody's or S&P, then for the purposes of the table above,
  its rating by the Rating Agency putting its rating on credit watch shall be one rating notch lower for that
  Rating Agency.

         "Secured Parties" means the Noteholders, the Insurer, the Trustee, the Portfolio Manager and
  each Hedge Counterparty.

          "Securities Lending Collateral" means Cash or direct registered debt obligations of the United
  States of America that have a maturity date no later than the Business Day preceding the stated
  termination date of the relevant Securities Lending Agreement and that are pledged by a Securities
  Lending Counterparty as collateral pursuant to a Securities Lending Agreement.

          "Selected Collateral Quality Tests" means Weighted Average Moody's Recovery Rate Test, the
  Weighted Average Fixed Rate Coupon Test, the Weighted Average Spread Test, the Weighted Average
  Life Test (after taking into consideration any applicable Maturity Extension), the Weighted Average
  Rating Factor Test and the Diversity Test.

          "Senior Secured Loan" means a Secured Loan that is not subordinated by its terms to
  indebtedness of the borrower for borrowed money, trade claims, capitalized leases, or other similar
  obligations, with a first priority security interest in collateral.


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           "Senior Unsecured Loan" means a Loan that is not (i) subordinated by its terms to indebtedness
  of the borrower for borrowed money and (ii) secured by a valid and perfected security interest in
  collateral.

          "Spread Excess" means, as of any Measurement Date, a fraction whose (i) numerator is the
  product of (A) the greater of zero and the excess of the Weighted Average Spread for the Measurement
  Date over the Minimum Weighted Average Spread specified in the applicable row of the Ratings Matrix
  and (B) the Aggregate Principal Balance of all Floating Rate Obligations (excluding any Non-Performing
  Collateral Obligations) held by the Issuer as of the Measurement Date and (ii) denominator is the
  Aggregate Principal Balance of all Fixed Rate Obligations (excluding any Non-Performing Collateral
  Obligations) held by the Issuer as of the Measurement Date. In computing the Spread Excess on any
  Measurement Date, the Weighted Average Spread for the Measurement Date will be computed as if the
  Fixed Rate Excess were equal to zero.

          "Structured Finance Obligation" means any obligation:

                   (i)     secured directly by, referenced to, or representing ownership of, a pool of
          receivables or other assets of U.S. obligors, or obligors organized or incorporated in Moody's
          Group I Countries, Moody's Group II Countries or Moody's Group III Countries, including
          portfolio credit default swaps, synthetic collateralized debt obligations, and collateralized debt
          obligations, but excludes:

                          (A)      residential mortgage-backed securities;

                          (B)      collateralized debt obligations backed by Emerging Market Securities;

                           (C)     collateralized debt obligations primarily backed by asset-backed
                  securities;

                          (D)      market value collateralized debt obligations;

                          (E)     securities backed by "future flow" receivables;

                          (F)     net interest margin securitizations;

                          (G)      collateralized debt obligations backed by other collateralized debt
                  obligations; and

                         (H)       collateralized debt obligations a significant portion of which are backed
                  by bonds;

                  (ii)    that has an S&P Rating and an S&P Priority Category Recovery Rate;

                 (iii)    that has a rating and a Moody's Priority Category Recovery Rate assigned by
          Moody's; and

                   (iv)    whose ownership or disposition (without regard to the Issuer's other activities) by
          the Issuer will not cause the Issuer to be treated as engaged in a U.S. trade or business for United
          States federal income tax purposes or otherwise subject the Issuer to net income taxes.

           In connection with the purchase of a Structured Finance Obligation, the Portfolio Manager shall
  obtain from Moody's the applicable Moody's Priority Category Recovery Rate.




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           For purposes of the Diversity Test, multiple Structured Finance Obligations from CDOs managed
  by the same Portfolio Manager or multiple Structured Finance Obligations issued by the same master trust
  will be considered to be obligations of one issuer.

          "Subordinated Lien Loan" means a Secured Loan secured by a second (or lower) priority
  security interest in the relevant collateral.

          "Super Majority" means, with respect to any Class or group of Notes or Composite Securities,
  the Holders of more than 66-2/3% of the Aggregate Outstanding Amount of that Class or group of Notes
  or Composite Securities, as the case may be.

           "Synthetic Security" means any swap transaction, structured bond investment, credit linked note,
  or other derivative financial instrument relating to a debt instrument (but excluding any such instrument
  relating directly to a basket or portfolio of debt instruments) or an index or indices (such as the "SAMI"
  index published by Credit Suisse First Boston) in connection with a basket or portfolio of debt
  instruments or other similar instruments entered into by the Issuer with a Synthetic Security Counterparty
  that has in the Portfolio Manager's commercially reasonable judgment, equivalent expected loss
  characteristics (those characteristics, "credit risk") to those of the related Reference Obligations (taking
  account of those considerations as they relate to the Synthetic Security Counterparty), if (i) it is either a
  Form-Approved Synthetic Security or the Rating Condition for each Rating Agency is satisfied, and (ii)
  the Reference Obligations thereof have a weighted average Market Value of at least 80% at the time the
  Synthetic Security is entered into.

          The maturity, interest rate, and other non-credit characteristics of a Synthetic Security may be
  different from the Reference Obligations to which the credit risk of the Synthetic Security relates.

           No Synthetic Security shall require the Issuer to make any payment to the Synthetic Security
  Counterparty after its initial purchase other than any payments represented by the release of any cash
  collateral posted by the Issuer from the Collection Account to the Synthetic Security Counterparty
  Account simultaneously with the Issuer's purchase of or entry into the Synthetic Security in an amount
  not exceeding the amount of the posted cash collateral. Collateral may be posted only to a Synthetic
  Security Counterparty Account. No Synthetic Security shall result in the Issuer being a "buyer" of credit
  protection.

          The term Synthetic Security shall not include any Structured Finance Obligation or any
  Participation, but the Reference Obligation of a Synthetic Security may be a Structured Finance
  Obligation.

          Each Synthetic Security Agreement shall contain appropriate limited recourse and non-petition
  provisions (to the extent the Issuer has contractual payment obligations to the Synthetic Security
  Counterparty) equivalent (mutatis mutandis) to those contained in the Indenture.

           The ownership or disposition of any Synthetic Security (without regard to the Issuer's other
  activities) must not cause the Issuer to be treated as engaged in a U.S. trade or business for United States
  federal income tax purposes or otherwise subject the Issuer to net income taxes.

           Unless the Rating Condition is otherwise satisfied, any "deliverable obligation" that may be
  delivered to the Issuer as a result of the occurrence of any "credit event" under any proposed Synthetic
  Security must not provide that its transfer to the Issuer is subject to obtaining any consents and must
  qualify (when the Issuer purchases the related Synthetic Security and when such "deliverable obligation"
  is delivered to the Issuer as a result of the occurrence of any "credit event") as a Collateral Obligation and
  satisfy the Concentration Limitations under the Indenture, except that such "deliverable obligation" may
  constitute a Defaulted Obligation when delivered upon a "credit event and if the Reference Obligation of



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  the Synthetic Security is a Senior Secured Loan then the "deliverable obligation" under the Synthetic
  Security must also be a Senior Secured Loan.

         Synthetic Securities that are credit default swaps, credit linked notes, or other similar instruments
  may not provide for "restructuring" as a "credit event".

          For purposes of the Coverage Tests and the Reinvestment Overcollateralization Test, unless the
  Rating Condition for each Rating Agency is satisfied in respect of any proposed alternative treatment, a
  Synthetic Security shall be included as a Collateral Obligation having the characteristics of the Synthetic
  Security and not of the related Reference Obligations.

          For purposes of the Collateral Quality Tests (other than the Diversity Test and the S&P Industry
  Classification with respect to the S&P CDO Monitor Test), a Synthetic Security shall be included as a
  Collateral Obligation having the characteristics of the Synthetic Security and not of the related Reference
  Obligations.

           For purposes of calculating compliance with the Concentration Limitations other than limits
  relating to payment characteristics, and all related definitions, unless otherwise specified in the Indenture
  or by the Rating Agencies, a Synthetic Security shall be included as a Collateral Obligation having the
  characteristics of its Reference Obligations and not the Synthetic Security. For purposes of calculating
  compliance with the Concentration Limitations relating to payment characteristics, and all related
  definitions, unless otherwise specified in the Indenture or by the Rating Agencies, a Synthetic Security
  shall be included as a Collateral Obligation having the characteristics of the Synthetic Security and not its
  Reference Obligation.

           With respect to a Synthetic Security based upon or relating to a senior secured index investment
  providing non-leveraged credit exposure to a basket of credit default swaps referencing a diversified
  group of Reference Obligations, with respect to which the principal or notional amount of the credit
  exposure to any single Reference Obligation does not increase over time, for purposes of: (i) calculating
  compliance with the Diversity Test, the S&P Industry Classification with respect to the S&P CDO
  Monitor Test, and the Concentration Limitations (other than limits relating to payment characteristics and
  except for clauses 17 and 17(a) of the definition of "Concentration Limitations"), and all related
  definitions, and (ii) any other provision or definition of the Indenture involving a determination with
  respect to a Reference Obligation, the characteristics of such Reference Obligations shall be determined
  by treating such Synthetic Security as a direct investment by the Issuer in each such Reference Obligation
  in an amount equal to the Allocable Principal Balance of such Reference Obligation. In addition, each
  Reference Obligation under such Synthetic Security shall be assigned a Moody's Rating Factor equal to
  the sum of the Moody's Rating Factor of (i) the related Reference Obligor, (ii) the Synthetic Security
  Counterparty of such Synthetic Security and (iii) the Synthetic Security Collateral of such Synthetic
  Security. In addition, the Moody's Priority Category Rate in respect of a Synthetic Security referencing
  multiple Reference Obligations pursuant to this paragraph shall be the Moody's Priority Category Rate as
  assigned by Moody's to each Reference Obligation underlying such Synthetic Security. For the avoidance
  of doubt, Reference Obligations upon which a Synthetic Security is based as described in this paragraph
  must meet the definition of "Collateral Obligation" to the extent provided in this definition.

          If the Rating Condition must be satisfied to execute the purchase of any Synthetic Security, the
  Portfolio Manager, on behalf of the Issuer, shall give each applicable Rating Agency not less than 5 days'
  prior notice of the purchase of or entry into any Synthetic Security.

          "Synthetic Security Agreement" means the documentation governing any Synthetic Security.

          "Synthetic Security Collateral" means, respect to any Synthetic Security, amounts posted to the
  Synthetic Security Collateral Account by the Synthetic Security Counterparty in support of its obligations
  under the Synthetic Security, including (i) all Eligible Investments or (ii) investments that satisfy the


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  Rating Condition with respect to Moody's, in each case that mature no later than the Stated Maturity, in
  the Synthetic Security Collateral Account that are purchased with Synthetic Security Collateral.

          "Synthetic Security Counterparty" means any entity required to make payments on a Synthetic
  Security to the extent that a reference obligor makes payments on a related Reference Obligation.

          "Tax Advantaged Jurisdiction" means one of the Cayman Islands, Bermuda, the Netherlands
  Antilles or the tax advantaged jurisdiction of the Channel Islands, or such other jurisdiction that the
  Rating Condition with respect to each Rating Agency is satisfied with respect thereto.

          "Tax Event" means an event that occurs if either:

                  (i)     (A) one or more Collateral Obligations that were not subject to withholding tax
          when the Issuer committed to purchase them have become subject to withholding tax or the rate
          of withholding has increased on one or more Collateral Obligations that were subject to
          withholding tax when the Issuer committed to purchase them and (B) in any Due Period, the
          aggregate of the payments subject to withholding tax on new withholding tax obligations and the
          increase in payments subject to withholding tax on increased rate withholding tax obligations, in
          each case to the extent not "grossed-up" (on an after-tax basis) by the related obligor, represent
          5% or more of Interest Proceeds for the Due Period; or

                   (ii)     taxes, fees, assessments, or other similar charges are imposed on the Issuer or the
          Co-Issuer in an aggregate amount in any twelve-month period in excess of U.S.$2,000,000, other
          than any deduction or withholding for or on account of any tax with respect to any payment
          owing in respect of any obligation that at the time of acquisition, conversion, or exchange does
          not satisfy the requirements of a Collateral Obligation or Collateral Obligation.

          "Treasury Regulations" means regulations, including proposed or temporary regulations,
  promulgated under the Code. References herein to specific provisions of proposed or temporary
  regulations shall include analogous provisions of final Treasury Regulations or other successor Treasury
  Regulations.

          "Treasury Strip Market Value" means on any date of determination, the market value of the
  Treasury Strip underlying the applicable portion of the Class 1 Component of the Class 1 Composite
  Securities on such date, as determined in a commercially reasonable manner by the Portfolio Manager.

        "UCC" means the Uniform Commercial Code as in effect in the State of New York, and as
  amended from time to time.

          "Underlying Instrument" means the loan agreement, indenture, credit agreement, or other
  agreement pursuant to which a Pledged Obligation has been issued or created and each other agreement
  that governs the terms of or secures the obligations represented by the Pledged Obligation or of which the
  holders of the Pledged Obligation are the beneficiaries.

          "Unscheduled Principal Payments" means any principal payments received with respect to a
  Collateral Obligation as a result of optional redemptions, exchange offers, tender offers, other payments
  or prepayments made at the option of the issuer thereof or that are otherwise not scheduled to be made
  thereunder.

         "Valuation Report" means the accounting report, determined as of the close of business on each
  Determination Date, rendered in accordance with the terms of the Indenture.




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          "Weighted Average Fixed Rate Coupon" means, as of any Measurement Date, the rate obtained
  by:

                  (i)     multiplying the Principal Balance of each Collateral Obligation that is a Fixed
          Rate Obligation held by the Issuer as of the Measurement Date by the current per annum rate at
          which it pays interest, using only the effective after-tax interest rate determined by the Portfolio
          Manager on any Fixed Rate Obligation after taking into account any withholding tax or other
          deductions on account of tax of any jurisdiction and any gross-up paid by the obligor);

                  (ii)    summing the amounts determined pursuant to clause (i);

                   (iii)  dividing the sum by the Aggregate Principal Balance of all Collateral Obligations
          that are Fixed Rate Obligations held by the Issuer as of the Measurement Date; and

                  (iv)      if the result obtained in clause (iii) is less than the minimum percentage rate
          specified to satisfy the Weighted Average Fixed Rate Coupon Test, adding to the sum the amount
          of any Spread Excess as of the Measurement Date, but only to the extent required to satisfy the
          Weighted Average Fixed Rate Coupon Test.

          "Weighted Average Life" means, as of any Measurement Date the number obtained by (i)
  summing the products obtained by multiplying (A) the Average Life at that time of each Collateral
  Obligation by (B) the Principal Balance at that time of the Collateral Obligation and (ii) dividing that sum
  by the Aggregate Principal Balance at that time of all Collateral Obligations.

          "Weighted Average Moody's Rating Factor" means the summation of the products obtained by
  multiplying the Principal Balance of each Collateral Obligation (excluding Eligible Investments) by its
  respective Moody's Rating Factor, dividing that sum by the Aggregate Principal Balance of all Collateral
  Obligations (excluding Eligible Investments) and rounding the result up to the nearest whole number.

          "Weighted Average Spread" means, as of any Measurement Date, a rate obtained by:

                   (i)     multiplying the Principal Balance of each Collateral Obligation that is a Floating
          Rate Obligation held by the Issuer as of the Measurement Date by the current per annum overall
          rate at which it pays interest, determined with respect to any Floating Rate Obligation that does
          not bear interest based on a three month London interbank offered rate, by expressing the current
          interest rate on the Floating Rate Obligation as a spread above a three month London interbank
          offered rate calculated in a manner consistent with the calculation of LIBOR;

                  (ii)    summing the amounts determined pursuant to clause (i);

                  (iii)   dividing that sum by the Aggregate Principal Balance of all Floating Rate
          Obligations held by the Issuer as of the Measurement Date; and

                  (iv)     if the result obtained in clause (iii) is less than the minimum percentage rate
          specified to pass the Weighted Average Spread Test, adding to that sum the amount of Fixed Rate
          Excess as of the Measurement Date.

          For purposes of calculating the Weighted Average Spread, the Principal Balance of each
  Collateral Obligation that is a Revolving Loan or Delayed Drawdown Loan shall not include any of its
  unfunded amount.




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          "Workout Assets" means a Loan, High-Yield Bond, or Qualified Equity Security acquired in
  connection with the workout or restructuring of any Collateral Obligation that the Issuer does not advance
  any funds to purchase that does not qualify as a Collateral Obligation.

         "Zero-Coupon Security" means a security that, at the time of determination, does not make
  periodic payments of interest. A Zero-Coupon Security shall not include a security that is a PIK Security.




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     EXHIBIT A: AUDITED FINANCIAL STATEMENTS OF ASSURED GUARANTY CORP.



          The New York State Insurance Department recognizes only statutory accounting
  practices for determining and reporting the financial condition and results of operations of an
  insurance company, for determining its solvency under the New York Insurance Law, and for
  determining whether its financial condition warrants the payment of a dividend to its
  stockholders. No consideration is given by the New York State Insurance Department to
  financial statements prepared in accordance with United States generally accepted accounting
  principles in making such determinations.




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    ASSURED GUARANTY CORP. CONSOLIDATED FINANCIAL STATEMENTS FOR THE
   YEARS ENDED DECEMBER 31, 2003, 2002 AND 2001, AND UNAUDITED CONSOLIDATED
   FINANCIAL STATEMENTS FOR THE NINE MONTHS ENDED SEPTEMBER 30, 2004 AND
                                       2003




                                                                                                                                               Page

  Consolidated Financial Statements for the Years Ended
  December 31, 2003, 2002 and 2001

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  PRICEWATERHOUSECOOPERS
                                                                           PricewaterhouseCoopers LLP
                                                                           1177 Avenue of the Americas
                                                                           New York NY 10036
                                                                           Telephone (646) 471 4000
                                                                           Facsimile (813) 286 6000




                       Report of Independent Registered Public Accounting Firm



  To the Board of Directors and Stockholder of
  ACE Guaranty Corp.


  In our opinion, the accompanying consolidated balance sheets and the related consolidated statements of
  operations and comprehensive income, of stockholder's equity and of cash flows, present fairly, in all
  material respects, the financial position of ACE Guaranty Corp., (the "Company"), an indirect, wholly
  owned subsidiary of ACE Limited, at December 31, 2003 and 2002, and the results of its operations and
  its cash flows for each of the three years in the period ended December 31, 2003 in conformity with
  accounting principles generally accepted in the United States of America. These financial statement are
  the responsibility of the Company's management. Our responsibility is to express an opinion on these
  financial statements based on our audits. We conducted our audits in accordance with the standards of the
  Public Company Accounting Oversight Board (United States). Those standards require that we plan and
  perform the audit to obtain reasonable assurance about whether the financial statements are free of
  material misstatement. An audit includes examining, on a test basis, evidence supporting the amounts
  and disclosures in the financial statements, assessing the accounting principles used and significant
  estimates made by management, and evaluating the overall financial statement presentation. We believe
  that our audits provide reasonable basis for our opinion.

  As discussed in Note 2 and Note 4 to the financial statements, the Company changed its method of
  accounting for goodwill and derivatives in 2002 and 2001, respectively.

  /s/ PricewaterhouseCoopers LLP

  New York, New York
  June 25, 2004




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  ACE Guaranty Corp.
  Consolidated Balance Sheets
  December 31, 2003 and 2002

  (dollars in the thousands, except share and per share data)

                                                                           2003                2002
  Assets
  Fixed maturity securities available for sale, at fair value
      (amortized cost: $1,057,044 in 2003 and $896,375 in
      2002)                                                          $ 1,126,723         $   961,057
  Short-term investments, at cost, which approximates fair
      value                                                                55,078               52,384
           Total investments                                            1,181,801            1,013,441
  Cash                                                                     18,009                3,081
  Accrued investment income                                                14,031               12,138
  Deferred acquisition costs                                              146,926              135,884
  Prepaid reinsurance premiums                                              7,254               51,926
  Reinsurance recoverable on ceded losses                                       -               11,420
  Premiums receivable                                                      31,524               32,081
  Goodwill                                                                 87,062               87,062
  Other assets                                                             14,946               12,341
           Total assets                                              $ 1,501,553         $   1,359,374

  Liabilities and stockholder's equity
  Liabilities
     Unearned premium reserve                                        $    389,027        $    352,551
     Reserve for losses and loss adjustment expenses                      110,259              75,961
     Deferred federal income taxes payable                                 77,934              53,567
     Current federal income taxes payable                                   6,389               8,517
     Unrealized losses on derivative financial instruments                 18,482              67,023
     Other liabilities                                                     22,732              28,318
            Total liabilities                                             624,823             585,937

  Commitments and contingencies (Note 13)

  Stockholder's equity
     Common stock – $720 par value per share in 2003 and
        2002: 200,000 authorized, 20,834 issued and
        outstanding in 2003 and 2002                                        15,000              15,000
     Additional paid-in capital                                            351,231             345,561
     Unearned stock grant compensation                                      (2,849)             (2,056)
     Retained earnings                                                     468,064             372,889
     Accumulated other comprehensive income                                 45,284              42,043
          Total stockholder's equity                                       876,730             773,437
           Total liabilities and stockholder's equity                $   1,501,553       $   1,359,374

                              See accompanying notes to consolidated financial statements.




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  ACE Guaranty Corp.
  Consolidated Statements of Operations and Comprehensive Income
  Years Ended December 31, 2003, 2002 and 2001

  (dollars in thousands)


                                                                2003             2002           2001
  Revenues
  Gross written premiums                                   $ 219,923        $ 155,079        $ 120,796
  Ceded premiums                                             (36,623)          31,367           31,798
  Net written premiums                                       256,546          123,712           88,998
  Increase in unearned premium reserve                       (81,148)         (12,199)         (11,336)
  Net premiums earned                                        175,398          111,513           77,662
  Net investment income                                       47,156           46,730           46,487
  Net realized gains                                           2,092            6,888           10,203
  Net realized gain (loss) on derivative financial
    instruments                                               48,541           (36,998)          5,051
  Other income                                                 1,340             1,307             633
         Total revenues                                      274,527           129,440         140,036
  Expenses
  Losses and loss adjustment expenses                         56,706            24,513           5,875
  Acquisition costs                                           57,609            41,624          31,520
  Increase in deferred acquisition costs                     (11,042)           (8,212)         (7,011)
  Other operating expenses                                    24,341            15,229          13,703
  Goodwill amortization                                            -                 -           3,785
  Foreign exchange (gains) losses                               (865)              216               3
         Total expenses                                      126,749            73,370          47,875

  Income before provision for federal income taxes           147,778            56,070          92,161
  Provision (benefit) for federal income taxes
  Current                                                      19,985           20,847          14,749
  Deferred                                                     22,618          (10,420)         11,036
         Total provision for federal income taxes              42,603           10,427          25,785
  Net income before cumulative effect of new
    accounting standard                                      105,175            45,643          66,376
  Cumulative effect of new accounting standard,
    net of tax                                                     -                 -         (22,800)
         Net income                                          105,175            45,643          43,576

  Other comprehensive income, net of tax
  Unrealized holding gains (losses) arising during
    the year                                                    1,881           23,087         (16,788)
  Reclassification adjustment for realized gains
    included in net income                                      1,360            4,477           6,632
  Change in net unrealized gain (loss) on fixed
    maturity securities available for sale                     3,241          27,564           (10,156)
         Comprehensive income                              $ 108,416        $ 73,207         $ 33,420




                              See accompanying notes to consolidated financial statements.




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ACE Guaranty Corp.
Consolidated Statements of Stockholder's Equity
Years Ended December 31, 2003, 2002 and 2001

(dollars in thousands)
                                                                 Additional         Unearned                      Accumulated Other       Total
                                                                  Paid-in          Stock Grant        Retained     Comprehensive      Stockholder's
                                          Common Stock            Capital         Compensation        Earnings         Income            Equity
Balance January 1, 2001                  $       2,500       $    352,900         $        -      $   297,170     $      24,635       $   677,205
Net income                                                                                             43,576                              43,576
Dividends                                                                                              (5,500)                             (5,500)
Change in Par Value                             12,500            (12,500)                                                                      -
Tax benefit for options exercised                                   1,629                                                                   1,629
Unrealized loss on fixed maturity
   securities, net of tax ($5,469)                                                                                      (10,156)          (10,156)
Unearned stock grant compensation, net                                                 (984)                                                 (984)
Balance, December 31, 2001               $      15,000       $    342,029         $    (984)      $   335,246     $      14,479       $   705,770
Net income                                                                                             45,643                              45,643
Dividends                                                                                              (8,000)                             (8,000)
Tax benefit for options exercised                                   3,532                                                                   3,532
Unrealized gain on fixed maturity
   securities, net of tax ($14,842)                                                                                     27,564             27,564
Unearned stock grant compensation, net                                                (1,072)                                              (1,072)
Balance, December 31, 2002               $      15,000       $    345,561         $   (2,056)     $   372,889     $      42,043       $   773,437
Net income                                                                                            105,175                             105,175
Dividends                                                                                             (10,000)                            (10,000)
Tax benefit for options exercised                                   5,670                                                                   5,670
Unrealized gain on fixed maturity
   securities, net of tax ($1,745)                                                                                        3,241             3,241
Unearned stock grant compensation, net                                                 (793)                                                 (793)

Balance, December 31, 2003               $      15,000       $    351,231         $   (2,849)     $   468,064     $      45,284       $   876,730


                                             See accompanying notes to consolidated financial statements.




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  ACE Guaranty Corp.
  Consolidated Statements of Cash Flows
  Years Ended December 31, 2003, 2002 and 2001

  (dollars in thousands)

                                                                       2003           2002        2001
  Operating activities
  Net income                                                        $ 105,175      $ 45,643     $ 43,576
  Adjustments to reconcile net income to net cash provided by
    operating activities
        Net amortization of security premiums                          6,682          3,605       1,289
        Amortization of goodwill                                           -              -       3,785
        (Benefit) provision for deferred federal income taxes         22,618        (10,420)     11,036
        Net realized gains on investments                             (2,092)        (6,888)    (10,203)
        Cumulative effect of adopting a new accounting standard,
              net                                                          -              -      22,800
        Change in fair value of derivative financial instrument      (48,541)        36,998      (5,051)
        Change in deferred acquisition costs                         (11,042)        (8,212)     (7,011)
        Change in accrued investment income                           (1,893)          (548)        916
        Change in premiums receivable, net                               557         (8,584)    (18,334)
        Change in prepaid reinsurance premiums                        44,672        (16,401)    (18,997)
        Change in unearned premium reserves                           36,476         28,600      30,333
        Change in reserve for losses and loss adjustment expenses     45,718         (1,513)      9,848
        Other                                                         (7,601)         9,472       1,646
                  Net cash provided by operating activities          190,729         71,752      65,633
  Investing activities
  Fixed maturity securities available-for-sale:
        Purchases                                                   (408,660)      (667,060)   (876,701)
        Sales                                                        240,401        577,428     839,921
  (Purchases) sales of short-term investments, net                    (2,694)        19,709      (8,571)
  Other, net                                                           3,000          8,712     (15,903)
                  Net cash used in investing activities             (167,953)       (61,211)    (61,254)
  Financing activities
  Dividends paid                                                     (10,000)       (8,000)      (5,500)
                  Net cash used in financing activities              (10,000)       (8,000)      (5,500)
  Increase (decrease) in cash                                         12,776         2,541       (1,121)
  Effect of exchange rate changes                                      2,152           260          (12)
  Cash beginning of year                                               3,081           280        1,413
  Cash end of year                                                  $ 18,009      $ 3,081      $    280
  Supplementary cash flow information
  Income taxes paid                                                 $ 16,443      $ 10,796     $ 7,250

                             See accompanying notes to consolidated financial statements.




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  ACE Guaranty Corp.
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     1.      Organization and Business

             ACE Guaranty Corp. (formerly known as ACE Guaranty Re Inc.), (the "Company") is a
             Maryland domiciled company, which commenced operations in January 1988 and provides
             insurance and reinsurance of investment grade financial guaranty exposures, including
             municipal and nonmunicipal reinsurance, credit default swap ("CDS") transactions as well as
             trade credit and related reinsurance. The Company has financial strength ratings of AAA and
             Aa2 as of December 31, 2003 from Standard & Poor's Rating Service ("S&P") and Moody's
             Investor Services, Inc. ("Moody's"), respectively, and is licensed in 30 jurisdictions. The
             Company owns 100% of ACE Risk Assurance Company, a Maryland domiciled company.

             As of December 31, 2003, the Company was an indirect wholly-owned subsidiary of ACE
             Limited ("ACE"), a holding company incorporated with limited liability under Cayman
             Islands Companies Law. However, on April 28, 2004, subsidiaries of ACE completed an
             initial public offering ("IPO") of 49,000,000 common shares of their wholly owned
             subsidiary and parent of the Company, Assured Guaranty Ltd. ("Assured Guaranty").
             Assured Guaranty's common shares are traded on the New York Stock Exchange under the
             symbol AGO. This offering raised approximately $840.1 million in net proceeds, all of
             which went to the selling shareholders. As a result of the IPO, we implemented a new
             underwriting strategy. As part of this strategy, we have exited certain lines of business,
             including trade credit. The Company was renamed Assured Guaranty Corp. upon completion
             of the IPO.

     2.      Significant Accounting Policies

             Basis of Presentation
             The consolidated financial statements include the accounts of the Company and its wholly-
             owned subsidiary, ACE Risk Assurance Company, after elimination of inter-company
             accounts and transactions. Certain items in the prior years' financial statements have been
             reclassified to conform to the current year presentation.

             The financial statements have been prepared in conformity with accounting principles
             generally accepted in the United States of America ("GAAP"), which requires management to
             make estimates and assumptions that affect the reported amounts of assets and liabilities and
             disclosure of contingent assets and liabilities as of the date of the financial statements and the
             reported amounts of revenues and expenses during the reporting period. Actual results could
             differ from those estimates.

             Premium Revenue Recognition
             Premiums are received either upfront or in installments. Upfront premiums are earned in
             proportion to the expiration of the amount at risk. Each installment premium is earned
             ratably over its installment period, generally one year or less. For insured bonds for which
             the par value outstanding is declining during the insurance period, upfront premium earnings
             are greater in the earlier periods thus matching revenue recognition with the underlying risk.
             The premiums are allocated in accordance with the principal amortization schedule of the
             related bond issue and are earned ratably over the amortization period. When an insured
             issue is retired early, is called by the issuer, or is in substance paid in advance through a
             refunding accomplished by placing U.S. Government securities in escrow, the remaining
             unearned premium reserve is earned at that time. Unearned premium reserve represents the
             portion of premiums written that is applicable to the unexpired amount at risk of insured
             bonds.

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             Due to the customary lag (ranging from 30 to 90 days) in reporting premium data by some of
             the ceding companies, the Company must estimate the ultimate written and earned premiums
             to be received from a ceding company as of each balance sheet date for the reinsurance
             business. Actual written premiums reported in the statements of operations are based upon
             reports received by ceding companies supplemented by the Company's own estimates of
             premium for which ceding company reports have not yet been received. Differences between
             such estimates and actual amounts are recorded in the period in which the actual amounts are
             determined. Based on historical write-off percentages, the Company has not established an
             allowance for doubtful accounts for its premiums receivable as of December 31, 2003 or
             2002.

             Investments
             The Company accounts for its investments in fixed maturity securities in accordance with the
             Financial Accounting Standard Board's ("FASB") Statement of Financial Accounting
             Standards ("FAS") No. 115, "Accounting for Certain Investments in Debt and Equity
             Securities" ("FAS 115"). Management determines the appropriate classification of securities
             at the time of purchase. As of December 31, 2003 and 2002, all investments in fixed maturity
             securities were designated as available-for-sale and are carried at fair value. The fair values
             of all investments are calculated from independent market quotations.

             The amortized cost of fixed maturity securities is adjusted for amortization of premiums and
             accretion of discount computed using the effective interest method. That amortization or
             accretion is included in net investment income. For mortgage-backed securities, and any
             other holdings for which there is prepayment risk, prepayment assumptions are evaluated and
             revised as necessary. Any necessary adjustments required due to the resulting change in
             effective yields and maturities are recognized prospectively in current income.

             Realized gains and losses on sales of investments are determined using the specific
             identification method. Unrealized gains and losses on investments, net of applicable deferred
             income taxes, are included in accumulated other comprehensive income in stockholder's
             equity. The Company has a formal review process for all securities in its investment
             portfolio, including a review for impairment losses. Factors considered when assessing
             impairment include:

             •   a decline in the market value of a security by 20% or more below amortized cost for a
                 continuous period of at least six months;

             •   a decline in the market value of a security for a continuous period of 12 months;

             •   recent credit downgrades of the applicable security or the issuer by rating agencies;

             •   the financial condition of the applicable issuer;

             •   whether scheduled interest payments are past due; and

             •   whether the Company has the ability and intent to hold the security for a sufficient period
                 of time to allow for anticipated recoveries in fair value.

             If the Company believes a decline in the value of a particular investment is temporary, the
             decline is recorded as an unrealized loss on the balance sheet in "accumulated other
             comprehensive income" in stockholders equity. If the Company believes the decline is "other

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             than temporary," the Company will write down the carrying value of the investment and
             record a realized loss in the statement of operations. The assessment of a decline in value
             includes management's current assessment of the factors noted above. If that assessment
             changes in the future, the Company may ultimately record a loss after having originally
             concluded that the decline in value was temporary. The Company had no writedown of
             securities for other than temporary declines during 2003, 2002 or 2001.

             Short-term investments are recorded at cost, which approximates fair value. Short-term
             investments are those with original maturities of greater than three months but less than one
             year from date of purchase.

             Cash and Cash Equivalents
             The Company classifies demand deposits as cash. Cash equivalents are short-term, highly
             liquid investments with original maturities of three months or less.

             Deferred Acquisition Costs
             Acquisition costs incurred, that vary with and are directly related to the production of new
             business, are deferred. These costs include direct and indirect expenses such as commissions,
             brokerage expenses and costs of underwriting and marketing personnel. The Company's
             management uses judgment in determining what types of costs should be deferred, as well as
             what percentage of these costs should be deferred. The Company periodically conducts a
             study to determine which operating costs vary with, and are directly related to, the acquisition
             of new business and qualify for deferral. Acquisition costs other than those associated with
             the credit derivative products are deferred and amortized in relation to earned premiums.
             Ceding commissions received on premiums ceded to other reinsurers reduce acquisition
             costs. Anticipated losses, loss adjustment expenses and the remaining costs of servicing the
             insured or reinsured business are considered in determining the recoverability of acquisition
             costs. The Company regularly conducts reviews for potential premium deficiencies. There
             were no premium deficiencies for any of the reported years as the sum of anticipated losses,
             loss adjustment expenses and the remaining costs of servicing the insured or reinsured did not
             exceed the related unearned premium. Acquisition costs associated with credit derivative
             products are expensed as incurred.

             Reserve for Losses and Loss Adjustment Expenses
             Reserve for loss and loss adjustment expenses ("LAE") includes case reserves, incurred but
             not reported reserves ("IBNR") and portfolio reserves.

             Case reserves are established when specific insured obligations are in or near default. Case
             reserves represent the present value of expected future loss payments and LAE, net of
             estimated recoveries but before considering ceded reinsurance. Financial guaranty insurance
             and reinsurance case reserves are discounted at 6.0%, which is the approximate taxable
             equivalent yield on the investment portfolio in all periods presented.

             IBNR is an estimate of the amount of losses when the insured event has occurred but the
             claim has not yet been reported to the Company. In establishing IBNR, the Company uses
             traditional actuarial methods to estimate the reporting lag of such claims based on historical
             experience, claim reviews and information reported by ceding companies.

             In addition to IBNR, the Company records portfolio reserves for financial guaranty insurance
             and reinsurance, and credit derivative business. Portfolio reserves are established with
             respect to the portion of the Company's business for which case reserves have not been

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             established. Portfolio reserves are established in an amount equal to the portion of actuarially
             estimated ultimate losses related to premiums earned to date as a percentage of total expected
             premiums for that in-force business. Actuarially estimated ultimate losses on financial
             guaranty exposures are developed considering the net par outstanding of each insured
             obligation, taking account of the probability of future default, the expected timing of the
             default and expected recovery following default. These factors vary by type of issue (for
             example, municipal, structured finance or corporate), current credit rating and remaining term
             of the underlying obligation and are principally based on historical data obtained from rating
             agencies. During an accounting period, portfolio reserves principally increase or decrease
             based on changes in the aggregate net amount at risk and the probability of default resulting
             from changes in credit quality of insured obligations, if any.

             The Company updates its estimates of loss and LAE reserves quarterly. Loss assumptions
             used in computing losses and LAE reserves are periodically updated for emerging experience,
             and any resulting changes in reserves are recorded as a charge or credit to earnings in the
             period such estimates are changed. Due to the inherent uncertainties of estimating loss and
             LAE reserves, specifically for the high severity, low frequency financial guaranty business
             that the Company writes, actual experience may differ from the estimates reflected in our
             consolidated financial statements, and the differences may be material.

             Reinsurance
             In the ordinary course of business, the Company assumes and retrocedes business with other
             insurance and reinsurance companies. These agreements provide greater diversification of
             business and may minimize the net potential loss from large risks. Reinsurance contracts do
             not relieve the Company of its obligation to the reinsured. Reinsurance recoverable on ceded
             losses includes balances due from reinsurance companies for paid and unpaid losses and LAE
             that will be recovered from reinsurers, based on contracts in force, and is presented net of any
             provision for estimated uncollectible reinsurance. Any change in the provision for
             uncollectible reinsurance is included in loss and loss adjustment expenses. Prepaid
             reinsurance premiums represent the portion of premiums ceded to reinsurers relating to the
             unexpired terms of the reinsurance contracts in force.

             Certain of the Company's assumed and ceded reinsurance contracts are funds held
             arrangements. In a funds held arrangement, the ceding company retains the premiums instead
             of paying them to the reinsurer and losses are offset against these funds in an experience
             account. Because the reinsurer is not in receipt of the funds, the reinsurer earns interest on
             the experience account balance at a predetermined credited rate of interest. The Company
             generally earns interest at fixed rates of between 4% and 6% on its assumed funds held
             arrangements and generally pays interest at fixed rates of between 4% and 6% on its ceded
             funds held arrangements. The interest earned or credited on funds held arrangements is
             included in net investment income. In addition, interest on funds held arrangements will
             continue to be earned or credited until the experience account is fully depleted, which can
             extend many years beyond the expiration of the coverage period.

             Goodwill
             Goodwill of $94.6 million arose from ACE's acquisition of the Company as of December 31,
             1999 and was being amortized over a period of twenty-five years. Beginning January 1,
             2002, goodwill is no longer amortized, but rather is evaluated for impairment at least
             annually. Management has determined that goodwill is not impaired at December 31, 2003.




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             The following table reconciles reported net income to adjusted net income excluding
             goodwill amortization.

                                                                For the Years Ended December 31,
              (in thousands)                                   2003            2002         2001
              Reported net income                             $ 105,175      $ 45,643     $ 43,576
              Add back: goodwill amortization                          -             -           3,785
              Adjusted net income                             $ 105,175      $ 45,643     $ 47,361

             The following table details goodwill by segment as of December 31, 2003 and 2002:

              (in thousands)
              Financial guaranty direct                                                        $   14,748
              Financial guaranty reinsurance                                                       70,669
              Mortgage guaranty                                                                         -
              Other                                                                                 1,645
                                                                                               $   87,062

             Income Taxes
             In accordance with FAS No. 109, "Accounting for Income Taxes", deferred income taxes are
             provided for with respect to the temporary differences between the financial statement
             carrying amounts and tax bases of assets and liabilities, using enacted rates in effect for the
             year in which the differences are expected to reverse. Such temporary differences relate
             principally to deferred acquisition costs, reserve for losses and LAE, unearned premium
             reserve, unrealized gains and losses on investments, unrealized gains and losses on derivative
             financial instruments and statutory contingency reserve.

             Stock Based Compensation
             Stock based compensation is based on ACE stock. The Company accounts for stock-based
             compensation plans in accordance with APB No. 25. No compensation expense for options
             is reflected in net income, as all options granted under the plan had an exercise price equal to
             the market value of the underlying common stock on the date of the grant. Pro forma
             information regarding net income is required by FAS No. 123, "Accounting for Stock-Based
             Compensation." In December 2002, FASB issued FAS No. 148, "Accounting for Stock-
             Based Compensation—Transition and Disclosure." FAS 148 amends the disclosure
             requirements of FAS 123 to require prominent disclosure in financial statements regarding
             the method of accounting for stock-based compensation and the effect of the method used on
             reported results.

             For restricted stock awards, the Company records the market value of the shares awarded at
             the time of the grant as unearned stock grant compensation and includes it as a separate
             component of stockholder's equity. The unearned stock grant compensation is amortized into
             income ratably over the vesting period.

             The following table outlines the Company's net income for the years ended December 31,
             2003, 2002 and 2001, had the compensation cost been determined in accordance with the fair
             value method recommended in FAS 123.




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                                                                      For the Years Ended December 31,
              (in thousands)                                         2003            2002          2001

              Net income as reported                             $    105,175     $   45,643       $   43,576
              Add: Stock-based compensation expense
                  included in reported net income, net of
                  income tax                                              811            517              213
              Deduct: Compensation expense, net of income
                  tax                                                   2,260          1,629              621
              Pro Forma                                          $    103,726     $   44,531       $   43,168

             The fair value of ACE options issued is estimated on the date of grant using the Black-
             Scholes option-pricing model, with the following weighted-average assumptions used for
             grants in 2003, 2002 and 2001, respectively: dividend yield of 2.4%, 1.43%, and 1.65%;
             expected volatility of 32.4%, 35.2%, and 42.8%; risk free interest rate of 2.4%, 4.01%, and
             4.84% and an expected life of four years for each year.

     3.      Recent Accounting Pronouncements

             In May 2003, Financial Accounting Standards Board ("FASB") issued FAS No. 150,
             "Accounting for Certain Financial Instruments with Characteristics of both Liabilities and
             Equity" ("FAS 150"), which establishes standards for classifying and measuring certain
             financial instruments with characteristics of both liabilities and equity. FAS 150 requires the
             classification of a financial instrument that is within its scope as a liability (or an asset in
             some circumstances). FAS 150 is effective for financial instruments entered into or modified
             after May 31, 2003, and otherwise is effective at the beginning of the first interim period
             beginning after June 15, 2003. The adoption of FAS 150 had no impact on the consolidated
             financial statements.

             In April 2003, the FASB issued FAS No. 149, "Amendment of FASB Statement No. 133 on
             Derivative Instruments and Hedging Activities." This statement amends and clarifies
             financial accounting and reporting for derivative instruments, including certain derivative
             instruments embedded in other contracts (collectively referred to as derivatives) and for
             hedging activities under FAS No. 133, "Accounting for Derivative Instruments and Hedging
             Activities." This statement improves financial reporting by requiring that contracts with
             comparable characteristics be accounted for similarly. For example, this statement requires
             that financial guaranty insurance, for which the underlying risk is linked to a derivative, be
             accounted for as a derivative. This statement is effective for contacts entered into or
             modified after June 30, 2003, except for the provisions of this Statement that relate to FAS
             No. 133 implementation issues that have been effective for fiscal quarters that began prior to
             June 15, 2003, and for hedging relationships designated after June 30, 2003. All provisions
             are to be applied prospectively, except for the provisions of this Statement that relate to FAS
             No. 133 implementation issues that have been effective for fiscal quarters that began prior to
             June 15, 2003. These provisions are to be applied in accordance with their respective
             effective dates. The adoption of FAS 149 did not have a material impact on the consolidated
             financial statements.

             In January 2003, the FASB issued FAS Interpretation No. 46, "Consolidation of Variable
             Interest Entities" ("FIN 46"), as an interpretation of Accounting Research Bullet No. 51,
             "Consolidated Financial Statements." FIN 46 addresses consolidation of variable interest


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             entities (VIEs) by business enterprises. An entity is considered a VIE subject to
             consolidation if the equity investment at risk is not sufficient to permit the entity to finance its
             activities without additional subordinated financial support or if the equity investors lack one
             of three characteristics of a controlling financial interest. First, the equity investors lack the
             ability to make decisions about the entity's activities through voting rights or similar rights.
             Second, they do not bear the obligation to absorb the expected losses of the entity if they
             occur. Lastly, they do not claim the right to receive expected returns of the entity if they
             occur, which are the compensation for the risk of absorbing the expected losses. FIN 46
             requires that VIEs be consolidated by the entity that maintains the majority of the risks and
             rewards of ownership. This Interpretation applies immediately to VIEs created after January
             31, 2003 and to VIEs in which an enterprise obtains an interest after that date. FASB
             deferred the effective date of FIN 46 until the end of the first interim or annual period ending
             after December 15, 2003 for VIEs created before February 1, 2003. The adoption of FIN 46
             had no impact on the consolidated financial statements.

     4.      Derivatives

             The Company adopted FAS No. 133, "Accounting for Derivative Instruments and Hedging
             Activities" ("FAS 133"), which established accounting and reporting standards for derivative
             instruments, including certain derivative instruments embedded in other contracts
             (collectively referred to as derivatives), and for hedging activities as of January 1, 2001. FAS
             133 requires that an entity recognize all derivatives as either assets or liabilities in the
             consolidated balance sheets and measure those instruments at fair value. If certain conditions
             are met, a derivative may be specifically designated as a fair value, cash flow or foreign
             currency hedge. The accounting for changes in the fair value of a derivative depends on the
             intended use of the derivative and the resulting designation. The Company had no derivatives
             that were designated as hedges during 2003, 2002 and 2001.

             Certain products (principally credit protection oriented) issued by the Company have been
             deemed to meet the definition of a derivative under FAS 133. These products consist
             primarily of credit derivatives. In addition, the Company issued a few index-based derivative
             financial instruments. The Company uses derivative instruments primarily to offer credit
             protection to others. Effective January 1, 2001, the Company records these transactions at
             fair value. Where available; we use quoted market prices to fair value these insured credit
             derivatives. If quoted prices are not available, particularly for senior layer collateralized debt
             obligations ("CDO") and equity layer credit protection, the fair value is estimated using
             valuation models for each type of credit protection. These models may be developed by third
             parties, such as rating agency models, or may be developed internally, depending on the
             circumstances. These models and the related assumptions are continually reevaluated by
             management and enhanced, as appropriate, based upon improvements in modeling techniques
             and availability of more timely market information. The fair value of derivative financial
             instruments reflects the estimated cost to the Company to purchase protection on its
             outstanding exposures and is not an estimate of expected losses incurred. Due to the inherent
             uncertainties of the assumptions used in the valuation models to determine the fair value of
             these derivative products, actual experience may differ from the estimates reflected in our
             consolidated financial statements, and the differences may be material.

             The Company records premiums received from the issuance of derivative instruments in
             gross written premiums and establishes unearned premium reserves and loss reserves. These
             loss reserves represent the Company's best estimate of the probable losses expected under
             these contracts. Unrealized gains and losses on derivative financial instruments are computed

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             as the difference between fair value and the total of the unearned premium reserves, losses
             and LAE reserve, premiums receivable, prepaid reinsurance premiums and reinsurance
             recoverable on ceded losses. Changes in unrealized gains and losses on derivative financial
             instruments are reflected in the statement of operations. Cumulative unrealized gains and
             losses are reflected as assets and liabilities, respectively, in the Company's balance sheets.
             Unrealized gains and losses resulting from changes in the fair value of derivatives occur
             because of changes in interest rates, credit spreads, recovery rates, the credit ratings of the
             referenced entities and other market factors. In the event that we terminate a derivative
             contract prior to maturity as a result of a decision to exit a line of business or for risk
             management purposes, the unrealized gain or loss will be realized through premiums earned
             and losses incurred.

             As of January 1, 2001, the Company recorded an expense related to the cumulative effect of
             adopting FAS 133 of $22.8 million, net of applicable deferred income tax benefit of $12.3
             million.

             The Company recorded a pretax net unrealized gain on derivative financial instruments of
             $48.5 million for the year ended December 31, 2003, a pretax net unrealized loss on
             derivative financial instruments of $37.0 million for the year ended December 31, 2002 and a
             pretax net unrealized gain on derivative financial instruments of $5.1 million for the year
             ended December 31, 2001.

             The following table summarizes activities related to derivative financial instruments (dollars
             in thousands of U.S. dollars):

              Balance sheets as of December 31,                              2003              2002

              Assets
              Prepaid reinsurance premiums                               $          271   $           387

              Liabilities
              Unearned premium reserve                                            7,078            6,559
              Reserve for losses and LAE                                         15,500            2,452
              Unrealized losses on derivative financial
                  instruments                                                    18,482           67,023
                       Net liability - fair value of derivative
                          financial instruments                              $   40,789    $      75,647

              Statements of operations for the years ended
                  December 31,                                           2003             2002                  2001

              Net written premiums                                   $     39,573         $      13,714     $     3,981
              Net premiums earned                                          38,936                10,820           1,959
              Loss and loss adjustment expenses                          (11,714)             (131,162)         (2,355)
              Unrealized gains (losses) on derivative
                  financial instruments                                   48,541               (36,998)          5,051
                        Total impact of derivative financial
                           instruments                               $    75,763          $ (157,340)       $    4,655




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     5.      Statutory Accounting Practices

             These financial statements are prepared on a GAAP basis, which differs in certain respects
             from accounting practices prescribed or permitted by the insurance regulatory authorities,
             including the Maryland Insurance Department.

             Statutory capital and surplus as of December 31, 2003 and 2002 was $255.6 million and
             $287.0 million, respectively. Statutory net income for the years ended December 31, 2003,
             2002 and 2001 was $66.7 million, $46.3 million and $45.0 million, respectively.

             There are no permitted accounting practices on a statutory basis.

     6.      Insurance in Force – Financial Guaranty

             At December 31, 2003 and 2002, net financial guaranty par in force including insured credit
             default swaps ("CDS") was approximately $78.4 billion and $72.3 billion, respectively. The
             portfolio was broadly diversified by payment source, geographic location and maturity
             schedule, with no single risk representing more than 1.2% of the total net par in force. The
             composition by sector was as follows:

              Sectors                                                              Net Par in Force
                                                                                    December 31,
                                                                                  2003         2002
              (dollars in billions)
              Municipal Exposure
              Tax-backed                                                          $19.4        $18.2
              Municipal utilities                                                   9.9          9.1
              Healthcare                                                            5.6          5.6
              Special revenue                                                       8.1          7.7
              Structured municipal                                                  2.5          2.6
              Other municipals                                                      2.2          2.1
                         Total Municipal                                          $47.7        $45.3

              Non-Municipal Exposure
              Collateralized debt obligations                                     $13.7        $10.2
              Consumer receivables                                                  8.3          7.8
              Single name corporate CDS                                             2.3          4.2
              Commercial receivables                                                5.1          3.4
              Other structured finance                                              1.3          1.4
                         Total Non-Municipal                                     $ 30.7       $ 27.0
                         Total Exposure                                          $ 78.4       $ 72.3

             Maturities for municipal obligations range from 1 to 30 years, with the typical life in the 12 to
             15 year range. Non-municipal transactions have legal maturities that range from 1 to 30
             years with a typical life of 5 to 7 years. Maturities on single name corporate CDSs range
             from 1 to 5 years with an average remaining maturity of 1.7 years as of December 31, 2003.




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             The portfolio contained exposures in each of the 50 states and abroad. The distribution of net
             financial guaranty par outstanding by geographic location is set forth in the following table:

                                                As of December 31, 2003         As of December 31, 2002
                                                Net Par                          Net Par
                                                                 %                               %
                                               Outstanding                     Outstanding
  Domestic
  California                                      $6.4            8.2%             $6.1            8.5%
  New York                                         4.8            6.1%              4.6            6.3%
  Texas                                            3.1            4.0%              3.0            4.2%
  Illinois                                         2.6            3.3%              2.6            3.6%
  Florida                                          2.6            3.3%              2.8            3.9%
  New Jersey                                       2.1            2.6%              2.0            2.8%
  Pennsylvania                                     2.0            2.6%              2.1            3.0%
  Massachusetts                                    1.8            2.3%              1.8            2.5%
  Puerto Rico                                      1.7            2.2%              1.4            1.9%
  Washington                                       1.4            1.8%              1.3            1.8%
  Ohio                                             1.1            1.4%              1.2            1.6%
  Other - Muni                                    16.1           20.6%             14.4           20.0%
  Other Non Muni                                  27.1           34.5%             25.1           34.7%
           Total domestic expenses                72.8           92.9%             68.4           94.8%
  International
  United Kingdom                                   2.4             3.1%             1.5             2.1%
  Italy                                            0.4             0.5%             0.2             0.2%
  Australia                                        0.4             0.5%             0.1             0.1%
  France                                           0.3             0.4%             0.3             0.4%
  Brazil                                           0.3             0.4%             0.2             0.2%
  Japan                                            0.2             0.3%             0.5             0.7%
  Other                                            1.6             1.9%             1.1             1.5%
           Total international
           exposures                               5.6             7.1%             3.9             5.2%
         Total exposures                         $78.4          100.0%            $72.3          100.0%

             The following table sets forth the financial guaranty in-force portfolio by underwriting rating:

                                       As of December 31, 2003                As of December 31, 2002
                                      Net Par        % Total Net             Net Par       % Total Net
                                     Outstanding   Par Outstanding          Outstanding  Par Outstanding
  Ratings
  AAA                                  $22.2                28.4%              $16.1               22.3%
  AA                                    16.1                20.6%               14.1               19.5%
  A                                     27.1                34.6%               30.4               42.0%
  BBB                                   11.5                14.6%               11.1               15.3%
  Below investment grade                 1.5                 1.8%                0.6                0.9%
  Total exposures                      $78.4               100.0%              $72.3              100.0%

             As part of its financial guaranty business, the Company insures CDS transactions written by
             its affiliate AGR Financial Products, whereby one party pays a periodic fee in fixed basis
             points on a notional amount in return for a contingent payment by the other party in the event


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               one or more defined credit events occurs with respect to one or more third party reference
               securities or loans. A credit event may be a nonpayment event such as a failure to pay,
               bankruptcy, or restructuring, as negotiated by the parties to the CDS transaction. The total
               notional amount of insured investment grade CDS exposure outstanding at December 31,
               2003 and 2002 and included in the Company's financial guaranty exposure was $19.5 billion
               and $17.0 billion, respectively.

      7.       Investments in Securities

               The following summarizes the Company's aggregate investment portfolio at December 31,
               2003:

                                                                     Gross          Gross
                                                     Amortized     Unrealized     Unrealized        Estimated
                                                       Cost          Gains         Losses           Fair Value
  (dollars in thousands)
  Fixed maturity securities available for sale
  U.S. Treasury securities and obligations of U.S.
   government agencies                               $   47,975    $    1,986    $        -     $    49,961
  Obligations of states and political subdivisions      701,988        59,204           693        760,499
  Corporate Securities                                   98,660         5,615           507        103,768
  Mortgage-backed securities                            192,258         4,191           649        195,800
  Asset-backed securities                                16,163           558            26         16,695
       Total available-for-sale                       1,057,044        71,554         1,875      1,126,723
  Short-term investments                                 55,078                           -         55,078
       Total investments                             $1,112,122    $ 71,554      $    1,875     $ 1,181,801

               The following summarizes the Company's aggregate investment portfolio at December 31,
               2002:

                                                                     Gross          Gross
                                                     Amortized     Unrealized     Unrealized        Estimated
                                                       Cost          Gains         Losses           Fair Value
  (dollars in thousands)
  Fixed maturity securities available for sale
  U.S. Treasury securities and obligations of U.S.
   government agencies                               $ 73,000      $  4,936       $     -       $    77,936
  Obligations of states and political subdivisions     543,122       47,573            53          590,642
  Corporate securities                                  69,426        6,247             1           75,672
  Mortgage-backed securities                           181,675        5,110            38          186,747
  Asset-backed securities                               29,152          919            11           30,060
       Total available-for-sale                        896,375       64,785           103          961,057
  Short-term investments                                52,384            -             -           52,384
       Total investments                             $ 948,759     $ 64,785      $    103       $ 1,013,441

               The amortized cost and estimated fair value of fixed maturity securities available-for-sale at
               December 31, 2003, by contractual maturity, are shown below. Expected maturities will
               differ from contractual maturities because borrowers may have the right to call or prepay
               obligations with or without call or prepayment penalties.




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                                                                                                       Estimated
                                                                            Amortized Cost             Fair Value
              (dollars in thousands)
              Maturity
              Due within one year                                              $   14,098          $    14,190
              Due in 2005-2008                                                    100,587              103,394
              Due in 2009-2013                                                    168,524              181,600
              Due after 2013                                                      581,577              631,739
              Mortgage-backed securities                                          192,258              195,800
                                                                              $ 1,057,044          $ 1,126,723

             Realized gains and (losses) were as follows:

                                                                            Years Ended December 31,
              (dollars in thousands)                                 2003              2002          2001
              Fixed maturities
              Gains                                                 $ 2,791             $ 7,915             $20,335
              Losses                                                   (699)             (1,027)            (10,132)
                                                                      2,092               6,888              10,203
              Fair value adjustment on derivative financial
                 instruments                                         48,541             (36,998)              5,051
                      Net realized (losses) gains                   $50,633            $(30,110)            $15,254

             None of the realized losses in 2003, 2002 or 2001 were from other than temporary declines in
             a securities fair value.

             Approximately 16.6% of the Company's total investment portfolio at December 31, 2003 was
             composed of mortgage-backed securities ("MBS"), including collateralized mortgage
             obligations and commercial mortgage–backed securities. Of the securities in the MBS
             portfolio, approximately 84.1% were backed by agencies or entities sponsored by the U.S.
             government. As of December 31, 2003, the weighted average credit quality of the
             Company's entire investment portfolio was AA+.

             The following table summarizes, for all securities in an unrealized loss position at December
             31, 2003, the aggregate fair value and gross unrealized loss by length of time the amounts
             have continuously been in an unrealized loss position.



                                                                                    Less than 12 Months
              (dollars in thousands)                                               Fair           Unrealized
                                                                                   Value            Loss
              U.S. Treasury securities and obligations of U.S.
                 government agencies                                           $       -           $        -
              Obligations of states and political subdivisions                     50,337                (699)
              Corporate securities                                                 31,348                (501)
              Mortgage-backed securities                                           55,832                (649)
              Asset-backed securities                                               3,208                 (26)
              Total                                                            $ 140,725           $ (1,875)

             Included above are 44 fixed maturity securities. The Company has considered factors such as
             sector credit ratings and industry analyst reports in evaluating the above securities for

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             impairment and has concluded that these securities are not other than temporarily impaired as
             of December 31, 2003. As of December 31, 2003, no investments were in a continuous
             unrealized loss position for greater than 12 months.

             Net investment income is derived from the following sources:

                                                                         Years Ended December 31,
              (dollars in thousands)                             2003               2002          2001
              Income from fixed maturity securities           $47,422           $46,648          $43,738
              Income from short-term investments                  906               865            3,515
                 Total investment income                       48,328            47,513           47,253
              Less investment expenses                         (1,172)             (783)            (766)
                 Net investment income                        $47,156           $46,730          $46,487

             Under agreements with its cedents and in accordance with statutory requirements, the
             Company maintains fixed maturity securities in trust accounts for the benefit of reinsured
             companies and for the protection of policyholders, generally in states in which the Company
             or its subsidiaries, as applicable, are not licensed or accredited. The carrying amount of such
             restricted balances amounted to approximately $63.9 million and $62.4 million at December
             31, 2003 and 2002, respectively.

             As part of its insured CDS business, the Company is party to certain contractual agreements
             that require collateral to be posted for the benefit of either party depending on ratings of the
             parties to the agreement and mark-to-market movements relative to applicable specified
             thresholds of the insured swap transactions. As of December 31, 2003, the Company was not
             required to post collateral for the benefit of CDS customers.

             The Company is not exposed to significant concentrations of credit risk within its investment
             portfolio.

             No material investments of the Company were non-income producing for the years ended
             December 31, 2003 and 2002.

     8.      Reserves for Unpaid Losses and Loss Adjustment Expenses

             The following table provides a reconciliation of the beginning and ending reserve balances
             for unpaid losses and LAE:




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              (dollars in thousands)                                           Years Ended December 31,
                                                                           2003          2002         2001

              Reserves for unpaid losses and LAE, net of related
                 reinsurance recoverables, at beginning of year         $ 63,736     $ 70,076       $ 64,833
              Add
              Provision for unpaid losses and LAE for claims
                 occurring in the current year, net of reinsurance        23,369        35,506        12,991
              Increase (decrease) in estimated losses and LAE for
                 claims occurring in prior years, net of reinsurance      33,337       (10,993)        (7,116)
                       Incurred losses during the current year, net
                          of reinsurance                                  56,706        24,513         5,875
              Deduct
              Losses and LAE payments (net of recoverables) for
                 claims occurring in the current year                      3,284       27,799          5,884
              Income (losses) and LAE payments (net of
                 recoverables) for claims occurring in the prior year     10,079        3,054          (5,252)
                                                                          13,363       30,853             632
              Reserve for unpaid losses and LAE, net of related
                 reinsurance recoverables, at end of year                107,079       63,736         70,076
              Unrealized foreign exchange (gain) loss on reserve
                 revaluation                                               3,180          805           (143)
              Reinsurance recoverable on unpaid losses and LAE,
                 at end of year                                                –       11,420            588
                       Reserve for unpaid losses and LAE, gross of
                          reinsurance recoverables on unpaid losses
                          at end of year                                $ 110,259    $ 75,961       $ 70,521

             The prior year adverse development in 2003 of $33.3 million in the provision for losses and
             LAE is due primarily to an increase in case activity on the structured finance line of business
             due to credit deterioration in collateralized debt obligations assumed through reinsurance
             treaties.

             In 2002, the favorable prior year development of $11.0 million in the provision for losses and
             LAE relates primarily to higher than previously estimated salvage on a non-municipal
             transaction and favorable development in the trade credit reinsurance line of business.

             The favorable prior year development in 2001 of $7.1 million in the provision for losses and
             LAE relates primarily to the favorable development of $9.6 million in the credit derivative
             line of business.

     9.      Income Taxes

             ACE Financial Services Inc. ("AFS"), the Company's direct parent and its direct and indirect
             U.S. subsidiaries, ACE Guaranty Corp, ACE Risk Assurance Company, ACE Asset
             Management, AGR Financial Products and AFP Transferor Inc. prepare a consolidated
             federal income tax return with ACE Prime Holding Inc., an immediate owner of the
             Corporation. Each company pays its proportionate share of the consolidated federal tax
             burden, the proportion determined by reference to the amount a company would have been
             liable to pay, had such company filed on a separate return basis with current credit for net
             losses to the extent such losses are utilizable on a separate company basis. The Company's
             effective federal tax rate for 2003 is 29%.



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             Reconciliation from the tax provision calculated at the federal statutory rate of 35% in 2003,
             2002 and 2001 to the total tax is as follows:

              (dollars in thousands)                                         Years Ended December 31,
                                                                    2003                2002          2001

              Tax provision at statutory rate                     $51,722           $19,625         $32,256
              Tax-exempt interest                                  (8,990)           (8,297)         (7,053)
              Other                                                  (129)             (901)            582
                      Total federal income tax provision          $42,603           $10,427         $25,785

             The deferred federal income tax liability reflects the tax effect of the following temporary
             differences:

              (dollars in thousands)                                           Years Ended December 31,
                                                                                2003            2002
              Deferred tax assets
              Portfolio reserves                                              $ 16,835         $ 15,243
              Tax and loss bonds                                                16,071           16,071
              Fair value of derivative financial instruments                     6,469           23,458
              Other                                                                689              582
                       Total deferred tax assets                                40,064           55,354

              Deferred tax liabilities
              Deferred acquisition costs                                         51,424          47,559
              Contingency reserve                                                28,124          28,124
              Unearned premium revenue                                           14,063          10,600
              Unrealized gain on fixed maturity securities
                available for sale                                               24,388          22,638
                      Total deferred tax liabilities                            117,999         108,921

                       Net deferred liability for federal
                              income taxes                                    $ 77,935         $ 53,567



             Under the terms of the tax sharing agreement the Company's current income tax payable to
             AFS was $6.4 million and $8.5 million at December 31, 2003 and 2002, respectively.
             Income taxes paid in 2003, 2002 and 2001, were $16.4 million, $10.8 million and $7.3
             million, respectively.

     10.     Reinsurance

             To limit its exposure on assumed risks, the Company enters into certain proportional and non-
             proportional retrocessional agreements with other insurance companies, primarily ACE
             subsidiaries, that cede a portion of the risk underwritten to other insurance companies. In the
             event that any or all of the reinsurers are unable to meet their obligations, the Company
             would be liable for such defaulted amounts. Direct, assumed, and ceded reinsurance amounts
             were as follows:




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              (dollars in thousands)                              For the years ended December 31,
                                                                2003              2002          2001
              Premiums written
              Direct                                        $ 40,992         $ 16,419          $   1,829
              Assumed                                         178,931          138,660          118,967
              Ceded                                            36,623          (31,367)          (31,798)
                      Net                                   $ 256,546        $ 123,712         $ 88,998
              Premiums earned
              Direct                                          $38,921          $11,922             $554
              Assumed                                         144,526          114,557            89,909
              Ceded                                            (8,049)         (14,966)          (12,801)
                      Net                                   $ 175,398        $ 111,513         $ 77,662
              Loss and loss adjustment expenses
              Direct                                          $14,464          $18,398           $2,355
              Assumed                                          45,081           17,454            4,121
              Ceded                                            (2,839)         (11,339)            (601)
                      Net                                   $ 56,706         $ 24,513          $  5,875

             Reinsurance recoverable on ceded unpaid losses and LAE as of December 31, 2002 was
             $11.4 million. As of December 31, 2003 the Company had no reinsurance recoverable on
             ceded unpaid losses. See Note 12 for further information on ceded premiums.

     11.     Insurance Regulations

             Under Maryland's 1993 revised insurance law, the amount of surplus available for
             distribution as dividends is subject to certain statutory provisions, which generally prohibit
             the payment of dividends in any twelve-month period in an aggregate amount exceeding the
             lesser of 10% of surplus or net investment income (at the preceding December 31) without
             prior approval of the Maryland Commissioner of Insurance. The amount available for
             distribution from the Company during 2004 with notice to, but without prior approval of, the
             Maryland Commissioner of Insurance under the Maryland insurance law is approximately
             $25.6 million. During the years ended December 31, 2003, 2002 and 2001, the Company
             paid $10.0 million, $8.0 million and $5.5 million, respectively, in dividends to ACE
             Financial.

             Going forward the Company has committed to S&P and Moody's that it will not pay more
             than $10.0 million per year in dividends.

             Under Maryland insurance regulations, the Company is required at all times to maintain a
             minimum surplus of $750,000.

     12.     Intercompany Transactions

             Expense Sharing Agreements
             Effective October 2000, and amended January 1, 2003, the Company entered into an
             agreement with ACE Capital Re Overseas Ltd. ("ACRO"), an affiliate of the Company under
             common ownership of ACE pursuant to which certain expenses for employee salaries and
             shared resources such as office space, office supplies and management information system
             services are allocated to each company according to annual predetermined percentages. The
             percentages are determined based on each company's weighted average salary expense. For
             the years ended December 31, 2003, 2002 and 2001, the Company was paid $9.6 million,


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             $9.2 million and $6.2 million, respectively, under its expense sharing agreements. On
             January 1, 2003, the Company entered into a service agreement with ACE Asset Management
             Inc. ("AAM"). Under the agreement, AAM reimburses the Company for its direct expenses
             and a portion of office overhead expenses. In 2003, the Company was paid approximately
             $1.0 million under its expense sharing agreement with AAM.

             The Company is also party to various inter-company service agreements whereby it provides
             support services (credit analysis, surveillance, accounting, MIS, legal and administrative
             services) to certain affiliates. Under these agreements, the Company received $1.3 million,
             $1.1 million and $0.3 million in service fee income for the years ended December 31, 2003,
             2002 and 2001, respectively.

             In addition to expense sharing agreements, the Company entered into an employee leasing
             agreement with ACE American Insurance Company ("ACE INA"), an affiliate. ACE INA is
             a Pennsylvania stock insurance company. Under the agreement, the Company provides
             staffing services to ACE INA. In return, the Company is reimbursed for compensation costs.
             For the years ended December 31, 2003, 2002 and 2001, the Company was paid
             approximately $11.2 million, $8.3 million and $6.8 million, respectively, under leasing
             agreements.

             Included in other assets in the balance sheets are $4.5 million and $5.0 million as of
             December 31, 2003 and 2002, respectively, for intercompany receivables.

             As of the IPO date, all of the above agreements have been terminated. New agreements are
             being finalized between the Company and other subsidiaries of Assured Guaranty that will
             become effective during 2004.

             Reinsurance Agreements
             In September 2001, the Company entered into an excess of loss reinsurance agreement with
             ACE Bermuda which was effective January 1, 2001. Under the terms of the agreement, the
             Company paid $52.5 million in premium in two installments of $27.5 million and $25.0
             million in September 2001 and March 2002, respectively, for a 10-year cover with a $150.0
             million limit. In June 2003, this agreement was canceled and the unearned premium of $39.8
             million, loss reserves of $12.5 million and profit commission of $1.5 million were returned to
             the Company. This agreement was not replaced with a third party reinsurance contract. The
             Company ceded losses of $2.5 million and $10.0 million in 2003 and 2002, respectively,
             under this cover.

             The Company cedes business to affiliated entities under certain reinsurance agreements.
             Amounts deducted from the premiums, losses and commissions in 2003, 2002 and 2001 for
             reinsurance ceded to affiliates are reflected in the table below.

              (dollars in thousands)                            2003              2002            2001

              Ceded Activity
              Written premium                                $(38,409)         $28,327          $29,982
              Earned premium                                    4,715            9,111            8,227
              Losses and LAE incurred                           2,839           11,339              420
              Commissions incurred                                 57               71              111
              Unearned premium reserve                          2,113           45,238           26,022
              Unpaid losses and LAE                                 –           11,419              406



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             The Company also writes business with affiliated entities under insurance and reinsurance
             agreements. The approximate amounts included in premiums, losses and commissions in
             2003, 2002 and 2001 for business assumed from affiliates are reflected in the table below.

              (dollars in thousands)                             2003              2002             2001

              Gross Activity
              Written premium                                 $51,637           $44,096           $28,410
              Earned premium                                   53,512            37,852            23,905
              Losses and LAE incurred                             701            22,449             4,139
              Commissions incurred                              1,340               626                35
              Unearned premium reserve                          9,920            11,796             4,376
              Unpaid losses and LAE                                 –            10,849             5,651

     13.     Commitments and Contingencies

             At December 31, 2003, future minimum rental payments under the terms of the Company's
             non-cancelable operating leases for office space are $3.3 million for years 2004-2005, $3.4
             for the year 2006, $3.3 million for years 2007-2008 and $3.1 million in the aggregate
             thereafter. These payments are subject to escalations in building operating costs and real
             estate taxes. Rent expense amounted to approximately $3.2 million in 2003 and $2.5 million
             in 2002. Rent expense is shared with ACRO pursuant to the agreement discussed in Note 12.

             Various lawsuits have arisen in the ordinary course of the Company's business. Contingent
             liabilities arising from litigation, income tax and other matters are not considered material in
             relation to the Company's financial position, results of operations or liquidity.

     14.     Concentrations

             Of the Company's total gross premiums written for the year ended December 31, 2003,
             27.7% and 16.0% came from Municipal Bond Investors Assurance Company and Financial
             Security Assurance, respectively, two of four monoline primary financial guaranty
             companies. The Company's client base includes all six monolines, many banks and several
             European insurance and reinsurance companies.

     15.     Credit Facilities

             As of December 31, 2003, the Company had entered into the following credit facilities, which
             were available for general corporate purposes:

             (i)     A liquidity facility established for the benefit of ACE and certain of its subsidiaries.
                     The overall facility was a 364-day credit agreement in the amount of $500.0 million
                     with a syndicate of banks. The Company had a $50.0 million participation in the
                     facility. Due to the IPO, as of April 2, 2004, this facility was replaced.

             (ii)    A 364-day credit agreement in the amount of $140.0 million with a syndicate of the
                     banks. Under the terms of this liquidity facility the Company would have been
                     required to pledge collateral to one of the syndicate banks, if the amount of collateral
                     posted for the benefit of the Company's credit default swap counterparties exceeded
                     11% of the Company shareholders' equity. In such case an amount equal to that
                     excess was to have been pledged for the benefit of the syndicate banks. As of


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                     December 31, 2003, the Company had not posted any collateral under this covenant.
                     Due to the IPO, as of April 28, 2004 this facility was replaced.

             (iii)   A $75.0 million line of credit facility and a $50.0 million line of credit facility from
                     subsidiaries of ACE. Due to the IPO, as of April 28, 2004 this facility was replaced.

             As of December 31, 2003, the Company has not drawn any amounts under these credit
             facilities.

             To replace the general corporate purpose credit facilities, Assured Guaranty entered into a
             $250.0 million unsecured credit facility ("$250.0 million credit facility") on April 29, 2004,
             with a syndicate of banks, for which ABN AMRO Incorporated and Bank of America (an
             affiliate of Banc of America Securities LLC) acted as co-arrangers to which each of Assured
             Guaranty, the Company and Assured Guaranty (UK) Ltd., a subsidiary of Assured Guaranty
             organized under the laws of the United Kingdom, is a party, as borrower. The $250.0 million
             credit facility is a 364-day day facility and any amounts outstanding under the facility at its
             expiration will be due and payable one year following the facility's expiration. Under the
             $250.0 million credit facility, the Company can borrow up to $250.0 million, Assured
             Guaranty has a borrowing limit not to exceed $50.0 million, and Assured Guaranty (UK) Ltd.
             has a borrowing limit not to exceed $12.5 million.

             As of December 31, 2003, the Company was party to a non-recourse credit facility with a
             syndicate of banks, which provided up to $175.0 million. This facility was specifically
             designed to provide rating agency qualified capital to further support the Company's claim
             paying resources. This agreement is due to expire November 2010. As of December 31,
             2003, the Company had not drawn any amounts under this credit facility.

     16.     Fair Value of Financial Instruments

             The following methods and assumptions were used by the Company in estimating its fair
             value disclosure for financial instruments. These determinations were made based on
             available market information and appropriate valuation methodologies. Considerable
             judgment is required to interpret market date to develop the estimates and therefore, they may
             not necessarily be indicative of the amount the Company could realize in a current market
             exchange.

             Fixed Maturity Securities
             The fair value for fixed maturity securities shown in Note 7 is based on quoted market prices.

             Cash and Short-Term Investments
             The carrying amount reported in the balance sheet for these instruments is cost, which
             approximates fair value due to the short-term maturity of these instruments.

             Unearned Premium Reserve
             The fair value of the Company's unearned premium reserve is based on the estimated cost of
             entering into a cession of the entire portfolio with third party reinsurers under current market
             conditions. This figure was determined by using the statutory basis unearned premium
             reserve, net of deferred acquisition costs.




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             Financial Guaranty Installment Premiums
             The fair value is derived by calculating the present value of the estimated future cash flow
             stream discounted at 6.0%.

                                                           As of December 31, 2003   As of December 31, 2002
                                                           Carrying     Estimated    Carrying     Estimated
                                                            Amount     Fair Value     Amount     Fair Value
            (In thousands of U.S. dollars)

            Assets
            Fixed maturity securities                      $1,126,723   $1,126,723    $961,057     $961,057
            Cash and short-term investments                    73,087       73,087      55,465       55,465

            Liabilities
            Unearned premium reserve                         389,027      347,178      352,551       259,237
            Off-Balance Sheet Instruments
               Financial guaranty installment premiums             –      293,339            –       220,417


     17.     Employee Benefit Plans

             Defined Contribution Plan
             The Company maintains a savings incentive plan, which is qualified under Section 401K of
             the Internal Revenue Code. The savings incentive plan is available to all full-time employees
             with a minimum of six months of service. Eligible participants may contribute a percentage
             of their salary subject to a maximum of six months of service. Eligible participants may
             contribute at a rate of 100% up to 7% of the participant's compensation subject to certain
             limitations and vest at a rate of 33.3% per year starting with the second year of service. The
             Company contributed approximately $0.5 million in 2003, $0.4 million in 2002 and $0.3
             million in 2001.

             Profit Sharing Plan
             The Company maintains a profit sharing plan, which is available to all full-time employees
             with a minimum of six months of service. Annual contributions to the plan are at the
             discretion of the Board of Directors. The plan contains a qualified portion and a non-
             qualified portion. Total expense incurred under the plan amounted to approximately $0.7
             million in 2003, $0.5 million in 2002, and $0.3 million in 2001.

     18.     Premiums Earned from Refunded and Called Bonds

             Premiums earned include $18.6 million, $12.6 million and $4.3 million for 2003, 2002 and
             2001, respectively, related to refunded and called bonds.

     19.     Segment Reporting

             The Company has three principal business segments: (1) financial guaranty direct, which
             includes transactions whereby the Company provides an unconditional and irrevocable
             guaranty that indemnifies the holder of a financial obligation against non-payment of
             principal and interest when due, and includes credit support for credit default swaps; (2)
             financial guaranty reinsurance, which includes agreements whereby the Company is a
             reinsurer and agrees to indemnify a primary insurance company against part or all of the loss
             which the latter may sustain under a policy it has issued; and (3) other, which includes trade


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  ACE Guaranty Corp.
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  December 31, 2003, 2002 and 2001

             credit reinsurance which the Company is no longer active and the impact of affiliate
             reinsurance transactions that were purchased by management for the benefit of all the
             Company's reporting segments.

             The Company's reportable business segments are strategic business units that offer different
             products and services. They are managed separately since each business requires different
             marketing strategies and underwriting skill sets.

             The Company does not segregate certain assets and liabilities at a segment level since
             management reviews and controls these assets and liabilities on a consolidated basis. The
             Company allocates certain operating expenses to each segment by identifying expenses
             related to staff that either directly acquire or service the business. The remaining expenses
             are generally allocated based on the expense ratios produced by the directly allocated
             expenses of these segments. Management uses underwriting gains and losses as the primary
             measure of each segment's financial performance.

             The following table summarizes the components of underwriting gain (loss) for each
             reporting segment:


              (dollars in millions)                           Year ended December 31, 2003
                                                  Financial     Financial
                                                  Guaranty      Guaranty
                                                   Direct      Reinsurance     Other             Total

              Gross written premiums              $ 52.4        $ 122.8        $ 44.7         $ 219.9
              Net written premiums                  47.9          124.8          83.8           256.5
              Net earned premiums                   48.6           88.2          38.6           175.4
              Loss and loss adjustment expenses     14.5           22.8          19.4            56.7
              Acquisition costs                      3.2           29.8          13.6            46.6
              Operating expenses                    14.3            8.6           1.4            24.3
              Underwriting gain                   $ 16.6        $ 27.0         $ 4.2          $ 47.8


              (dollars in millions)                           Year ended December 31, 2002
                                                  Financial     Financial
                                                  Guaranty      Guaranty
                                                   Direct      Reinsurance     Other             Total

              Gross written premiums              $ 38.0        $ 84.2         $ 32.9         $ 155.1
              Net written premiums                  36.7          81.5            5.5           123.7
              Net premiums earned                   34.5          70.0            7.0           111.5
              Loss and loss adjustment expenses     18.4           8.5           (2.4)           24.5
              Acquisition costs                      1.3          23.2            8.9            33.4
              Operating expenses                    10.8           9.0           (4.6)           15.2
              Underwriting gain                   $ 4.0         $ 29.3         $ 5.1          $ 38.4




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              (dollars in millions)                                Year ended December 31, 2001
                                                      Financial      Financial
                                                      Guaranty       Guaranty
                                                       Direct       Reinsurance     Other              Total

              Gross written premiums                  $ 30.7         $ 86.7          $   3.4        $ 120.8
              Net written premiums                      30.1           83.3            (24.4)          89.0
              Net premiums earned                       24.8           55.0              2.1           77.7
              Loss and loss adjustment expenses          2.4            2.8              0.7            5.9
              Acquisition costs                          0.3           17.6              6.6           24.5
              Operating expenses                         8.6           10.7             (5.6)          13.7
              Underwriting gain (loss)                $ 13.5         $ 23.9          $ (3.8)        $ 33.6

             The following is a reconciliation of total underwriting gain to income before provision for
             income taxes for the years ended:

              (dollars in millions)                                           December 31, 2003
                                                                    2003           2002                2001

              Total underwriting gain                             $ 47.8         $ 38.4            $ 33.6
              Net investment income                                 47.2           46.7              46.5
              Net realized investment gains                          2.1            6.9              10.2
              Unrealized gains (loss) on derivative financial
                  instruments                                        48.5          (37.0)             5.1
              Other income                                            1.3            1.3              0.6
              Goodwill amortization                                   –              –               (3.8)
              Foreign exchange gains (losses)                         0.9           (0.2)             –
              Income before provision for income taxes            $ 147.8        $ 56.1            $ 92.2



             The following table provides the lines of businesses from which each of the Company's three
             reporting segments derive their net earned premiums:

              (dollars in millions)                                    Years ended December 31, 2003
                                                                    2003            2002           2001

              Financial guaranty direct
              Financial guaranty direct                           $ 48.6         $ 34.5            $ 24.8

              Financial guaranty reinsurance
              Municipal finance                                      51.3             37.8             26.1
              Structured finance                                     36.9             32.2             28.9
                       Total                                         88.2             70.0             55.0

              Other segment
              Trade credit reinsurance                              41.6              14.6              2.9
              Affiliate reinsurance                                 (3.0)             (7.6)            (5.0)
                        Total                                     $ 38.6         $     7.0         $   (2.1)

             The following table summarizes the Company's gross written premium by geographic region.
             Allocations have been made on the basis of location of risk.



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              (dollars in millions)                         Years ended December 31, 2003
                                                2003                     2002                 2001
              North America            $183.9           83.6%    $132.9        85.7%   $116.5       96.4%
              United Kingdom              9.2            4.2%        7.2        4.6%      1.1        0.9%
              Europe                     26.2           11.9%       13.8        8.9%      2.9        2.4%
              Australia                   0.6            0.3%        1.2        0.8%      0.3        0.3%
                       Total           $219.9          100.0%    $155.1       100.0%   $120.8      100.0%

     20.     Subsequent Event

             Upon completion of the IPO, any unvested options to purchase ACE ordinary shares held by
             our officers or employees immediately vested and any unvested restricted ACE
             ordinaryshares were forfeited. Our officers and employees have 90 days from the date of the
             IPO to exercise any vested options to acquire ACE ordinary shares. The acceleration of
             vesting of options to purchase ordinary shares resulted in a pre-tax charge to us of
             approximately $1.4 million. Based upon a price of $42.79 per ACE ordinary share, the
             Company incurred a pre-tax charge of $3.1 million and contributed cash in the same amount
             to fund a trust, with an independent trustee, for the value of the restricted ACE ordinary
             shares forfeited by all of our officers and employees. These pre-tax charges took place
             during the second quarter of 2004. The trust purchased common shares of Assured Guaranty
             and allocated to each such individual common shares having the approximate value of the
             ACE ordinary shares forfeited by such individual. Based on Assured Guaranty's initial public
             offering price of $18.00 per common share, the trust purchased approximately $173,000
             Assured Guaranty common shares on behalf of the Company. The common shares will be
             deliverable to each individual on the 18-month anniversary of the IPO so long as during that
             18-month period the individual was not employed, directly or indirectly, by any designated
             financial guaranty company. Any forfeited common shares will be delivered to Assured
             Guaranty. The independent trustee will not have any beneficial interest in the trust. Since
             completion of the IPO, our officers and employees are no longer eligible to participate in the
             ACE long-term incentive plans. In connection with these events, the Company received $2.5
             million from ACE, for the book value of unrestricted compensation, which is recorded in
             unearned stock grant compensation, which is included in stockholder's equity.




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                                         Assured Guaranty Corp.
                                         Consolidated GAAP Balance Sheets
                                          September 30, 2004 (unaudited)
                                   (dollars in thousands, except share and per share amounts)


                                                                                                      As of
                                                                                           September 30, December 31,
                                                                                               2004          2003
                                                                                            (Unaudited)
    Assets
    Fixed maturity securities available for sale, at fair value                           $ 1,162,226      $ 1,126,723
    Short-term investments, at cost, which approximates market                                 47,100           55,078
    Total investments                                                                       1,209,326        1,181,801

    Cash                                                                                        3,069           18,009
    Accrued investment income                                                                  15,246           14,031
    Deferred acquisition costs                                                                146,752          146,926
    Premium receivable                                                                         63,844           31,524
    Prepaid reinsurance premiums                                                               45,064            7,254
    Reinsurance recoverable on ceded losses                                                    30,939               -
    Unrealized gains on derivative financial instruments                                       15,417               -
    Goodwill                                                                                   85,417           87,062
    Other assets                                                                               10,430           14,946
    Total assets                                                                          $ 1,625,504      $ 1,501,553

    Liabilities
    Unearned premium reserve                                                                $ 386,090       $ 389,027
    Reserve for losses and loss adjustment expenses                                           121,648        110,259
    Reinsurance balances payable                                                               61,392         10,237
    Deferred federal income taxes payable                                                      31,700         77,934
    Current federal income taxes payable                                                       12,600          6,389
    Unrealized losses on derivative financial instruments                                           -         18,482
    Other liabilities                                                                          33,189         12,495
    Total liabilities                                                                         646,619        624,823

    Shareholder's equity
    Common stock - $720 par value per share in 2004 and 2003:
    200,000 authorized, 20,834 issued and outstanding in 2004 and 2003                           15,000       15,000
    Additional paid-in capital                                                                  386,403      351,231
    Accumulated other comprehensive income                                                       42,313       45,284
    Unearned stock grant compensation                                                            (6,024)      (2,849)
    Retained earnings                                                                           541,193      468,064
    Total shareholder's equity                                                                  978,885      876,730

    Total liabilities and shareholder's equity                                            $ 1,625,504      $ 1,501,553




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                                     Assured Guaranty Corp.
                                   Consolidated Statements of Operations
                 Nine Months Ended September 30, 2004 (unaudited) and September 30, 2003 (unaudited)
                                                (dollars in thousands)



                                                                                         September 30,
                                                                                      2004          2003
  Revenues
  Gross written premiums                                                         $ 131,847             $ 170,865
  Ceded premiums                                                                   (88,819)               36,806
  Net written premiums                                                              43,028               207,671
  Decrease (increase) in unearned premium reserve                                   40,747               (77,224)
  Net premiums earned                                                               83,775               130,447
  Net investment income                                                             38,919                34,785
  Net realized gains                                                                   419                 2,213
  Net unrealized gain on derivative financial instruments                           33,899                17,831
  Other income                                                                           -                 1,024
  Total revenues                                                                   157,012               186,300

  Expenses
  Loss and loss adjustment expenses                                                  (1,217)              38,269
  Acquisition costs                                                                  24,392               47,827
  Decrease (increase) in deferred acquisition costs                                     897               (9,762)
  Other operating expense                                                            30,072               14,760
  Goodwill impairment                                                                 1,645                    -
  Foreign exchange (gains) losses                                                      (241)                (177)
  Total expenses                                                                     55,548               90,917

  Income before provision for federal income taxes                                  101,464               95,383

  Provision for federal income taxes
  Current income taxes                                                               20,419               14,830
  Deferred income taxes                                                               7,914               11,895
  Total provision for federal income taxes                                           28,333               26,725

  Net income                                                                      $ 73,131              $ 68,658




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